    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 1 of 346




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Vegetational Zonation in the Rocky Mountains
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      THE BOTANICAL REVIEW
       Vol. IX                                            June, 1943                                                      No. 6

                       VEGETATIONAL ZONATION IN THE
                             ROCKY MOUNTAINS
                                                  R. F. DAUBENMIRE
                                                     University of Idaho

                                                  CONTENTS
          I. Introduction ............................................................................................          326
         II. The Zones ................................................................................................         330
               The alpine zone ....................................................................................             330
               The spruce-fir zone ..............................................................................               334
               The Douglas fir zone ..........................................................................                  337
               The ponderosa pine zone ....................................................................                     339
               The juniper-pihon zone ......................................................................                    340
               The oak-mountain mahogany zone ..................................................                                341
               Vegetation of the basalplains ............................................................                       343
       III. Mountain Environment ....................................................................                           343
               Atmospheric pressure ..........................................................................                  344
               Insolation ................................................................................................      345
               Temperature ..........................................................................................           345
               Precipitation ..........................................................................................         349
               Relative humidity ................................................................................               352
               Wind velocity ........................................................................................           353
               Evaporation ............................................................................................         353
               Soils ........................................................................................................   355
               Topography ............................................................................................          355
       IV. Etiology ....................................................................................................        357
               Upper altitudinal limits ....................................................................                    358
                 Low temperature ..............................................................................                 358
                 Competition and otherbiologic influences ....................................                                  360
                 Wind ....................................................................................................      361
                 Snow depth ........................................................................................            363
                 Soil ......................................................................................................    364
               Lower altitudinal limits ...................................................................                     365
                 Drought ..............................................................................................         365
                 High temperature ............................................................................                  368
                 Soil texture ........................................................................................          370
                 Parasites .................................................................................                    371
        V. Altitude versus Latitude ..................................................................                          372
       VI. Irregularities in the Zonal Pattern ............................................                                     375
               Discontinuity of zones ........................................................................                  375
               Pacific Coast elements inthe Rocky Mt. flora................................                                     376
               Inversion and lack of zonation ..........................................................                        380
               Mountain parks ....................................................................................              383
      VIL Summary ..................................................................................................            386
      VIII. Literature Cited ....................................................................................               387
                                                           325


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      326                     THE BOTANICAL REVIEW
                                   I. INTRODUCTION
         On approaching the Rocky Mountains, even the most casual
      observer cannot fail to be impressed by the sudden change in vege­
      tation where the forest-covered mountain slopes rise abruptly from
      the unforested basal plain. On ascending the mountain slopes, the
      forest types observed in the foothills may be seen to give way in
      rapid succession to other types, each of which in turn predominates
      only within a particular elevational zone. Near the summits of the
      higher prominences another edge of the forest is encountered, be­
      yond which there is only low-growing vegetation of still a different
      type. To the discriminating eye, these changes in the morphology
      of the vegetation are accompanied by practically complete changes
      in the species of herbs, shrubs and trees from one altitude to another.
         Scientific interest in plant zonation on mountain slopes is very
      old, dating back at least to the writings of Tournefort in 1717 (28).
       Since that early date, the steadily increasing volume of botanical
      literature on zonation, especially that which has appeared in the last
      half century, attests the great interest which this phenomenon has
      held for students of field botany.
         The mountains of southern Europe were the first to be studied
      intensively by botanists, and even though studies there have been
      somewhat handicapped by the disturbed nature of all the plant
      communities, European ecologists (Christ, Schroter, Brockmann-
      Jerosch, et al.) have made outstanding contributions to mountain
      ecology. With the development of western North America, the
      Cordilleras have more recently proven a vast and fertile field for
      ecologic study, especially because of the relatively undisturbed
      nature of plant communities there. Ecologic investigations have
      also been pursued to some extent in many other mountainous re­
      gions of the world, but nowhere in as much detail as in Europe and
      in the western United States of America.
         When viewed as a whole, the literature on plant zonation has one
      very regrettable feature, and that is the great variation which has.
      characterized the interests, viewpoints and methods of the writers.
      Many descriptions of isolated regions are as yet of limited value
      because they cannot be related to each other. Certainly the prin­
      ciples underlying zonation should bear much more similarity from
      one mountain region to another than do the published descriptions
      of those zonal systems. Perhaps such irregularities have been due

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             VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          327

      in part to the fact that there has been little attempt to digest and
      integrate the literature for various regions.
         Sufficient data have been published on the altitudinal variations
      in environment and vegetation in the Rocky Mountains so that
      previously isolated researches may be fitted together into a unified
      system of facts which shows the existence of fundamental geo-
      botanical principles. It is the purpose of this paper to attempt an
      integration of most of the important literature pertaining to plant
      zonation in this mountain system, supplemented by the writer’s
      personal field studies.
                                  sje      j|e  sje
         Looking at Rocky Mountain vegetation from the broadest view­
      point, it is apparent that four major plant formations are involved.
      First, there is the treeless vegetation of the high peaks and ridges
      which is classified as “tundra.” Extending from the lower edge of
      the tundra downward over most of the mountainous slopes is a
      broad belt of forest dominated by coniferous trees, a portion of the
      “needle-leaved forest.” The upper edge of this forest belt, i.e., the
      ecotone between forest and tundra, will subsequently be referred to
      as “upper timberline.” The “lower timberline,” i.e., the lower
      limit of the forest belt, coincides roughly with the bases of the
      steeper mountain slopes where they meet the less precipitous topog­
      raphy of the surrounding basal plains. At this lower ecotone, the
      Rocky Mountain forests are in contact with either the “grassland”
      or the “desert” formation.
         In areal extent the Rocky Mountain zonal system is essentially
      homogeneous from the Black Hills (Fig. 1) of South Dakota west­
      ward to approximately the divide of the Cascades and the eastern
      foothills of the Sierras, and from the latitude of northern Alberta
      to the southern end of the Sierra Madres of northern Mexico (131,
      124).
         Physiographically the Rocky Mountain region may be separated
      at the continental divide into a west slope and an east slope (Fig. 1).
      Also each of the ranges which make up the Rockies may be divided
      into a west and an east slope, even though in actuality all directions
      of exposure may be found on both slopes. The term “slope” is
      obviously used in two senses, the one much broader than the other.
      Such divisions are of some value in plant geography, since they
      coincide with a certain amount of climatic and floristic differentia­

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      328                       THE BOTANICAL REVIEW
      tion. It must be realized, however, that physiography means
      nothing to plant life except for the types of habitats which it pro­
      vides. In consequence, a species which depends for its existence
      upon the climatic type prevailing on one slope is generally found
      only on that slope, but may be encountered occasionally on the oppo­
      site slope where soil or microclimate compensates for the inadequacy
      of the macroclimate.
         Based upon some conspicuous floristic differences, the Rockies
      may also be divided in a north-south direction. In this paper there




         Fig. 1. Map showing the Rocky Mountain region (enclosed by heavy
      lines), the continental divide (dotted line), principal storm tracks (arrows),
      and peaks and ranges mentioned in this paper. Meaning of symbols: A—
      Abajo Mts.; B—Big Horn Mts.; BR—Bitterroot Range; BH—Black Hills;
      L—La Sal Mts.; M—Medicine Bow Mts.; P—Pike’s Peak; R—Rincon
      Mts.; SC—Santa Catalina Mts.; SF—San Francisco Peak; SR—Salmon
      River Mts.; U—Uinta Mts.; W—^Wasatch Range.

      are recognized four north-south divisions: the southern, central,
      northern and far-northern. The line of separation between the
      southern and central Rockies occurs just a little south of and paral­
      lel to the northern borders of the states of New Mexico and Arizona.
      The floristic break between the central and northern Rockies coin­
      cides roughly with a line running east and west through the center
      of Wyoming. In about the latitude of central Alberta and British
      Columbia there is another significant break in the flora which sepa­
      rates the northern from the far-northern Rockies. Considering

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             VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          329

      only the larger ligneous plants, addition of the following species to,
      or their notable absence from, the typical Rocky Mountain flora in
      each case characterizes a particular one of the four divisions:

                                 Southern Rockies
        Abies lasiocarpa var. arisonica           Pinus leiophylla
        Alnus oblongifolia                        Pinus strobiformis
        Arbutus arisonica                         Platanus wrightii
        Arbutus texana                            Quercus arisonica
        Arctostaphylos pungens                    Quercus chrysolepis
        Bumelia languinosa                        Quercus diversicolor
        Cupressus arisonica                       Quercus dumosa
        Cupressus glabra                          Quercus emoryi
        Fraxinus lowellii                         Quercus hypoleuca
        Fremontodendron californicum              Quercus oblongifolia
        Juglans rupestris                         Rhamnus crocea var. ilicifolia
        Juniperus pachyphloea                     Rhus ovata
        Juniperus pinchoti                        Sorbus dumosa
        Pinus arisonica                           No Alnus tenuifolia
        Pinus cembraides                          No Pinus murrayana
        Pinus latijolia
                                 Central Rockies
        No large ligneous plants are peculiar to this region.
                                Northern Rockies
        Abies grandis                             Oplopanax horridum
        Alnus rhombifolia                         Pinus albicaulis
        Alnus sinuata                             Pinus monticola
        Ceanothus sanguineus                      Populus trichocarpa
        Cornus nuttallii                          Taxus brevifolia
        Holodiscus discolor                       Thuja plicata
        Larix lyallii                             Tsuga heterophylla
        Larix occidentalis                        Tsuga mertensiana
                             Far-Northern Rockies
        Picea mariana                             No Populus angustifolia
         These four divisions of the Rocky Mountains are strictly botani­
      cal and bear no relation to geologic or physiographic provinces into
      which the same region may be divided, except insofar as these
      influence climate.



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      330                     THE BOTANICAL REVIEW
                                    II. THE ZONES
         Various criteria have been employed by different botanists in
      their delimitation of vegetational zones. Among these the one
      which has gained the greatest favor is ecologic rather than floristic,
      and makes its basic distinctions upon the nature of the climatic
      climax associations which obtain at different elevations or in dif­
      ferent regions. On this basis there may be distinguished six major
      vegetation zones which are primarily characteristic of the Rocky
      Mountains:
                   Tundra Formation
                     1. Alpine tundra zone
                   Needle-Leaved Forest Formation
                     2. Engelmann spruce-subalpine fir zone
                     3. Douglas fir zone
                     4. Ponderosa pine zone
                     5. Juniper-pinon zone
                     6. Oak-mountain mahogany zone
                   Grassland and Desert Formations

                                   The alpine 2one
         Nowhere is the youthfulness of Rocky Mountain topography
      more important vegetationally than in the alpine zone. Here the
      surface is essentially an alternation of rocky outcrops with depres­
      sions of varying degrees of imperfect drainage, and the soil, when
      present, varies from peat to gravels which are practically devoid of
      organic matter. The plants in this zone are so sensitive to this out­
      standing edaphic heterogeneity that communities are seldom as
      extensive or as homogeneous as, for example, in prairie vegetation.
         The climate of these higher mountain summits is so cool that the
      chemical processes of rock weathering function with extreme slow­
      ness. Mechanical processes, operating nearly unaided, have made
      relatively little progress in soil formation, and in consequence over
      much of the area at high elevations the surface of the bed rock has
      become covered with only a jumble of large angular boulders which
      represent the first stage in the change from rock to soil. Such
      areas, if not unstable, are generally referred to as “boulder fields.”
      Their vegetation consists chiefly of crustose lichens growing on the
      surfaces of the frost blocks, and a scanty flora of crevice plants such

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         331

      as Oxyria digyna, Aquilegia spp., Polemonium spp., Pentstemon
      jruticosus and Sibbaldia procumbens.
         In less severe habitats a coarse gravelly soil has accumulated
      between the boulders to the extent that only the summits of the
      latter are exposed. On these habitats, the “fell fields,’’ is a sparse
      vegetative cover in which mat or cushion plants are especially con­
      spicuous. Some of the characteristic species of the fell fields are
      Silene acaulis, Dryas octopetala, Arenaria sajanensis, Erigeron com-
      positus, E. multiflorus, Lunula spicata, Paronychia spp.. Phlox
      caespitosa and Selaginella densa.
         In still more favorable habitats, in especially the lower part of the
      alpine zone, the xerosere has progressed until the last vestiges of
      the boulders have disappeared under the accumulating soil, which
      by this time has become completely covered by a dense, low,
      meadow-like type of plant cover (38, 88). In the Rocky Moun­
      tains this vegetation is usually referred to as “alpine meadow.”
       Some of the more common dominants of these climax meadows are
      Carex spp., Kobresia bellardi, Poa spp., Phleum alpinum. Des-
      champsia caespitosa, Trisetum subspicatum, Agrostis spp., Festuca
      spp.. Polygonum viznparum, Potentilla spp., Sieversia turbinata,
      Trijolium spp. and Pedicularis parryi. That these dense associa­
      tions of grasses, sedges and forbs have long been considered valu­
      able summer forage is reflected in the common custom in southern
      Europe of referring to the lower portion of the alpine zone as
      “pasture” (TH). In North America this vegetation has also been
      called “alpine grassland” (33, 146).
         Hydroseres in the alpine tundra are quite varied in nature.
      Communities dominated by Carex, Eleocharis, shrubby Salix, or
      forbs such as Trollius, Caltha, Ranunculus and Menyanthes, charac­
      terize hydric sites until development of drainage and accumulation
      of peat permit an approach toward the climatic climax.
         Relatively few peaks and ridges of the Rockies are high enough
      to support tundra, so that areas of this vegetation exist as islands in
      a sea of forest. Although such a circumstance favors a spotty dis­
      tribution of species with relatively inefficient disseminules, others
      have become widely distributed, possibly in Pleistocene time when
      the timberline may have been lower and consequently the gaps
      between tundra islands less extensive.


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      332                     THE BOTANICAL REVIEW
        The members of the alpine flora seem to have been drawn from
      two major sources. First, there are alpine species endemic to the
      Rockies which have been derived from low-altitude species of the
      immediate vicinity. Examples taken from lists compiled by Ryd­
      berg (132) are:

             Alpine Derivative                 Possible Sub-Alpine Parent
            Achillea subalpina                       A. lanulosa
            Aquilegia saximontana                    A. brevistyla
            Besseya alpina                           B. plantaginijolia
            Phacelia alpina                          P, heterophylla
            Solidago decumbens                       S. oreophila
         A second major source for Rocky Mountain alpine plants has
      been the arctic tundra. Many of the Rocky Mountain species are
      at present widely distributed^ in the arctic as well as in other alpine
      regions in the northern hemisphere. Because many of these have
      retained their specific identity in both alpine and arctic regions it is
      commonly believed that the southward extension of ranges took
      place in recent geologic time,—most likely during the Pleistocene
      epoch when timberlines may have been lower than at present. A
      partial list of these plants is as follows:
      Androsace chamaejasme      Lusula spicata             Saxifraga hirculus
      Astragalus alpinus         Oxyria digyna              S. nivalis
      Carex incurva              Papaver nudicaule          S. oppositifolia
      Dryas octopetala           Polygonum viviparum        Sedum rhodiola
      Empetrum nigrum            Potentilla nwea            Thalictrum alpinum
      Erigeron uniflorus         Salix reticulata           Trisetum spicatum
      Kobresia be liardi         Saxifraga cernua

      Other alpine species of boreal origin have undergone slight though
      distinct speciation at lower latitudes so that the arctic and alpine
      regions now contain several closely related species-pairs. Thus,
      according to Rydberg (132), the alpine Phyllodoce empetriformis,
      Sieversia turbinata, and Saxijraga rhomboidea are probably deriva­
      tives of the arctic P. coerulea, S. rossii and S. nivalis, respectively.
         At any latitude north of the equator the alpine flora of the Cor­
      dilleras contains genera which are more widespread farther north,
         1 Among the species common to the Rocky Mountain and the arctic tundras
      are some which enjoy relatively limited distribution at high latitudes, and of
      this group at least some may not have originated in the arctic region. Holm,
      following an earlier hypothesis, believed that some of these arctic-alpine
      species with limited arctic distribution originated in the Rockies, then mi­
      grated northward, possibly at the close of the last glacial period, to become
      incorporated with the arctic flora (68).

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         333

      but progressing southward along the Rockies this proportion of
      species of boreal extraction decreases as the number of endemics
      of local extraction increases (137). Thirty-seven per cent of the
      alpine species of Colorado are found also in the arctic regions. In
      central Mexico the alpine vegetation is still dominated by northern
      genera, although at this latitude three Andean genera occur in the
      tundra (52). Even the tundra at the equator in the Ecuadorean
      Andes has a small percentage of northern genera (112).
         Rydberg (132) estimated the strictly alpine flora of the Rockies to
      consist of approximately 250 species, more than a third of which are
      endemic. In addition, there are about 100 species which occur
      below as well as above upper timberline. In the far-northern
      Rockies Raup (125) found a much smaller percentage (about 15^^)
      of the alpine flora growing below upper timberline. At their lower
      limits these species were found chiefly on river banks or on talus
      slopes.
         Alpine vegetation consists almost entirely of perennials.^ During
      two summers of intensive collecting in the alpine zone of Colorado,
      Holm (67) found a total of 170 species of vascular plants, only two
      of which are annuals: Androsace subumbellata and Gentiana
      plebeja. The principal families represented in his collection were,
      in order, Compositae, Cyperaceae, Gramineae, Caryophyllaceae and
      Scrophulariaceae.
         Most of the perennials are caespitose (40) and either herbaceous
      or suffrutescent. True shrub communities consist of associations
      of willows growing on wet, boggy soil, and heath-like communities
      of Phyllodoce, Cassiope, etc., in the northern Rockies (133). Raup
       (125) described shrub thickets in the lower part of the alpine zone
      in the far-northern Rockies, which are dominated by Rhododendron
      albifloriim, Betula glandulosa and Salix spp.
         Perhaps no single morphologic characteristic of the plants in the
      alpine zone is more conspicuous than the dwarfness of the shoots
      in proportion to the size of the flowers and fruits which they bear.
      The flowers of alpine potentillas, for example, are not much smaller
      than those borne by other species at lower elevations, although the
      shoots of the latter are several times larger. The fruits of Rubus
      chamaemorus and the catkins of dwarf willows are also conspicu-
        2 Of the 49 species which comprise the alpine flora of San Francisco Peak,
      Arizona, 83% are hemicryptophytes, 10% chamaephytes, 4% therophytes, and
      2% cryptophytes (88).


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      334                      THE BOTANICAL REVIEW
      ously out of proportion to the remainder of the diminutive shoots.
      It is a common misconception that alpine plants are but dwarfed
      forms of lowland species; transplant experiments have disproven
      this (31). Dwarfness is a fixed genetic character of most true
      alpine species, although when low-altitude species extend up into
      this zone the individuals are greatly reduced in size.
         A very evident physiologic characteristic of alpine plants is their
      immunity to injury from heavy frost during periods of active
      growth and flowering. Furthermore, the phenomenon of prolifery,
      which is best developed in this formation,may be considered an
      adaptation that at least in part offsets the disadvantages of a grow­
      ing season which is rather short for the complicated process of
      setting seed.
         Although the Rocky Mountain alpine vegetation bears many eco­
      logic and floristic relationships to the more extensive circumpolar
      tundra which borders the Arctic Sea, there are certain features
      peculiar to this formation and its environment as represented on
      mountain summits at lower altitudes. Fioristically, the vegetation
      contains a high proportion of endemics, as mentioned previously.
      In matters of daylength and intensity of insolation, the environment
      of the tundra in temperate latitudes is very different from that of
      the boreal region where the photoperiod is nearly 24 hours long
      during the growing season, and the light is of weak intensity. The
      subsoil of the arctic region, unlike that of the alpine region in the
      Rockies, is perennially frozen. Holm (67) called attention to the
      fact that although the arctic growing season is shorter than the
      alpine, it is much less subject to violent changes in weather than is
      the alpine growing season. From the above it is evident that pecu­
      liarities in both environment and vegetation make the term “alpine
      tundra” very desirable to distinguish this vegetation from “arctic
      tundra,” although the two merge imperceptibly near the arctic
      timberline.
                                The spruce-fir 2one
        The broad belt of coniferous forest which extends down from the
      upper timberline to the basal plain may be divided into several
        3 Species reputedly proliferous which occur in the Rocky Mountain tundra
      are: Deschampsia caespitosa, Hierochloe alpina, Poa alpina, P. arctica.
      Polygonum viviparum, Saxifraga cernua, and 5. nivalis. This phenomenon
      should also be looked for in Juncus, for certain species of this genus in other
      tundra regions are proliferous.


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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          335

       zones. The uppermost of these, because of its position, is often
       referred to as the ^'subalpine zone.’" It usually occupies about 2,000
      feet of elevation^ and is characterized by a climatic climax, the
      dominants of which are subalpine fir (Abies lasiocarpa) and Engel­
      mann spruce (Picea engelmannii). In the southern Rockies Abies
      lasiocarpa is in part replaced by A. lasiocarpa var. arisonica. In
      northern Idaho and Montana island-like stands of mountain hem­
      lock (Tsuga mertensiana) occur in this zone, and in the far-northern
       Rockies the forest is enriched by the addition of Picea glauca and
      P. mariana.
         These spruces and firs have a very slender form, and under favor­
      able conditions they grow close together to form a dense forest.
      Engelmann spruce grows to larger size than subalpine fir and, ex­
      cept on the west slope of the Bitterroots (139), is usually the more
      abundant species.
         On the relatively dry eastern slope of the central Rockies the
      undergrowth in this forest is characteristically scant and is domi­
      nated by dwarf vacciniums, especially V. scoparium, Arnica cordT
      jolia, Carex geyeri, and other plants. Under the more mesic climate
      of the west slope the undergrowth consists of a rank growth of large
      dicotyledonous herbs. Mosses and lichens are abundant on the
      forest floor, and here again the cryptogamic flora is generally richer
      on the west slope. In the northern Rockies MenAesia jerruginea,
      Paccinium membranaceum, Shepherdia canadensis and Xerophyl-
      lum tenax are characteristic vascular plants in the undergrowth,
      while in the far-northern Rockies Alnus crispa, Piburnum pauci-
      florum, Amelanchier florida and Shepherdia canadensis predomi­
      nate. In both the northern and far-northern Rockies the mosses
      often form a thick and nearly continuous layer over the ground.
      Thus it may be seen that the dominant tree synusia has far more
      floristic homogeneity throughout the north-south extent of this zone
      than do the inferior synusiae.^
         Fire, which is all but unknown in the cool moist tundra, fre­
      quently destroys the climax spruce-fir association, and in its place
      there develop temporary forests of lodgepole pine® (Pinus mur-
          Other climax zones of woody vegetation in the Rockies occupy 2,000 feet
      of elevation only in a rather restricted region.
        5 The same is true of the other zones of ligneous vegetation. However,
      despite the floristic heterogeneity, the life-forms and density of the ground
      cover are fairly uniform throughout the geographic extent of each zone.
        ® Conspicuously absent from the southern Rockies.

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      336                     THE BOTANICAL REVIEW
      rayana), aspen (Populus tremuloides) and Douglas fir (Pseudo-
      tsuga taxifolia). The factors determining which of these temporary
      associations prevails on a given area are not always evident, but
      frequently they seem related to soil moisture, with aspen invading
      the most mesic sites. Bates (9) expressed a view that lodgepole
      pine usually dominates after heavy burning, while aspen usually
      follows light burning. Certain it is that where the original forest
      contained relics of aspen, this species is likely to take possession of
      the ground after fire of moderate intensity because of its vigor in
      producing root suckers. In fact, propagation of aspen is mostly
      vegetative throughout the Rockies. Aspen stands are especially
      noted for their tall, luxuriant undergrowth of grasses and forbs.
      The richer herbaceous flora here as compared with areas dominated
      by conifers may be associated with the moistness of aspen sites, or
      what is more likely, with the increased fertility of the soil which
      accompanies deciduous woody vegetation.
         Spruce and fir seedlings appear under the canopies of the tem­
      porary forest types while they are yet young, and ultimately crowd
      out the latter (74). Establishment of seedlings of climax species
      in temporary forest types is a much less difficult process than in the
      forest which follows, for as succession progresses there accumulates
      a duff layer so thick that very few seedlings survive (130, 51). Fir
      seems most adversely affected by this duff mat, especially south­
      ward in the Rockies. In the central Rockies it reproduces almost
      entirely by layering, but in the northern Rockies both seedlings and
      layered branches are commonly found. Spruce seedlings survive
      much better on rotten logs than on duff, and most of them that get
      established under climax forest conditions have germinated on this
      type of substratum (89).
         The climate near the upper timberline is usually too severe to
      permit pine, aspen or Douglas fir to colonize burned areas, and in
      such situations spruce and fir regenerate directly, although at a very
      slow rate (158).
         The ecotone between the spruce-fir and alpine zones is well
      known for its stunted trees. Some writers have recognized a sepa­
      rate timberline or krummholz (literally “crooked wood”) zone, in
      which woody vegetation gradually thins out from the “forest line,”
      i.e., the edge of the continuous forest, upward to the last stunted
      tree, i.e., “tree line.” In this paper the expression “upper timber­

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             VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          337
      line” refers to a hypothetical line drawn midway between the
      ‘^forest” and “tree” lines, i.e., down the center of the timberline zone
      which is truly an ecotone.
         In the timberline zone there may occur species of trees, in addi­
      tion to spruce and fir, which can tolerate neither the severe climates
      of the alpine zone nor the intense competition offered by the dense
      forests at lower elevations. South of the latitude of Denver, bristle­
      cone pine (Pinus aristata) is especially abundant at upper timber­
      line, although it may also be found at lower elevations in the forest
      belt on wind-swept ridges (4, 25). Throughout the central Rockies
      limber pine plays a similar role (26). In the northern Rockies
       (98) white bark pine (Pinus albicaulis) and Lyall’s larch (Larix
      lyallii) are found chiefly at upper timberline. In the far-northern
      Rockies lodgepole pine is abundant at upper timberline (125).

                                The Douglas fir 2one
         Immediately below the spruce-fir zone there is characteristically a
      belt dominated by Douglas fir. Although a climax dominant at this
      elevation in the Rockies, this tree never attains the magnificent size
      or commercial importance that it does on the west slope of the Cas­
      cades. It has a pointed but moderately broad crown which even at
      a distance readily distinguishes it from the spruce and fir which
      have a more spire-like form. In the southern and central Rockies,
      white fir (Abies concolor) and blue spruce (Picea pungens) are
      often associated with Douglas fir, although they are seldom
      present in great numbers. These two species are characteristic of
      the most mesic habitats, the latter being found usually along stream
      courses. Canada spruce (Picea glauca), an important climax domi­
      nant over much of Canada, extends southward along the Rockies
      in the Douglas fir zone, especially on the east slope. In climatic
      requirements and ecologic characteristics it is so similar to Douglas
      fir that it shares a climax status with the latter where their ranges
      overlap. The absolute southern limits of this boreal species are
      attained in the Black Hills of South Dakota and Wyoming, where
      it occurs, curiously enough, without Douglas fir, in a belt imme­
      diately above the ponderosa pine zone (92).
         In the northern Rockies grand fir (Abies grandis) may be found
      with Douglas fir, especially on the west slopes of the ranges and
      west of the continental divide.

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      338                      THE BOTANICAL REVIEW
         A typical old Douglas fir stand is so dense that very few herbs
       (Calamagrostis rubescens, Arnica cordifolia, etc.) and shrubs are
      found beneath the trees. As in the spruce-fir zone, a duff layer
      accumulates on the forest floor, but in this case the duff is not as
      thick as in the higher forest belt.
         In the central and southern Rockies, ravines in this zone which
      are wide enough to have low stream terraces may contain Populus
      angustifolia on these alluvial habitats. Wind-swept ridges fre­
      quently bear only a savanna of deformed pines, the species of which
      vary with latitude. From central Arizona southward the chief
      species is Pinus strobiformis. In northern Arizona and the south­
      ern parts of Utah and Colorado P. aristata is conspicuous on these
      habitats. Over the remainder of the central Rockies the species is
      P. flexilis, and in the northern Rockies it is P. albicaulis. These
      trees are all very similar in appearance, and except for P. aristata
      all are very closely related taxonomically. All are likewise found
      on corresponding habitats in the zones adjacent to the Douglas
      fir zone.
         Following the devastation of forest fires, stands of lodgepole
      pine^ or aspen (53, 105, 140) invade the burned areas and bear the
      same successional relationship to Douglas fir as they do to the
      climax forest at higher elevations. Ponderosa pine (Pinus pon­
      derosa and closely related segregates) frequently play the same
      role, particularly in the lower part of the zone. In the northern
      Rockies western larch, Larix occidentalis, is an additional species
      found on burned areas in this zone.
         In the Great Basin and vicinity, the Douglas fir zone may be
      represented almost exclusively by aspen, and in such cases aspen
      has all appearances of maintaining a climax status.® In the Hayden
      Division of the Medicine Bow National Forest, Wyoming, for
      example, extensive stands of this type may be found. The presence
      of all age classes of aspen up to old specimens four decimeters
      in diameter, together with the absence of all other trees except
         7 Robbins (128) enumerated the vegetational zones in northern Colorado
      as follows: alpine, spruce-fir, lodgepole pine, ponderosa pine-Douglas fir,
      chaparral and plains. Apparently, he accorded lodgepole pine the status of
      a zone only because of the prevalence of extensive burned areas in the upper
      part of the Douglas fir and the lower part of the spruce-fir zones, for Clements
       (30) had shown earlier that at higher altitudes in this same region, the
      lodgepole pine stands are all replaced in natural succession by spruce-fir
      forests, and at lower altitudes by Douglas fir.
         8 This region appears to be the center of optimum development of trembling
      aspen in North America. Specimens a meter in diameter are on record (2).

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               VEGETATION ZONATION IN THE ROCKY MOUNTAINS                        339

      a few white firs, indicates a relatively stable condition. It is quite
      possible that this circumstance has been brought about by holocausts
      which eliminated all Douglas fir from so large an area that the
      centripetal migration necessary to restock the entire area with the
      climax tree will require many centuries for completion (50). The
      extensive stands of lodgepole pine in the northern Rockies may have
      the same explanation.

                              The ponderosa pine sone
          At its lower edge the Douglas fir belt is usually in contact with
      forest of ponderosa pine. The rounded crowns and open spacing
       of the older pine trees are conspicuous features which distinguish
       this forest from the next one above. In the southern Rockies,
       Pearson (109) states that the canopies of the trees usually cover
      no more than 25% of the ground. Usually toward the lower limit
      of the zone the vegetation is distinctly savanna-like. This relative
      thinness of shade coupled with the meagerness of brush and litter
      favor a well developed ground cover in which perennial grasses
      such as Festuca, Agropyron, Poa and Muhlenbergia dominate.
      Because of this, ponderosa pine forests provide excellent grazing
      as well as valuable timber (110).
          Ponderosa pine, or one or more of its varieties, is the character­
      istic tree in this zone. Only west of the continental divide and in
      the northern Rockies is this zone dominated by Pinus ponderosa.
      East of the divide in this same latitude, and southward throughout
      the remainder of the Rockies, Pinus ponderosa var. scopulorum is
      generally the most important tree in the forest. In the southern
      Rockies this variety is joined or replaced by P. ponderosa var. ari-
      sonica, P. leiophylla and P. latijolia. In the eastern foothills of
      the Sierras still another closely related form, P. ponderosa var.
      jeffreyi, is characteristic of the zone. Although there is a tendency
      among taxonomists to elevate each of the above varieties to the rank
      of species, the variety status is most desirable here, since it empha­
      sizes the homogeneity of this group of trees, all of which are so
      similar in appearance and ecology. In most of these pines the
      younger trees have a dark gray bark and in this stage are often
      referred to as “blackjack” or “bull pines.” Old trees are locally
      called “yellow pines” in allusion to the bright yellow color of the
      thick bark plates.

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      340                       THE BOTANICAL REVIEW
         For several months during the summer the forest floor® in this
      zone is dry enough to burn readily, and slow-spreading surface fires,
      which do little more than consume grass and tree litter and destroy
      small seedlings, are common (32). Old trees are quite fire-resistant,
      as is indicated by traces of charcoal usually to be found between
      the bark plates on their lower trunks. Each of the distinct age
      groups of saplings encountered in a typical stand generally consti­
      tutes a record of a series of consecutive summers which passed
      without fire, during which a generation of seedlings had time to
      grow into fire-resistant saplings.
         When the climax ponderosa pine stand is more severely dis­
      turbed, as with logging or overgrazing, there usually develops a
      fairly dense stand of brush (Quercus, Ceanothus, Cercocarpus, etc.).
      Toward the upper limits of the zone, lodgepole pine may be found
      on burned sites (102). Aspen thickets may occur along streams
      and in other mesic habitats in the ponderosa pine zone as well as at
      still lower elevations. On flood-plains and low terraces several
      species of cottonwood and box elder (Acer negundo) are abundant.

                                   Juniper-pihon 2one
         The lowest subdivision of coniferous vegetation is the juniper-
      pinon zone which in the aggregate covers approximately 76 million
      acres in the United States of America (27). In the central and
      southern Rockies various species of arborescent juniper (Juniperus
      scopulorum, J. monosperma, J. utahensis, J. occidentalis, J. pachy­
      phloea, J. mexicana, etc.) are mingled with pinons (Pinus cem-
      braides and its varieties edulis and monophylla). Locally in the
      southern Rockies the arborescent flora of this zone is enriched by
      the genus Cupressus.
        From northern Mexico this type extends northward along the
      west slope of the Rockies as far as the Snake River in Idaho. Along
      the east flank it extends only as far north as Colorado Springs, Colo­
      rado, but for a small outpost near Ft. Collins, Colorado. North of
      these boundaries, from central Idaho and northwestern Wyoming
         9 A thick layer of duff, as is found in the climax forests at higher altitudes,
      is generally lacking here, although a heavy layer of needle litter is character­
      istic. The abundance of grasses in this zone promotes development of a defi­
      nite zone of humus soil several inches thick. In the higher forest zones, on
      the other hand, most organic' matter is superficial as in typical podsol profiles.
      In at least certain sections of the Rockies much of the chernozem-like charac­
      ter of the soil profiles at low altitudes may have developed largely during the
      post-glacial xerothermic period if timberlines were higher then than at present.

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               VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         341

      to southern Alberta, there occurs a similar though poorly identified
      zone dominated by limber pine^^ and junipers.
         Because of the low stature of the trees, commonly between 10
      and 30 feet tall, this zone is frequently referred to as woodland.
      In most regions the wide spacing of the individuals gives the vege­
      tation the character of a savanna.^^ In the interstices between the
      trees there is a dense cover of grasses (Bouteloua, Stipa, Agropyron,
      Poa, etc.) and forbs, together with a few shrubs such as Ceanothus,
      Cercocarpus, Purshia, Cowania, Artemisia and Opuntia.
         Two of the dominants in this zone, Juniperus pachyphloea (114)
      and J. pinchoti (117), sprout freely from the stump after the trees
      are burned or cut, but others show little or no tendency to regener­
      ate in this manner.jf ^^y temporary woody vegetation intervenes
      between burning and reestablishment of this climax, it is dominated
      by shrubs drawn from the next lower zone (86, 174). When the
      stands are overgrazed, either the junipers and pines increase in den­
      sity, or a heavy stand of brush develops. Aspen may occur at this
      elevation, but only as an edaphic or topographic climax on the most
      mesic sites.

                            Oak-mountain mahogany sone
         The ecotone between the needle-leaved forest and the non-forested
      formations of the adjacent plains and plateaus is often marked by a
      fringe of scrub which may be considered a distinct zone. Eco­
      logically this vegetation is more closely related to the needle-leaved
      formation, since it is distinctly too mesophytic to be classed with
      the desert and grassland formations of the basal plants.
         This zone attains its maximum development in the southern
      Rockies where it has a vertical range of as much as 1,800 feet and
      is floristically most complex. In the central Rockies it forms a
      relatively narrow and frequently interrupted belt (123), and farther
      northward it is scarcely represented. An interesting feature which
      merits study is that in regions where this zone is well developed,
      the juniper-pinon zone is poorly represented, and vice versa (15).
            Undoubtedly the entire population of limber pine, extending as it does
      from the upper to the lower timberline and from Canada to Mexico, consists
      of a number of distinct ecologic races.
         11 A Mexican term for this vegetation is “sabaneta” (156).
         12 Such a method of reproduction has also been reported for Quercus emoryi
      of the oak-mountain mahogany zone, and Pinus leiophylla of the ponderosa
      pine zone (114, 117), and for aspen as described above.


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       342                     THE BOTANICAL REVIEW
       Their true zonal relations seem to be well demonstrated in the
       mountains between San Francisco Peak, Arizona, and the desert to
       the south, where the oak-mountain mahogany zone forms a broad
       belt between the juniper-pihon and desert regions.
          This is the most heterogeneous of all the zones from the stand­
       point of the specific composition of the dominants. The oaks
        (Quercus gambellii, Q. gunnisoni, Q. undulata, Q, jendleri, Q.
       emoryi, etc.) are limited entirely to the region south of a line drawn
       from Denver, Colorado, to Logan, Utah, although the mountain
       mahoganies (Cercocarpus parviflorus, C. ledifolius, etc.) extend
       farther north. Other shrubby members of this zone which locally
       may replace oak or mountain mahogany are Rhus trilobata, Purshia
       tridentata, Fallugia paradoxa, Amelanchier spp. and Symphori-
       carpos spp. In Arizona this zone is enriched by a considerable
       group of shrubs of Pacific Coast affinity, whose significance will be
       discussed later. In valleys at the lower edge of the ponderosa pine
       zone in the Black Hills occur thicket-like stands of bur oak (Quercus
       macrocarpa) which possibly should be considered a part of the
       oak-mountain mahogany zone. Because this association in the
       Black Hills region is dominated by species of distinctly eastern
       affinity (Q. macrocarpa, Ostrya virginiana, Celtis occidentalis, C.
       crassifolia, Ulmus americana and Fraxinus campestris), Rydberg
        (137) considered this zone the western representation of the ex­
       tensive angiosperm forest region of the eastern United States.
       Again along the eastern edge of the foothills of the Cascades, for
       a short distance both north and south of the Columbia River, there
       occur thickets or low open forests of Quercus garryana at the
       ecotone between the coniferous forests and the adjacent prairie.
       These stands are the easternmost extensions of the Quercus garr­
       yana forests which characterize the over-drained gravelly plains
       lying at low elevations west of the Cascades.
          The dominant shrubs of the oak-mountain mahogany zone include
       both deciduous and evergreen species, although the latter are con­
       fined chiefly to the southern Rockies. Characteristically these plants
       form dense clumps which alternate with open areas of prairie or
       desert vegetation, but not infrequently they may be scattered indi­
       vidually as in a true savanna. According to Nichol (104), the cov­
       erage of the shrub synusia has increased as a result of overgrazing;
       Shantz (143) reported the opposite tendency in eastern Colorado.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          343

        Since the oaks are the largest (occasionally to 35 feet tall) and
      most dominant members of this zone in the central and southern
      Rockies, the vegetation may be properly referred to as ‘"chaparral,”
      a word of Spanish origin applied to any scrub community dominated
      by oaks. Shreve (151) has used the term ""encinal” (from the
      Spanish ""encina” meaning oak) for this zone in southern Arizona.

                            Vegetation of the basal plains
         The relatively level, non-forested plains and plateaus which sur­
      round the bases of the mountains are covered with various types of
      desert and grassland vegetation. West of the Rockies, from British
      Columbia to northern Oregon, a prairie characterized by Festuca
      idahoensis and Agropyron spicatum usually borders the forest.
      Southward from central Oregon to northern Arizona the lowland
      vegetation is a semidesert dominated by sagebrush (Artemisia
      tridentata), tall perennial grasses of the bunch habit, and halophytes
      such as Atriplex spp., Sarcobatus vermiculatus, Eurotia lanata and
      Grayia spinosa. From southern Arizona to western Texas and
      southward into Mexico the basal plains are occupied either by grass­
      land characterized by Sporobolus, Aristida, Bouteloua and Hilaria,
      or by desert characterized by Fouquieria, Larraea, Prosopis, Parkin-
      sonia, Acacia, Agave and cacti. Northward along the east edge
      of the mountains the foothills abut upon a prairie region where the
      dominants include Agropyron smithii, Koeleria cristata, Stipa
      comata, Stipa spartea var. curtiseta, Bouteloua, Buchloe and Carex
      eleocharis.
                           III. MOUNTAIN ENVIRONMENT
          Accompanying the altitudinal stratification of plant life, is a
      stratification of environmental factors. The fact that, to a certain
      point, rainfall increases up a mountain slope while temperature de­
      creases, is too evident to escape the attention of even the non-scien-
      tific tourist. Over a century ago Humboldt recognized this close
      correlation between the altitudinal zonation of vegetation and cli­
      matic factors, and surmised correctly that it is causal.
         As a basis for making inquiry into the causal relationships of
      altitudinal zonation of plants in the Rocky Mountains it will be
      necessary first to consider briefly the chief factors of mountain en­
      vironment. Although certain general features of environment are
      common to all mountainous regions, the influence of latitude, con­

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       344                        THE BOTANICAL REVIEW
       tinentality and prevailing winds bring about considerable indi­
       viduality in the environmental conditions of any particular mountain
       system. Therefore it is desirable to restrict the following discussion
       of mountain environment primarily to conditions as they are known
       to exist in the Rockies.

                                   Atmospheric pressure
          The magnitude of variation in atmospheric pressure with altitude
       is shown in Table 1. There are five noteworthy effects of atmos­
       pheric pressure upon plant growth, and these are strictly indirect:
        (a) Thinness of the atmospheric blanket at higher altitudes allows
       more intense insolation during the day. (Z?) Radiation of heat from
       soil surfaces at night is relatively rapid at high altitudes, due to
                   TABLE 1
       Relationship of Barometric
        Pressure to Altitude (99)

            Mean            Altitude                          TABLE 2
         Barometric          Above             Decrease in Mean Monthly Tem­
          Pressure         Sea Level            perature Per 1,000 Feet of Ele­
          in Inches         in Feet                 vation IN Colorado (128)

              30                 0
              29               910              Month Decrease       Month     Decrease
              28             1,950
              27             2,820              Jan.       1.0° F     July        2.8
              26             3,800              Feb.       2.5        Aug.        2.9
              25             4,800              Mar.       3.4        Sept.       2.8
              24             5,900              Apr.       3.4        Oct.        2.3
              23             7,000              May        3.5        Nov.        2.8
              22             8,200              June       3.5        Dec.        1.8
              21             9,300
              20            10,600
              18            13,200
              16            16,000
              15            19,000


       rarefied atmosphere, (c) At reduced pressure the evaporative
       power of the air is increased. Raber (119) states that the rate of
       evaporation from an atmometer at an elevation of 6,000 meters is
       about 2.5 times greater than at sea level. (</) The lower the atmos­
       pheric pressure, the lower the partial pressure of oxygen, which
       condition aggravates the inherent tendency toward suboptimal
       oxygen concentrations in the soil at high altitudes. The significance
       of this factor has been demonstrated by Dutt and Guha-Thakurta
       (47) who obtained distinct reductions or cessation in growth, de­

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                           345

       pending upon the species, by growing plants at pressures approxi­
       mately equivalent to elevations of 13,000 to 20,000 feet. However,
       they found that when the partial pressure of oxygen is maintained
       equal to that of the normal atmosphere at low altitudes, variations
       in pressure have no effect upon the plant. (^) The lower the atmos­
       pheric pressure the lower the partial pressure of carbon dioxide,
       which even at low altitudes is generally a limiting factor in photo­
       synthesis.
                                     Insolation
          A considerable portion of the sun’s radiation is absorbed by the
       water vapor, carbon dioxide and dust of the atmosphere through
       which it must penetrate before impinging upon the earth’s surface.
       The summits of mountains extend far upward into this gaseous
       blanket and consequently receive more intense insolation than the
       basal plains because there remains much less of the energy-absorbing
       atmosphere above them. The average maximal light intensity which
       penetrates to sea level is about 10,000 foot candles. With increasing
       elevation this value regularly increases so that the most intense light
       which reaches the earth’s surface is at the summits of high moun­
       tains where the maximal intensity is about 12,000 foot candles
        (148). The heating properties of insolation as well as the propor­
       tion of ultraviolet rays are also relatively greater at high altitudes.
          A factor which compensates at least in part for the intense poten­
       tial insolation at high elevations is the clouds which tend to hover
       over mountain masses while the skies over adjacent basal plains
       remain unobstructed. However, the full intensity of insolation is
       attained rather frequently at high elevations in the Rocky Mountains
       because of the general aridity of the region, so that the plants grow­
       ing there must be attuned to withstand occasional days of maximal
       intensity interspersed among cold, cloudy periods.

                                      Temperature
          Because the temperature of the air normally lowers with increas­
       ing elevation above the earth’s surface, mountain slopes rise di­
       agonally across progressively cooler strata of air. The resultant
       altitudinal temperature gradient on mountain slopes in the Rockies
       averages about 3° F per 1,000 feet. Robbins (128) showed that
       this temperature gradient is not as steep at high altitudes as at low,
       and that it is greatest in early summer when the upper slopes are

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      346                           THE BOTANICAL REVIEW
      still covered with snow (Table 2). Data presented by Price and
      Evans (118) more recently corroborate Robbins’ conclusions. This
      gradient is also affected by direction of exposure, being steepest
      on the south sides of mountains in the northern hemisphere, but it is
      not affected by latitude (59).
         In consequence of the temperature gradient, the data of the last
      killing frost is progressively later with rise in elevation. For each
      increase of 1,000 feet in altitude the data of the last killing frost in
      spring is about two weeks later in Arizona (151) and in New
      Mexico (87). Very similar conditions obtain in the Wasatch
      Mountains in Utah, for the growing season there is reported to
      begin lQ-14 days later for each increase of 1,000 feet in altitude
      (34).
         Autumnal frosts, on the other hand, begin earlier at high eleva­
      tions, and, therefore, because it is shortened at both ends, the length
                                           TABLE 3
            Frost-Free Period in Vegetational Zones at Various Latitudes

               Region                 Ariz. & N, Mex.      Utah           Northern
            Source of Data                 (109)           (118)          Rockies^*

      Upper timberline.........          101-113 days                             .........
      Spruce-fir zone ...........        110-118              80
      Douglas fir zone .........         122-139              87            89-150
      Ponderosa pine zone ..             104-122             120^"          71-181
      Juniper-pinon zone ....            139-185              90              150

      of the frost-free period of summer decreases up a slope. This rate
      of decrease is so irregular and there is so much variation within the
      same zone at different latitudes in the Rockies (Table 3) that little
      direct significance can be attached to this aspect of temperature.
         Corresponding with the increasing length of winter at high alti­
      tudes, Bates (12) found that in the Pike’s Peak region the soil at
      a depth of one foot remains continuously frozen for 37 days in the
      ponderosa pine forest, and as long as 195 days at upper timberline.
         Unseasonal frosts are common in the Rocky Mountains. In the
      alpine zone frosts may occur any week in summer (38, 128, 146).
      Larsen (84) has stated that *‘none of the coniferous types in Mon­
           Although referred to as “oak brush” zone in Utah, a photograph of the
      station shows a number of ponderosa pines, and its elevation is given as over
      2,000 feet higher than the “pihon-juniper” station. Hence the station has
      been considered as the equivalent of the ponderosa pine zone in this Table.
           Previously unpublished data.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         347
       tana or Idaho are free from killing frosts at any time during the
       growing season/’ Judging from the detrimental effects of unsea­
       sonal frosts on certain deciduous trees which have been introduced
       into the Rocky Mountain region, this factor alone is sufficient to
       exclude many species from the natural flora.
          The tendency for dense masses of cold air to drain down the val­
       leys at night and slide under less dense layer of warm air results in
       temperature inversion,       inversion of the normal vertical gradient
       of atmospheric temperature. This phenomenon is very pronounced
       in the Rocky Mountains, and its influence can be recognized in
       almost any series of temperature data.
          During four seasons of study in the mountains of northern Idaho,
       Hayes (63) recorded inversions on 89-99% of the nights between
       May 1 and September 30, inversions which attained an average
       magnitude of 18° F during the month of August.
          In Table 3 it may be seen that in Arizona, at least, the ponderosa
       pine zone which lies below the Douglas fir zone has a shorter frost-
       free season, a fact which may be attributed solely to strong nocturnal
       drainage of cold air onto flats occupied by ponderosa pine, for dur­
       ing the day the temperature gradient between these two zones con­
       forms with the expected gradient (109). This phenomenon of one
       zone having a shorter frost-free period than the zone immediately
       above it appears also in data assembled by Price and Evans (Table
       3) and by Graham (56). Thus, in general, the decrease in tempera­
       ture with increasing altitude is more pronounced in maximal figures
       than in mean or minimal figures, due to cold air drainage.
          Shreve’s studies have shown that minimal daily temperatures at
       any point in a ravine are equalled on the ridges only at 2,350 feet
       higher. Thus, isotherms zigzag across contour lines at every ravine
       and ridge, deviating a thousand feet or more in each case. The
       writer has observed the effects of this phenomenon on the phenology
       of herbaceous plants in forested ravines along the western edge of
       the Bitterroots. Each species of plant which enjoys wide distri­
       bution over the slopes of a ravine comes into flower earliest near the
       ridgetop and latest along the creekbed.
          Under conditions of inversion, the vertical rise in temperature
       does not continue indefinitely, but when a certain leveP® is attained
       the temperature gradient reverses and begins to decline in ac-
           Sometimes as much as 300 meters above the valley floor (59).


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      348                     THE BOTANICAL REVIEW
      cordance with the normal gradient. The upper layers of air in the
      inverted zone therefore constitute a warm horizon (the ^Thermal
      belt”), suspended between bodies of cold air above and below. In
      the Priest River Valley in northern Idaho, Hayes (63) found the
      thermal belt to lie between 700 and 1,700 feet above the valley floor.
         Close attention to the elevation of this thermal belt is amply
      justified in locating orchards and vineyards in mountainous topog­
      raphy, for the latest frosts in spring and the earliest frosts in autumn
      occur on the valley floors below. For example, Gordon (55) found
      the frost-free season to be fully a month longer in the thermal belt
      than on the valley floor in the Salt River Valley of Arizona. In
      addition, an understanding of the thermal belt appears useful in
      suppression of forest fires, for at night the rate of spread of fire is
      greatest in the thermal belt, and consequently efforts should be
      concentrated there (63).
         As mentioned previously, heating of the earth’s surface due to
      solar radiation is stronger at higher elevations. During the day so
      much heat energy is received and absorbed by the soil in alpine
      regions that despite the relatively low air temperatures, the maximal
      soil surface temperatures there approximate those on the basal
      plains, but after sundown the thinness of the air at high altitudes
      allows the soils to lose heat by radiation more rapidly and to a
      greater degree. In consequence, soil surface temperatures at high
      elevations are characterized by a relatively wide diurnal range.
         On the other hand, the maximal daily air temperatures are notably
      less than those at low altitudes, although the nightly minima are only
      slightly so (118, 146, 154). The cooler diurnal temperatures may
      be due to the relative inability of the air at high altitudes to absorb
      heat from sunlight, or possibly due to the more thorough mixing of
      air masses under the influence of higher winds. As a result of these
      conditions there is a greater diurnal range in air temperature at the
      lower altitudes (37, 66).
         The difference between the soil temperatures in the sun and shade
      are much greater at higher elevations. Almost all of the heat in
      shaded soils is derived from the atmosphere. Since the thin atmos­
      phere of high altitudes is always cool, the soil temperatures in the
      shade are very low, whereas at low elevations shaded soils obtain
      considerably more heat from the warm atmosphere.
         The decrease in average soil temperature with elevation is not as
      rapid as the decrease in average air temperature. Since the mean

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                           349

      soil temperatures are higher than mean air temperatures, the dif­
      ferences between soil and air temperatures is distinctly greater at
      higher altitudes (95).
         General temperature conditions are somewhat different on the
      east and west slopes of most ranges in the Rockies. Along the
      Pacific coast of central North America the climate is characterized
      by dry summers and wet winters, with mitigated temperature ex­
      tremes. The prevailing westward winds in this latitude tend to
      drag these coastal climatic characteristics inland, especially along
      two major storm tracks (Fig. 1), but with the crossing of each
      mountain range a considerable portion of this coastal influence is
      lost. This is particularly true at the crest of the Coast Ranges, and
      again at the divide of the Cascades and Sierras. East of the divide
      of the Rockies the influence of the ocean is entirely unrecognizable,
      but on the west slope winter temperatures are generally less severe
      as a result of the oceanic influence.

                                       Precipitation
         Uplift and cooling of winds as they cross a mountain mass results
      in relatively heavy precipitation, the amount of which is roughly
      proportional to the height to which the air mass is forced. Even
      though the westerlies lose most of their moisture in crossing the
       Sierras and Cascades and in consequence are low in relative humid­
      ity, there is sufficient cooling as they cross the Rockies that precipi­
      tation is substantially increased even at the edge of the foothills.
         Correlation between altitude and precipitation in the Rockies may
      be as irregular as is correlation of altitude with temperature. Some
      precipitation data (62) from two regions west of the continental
      divide in Colorado show how much variation can exist in the rate
      of increase with elevation in a restricted area (Table 4). Differ­
      ences in the amount of precipitation falling at the same altitude may
      be attributed to a number of causes, the chief among which are shape
      of the valleys, direction of exposure of the slope, angle of the slope,
      location with respect to adjacent mountain masses, orientation with
      respect to storm paths, distance from the ocean, and the total size
      of the mountain range (161).
         Pearson has assembled precipitation data for the principal vege­
      tational zones in Arizona and New Mexico (Table 5), and these
      show closer relationships than do precipitation-altitude correlations.

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      350                       THE BOTANICAL REVIEW
      Stations with similar moisture conditions might be expected to have
      similar vegetation regardless of altitude because of the strong de­
      pendence of vegetation upon moisture in this region of moderately
      low rainfall and dry air.
         On the higher mountain ranges, increase in precipitation with
      elevation attains a maximum on the intermediate slopes, and above
      this point there is a gradual decline in the precipitation-altitude
      curve (Table 6). Shreve (151) found that stations located above
                      TABLE 4
         Mean Annual Precipitation         at
            Different Elevations in
                 Colorado (62)

              Region           Elev.    . Ppt.                     TABLE 5
            and Period        in Feet   in Inches        Mean Annual Precipita­
                                                         tion in Various Vegeta-
                               4,729      9.58             TioNAL Zones in Ari­
                               5,025      7.73                zona AND New
                               5,310     11.04                 Mexico (109)
                               5,694     17.69
                               5,823     17.17
       Between Glenwood        6,000     16.45                                    Inches
       Springs and Pali­       6,110     14.92                                      of
       sade, 1922-1926         6,175     11.83                  Zone             Precipi­
                               6,500     15.37                                    tation
                               6,600      7.99
                               6,925     22.82         Spruce-fir ...........     34.24
                               7,670      9.77         Douglas fir ...........    26.36
                                                       Ponderosa pine ...         21.35
                               7,884     16.81         Juniper-pinon ....         16.53
                               8,153     16.87         Grassland ........         10.60
                               8,608     23.41
       Headwaters of           8,671     19.10
       Fraser River,           8,800     15.70
       1909-1916               8,800     17.38
                               9,600     30.70
                              11,660     47.80


       7,600 feet in the Santa Catalina Mountains of Arizona receive less
       precipitation than at that elevation. Sampson (141), whose work
       has recently been corroborated by Price and Evans (118), found
       that the maximum precipitation in the Wasatch Mountains of Utah
       occurs in the Douglas fir zone, which receives about one and a half
       inches more rain per year than the spruce-fir zone. Whitfield's
       (170) precipitation records of May-September, 1929-1930, indicate
       that the elevation of 12,150 feet in the alpine zone of Pike's Peak
       receives nearly three more inches of rain during the summer than
       an elevation of 14,109 feet on the same mountain.

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                   VEGETATION ZONATION IN THE ROCKY MOUNTAINS                      351

          Shreve (151) suggested that this reduction in precipitation at
       high elevations may possibly be attributed to differences in the type
       of storms at different elevations. Also, it is evident that before a
       current of air rises very far up a slope it has lost most of its mois­
       ture by condensation and precipitation and therefore becomes abso­
       lutely incapable of giving up great quantities of water, even though
                                                  TABLE 6
       A Precipitation Transect 350 Miles Long Extending from West to East
       Across the Rockies in Colorado in the Latitude of Approximately
       39° 15'. This Transect Illustrates Several Important Characteristics
       OF Precipitation in the Rocky Mountain Region. The Steeper Portion
       OF THE East Slope (Totals for Stations 8--10) is Relatively Drier Than
       THE Corresponding Part of the West Slope (Totals for Stations 4-6),
       AND Also Drier Than Stations on the Basal Plain at Still Lower
       Elevation but Located Beyond the Range of the Rain-shadow Effect
       (Totals for Stations 11-12). The Zone of Maximum Precipitation on
       THE West Slope at This Latitude is Approximately 8,000 Feet (Total
       FOR Station 5), at Which Altitude Precipitation is Nearly Twice That
       Which Falls 2,000 Feet Higher (Total for Station 7). Summer Pre­
       cipitation IS Relatively Much Greater Than Winter on the East
       Slope at All Stations, Whereas West of the Divide Summer and
                      Winter Precipitation Are Nearly Equal

                                                            Mean    Mean      Mean
                     Weather                      Alt.      Ppt.
                                                   in                Ppt.    Annual
                     Station                                Dec.-   June-
                                                  Feet                        Ppt.
                                                            Feb.    Aug.
        1.   Fruita .........................     4,590     2.47    2.28      10.49
        2.   Palisade ........................    4,729     1.70    2.75      10.90
        3.   Collbran ......................      6,000     3.51    3.61      16.08
        4.   Columbine Ranch .......              6,925     6.61    6.00      25.03
        5.   Marble .........................     7,951     7.82    6.46      28.32
        6.   Aspen ...........................    9,483     4.70    3.90      18.19
        7.   Alma ...........................    10,228     2.21    6.16      14.98
        8.   Como ...........................     9,785     1.96    7.05      15.61
        9.   Cheeseman ..................         6,890     1.41    7.23      16.37
       10.   Thon ...........................     6,500     0,84    6.28      15.85
       11,   Flagler .........................    5,243     1,26    8.28      17.60
       12.   Burlington ..................        4,160     1,25    8.32      17.59


       the temperature is reduced still further and the frequency of precipi­
       tation is increased. Still another factor which must be considered
       is that the higher the elevation, the more opportunities exist for air
       currents to cross a mountain range by passing between the higher
       prominences without rising over them. Relatively low mountain
       ranges in the Rockies do not attain sufficient elevation for precipi­
       tation to drop off at their summits.
          Differences in the amount and seasonal distribution of precipita­
       tion on the east and west slopes of the Rockies are of sufficient mag­

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      352                     THE BOTANICAL REVIEW
      nitude to be very important. This is due to the fact that the Rockies
      lie directly across the path of the westerlies which lose much of their
      moisture as they rise up the west slope. As these winds descend
      the east slope they become warmer and consequently suffer a drop
      in relative humidity, with the result that the east slope lies in a
      ‘Tain shadow” (Table 6). Although the precipitation is much
      reduced on the east slope, the normal gradient is preserved chiefly
      by virtue of the carry-over of condensation which is initiated on the
      windward slope.
         East of the divide the summer and winter precipitation are nearly
      equal or the former is the heaviest, but west of the divide winter
      precipitation predominates (Table 6), especially at high altitudes
       (56, 118). Closely related to the dryness of the winters east of the
      divide is the fact that the ground there is covered with snow for
      shorter intervals than westward. Snow cover is rendered even less
      continuous east of the divide by the warm dry winds (chinook, or
      foehn winds) which descend down the east slope with frequent
      regularity during the winter, quickly evaporating the snow as they
      advance (20, 74, 127).
         Robbins (128) showed that variations in precipitation from year
      to year are of greater magnitude on the east than on the west slope
      in Colorado.
         A number of differences exist between the floras on sides of the
      continental divide, and these must at least in part be attributed to
      differences in climate, although the relative importance of the tem­
      perature and moisture differences are unknown. Pinus cembroides
      var. monophylla, for example, is limited to the west slope, although
      the closely related var. edulis is not. Juniperus utahensis is likewise
      found only on the west slope while /. scopulorum occurs on both.
      A great majority of the species listed as being limited to the north­
      ern or southern Rockies on page 329 occur only west of the Rocky
      Mountain divide. Another distributional fact of possible signifi­
      cance is that J. monosperma, Quercus gambellii and Q, utahensis
      extend farthest northward west of the continental divide. The
      greatest differences in vegetation on the east and west slopes are on
      the basal plains, as described previously.

                                  Relative humidity
        Very little study has been made of this environmental factor in
      the Rocky Mountains. Robbins (128) stated that there is no con­

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                           353

       stant and regular relationship between humidity and altitude.
       Whitfield (170) concluded that during the day in summer, the rela­
       tive humidity is highest in the alpine zone in Colorado and lowest
       in the prairie, and that at night this gradient is reversed. He re­
       marks further that the diurnal range is greater at higher elevations,
       a statement which is also borne out by observations in Arizona
        (109).
          Hann (59) states that on high mountains winter is the driest
       season from the standpoint of relative humidity, while the reverse
       is true on the basal plains.

                                      Wind velocity
          Those investigators who have measured wind movement over
       wide altitudinal range in the Rockies (11, 66, 170) have concluded
       that velocities are lowest on the midslopes, and increase in both
       directions toward the plains and toward the high summits.
          In southern Colorado Bates (11), who has presented the most
       complete set of data, found that altitudinal differences in wind are
       relatively small during the summer months, but during the winter
       the gradient at high altitudes increases sharply in the vicinity of
       upper timberline. For the coldest part of winter he found the total
       miles of wind on a deforested site within the spruce zone to average
       5,000-6,000 miles per month, as compared to 10,000-15,000 miles
       at upper timberline. Records made half a century ago show that
       on the summit of Pike’s Peak, several thousand feet above timber­
       line, January has a mean total of about 18,600 miles of wind.
          Although as a rule wind is an important ecologic factor only at
       high altitudes, locally the increase in velocity toward the basal plains
       may render the factor of considerable importance at low elevations
       as well. For example, along the foothills on the east slope of the
       Rockies in northern Montana the trees are obviously wind-deformed
       and occur in groves which bear close relationship to such topo­
       graphic irregularities as afford some measure of protection against
       strong winds.
                                     Evaporation
          The evaporative power of the air is controlled by temperature,
       relative humidity, wind velocity and atmospheric pressure. If tem­
       perature alone governed the altitudinal gradient of evaporation, it
       would decrease with increasing altitude. The gradients of wind

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      354                             THE BOTANICAL REVIEW
                                                  TABLE 7
      Relative Evaporation in Different Vegetation Zones in the Rocky
        Mountains. Only Data from Atmomeres Located in the Open and
          Operated for Several Weeks Are Used. The Station on Each
                Slope Having the Lowest Rate of Evaporation is
                    Taken as Unity, to Which All Others
                         ON That Slope Are Compared

              State             Utah                Colorado         Colorado            Wyoming
              Source            (141)                (169)             (66)             Daubenmire“

      Alpine zone ....                            1.33“   1.00^"         1.00“             1.66
      Spruce-fir zone..             1.53                                 1.49              1.00
      Douglas fir zone              1.00          1’66    i’.64
      Ponderosa pine
        zone ...............                                            2.13
      Oak-mountain
        mahogany zone               1.42
      Grassland zone..               ...          2.47    1.52                             2.36



      velocity and atmospheric pressure, on the other hand, exert differ­
      ent effects.
         A study of the available figures on atmometric evaporation
      (Table 7) together with a consideration of Pearson’s (109) data
      from the open pan type of instrument, reveals that evaporation is
      characteristically low in the forest belt, attaining a minimum in
      either the spruce-fir or Douglas fir zone. From this elevation the

                     TABLE 8                                             TABLE 9
      Precipitation/Evaporation Ratio                     Physiologic Temperature Effi­
       FOR June Through Septem­                            ciency FOR Vegetation AL Zones
            ber IN Arizona (109)                             IN Northern Arizona, May
                                                               TO September, Inclusive,
                                                                      1918 (109)
                 Zone                  P/E ratio

      Upper timberline ....                0.81                      Zone                   Index
      Spruce-fir ................          1.39
      Ponderosa pine .......               O.SS           Upper timberline ....               630
      Grassland ................           O.IS           Spruce-fir ................         994
                                                          Douglas fir...............        2,008
                                                          Ponderosa pine .......            3,822
                                                          Juniper-pinon...........          8,412

           Summer of 1929.
           Summer of 1930.
           Wind velocity in 1935, when this comparative series of evaporation fig­
      ures was obtained, was only 68% of the velocity during the preceding summer.
      Also, precipitation was heaviest at this station in 1935. The relatively low
      figure for evaporation rate in the alpine zone therefore cannot be depended
      upon as representative of average conditions.
           Previously unpublished data.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         355

      evaporative power of the air increases both up and down the slope.
      Shaw (29) also found the evaporative rate to be lowest at inter­
      mediate elevations in the Selkirks.
         The precipitation/evaporation ratio bears the opposite relation to
      altitude, as is shown by data obtained for the summer season in
      northern Arizona (Table 8).

                                          Soils
         Considering only the broader aspects of this factor, it appears
      that as a result of climatic or vegetational influences, there are sev­
      eral soil characteristics which vary consistently with altitude. The
      total organic content (76) and nitrogen content (65) of the soil
      increase with elevation, phenomena which are usually correlated
      with an approach toward cool, moist climates.
         In the grassland zone in Arizona, the soil reaction at a depth of
      six inches is alkaline, pH 8.2. With increasing elevation the pH
      drops progressively until the same horizon at timberline has a»pH
      of 6.5 (109). A nearly identical gradient was found by Graham
       (56) in the Uintah Mountains of Utah.
          Pearson (109) stated that soils tend to be deepest at intermediate
      elevations in Arizona, particularly in the ponderosa pine zone. At
      higher elevations, he explains, weathering is hampered by low tem­
      peratures with a result that the chief agent of weathering there is
      temperature change. Thin coarse soils are characteristically the
      product of the mechanical type of rock disintegration. Also at ele­
      vations below the ponderosa pine zone, soils tend to be coarse and
      thin because drouth restricts the chemical processes of weathering.
      At intermediate altitudes both chemical and mechanical processes of
      disintegration operate together and here soils are consequently deep­
      est. Applicability of these statements to other portions of the Rocky
      Mountains has not yet been shown.

                                      Topography
         Perhaps the most complex factor in mountain environment is
      topography, which influences plant distribution indirectly through
      its control of the primary factors mentioned above. As discussed
      previously, topography disrupts the normal temperature gradient on
      a slope through its influence upon cold air drainage. All other
      factors being equal, west-facing slopes are hotter in summer than

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      356                      THE BOTANICAL REVIEW
      east-facing slopes, because the sun sets on an east slope shortly
      after the time of maximal air temperature, whereas the west slope
      is subjected to several hours of insolation during the hottest part
      of the day. Due to the low angle of the sun in winter a similar
      temperature difference is found between north-facing and south­
      facing slopes. Alter (1) stated that, other factors being equal, a
      surface sloping only 1° to the north has approximately the same
      temperature relations as a level surface 70 miles further north, and
      a 5° slope would find its equivalent solar climate 350 miles further
      north. North-facing slopes have a shorter season of growth and
      exposure to desiccation as well as a much greater supply of water
      when the dry summer season begins, although (63) the magni­
      tude of these environmental differences decreases with increasing
      elevation. The degree of topographic irregularity also has a
      marked influence upon the amount and uniformity of distribution
      of rainfall, and upon wind velocities.
         Humboldt was first to call attention to the fact that the tempera­
      ture on a plateau is generally higher than that which prevails at the
      same elevation on peaks which rise from the lowlands at the same
      latitude (90). Hann (59) states that the average temperature at
      the earth’s surface decreases upward at the approximate rates of
      PC per 180 m on mountains, per 200 m on hills, and per 250 m
      on plateaus. Furthermore, the vertical decrease in temperature in
      the northern hemisphere is more rapid on southern than on northern
      sides of mountains.
         Vegetational phenomena which may possibly be related to some
      of the above temperature and moisture phenomena have been ob­
      served in the southern Rockies. Shreve (153) has shown that the
      higher the basal plain from which a mountain rises, the higher the
      actual elevation of a particular vegetation zone. His data show
      that this may amount to a variation as great as 1,800 feet in the
      elevation of lower timberline on different mountain ranges in the
      same latitude. Zon (174) states that in southern New Mexico
      ponderosa pine descends to exceptionally low elevations, a phenome­
      non which is correlated with a very low basal plain.
         Shreve (153) has observed that in the southern Rockies the
      greater the height to which a mountain extends, the lower its vege­
      tation zones. This phenomenon is particularly significant when
      related to the recent findings of Turnage and Mallery (161).

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             VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          357

      These workers state that “rain is increased by the location of a sta­
      tion on the slopes of a high mountain, in a deep and narrow canyon,
      or immediately to the leeward of higher land/’ On the other hand,
      precipitation is decreased by “the location of a station on the slopes
      of a low mountain, or by its location on an abrupt peak.” Turnage
      and Mallery’s results are not in very good agreement with those of
      Pearson (109), who found that in Arizona and New Mexico both
      temperature and precipitation are higher in a vegetational zone
      where it occurs on a small isolated mountain than on a large moun­
      tain mass. These conclusions are based on climatological data as
      well as on measurements which show that tree growth is more rapid
      on the smaller mountains. Possibly the disagreement rests on the
      fact that the small mountains with which Pearson was concerned
      rise from a much higher basal plain than those to the south which
      were studied by Turnage and Mallery.
          From the above it is apparent that the topographic factor is at
      once complex and important, and that our understanding of this
      factor is very incomplete. At present we may be certain of but
      little more than the fact that topography accounts for most of the
      deviations from the ideal altitudinal gradient in climate, and from
      the ideal sequence of vegetational zones which in turn depend upon
      climate.
                                     IV. ETIOLOGY
         In view of the significant degree of altitudinal variation in many
      environmental factors, among which are included those generally
      conceded to be most critical for plant growth, it is not surprising
      that extremely few species are known to be capable of growing nat­
      urally throughout a very wide altitudinal range. A few species,
      such as Poa crocata (136), Paronychia diffusa, Potentilla quinque­
      folia, Cystopteris fragilis (138), Koeleria cristata and Populus
      tremuloides, run the gamit of zones from the alpine zone to the basal
      plains, but by far the majority of vascular plants are restricted to
      low, intermediate or high elevations, depending upon their physio­
      logical requirements and ranges of adaptability.
         The task of correlating environmental data with known facts of
      altitudinal distribution is very difficult. As yet there is a lack of
      sufficient research in the nature of controlled experimentation to
      warrant much drawing of conclusions from measurements of envi­
      ronmental factors. Furthermore, it is well known that the various

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       358                      THE BOTANICAL REVIEW
       factors of mountain environment, which were treated individually
       in the preceding section of this paper, do not operate separately
       upon plants. Variations in one factor alter the optimal and limiting
       intensities of the others. Yet in spite of this interdependence of
       factors it is quite evident in certain instances that a single factor
       out of the environmental complex attains an intensity so critical for
       plant growth that it may be considered the limiting factor.
          Fundamentally, the etiology of plant zonation involves a consid­
       eration of the factors which determine the upper altitudinal limits
       on the one hand, and the lower limits on the other. Since the
       climax dominants are the controlling species and are therefore of
       most ecologic importance, and since they have been investigated
       most thoroughly because of their economic importance, these will
       receive the major emphasis in the following discussion. It may be
       supposed without too great exercise of the imagination that there
       are relatively few types of causes for distributional limits on moun­
       tain slopes, and that these operate with nearly equal efficiency upon
       subordinates as upon dominants.

                                Upper altitudinal limits
          Evidence from various sources seems to indicate that the upper
       altitudinal limits of vegetation types in the Rocky Mountains are
       controlled, or at least greatly influenced, by one or more of the fol­
       lowing factors: low temperature, competition and other biologic
       influences, wind, snow and soil.
          Low temperature. In explaining the upper altitudinal limits of
       species distribution, considerable significance has been attached to
       the relative physiologic inefficiency of low temperatures during the
       growing season. Pearson has shown that the curve of physiologic
       efficiency of temperature decreases at a very rapid rate with increas­
       ing altitude (Table 9).
          Long ago Merriam expressed a firm belief that the upper alti­
       tudinal limits of all plants and animals are set entirely by tempera­
       tures too low to meet the heat requirements of the various species,
       although he offered neither experimental nor circumstantial evi­
       dence in support of this hypothesis (39, 77, 147). Somewhat later,
       in connection with the altitudinal distribution of fungi, Weir (168)
       also championed the importance of low summer temperatures. He
       observed that the mycelia of certain species grow very well at high

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          359

      altitudes where the individuals are quite rare, and this was taken to
      indicate that the upper altitudinal limits of these fungi may be deter­
      mined solely by temperatures too low to permit the germination
      of their spores. Bates (10,11) concluded that insufficient quantities
      of heat determine the upper limits of Douglas fir and ponderosa
      pine, not only because at their uppermost limits these species^® are
      confined to the warmest parts of the topography, i.e., ridgetops and
      the upper portions of south-facing slopes, but because he found soil
      temperature to be the factor which differed most consistently among
      the various forest zones in Colorado. Another phenomenon which
      may be taken as support for this temperature theory is that the
      climax communities below the spruce-fir zone frequently invade the
      next higher zone in the role of a temporary association following
      the destruction of the vegetation by fire or logging (11,83, 103). As
      a consequence of deforestation the average daily temperature of the
      habitat may be increased sufficiently to permit establishment of
      species characteristic of lower and warmer altitudinal zones. Later,
      failure of invading species to regenerate, resulting in their replace­
      ment by the original association, may be explained as results of re­
      development of shade sufficiently dense to restore temperatures to
      their former low levels.
         Experimental evidence of the importance of low soil temperatures
      was provided by Cannon (22) who demonstrated that the optimal
      soil temperature for plant growth varies greatly among species.
      Also some very significant observations have been made by Pearson
       (109) who transplanted seedlings of Douglas fir, ponderosa pine,
      pinon and juniper beyond the upper limits of their natural ranges,
      and found that all such transplants eventually succumbed. The
      appearance of the seedlings and the time at which they died strongly
      suggested that their natural upward limits are determined by their
      varying heat requirements during the growing season.
         It is undoubtedly true that plants of high altitudes have the great­
      est resistance to late frosts. Some observations by the writer illus­
      trate this point. On the night of June 17, in the spruce-fir zone of
      Wyoming, the temperature fell below freezing for six consecutive
      hours, dropping as low as 23^^ F. By that date most herbs and
      shrubs in the vicinity were either in flower or in vigorous stages of
      vegetative growth, but the only effect of this heavy frost was to
        20 Also true of pinon, juniper, oak, etc.


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      360                       THE BOTANICAL REVIEW
       cause a temporary wilting of leaves and flowers, a condition which
       in all cases disappeared completely in less than two days. These
       high-altitude plants are not only frost-resistant, but appear to have
       especially low cardinal temperatures for various functions. Pheno­
       logic observations (109) indicate that the cardinal temperatures for
       germination, root growth and shoot growth vary among conifers,
       and that these are relatively low for species of high elevations. The
       lowest threshold temperature for photosynthesis reported for vascu­
       lar plants, -■ 16° C, has been found in an alpine species (Henrici,
       as quoted by Miller, 1938, p. 594). All such adaptations lend
       further support to the belief that the decreasing physiologic efficiency
       of temperature up a mountain slope is a factor of the greatest impor­
       tance in setting the upper altitudinal limits of plant species.
          All the researches summarized above emphasize the importance
       of temperature gradient on mountain slopes during the growing sea­
       son. In the case of species characteristic of low altitudes it is quite
       possible that the coldest part of the winter season may likewise be
      critical. Shreve (149) found that the upper limits of distribution
       in a desert cactus (Cereus giganteus) appear to be determined by
       its inability to withstand more than 18 consecutive hours of freezing
      temperature. This suggests that possibly other species have a lim­
      ited tolerance of protracted cold weather, although no study of this
      factor has been made with respect to truly montane species.
          Competition and other biologic influences. The climax domi­
      nants at low elevations are very intolerant of shade. Progressing
      up the slope each zone in turn (except the alpine) is characterized
      by dominants of increasing ability to endure shade (19, 109).
          In connection with heat requirements reference was made to the
      fact that at their upper limits, the major climax communities are
      fairly well restricted to warm, dry sites, but will readily invade adja­
      cent cool, mesic sites in the role of temporary associations whenever
      competition from the species of higher altitudinal range which nor­
      mally grow there is eliminated. This phenomenon may also be
      interpreted as an indication of the importance of competition rather
      than of temperature. If this second interpretation of the facts is
      correct, the upper limits of distribution are generally set by the rela­
      tive inefficiency on the part of plants in the lower zones to compete
      in territory where the high altitude species find conditions suitable
      for growth (171). This biotic factor can apply to only the upper

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             VEGETATION ZONATION IN THE ROCKY MOUNTAINS                           361

      edge of the association, however, for Pearson’s transplant experi­
      ments showed that the upper limits of the scattered individuals of
      a species, which are higher than the limits of the association, are
      set by low temperature.
         An entirely different biotic factor controlling the upper altitudinal
      limits of species was described by MacDougal (91) who found that
      transplanting species of Opuntia from the desert to the oak zone in
      Arizona was highly successful only when the cacti were protected
      by rodent-proof screens. He concluded that rodents which inhabit
      the oak zone “act as barriers to the upward extension of certain
      Opuntias by devouring the plants.”
         Wind, At the upper timberline Engelmann spruce, subalpine fir
      and the other tree species which occur at this elevation are all strik­
      ingly dwarfed. The nature of this deformity as well as the distribu­
      tion of the individual trees within the ecotone show very clearly that
      wind is the primary factor preventing forests from extending farther
      up the mountain slopes.
         At timberline the pines develop only the deliquescent type of
      branching and are often very much misshapen. Limber pine is
      capable of the most extreme distortion; under the influence of strong
      winds from a constant direction it may grow completely prostrate
      upon the ground. Although lodgepole pine commonly does not
      attain upper timberline, when it occurs there it may respond to the
      severity of the environment by becoming essentially dioecious (78).
         Unlike the pines, the main axis of spruce and fir at timberline
      usually retains its dominance and erectness. In these trees the lat­
      eral buds on the windward side of the upper part of the main stem
      are killed, due either to desiccation or to blasting by wind-driven
      particles of ice. Consequently, branches develop only on the lee­
      ward side of the bole and give the upper part of the tree a flag
      shape. The lower branches of such trees form a low, streamlined
      mat which is protected from wintry winds by the mass of snow
      which it accumulates early in autumn. Layering of the lower
      branches which make up these basal mats enables isolated spruces
      and firs in the timberline zone to expand during favorable climatic
      cycles and form sizeable island-like clumps which tend to retain the
      general form of the parent tree. Later, death of the oldest trees in
       such an island may leave a central opening surrounded by a dense,
      atoll-like ring of offspring (57).

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      362                     THE BOTANICAL REVIEW
         Wind-molded clumps of all species of trees at timberline fre­
      quently show the effects of winter-killing in that the branch tips
      over the entire surface of the mass of shoots are dead and brown in
      spring. When this occurs the lateral buds produce vigorous growth
      so that each dead terminal is replaced by several shoots of lateral
      origin. The resultant complex system of branching gives these
      streamlined masses of vegetation a dense, superficial, shell-like can­
      opy. Winter-killing recurs frequently enough to perpetuate the
      even contours of these thickets; each time the twigs which have
      elongated the most vigorously are killed back the farthest. Consid­
      erable significance may be attached to the fact that Engelmann
      spruce, which extends up to timberline, is less susceptible to winter­
      killing than are Douglas fir or ponderosa pine, neither of which
      attains an equivalent elevation (13). That this form of winter­
      killing is truly a desiccation phenomenon is strongly indicated by
      the fact that in trees subjected to soil-drought under less rigorous
      atmospheric conditions the tips of the shoots die first (108).
         Aside from the deformed nature of timberline trees, another sig­
      nificant feature of these plants is their relation to topography.
      Especially in the upper part of the timberline zone, the individuals
      or clumps of individuals are confined to small areas immediately to
      the lee of prominences or to valleys, either of which situation offers
      a measure of protection from strong winds. That this behavior is
      associated with wind is shown by the fact that the trees are all on
      the same side of the windbreaks, regardless of soil or other condi­
      tions, and their streamlined contours are closely fitted to the feature
      which affords protection.
         In addition to such evidence as is provided by the form and distri­
      bution of trees at timberline, Rydberg (131) called attention to
      another phenomenon which shows the importance of wind. He
      noticed that in the central and northern Rockies :he more isolated
      the range the lower the altitude of its upper timberline. This may
      be attributed to the fact that a peak isolated from other high promi­
      nences is subjected to the fullest force of the wind, and since wind
      velocity increases with elevation, the point at which winds become
      too strong for forest cover is attained at a comparatively low alti­
      tude on an isolated peak.
         It has long been held that the poleward and upper altitudinal lim­
      its of forest growth coincide roughly with the warmest-month iso­

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          363

      therm of about 10° C, and Pearson’s data (109) for timberline in
      Arizona agree with this hypothesis. However, rather incontestable
      evidence that the exact limits of upper timberline throughout most
      of the Rockies are not determined by low temperature is the fact
      that trees reproduce well at upper timberline (109), survival depend­
      ing upon the degree of protection from wind or from excessive snow
      accumulation. Brandegee (18) remarked that the largest trees and
      most magnificent forests of Engelmann spruce are found close to
      upper timberline, and that there is no gradual decrease in size and
      vigor as characterizes the subarctic needle-leaved forest as it ap­
      proaches the arctic tundra. It must nevertheless be acknowledged
      that possibly the effect of wind would not be so important were it
      not for the fact that low temperature increases the viscosity of water
      to the extent that transpired moisture is not replaced rapidly enough
      to prevent desiccation. Of the two factors, wind and low tempera­
      ture, the more importance can be attached to wind, for where wind
      action is severe, timberline is depressed to relatively warmer alti­
      tudes, even down to sea level (93). Moreover, an occasional tree
      may be found nearly a thousand feet above the average timberline
      in an exceptionally well protected site. The theory that wind is the
      most critical factor bringing about the abrupt termination of the
      forest at upper timberline needs to be supported by data which show
      a correspondingly sharp increase in wind velocity at this ecotone.
      Such information has been provided for southern Colorado by Bates
       (11) who showed that the total wind for the month of January is
      about 13,000 miles at upper timberline, but less than 6,000 miles in
      the spruce-fir zone just below.
         All the above evidence points to the conclusion that throughout
      most of the Rockies the upper altitudinal limits of tree species which
      reach timberline are determined primarily by high wind velocity,
      and that wind is effective by promoting transpiration at times when
      the soil is frozen and plants cannot absorb or conduct moisture with
      sufficient rapidity to replace that lost by transpiration.
         Snow depth. The effect of wind is not always evident in the
      form and distribution of trees at upper timberline. Shaw (145)
      showed rather conclusively that the upper edge of the forest in cer­
      tain parts of the Selkirk Range is determined by excessive snowfall
      at high altitudes in that part of the Rockies. He pointed out that
      this cause of timberline may be recognized by an abundance of dead

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      364                      THE BOTANICAL REVIEW
      lower branches on the trees which appear to have died as a result
      of being covered with snow^' for prolonged periods, while the upper
      parts of such trees remain symmetrical and vigorous. Also, under
      these circumstances the trees ascend highest on ridges where there
      is the least snow accumulation. By comparison, where wind deter­
      mines timberline the upper part of the tree is asymmetrical, due to
      the death of branches on one side, the lower branches are the largest
      and most vigorous, due to protection afforded by a moderately deep
      snow cover, and the last outposts are located in the lee of obstruc­
      tions or in valleys where the force of wind is least.
          The fact that in valley heads timberline is often a thousand feet
      lower than on the sides of the valley has likewise been explained as
      an effect of excessive accumulations of snow in such basins (131).
          Depth of snow is less important to low alpine plants than to trees.
      Wherever the soil is free of snow for even a few weeks in summer,
      certain alpine species can grow. These plants add materially to the
       length of their growing season by putting forth much of their new
       growth beneath the snow, utilizing only those rays of the early sum­
       mer sun which penetrate the slowly melting sheets of snow (61).
       Local areas upon which exceptionally deep drifts accumulate in win­
       ter may be recognized late in summer by their floras (38, 144).
       This ‘‘snow patch” flora is generally poor in species and has differ­
       ent dominants than other associations in the alpine tundra.
          Soil. The nature of the substratum is usually not important in
       determining the general distribution of major vegetational regions
       or zones, but the exact location of the margins of these zones, as
       well as local distribution of the component communities, are fre­
       quently controlled by soil factors.
           As a result of many observations in the southern Rockies, Shreve
        (152) concluded that “in general, desert species reach higher eleva­
       tions on volcanics than on gneiss and the highest elevations on lime­
        stone.” Also the upper altitudinal limits of juniper are sometimes
       extended by the lime content of the soil. Watson (164) reported
          21 The nature of the detrimental effect of deep snow cover is not clear.
      Death of the covered branches in many cases is the result of the action of
      parasitic fungi which grow vigorously during periods when the needles are
      imbedded in snow. There is no widespread shearing off of branches as
      described by Day (44) in the Lake States. Griggs (57) believed that the
      injurious effect of persistent snow cover results from the influence of stagnant
      snow water upon the tree roots. However, the writer has observed instances
      in the southern Selkirks where deep snow has greatly dwarfed trees on steep
      rocky slopes where drainage is exceptionally good.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          365
      that along lime-charged streams in northern New Mexico Juniperus
      scopulorum frequently replaces ponderosa pine. Soils containing
      much lime have been shown to be unfavorable to ponderosa pine
      and associated conifers (81).
        Upper timberline is depressed far below its theoretical climatic
      position by avalanching, where long continuous slopes extend from
      high up down into the forest zone. It may also be depressed merely
      by increasing scarcity toward the mountain tops of areas covered
      with even meager amounts of soil. For the same reason, alpine
      tundra may be represented on a mountain only by crevice plants
      without much indication of the nature of the fell field communities
      or climax meadows which theoretically follow. Because of lack of
      soil or insufficient height of the mountains, the true upper altitu­
      dinal limit for alpine plants cannot be observed in the Rockies except
      far north in Canada where the summits are capped with perpetual
      snow and ice.
                              Lower altitudinal limits
         The lower limits of plant distribution on mountain slopes seem to
      be conditioned by environmental forces entirely different from those
      that control the upper limits. Chief among the factors which merit
      discussion in this connection are drought, high temperature, soil
      texture and parasites.
         Drought. Most investigators in the Rockies have concluded
      from their observations that increasing dryness of the climate down
      the mountain slopes is the chief factor which determines the lowest
      altitude to which a species can extend its range. The evidence most
      frequently presented in support of this hypothesis consists of the
      habitat relations at the lower distributional extremes. It is a well
      established ecologic principle that as a species approaches the edge
      of its climatic range, it betrays the factor which is becoming more
      and more limiting in effect by an increasing dependence upon that
      edaphic or topographic feature which offers the most compensation
      for the climatic adversity. At their lowermost altitudinal limits the
      ligneous dominants of each of the Rocky Mountain zones occurs on
      habitats which are relatively mesic. It will be necessary to discuss
      separately the shallow-rooted trees (spruces and firs), and the
      deep-rooted trees and shrubs which grow at lower elevations.
         Under natural conditions the shallow-rooted trees, characteristic
      of the upper half of the forest belt, reach their lowermost altitudinal

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      366                      THE BOTANICAL REVIEW
      limits in ravines, either along the margins of the streams (spruces
      and subalpine fir) or along the lower portions of the north-facing
      slopes (Douglas fir). As one advances along the bottom of a ravine
      leading up from the foothills, he meets in turn the Douglas fir and
      spruce-fir associations in the expected order, but at elevations a
      thousand feet or more lower than the average lower limits of the
      zones.
         The soil on the lower portion of the north-facing slope is kept
      moist even in the driest part of summer by seepage from above. In
      the bottom of the ravine there is always an abundance of moisture
      just below the surface, even though the stream may disappear dur­
      ing the summer. Furthermore, transpiration-promoting factors are
      of low intensity in a ravine, for the air is relatively cool, at least at
      night, due to cold air drainage, and the habitat is sheltered from
      desiccating winds as well as from long daily periods of insolation.
      In these habitats loss of heat by radiation begins earlier in the after­
      noon and continues until relatively late the subsequent morning, due
      to protection from the sun’s rays coming at low angles. It would
      appear that the shallow-rooted, and hence drouth-sensitive, species
      characteristic of higher elevations attain their lowest altitudinal lim­
      its in ravines because of the highly favorable water-balance condi­
      tions which prevail there.
         Drouth may be equally as critical in winter as in summer. Bates
       (14) observed that in a nursery established in the ponderosa pine
      zone of Colorado, Douglas fir seedlings suffer very heavily during
      winter, apparently because of effects of warm dry winds.
         Competition cannot be a factor in determining the lower limits of
      these relatively mesophytic climax trees of higher altitudes, for the
      higher the altitudinal distribution of the tree the greater its toler­
      ance of shade (19). At its lower limits each species forms an eco­
      tone with less tolerant types and thus has the advantage on any site
      where there is moisture sufficient for its growth. For this reason
      stable mixtures of the species of any two zones exist only along very
      narrow ecotones. The only apparent exception to this general rule
      is that not infrequently stands of ponderosa pine are found with an
      understory of Douglas fir. In some of these cases the pine is not
      reproducing as well as the fir, and succession is clearly leading
      toward a pure Douglas fir forest. In other instances the aggres­
      siveness of Douglas fir is due only to a series of exceptionally wet

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         367

      years, and with a reverse swing of climatic cycles the young trees
      succumb to drought.
         In contrast to the group of mesophytic trees discussed above, the
      root systems of ponderosa pine and of ligneous dominants of still
      lower zones are relatively deep.^^ Although Douglas fir roots are
      actually intermediate in depth between the shallow-rooted spruces
      and firs on the one hand, and the deep-rooted pines, junipers and
      shrubs of lower elevations on the other, its habitat relations at its
      lower limits of distribution are similar to those of spruce and fir;
      hence it was discussed with the preceding group.
         Considerable insight is likewise gained into the ecology of the
      deep-rooted species by noting their habitat preferences at the lower
      limits of their altitudinal distribution. Along these xeric ecotones
      all members of this group are characteristically confined to thin,
      stony soil or rock outcrops (36, 48, 54, 120, 163). Such habitats
      offer a number of advantages to plants possessing their peculiar
      environmental requirements and growth habits. When the seeds
      germinate the tap roots can descend much more rapidly (108)
      through crevices between the rocks than would be possible in the
      fine-textured, more compact soils of other habitats. Hence, the
      deep-rooted ligneous seedlings in these habitats are able to establish
      contact early in the season with horizons possessed of a permanent
      supply of moisture which lies well beyond the reach of less deeply
      rooted species. Furthermore, the ratio of water to water-holding
      mass         the pulverized rock fragments) is high because of the
      great mass of large non-absorptive rock fragments, and the wilting
      coefficients of the soils are always so low that with only a small
      amount of rainfall the moisture content exceeds the wilting per­
      centage (160). Still another important characteristic of the habi­
      tat is that there is almost no runoff. The moisture penetrates
      rapidly and to such a depth that it is not quickly lost by evaporation
      into the atmosphere, or absorbed and transpired by the shallow-
      rooted herbs. The sum of all these slight advantages make the
      rock outcrop habitat relatively mesic and thus adequate for the
      transpirational demands of the ligneous species.
         The conclusions reached above from a consideration of the cir­
      cumstantial evidence of distribution are corroborated by studies of
        22 The roots of ponderosa pine in Arizona extend as deeply as 24 feet, and
      spread up to 150 feet from the base of the tree (173).


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       368                      THE BOTANICAL REVIEW
       soil moisture. These have generally shown that the soils under
       high-altitude forests are distinctly more moist than are those of
       forests at lower altitudes (8, 165, 60, 109).
          Observations of seedling mortality under natural and under con­
       trolled conditions have usually revealed drought to be the major
       factor in survival. This is true in the relatively mesophytic forests
       of high altitudes (58) as well as in the more xerophytic zones (80,
       167). Pearson (109) transplanted small trees of Douglas fir and
       blue spruce into the ponderosa pine zone and found that all such
       individuals succumbed to drought. Experiments with seedlings
       under controlled conditions have shown that soil drought is more
       important than atmospheric drought in the establishment of seed­
       lings of the Rocky Mountain conifers (41). In general the lower
       the altitude of a species the greater the length of time which its
       seedlings can endure soil which has dried to the wilting coefficient.
       Another physiological difference among the seedlings of different
       species is that those which grow at low altitudes have the most rapid
       rates of root penetration (108). Not only are such seedlings more
       likely to escape drought by their rapid root growth, but they are
       better able to endure its influence should desiccation overtake the
       root tips.
          To summarize all the above evidence, it appears that the approach
       toward an intolerable degree of aridity is probably the most impor­
       tant factor which determines the lower limits of ligneous dominants
       in the Rocky Mountain vegetational zones. Differences among
       species as to type of root system bring about distinctly different
       habitat relafionships at the lower limits of their ranges.
          High temperature. Two investigators have held that the lower
       limits of plant distribution in the Rockies are determined by their
       varying abilities to endure mid-summer heat, the intensity of which
       increases with decreasing altitude. Merriam (97) believed that
       this critical degree of heat could be expressed as the mean tempera­
       ture of the six hottest consecutive weeks in summer. However, he
       presented no evidence in support of his contention, nor has it ever
       been accepted by students of experimental plant ecology (39).
          Along a vertical section through a typical terrestrial habitat, the
       maximal temperatures are attained in the upper few millimeters of
       the soil, due to absorption of the longer waves of radiant energy.
       Therefore, temperatures at the soil surface are most likely to attain
       a degree which is lethal to the protoplasm of tender seedlings.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                           369
          Bates (10) concluded from his experiments that the seedlings of
      ponderosa pine are better able to resist high temperatures than those
      of Douglas fir or Engelmann spruce. These results were taken to
      indicate that the lower limits of distribution of various tree species
      are determined chiefly by the varying abilities of their seedlings to
      withstand high temperatures. Furthermore, Bates would interpret
      the habitat preferences of species at lower edges of their ranges in
      the light of temperature rather than moisture, as others have done.
      The partial shade afforded by irregularities of the soil surface in a
      ravine he believes to be more important than the relatively favor­
      able moisture conditions of these habitats.
          Plausible as it may seem, this high temperature hypothesis based
      upon the above observations meets with difficulty in the following
      manner. Most research is in essential agreement that if tempera­
      tures between 120-140° F. are maintained for only a few hours,
      serious injury is sustained by the seedlings of most temperate zone
      trees. While this temperature range, as well as higher levels, is not
      uncommonly attained on unprotected south-facing slopes, it is prob­
      ably never attained under forest conditions. Shreve (155) has
       shown that although soil surface temperatures in the sun exceed
      temperatures of the air, a very slight shading will allow evaporation
      to reduce the soil temperature below that of the air, even in the
       desert zone, Korstian and Fetherolf (82) found that high surface
       soil temperatures caused lesions at the ground line in seedlings of
       Engelmann spruce when planted below its natural elevation limits
       in Utah, but they also observed that even a slight shading of the
       soil at the base of the stem, caused by an inclination of the seedling
       to the south, greatly reduced mortality from this cause. If the soil
       temperature is the factor which prevents Engelmann spruce seed­
       lings from surviving on the shady forest floor of Douglas fir stands,
       the critical lethal point for spruce must be far below that of any
       other conifer for which figures have been presented. Furthermore,
       tests of temperature tolerance under controlled conditions have
       shown that the seedlings can tolerate temperature levels well in
       excess of those which prevail at the lower limits of each species’
       distribution (41). The importance of drought, on the other hand,
       is shown by the fact that there occur dry periods in summer which
       take a heavy toll of spruce seedlings, even in the dense forests in the
       spruce-fir zone. It is also significant to note that in the Forestry

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      370                     THE BOTANICAL REVIEW
      School nursery at Moscow, Idaho, seedlings of most species of
      conifers can be grown successfully without shade, even though the
      nursery is located on the basal plain where the primeval vegetation
      was prairie.
         Although the relative importance of temperature and moisture
      is not revealed, the fact that one or both of these two climatic fac­
      tors determines the altitudinal ranges of the zones is shown by the
      effect of topography upon elevation of the zones. A given zone
      usually occurs at higher elevations on cool, moist, northerly slopes
      than on hot, dry, southerly aspects. On San Francisco Peak, for
      example, Merriam (96) found that the vegetational belts are ap­
      proximately 900 feet higher on the southwest than on the northeast
      exposure. This may be interpreted to mean that for a given point
      on the northerly slope, ecologically equivalent conditions of moisture
      and (or) temperature are attained 900 feet higher on the opposite
      slope. In certain cases, at least, drought alone is responsible for
      raising the elevation of zones. In the Rincon Mts. of Arizona,
      Blumer (17) found that the vegetation zones are higher on the west
      slope which is not much hotter than the east but is relatively much
      drier, due to desiccating westerly winds.
         In conclusion it must be admitted that there is no more difficult
      task in etiologic plant geography than to distinguish drying effects
      of high temperature levels from injury caused to protoplasm by
      temperature per se. With the present status of research, the rela­
      tive importance of these two environmental forces cannot be ad­
      judged. Certain ecologists are inclined to give more weight to
      drought (109, IS 1, 165), while Bates champions the effects of high
      temperature with equal vigor.
         Soil texture. Most trees and shrubs which dominate the various
      altitudinal zones in the Rocky Mountains appear to have rather
      high requirements with respect to soil aeration. With ponderosa
      pine, for example, survival of seedlings is better on porous than on
      fine-textured soils, even though favorable amounts of growth water
      are present in both (6, 7, 107). Since the alluvial and loessal soils
      of the basal plains are commonly finer-textured than the residual
      covering of the mountain slopes which have lost much of their finer
      material through natural erosion, the lower limits of the ligneous
      associations often terminate abruptly at the lower edge of mountain
      slopes where the erosional and depositional surfaces are in contact.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          371
       Even though extension of montane associations to lower altitudes
       would be possible from the standpoint of climate, the occurrence of
       bodies of fine-textured soils at low altitudes often elevates lower
       timberline far above its climatic limits, sometimes setting this line
       so high as to fall in the Douglas fir zone (7). Perhaps the aeration
       problem at low altitudes is aggravated by the warmth of the climate,
       for the higher the temperature the higher the lower critical oxygen
       concentration for roots (24).
          That this matter of aeration may provide an explanation of lower
       altitudinal limits only in the case of the lowest zone of ligneous
       vegetation is shown by the fact that the dominants of the juniper-
       pinon zone seem to require fully as much soil oxygen as does
       ponderosa pine, yet both associations may be found on the same
       slope with the juniper and pinon occupying the lower, more xeric
       levels. Where the lower limits of the ponderosa pine zone are deter­
       mined by poor aeration, other ligneous zones are likewise excluded
       from the fine-textured soils. In many places gradual ecotones
       indicative of a climatic gradient may be found between the grassland
       or desert vegetation and the oak-mountain mahogany zone, and
       between each of the ligneous zones. Nevertheless, so common are
       sharp textural distinctions between soils of the mountains and ad­
       jacent plains that lower timberline is very frequently elevated above
       its climatic limits by edaphic conditions.
          Parasites. It is quite possible that in a few cases climate may
       determine the altitudinal limits of vascular plants indirectly through
       its influence upon the pathogenicity of their parasites. For example,
       Weir (168) remarked that in most cases trees are more vigorously
       attacked by their fungal parasites at low elevations. He suggested
       that this may be due to climate checking the growth of the fungus
       directly at high altitudes, or it may be due to changes in the struc­
       ture and composition of the plant tissues which render infection
       more difficult.
          Until further observations have been made, this phenomenon
       must be looked upon only as a minor contributory factor in plant
       zonation. It can be assigned a position of more significance only
       if an instance is found where, at the lower altitudinal limit of a
       species’ range, the individuals are so vigorously parasitized that its
       life cycle cannot be completed.

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       372                      THE BOTANICAL REVIEW


          Fundamentally, the phenomenon of plant zonation depends on the
       one hand upon differences among species as to their limits of toler­
       ance of dimatic variation, and on the other, upon a progressive
       change in dimate from the top to the bottom of a mountain slope.
       Each spedes is best represented at the altitude where its environ­
       mental requirements are most completely fulfilled, provided that
       all other species with similar habitat requirements do not exceed
       ite competitive abilities.
          The concept of zonation with respect to plant associations is none
       too ideal, for scarcely any two species have exactly the same physio-
       iogic requirements of altitudinal ranges. For example, Engelmann
       spruce usually descends to much lower altitudes than subalpine fir,
       and in the juniper-pinon zone the ranges of the two dominant
       genera are different, although they overlap greatly (56, 70, 113,164,
       174). In consequence, it might appear that the altitudinal ranges
       of the climax dominants constitute the sole criterion of zones.
       However, because subordinate plants are not only affected by the
       same climatic factors but are more or less dependent upon the
       environmental influences of particular climax dominants, many
       shrubs and herbs tend to correspond with the dominant trees in
       their distribution. Because of this there exist more fundamental
       differences between zones than is expressed merely by differences
       in the dominant species.

                            v. ALTITUDE VerSUS LATITUDE
          Progressing in a poleward direction along a mountain range,
       each zone descends gradually so that its lower edge finally meets
       the basal plain. Beyond this latitude only the upper limits of the
       zone continue to descend, so that its altitudinal breadth steadily
       decreases until it is figuratively ‘‘run into” the basal plain. At this
       point the lower limit of the next higher zone first meets the basal
       plain, etc.
          In the opposite direction each zone is found at increasingly higher
       elevations until a latitude is reached beyond which there are no
       peaks high enough to provide suitable climate. In consequence of
       this altitude-latitude relationship, any one zone extends farther in
       a poleward direction than the next lower zone, which on the other
       hand extends farthest in an equatorial direction.
          As discussed earlier in this paper, the present status of research
       warrants the broad conclusion that the major factors determining

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         373

      the upper and lower altitudinal limits of zones in the Rockies are
      low summer temperatures and drought, respectively. At this point
      it is well to reexamine these conclusions with respect to the altitude­
      latitude relationship of zonation.
         Hopkins (69) stated that the isotherms of mean temperature
      decrease in altitude toward the poles at an average rate of 100 feet
      per 15 minutes of latitude. If this rate of decrease is as uniform
      as Hopkins implies, it bears little relationship to the cant of vege­
      tational zones in the Rocky Mountains. For example, Merriam
       (96, 98) determined the upper limit of the Douglas fir zone in
      northern Arizona as 9,200 feet and in the Salmon River Mountains
      of Idaho as 9,000 feet. With eight degrees difference in latitude
      one would expect a difference of 3,200 feet rather than a mere 200




         Fig. 2. Average elevation of timberline in the Rocky Mountains and adja­
      cent portions of the Cordilleras to the north and to the south, as compiled
      from published accounts.

      feet in the elevation of these homologous ecotones if they bear a
      close relationship to isotherms, as described by Hopkins. From
      this bit of evidence one might conclude that either the elevational
      limits of the zones are not primarily determined by temperature,
      or that Hopkins’ statement is too broad to find practical application
      in a region so small as the Rocky Mountains. Both of these alter­
      natives may be partially correct. Previous mention has been made
      of the possibility that either high temperature or drought may cause
      zones to have unusually high altitudinal ranges in certain regions.
      Also, the effects of the relative elevation of the basal plain upon the
      temperature of adjacent mountain slopes, or differences in the con­
      tinentality of different segments of the Rockies, would render any
      altitude-latitude relationship of isotherms very irregular.
         Another matter of interest in this connection is brought out by a
      graphic summary of the published records of the elevation of upper
      timberline (Fig. 2). The rate of change in altitude of upper timber­

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      374                      THE BOTANICAL REVIEW
      line parallels the average rate of rise in elevation of isotherms (69)
      from the Arctic Circle to the southern end of the northern Rockies.
      Farther southward there is a strong flattening of the timberline
      curve. From the southern Rockies to central Mexico, and even
      farther into the Andes of South America, there is little further rise
      in the elevation of upper timberline. The explanation of this phe­
      nomenon, which seems not to have been commented on before,
      must await accumulation of a comparable series of climatological
      data for timberline stations located at intervals along the Cordilleran
      axis.
         Some meteorologic phenomena which may possibly have a bearing
      on this timberline problem are as follows. Hann (59) stated that
      snowline does not increase at a uniform rate toward the equator,
      and that the temperature at snowline in the tropics is much warmer
      than at high latitudes. According to Humphreys (72), the lower
      the latitude the warmer the surface temperatures and the more
      persistent is vertical convection. This causes high humidity and
      cloudiness in the upper atmosphere, which in turn reflects the sur­
      face radiation downward so that the high mountain summits are
      relatively cold in summer.
         In general, the drought-determined lower limits of a vegetational
      zone gain in altitude in a southerly direction at a rate which approxi­
      mates the gain of the upper edge of the zone. This phenomenon
      suggests that there is some fundamental connection between the
      causes of the upper and lower limits of a zone. This basic factor
      may well be the temperature gradient. Operating rather directly,
      temperature governs the upward extension of zones, while indi­
      rectly it plays a major role in determining lower limits through its
      influence upon precipitation and evaporation.
         To a certain extent the transition in vegetation types from cool
      mountain summits to the warmer basal plain resembles the transi­
      tion encountered in progressing from arctic regions toward the
      equator. Popular attempts to express this altitude-latitude re­
      semblance generally consist of a statement to the effect that by
      selecting the correct elevation on a mountain slope, one can match
      a climate prevailing on the lowlands at higher latitudes. Mean
      annual temperature, which is practically worthless as a statistic
      in plant geography, constitutes about the only figure which can
      be mustered in support of such a statement. Very little ecologic

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          375
      similarity exists between such stations when due consideration is
      given to such significant climatic characteristics as the degree and
      rate of temperature fluctuation, length of growing season, amount
      and distribution of precipitation, evaporative power of the air, in­
      tensity of insolation, daylength, etc. Proof of the invalidity of this
      generalization is provided by the fact that mountain species of the
      tropics usually cannot be grown as lowland species in temperate
      zones, and vice versa (49). Furthermore, at their northern limits
      where they have descended to the basal plain, none of the altitudinal
      vegetation zones extends out at right angles to the Rockies as a
      latitudinal zone. In fact, the boundary between the subarctic conifer
      region and the Rocky Mountain forests is at least as distinct as
      between different zones on the slopes of the Rockies (137).
      Although it is true that there is a tendency toward similarity be­
      tween the latitudinal and altitudinal vegetation zones in the northern
      hemisphere, as far as the writer is aware the two zonal systems have
      many important distinguishing characteristics in both climate and
      vegetation, and this is particularly true in the Rocky Mountains.
         If the assumption is true that climate determines the elevation of
      a given zone, one might expect the climate throughout the north­
      south extent of that zone to be fairly uniform, at least insofar as
      requirements for growth of the dominant species are concerned.
      However, it is well known that a considerable amount of variation
      exists throughout the longitudinal extent of a zone. Furthermore,
      experimentation has shown that evolution has produced genetically
      distinct races in the dominant species in various segments of a
      zone (166, 175).

                  VI. IRREGULARITIES IN THE ZONAL PATTERN
                                Discontinuity oj 2ones
         Perhaps the most common type of exception to the zonal pattern
      as described earlier in this paper is the omission of certain zones on
      various ranges. As a matter of fact, slopes presenting the entire
      complement of zones are rare. On the slope which extends south
      from San Francisco Peak, Arizona, all zones are well represented,
      but in the La Sal Mountains of Utah (135), and on the slope just
      west of Encampment, Wyoming, all zones below the spruce-fir belt
      are lacking. A condition in which one or more of the low-altitude
      zones are lacking can generally be attributed to an extension of the

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      376                     THE BOTANICAL REVIEW
      fine-textured soils of the basal plains upward into an elevation which
      has sufficient moisture to support chaparral of forest vegetation. In
      such cases all of the ligneous zones are omitted as far up the slope
      as the heavy soils extend. Although discontinuity is common in all
      zones below the spruce-fir belt, this and the tundra zones are in­
      variably represented on all ranges except those which are so low
      that even the highest peaks do not attain sufficient elevation to
      provide suitable climate.
         The phenomena described above involve the absence of one or
      more zones over an extensive area. Omissions of a more local
      character are frequent on mountains of relatively low elevation.
      Here certain zones may occur only on the north slope for the reason
      that the south slope does not attain sufficient elevation to provide
      ecologically equivalent climates. Also, exposure may be so extreme
      on the one slope as to preclude development of the normal sequence
      at any elevation there (131). Mountains are completely encircled
      by vegetational zones only where elevation is sufficient and exposure
      is not extreme.
         Disjunct islands of lowland vegetation frequently occur on steep
      south-facing slopes at high altitude, and high altitude vegetation
      often occurs as oases on moist sites at low elevation. The isolated
      character of these restricted areas may be attributed to chance dis­
      persal allowing species to cross great areas of inhospitable territory,
      or the islands may be explained as relics of former continuous exten­
      sions of the same type which may have existed during extreme
      phases of past climatic cycles.

                  Pacific Coast elements in the Rocky Mt. flora
         Aside from its role in producing various climatic types, wind is
      also largely responsible for their distribution. This is especially
      true in the latitude of the westerlies where, along strongly developed
      storm tracks, the characteristics of one climatic region may be ex­
      tended far in a leeward direction.
         Climates along the west coast of North America are characterized
      by a predominance of winter precipitation and by a narrow annual
      range of temperature. From Alaska to northern Mexico the coastal
      climates are sufficiently distinct from the continental climates of the
      interior to produce endemic or near-endemic vegetation types.
      Where steady winds, following well developed storm tracks (162),

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             VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          377

      blow directly inland across this coastal strip, the climate and its
      characteristic flora are extended far inland as a peninsula. Two
      major storm tracks enter North America from the Pacific Ocean;
      one follows the international boundary between Mexico and the
      United States, and the path of the other coincides roughly with the
      international boundary between Canada and the United States
      (Fig.. 1). Only one species, Prunus emarginata, has sufficient lati­
      tudinal range on the Pacific slope to come under the influence of
      both the northern and the southern storm tracks and extend its
      range into both the northern and southern Rockies. Aside from
      this shrub, the west coast floras are so distinct in the latitudes of
      the two storm tracks that the groups of species which follow each
      are distinct.
         In the northern Rockies the northerly storm track produces a
      climate so similar to that of the west slope of the northern Cascades




        Fig. 3. Diagrammatic profile of San Francisco (left) and O’Leary Peaks,
      Arizona, showing the effects of slope exposure and total elevation of the
      peaks (96). A—alpine zone; S-F—spruce-fir zone; DF—Douglas fir zone;
      P—ponderosa pine zone; J-P—juniper-pinon zone; D—desert. A little
      farther south a well-defined oak-mountain mahogany zone intervenes between
      the juniper-pinon and desert zones.

      that the hemlock-arborvitae forests of that region also occur in the
      Rockies in this latitude. In the typical sequence of Rocky Moun­
      tain vegetational zones, the climax hemlock-arborvitae forest (71)
      is inserted as a distinct climax zone between the Dougas fir and
      spruce-fir belts.
         The forest vegetation of this climatic peninsula is especially noted
      for two serai trees which are found in great numbers only here:
      the valuable timber species, w^estern white pine (Pinus monticola),
      and the endemic, fire-resistant western larch (Larix occidentalis).
      Both species figure prominently in succession following fires in the
      hemlock-arborvitae zone in the northern Rockies (85, 94), although
      neither is well represented in the main body of the hemlock­
      arborvitae region which lies to the west of the divide of the Cascades.
      Also found wdth white pine and larch on forest burns are grand fir


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      378                        THE BOTANICAL REVIEW
       (Abies grandis), another species of coastal affinity, plus typical
      Rocky Mountain species: lodgepole pine and Douglas fir.
         All zones within this climatic peninsula show clearly the effects
      of the coastal climatic influence in their floras, although they retain
      their typical dominants. To each zone are added at least a few
      species whose distribution-centers lie along the coast but which
      extend eastward as a peninsula in this latitude. Butters (21) stated
      that one eighth of the vascular flora of the Selkirks has its distribu-




         Fig. 4. Ranges of five tree species which extend eastward from the Pacific
      slope into the northern Rockies: 1. Thuja plicata, 2. Tsuga heterophylla,
      3. Abies grandis, 4. Taxus brevifolia, and 5. Pinus monticola. The eastern­
      most extremity of the distributional “peninsula” conforms closely to the con­
      tinental divide, especially in the center of the storm track.

      tion center on the Pacific slope.^^ There are, in addition, species
      which are endemic to the peninsula, such as western larch and
      LyalVs larch. Some of the most outstanding of these plants which
      occur in the Rockies only in the path of this northern storm track
         23 This Pacific Coast element of the northern Rocky Mountain flora may well
      be the remnant of a montane forest which was more widely distributed in the
      Rockies in pre-Pliocene time. Such a relic hypothesis is substantiated by the
      fact that certain of these elements occur as small, widely disjunct colonies in
      the Rockies (e.g., Comus nuttallii occurring at two stations in Idaho 130 miles
      apart, and Chamaecyparis nooikatensis occurring at only one station in Idaho),
      and by fossil evidence that the development of aridity to the leeward of the
      Cascades in post-Miocene time led to drastic restrictions of mesophytic vegeta­
      tion in the northern Rocky Mountain region.


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               VEGETATION ZONATION IN THE ROCKY MOUNTAINS                          379

       are as follows. Alpine zone: Phyllodoce empetrijormis, P. glandu-
       liflora, and Pulsatilla occidentalis; upper timberline: Pinus albicau-
       lis, Larix lyalli, and Valeriana sitchensis; spruce-fir zone: Mensiesia
       ferruginea, Pentstemon ellipticus, Rhododendron cdbiflorus, Tsuga
       mertensiana, and Xerophyllum tenax; Douglas fir zone: Larix occi­
       dentalis and Abies grandis; ponderosa pine zone: Physocarpus mal-
       vaceus and Calamagrostis rubescens. Furthermore, epiphytic
       lichens, poorly represented in other parts of the Rockies, are abun­
       dant in the northern Rockies. A number of these are epiphyllous
        (42).
           The west-coast elements in the flora of the northern Rockies are
       largely confined to west-facing slopes, and to the region west of




         Fig. 5. Ranges of four species of shrubs which extend eastward from the
       Pacific slope into the southern Rockies: 1. Rhus ovata, 2. Fremontodendron
       californicum, 3. Quercus chrysolepis, 4. Rhamnus crocea var. ilicifolia.

       the continential divide. The significance of this distributional limita­
       tion is heightened by the fact that there is another group of species
       which in this latitude is practically confined to the east slope, e.g.,
       limber pine (lowland strain), Picea glauca and Populus sargentii.
       Also the short-needled variety of ponderosa pine (F. ponderosa var.
       scopulorum), characteristic of the main body of the Rockies, is in
       this latitude confined chiefly to the region east of the continental
       divide. Westward its place is taken by the long-needled P.
       ponderosa (134).
          From the above distributional data it may be deduced that the
       coastal influence along this northerly storm track is greatest on the
       windward slopes, especially at intermediate altitudes where the

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      380                     THE BOTANICAL REVIEW
      hemlock-arborvitae zone is. At higher and lower altitudes on these
      slopes there is also a distinct coastal influence, although the Rocky
      Mountain type of climate dominates. On leeward slopes in the
      same latitude the coastal influence is insignificant and the climate
      and vegetation exhibit characteristic Rocky Mountain features
      almost exclusively.
         Along the southern storm track a more subtle blending of coastal
      species with interior species takes place, and the chief altitude af­
      fected is the oak-mountain mahogany zone (Fig. 5). Mingled with
      the species characteristic of the Rocky Mountain region are many
      shrubs which are abundant in the California broad sclerophyll for­
      mation: the evergreen Quercus dumosa, Q. chrysolepis, Arcto-
      staphylos pungens, Fremontodendron californicum, Rhamnus
      crocea var. ilicifolia and Rhus ovata, and the deciduous Brickellia
      californica, Amorpha californica, etc. Here again the coastal in­
      fluence is recognized in the vegetation only west of the continental
      divide.
         This similarity between the oak-mountain mahogany zone of the
      southern Rockies and the chaparral of the Pacific coast has been
      explained by Axelrod (3) as the result of their having a common
      origin in the vegetation of northern Mexico. During the Cenozoic
      era these xerophytic shrubs and low trees moved northward as
      aridity spread northward from Mexico. Some species found their
      climatic requirements most closely matched in the coastal region and
      shifted their ranges largely or completely to the Pacific slope.
      Others encountered more suitable environment in the foothills of
      the Rockies and extended their ranges northward for varying dis­
      tances. It is quite possible that this northward migration is still in
      progress for at the northern boundary of the oak thickets which end
      so abruptly in central Colorado there is no evident indication that
      these oaks have attained a climatic limit to their ranges.
         From the above it is evident that only the floras of the central
      and far-northern Rockies escape dilution with coastal species, and
      herein lies the most important distinction between the four north­
      south divisions of the Rocky Mountain vegetation.

                           Inversion and lack of conation
         In connection with the moisture requirements of the climax asso­
      ciations, previous mention has been made of the fact that the

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                         381

      Douglas fir and spruce-fir zones descend along ravines to relatively
      low elevations. These downward extensions are pennant-shaped,
      tapering to a point at their lower extremities, and oriented so that
      their axes correspond roughly with the stream course. Often the
      length of one of these wedge-shaped peninsulas exceeds the breadth
      of the lower zone into which it extends, and in consequence there
      is a telescoping of zones along ravines. The broad upper end of a
      Douglas fir peninsula may contain the narrow lower extremity of
      the spruce-fir peninsula of similar form but centered at higher
      elevation.
         On the other hand, pennant-shaped extensions of the ponderosa
      pine forest, as well as other low-altitude zones, ascend the mountain




        Fig. 6. Diagram of a slope in the Rocky Mountains showing the tele­
      scoping of forest zones due to their extensions downward in ravines and
      upward along sharp ridges.

      slope along the summits of ridges, particularly along the south­
      facing brows of the ridges. Because communities of low elevation
      extend up the ridges, at the same time that those of high altitude
      descend along the ravines, interfingering is a very pronounced char­
      acteristic of the Rocky Mountain zonal system (Fig. 6). Indeed,
      on precipitous slopes the zone of interfingering of ponderosa pine and
      Douglas fir is often broader than the zone where either forms a
      distinct altitudinal belt and occupies a relatively wide range of
      habitats.3*
         As a consequence of the interdigitation of zones, their altitudinal
      relationships along the sides of a ravine are exactly reversed. At
         24 For this reason several students of Rocky Mountain vegetation have
      lumped the two associations into a “montane zone,” although it is easily
      demonstrable that these are distinct climax types which have different alti­
      tudinal ranges, and in the zone where their ranges overlap they inhabit dif­
      ferent types of sites, except when pine invades Douglas fir sites temporarily
      following disturbance (5, 9).

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      382                     THE BOTANICAL REVIEW
      intermediate elevations, for example, a narrow fringe of Engelmann
      spruce often follows the stream margin while Douglas fir dominates
      the lower slopes of the ravine and ponderosa pine covers the ridges.
      Likewise, in the foothills ponderosa pine may occupy the valley
      bottom, but give way to pinon or chaparral vegetation along the
      summits of the ridges which border the valley. As Shreve (151)
      pointed out, the species with the widest altitudinal ranges are usually
      those capable of inhabiting exactly reversed habitats along the upper
      and lower edges of their ranges,—if topography were not so varied,
      the altitudinal ranges of these species would be much more restricted.
         An interesting but rather rare type of inversion may be observed
      along the Clark’s Fork River in western Montana, which cuts
      through the Bitterroot Mountains from east to west. By approach­
      ing the mountains this stream flows toward a region where precipi­
      tation is greater and temperature lower, even though the stream
      bed drops in elevation. One may descend the river from the prairie
      zone, at the town of Ravelli, and cross in turn the ponderosa pine,
      the Douglas fir, and the arborvitae-hemlock zones, each of which
      is encountered at successively lower elevations.
         The telescoping of zones is most pronounced at intermediate ele­
      vations within the forest belt. At such altitudes, particularly where
      the topography is rather rugged, the altitudinal control of environ­
      mental factors may be overshadowed by the influences of slope
      exposure, cold air drainage, etc., with a result that the distribution
      of climax types at these elevations often bears no apparent relation­
      ship to altitude. The slopes of the first high prominences encoun­
      tered upon entering the foothills of a mountain range generally
      exhibit the typical complement of zones in their proper altitudinal
      sequence, but beyond the outermost line of foothills the zonal rela­
      tionships of the climax forests are often obscure.
         As pointed out long ago (98, 159), it is only in the narrow ravines
      and valleys that zones extend downward. In wide valleys, com­
      munities characteristic of low altitudes extend well up into the next
      zone. The apparent explanation of this difference is that the
      water-balance in a narrow ravine is more favorable than average
      for that altitude, while in broad valleys, where a body of hot air
      builds up each day during the growing season and cold air drain­
      age is less pronounced, the environment is more xeric than average
      for that altitude.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                        383

         Zones in the sense of rigidly defined altitudinal belts clearly do
      not exist in the Rocky Mountains, but no careful student of plant
      sociology in this region would deny the existence of a regularly
      repeated series of distinct vegetational types, each of which bears a
      constant altitudinal or topographic relationship to contiguous types.
         The attention of the taxonomist in particular should be called to
      this phenomenon of the interfingering of zones and the resultant
      inversions of altitudinal relationships. Instead of altimeter read­
      ings far more significant data as to the location of collections could
      be obtained by making a brief notation of the zonal relationships
      of the specimens. Apparently with a similar idea in mind, Hey-
      brock (64) stated that “the zonal conception is indispensable for the
      investigation of the conditions of climate and vegetation.”

                                   Mountain parks
         In all forested zones there occur treeless or nearly treeless areas
      varying from a few meters to several miles in diameter. Some of
      these have been caused by fire or logging, or represent stages in
      primary hydro- or xeroseres. In consequence they are only tem­
      porarily lacking in forest cover, as is evidenced by the success of
      tree seedlings upon these areas. Still other areas, however, appear
      to be naturally inimical to tree growth; these are the true “moun­
      tain parks.”
         Except near the upper timberline, the plant cover of these park­
      lands is characteristically similar to that of the adjacent basal plains.
      Thus in the central Rockies sagebrush (Artemisia tridentata, A.
      cana, etc.) is dominant in most parks on the west slope, while east
      of the divide the parkland vegetation is prairie-like. Ramaley (122)
      showed that the flora of these parks embraces fewer species with
      increasing altitude, and that the specific composition varies greatly
      with elevation. In the spruce-fir zone parks are often covered with
      willows, alders and sedges. Other parks at this elevation support
      a luxuriant growth of forbs and alpine grasses such as Phleum
      alpinum and Deschampsia caespitosa (109, 126, 129). More than
      half the flora of these parks is boreal in affinity (121).
         Aspen, lodgepole pine or blue spruce (124) frequently form thin
      marginal zones about the peripheries of parks, but even these trees
      seem entirely incapable of invading the open park. The borders
      between the parks and adjacent forests are often exceptionally

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      384                     THE BOTANICAL REVIEW
      abrupt, especially in small ones. At the periphery of parks in
      northern Arizona blue spruce makes very slow growth (124).
         Relatively little research has been directed to the cause of the
      apparent inability of trees to invade parks. Pearson (106) made a
      climatological study of large parks in the ponderosa pine zone in
      Arizona. He concluded that ‘‘it is possible that the absence of
      natural forest in parks may be explained by the presence of adverse
      atmospheric conditions which make it impossible for seedlings to
      survive the first year; but it is probable that there are also other
      factors, such as unfavorable soil conditions.” Later he showed that
      even at a depth of 12 inches the moisture content of the parkland
      soils is below the wilting coefficient for over three months in sum­
      mer (109). In these particular parks, soil moisture conditions alone
      are sufficiently adverse to exclude trees.
         In 1918 Robbins suggested that competitive ability of grassland
      vegetation, once it is well established, may prevent establishment
      of tree seedlings. If this were the sole factor involved, trees could
      invade parks slowly in a centripetal manner, weakening the con­
      tiguous grass cover with shade as the marginal trees extended
      their branches outward over the edge of the park.
         An edaphic cause for parks, other than dryness of the soil, has
      long been suspected (135, 171). Commonly observed natural
      phenomena which suggest this explanation are as follows. Within
      a park there often occur small islands of timber which are confined
      to hillocks or to the upper extremity of a steep streamside embank­
      ment, both of which situations are better drained and aerated than
      is the remainder of the area encompassed by the periphery of the
      park. Secondly, parks are generally situated in the bottoms of
      shallow basins or broad aggraded valleys (75) which are surfaced
      with a thick mantle of fine alluvium washed from the surrounding
      slopes. Dunnewald (45) found that the only inherent difference
      between forest and parkland soils in the Bighorn Mountains in
      Wyoming is that the soils of the former are coarser and shallower.
      Miller (101) found that juniper is unable to invade areas of compact
      soils in northern Arizona while adjacent areas of looser soil are
      invaded. Cottam and Stewart (35) reported an invasion by juniper
      of parklands which were originally moist meadows, but which have
      become dry due to drainage channels resulting from severe erosion.
         All these observations point to the conclusion that the conifers
      of the Rocky Mountain region are adversely affected by some factor

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             VEGETATION ZONATION IN THE ROCKY MOUNTAINS                           385

      associated with fine textured, compact or poorly drained soils. Pos­
      sibly this is but a matter of poor aeration. The significance of soil
      air in determining the distribution of plant communities was long
      ago championed by Cannon and Free (23) in connection with the
      zonation of vegetation about desert playas. Wilde and White (172)
      suggested that heavy soils may prove very detrimental to the seed­
      lings of certain conifers by favoring the activity of damping-off
      fungi. There is also strong likelihood that fine texture or com­
      pactness may play a critical role by retarding elongation of the roots
      of seedlings so that the progressive drying out of the soil from the
      surface downward overtakes the root tips before they reach the
      relatively permanent supply of moisture contained in the subsoil.
         Not all parkland soils are relatively fine textured, however. In
      the dry parklands which Pearson studied in Arizona, the soils are
      coarser than under the adjacent forest, suggesting that over-drain­
      age might be an important factor. Also, chemical characteristics
      of the soil may have a bearing on this problem. Dunnewald (46)
      found that germination and survival of lodgepole and limber pine are
      28% and 50% better, respectively, on forest than on parkland soils.
      Further experimentation indicated that water-soluble substances in
      the soil, which can be inactivated by boiling, account for at least
      a large part of the adverse effects upon germination.
         On the west slope of the Bitterroots, especially in northern Idaho,
      many forest openings occur near the summits of the taller promi­
      nences, and always on their southerly exposures (43). These
      areas typically consist of a central spot of prairie dominated by
      Agropyron spieatum and/or Festuca idahoensis, surrounded by
      a belt of shrubs and scattered stunted trees. Unpublished studies
      by the writer have shown that the moisture content of these soils
      is below the wilting coefficient for a long period in summer, whereas
      soils in the adjoining forest remain moist during most or all of the
      year. The drought of the grassland areas seems to be a result of
      the effects of maximum exposure to the sun’s rays and coarse soil.
      Grassland life forms aestivate when the soil dries out, but tree seed­
      lings cannot and thereby the forest is excluded. Rydberg (131)
      described a similar but more severe condition in the Abajo Moun­
      tains of southeastern Utah where there is a complete lack of timber
      at all elevations on south and west slopes, although north and east
      faces have the normal complement of zones from juniper-pinon to
      alpine.

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      386                     THE BOTANICAL REVIEW
         Pickford and Reid (116) have described subalpine parks in the
      Wallowa and Blue Mountains of eastern Oregon and Washington,
      which are dominated by Festuca viridula. They stated that the
      soil of these parks is well-drained but made no etiologic study.
         Considering all available information, it seems quite unlikely
      that any one type of factor, such as soil aeration or microclimate,
      can be invoked to explain all mountain parks. These openings occur
      over such wide altitudinal and latitudinal range, and are vegetated
      by such diverse plant communities, that there are undoubtedly
      several distinct types of causes for the inhibition of trees.

                                   VII. SUMMARY
         The basal plains from which the Rocky Mountains rise are arid,
      and support only desert and grassland vegetation. The height to
      which these mountain masses rise brings about sufficient precipita­
      tion on their intermediate slopes to support forests of needle-leaved
      coniferous trees. This forest vegetation may be subdivided into
      five distinct altitudinal zones, each characterized by a climax asso­
      ciation which, when well developed, occupies about 2,000 feet of
      vertical elevation. On the higher peaks and ridges above the forest
      zones, a tundra vegetation is found.
         The phenomenon of zonation in the Rocky Mountain vegetation
      depends, on the one hand, upon differences among species as to their
      limits of tolerance of climatic variation, and on the other, upon
      gradients in climatic factors, chiefly temperature and moisture, from
      the bottom to the top of a mountain slope.
         For the most part the upper altitudinal limits of the species seem
      to be determined by the relative physiologic efficiency of tempera­
      ture during the growing season. The upper limits of the major
      climax associations (which are not as high as the absolute elevations
      to which the individuals of the dominant species extend) are bio­
      logically determined, for with the exception of the alpine zone the
      higher the range of the climax zone the greater the competitive pow­
      ers of the species. Upper timberline is usually caused by physio­
      logic drouth resulting from the concomitance of high wind velocities
      and cold soil.
         The lower altitudinal limits in general seem to be determined by
      drouth, although lower timberline is frequently elevated above its
      climatic limits by bodies of fine-textured soil at low altitudes.

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              VEGETATION ZONATION IN THE ROCKY MOUNTAINS                           387
         Other factors associated with elevation do not appear to be of
      sufficient intensity to limit plant distribution directly, although a
      number of these may be contributory to the primary factors.
         Within the altitudinal range where a major association is best
      developed it is the climatic climax and occupies a wide variety of
      habitats. Toward its upper limits the same association character­
      istically becomes a topographic climax restricted to warm south­
      facing slopes, and may serve in a serai capacity following disturb­
      ance on other habitats. At its lower limits each of these associations
      plays the role of a topographic or edaphic climax which is confined
      to the most mesic habitats at that elevation.
         At intermediate elevations in the mountains, exposure and soils
      may be of more significance in determining the local distribution of
      species than is elevation.
         Zones decrease in elevation above sea level with increasing lati­
      tude, although the altitude-latitude relationship is not linear.
         The typical pattern of zonation may be interrupted in any of sev­
      eral ways. One or more of the lower zones may be lacking, due to
      soil factors elevating the lower timberline. One or more of the
      upper zones may not be represented on a mountain, because of
      insufficient height of the range. Unforested parks may break the
      continuity of the forest zones. In certain latitudes a heavy infusion
      of species and communities more characteristic of the Pacific slope
      may also interrupt the typical zonation pattern. The last named
      phenomenon provides a floristic basis for dividing Rocky Mountain
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       BREVIA
                                                                                                              after postfire logging, including in the Biscuit
                                                                                                              plan, but resources to complete them are
                                                                                                              often limited (7). Our study underscores that,
      Post-Wildfire Logging Hinders                                                                           after logging, the mitigation of short-term
                                                                                                              fire risk is not possible without subsequent
      Regeneration and Increases Fire Risk                                                                    fuel reduction treatments. However, imple­
                                                                                                              menting these treatments is also problematic.
                                                                                                              Mechanical removal is generally precluded
      D. C. Donato,1* J. B. Fontaine,2 J. L. Campbell,1 W. D. Robinson,2                                      by its expense, leaving prescribed burning as
      J. B. Kauffman,3 B. E. Law1                                                                             the most feasible method. This will result in
                                                                                                              additional seedling mortality and potentially
              ecent increases in wildfire activity in    essary. Postfire logging subsequently reduced        severe soil impacts caused by long-duration


      R       the United States have intensified regeneration by 71% to 224 seedlings per
              controversies surrounding the man­ hectare (Fig. 1A) due to soil disturbance and
              agement of public forests after large fires
      (1). The view that postfire (salvage) logging
                                                         physical burial by woody material during log­
                                                         ging operations. Thus, if postfire logging is
                                                                                                              combustion of logging-generated fuel loads.
                                                                                                              Therefore, the lowest fire risk strategy may
                                                                                                              be to leave dead trees standing as long as pos­
                                                                                                              sible (where they are less available to surface
      diminishes fire risk via fuel reduction and conducted in part to facilitate reforestation, re­          flames), allowing for aerial decay and slow,
      that forests will not adequately regenerate        planting could result in no net gain in early con­   episodic input to surface fuel loads over
      without intervention, including logging and        ifer establishment.                                  decades.
      planting, is widely held and commonly cited            Postfire logging significantly increased             Our data show that postfire logging, by
      (2). An alternate view maintains that post­        both fine and coarse downed woody fuel               removing naturally seeded conifers and in­
      fire logging is detrimental to long-term forest    loads (Fig. 1B). This wood was composed of           creasing surface fuel loads, can be counter­
      development, wildlife habitat, and other eco­ unmerchantable material (e.g., branches), and             productive to goals of forest regeneration and
      system functions (1). Scientific data directly     far exceeded expectations for fuel loads gen­        fuel reduction. In addition, forest regeneration
      informing this debate are lacking.                 erated by postfire logging (4, 5). In terms of       is not necessarily in crisis across all burned
          Here we present data from a study of early     short-term fire risk, a reburn in logged stands      forest landscapes.
      conifer regeneration and fuel loads after would likely exhibit elevated rates of fire
      the 2002 Biscuit Fire, Oregon, USA, with           spread, fireline intensity, and soil heating              References and Notes
      and without postfire logging. Because of           impacts (6).                                           1. D. B. Lindenmayer et al., Science 303, 1303 (2004).
      the fire’s size ( — 200,000 ha), historic refor­       Postfire logging alone was notably incon­          2. J. Sessions, P. Bettinger, R. Buckman, M. Newton,
      estation difficulties in the region (3), and       gruent with fuel reduction goals. Fuel re­                J. Hamann, J. For. 102, 38 (2004).
                                                                                                                3. S. D. Tesch, S. D. Hobbs, West. J. Appl. For. 4, 89 (1989).
      an ambitious postfire logging proposal, the        duction treatments (prescribed burning or              4. Materials and methods are available as supporting
      Biscuit Fire has become a national icon of mechanical removal) are frequently intended                       material on Science Online.
      postfire management                                                                                       5. Timber decay associated with delays in postfire logging
      issues. We used a spa­                                                                                       was anticipated to exacerbate the observed pulse of
                                                                                                                   surface fuel. However, our data indicate that delay was
      tially nested design of
                                                                                                                   responsible for —10% of the woody fuel present after
      logged and unlogged                                                                                          logging.
      plots replicated across                                                                                   6. J. K. Agee, Fire Ecology of Pacific Northwest Forests
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                                                                                                                7. R. W. Gorte, "Forest Fires and Forest Health" Congressional
      pled before (2004)
                                                                                                                   Research Service (Publication 95-511, 1996).
      and after (2005) log­                                                                                     8. This work was supported by the Joint Fire Science Program
      ging (4).                                                                                                    and DOE grant DE-FG02-04ER63917. We thank field
          Natural conifer                                                                                          technicians and the Siskiyou National Forest.

      regeneration on sites
                                                                                                              Supporting Online Material
      that experienced high-
                                                                                                              www.sciencemag.org/cgi/content/full/1122855/DC1
      severity fire was var­                                                                                  Materials and Methods
      iable but generally
                                Fig. 1. (A) Natural conifer regeneration and (B) surface woody fuel
                                                                                                              SOM Text
                                loads before and after postfire logging of the Biscuit Fire, Oregon,
      abundant, with a me­                                                                                    References and Notes
                                USA. (A) shows that regeneration was abundant after the fire. Postfire
      dian stocking density                                                                                   21 November 2005; accepted 21 December 2005
                                logging significantly reduced seedling densities (P < 0.01, Wilcoxon          Published online 5 January 2006;
      of 767 seedlings per
                                signed rank test) from 767 seedlings per hectare to 224 seedlings per         10.1126/science.1122855
      hectare, primarily of
                                hectare. (B) shows that postfire logging significantly increased downed       Include this information when citing this paper.
      Douglas fir (Pseudo-      fine (P < 0.01) and coarse (P < 0.05) woody fuel loads (Mg haj1)
      tsuga menziesii) (Fig.    relative to burn-only fuel loads by Wilcoxon signed rank test. To
       1A). Such density ex­                                                                                  1Department of Forest Science, 2Department of Fisheries
                                provide context, fuel data from unburned stands are shown as
                                                                                                              and Wildlife, Oregon State University, Corvallis, OR 97331,
      ceeds the regional stan­  reference for prefire conditions (fuel loads in burn-logged stands were       USA. ^Institute of Pacific Islands Forestry, U.S. Department
      dards for fully stocked at or well above prefire levels). Graphs of seedling densities and fine         of Agriculture Forest Service, Pacific Southwest Research
      sites, suggesting that    (<7.62 cm) and coarse (>7.62 cm) surface woody fuels are medians ±            Station, 60 Nowelo Street, Hilo, HI 96720, USA.
      active reforestation      SE; sample size n = 8 stands for no burn, n = 9 for burn-only and burn-       *To whom correspondence should be addressed. E-mail:
      efforts may be unnec­     logged (4).                                                                   dan.donato@oregonstate.edu




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352                                         20 JANUARY 2006         VOL 311       SCIENCE       www.sciencemag.org
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 72 of 346



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                                Supporting Online Material for

        Post-Wildfire Logging Hinders Regeneration and Increases Fire Risk
           D. C. Donato,* J. B. Fontaine, J. L. Campbell, W. D. Robinson, J. B. Kauffman,
                                               B. E. Law


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                                     Published 5 January 2006 on Science Express
                                           DOI: 10.1126/science.1122855

      This PDF file includes:

              Materials and Methods
              SOM Text
              References and Notes




                                                                                   Rvsd Plan - 00005639
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 73 of 346




      Supporting Online Material


      Abstract

      We present data from a study of early conifer regeneration and fuel loads following the
      2002 Biscuit Fire, Oregon, USA, with and without postfire logging. Natural conifer
      regeneration was abundant after high-severity fire. Postfire logging reduced median
      regeneration density by 71%, significantly increased downed woody fuel loads, and thus
      short-term fire risk. Postfire logging can be counterproductive to the goals of forest
      regeneration and fuel reduction.

      Materials and Methods

      We used a before-after/control-intervention (BACI) design to capitalize on pre- (2004)
      and post-(2005) treatment data and to account for interannual variation in responses.
      While the Biscuit Fire area includes a broad range of biophysical conditions, this study
      focused on stand types relevant to postfire logging: mature mixed-conifer stands that
      experienced high severity fire (>95% overstory tree mortality). Sampled burn stands
      were spatially nested within “sites,” defined by proximity (500-1000 m) and similar
      topographic/soil characteristics, and measured before logging. The five sites were
      separated by >3 km. Stands were sampled using one-hectare plots that included four
      systematically-placed 75-m transects for downed wood using the planar intercept method
      (S1); conifer seedlings were concurrently sampled in four 75-m x 1-m belt transects. In
      each site, logging occurred in some but not all stands; selection was determined largely
      by land-use designations and socio-political influences rather than ecological boundaries.
      All stands were re-measured after logging. Unburned mature forest stands with similar
      stand characteristics and adjacent to the fire area were sampled as a reference only for
      pre-fire conditions. Nonparametric statistical tools (Wilcoxon signed rank tests, rank
      sum tests) were used for comparisons. Analyses for effect of logging were carried out
      using paired tests of pre- and post-treatment data for logged stands only. Time and space
      effects were assessed by comparing data from unlogged stands through time and against
      data from logged stands. Logged and unlogged stands were not significantly different
      prior to treatment (p>0.10 by rank sum test), and unlogged stands did not change
      significantly between years (p>0.10 by Wilcoxon signed rank test). Standard errors (SE)
      for graphical presentation were computed by back-transforming log scale mean SE.

      Supporting Text

      It has been thought that any pulse of unmerchantable woody materials on the ground
      resulting from postfire logging would be negligible due to consumption of fine materials
      in the initial fire (S2). However, our measurements show that <10% of woody biomass
      was consumed in the Biscuit Fire. In addition, a key difference between postfire logging
      and green tree harvest is that merchantable wood volume is generally lower in fire-killed




                                                                      Rvsd Plan - 00005640
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 74 of 346




      trees due to burning, desiccation, decay, and lack of "crown sail" to lessen impact during
      falling. This difference results in comparatively high levels of unmerchantable large
      woody material left on the ground. Administrative delays in postfire planning can
      exacerbate decay levels, but in the case of the Biscuit Fire, logging commenced 2 years
      after fire at which time decay has been found to affect only ~10-15% of merchantable
      wood volume in this region (S3). Thus the difference in merchantability is not solely due
      to time since fire and is partly intrinsic to any dead-tree harvest.

      While our data show postfire logging increased short-term fire risk, it has been suggested
      that overall removal of woody material by logging reduces longer-term fire risk (S2).
      This hypothesis merits study. An important consideration is that contribution of woody
      fuel loads to potential fire behavior can be especially important during early stages of
      forest development, when low-profile vegetation structure renders stands more prone to
      mortality from fire (S4). If postfire logging would achieve longer-term fuels reduction, it
      would do so in intermediate-aged stands in which susceptibility is lower, while
      compounding higher risk in young stands.

      Supporting References and Notes

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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 75 of 346




      The abstract was edited to remove mention of the pending legislation.




                                                                     Rvsd Plan - 00005642
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 76 of 346
                                                                                          TECHNICAL CO MMENT
                                                                                                                    used in forestry stocking surveys to determine
                                                                                                                    the “number of well-distributed trees per unit
                                                                                                                    area.” Therefore, their reported results cannot
Comment on ‘‘Post-Wildfire                                                                                          be directly compared with regional stocking stan­
                                                                                                                    dards (2, 11, 12), because there is no indication of
Logging Hinders Regeneration                                                                                        spatial distribution.
                                                                                                                         We also note that the term “logging” used in
and Increases Fire Risk"                                                                                            (1) is not adequately descriptive (13). Logging
                                                                                                                    prescriptions provide a flexible silvicultural tool
                                                                                                                    with capabilities and impacts that vary by equip­
M. Newton,1 S. Fitzgerald,2 R. R. Rose,1 P. W. Adams,3 S. D. Tesch,3                                                ment, management objectives, and site-specific
J. Sessions,3* T. Atzet,4 R. F. Powers,5 C. Skinner5                                                                conditions (4, 5). Seedling protection was not
                                                                                                                    prescribed in the postfire harvests studied in (1)
Donato ef al. (Brevia, 20 January 2006, p. 352) concluded that logging after wildfire kills natural                 because prompt salvage and subsequent planting
regeneration and increases fire risk. We argue that their paper lacks adequate context and                          were planned (2). Logging plans can be designed
supporting information to be clearly interpreted by scientists, resource managers, policy-makers,                   to limit damage to seedlings when desirable
and the public.                                                                                                     (4, 5). Notably, the seedling damage reported
                                                                                                                    by Donato et al. cannot be extrapolated without
         onato et al. (1) recently concluded that            with plant association, competing vegetation,          improved descriptions of the logging or follow­


D        logging 2 to 3 years after wildfire kills
         natural regeneration and increases fire
         risk. The research may make a valuable
tribution, but the study lacks adequate context
                                                             local climate, soils, and other factors (5, 6).
                                                             Hobbs et al. (5) provide a synthesis of 13 years of
                                                             research
                                                              con­      in southern Oregon and northern Cali­
                                                             fornia. Fewer studies have examined reforestation
                                                                                                                    up slash treatments (5, 7, 13).
                                                                                                                         Turning to the data presented on fuel loads
                                                                                                                    after the Biscuit Fire, Donato et al. reported in­
                                                                                                                    creased “fire risk” as a consequence of in­
and supporting information to be clearly inter­              after wildfire, especially over longer periods         creased downed woody fuels. However, what
preted. Here, we discuss the paper’s methods                 (4, 7-9), but damage to natural regeneration           they actually assessed was fuel quantity in two
and conclusions in the context of relevant man­              after delayed salvage logging was reported             fuel size classes. Moreover, they did not describe
agement objectives and the forestry knowledge                more than 50 years ago (4, 8).                         fuel continuity, a major factor contributing to
base concerning natural regeneration processes,                  Donato et al. (1) reported that natural conifer    fire behavior, nor did they present approximate
mortality from logging, and fuel accumula­                   regeneration on sites affected by the Biscuit Fire     differences in projected fire behavior, which can
tions in southwestern Oregon and northwestern                was common, without also describing proximity          be determined using standard fire models
California.                                                  to recent seed crops, weather, and competing           (14, 15). Conclusions suggesting that future fire
    Donato et al. (1) made inferences about                  vegetation, and further suggested that planting        hazard is less from deteriorating standing trees
natural regeneration processes, mortality from               may be unnecessary to achieve some reforest­           than from observed postlogging slash are un­
logging, and fuel accumulations without present­             ation goals. Caution is urged when projecting          supported speculation as presented. Manage­
ing key information regarding (i) agency post­               forest development from such early conifer sur­        ment directives specifically included leaving
fire management directives for reforestation or              vival results. Competing vegetation can develop        logging slash for soil protection and wildlife
downed wood levels (2), (ii) implications of                 rapidly after disturbance in this region and can       habitat in areas deficient in downed wood as a
delays in postfire plan implementation, or (iii)             dramatically affect small conifer seedling sur­        function ofplant association, topographic aspect,
important environmental and disturbance de­                  vival and growth (5-7). Agency reforestation           and fire intensity (2). On some sites, the ob­
scriptors such as plant associations, fire intensity,        objectives were to establish a minimum number          served increases in slash after logging may
seed tree proximity, and weather patterns. Re­               of suitable conifer trees in “free to grow” con­       have been an intended result of the prescrip­
sults from their study cannot be readily extrapo­            dition (2). Given the documented competitive­          tions, but Donato et al. provide insufficient in­
lated because it was a short-term observational              ness of shrubs and hardwoods, as well as the           formation to discern this.
study of site-specific forest operations governed            historical variability in natural regeneration suc­         We believe the Donato et al. paper (1) could
by agency management objectives. Other man­                  cess, federal managers specified tree planting         have better informed the discussion of this com­
agement plans, operations, or conditions could               after salvage to better ensure the desired density     plex topic for all audiences with a more accurate
yield different results (3). In the case of the              and distribution of conifers (2). Artificial re­       title, use of standard forestry protocols, more
2002 Biscuit Fire, logging was postponed for                 forestation practices are science-based and well       complete disclosures of methods and manage­
2 years, allowing more seeds to germinate and                tested in southwestern Oregon and northwestern         ment objectives, and less speculation beyond the
increasing seedling exposure to injury during                California (3,5, 7). Performance of planted seed­      presented data. If the authors were constrained
logging (4).                                                 lings also commonly exceeds that of natural            by print space limitations, we urge them to use
    Donato et al. cite a lack of scientific data             seedlings, which will assist in achieving some         alternative mechanisms to disclose details critical
regarding the management of public forests                   objectives (5, 7, 10).                                 to understanding and interpreting their results.
after large fires. However, it should be noted                   It is also inappropriate to compare the 1- to 2-
that conifer reforestation (planted and natural)             year-old seedling density measured in (1) with              References
and vegetation ecology have been widely studied              “free to grow” stocking standards prescribed             1. D. C. Donato et al., Science 311, 352 (2006).
                                                                                                                      2. USDA Forest Service. Biscui Fire ^inal Environmental Impact
in the region. Studies show variable responses               under state regulations (11) and federal fire­
                                                                                                                         Statement, Appendix D (reforestation), Appendix G (dead
                                                             recovery goals (2). Such standards are always               wood management) (USDA Forest Service, Grants Pass, OR,
^Department of Forest Science, ^Department of Forest         defined at an older age or larger size after early          2004) www.fs.fed.us/r6/rogue-siskiyou/biscuit-fire/feis.
Resources, ^Department of Forest Engineering, Oregon
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                                                             for conducting stocking surveys are designed to             J. Hamann, J. Forestry 102, 38 (2004).
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                                                                                                                      4. D. F. Roy, Salvage Logging May Destroy Douglas-^ir
Southwest Research Station, Redding, CA 96002, USA.          estimate both seedling density and distribution
                                                                                                                         Reproduction: USFS California Forest and Range Exp.
*To whom correspondence should be addressed. E-mail:         (12). The belt transects used by Donato et al.              Stn. Research Note 107 (U.S. Forest Service, Berkeley,
john.sessions@oregonstate.edu                                (1) also differ from systematic plot grids widely           CA, 1956).


                                                                                                                Rvsd Plan - 00005643
                                               www.sciencemag.org           SCIENCE        VOL 313       4 AUGUST 2006                                                                 615a
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 77 of 346
TECHNICAL COMMENT
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615a                                                     4 AUGUST 2006              VOL 313          SCIENCE            www.sciencemag.org
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 78 of 346
                                                                                   TECHNICAL CO MMENT
                                                                                                            observed over a 1-year period to harvest alone,
                                                                                                            because some mortality would likely have
                                                                                                            occurred in the absence of harvest.
Comment on ‘‘Post-Wildfire                                                                                      There are also questions about the appropri­
                                                                                                            ateness of the statistical tests employed in this
                                                                                                            study. Donato et al. tested the significance of
Logging Hinders Regeneration                                                                                their results using the Wilcoxon signed rank
and Increases Fire Risk’’                                                                                   test. In doing so, they failed to use a multi­
                                                                                                            variate, repeated measures statistical procedure
                                                                                                            when they have clearly followed a multivariate
B. N. Baird                                                                                                 research design. By using two or more uni­
                                                                                                            variate tests, the Donato et al. analysis erro­
Based on limited sampling 2 years after the 2002 Biscuit Fire in Oregon, Donato ef al. (Brevia,             neously inflates the error rate. When a more
20 January 2006, p. 352) concluded that postfire logging reduced seedling regeneration by 71%.              appropriate Between-Within Repeated Measures
Analysis of the study methodology and raw data suggest that this estimate is statistically flawed           Analysis of Variance is performed comparing
and misleading and says nothing about the impacts of more prompt postfire harvest.                          condition (i.e., unlogged versus logged) by time,
                                                                                                            the results fail to achieve significance
          onato et al. (1) reported results from methods they used to arrive at this figure are                 Although there are a number of ways the


D         small sections of forest studied 2 years
          after the 200,000-ha 2002 Biscuit Fire in
          central Oregon. They cited data collected over
 1-year interval comparing conifer seedling sur­
                                                        questionable. Close inspection of the raw data
                                                        [see table 1 in (2)] reveals that Donato et al.
                                                        arrived
                                                            a    at their 71% figure by comparing pre­
                                                        harvest values from one plot with postharvest
                                                                                                            data presented in (1) could be analyzed, Donato
                                                                                                            et al. drew their conclusions based on very
                                                                                                            small data sets assembled over a short period of
                                                                                                            time and using methodologies that cannot
vival and woody debris remaining before and values obtained in a completely different plot.                 sustain the sorts of causal statements made by
after logging and in control sites that were left Absent other information about plot selection or          the authors. Assessments about the ecological
unharvested. Based on this limited spatial and characteristics, it is inappropriate to compare              importance of postfire logging based on such
temporal snapshot, the authors offered a quanti­ pre- and postharvest values from different plots           limited sampling and narrow study design
tative estimate of the effects of salvage logging       and attribute causation entirely to logging or to   should therefore be considered with due cau­
that is potentially misleading and statistically        suggest that this one comparison is indicative of   tion. Furthermore, results of this study should
unsound. Their conclusions also fail to consider        logging effects in general. The validity of the     not be used to make broad inferences about the
the potential beneficial or adverse effects of 71% figure is further vitiated by the broad range            impacts of other postfire harvest practices on
harvest conducted much more promptly after              of percent changes in seedling survival across      forest health and recovery.
fire, a practice that is commonplace on lands           both logged and unlogged plots [table 1 in (2)].
throughout the Pacific Northwest.                       In five of the seven unlogged sites, substantial         References
     Donato et al. reported that postfire logging       seedling loss, as great as 56%, occurred, perhaps    1. D. C. Donato et al., Science 311, 352 (2006).
reduced seedling regeneration by 71%, but the           due to factors such as heat mortality or grazing.    2. D. C. Donato et al., Science 313, 615 (2006);
                                                                                                                www.sciencemag.org/cgi/content/fulL/313/5787/615c.
                                                        Thus, even when pre- and posttreatment measures
U.S. House of Representatives, 1421 Longworth House Of­ are assessed for the same plots, it is misleading   15 March 2006; accepted 6 July 2006
fice Building, Washington, DC 20515, USA.               to attribute the entirety of seedling reductions    10.1126/science.1127481




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                                         www.sciencemag.org          SCIENCE        VOL 313      4 AUGUST 2006                                                       615b
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 79 of 346
                                                                                           TECHNICAL CO MMENT
                                                                                                                      light of uncertainties regarding the degree to
                                                                                                                      which this first phase would occur in high-severity
                                                                                                                      portions of the Biscuit Fire (20, 21). We did not
Response to Comments on                                                                                               draw further conclusions about long-term effects
                                                                                                                      of postfire logging (3). Relevant long-term data
                                                                                                                      from replicated experiments do not exist (12).
‘‘Post-Wildfire Logging Hinders                                                                                           Postfire succession in mixed-evergreen for­
                                                                                                                      ests of the Klamath-Siskiyou region (which
Regeneration and Increases Fire Risk"                                                                                 covers much of southwest Oregon and north­
                                                                                                                      west California), is characterized by a period
D. C. Donato,1* J. B. Fontaine,2 J. L. Campbell,1 W. D. Robinson,2 J. B. Kauffman,3 B. E. Law1                        during which broadleaf vegetation forms a
                                                                                                                      substantial overstory component (19). Several
We reported that postfire logging 2 to 3 years after the 2002 Biscuit Fire was associated with                        authors have suggested that, in the presence of
significant mortality in natural conifer regeneration and elevated potential fire behavior in the                     shrub competition, early conifer establishment
short term as a result of increased surface fuel loads. We underscore the strength of our study                       is especially important in attaining eventual con­
design and statistical conclusions, provide additional details of the research setting and scope, and                 ifer dominance (15, 20, 22). Alternatively, cur­
address comments pertinent to forest development and fire ecology.                                                    rent studies indicate a variable, protracted conifer
                                                                                                                      regeneration period in this region, with peak
            lthough Newton et al. (1) and Baird (2)            early versus delayed logging operations (12) and,      establishment generally within 5 years of fire and


A           provide no compelling evidence to re-

            the opportunity for dialogue and to expand
our article (3). We respond by underscoring the
                                                               to date, the few relevant studies of prompt
            tUte our findings, we are pleased with postfire logging have also reported reductions in
                                                                  on
                                                               seedling   densities (7, 8). More field data are
                                                               needed to elucidate the range of potential effects
                                                                                                                      persistence in the presence of broadleaf spe­
                                                                                                                      cies (18). Under either scenario, establishment
                                                                                                                      of seedlings 2 to 3 years after fire represents an
                                                                                                                      important period of succession in the Klamath-
strength of our study design, providing addi­ under different conditions and prescriptions.                           Siskiyou region. Subsequent competition from
tional details of the research setting and scope,                  Short-term data from well-designed studies,        broadleaf vegetation has been shown to occur
and addressing comments pertinent to forest                    such as (3), are important in providing bench­         with or without postfire logging (13) and is there­
development and fire ecology.                                  marks for long-term studies and isolating the          fore a related but separate issue from the results
     Study background. We reported that postfire               mechanisms through which management affects            of our study (3).
logging (salvage) 2 to 3 years after the 2002 Bis­ forest processes. To date, the few longer term                         With respect to regional stocking standards
cuit Fire was associated with significant mortal­              studies of postfire logging (13) have been con­        (23), we followed federal definition M, which
ity in natural conifer regeneration and elevated founded by multiple postfire treatments (e.g.,                       states that a suitable tree (capable of meeting
potential fire behavior in the short term due to               logging, fuel treatment, replanting). A review of      forest management objectives) ‘‘may qualify as
increased surface fuel loads (3). Our study de­                postfire management studies (12) states, ‘‘when        a component of the stand by having survived at
sign has robust inferential power (4), and the                 treatments involve logging as well as other site       least one growing season in the field.’’ The vast
data strongly support these straightforward con­ preparation measures, it is impossible to distin­                    majority of seedlings we reported had been
clusions, as verified by independent statistical               guish the specific causative factor behind any         present for at least two growing seasons by 2005
evaluations (5, 6).                                            observed vegetation change.’’ We maintain that         (24). Regional stocking standards include pre­
     Our scope of inference (3) is the salvage of research on postdisturbance management effects                      scriptions for density and distribution (1, 23).
the Biscuit Fire [see (4) for study details]. Areas            will be most valuable when each treatment is           We reported data pertinent to density standards,
sampled were typical of portions of the Biscuit                studied as a distinct variable [e.g., (3, 14)].        quantified at the hectare scale using an effective
Fire designated for salvage (4). Responses to                       Early regeneration. Although various refor­       method (4) and assessed for variability at the
postfire logging may vary between and within                   estation practices after live tree harvest in south­   treatment scale (across logging units) rather
fires, forest types, and technique/timing of west Oregon have been well studied (1, 15),                              than within each logging unit. Traditional
logging. Similar patterns of seedling damage/                  natural post-wildfire regeneration remains far less    stocking surveys (1) were not our intent. We
reduction resulting from postfire logging oper­                studied in the region. Postfire conditions differ      indicated that the median density we quantified
ations have been documented across a range of substantially from conditions following live tree                       exceeded that found in adequately stocked sites
conditions (7-11), which may be because post­                  harvest in several important ways [e.g., (16, 17)],    per the Biscuit management plan [since sites
fire logging is often conducted under the pre­                 including seedbed qualities, legacy structure, and     must be stocked at a minimum density (23)].
sumption of negligible natural regeneration                    stress seed crops. Thus, we caution against extra­     This was a benchmark for comparison and not a
and is therefore not designed to protect it. The               polating knowledge from postharvest studies to         conclusion regarding stocking per se, which is
logging techniques on which we reported (hand­                 natural post-wildfire regeneration.                    quantified differently. Because much of the
felling with helicopter yarding >2 years postfire)                 Early regeneration data provide insight into       Biscuit salvage was planned in land use
occur on public lands throughout the western important processes, including seed production,                          allocations for which very low densities and
United States.                                                 dispersal, germination, and early survival. The        variable spacing were prescribed (25), we
     The hypothesis that prompt postfire logging               relation between short-term effects of postfire        suggest that stand level density is an important
could have different effects merits study. Cur­                logging on these processes (3) and long-term           parameter relative to other stocking standards.
rently, there are no data comparing effects of recruitment patterns (1, 18, 19) is key to un­                             Fuel dynamics. Although fuel composition,
                                                               derstanding the legacy of logging effects on stand     arrangement, and continuity are all important
^Department of Forest Science, ^Department of Fisheries and    development. Conifer regeneration following            variables contributing to potential fire behavior,
Wildlife, Oregon State University, Corvallis, OR 97331, USA.
                                                               wildfires can be limited during two phases: (i)        a predominant factor affecting behavior of the
^Institute of Pacific Islands Forestry, USDA Forest Service,
Pacific Southwest Research Station, 60 Nowelo Street, Hilo, HI initial establishment due to seed source defi­         flame front is the mass of fine downed wood
96720, USA.                                                    ciency in large burned areas, and (ii) subsequent      (26, 27). We reported an increase by a factor
*To whom correspondence should be addressed. E-mail:           competition, survival, and release. We reported        of about 5 in fine downed wood as a result
dan.donato@oregonstate.edu                                     on the former, not the latter. This is important in    of postfire logging (3), which suggests that

                                                                                                                  Rvsd Plan - 00005646
                                             www.sciencemag.org             SCIENCE         VOL 313        4 AUGUST 2006                                                     615c
         Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 80 of 346
TECHNICAL COMMENT
                                                                                                                  Table 1. Seedling densities for each of the 16
                                                                                                                  burn plots before and after logging treatment.
                                                                                                                  The following are test statistics and one-tailed P
                                                                                                                  values from multiple analytical methods of testing
                                                                                                                  the hypothesis that the reduction in seedling
                                                                                                                  density in logged plots exceeded interannual
                                                                                                                  variation in unlogged plots. Rank sum test on
                                                                                                                  percentage change in each plot: W = 53, P =
                                                                                                                  0.006; rank sum test on untransformed (raw)
                                                                                                                  changes: W = 60, P = 0.045; two-sample f test on
                                                                                                                  percentage change in each plot: f14 = 3.15, P =
                                                                                                                  0.004; two-sample f test on changes in loge-
                                                                                                                  transformed densities: f14 = 2.70, P = 0.009; two-
                                                                                                                  sample f test on untransformed (raw) changes:
                                                                                                                  f14 = 1.52, P = 0.075 [to our understanding this
       Fig. 1. (A) Box-and-whisker plots of Biscuit Fire seedling data (seedlings per hectare) from (3) and
       (B) residuals from parametric test [analysis of variance (ANOVA)] on interannual changes in                is equivalent to the analysis of Baird (2); see also
       untransformed seedling data, as in (2). (A) shows tendency toward positive skewness (typical for           Fig. 1B]. One-tailed tests are logically appropriate
       ecological count data) for all groups and unequal variance, as well as marked difference between           because, given the time frame of study as well as
       the 2005-logged sample compared with other samples. Dot within box is the median; box edges                the timing of logging relative to the interannual
       are the 25th and 75th percentiles; whiskers represent the data range; points beyond 1.5 times the          and seasonal timing of regeneration, the imme­
       interquartile range from the quartiles are drawn as horizontal lines across the whisker. Shapiro-Wilk      diate effect of logging on seedling densities (if
       normality test (32) indicates lack of normality: W = 0.7173, P = 0.0023 for 2005-logged plots. (B)         different from zero) would be a reduction (7-10).
       shows that parametric ANOVA tests on untransformed data, as in (2), are prone to spurious results                       Seedlings per hectare
       for the seedling data due to substantial departure from normality (Shapiro-Wilk normality test: W =        Plot        2004        Treatment             2005
       0.7226, P = 0.0026 for annual change in density between years in logged plots). Analyses after
       data transformations or nonparametric analyses are highly preferred (31).                                   1           298           logged              164
                                                                                                                   2           471           logged              221
                                                                                                                   3           767           logged              454
       salvaged environments are predisposed to fires                                                              4           576           logged              141
       of greater intensity than unsalvaged sites in the                                                           5           407           logged              217
       near term. Fire behavior modeling of different                                                              6          1534           logged              224
       salvage/fUel-treatment scenarios, parameterized                                                             7          2423           logged              349
       with field data, will best characterize potential                                                           8          1697           logged             1388
       fire behavior in postfire settings. However, stan­                                                          9          1137           logged              646
       dard fire behavior models [e.g., (26)| do not in­                                                          10           288           unlogged            220
       clude fuel continuity as an independent variable                                                           11           622           unlogged            747
       and therefore assume similar connections be­                                                               12           300           unlogged            260
       tween fuel loads and fire behavior.                                                                        13           888           unlogged            584
           One of the primary purposes of the Biscuit                                                             14          1448           unlogged           1566
       management plan was to reduce the ‘‘risk’’ of                                                              15          1425           unlogged            626
       high intensity and/or stand replacement fire                                                               16          2349           unlogged           1924
       (21); thus, we presented our results relative to
       this objective (28). Prescriptions also called for
       broad ranges of downed wood levels for soil                                                                to spurious results due to substantial departure
       function and habitat (21). Our observation was                                                             from normality and unequal variance (Fig. 1).
       that downed wood levels following logging            Fig. 2. Changes in seedling densities between             Baird’s (2) description of our analysis is
       were variable relative to prescriptions, often as    2004 and 2005 for logged and unlogged plots,          misleading. Repeated measures are irrelevant
       much a function of inherent, localized felling       with logging occurring between measurement            because we did not assume independence of
       and handling practices as they were reflective       periods. Equivocal variation between years can be     2004 and 2005 measurements within each plot
       of any specific prescription. Regardless, our re­    seen in the unlogged plots (no consistent trend),     (Table 1). We intended to quantify annual change
       search quantified higher postsalvage fuel loads,     whereas logged plots all show marked declines.        within plots. In addition, our descriptive esti­
       which are associated with higher potential fire                                                            mate of the sample-wide change in logged plots
       behavior, thus adding empirical field data to        Long-term interactions between these inputs and       between years was a 71% decline in the sample
       what has only been modeled thus far (29).            live fuel succession are poorly understood, es­       median, which does not arise from analysis of
           Given the observed pulse of surface fuels        pecially for the largest fuel size classes. As we     any particular plot. Rather, the median is a con­
       after logging and its potential effects on surface   stated in (3), hypotheses regarding long-term         servative measure of central tendency for the
       fire behavior, our suggestion that leaving woody     fire potentials merit study [see (30)].               entire sample before and after logging, provid­
       material (dead trees) standing could result in           Statistical analysis. All appropriate, conserv­   ing descriptive information at the broader,
       lower fire hazard is a reasonable hypothesis.        ative methods for analyzing our data yield ro­        treatment-wide level.
       Surface fuel loads derived from fire-killed trees    bust, biologically and statistically significant          Because the sample of unlogged plots showed
       are determined by the dynamic balance between        effects (3, 5, 6). These methods employ either        no consistent or statistically significant pattern
       inputs (from the canopy) and outputs (decom­         nonparametric analyses that do not require nor­       in changes in seedling density over time (Fig. 2
       position). As such, no scenario produces a larger    mality or equal variance, or a common trans­          and Table 1) (3, 6), and new in-seeding as well
       pool of fine (up to 7.62 cm) and 1000-hour           formation (loge) to more closely meet assumptions     as mortality was occurring [see (18)], the statis­
       [7.62 to 20.32 cm (19)] fuels than a single one­     of parametric tests [Fig. 1 and (31)]. Parametric     tically significant change in logged plots was
       time input from clearfelling shortly after a fire.   tests on untransformed data, as in (2), are prone     attributed to logging. Analyses that include the

                                                                                                              Rvsd Plan - 00005647
615c                                           4 AUGUST 2006         VOL 313       SCIENCE        www.sciencemag.org
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 81 of 346
                                                                                                                                                                   TECHNICAL COMMENT
variation observed in the unlogged sample also                          Forests and Forest Health, Congressional Oversight Hearing,            (eventual objective is 150 to 200 trees per hectare
                                                                        Medford, OR (2006); http://resourcescommittee.house.gov/               "free-to-grow") with variable, microsite-based spacing of
yield findings of significant logging effects that
                                                                        archives/109/testimony/2006/huso_record.pdf                            4.5 to 12 m (21). Low stocking rates would be possible
differ only in the point estimate of effect                        7.   D. F. Greene, S. Gauthier, J. Noel, M. Rousseau,                       even when stands are within this spacing prescription,
magnitude (Table 1) (5, 6).                                             Y. Bergeron, Fro^t. Ecol. E^Vnon. 4, 69 (2006).                        which increases the relevance of stand level densities
    Independent statistical evaluations of our                     8.   J. J. Martinez-Sanchez, P. Ferrandis, J. Heras,                        measured at broader scales.
data support the conclusions of significant ef­                         J. M. Herranz, ^or Ecol. Manage. 123, 1 (1999).                  26.   P. L. Andrews, C. D. Bevins, R. C. Seli, USDA Forest Service
                                                                   9.   D. F. Roy, California Forest and Range Exp. Sta., ^or Serv.            Rocky Mt. Res. Sta. RMRS-GTR-106 (USDA, Ogden, UT,
fects of postfire logging on seedling regeneration                      Res. N^te 107 (1956).                                                  2005).
and fuels (5, 6). As stated in one such review,                   10.   L. A. Isaac, G. S. Meagher, USDA Forest Service Pacific NW       27.   R. C. Rothermel, USDA Forest Service, Intermountain
‘‘Although there can be differences of opinion                          Forest and Range Exp. Sta. (USDA, Portland, OR, 1938).                 Forest and Range Exp. Sta. Gen. Tech. Rep. INT-143
on methods of analysis, all reasonable methods                    11.   Reference 8 in (1) does not pertain to postfire logging                (USDA, Ogden, UT, 1983).
                                                                        damage to regeneration. See Isaac and Meagher (10}.              28.   We maintained similar usage of the term "risk" (21)
will lead to congruent conclusions’’ (5).
                                                                  12.   J. D. McIver, L. Starr, West. J. Appl. For. 16, 159 (2001).            (although the term is also used to describe the probability
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presented in (3) are strong, relevant, and straight­                    561 (1993).                                                            those of potential fire behavior/effects (3).
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                                                                  15.   S. D. Hobbs et al., Eds., deforestation Practices in                   Service Rocky Mt. Res. Sta. RMRS-GTR-105 (USDA, Ogden,
different perspectives, but provide no data or
                                                                        Southwestern Oregon and Northern California (Oregon                    UT, 2003).
evidence from other studies to contradict our                           State Univ. Forest Res. Lab., Corvallis, OR, 1992).              30.   M. D. Passovoy, P. Z. Fule, ^or. E^oL Manage. 223, 237
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    org/cgi/content/fulL/313/5787/615a.                           21.   USDA Forest Service, Biscuit Fire Final Environmental Impact           grant DE-FG02-04ER63917. The views and conclusions
 2. B. N. Baird, Science 313 615 (2006); www.sciencemag.                Statement, www.fs.fed.us/r6/rogue-siskiyou/biscuit-fire/feis           contained in this document are those of the authors and
    org/cgi/content/fully313/5787/615b.                                 last accessed June 16, 2006.                                           should not be interpreted as representing the opinions or
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 4. Materials and methods are available as supporting             23.   U.S. Department of the Interior Bureau of Land                         or commercial products does not constitute their
    material on Science Online.                                         Management, Oregon State Office Regeneration Stocking                  endorsement by the U.S. Government.
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    Representatives, Committee on Resources, Subcommittee on            Portland, OR, 2003).
                                                                                                                                         Supporting Online Material
                                                                                                                                         www.sciencemag.org/cgi/content/full/313/5787/615/DC1
    Forests and Forest Health, Congressional Oversight Hearing,   24.   Such seedlings count toward meeting standards for
                                                                                                                                         Materials and Methods
    Medford, OR (2006); http://resourcescommittee.house.gov/            density/distribution, even before a stand is "accepted" as
                                                                                                                                         References
    archives/109/testimony/2006/ramsey_record.pdf                       beyond the juvenile stage [see definition P in (23)].
 6. M. M. P. Huso, testimony submitted to U.S. House of           25.   The management plan for Late Successional Reserves               20 March 2006; accepted 7 July 2006
    Representatives, Committee on Resources, Subcommittee on            prescribes initial densities of 250 to 375 trees per hectare     10.1126/science.1126583




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                                                   www.sciencemag.org                  SCIENCE            VOL 313           4 AUGUST 2006                                                                      615c
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 82 of 346




                                                www.sciencemag .org/cgi/content/full/313/5787/615c/DC1




                          Supporting Online Material for

                  Response to Comments on “Post-Wildfire Logging
                   Hinders Regeneration and Increases Fire Risk”

                          D. C. Donato,* J. B. Fontaine, J. L. Campbell,
                           W. D. Robinson, J. B. Kauffman, B. E. Law
       *To whom correspondence should be addressed. E-mail: dan.donato@oregonstate.edu
                            Published 4 August 2006, Science 313, 615c (2006)
                                     DOI: 10.1126/science.1126583

      This PDF file includes:

        Materials and Methods
        References




                                                                          Rvsd Plan - 00005649
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 83 of 346




   Supporting Online Material

   Study Design. We (S1) employed a replicated BACI (Before-After/Control-Intervention) design
   to assess the immediate impacts of salvage logging on the density of naturally seeded conifers
   and woody surface fuels. Conifer seedlings and fUels were sampled on 16 one-hectare plots
   using long, rectangular subplots oriented in systematic directions (determined a priori) from a
   random start, first in 2004 and once again in 2005. During this period, nine of the plots were
   logged (intervention) while seven were not logged (control). Logged and unlogged burn plots
   were spatially intermingled across the fire to avoid confounding landscape heterogeneity with
   treatment effect, and were statistically verified for pre-treatment similarity (postfacto).
   Comparison of unlogged plots between years allowed us to control for time effects and attribute
   changes in logged plots to the effect of logging. Unburned reference plots (n=8) were presented
   for comparison but did not enter into statistical analyses.

   A replicated BACI design offers one of the most statistically robust, inferentially powerful
   approaches to studying postfire management (see S2). We hope this design is applied more
   broadly, allowing strong inference to the effects of postfire management.

   Study Location. Our study was conducted in areas of the Biscuit Fire selected by the Forest
   Service for potential salvage logging. Study sites were located in severely burned (overstory
   mortality >95%) mature to old-growth (>22.5cm DBH) Douglas-fir (Pseudotsuga menziesii)
   type conifer forests (S3). We estimate 80-90% of all salvage logging on the Biscuit Fire
   occurred within this condition. Study sites, and most Biscuit salvage areas, can be further
   characterized by: 1) dry Douglas-fir, dry white fir (Abies concolor), and dry to moist tanoak
   (Lithocarpus densiflorus) super Plant Association Groups (S4); 2) midslope topographic
   positions between 500 and 1200 m elevations; 3) generally >20o slope; 4) a full range of aspects;
   5) non-ultramafic soils originating from coarse-grained igneous and
   metamorphic/metasedimentary parent materials (S4); 6) <500 m from contiguous live tree seed
   sources. Logging techniques consisted of hand-felling with helicopter yarding, occurring 2-3
   years postfire and comprising a range of harvest intensities from very few to nearly all trees
   felled at the scale of several hectares. Common broadleaf associates included tanoak, Pacific
   madrone (Arbutus menziesii), canyon live oak (Quercus chrysolepis), chinquapin (Chrysolepis
   chrysophylla), greenleaf manzanita (Arctostaphylos patula), Oregon myrtlewood (Umbellularia
   californica) and snowbrush (Ceanothus velutinus).

   Regeneration Sampling Methods. Our research questions addressed hectare-scale conifer
   seedling density. Because naturally occurring plants typically are not randomly or uniformly
   distributed in space (S2), we subsampled hectare plots for seedlings using long rectangular
   subplots (Four 75 m x 1 m subplots) where length exceeded the scale of any sub-hectare
   aggregation. This technique yields more precise estimates of density than round or square
   subplots of the same size (S2), and subsamples a large area to maximize accuracy. This method
   for sampling regeneration has ample precedent in ecological studies (e.g. S5,S6) and is effective
   in quantifying logging effects on regeneration (S7).




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 84 of 346




   Additional Details. This study represents part of a larger project examining vegetation, fuel
   profiles, and wildlife responses following wildfire and postfire management in the Klamath-
   Siskiyou region.

   The study area experiences a warm-temperate, summer-dry Mediterranean climate regime (see
   S8,S9) in which growing season moisture can be limiting to plant growth and survival (S9,S10).
   Data averaged across four surrounding weather stations (Western Regional Climate Center,
   wrcc.dri.edu) show the following precipitation patterns for the growing seasons following the
   Biscuit Fire relative to 30-year averages: 2003 included a wet April and a dry May-September;
   2004 (the critical first growing season [S9] for most of the reported seedlings) was dry
   throughout April-September; and 2005 included a wet April-June and a dry July-September.
   More extensive, site-specific data are needed to make detailed inferences on the relationship
   between climatic variability and regeneration in this topographically complex region.

   Newton et al. requested information regarding fire intensity of our study areas. Fire intensity is
   the thermal energy released during combustion, typically reported during the flaming phase of
   combustion (S11). In our article we reported fire severity, clearly defined as >95% overstory
   mortality (S1). Because we did not observe passage of the flaming front, we would only be able
   to report quantitative metrics of fire severity, not intensity.

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                                                                                                                                   /jScordied Earth. Controversy remains over a paper
                                                                                                                                   /.’that measured harm Cone hy pastHie iogglnq

                                                                                                                                  ^Science Edi tor-in-Chief Don Kennedy. “I
                                                                                                                                  s-Lthlnk it's fairly clear [the letter] was an effort
                                                                                                                                  'Aip suppress a paper,"
                                                                                                                                                 critics deny that and charge in turn that
                                                                                                                                  .ft the authors of the Science paper are attempting
                                                                                                                                   .f to jway the debate on Hie bills in Congress
                                                                                                                                   _:, $e'3atbns points out that the otiline version of
                                                                                                                                    -r thc paper referred to the House and Senate
                                                                                                                                     .■' bills, and the Bureau of Land Management
                                                                                                                                    '■ (BLM) is now investigating whether this
                                                                                                                                    ^;'.crasScd Ihc hue ofusiug government hinds for
                                                                                                                                       Jobbyitte
                                                                                                                                   ■ ■ , Tko other facts make onucs suspect poll-
                                                                                                                                       .ticking. One of the administrators of the
                                                                                                                                     ■■grant, former BLM ecologist Tom Sensenig,
                                                                                                                                      . now with USFS, was not informed of the
                                                                                                                                   1 paper, “It was quite a surprise to have a coop-
                   Salvage Logging Research Continues                                                                            j native agreement turn into a pubiicarion Oiai
                                                                                                                                         was essentially kept secret,” says Sensenig,
                   To'lGenerate Sparks        1                                                                                 . ■ who says he disagrees with the conclusions.
                                                                                                                                         In addition, the paper did not get the normal
                     A pt^ier forestry department is still smol-              which ravaged 200,000 hectares in southern review from USFS or BLM, which Sessions
                  ^dcrihg over a contruvcTsial paper about sal-              /Oregon. Comparing plots before and after sal- and Sensenig say would have removed what
                  J ysge Joggin^. The tesKarch gamered national             / vage logging finished last year, a team led by s they perceive as political overtones. Ann
                  ; headimes in early January when Science pub-            c plant physiologist Bev Law of OSU Corvallis '< Bartnska, USFS’s chief of research, agrees,
                   ■ llsh^ a paper online by researchers, includ-         ; and Boone Kauffman of the U.S. Forest Ser- but she doesn’t see any major problems with
                      ing some from Oregon State University                   vice (USFS) found 71% fewer naturally the paper: “It’s a good piece of work that’s
                      (OSU),':who Concluded that lugging after                sprouted seedlings in the logged plots. Much adding to the discussion.”
                     wildfircs'liindtrs the regeneration of forests           of the work was done by first author Dan                      Donato denies any political agenda and
                     aniJiicrease/the risk of furl her fires. The             Donato, a second-year graduate student. says the authors referred to the bills to high­
                     paper made headlines again a few days later              Downed branches and twigs left over from the light the timeliness of the research. There was
                     when another group of OSU faculty members                logging increased the amount of flammable no intention to avoid reviews, Donato says, but
                     asked tliat print publication be delayed until           material on the forest floor by severalfold, he declines to elaborate on that or why
                     theircuttcismswErcjddresMd.                   ; ?        compared to the burned but unlogged plots. Sensenig wasn’t included. “It was a misunder­
                       --'Thai request led to cries of attempted ccn •        The team concluded that salvage logging hin­ standing,” he says. Donato says he and his co­
                   . BtjrshipZThe group of critics, in turn, charged          ders forest recovery and actually exacerbates authors will respond to technical criticisms in
                     that ifie.^pcr was politically monvated. Now,            fire risk—a finding that contradicts assertions the peer-reviewed literature. (Sessions and his
                     a government agency that helped fund the                 made on behalf of the practice.                           colleagues plan to submit a technical comment
                     study has put a hold on the grant, pending ail               What really stirred up controversy, how­ to Science.)
                     investigation. “I expected a dustup, but poth-           ever, was a letter sent to the Science editors on             Meanwhile, the dean of OSU’s college of
                   dng of thia scale.” says Jerry Franklin of the             17 January by John Sessions, a forest modeler forestry, Hal Salwasser, has tried to calm the
                     University of Washing ton, Seattle, who says             at OSU. He and eight co-authors from the uni­ waters. A first attempt backfired when some
                     heiDviBwed the paper.                       ,            versity and USFS pointed out what they con­ students and faculty members interpreted a
                       , tSalyage logging is a loug-stonttiog fore.^try       sidered to be serious shortcomings in the jnemo as criticizing Donato and his co­
                   TirarilcSl/a wildfire lulls trees but doesn't com­         paper. They say the conclusions are prelimi­ authors. On 26 January, Dean Salwasser
                    pletely burn them. logging companies will har­            nary and that the paper didn’t put the findings wrote another department-wide e-mail in
                     vest those Iqgs and plant tree seedlings. PnJpO-         into context—neglecting to describe soil whiefr he praised the authors for having a
                    nents of the practice s^ it can accelerate forest         moisture at the site, for example, and not paper accepted at Science and reiterated a
                    fegrewth. and make forcsU safer for firefighters.         spelling out that fire risk is more complex than commitment to academic freedom. “I pro­
                        -EOTirotiiiicniaiistfl have long criticized the      just the amount of dead wood left behind; “We foundly regret the negative debate that recent
                    practice^however, charging that logging                   believe that the peer review process failed.” events have generated,” he wrote. He has set
                    maebincry leans up the soil and that hauling              The letter was reported by The Oregonian, the up a committee on academic freedom within
                     Out the .dead wood removes valuable habitat              state’s largest newspaper.                               the college.
                     file wi^ik; But Bot much research has been                  Their request to delay publication of the                  Sessions isn’t backing off He says he will
              5 publifihed iiLpecT’revicwcd joiuTials on the                  print version ofthe paper until these concerns press the board ofAAAS (Science's publisher)
                  effectsjofpastfire salvuge logging. The topic is            were corrected, or to print them alongside the to investigate what he sees as shortcomings in
                  hoc now because two bills pending in Congress              paper, struck some as meddling with peer peer review. Donato is hoping to be able to
                  Wuuldinaltc it easier for companies to do sal-             review. “I was stunned,” says OSU’s Barbara concentrate on his research sometime soon.
 ific    Li J VHgcJuggjiigiiiilaiioniLi farcsis                              Bond. The paper appeared in print on sched­ “This has dominated my waking hours,” he
icO           4     -’Enter the Scunoe paper. The research comes             ule (Science, 20 January, p. 352). “We-have says. “It’s been really crazy.”
T^F p^'' ’ fttmiBO ongouissiEdy^ the 2003 Biscuit Fire,                                                                                                                 -ERIK STOKSTAO
                                                                             confidence in our peer-review decision,” says
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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 86 of 346

                                  THIS WEEK                                                                                                    Lineage of
                                                                                                                                               hobbit tools




       ACADbMIC CONDUCT                                                                                           office. Those e-mails depicted the dean collabo­
                                                                                                                  rating closely with industry to minimize the
    University Bids to Salvage Reputation                                                                        political fallout of the Donato paper. “It showed
                                                                                                                 all of them working together to squash this
                                                                                                                 Science article,” says Denise Lach, an OSU soci­
li- After Flap Over Logging Paper                                                                                 ologist on the academic freedom committee.
                                                                                                                       Salwasser says his goal was to protect stu­
          Five tumultuous months after controversy a long road to recovery. “It’S a really tough sit­ dents from the attacks. In other e-mails, how­
          erupted over industry influence and academic uation,” says forest ecologist Jerry Franklin of ever, Salwasser expressed contempt for environ­
          fieedom, a leading U.S. academic forestry pro­ the University of Washington, Seattle.                  mental activists, calling them “goons” and com­
          gram is struggling to restore harmony and            Historically, colleges of forestry have been paring their protests to Mafia extortion.
   ■ reestablish its credibility. A faculty report issued dominated by departments that favor active Salwasser says he now regrets those e-mails,
          last week describes deep divisions within the management to increase harvests and spur which he calls “stupid, unthinking, unkind.”
          College of Forestry at Oregon State University regeneration after fires, including salvage                  The committee agrees. It concludes that
          (OSU), Corvallis, in the aftermath of a paper by logging. That includes OSU’s, which derives Salwasser’s actions have “fostered the divi­
         graduate student Dan Donato and colleagues        12% of its budget from taxes on the logging sions within the college” and that the college’s
         on the ecological                                 industry in a state with highly productive leadership council is too narrowly focused on
         effects of salvage                                forests. During the 1980s and 1990s, however, industry interests. To improve the situation, the
         logging: the practice                             OSU and other colleges also increased their committee recommends a more diversified
 5       of removing timber                                emphasis on biodiversity conservation.                governing body, more transparent decision­
         after a major fire.                                  But that tension isn’t confined to academic making, a faculty code of conduct, and a possi­
        ’The college’s dean,                               circles. Responding to the Science paper, the ble reorganization of the college.
         Hal Salwasser, has                                U.S. House of Representatives’ Committee on                Although these suggestions have been
         agreed to adopt some                              Resources held a field hearing in Medford, greeted favorably, few expect them to resolve the
         reforms, but fallout                                                                                                     underlying tension within the
         over the paper con-                                                                                                       college. Beverly Law, Donato’s
    /'tinues and Salwasser                                                                                                        adviser, says she worries that a
         himself may face a                                                                                                       code of conduct doesn’t address
         no-confidence vote                                                                                                       the problem of bullying by some
         later this month.                                                                                                        faculty members. Forest modeler
             Salvage logging is seen by                                                                                           John Sessions, one of the faculty
         the forest industry as a good way                                                                                        members who lobbied Science to
         to encourage regrowth and                                                                                                delay publication, says he wants
     . reduce fire risk. But a paper,                                                                                             access to both the field site and
        published online by this journal                                                                                          the data that were collected to
      • on 5 January, found that the                                                                                              understand the context of the
        heavy equipment used to remove                                                                                            study and its conclusions. But
        dead trees in one southern Ore­                                                                                           Law says that’s out of the ques­
        gon forest had killed seedlings                                                                                           tion. “It’s my student’s thesis, and
        and, left woody debris that                                                                                               [Sessions] is infringing on his £
        increased fire hazard. The paper                                                                                          ability to produce papers,” she
        attracted national attention when                                                                                         says, adding that plot locations
        other OSU researchers claimed                                                                                             are often not disclosed until a g
        the woik was deeply flawed and Under fire. Dean Hal Salwasser (inset) of Oregon State University has been criticized for study is completed. “There has z
        asked Science to delay its print his leadership during the controversy over research by graduate student Dan Donato, been a history of sabotaged "
        publication. That request was who was called to testify before a congressional hearing.                                   research plots in this region.” o
        widely perceived as an attempt at                                                                                         Replies Sessions, “The only
        censorship (Science, 10 February, p. 761).         Oregon, on 24 February on a bill to facilitate tiling that will satisfy me is full disclosure.”              J
             Observers say the conflagration has salvage logging. Two of the bill’s sponsors                         That lack of collegiality lies at the heart of the 5
        exposed a deep divide between departments grilled Donato on his research, subjecting him problem, according to the faculty committee. “In g
        with different perspectives on forest manage­ to what the OSU committee’s report labels many ways, what we’re trying to deal with is an 0
        ment. Last week’s report by a faculty conunit- “intense, sometimes hostile, questioning.” interpersonal problem,” says Lach. She and
        tee on academic freedom criticized Salwasser Meanwhile, memos critical of the Donato arti­ others hope that more conversations can help. But §
        for “significant failures of leadership” that it cle—“some quite personal in their attacks,” as Law notes wistfully, “I still think we have a |
        says worsened those divisions. The committee according to the report—were anonymously long ways to go.” A no-confidence vote is sched- a
        suggests several ways to improve governance posted around the College of Forestry building. uled for 5 June, although the academic freedom “
        and collegiality, including a faculty code of         The dispute intensified in April, after a state committee has yet to decide who gets to vote.             s
        ethics. But observers see those as first steps on senator subpoenaed e-mails from Salwasser’s                                                -ERIK STOKSTAO u


1288                                             2 JUNE 2006        VOL 312       SCIENCE       www.sciencemag.org




                                                                                                        Rvsd Plan - 00005653
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 87 of 346




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    Ecology, Silviculture, and Management of the
    Engelmann Spruce - Subalpine Fir Type in the
    Central and Southern Rocky Mountains
    Robert R. Alexander




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    Rocky Mountains. USDA Forest Service, Agriculture Handbook No. 659, 144 pp.



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                                                                                                  Rvsd Plan - 00005654
          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 88 of 346
United States
Department of
Agriculture
                                Ecology, Silviculture, and
Forest
Service
                                Management of the Engelmann
Agricutture                     Spruce-Subalpine Fir Type in the
Handbook
No. 659                         Central and Southern Rocky
                                Mountains
                                Robert R. Alexander
                                Chief silviculturist
                                Rocky Mountain Forest and Range Experiment Station
                                Ft. Collins, CO




March 1987                                                       Rvsd Plan - 00005655
    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 89 of 346




Alexander, Robert R. Ecology, silviculture, and management of the Engelmann spruce-subalpine
    fir type in the central and southern Rocky Mountains. Agric. Handb. No. 659. Washington,
    DC: U.S. Department of Agriculture Forest Service; 1987. 144 p.

Summarizes and consolidates ecological and silvicultural knowledge of spruce-fir forests.
Describes the biological and environmental values, stand regeneration, stand management, and
growth and yield.

Keywords: Engelmann spruce, subalpine fir, silvics, silviculture, forest damage, regeneration,
stand development, silvicultural systems and cutting methods, growth and yield.

                                                                                  Rvsd Plan - 00005656
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 90 of 346
Preface


   The ecological, silvicultural, and managerial knowledge of     and physiological requirements. Since 1935, research has
Engelmann spruce (Picea engelmannii Parry ex. Engel.)-            broadened to include (1) silvicultural practices and other
subalpine fir (Abies lasiocarpa (Hook.) Nutt.) forests in the     cultural treatments required to regenerate and grow Engelmann
central and southern Rocky Mountains is summarized and con­       spruce and associated species, (2) seed production and disper­
solidated in this publication, which updates and expands a        sal, (3) the relationship of environmental and biological fac­
previous summary paper on subalpine forests (Alexander            tors to regeneration, (4) growth and mortality, (5) volume and
1974). This publication is largely based on past research in      site determination, (6) stand growth and yield, (7) artificial
the central and southern Rocky Mountains conducted by the         regeneration, (8) plant community classification, (9) develop­
Rocky Mountain Forest and Range Experiment Station. While         ment of understory vegetation, and (10) plant-water relations.
much of the research was done on the Fraser Experimental          In recent years, efforts have been expanded to include the ef­
Forest in central Colorado, other important studies were con­     fects of cultural treatments on other resource requirements.
ducted on permanent and temporary plots on National Forest           This publication presents a detailed summary of the (1)
System Regions 2 and 3. This research was supplemented by         ecology and resource, and (2) the silvics, silviculture, and
research done elsewhere, mostly research done in the northern     management of spruce-fir forests. Major emphasis is placed
Rocky Mountains by the Intermountain Forest and Range Ex­         on the silviculture and management of old-growth and the
periment Station, and in Alberta and British Columbia by the      establishment of new stands. While not all questions can be
Canadian Forestry Service.                                        answered, this publication provides the comprehensive body
   Past research has been directed at perpetuating Engelmann      of knowledge available for managing spruce-fir forests. It is
spruce, the most valuable species in the spruce-fir type. In­     intended to guide land managers and land use planners who
itial studies, started by C. C. Bates and later J. Roeser, Jr.,   are responsible for prescribing and supervising the applica­
in the early 1900’s, focused on methods of cutting required       tion of cultural treatments in the woods.
to establish regeneration, natural succession, seed production,




                                                                                      Rvsd Plan - 00005657
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 91 of 346

Contents


                                                                              Page                                                                                    Page
Introduction..........................................................           1    Natural Regeneration Requirements.....................                          18
  Distribution................................                                   1      Seed supply............................................................. 18
  The resource...........................................................        1        Flowering and fruiting ........................................ 18
    Area, volume, and age-class distribution............                         1        Cone-bearing age................................................. 18
    Properties and uses of wood ..............................                   3        Time of seedfall................................................... 20
                                                                                          Seed and cone crop predictability....................... 20
Tree and Forest Descriptions...............................                     4         Production and periodicity.................................. 20
  Tree characteristics.................................................. 4                Seed soundness ..................... .............................. 21
    Engelmann spruce................................................ 4                    Seed collection and extraction............................. 22
    Subalpine fir ............................................................. 5         Storage of seed................................................... 22
  Reaction to competition..........................................             6         Seed viability and germinative capacity ............. 22
  Stand conditions .....................................................        7         Seed source......................................................... 23
  Plant-water relations...............................................          8       Seed dispersal......................................................... 23
  Habitat types...........................................................      9       Seed losses............................................................... 25
  Timber types .....................                                            9       Factors affecting germination.................................. 25
                                                                                        Factors affecting initial survival and
Habitat Conditions...............................................                10               establishment............................................. 26
  Climate.....................................................................   10       Initial root growth ................................................ 27
  Altitudinal range ......................................................       11       Seedbed type....................................................... 27
  Geology and relief..................................................           11       Climate................................ ................................ 29
  Soils and landforms ................................................           12         Insolation ............................ ............................ 29
  Damaging agents...................................                             12         Temperature..................................................... 29
    Wind.....................................................                    12         Moisture............................................... ........... 33
    Insects...................................................................   14       Aspect................................................................... 33
    Diseases...............................................................      15       Soil....................................................................... 33
    Fire.....................................................                    17       Diseases............................................................... 34
    Animals ...............................................................      17       Animal damage................................................... 34
                                                                                          Ground vegetation................................................ 34
                                                                                        Seed:seedling ratio................................................. 35

                                                                                      Artificial Regeneration..........................................                 36
                                                                                        Direct seeding.........................................................         36
                                                                                        Planting...................................................................     36
                                                                                          Bare-root or container stock................................                  36
                                                                                          Physiological requirements..................................                  36
                                                                                            Light.................................................................      36
                                                                                            Water . .............................................................       36
                                                                                            Temperature.....................................................            37
                                                                                          Need and timing..................................................             37
                                                                                          Site preparation............... . ..................................          37
                                                                                          Planting stock .....................................................          38
                                                                                          Type of container................................................             38
                                                                                          Planting season...................................................            38
                                                                                          Storage................................................... . ...........      38
                                                                                          Spot selection............................................. .........         39
                                                                                          Planting method...................................................            39
                                                                                          Plantation protection............................................             39
                                                                                          Records.................................................................      39




IV                                                                                                             Rvsd Plan - 00005658
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 92 of 346




                                                                  Page                                                                                             Page
Past Cutting History..................................... . . . .. 41             Growth and Yield..................................................                 70
                                                                                    Site quality................................................................     70
01d“Growth Management.....................................                   44       Height and age......................................................           70
  Regeneration silvicultural systems...........................              44       Soil and topography ............................................               70
    Even-aged cutting methods...................................             44     Volume tables..........................................................          70
      Management with advanced regeneration........                          44     Growth of natural stands........................................                 71
      Management for regeneration aftercutting ....                         46        Seedlings and saplings ........................................                71
    Uneven-aged cutting methods................. .............               59       Immature stands....................................................            72
      Individual-tree selection cutting.......................               59       Mature to overmature stands...............................                     73
      Group selection cutting.....................................           60     Managed even-aged stands....................                                     74
      Stand structure goals . .......................................        60       Diameter growth..................................................              75
      How to determine residual stand structure ....                         61       Height growth .......................................................          75
      Determining threshold diameter.......................                  61       Basal area growth................................................              78
      Marking trees....................................................      62       Volume increments..............................................                78
      Cutting cycles....................................................     62          Total cubic-foot increment...............................                   78
      Recommendations for selection cutting............                      62          Board-foot increment........................................                80
      Protecting the residual stand.............................             63          Maximizing board-foot yields...........................                     80
    Costs of sale administration and logging.............                    63       Tradeoffs to increase value of other resources ...                             82
  Multiple-use silviculture..........................................        63
    Soil and water resources.......................................          63   Literature Cited ...................................................               85
      Water yield........................................................    63
      Soil erosion and water quality ..........................              65   Appendixes
      Nutrient losses and stream temperature                                        A.     Habitat types, community types, and plant
                         changes...................................         66             communities.................................................... 92
    Wildlife and range resources...............................             66      B.     Summarized data on selected climatic factors . 118
      Game animal habitat........................................           66      C.     How to determine residual stand structure for
      Nongame animal habitat...................................             66             selection cutting...................................... 124
      Livestock grazing..............................................       68      D.     Selected Engelmann spruce volume tables .... 132
    Recreation and esthetic resources .......................               68      E.     Selected tables          ...........                            140
    Comparison of cutting methods...........................                68




                                                                                                              Rvsd Plan - 00005659                                   V
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 93 of 346
Introduction


   Engelmann spruce-subalpine fir forests (SAF Type 206,              interaction of timber management and other forest uses pre­
Alexander 1980) are the predominant multiple-use forests in           sent a different set of problems for the manager, land-use plan­
the central and southern Rocky Mountains (fig. 1). They are           ner, and silviculturist. Present and future research must
a large and productive timber resource, occupying the highest         develop silvicultural practices that will establish and maintain
potential water-yielding areas and providing habitat for a vari­      spruce-fir forests with the form, structure, and arrangement
ety of wildlife, forage for livestock, summer and winter recrea­      of stands needed to integrate all land uses. Multidisciplinary
tional opportunities, and outstanding scenic beauty (Alexander        studies started 10 years ago are now beginning to provide some
1977, Alexander and Engelby 1983).                                    of the information on manipulation of existing stands to in­
   Silvicultural research in spruce-fir forests has been primarily    tegrate different uses and successional trends and stability of
directed at growing crops for commercial timber production.           various plant associations in response to different management
Beginning in the early 1970’s, public demand for a variety            prescriptions. The field and computer simulation techniques
of resources and uses, and a growing concern for the environ­         now available for the management of even-aged stands must
ment, began to change research priorities. Although past              be expanded to include uneven-aged stands and those with ir­
silvicultural research has provided much of the currently used        regular stand structures. Managers can make better decisions
silvical information about Engelmann spruce and to a lesser           about key uses when they can forecast timber potential and
degree subalpine fir, the changing priorities resulting from the      tradeoffs with other resources under alternative management
                                                                      systems. While the direction of future silvicultural research
                                                                      in spruce-fir forests will likely be multidisciplinary, it must
                                                                      be constantly reassessed to insure that the knowledge needed
                                                                      to manage spruce-fir forests for a wide variety of uses and
                                                                      needs is available.

                                                                                             Distribution
                                                                        The spruce-fir type is widespread in the central and southern
                                                                      Rocky Mountains- It is found in the high mountains of north­
                                                                      western and north-central Wyoming, and south through Colo­
                                                                      rado to southern New Mexico and Arizona (fig. 2). The type
                                                                      also occurs in the Rocky Mountains from southwestern Al­
                                                                      berta, Canada, south through the high mountains of eastern
                                                                      Washington and Oregon, Idaho and western Montana, and in
                                                                      the high mountains of Utah and eastern Nevada. In the Pacific
                                                                      Northwest, spruce-fir forests grow along the east slope of the
                                                                      Coast Range from west-central British Columbia, south along
                                                                      the west side of the Cascades through Washington and Oregon
                                                                      to northern California (Alexander and Shepperd 1984, Alex­
                                                                      ander and others 1984b).

                                                                                            The Resource
                                                                              Area, Volume, and Age-Class Distribution

                                                                         Engelmann spruce and subalpine fir, either singly or in com­
                                                                      bination, comprise a plurality of the stocking on an estimated
                                                                      4.2 million acres of commercial forest land in the central and
                                                                      southern Rocky Mountains (table 1) (Green and Van Hooser
                                                                      1983). Nearly all of the commercial forest land is publicly
                                                                      owned. About 88 percent of the area in the spruce-fir type
                                                                      and 89 percent of the volume is in the central Rocky Moun­
Figure 1-Old-growth spruce-fir forests, Fraser Experimental Forest,   tains, and about 70 percent of the area and 68 percent of the
CO.                                                                   volume is in Colorado (tables 1 and 2).

                                                                                          Rvsd Plan - 00005660
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 94 of 346




                                                                                Table 2—Volume of Engelmann spruce and subalpine fir
                                                                                limber on commercial forest land in the central and
                                                                                southern Rocky Mountain States, 1977 (adapted from
                                                                                Green and Van Hooser 1983)

                                                                                                        Board-foot volume                   Cubic-foot
                                                                                    State                (Int. W-inch rule)                  volume

                                                                                                                              millions
                                                                                Wyoming                       10,224                              2,398
                                                                                Colorado                      31,920                              7,114
                                                                                Arizona                        1,825                                354
                                                                                New Mexico                     3,241                                767
                                                                                     Total                    47,210                             10,663



                                                                                Table 3—Area of commercial spruce-fir forest land in the
                                                                                central and southern Rocky Mountains for all ownerships by
                                                                                productivity classes and stand size, 1977 (adapted from
                                                                                Green and Van Hooser 1983)

                                                                                                                  Productivity class
                                                                                                                     (ft^/acre/yr)
                              110°                         105°
                                                                                   State      Stand size      85-120      50-84      20-49         Total

                                                                                                                              1,000 acres
0      lOO     200      iOO     ■100 MILES                                      Wyoming      Sawtimber            58          370          165        593
                 I I , I I i i I I., i
prr-rj-T-rr i-frrp-riTT lipin                                                                Poletimber            8           52           25         85
0    100   SOO  500 400 500 600 K^LOM^TERS
                                                                                             Seedlings and
                                                                                               saplings               0        17           50            67
Figure 2—Distribution of spruce-fir forests in the centrai and southern                      Nonstocked               0         0           27            27
Rocky Mountains.                                                                Colorado     Sawtimber           227       1,034           958      2,219
                                                                                             Poletimber            5         135           176        316
                                                                                             Seedlings and
                                                                                               saplings           25          113           93        231
Table 1—Ownership of commercial' spruce-fir forest land
                                                                                             Nonstocked           14           58          126        198
in the central and southern Rocky Mountains, J977
(adapted fiom Green and Van Hooser 1983)                                        Arizona      Sawtimber                8        54           53        115
                                                                                             Poletimber               0         0            2          2
                                                                                             Seedlings and
                                             Ownership                                         saplings               0          0           0             0
                                                                                             Nonstocked               0          0           1             1
                 National      Other            Forest      Other
                                                                                New Mexico Sawtimber                  3       228            7        298
    state         forest       public          industry     private     Total
                                                                                           Poletimber                 0         0            2          2
                                                                                           Seedlings and
                                             1,000 acres                                                                                    13            39
                                                                                             saplings             13           13
Wyoming               677         64               2            29       772               Nonstocked              0            0           32            32
Colorado             2565         60               3          316       2964
Arizona                17        101               0              0      118    Al! States   Sawtimber          296       1,746          1,183     3,225
New Mexico            101         36               0          234       —371                 Poletimber          13         187            205       405
                                                              .....
                                                                                             Seedlings and
    Total            3380        261               5              579   4225                   saplings          38         143            156       337
                                                                                             Nonstocked                   __ 58            186       258
’Commercial forest land is defined as land with the potential for                                                         2,134
                                                                                    Total                       361                      1,730     4,225
  growing 20 cubic feet of timber per acre per year.


2
                                                                                                    Rvsd Plan - 00005661
    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 95 of 346




   One of the important features of spruce-fir forests is the       in shock resistance (U.S. Department of Agriculture 1974a).
imbalance in age-class distribution (table 3). The largest pro­     The wood is soft and machines well for ordinary uses. It has
portion of the stocked area is in sawtimber and the smallest,       good nail-holding properties, glues well, and is easy to work,
in seedling and sapling stands. The vast majority of these stands   but paint-holding properties are only average. If sufficient time
are, therefore, overmature and declining in general vigor and       is allowed, the lumber can be kiln dried without difficulty.
soundness.                                                          The heartwood and sapwood, when used under conditions
   Only about 10 percent of the spruce-fir type is classified       favorable to decay, are not durable. Spruce is considered
as immature stands (table 3). Most of the poletimber was            somewhat resistant to preservative treatment; however,
established following wildfires in the early 1900’s. Since          crossties have been successfully pressure treated for many
wildfires are random events and most fires were relatively          years (Anderson 1956). Subalpine fir wood is light in weight,
small in terms of average area burned, poletimber stands of         low in bending and compressive strength, moderately limber,
spruce-fir are scattered. About 8 percent of the spruce-fir         soft, and low in resistance to shock. Shrinkage of wood is rated
forest lands are classified as seedling and sapling stands. These   low to moderately high (U.S. Department of Agriculture
stands originated from either fires or cutting. Nearly 6 per­       1974a).
cent of commercial forest lands are classified as nonstocked.          The lumber of spruce is likely to contain many small knots.
Failure of tree reproduction following fire or cutting accounts     Consequently, it yields only minor amounts of select grades
for some of the nonstocked area, but not all nonstocked lands       of lumber, but a relatively high proportion in the common
are capable of supporting commercial spruce-fir forests (Green      grades (Mueller and Barger 1963). In the past, spruce was
and Van Hooser 1983).                                               used principally for mine timbers, railroad ties, and poles. To­
   Harvest of spruce and fir has greatly increased since the end    day, much of the lumber of both spruce and fir is used in home
of World War H. Spruce now leads all species except                 construction where high strength is not required, and for
ponderosa pine (Pinusponderosa Dougl. ex Laws.) in annual           prefabricated wood products. In recent years, rotaiy-cut spruce
volume of cut in the central and southern Rocky Mountains.          veneer has been used in plywood manufacture. Other uses of
The demand for spruce should remain high because of the             spruce include specialty items such as violins and pianos and
availability of sawlog-sized stands.                                aircraft parts (Anderson 1956, Markstrom and Alexander
                                                                     1984). Engelmann spruce and subalpine fir have not been used
                Properties and Uses of Wood                         much for pulp and paper in the central and southern Rocky
                                                                    Mountains, but their pulping properties are excellent, and they
   Engelmann spruce is one of the lightest of the important         have been utilized in the northern Rocky Mountains. Long
commercial woods in the United States. The wood is gener­           fibers, light color, and absence of resins permit them to be
ally straight grained, has moderately small shrinkage, can be       pulped readily by the sulfite, sulfate, or groundwood processes
readily air dried, and is a uniform color (Markstrom and Alex­      (Anderson 1956, U.S. Department of Agriculture 1974a).
ander 1984). It is rated low in beam and post strength and




                                                                                       Rvsd Plan - 00005662                        3
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 96 of 346
Tree and Forest Descriptions


                    Tree Characteristics                                 the growth of most associated tree species slows down
                                                                         (Alexander and Shepperd 1984, LeBarron and Jemison 1953).
                       Engelmann Spruce                                     Engelmann spruce is considered to have a shallow root
                                                                         system (fig. 4). The weak tap root of seedlings does not
  Engelmann spruce is one of the largest of the high                     persist beyond the juvenile stage, and when trees grow where
mountain species. Under favorable conditions, average stand              the water table is near the surface or on soils underlain by
diameter will vary from 15 to 30 inches and average domi­                impervious rock or clay hardpans, the weak, superficial lateral
nant height from 45 to 130 feet, depending upon site quality             root system common to the seedling stage may persist to old
and density (fig. 3). Individual trees may exceed 40 inches              age. Under these conditions, most roots are in the first 12 to
in diameter and 160 feet in height (LeBarron and Jemison                 18 inches of soil. But where spruce grows on deep, porous,
1953). Engelmann spruce is a long-lived tree, maturing in                well-drained soils, the lateral root system may penetrate to
about 300 years. Dominant spruces are often 250 to 450 years             a depth of 8 feet or more (Alexander and Shepperd 1984).
old, and trees 500 to 600 years old are not uncommon.                    The crowns of stand-grown spruce occupy from 50 to 70 per­
Engelmann spruce has the capacity to make good growth at                 cent of the total height of the mature tree. Crowns of
advanced ages. If given sufficient growing space, it will                open-grown trees may extend to the ground. They are shaped
continue to grow steadily in diameter for 300 years, long after          like a paraboloid—compact with short, whorled branches. The
                                                                         relationship of the width of live crown at its base to diameter
                                                                         at breast height for open-grown spruce in the central Rocky
                                                                         Mountains is shown in figure 5 (Alexander 1971). Needles
                                                                         are 1 to 1W inches long and tend to be crowded on the upper
                                                                         side of the branch because those on the lower side curve
                                                                         upwards. The bark is very thin. On young trees it tends to
                                                                         be grayish brown. The trunks of mature trees are broken into
                                                                         large purplish-brown to russet-red, loosely attached scales
                                                                         (fig. 6) (Alexander and Shepperd 1984.)
                                                                             Little genetics information is available for Engelmann spruce.
                                                                          Concerning population differences, the few studies conducted
                                                                          indicate, for example, that spruce from high-elevation seed
                                                                          sources and northern latitudes break dormancy first in the
                                                                          spring and are the first to become dormant in the fall when
                                                                          grown in low-elevation nurseries. Conversely, seeds from low
                                                                         elevations and southern latitude.s frequently are more resistant
                                                                          to spring frosts, but are less winter-hardy than those from
                                                                          middle and high elevations (Fowler and Roche 1977). In one
                                                                          study that compared seedlings from 20 seed sources, ranging
                                                                          from British Columbia to New Mexico, planted at 9,600 feet
                                                                          in Colorado, seedlings from northern latitudes and lower
                                                                         elevations made the best height growth (Shepperd and others
                                                                          1981). Overall survival from al! source,s 10 years after out-
                                                                         planting was 73 percent, with no significant differences among
                                                                         sources.
                                                                            There are no recognized races or geographical varieties of
                                                                          Engelmann spruce (Little 1979). There is abundant evidence
                                                                         that natural introgressive hybridization between Engelmann
                                                                         and white spruce occurs in sympatric areas, especially around
                                                                         Glacier National Park in Montana (Daubenmire 1974). It has
                                                                         been suggested that Engelmann and Sitka spruces cross in
                                                                         British Columbia, but it seems more likely that the crosses
Figure 3—Mature Engelmann spruce on the Fraser Experimental              are between Sitka and white spruce. Engelmann spruce has
Forest, CO. Tree is 18 inches in diameter, more than 90 feet tail, and   been artificially crossed with several other spruces, but with
250 years old at breast height.                                          only limited success (Fowler and Roche 1977).
                                                                                             Rvsd Plan - 00005663
4
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 97 of 346




Figure 4—Windthrown Engeimann spruce showing shallow root
system.




                                                                   Figure 6—Bark of Engelmann spruce.


                                                                                          Subalpine Fir

                                                                      On exposed sites near timberline, subalpine fir is often
                                                                   reduced to a prostrate shrub, but under closed-forest
                                                                   conditions it attains diameters of 12 to 24 inches and heights
                                                                   of 45 to 100 feet, depending upon site quality and stand
                                                                   density (fig. 7). Trees larger than 30 inches in diameter and
                                                                   130 feet tall are exceptional (Harlow and Harrar 1937,
                                                                   Sudworth 1916). Growth is not rapid; trees 10 to 20 inches
                                                                   in diameter are often 150 to 200 years old under closed-forest
                                                                   conditions. Trees older than 250 years are not uncommon.
                                                                   But, because the species suffers severely from heartrot, many
                                                                   trees either die or are complete culls at an early age.
                                                                   Subalpine fir has a shallow root system where it grows in
                                                                   situations that limit the depth of root penetration, and the
                                                                   superficial lateral root system common to the seedling stage
                                                                   persists to old age. Under more favorable conditions, subalpine
                                                                   fir develops a relatively deep lateral root system (Alexander
                                                                   and others 1984b). Crowns of stand-grown subalpine fir oc­
                                                                   cupy from 70 to 80 percent of the total height of the mature
                                                                   tree and may reach nearly to the ground when open-grown.
                                                                   Crowns are shaped like a neiloid: compact with short, thick
Figure 5-—Relationship of crown width to stem diameter at breast   branches. Needles are 1 to 1% inches long, crowded, and
height for open-grown Engelmann spruce (Alexander 1971).           nearly erect because of a twist at their base. The bark is

                                                                                                                                .5
                                                                                      Rvsd Plan - 00005664
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 98 of 346




                                                                       Figure 8—Bark of subalpine fir.



                                                                                      Reaction to Competition
                                                                          In the central and southern Rocky Mountains, Engelmann
                                                                       spruce is rated tolerant in its ability to endure shade (Baker
Figure 7—Mature subalpine firs on the Fraser Experimental Forest,
CO. These trees are 12-14 inches in diameter, 60 feet tail, and more
                                                                       1949). It is definitely more shade tolerant than such associates
than 200 years old at breast height.                                   as ponderosa pine, Rocky Mountain Douglas-fir (Pseudotsuga
                                                                       menziesii var. giauca (Beissn.) Franco), lodgepole pine (Pinus
                                                                       contorta Dougl. ex Loud), quaking aspen (Populus tremuloides
thin, gray, and smooth except for numerous resin blisters on           Michx.), blue spruce (Picea pungens Engelm.), and
young trees. It becomes shallowly fissured with age, especially        southwestern white pine (Pinus strobiformis Engelm.);
near the base (fig. 8) (Alexander and others 1984b).                   however, it is less shade tolerant than subalpine fir (its most
   information on the genetics of subalpine fir is virtually           common associate), corkbark fir, and white fir (Abies con-
nonexistent. Undoubtedly any species with the range in eleva­          color (Gord. & Glend.) Lindl. ex Hildebr.).
tion and latitude of subalpine fir will exhibit differences in            Engelmann spruce is either co-climax with subalpine fir or
growth, phenology, dormancy, resistance to heat and cold,              a long-lived serai throughout much of its range. In the cen­
etc., among different populations. Corkbark fir (Abies                 tral and southern Rocky Mountains, Engelmann spruce and
lasiocarpa var. arizonica (Merriam) Lemm.) is the only                 subalpine fir occur as either codominants or in nearly pure
recognized natural geographical variety of subalpine fir (Little       stands of one or the other. Elsewhere in the Rocky Moun­
1979). Like many species with wide distribution, it has prob­          tains and associated ranges, subalpine fir is the major climax
ably developed races and hybrids that are unknown, and there           species. Engelmann spruce may also occur as a major climax
is some evidence that natural introgressive hybridization be­          species, but more often it is a persistent, long-lived serai
tween subalpine and balsam fir (Abies balsamea (L.) Mill.)             species. Pure stands of either species can be found throughout
occurs where they grow together in Canada.                             the Rocky Mountains, however (Alexander 1980).

6
                                                                                           Rvsd Plan - 00005665
        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 99 of 346


   Climax forests are not easily displaced by other vegetation,     forests can be grown under even-aged management. Other
but fire, logging, and insects have played an important part        stands are two- or three-storied, and multistoried stands are
in the successional status and composition of spruce-fir forests.   not uncommon (Alexander 1973, Miller 1970). These may
Complete removal of the stand by fire or logging results in         be the result of either past disturbances, such as fire, insect
such drastic environmental changes that spruce and fir are          epidemics, or cutting, or the gradual deterioration of old-
usually replaced by lodgepole pine, quaking aspen, or shrub         growth stands associated with normal mortality from wind,
and grass communities (Roe and others 1970, Stahelin 1943,          insects, and diseases. The latter circumstance is especially evi­
Whipple and Dix 1979). The kind of vegetation initially oc­         dent in the formation of some multistoried stands. On the other
cupying the site usually determines the length of time it takes     hand, some multistoried stands appear to have originated as
to return to a spruce-fir forest. It may vary from a few years      uneven-aged stands and are successfully perpetuating this age­
if the site is initially occupied by lodgepole pine or quaking      class structure (Alexander 1985, Hanley and others 1975,
aspen to as many as 300 or more years if grass is the replace­      Whipple and Dix 1979). Regardless of stand structure, trees
ment community (fig. 9). However, the factors that determine        may be uniformly spaced or they may occur in clumps, groups,
the kind of replacement stand are not folly understood. At­         or patches. Two or more stand conditions and/or
tacks by spruce beetle {Dendroctonus rufipennis Kirby) have         characteristics frequently occur on the same tract. This com­
usually resulted in a change in the dominant element of the         plicates the development of management practices and
stand from spruce to fir. Because of its larger size and longer     silvicultural prescriptions needed to convert old-growth to
life, spruce usually regains its dominant position in the stand     managed stands for a variety of uses (Alexander 1974).
only to be removed again by spruce beetles (Schmid and Frye             The composition of spruce-fir forests varies considerably
1977, Schmid and Hinds 1974).                                       with elevation. At mid-elevations (10,000 to 11,000 feet),
                                                                    these forests are frequently pure spruce in the overstory with
                    Stand Conditions                                fir predominating in the understory. For example, in the cen­
                                                                    tral Rocky Mountains, spruce commonly makes up 70 per­
   Old-growth spruce-fir forests occur on a wide range of sites     cent or more of the overstory basal area, and fir from two-
and exhibit a great diversity of stand conditions and               thirds to three-fourths of the understory and advanced
characteristics. Por example, although spruce-fir forests form      reproduction (Alexander 1957a, 1963, 1968; Hodson and
climax or near-climax plant associations throughout the cen­        Foster 1910; Oosting and Reed 1952). This composition in
tral and southern Rocky Mountains, they differ from most            relation to structure has developed under natural conditions
climax forests in that stands are not truly all-aged (Alexander     because spruce is more exacting in its seedbed requirements
1985, Hanley and others 1975, LeBarron and Jemison 1953).           and less able to compete with fir under low light intensities
Some stands are clearly single-storied, indicating that spruce      common to dense forests. Once established, however, spruce
                                                                    lives longer than fir and is less susceptible to disease (Alex­
                                                                    ander and Shepperd 1984, Alexander and others 1984b). Ex­
                                                                    ceptions are stands recently attacked by spruce beetles, where
                                                                    fir is the dominant element in both the overstory and
       SPRU C E-FIR                    CLIMAX                       understory. At higher elevations in the central and southern
                                                                    Rocky Mountains, spruce may form essentially pure stands;
                                                                    at lower elevations where sites are usually drier, the density
                                                                    of spruce relative to fir may be low. In these latter
                                                                     situations in the central Rocky Mountains, lodgepole pine, a
                                                                    long-lived serai species, is frequently more numerous in the
                                                                     overstory than spruce (fig. 10).
                                                                        Advanced spruce and fir reproduction is likely to be older
                                                                    than it appears because the early growth of both is slow.
                                                                     Spruce commonly takes from 20 to 40 years to reach a height
                                                                     of 4 to 5 feet, even under favorable conditions, whereas under
                                                                     a dense canopy, spruces 4 to 6 feet tall may be 75 or more
          PRE-FIRE       SUBALPINE FOREST                            years old (Oosting and Reed 1952). Spruce and fir reproduc­
                                                                     tion suppressed for long periods of time will respond to
Figure 9—Natural succession in central Rocky Mountain spruce-fir     release, however, and make acceptable growth (Alexander
stands following fire (Stahelin 1943). ■                             1968, McGaughey and Schmidt 1982).


                                                                                                                                    7
                                                                                        Rvsd Plan - 00005666
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 100 of 346




Figure 10—An otd-growth lodgepole pine stand with Engelmann
spruce and subalpine fir in the understory, Fraser Experimental Forest,
CO.

                                                                          (evaporative demand), with secondary effects from
                  Plant-Water Relations                                   temperature and water stress. (3) Nighttime minimum
                                                                          temperatures below 39 ’F retard stomatai opening the next
   The ecophysiology of Engelmann spruce and subalpine fir                day, but stomata function well from early spring to late fall,
in relation to their common associates is becoming better                 even with considerable snowpack on the ground. (4) Leaf
understood. Kaufmann (1975, 1976, 1979, 1982a, 1982b,                     water vapor conductance is higher in Engelmann spruce than
1984a, 1984b) and Kaufmann and Troendle (1981) summar­                    in subalpine fir, but lower than in lodgepole pine or quaking
ized what is known about the general water relations of                   aspen. (5) Engelmann spruce trees have less total needle area
Engelmann spruce and subalpine fir as follows: (1) Leaf water             per unit area of sapwood water-conducting tissue than
potential decreases in proportion to the transpiration rate but           subalpine fir but more than lodgepole pine or quaking aspen.
is influenced by soil temperature and water supply. (2) Nee­              (6) Engelmann spruce trees have a greater needle area per unit
dle water vapor conductance (directly proportional to stomatai            of bole or stand basal area than subalpine fir, lodgepole pine,
opening) is controlled primarily by visible radiation intensity           or aspen. At equal basal area, annual transpiration of spruce
and absolute humidity difference from needle to air                       is about 80 percent greater than lodgepole pine, 50 percent



                                                                                             Rvsd Plan - 00005667
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 101 of 346




greater than subalpine fir, and 220 percent greater than aspen.         SAF Number                       Type
These high rates of transpiration result in Engelmann spruce                206      Engelmann spruce-subalpine fir
occurring primarily on the wetter sites.                                    208      White bark pine (Pims albicaulis Engelm.)
                                                                            209      Bristlecone pine (Pinus aristata Engelm.)
                      Habitat Types                                         210      Interior Douglas-fir
                                                                            216      Blue spruce
                                                                            217      Aspen
   Habitat typing based on the concepts and methods developed               218      Lodgepole pine
by Daubenmire (1952), Daubenmire and Daubenmire (1968),                     219      Limber pine (Pinus flexilis James)
and refined by others, began in the early 197O’s in the central
and southern Rocky Mountains. While not all of the area has           The spruce-fir type in the central and southern Rocky
been classified, Engelmann spruce occurs as a dominant,            Mountains has already been described. White bark pine,
codominant, minor dominant or major serai species in 97            bristlecone pine, blue spruce, and limber pine are minor cover
habitat types, community types, or plant communities, and          types. In northern Wyoming and in the Southwest, interior
subalpine fir in 81. Each has a distinctive biological potential   Douglas-fir is an important cover type. Other common
and response in terms of successional trends, stability, and       associates in this cover type are ponderosa pine, limber pine,
productivity when subjected to different management prescrip­      lodgepole pine, and quaking aspen in the central Rocky Moun­
tions. Those habitat types, conununity types, and plant com­       tains; and blue spruce, quaking aspen, white fir, ponderosa
munities that have been identified are presented in tables A-1     pine, southwestern white pine, and corkbark fir in the
and A“2 in appendix A.                                             Southwest. The aspen cover type is widespread throughout
                                                                   the central and southern Rocky Mountains; other common
                      Timber Types                                 associates in the aspen cover type are lodgepole pine,
                                                                   ponderosa pine, interior Douglas-fir, and white fir. The
  Engelmann spruce and subalpine fir in the central and            lodgepole pine cover type is found extensively throughout the
southern Rocky Mountains are found in the following forest         central Rocky Mountains; other common associates in this
cover types (Eyre 1980):                                           cover type are quaking aspen and Douglas-fir.




                                                                                                                                 9
                                                                                     Rvsd Plan - 00005668
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 102 of 346

Habitat Conditions


                          Climate                                 southern Rocky Mountains is narrow considering the wide
                                                                  distribution of the type. Average annual temperatures are
   The continental climate of the central and southern Rocky      30-35 “F, with a January mean of 10-15 °F, and a July mean
Mountains is influenced by three principal air masses: (1)        of 50-60 °F. However, frost can occur any month of the year.
Storms move into the Rocky Mountains from the Pacific Ocean       Growing season air temperature records from two stations at
during winter and early spring, carrying relatively large         10,500 feet elevation on the Fraser Experimental Forest in
amounts of moisture which are released on the western slopes      Colorado show that temperatures average about 46 °F but
as the air masses rise over the mountains (Johnson and Cline      range from an average minimum of 36 °F to an average max­
1965, Marr 1961, U.S. Department of Agriculture 1941). Only       imum of 58 °F (appendix B) (Alexander 1984), Temperatures
small amounts of moisture fall on the eastern slopes. These       rise abruptly in the late spring, with July and August the
same storm fronts from the west pass too far north during the     warmest months.
summer to provide much moisture. (2) Snowfall also occurs            Spruce-fir forests receive from 24 to 55 inches of precipita­
when polar continental air moves south parallel to and east       tion annually. Although precipitation increases with elevation,
of the Front Range during the winter and interrupts the nor­      it varies from location to location. While there is only moderate
mal westerly flow (Marr 1961). (3) Normally, the warm, moist      or no seasonal deficiency in precipitation, summer is the driest
air from the Gulf of Mexico moving upslope provides moisture      season of the year from Wyoming south to southwestern Col­
along the east slope of the Rockies during the spring and early   orado. About two-thirds to three-fourths of the total precipita­
summer, but at elevations below the spruce-fir zone (Marr         tion falls as snow. Snowfall can exceed 350 inches annually.
1961). However, when the storm track from the west moves          Southwestern Colorado, and Arizona and New Mexico receive
south through northern New Mexico and combines with or            considerable summer rainfall, while winter snowfall can be
causes a northward flow of Gulf air, the higher southern and      relatively light—less than 150 inches annually (Baker 1944,
eastern Rocky Mountains receive moisture (Johnson and Cline       Johnson and Cline 1965, Marr 1961, Thornthwaite 1948).
1965). In addition, convective thunderstorms release some         Records of precipitation during the growing season at 10,500
moisture in the high mountains during the summers. The            feet elevation on the Fraser Experimental Forest show that
diverse topography in the Rocky Mountains results in various      it averages about 9 inches, but ranges from 3 to 12.5 inches
microclimates in the subalpine zone that change significantly     (appendix B) (Alexander 1984), Periods of extreme drought
over short distances. In general, temperature decreases and       occur occasionally. Clear sunny days with no precipitation,
precipitation increases with an increase in elevation             high vapor pressure deficits, and incident net radiation
(Daubenmire 1943). Climatic records for the spruce-fir zone       resulting in high transpiration and evaporation rates are
are mostly from valley stations, but a few representative         characteristic of late June and early July in most years.
records for forested areas are provided by Alexander (1984),
Baker (1944), Bates (1924), Haeffner (1971), and Marr and
others (1968).                                                    Table 4—Climatological data for three regional subdivi­
   Climatic factors generally define the distribution of the      sions within range of spruce-fir forests (adapted from
spruce-fir type. Spruce and fir are restricted to high eleva­     Alexander and Shepperd 1984)
tions because of their low tolerance to high temperatures and
deficient moisture at lower elevations. The climate of the
                                                                                                      Rocky Mountain Region
spruce-fir zone can be classified as cool and humid, with long,
                                                                             Climate              Northern’   Central    Southern’
cold winters and short, cool summers (Alexander and Shep-
perd 1984, Marr 1961, Thornthwaite 1948). Spruce and fir          Average temperature ("F)
occupy the highest and coldest forest environment in the cen­       Annual                         30-35        30-35        35
tral and southern Rocky Mountains, characterized by heavy           July                           45-55        50-55     50-60
snowfall, a short frost-free period, and temperature extremes       January                        10-20        10-15     15-20
                                                                  Annual precipitation (inches)    24-45+       24-55     24-35+
of more than -50 "F to above 90 °F, with mean annual                                                 250 +    150-350+      200+
                                                                  Annual snowfall (inches)
precipitation of 24 inches or more. The growing season varies     Frost-free period'’ (days)       30-60        30-60     30-60
with elevation but is normally from May through August. This
period usually has a high proportion of clear, warm days.         ’Includes the Rocky Mountains of Montana, Idaho, and Utah, and
Climatic data for the Rocky Mountains within the spruce-fir          associated mountains of eastern Washington and Oregon,
                                                                  ^Includes the Rocky Mountains of Wyoming and Colorado.
zone are given in table 4 (Baker 1944, Haeffner 1971, Marr        ’Includes the Rocky Mountains and associated ranges of New
and others 1968).                                                    Mexico and Arizona.
   The range of mean annual temperatures in the central and       '’Frost can occur any month of the year.


10
                                                                                       Rvsd Plan - 00005669
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 103 of 346




  Winds are predominately from the west and southwest and           1911, Fenneman 1931). The Wind River Mountains of western
can be highly destructive to spruce-fir forests (Alexander          Wyoming are characterized by a central core of Precambrian
1964, 1967b, 1974; Alexander and Buell 1955; Daubenmire             crystalline rock. The subsummit uplands consists of granites.
1943). (Appendix B gives detailed climatic records for              Older sedimentary rocks flank the mountains on the northeast
spruce-fir forests on the Fraser Experimental Forest,               side as high as 9,000 to 10,000 feet. Further to the east are
Colorado.)                                                          foothills of sedimentary rock (Eardley 1962, Fenneman 1931).
                                                                       The Front Range of the Rocky Mountains extends in a north­
                    Altitudinal Range                               south direction from the Arkansas River in Colorado through
                                                                    the Medicine Bow Mountains in southern Wyoming (Thorn­
   In the mountains of north-central Wyoming, extensive stands      bury 1965). It is characterized by a central core of Precam­
of spruce and fir are found between 9,(XX) and 10,500 feet          brian granites, schists, gneisses, and dolomites that may be
elevation, but stands may occur as low as 7,500 feet on north       largely concealed in some areas by glacial drift (Curtis 1960,
slopes, in cold pockets along streams, and in valley bottoms        Mears 1953, Oosting and Reed 1952, Thornbury 1965).
(Hoffman and Alexander 1976). In northwestern Wyoming,              Sedimentary rocks are locally present, but are not very im­
spruce-fir grows from 6,000 to 10,800 feet, but is more com­        portant (Retzer 1962). The plateaus of western Colorado con­
monly found above 8,000 feet (Steele and others 1983). In           sist of sedimentary strata that have been pushed upwards
southern Wyoming and in north and central Colorado, spruce­         without folding over a central core of Precambrian granites.
fir forests are commonly found between 9,000 and 11,500 feet        Granites are exposed where rivers have dissected the sedimen­
on north aspects and above 10,000 feet on all other aspects.        tary rock. Masses of igneous rock—basalt, andesite, and
They may extend as low as 8,000 feet in cold pockets (Hoff­         rhyolite—protrude through the sedimentary mantle in places
man and Alexander 1980, 1983; Langenheim 1962; Marr                 to interrupt the plateau feature of this area (Bowman 1911,
1961; Wirsing and Alexander 1975). On the higher plateaus           Eardley 1962, Fenneman 1931). The San Juan Mountains of
of western Colorado, the altitudinal range of spruce-fir forests    southwestern Colorado are distinct from other mountain ranges
is restricted by topography to between 9,000 and 10,500 feet.       in Colorado because they are predominantly volcanic lavas
In southwestern Colorado, and New Mexico and Arizona,               and tuffs over sedimentary rock (Cross and Larson 1935, Lar­
spruce-fir forests grow from 8,500 to 12,000 feet on north          son and Cross 1956). These mountains were carved by both
slopes and from 10,000 to 12,000 feet on other aspects (Bates       glacial and water erosion from the volcanic mantle whose
1924, Pearson 1931). Throughout the Rocky Mountains,                original surface had little relief (Fenneman 1931, Mather
spruce-fir forests at the upper elevational limits grade into        1957). Precambrian granites are locally abundant (Stevens and
alpine tundra through an ecotone of krummholz (Daubenmire           Ratte 1964). The Jemez Mountains of north-central New Mex­
1943, Marr 1961). Engelmann spruce is the dominant krumm­           ico are an extension of the San Juan Mountains. The Sangre
holz species (Wardle 1968).                                         de Cristo Range in southern Colorado and northern New Mex­
                                                                    ico resembles the Front Range. These mountains consist of
                   Geology and Relief                               a steep, north-south, anticlinal uplift of intrusive Precambrian
                                                                    granites flanked by sedimentary shales, sandstones, limestones,
   With the exceptions noted below, the Rocky Mountains are         and conglomerates to the east and west that occasionally over­
anticlinal structures with igneous and metamorphic cores            reach the crest (Eardley 1962, Fenneman 1931).
(Eardley 1962, Thornbury 1965).                                        The Capitan, Sacramento, and Black Mountain Ranges of
   The Absaroka Mountain Range in northwestern Wyoming              southern New Mexico; and the Chiricahua, Pinaleno, and
extends in a north-south direction about 80 miles with an           Santa Catalina Mountains of southern Arizona are block-
average width of 50 miles. It is not a linear uplift, but a broad   faulted, anticlinal uplifts with Precambrian granitic cores
plateau of volcanic breccia and basalt that has been deeply         flanked by eroded sedimentary strata. The volcanic area of
eroded, leaving isolated, rugged mountain peaks. Glacial ero­       central Arizona and New Mexico includes the Mogollon
sion has strongly etched the steep walls surrounding the moun­      Plateau, and White, Mogollon, and San Mateo Mountains. The
tain peaks (Eardley 1962, Fenneman 1931). The Bighorn               Mogollon Plateau is a basalt-capped uplift in which the strata
Mountains of north-central Wyoming are an isolated spur of          dip gently to the north and northeast. The White and Mogollon
the Rocky Mountains. They are characterized by a central core       Mountains are granitic cores covered with volcanic ash. The
of Precambrian granites and schists, partly covered on the          San Francisco Plateau south of the Colorado River in north­
north and south by arched formations of sedimentary con­            central Arizona is a broad-structured, uplifted dome dominated
glomerates that form elevated plateaus. Steeply inclined            by a lava flow dotted by several hundred volcanic cones, the
sedimentary strata flank the core on the east and west (Bowman      highest of which is San Francisco Peak. North of the Colorado


                                                                                        Rvsd Plan - 00005670                     ii
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 104 of 346


River in northern Arizona is the North Kaibab Plateau, a           material finer textured. Haploboralls (Brown Forest Soils) oc­
system of uplifted sedimentary strata, predominately lime­         cur mostly in the lower subalpine zone along stream terraces
stone, that is dissected into rounded valleys and gentle slopes    and side sieves, Lithics (Lithosolic Soils) occur whenever
and is part of the same uplifted domal structure that lies south   bedrock is near the surface. Aquepts (Bog Soils) and Hapla-
of the Colorado River (Eaidley 1962, Thornbury 1965, Wilson        quepts (Humic Gley Soils) occur extensively in poorly drained
1962).                                                             upper stream valleys (Johnson and Cline 1965, U.S. Depart­
                                                                   ment of Agriculture 1975).
                 Soils and Landforms                                 Regardless of the great soil groups that occur in the areas
                                                                   where spruce and fir grow, they make their best growth on
   There is only limited knowledge of the soils and landforms      moderately deep, well-drained, loamy sands and silts, and silt
of the spruce-fir zone. Soils are young, and both soils and        and clay loam soils developed from volcanic lava flows and
landforms complex. General descriptions and typical soil pro­      sedimentary rock. Good growth is also made on alluvial soils
file characteristics are given by Johnson and Cline (1965) and     developed from a wide range of parent materials, where an
Retzer (1956, 1962), but the basic information on soils and        accessible water table is more important than physical prop­
landforms needed to determine the capability and suitability       erties of the soil. They do not make good growth on shallow,
of forest land for different management activities is not          dry coarse-textured sands, and gravels developed primarily
available.                                                         from granitic and schistic rock, and coarse sandstones and con­
   In the central and southern Rocky Mountains subalpine zone,     glomerates, rocky glacial till, heavy clay surface soils, or
soil materials vary according to the character of the bedrock      saturated soils (Alexander and Shepperd 1984, Alexander and
from which they originated. Crystalline granite rock               others 1984).
predominates, but conglomerates, shales, sandstones, basalts,
and andesites commonly occur. Glacial deposits and stream                             Damaging Agents
alluvial fans are also common along valley bottoms. Of the
great soils group, Cryorthods (Podzolic Soils) and Haplorthods                                  Wind
(Brown Podzolic Soils) occur extensively on all aspects.
Cryochrepts (Sols Bruns Acides) occur extensively on the drier        Windfall is a common cause of mortality after any kind of
aspects. Aquods (Ground-Water Podzolic Soils) are found in         initial cuttings in mature and overmature spruce-fir forests
the more poorly drained areas. Cryoboralfs (Gray-Wooded            (fig. 11). Low stumpage values and the generally scattered
Soils) are found where timber stands are less dense and parent     pattern of windfall may prevent the salvage of blowdown. Not




Figure 11—Windthrown Engelmann spruce after partial cutting.


12
                                                                                    Rvsd Plan - 00005671
    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 105 of 346



only is the volume of windthrown trees lost, but such spruce          High risk exposures:
trees provide ideal breeding grounds for the spruce beetle. The       1. Ridgetops.
high endemic populations of beetles normally associated with          2. Saddles in ridges.
old-growth spruce-fir forests can multiply rapidly to epidemic        3, Moderate to steep middle south- and west-facing slopes
proportions in the windthrown trees and emerge to attack liv­            not protected to windward.
ing trees. Losses from windfall and subsequent insect attacks         4. All upper south- and west-facing slopes.
inflict unpredictable damage on the forest and upset manage­
ment plans.
   Windfall losses have been found to be heavy following any
kind of partial cutting in spruce-fir forests. The entire stand
is opened up and, therefore, vulnerable. Less damage is
associated with clearcutting because only the boundaries be­
tween cut and uncut areas are vulnerable. Losses can be
substantial along the boundaries of clearcuttings, however, par­
ticularly if no special effort is made to select windfirm boun­
daries (Alexander 1964, 1967b).
   While the tendency of spruce and fir to windthrow is usually
attributed to a shallow root system, the development of the
root system varies with soil and stand conditions. On medium       Figure 12—Wind risk in relation to topographic exposure.
to deep, well-drained soils, trees have a better root system
than on shallow, poorly drained soils. Trees that have
developed together in dense stands over long periods of time       s. or w.                                                   N. or e.
mutually protect each other, and do not have the roots, boles,
or crowns to withstand sudden exposure to wind if opened up
too drastically. If the roots and boles are defective, the risk
of windthrow is increased. The presence of old windfalls in
a stand is a good indicator of lack of windfirmness. Further­
more, regardless of the kind or intensity of cutting, or soil
and stand conditions, windthrow is greater on some exposures
than others (Alexander 1964, 1967b, 1973). Exposures where
windfall risk is below average, above average, or very high
have been identified as follows (fig. 12).
 Low risk exposures:                                               Figure 13—Very high wind risk: valley bottoms parallel to the direc­
                                                                   tion of the wind.
 1. Valley bottoms, except where parallel to the direction
    of prevailing winds, and flat areas.
 2. All lower, and gentle middle north- and east-facing
    slopes,
 3. All lower, and gentle middle south- and west-facing
    slopes that are protected from the wind by considerably
    higher ground not far to windward.
 Moderate risk exposures:
 1. Valley bottoms parallel to the direction of prevailing
    winds.
 2. Gentle middle south and west slopes not protected to
    windward.
 3. Moderate to steep middle, and all upper north- and east­
    facing slopes.
 4. Moderate to steep middle south- and west-facing slopes
    protected by considerably higher ground not far to             Figure 14—Very high wind risk: winds tunneled through a saddle in
    windward.                                                      a ridgetop.


                                                                                                                                     13
                                                                                       Rvsd Plan - 00005672
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 106 of 346



                                                                        The risk of windfall in these situations is increased at least
                                                                     one category by such factors as poor drainage, shallow soils,
                                                                     defective roots and boles, and overly dense stands. Conversely,
                                                                     the risk of windfall is reduced if the stand is open grown or
                                                                     composed of young, vigorous, sound trees. All situations
                                                                     become very high risk if exposed to special topographic situa­
                                                                     tions such as valley bottoms that are parallel to the wind, have
                                                                     steep side slopes, and become narrower in the direction of the
                                                                     wind (fig. 13) and gaps or saddles in ridges at higher eleva­
                                                                     tions that can funnel winds into the area (fig. 14).

                                                                                                 Insects

                                                                        Keen (1952) lists a large number of insect pests of
                                                                     Engelmann spruce. Of these, the spruce beetle is the most
                                                                     serious (Schmid and Frye 1977). It is restricted largely to
Figure 15—Beetle-kilSed spruce stand, While River National Forest.   mature and overmature spruce, and epidemics have occurred
                                                                     throughout recorded history (Hopkins 1909; Massey and
                                                                     Wygant 1954; Sudworth 1900a, 1900b). One of the most
                                                                     damaging outbreaks was in Colorado from 1939 to 1951, when
                                                                     spruce beetles killed nearly 4 billion fbm of standing spruce
                                                                     (fig. 15). Damaging attacks have been largely associated with
                                                                     extensive windthrow, where down trees have provided an am­
                                                                     ple food supply needed for a rapid buildup of beetle popula­
                                                                     tions (Massey and Wygant 1954, Wygant 1958). CuU material
                                                                     left after logging and road right-of-way clearing have also
                                                                     started outbreaks, and there are many instances of heavy spruce
                                                                     beetle populations developing in scattered trees windthrown
                                                                     after heavy partial cutting (Wygant and LeJeune 1967). The
                                                                     beetle progeny then emerge to attack livng trees, sometimes
                                                                     seriously damaging the residual stand. Occasionally, heavy
                                                                     spruce beetle outbreaks have developed in overmature stands
                                                                     with no recent history of cutting or windfall, but losses in un­
                                                                     cut stands that have not been subjected to catastrophic wind­
                                                                     storms have usually been no greater than normal mortality
                                                                     associated with old growth (Alexander 1973).
                                                                        Spruce beetles may emerge from May to July, and trees may
                                                                     be attacked from late May through early August. Beetles feed
                                                                     and breed in the phloem layer. The first evidence of attack
                                                                     is the red boring dust from entrance holes that usually ac­
                                                                     cumulates in bark crevices on the boles and around the bases
                                                                     of infested trees (fig. 16). Small frass-clogged entrance holes
                                                                     may be visible in the bark. Pitch tubes are usually prevalent
                                                                     on the upper bole where attacks terminate. The needles of
                                                                     killed trees usually turn yellowish green and fall about one
                                                                     year after attack, but they may remain green until the second
                                                                     year (Schmid and Beckwith 1971, Schmid and Frye 1977).
                                                                     Frass usually does not accumulate on the ground under wind-
                                                                     thrown trees or logging residues nor do such trees or residues
                                                                     show pitch tubes. Frass does accumulate in the bark on the
Figure 16—Engelmann spruce attacked by spruce beetles.               bottom surfaces, however.

14
                                                                                        Rvsd Plan - 00005673
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 107 of 346



   Spruce beetles prefer downed material to standing trees, but        second-growth, control of stand density and maintenance of
if downed material is not available, then standing trees may           vigor may be an effective silvicultural control.
be attacked. Overmature trees of large diameter are attacked              The western spruce budworm (Choristoneura occidentalis
first, but if an infestation persists, beetles will attack and kill    Freeman) is another potentially dangerous insect attacking
smaller diameter trees after the larger trees in the stand are         Engelmann spruce and subalpine fir (Furniss and Carolin 1977,
killed. In the central Rocky Mountains, susceptability of spruce       Whiteside and Carolin 1961). Although spruce and fir are
stands, in relation to location, decreases in the following order;     among the preferred hosts, budworm populations have been
(1) trees in creek bottoms, (2) better stands on benches and           held in check by combinations of several natural control
high ridges, (3) poorer stands on benches and high ridges, (4)         factors—parasites, predators, diseases, and adverse climatic
mixed stands, and (5) immature stands (Knight and others               conditions. The potential for future outbreaks is always pre­
 1956, Schmid and Beckwith 1971). Analysis of past infesta­            sent, however. An excellent summary of the ecology, past in­
tions suggests the following characteristics are associated with       secticidal treatments, and silvicultural practices associated with
potential outbreaks: (1) single- or two-storied stands, (2) high       western spruce budworm in northern Rocky Mountain forests
proportions of spruce in the overstory, (3) basal area of 150          is given by Carlson and others (1983).
square feet per acre or more in older and larger trees, and               Subalpine fir is attacked by several groups of insects (Keen
(4) an average 10-year periodic diameter growth of 0.4 inch            1952), the most important of which is the fir engraver (Scofytiis
or less (Schmid and Hinds 1974).                                       ventralis LeConte) (Stevens 1971). The western balsam bark
   Natural factors such as nematodes, insect parasites and             beetle (Dryocoetes conjusus Swaine) may at times be very
predators, and woodpeckers normally maintain beetle popula­            destructive locally (Furniss and Carolin 1977).
tions at low levels, but generally fail to control populations
under outbreak conditions. Extremely low temperatures can                                          Diseases
eliminate beetle infestations, however, if the insect has not
developed cold-hardiness. Temperatures of ” 15 “F under the               The most common diseases in spruce-fir stands are caused
bark will kill nearly all adults, while - 30      will kill the lar­   by wood-rotting fungi that result in loss of volume (Hinds
vae (Schmid and Beckwith 1971). A number of chemicals are              1977, Hinds and Hawksworth 1966, Hornibrook 1950) and
effective in killing spruce beetles, but chemical control is ex­       predispose trees to windthrow and windbreak (Alexander
pensive and is used only as a holding action until potentially         1964, 1967b). Studies of cull indicators and associated decay
susceptible trees can be removed (Schmid and Frye 1977).               in Colorado indicate that stand defect due to wood-rotting fungi
In infested stands, or those with potential beetle problems, fell­     in mature to overmature Engelmann spruce ranges from 7 to
ing and salvaging attacked or susceptible trees, and disposing         26 percent of the gross volume (Hinds 1977). Trunk rots,
of green cull material is the most effective silvicultural con­        which cause from 75 to 90 percent of the decay, are associated
trol in old-growth stands. The buildup of spruce beetle popula­        with Phellinus pini (Thore ex Fr.) Karst {=Fomes pini (Fr.)
tions in logging residue can be minimized by cutting to low            Karst), Haematosterceum sanguinolenta (Aib. ex Schw. ex
stump heights, limbing cull logs and tops, then cutting them           Fr.) Pouz. (—Stereum sanguinolentum (Alb. and Schw. ex Fr.)
into short lengths and scattering them where they will be ex­          Fr.), Echinodontium sulcatum (Bart.) Gross (^Stereum
posed to the sun (Schmid 1977). Partial cutting that removes           sulcatutn Bart,), and Amylosterceum chailletii (Pers, ex Fr.)
the larger overmature trees and releases the younger trees is          Boid (=Stereum chailletu (Pers, ex Fr.) Fr.) (fig. 17). Major
another way to reduce potential insect problems in stands with         root and butt fungi and Phellinus nigrolimitalus (Rohm.)
a good stocking of trees in the smaller diameter classes. ‘ ‘Trap      Bourd. et Galz. (—Fomes nigrolimitatus (Rom.) Engel.),
trees” intentionally felled prior to beetle flight are highly at­      Flammula alnicola (Fr.) Kummer (—Pholiota alnicola (Fr.)
tractive, and often provide an effective way of concentrating          Sanger), Polyporus tomentosus var. circinatus (Fr.) Sartory
and trapping spruce beetles (Nagel and others 1957). In static         et Maire, Gloeocystidiellum radiosum (Fr.) Boid (=Corticium
infestations, a ratio of 1 trap tree for every 10 standing in­         radiosum (Fr.) Fr.), and Coniophoraputeana (Schum ex. Fr.)
fested trees is recommended. This ratio should be 1:2 for in­          (Hinds 1977, Hinds and Hawksworth 1966). Most basal decay
creasing infestations (Schmid and Frye 1977). After the beetles        is associated with old basal wounds and frost cracks. Hinds
enter, the downed logs are usually salvaged, but they may be           and Hawksworth (1966) have proposed a means of estimating
chemically treated or burned (Schmid and Beckwith 1971).               defect in standing spruce based on the average amount of cull.
Lethal traps, in which cacodylic acid is used to prevent brood         Most cull was associated with specific visible indicators that
development in trap trees, appear to be a potentially usefiil          were grouped into three classes. Cull deductions for those in­
refinement to the regular trap-tree approach (Buffam and others        dicators as a percentage of gross tree volumes are as follows
 1973). As old-growth is converted to managed stands of                (Hinds 1977):


                                                                                                                                      15
                                                                                           Rvsd Plan - 00005674
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 108 of 346



                                                                 Indicators                            Age class (years)
                                                                                                        <2S0     >250
                                         Phellinus pini punk knots or sporophores...................      68      86
                                         Broken top or dead top with adjacent dead rust brooms            21      25
                                         Basal wounds, dead rust brooms, or dead leader in
                                           living crown, frost cracks, forks (all types), trees
                                          joined at base to one another, spike top. or trunk
                                           wounds                                                        8      11


                                             Decay in relation to age, diameter, and site quality have been
                                         determined for subalpine fir in Colorado (Hinds 1977, Hinds
                                         and others 1960). Stand defect in subalpine fir ranges from
                                         less than 7 percent of the volume in trees less than 10 inches
                                         d.b.h. to more than 40 percent in trees over 20 inches d.b.h.
                                         Trunk rots, which account for about 60 to 70 percent of the
                                         total defect, include Haematosterceum sanguinolenta,
                                         Phellinus pini, and Amylosterceum chailletii, These decay
                                         organisms enter the tree mainly through wounds or broken
                                         branches. Major root and butt fungi are Gloecystidiellum
                                         radiosum, Coniophoraputeana, Armillaria mellea (Vahl. ex
                                         Fr.) Quel., Coniophorelia olivacea (Fr.) Karst ( — Coniophora
                                         olivacea (Fr.) Karst.), Polyporus tomentosus var. circinatus,
                                         and Philiota squarrosa (Fr.) Kummer).
                                             As old-growth is converted to managed stands, heart rots
                                         can be expected to decrease. Early removal of spruce, with
                                         known indicators of rot, and of fir in the older age classes,
                                         will aid in establishing healthy, vigorous forests with a greater
                                         growth potential. Rot losses in future stands can be minimized
                                         by shorter cutting rotations—140 to 160 years for spruce, and
                                          100 to 120 years for fir. Careful marking of individual trees
                                         to be cut and close supervision of logging operations to reduce
                                          mechanical injuries will minimize points of entry for decay
                                          fungi. Proper slash disposal will lower the inoculum poten­
                                          tial of heart rot fungi in residual stands. These sanitation
                                         methods are important because direct control of heart rots is
                                          not yet possible (Hinds 1977).
                                             Spruce broom rust (Chrysomyxa arctostaphyli Diet.) and fir
                                         broom rust (Melampsorella caryophyllacearum Schroet.) are
                                         also common in spruce-fir forests. They cause bole deforma­
                                         tion, loss of volume, spiketops, and windbreak, and provide
                                         infection courts for decay fungi (Peterson 1963). Conversion
                                         of old-growth to younger vigorous stands and sanitation cut­
                                         ting are about the only practical means of reducing rust infec­
                                         tions. Dwarf mistletoe (Arceuthobium microcarpum (Engelm.)
                                         Hawksworth and Weins) attacks spruce over a limited range
                                         in the southwest (Hawksworth and Weins 1972) (fig. 18). It
                                         causes top-dieback and defects, provides courts of entry for
                                         other diseases and insects, reduces seed production, reduces
                                         growth and vigor, and may cause severe mortality. The largest
                                         spruce trees in residual overstories are the most heavily in­
                                         fected, and they are the source of infection for younger trees.



                                                                 Rvsd Plan - 00005675
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 109 of 346


Infection is always greater in understory trees with an             fir susceptible to destruction or severe injury by fire. More­
overstory of older infected trees than in stands without an         over, fire damage to the roots and boles predisposes spruce
overstory. While dwarf mistletoe is heaviest in older and larger    and fir to windthrow and windbreak. However, because of
trees, all classes are susceptible, even seedlings.                 the climate where spruce and fir grow, the risk of fire is less
    Both subalpine and corkbark firs are occasionally parasitized   than in warmer climates, and relatively few acres have burned
 by dwarf mistletoes whose primary hosts are white fir or           in the last 300 to 400 years (Alexander and Shepperd 1984).
 Douglas-fir, but these attacks are not damaging in most in­
 stances (Mathiasen and Hawksworth 1983). Separation of the                                   Anbnals
 old and new stands by clearcutting and felling unmerchant­
 able residual trees appears to be the best way to control dwarf       Animals rarely damage established spruce and fir trees.
 mistletoe. In areas of high tree values, such as recreational,     Animal damage to seed and seedlings is addressed later. Mule
 administrative, and home sites, infected branches can be           deer (Odocoileus hemionus Rafinesque) and elk (Cervus
 pruned from lightly infected trees, but heavily infected trees     elaphus L.), when congregated in winter herds, may browse
 must be cut. Partial cutting and thinning generally create ideal   fire and spruce to some extent. Although fir is more palatable
 conditions for maximum damage, and should be avoided where         than spruce, both species are likely to be taken only as a last
 possible unless the infection is light.                            resort. Moreover, the spruce-fir type occurs in areas of heavy
                                                                    snowpack not suitable for deer and elk winter range. In the
                              Fire                                  northern Rocky Mountains, subalpine fir provides important
                                                                    moose (Alces alces L.) habitat in the winter. Bears (Ursus sp.)
  Historically, wildfires have burned over large areas where        and porcupines (Erethizon dorsatum Brandt) inhabit spruce­
spruce-fir forests grow today. Thin bark, the persistence of        fir forests but seldom damage trees.
dead lower limbs, and shallow root systems make spruce and




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                                                                                      Rvsd Plan - 00005676
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 110 of 346
Natural Regeneration Requirements


   Although forest managers have traditionally relied upon                                   Seed Supply
natural regeneration to restock cutover spruce-fir forest lands
in the central and southern Rocky Mountains, inadequate stock­                           Flowering and Fruiting
ing on many cutover areas, especially after clearcutting, at­
tests to the uncertainty of natural regeneration. Where natural           Engelmann spruce is monoecious; male and female strobili
regeneration has failed and/or local experience indicates a low       are formed in the axils of needles of the previous year’s shoots
probability of natural regeneration success, planting with            after dormancy is broken, usually in late April to early May.
spruce is often attempted as a method of reforestation. Sur­          Ovulate strobili (new conelets) are usually borne near ends
vival of early plantings was usually low, but in recent years         of the shoots in the upper crown, and staminate strobili on
it has been higher because of better selection of planting sites,     branchlets in the lower crown (Fowler and Roche 1977, U.S.
improved planting stock, better site preparation, and protec­         Department of Agriculture 1974b). Separation of male and
tion of planting stock from livestock and environmental losses.       female strobili within the crown is an important mechanism
Direct seeding of spruce has been tried on both an experimental       to reduce self-fertilization. The dark purple male flowers are
and an operational basis, but with little success (Alexander          ovoid to cylindrical in shape and pendant (fig. 20). Female
 1974, Ronco 1967).                                                   flowers are scarlet, erect, and cylindrical in shape. Male
   In general, the basic requirements for successful natural          flowers ripen, and pollen is wind disseminated in late May
regeneration include (1) an adequate supply of viable seed,           and early June at lower elevations, and from mid-June to early
(2) a suitable seedbed, and (3) an environment compatible with        July at higher elevations. The conelets grow rapidly and soon
germination and initial survival (Roe and others 1970). There         reach the size of the old cones that may have persisted from
are a number of factors influencing the basic requirements that       previous years. The new cones mature in one season and are
either benefit or limit regeneration (fig. 19).                        1 to 2% inches long. They ripen in August to early September,
                                                                      open, and shed their seed (fig. 21). The cones may fall
                                                                      throughout the following winter or may remain attached to
           NATURAL REPRODUCTION TRIANGLE
                                                                      the tree for some time (Alexander and Shepperd 1984, Schmidt
                                                                      and Lotan 1980, U.S. Department of Agriculture 1974b).
                                                                          Subalpine fir is also monoecious. Male flowers, usually
                                                                      abundant, are borne in pendulous clusters from the axils of
                                                                      needles along the undersides of 1-year-old twigs, usually on
                                                                      the lower branchlets (fig. 22). Female flowers are fewer and
                                                                      are borne erect on the uppermost branchlets of the crown,
                                                                      where they occur singly or in small groups. The dark indigo­
                                                                      blue male flowers ripen and pollen is wind disseminated dur­
                                                                      ing June and early July. Male strobili enlarge following bud
                                                                      burst, but take on an elongated tassel form only during or after
                                                                      pollen shedding. The violet-purple female strobili quickly
                                                                      elongate upwards following bud burst, and in the early
                                                                      development of the new conelets, bracts are conspicuous. The
                                                                      new cones mature in 1 year and are usually 21/2 to 4 inches
                                                                      long (fig. 23). They ripen in mid-August to mid-October.
                                                                      Cones disintegrate when ripe. The scales fall away with the
                                                                      large winged seed, leaving only a central spikelike axis (Alex­
                                                                      ander and others 1984b, Liu 1971, Schmidt and Lotan 1980,
                                                                      U.S. Department of Agriculture 1974b).

                                                                                            Cone-Bearing Age

                            PHYSIOGRAPHIC SITE                           Although cones are produced on open-grown spruces and
                              Aspect
                              Eievolion
                                                                      firs when they are 4 to 5 feet tall and 15 to 40 years old, seed
                              Slope                                   production does not become significant until trees are larger
Figure 19—Factors affecting the success of spruce natural reproduc­   and older (fig. 24). In the Fraser Experimental Forest, the most
tion (Roe and others 1970).                                           abundant crops in natural stands are produced on healthy.

18                                                                                        Rvsd Plan - 00005677
    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 111 of 346




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Figure 20—Male flowers of Engelmann spruce.                  Figure 23—Mature cones and seeds of subalpine fir.




Figure 21—Mature and immature cones and seeds of Engelmann
spruce.




                                                             Figure 24—Engelmann spruce 5 feet taN, producing cones.


                                                             vigorous, dominant and codominant trees. Dominant and
                                                             codominant spruces are generally 15 inches in diameter or
                                                             larger and 150 to 300 years old, while firs are 12 inches in
                                                             diameter or larger and 150 to 200 years old. Trees in the in­
                                                             termediate and overtopped crown classes are generally poor
                                                             cone bearers (Alexander and Shepperd 1984, Alexander and
Figure 22—Male flowers of subalpine fir.
                                                             others 1984, U.S. Department of Agriculture 1974b).

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       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 112 of 346


                       Time of Seedfall                              Detailed 10-year records of spruce seed production from
                                                                   1970 to 1979 on the Fraser Experimental Forest have been
  Seeds of Engelmann spruce usually mature from late August        used to develop mathematical relationships useful in estimating
to mid~September. Seeds are usually shed by late October but       potential seed production (Alexander and others 1982). Regres­
some continue to fail throughout the winter. However, only         sion analyses of seed production and stand inventory variables
minor amounts of seedfall occur before mid -September, In the      resulted in the following equations:
Fraser Experimental Forest, where spruce seedfall in old-
growth stands has been studied for long periods, about 50 per­
cent or more of the sound seedfall usually occurs between the           ln(y -I- 1) = 9.75 - 0.032X1 4- 1.03 InfXj + 1) (1)
last week in September and mid-October (table 5). However,
occasionally the most significant seedfall occurs after mid­           R- = 0.77, Sy.^ = 67,500 (approximated from the
October (Alexander and others 1982). In a good seed year in                                            untransformed residuals)
the Intermountain Region, from 66 to 75 percent of the total
sound seed was released by October 20 on two areas, but only       where
about 33 percent of the total sound seed was released by that
date on a third area (Roe 1967).                                       y     = average annual sound spruce seed production per
  Subalpine fir seeds ripen and seedfall begins in mid­                        acre
September and is usually completed by the end of October               Xi    = average percent of live crown of dominant and
(Alexander and others 1984b, U.S. Department of Agriculture                    codominant spruce
1974b).                                                                X2    = basal area of dominant and codominant spruce per
                                                                               acre.
            Seed and Cone Crop Predictability
                                                                       ln(K + 1) = 12.39 + 0.018X, - 97.33/1X3 -t 1) (2)
  The ability to estimate the size of seed and cone crops well
in advance is important to forest managers because it provides              = 0.77, Sy,^ = 62,600 (approximated from the
the basis for scheduling harvesting operations, seedbed                                              untransformed residuals)
preparation for natural reproduction, seed collection, and other
management activities (Dobbs 1972). Several ways of assess­        where
ing future cone crops in advance, such as determining the
number of staminate and ovulate buds at the end of the grow­           y     = average annual sound spruce seed production per
ing season, have been suggested for a number of species, but                   acre
no reliable method for estimating cone crops has been                  Xi    = average height of dominant and codominant
developed for spruce or fir.                                                   spruces
                                                                       X2    - average number of stems of dominant and
                                                                               codominant spruces per acre.
Table 5—Percent offilled Engelmann spruce seeds re­
leased in years of significant seed production, by collec­
tion dates, Fraser Experimental Forest                                Both equations account for 77 percent of the total variation
                                                                   in the annual average seed production for the 10-year period.
                                 Collection date
                                                                   The addition of other variables did not significantly improve
Year        Mid-September        Early October        Late June
                                                                   the precision of either estimate. Average annual seed produc­
                                                                   tion was used as the dependent variable because there was no
                                    Percent                        way to account for annual variation. Furthermore, the indepen­
1971              51                                      49       dent variables did not change significantly from year to year.
1972              29                   27                 44
1974              12                   31                 57                        Production and Periodicity
1975              11                   23                 66
1977               6                   64                 30
                                                                     Engelmann spruce is rated as a moderate to good seed pro­
1978              48                   19                 33
1980              10                   50                 40       ducer (Alexander and Shepperd 1984, Alexander and others
                                                                   1982, U.S. Department of Agriculture 1974b). Good to
Mean              24                   30                 46
                                                                   bumper seed crops, based on the following criteria, are

20
                                                                                     Rvsd Plan - 00005679
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 113 of 346



generally borne every 2 to 5 years, with some seed produced       in 1 year out of 5, with the other 4 years rated as failures (Roe
almost every year (Alexander and Noble 1976).                      1967, Squillace 1954).
                                                                     Seed production of subalpine and corkbark fir in the cen­
                                                                  tral and southern Rocky Mountains has generally been con­
         Number of sound seeds'acre    Seed crop rating           sidered to be poor, with more failures than good seed years.
                            0-10,000 Failure                      In one study in Colorado, covering 42 area-seed crop years,
                    10,000-50,000      Poor                       subalpine fir was an infrequent seed producer. Some seed was
                  50,000-100,000         Fair
                 100,000-250,000         Good
                                                                  produced in only 8 of the years, while the other 34 were com­
              250,000-500,000                Heavy                plete failures (Noble and Ronco 1978). Similar results have
                     >500,000                Bumper               been obtained from other seed production studies in Colorado.
                                                                  However, because these studies were designed to sample seed
                                                                  production in spruce-fir stands and because Engelmann spruce
   There is considerable variation in seed production from year   made up 90 percent or more of the dominant stand basal area,
to year and area to area. This variation in seed crops means      these results are only indicative of subalpine fir seed produc­
that natural reproduction cannot be expected every year.          tion in spruce-fir stands, not of individual dominant fir trees.
Therefore, regeneration may require either the use of cutting     Elsewhere in the Rocky Mountains and Pacific Northwest,
methods that provide a seed source on site or artificial          subalpine fir has been rated a good seed producer, with good
regeneration (Alexander 1974, 1977; Ronco 1972).                  to heavy crops borne every 3 years and light crops or failures
   In Colorado, average annual seed production on the White       in between (Franklin and others 1974, LeBarron and Jemison
River Plateau for an 18-year period (1914-31) was 83,(KK)          1953, U.S. Department of Agriculture 1974b).
sound seeds per acre; on the Uncompahgre Plateau, annual
seed production for a comparable 15-year period (1914-28)                                 Seed Soundness
averaged 350,000 sound seeds per acre (U.S. Department of
Agriculture 1933). Good seed crops were produced on the             Variability in seed soundness accentuates differences in total
White River only at 5- to 7-year intervals, with complete         seed production, with the proportion of sound seed usually
failures about every 2 years. On the Uncompahgre, good crops      higher in years of greater seed production. For example, based
were produced every 2 to 4 years, with complete failures at       on 14-year seed production records (1970-83), the range of
about 3-year intervals. On the Fraser Experimental Forest in      sound spruce seed produced from 250- to SOO-year-old
Colorado, annual seed production averaged only 32,100 sound
seeds per acre during the period 1956-65 (Alexander 1969).
Only one good and two moderate crops were recorded. In more       Table 6—Estimated number of sound Engelmann spruce
recent studies, spruce seed production has been greater,          seeds released, percent of sound seeds, and seed crop
possibly because the studies were better designed to sample       rating in each of 14 years, Fraser Experimental Forest
seed production. One of these studies that observed seed pro­
duction on five National Forests, covering 42 area-seed crop
                                                                               Number of
years from 1962 to 1971, rated seed crops as 5 bumper, 1                      sound seeds
heavy, 6 good, and the remaining 30 fair to failure (Noble                      per acre            Percent of         Seed crop
and Ronco 1978). In the one year, 1967, that a bumper seed        Year        (thousands)          sound seeds           rating
crop was produced on all areas, seed production was the
                                                                  1970              342                 42               Heavy
highest ever recorded in Colorado (Ronco and Noble 1971).
                                                                  1971              208                 27               Good
In another study on the Fraser Experimental Forest covering       1972              281                 26               Heavy
 14 years (1970-81) and 13 locations, seed production was rated   1973               19                 12               Poor
2 bumper, 3 heavy, 2 good, and 7 fair to failure (table 6),       1974              271                 38               Heavy
   In the northern Rocky Mountains, Boe (1954) analyzed cone      1975              193                 53               Good
crops in Montana between the years 1908 and 1953. He              1976               15                 22               Poor
                                                                  1977            1,114                 63               Bumper
reported that of 22 crops observed west of the Continental        1978               96                 37               Fair
Divide during the 45-year period 5 were rated as good, 8 fair,    1979               13                 19               Poor
and 9 poor. East of the Divide, seed production was poorer;       1980              683                 68               Bumper
only 2 good, 4 fair, and 15 poor crops were reported for a        1981               34                 30               Poor
21-year period. In other studies in the Northern and Intermoun­   1982                8                 19               Failure
                                                                  1983               81                 36               Fair
tain Regions, seed production was rated as good to bumper


                                                                                                                                21
                                                                                       Rvsd Plan - 00005680
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 114 of 346


spruce-fir stands at 13 locations on the Fraser Experimental               no definite relationship between filled seed and total seedfall
Forest was 12 to 68 percent (table 6). The amount of filled                could be established.
seed for each year of a 10-year period (1970-79), at each loca­
tion was significantly related to total seedfall, as shown in the
following equation (Alexander and others 1982):                                          Seed Collection and Extraction

                                                                              Spruce and fir cones are usually gathered from squirrel
                             y - 0.413X                              (3)   caches or from felled trees. Cones on standing trees are dif­
                                                                           ficult to collect because the cones are small and borne in the
     = 0,99,        = 25,600 (coefficient of determination not             upper crown. Collections should be made in years of good
               centered about the mean-zero-intercept model)               seed crops to obtain the highest quality and yield of seed.
                                                                           Spruce and fir cones should be harvested promptly on ripen­
where                                                                      ing to avoid loss of seed. Seeds are generally mature before
                                                                           cones turn to their characteristic ripe color (light chestnut
     K       = number of filled seeds per acre                             brown for spruce and purple gray to nearly black for fir).
     X       ” number of total seeds per acre.                             Spruce seed should be extracted promptly to avoid loss of
                                                                           viability. Cones can be air-dried for a few weeks or in a sim­
                                                                           ple convection kiln for 6 to 24 hours at 100 to 120 "F, followed
   The equation, which accounts for 99 percent of total varia­             by shaking on a screen or tumbling to extract the seeds (U.S.
tion in sound seed production, shows that the number of filled             Department of Agriculture i974b). Fir seeds should not be
seed produced increases linearly with total seedfall (fig. 25).            extracted from cones immediately after collecting, to allow
The large standard error of estimate also indicates considerable           for afterripening. This is especially true of early-collected
variability in the relationship between filled and total seed pro­         cones. Cones should be stored for a period of time in drying
duction between years and locations. Another significant find­             sheds with good air circulation around the cones. Fir cones
ing is that, despite good or better seed production in 7 of the            can be processed by kiln-drying at 85 to 100 °F or air-dried
14 years, an average of only 46 percent (range 26 to 68 per­               for 1 to 3 weeks or more at 75 to 80 °F (U.S. Department
cent) of the total seedfall collected was filled in those years            of Agriculture 1974b).
(table 6).
   In another study in Colorado that covered 42 area-seed crop
years, filled spruce seed averaged 50 percent with a range of                                     Storage of Seed
35 to 63 percent. Filled fir seed averaged 37 percent with a
range of 17 to 54 percent (Noble and Ronco 1978). However,                    Spruce seed can be stored for 5 to 15 years. It has been
                                                                           stored in sealed containers at room temperature for short
                                                                           periods of time without loss of viability, but for long periods,
                                                                           storage in sealed containers at 33 to 38 °F with seed moisture
                                                                           content at 4 to 8 percent is recommended (U.S. Department
                                                                           of Agriculture 1974b). Fir seed should be stored in sealed con­
                                                                           tainers at or near 0 °F with low (9 to 12 percent) moisture
                                                                           content. Seed stored in this manner will retain most of its
                                                                           viability for 5 years. If stored at room temperature in open
                                                                           containers, seed loses most of its viability in a year (U.S.
                                                                           Department of Agriculture 1974b).

                                                                                    Seed Viability and Germinative Capacity

                                                                             The viability of spruce seed is rated good (average ger­
                                                                           minative capacity is about 69 percent the first year) and per­
                      Total seeds (in thousands)
                                                                           sistent (30 to 50 percent after 5 years) if properly stored (U.S.
Figure 25—Periodic average annua! sound seedfall of Engelmann              Department of Agriculture 1974b). The average germinative
spruce in relation to periodic average annual total seedfall, Fraser Ex­   capacity of spruce is higher than that of most associated species
perimental Forest (Alexander and others 1982).                             in the Rocky Mountains as shown in the following tabulation:

22
                                                                                              Rvsd Plan - 00005681
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 115 of 346



                                   Average germinative               successfully retained in partial cutting for different stand con­
                                        capacity                     ditions and windfall risk situations (Alexander 1973).
                 Species                (percent)
           Engelmann spruce                  69
           Subalpine fir                  31-34                                            Seed Dispersal
           Lodgepole pine                 65-80
           Western white pine                44                         Most spruce seed is dispersed from early September through
           Interior Douglas-fir           60-93
                                                                     the end of October, but some seed may fall throughout the
           Western larch                     57
           Grand fir                      46-57                      winter (Alexander and others 1982). The small, winged seeds
           Western hemlock                53-56                      are light, averaging about 135,000 per pound (U.S. Depart­
           White fir                      30-37                      ment of Agriculture 1974b). Practically all of tiie seed is
           Ponderosa pine                 64-86                      disseminated by wind and gravity. Mammals and birds are
                                                                     not important in seed dispersal.
   Spruce does not normally require pretreatment, such as               The distance that viable seeds are dispersed is an important
stratification, to break dormancy, and the percent viability of      factor limiting successful natural regeneration of Engelmann
spruce seeds obtained from germination tests is frequently used      spruce in ciearcut openings. Proper decisions concerning size
to estimate the number of seed needed for nursery or field sow­      of opening that will adequately restock naturally, kind and
ing, Under natural conditions, seed overwinters under the            amount of seedbed preparation, and whether to plant or rely
snow, and either germinates in the spring following snowmelt         on natural reproduction require an accurate estimate of effec­
or later in the growing season after the summer rains. Occa­         tive seed dispersal.
sionally some germination is delayed until the second year (No­         The pattern of spruce seed dispersal observed in the Rocky
ble and Alexander 1977, Ronco 1967).                                 Mountains in clearcut openings 200 to 800 feet across is
   Subalpine fir seed viability is rated only fair (average ger­     strongly influenced by the direction of prevailing winds, and
minative capacity is 31 to 34 percent) and the vitality tran­        the amount of seed produced in the uncut windward stand.
sient except under ideal storage conditions (U.S. Department         Sound seedfall generally decreases rapidly from within the un­
of Agriculture 1974b). However, observations and limited             cut stand to the stand edge, and beyond into the clearcut open­
studies in the Rocky Mountains indicate that germinative             ing. About 50 percent of the amount of seed falling under un­
capacity is often less than 30 percent (Shearer and Tackle           cut stands has been dispersed as far as 100 feet into the open­
1960). Some lots of stored seeds exhibit embryo dormancy,            ing from the windward stand edge, and about 10 percent
which can be broken by stratification in moist sand or peat          dispersed as far as 300 feet. The initial rapid decrease in seed­
at 41 T for 60 days (U.S. Department of Agriculture 1974b).          fall is followed by a gradual leveling off, with less than 5 per­
Under natural conditions, fir seeds lie dormant under the snow       cent of the seed falling under uncut stands dispersed as far
and germinate the following growing season.                          as 600 feet from the windward source (Alexander 1969, Noble
                                                                     and Ronco 1978, Roe 1967, Roe and others 1970). This
                            Seed Source                              “tailing-off” suggests that significant quantities of seed were
                                                                     released during periods of high winds (Dobbs 1976). In the
   There are several ways of providing a seed source for both        openings observed, a U-shaped pattern of seedfall was poorly
spruce and fir. In cleared openings, the principal seed source       defined. Minimum seedfall usually occurred about two-thirds
is the trees left standing around the perimeter of the opening.      of the way across the openings from the windward stand edge.
Minor amounts of seed are available if smaller unmerchant­           Seedfall then increased, but at the leeward stand edge it was
able trees are left on the area, and some seed is also produced      only about 30 percent of the seedfall along the windward stand
by the trees cut on the area. On partially cut areas, the residual   edge.
trees are the principal seed source, but some seed is produced          Seed dispersal data from the central Rocky Mountains have
by trees cut on the area. Seeds are usually more uniformly           been fitted to the following model using a nonlinear least
dispersed on partially cut areas than on areas harvested by          squares regression program (Alexander and Edminster 1983).
clearcutting or simulated shelterwood. One significant con­
sideration in the kind of seed source to leave is resistance to                   SD = SO exp (-0.00735D - 0.243)                  (4)
windthrow. Recommendations developed for locating wind­
firm boundaries on units harvested by clearcutting or simulated            R- = 0.99, Sy,^ ~ 37,500 sound seeds per acre
shelterwood (Alexander 1964, 1967b) have been modified to
identify the kinds of trees and residual volumes that can be         where


                                                                                                                                   23
                                                                                        Rvsd Plan - 00005682
                                                           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 116 of 346


                                                                                                                    SD = number of sound seeds per acre falling at distance
                                                                                                                         D into the openings (the windward stand edge is
                                                                                                                            denoted by 7)      0'!
                                                                                                                    SO = number of sound seeds per acre falling under the
                                                                                                                         uncut stand 33 feet from the windward stand edge
                                                                                                                         (denoted by £> = -33)
Viable seeds in uncut stands (thousands per acre)




                                                                                                                     D = distance in feet into the opening from windward
                                                                                                                         stand edge.

                                                                                                                  Although the equation accounts for 99 percent of the
                                                                                                                variability centered about the mean, the high standard error
                                                                                                                of estimate indicates that a large amount of variability is not
                                                                                                                accounted for by the equation.
                                                                                                                  Equation 4 is useful in estimating potential Engelmann
                                                                                                                spruce seedfall into openings in the central Rocky Mountains.
                                                                                                                Figure 26 and table 7 were developed from equation 4 to
                                                                                                                estimate seedfall into openings for a distance of 600 feet from
                                                                                                                the windward stand edge. Seed production under uncut stands
                                                                                                                was set at a range of 50,000 to 1,(XX),000 sound seeds per acre.
                                                                                                                  Estimates of seedfall into openings generally follows the pat­
                                                                                                                tern previously described for the Rocky Mountains (Alexander
                                                                                                                1969, Noble and Ronco 1978, Roe 1967, Roe and others
                                                                                                                1970). The amount of seedfall dispersed to the windward stand
                                                                                                                edge is about 80 percent of the seedfall under the uncut stand.
                                                                                                                About 40 percent of the amount of seedfall under the uncut
                                                                                                                windward stand is dispersed as far as 100 feet, and about 10
                                                                                                                percent as far as 300 feet. The rapid decline in seedfall then
                                                                                                                levels off, with about 1 percent of the amount of seed falling
                         Figure 26—Estimated seed dispersal in relation to seed production
                         in uncut stands and distances from source (Alexander and Edminster                     under uncut stands dispersed as far as 600 feet from the wind­
                         1983).                                                                                 ward stand edge (Alexander and Edminster 1983). This is in


                   Table 7—Estimated sound seed dispersal per acre in relation to seed production in uncut stands and distance from source
                   (adapted from Alexander and Edminster 1983E

                         Seedfall                                                              Distance from windward timber source (feet)
                          uncut
                         stands                                    0       50      100   150    200      250       300      350       400       450      500       550      600

                                                                                                            Seeds (thousands)
                                                      50          39       27       19    13      9         6       4         3         2         1        1       0,7       0.5
                                                     100          78       54       38    26     18        12       9         6         4         3        2         1         1
                                                     200         157      109       75    52     36        25      17        12         8         6        4         3         2
                                                     300         235      163      113    78     54        37      26        18        12         9        6         4         3
                                                     400         314      217      150   104     72        50      35        24        17        11        8         6         4
                                                     500         392      272      188   130     90        62      43        30        21        14       10         7         5
                                                     600         471      326      226   156    108        75      52        36        25        17       12         8         6
                                                     700         549      380      263   182    126        87      61        42        29        20       14        10         7
                                                     800         627      434      301   208    144       100      69        48        33        23       16        11         8
                                                     900         706      489      338   234    162       112      78        54        37        26       18        12         9
                                                    1000         784      543      376   260    180       125      86        60        41        29       20        14        10

                            ^SD                            SO exp (-0.00735D - 0.243).


                      24
                                                                                                                                   Rvsd Plan - 00005683
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 117 of 346


general agreement with the 0.5 to 5 percent estimates of seed­     montane voles (Microtus montanus Peale), and least chipmunks
fall at 600 feet from source observed by Roe (1967).               (Eutamias minimus Bachman) (Alexander 1974). All spruce­
   Knowing the number of seeds that can be dispersed different     fir forests support populations of these small mammals, and
distances in relation to the amount of seed produced in uncut      any disturbance that initiates understory plant succession favors
stands is not enough to predict restocking success. The            a buildup of populations, particularly if slash and other down
presence of large quantities of seed will not ensure restocking    material is present to provide cover. Undoubtedly these mam­
of harsh or incompatible environments (Roe and others 1970).       mals eat considerable seed, but the magnitude of losses is not
For example, seedfall that averaged 1.8 million sound seeds        known for the central and southern Rocky Mountains, and
per acre over the entire opening on one area in Colorado did       results from studies elsewhere are conflicting (Schopmeyer
not result in adequate restocking because of unfavorable           and Helmers 1947, Smith 1955).
seedbeds and adverse environmental conditions—intense solar
radiation and high temperatures, low temperatures and frost                   Factors Affecting Germination
heaving, and drying winds (Ronco and Noble 1971). The ef­
fective seeding distance, defined by Roe and others (1970) as         Viable seeds of spruce and fir that survive over winter nor­
the distance over which sufficient sound seed is dispersed to      mally germinate following snowmelt in June or early July when
stock an area to an acceptable level under prevailing condi­       seedbeds are moist and air temperatures are at least 45 ®F.
tions, is more meaningful than mere seed dispersal distance.       Germination under favorable seedbed and environmental con­
   Subalpine fir seed is larger than spruce, averaging about       ditions is usually completed in 3 to 4 weeks. Under other cir­
38,400 to the pound (U.S. Department of Agriculture 1974b).        cumstances, it occurs over a period of 8 to 10 weeks;
Corkbark fir seeds are larger, averaging about 22,300 to the       moreover, germination under these conditions may be delayed
pound. In the Rocky Mountains, dissemination begins in             until after the summer rains. Field germination of spruce seeds
September and is usually completed by the end of October.          over long periods of time on the Fraser Experimental Forest
Practically all seed is wind disseminated, but thermal upslope     in Colorado have ranged from 0 to 28 percent of the sound
drafts are of some importance in seed dispersal in mountainous     seeds dispersed, depending upon the seedbed and environmen­
terrain at mid to lower elevations (Shearer 1980). There are       tal factors (Alexander 1984, Noble and Alexander 1977).
few data available on seed dispersal distances. Studies designed      Although Engelmann spruce seeds will germinate well on
to measure Engelmann spruce seed dispersal, show similar           a wide variety of seedbed types, the effectiveness of the seed­
dispersal patterns for subalpine fir (Noble and Ronco 1978).       bed is influenced by edaphic and environmental factors that
                                                                   operate primarily through their effects on moisture and
                        Seed Losses                                temperature (Alexander 1984; Day 1963, 1964; Roe and
                                                                   Schmidt 1964; Roe and others 1970; Smith 1955). Dead shade
  Observations in spruce-fir forests have indicated that part      may increase germination by reducing temperatures, thereby
of each seed crop is lost to cone and seed insects before seed­    conserving moisture. Low temperatures on shaded seedbeds
fall (Hedlin and others 1980, Keen 1958). In a recently com­       in the spring following snowmelt may delay germination
pleted study in Colorado, insect-caused loss in Engelmann          however, so that by the time seedbeds are warm enough they
spruce averaged 28 percent of the total seed produced during       are too dry. Germination can also be delayed if precipitation
a 4-year period (1974-77) (Schmid and others 1981). The            is low or irregular in June or early July following snowmelt
percentage of infested cones was highest during years of poor      (Alexander 1984, Noble and Alexander 1977). Exposed seed­
seed production and accounted for about one-half of total un­      bed surfaces are rapidly dried out and heated to high
sound seed collected in seed traps during 1974-77. The pri­        temperatures during periods of clear weather. Few seeds can
mary seed-eating insects were a spruce seed moth (Cydia =          imbibe sufficient water to germinate, and most newly ger­
(Laspeyresid) youngana Kearfott) and an unidentified species       minated seedlings are killed by either drought or stem girdle
of fly, possibly a fiylemya, found only in the larval stage.       (Alexander 1984, Noble and Alexander 1977, Roe and others
   Pine squirrels (Tamiasciurus hudsonicus fi'einonti Audubon      1970). If germination is delayed until the late summer rains,
and Bachman) are major consumers of spruce and fir cones           the late-germinating seedlings are frequently unable to harden
and seeds, as evidenced by the large caches common to              off before the onset of cold weather (Alexander 1984, Noble
spruce-fir forests. These caches have been the principal source    and Alexander 1977, Ronco 1967).
of seed for reforestation. After seed is shed, small mammals         Aspect also influences germination. In a long-term study
are the principal source of seed losses. The most important        on the Fraser Experimental Forest, germination was con­
seedeaters include deer mice (Peromyscus tnaniculatus              siderably higher on the north than the south aspect (Alexander
Wagner), red-backed voles (Clethrionomys gapperi Vigors),          1984). However, total germination on the north aspect was


                                                                                    Rvsd Plan - 00005684                        25
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 118 of 346



only 6 percent, ranging from a high of 11 percent to a low        greenhouse. They concluded that under favorable seedbed and
of 1 percent; germination was improved in most years more         environmental conditions (1) more seedlings would emerge
by scarification and the combination of scarification and shade   with frequent showers than with one or two larger storms when
than by shade alone. On the south aspect, total germination       monthly precipitation is 1 inch or less, and (2) when monthly
over 10 years was 3 percent ranging from less than 1 to 14        precipitation is 1 inch or more, germination is completed in
percent; shade and the combination of shade and scarification     a relatively short time with frequent showers, whereas seed­
improved germination, but scarification alone was not effec­      lings will emerge throughout the growing season if precipita­
tive (table 8) (Alexander 1984).                                  tion falls in only one or two storms. These observations have
   Alexander and Noble (1971) studied the effects of amount       been corroborated by field observations on the Fraser Ex­
and distribution of watering treatments—selected to represent     perimental Forest (Alexander 1984).
precipitation patterns, temperatures, and humidities likely to       Noble (1972) found no differences in spruce germination
occur at 10,500 feet elevation on the Fraser Experimental         on two soil types in a greenhouse study in Colorado, but both
Forest in Colorado—on the germination of spruce in the            soils were gravelly sandy loams. On the other hand, striking
                                                                  differences were found in germination on two soil types in
                                                                  western Montana (Roe and others 1970). Seeds were sown
                                                                  in the spring on a droughty sandy loam and a black, moderately
 Table 8—Percent germination of Engelmann spruce by               heavy loam soil that retained a high moisture content
 aspect and seedbed treatment from 1969 to 1978, north            throughout the growing season. More than nine times as many
 and south aspects, Fraser Experimental Forest (adapted           seedlings germinated on the heavier soil. Apparently, rapid
from Alexander 1984)                                              surface drying limited moisture for germination on the sandy
                                                                  soil.
                               Seedbed treatment                     Germination of subalpine fir is usually good on mineral soil
               Scarified, Scarified, Unscarified, Unscarified,    and moist humus seedbeds (Clark 1969, U.S, Department of
     Year       shaded unshaded        shaded      unshaded All   Agriculture 1943), Fir is less exacting in its seedbed re­
                                                                  quirements than spruce, and will germinate and become
North aspect                                                      established on a wider variety of seedbed types, including the
  1969            21        13           4           1       10   undisturbed forest floor, undecomposed litter and duff, and
  1970            12         7           4           1        6   decaying wood (Alexander and others 1984b, Day 1964).
  1971             1         2           0           1        1
  1972             7        11           2           2        6
  1973             7         4          10           3        6
  1974             8         2          21          11       11
  1975             9         8           5           1        6            Factors Affecting Initial Survival
  1976             2         1           8           2        3                   and Establishment
  1977            11         5           1           1        4
  1978            15        12           4          >1        8     In this publication, the first growing season is considered
                                                                  to be the period of initial survival, and the second through
  Average           9         6          6            2       6
                                                                  the fifth growing seasons, the time of seedling establishment.
                                                                     Most spruce seedling mortality (usually about 50 percent
South aspect
                                                                  or more of the total mortality) occurs during the first growing
  1969             7         2           7           2       4    season, but losses can be substantial during the first 5 years
  1970             0         0           1           0      >1    after germination (Alexander 1984, Noble and Alexander 1977,
  1971             2         1          >1           1       1    Ronco 1967, 1970b). Although losses continue after 5 years,
  1972            11        10          27          11      14    the probability of survival increases significantly. In a long­
  1973             6         0           6           3       4
  1974             0         0           6           5       3
                                                                  term study on the Fraser Experimental Forest (1969-83), only
  1975            >1         0           1           0      >1    38 percent of the seedlings that emerged survived the first
  1976            >1         0           1           0      >1    growing season; however, 94 percent of the seedlings that
  1977             3         0           4           0       2    were alive at the end of 5 years survived to the end of the
  1978             1         1           1           0      >1    study. Therefore, based on the previous year’s survival, sur­
                                                                  vival probability of spruce seedlings increased each year after
  Average          3          1          5           2        3
                                                                  germination (Alexander 1984):



26
                                                                                    Rvsd Plan - 00005685
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 119 of 346


                                           Survival                study in the central Rocky Mountains, the root length of
           Years since      Mortality     probability              vigorous 1-year-old spruce seedlings averaged about 2.75
           germination      (percent)      (percent)
                                                                   inches on seedbeds where the depth of humus was about 1 inch
                 1             62             38                   (Roeser 1924). In eastern Arizona, average first-year spruce
                 2             12             68                   root penetration was 2.7 inches on shaded mineral soil (Jones
                 3              5             83
                                2             94
                                                                   1971). In the northern Rocky Mountains and British Colum­
                 4
                 5              2             94                   bia, first-year root penetration of spruce seedlings under field
                 5+             1             94                   conditions was only about 1.5 inches (Roe and others 1970,
                                                                   Smith 1955).
   These data were derived over a range of seedbed and en­            No comparable data are available for subalpine fir in the
vironmental conditions. Survival probability would be better       central Rocky Mountains, but first-year root penetration of
under a combination of conditions favorable to spruce survival     its variety, corkbark fir, in Arizona averaged 3.4 inches (Jones
and poorer under a combination of conditions unfavorable to        1971). In British Columbia, first-year root length of subalpine
spruce survival (Alexander 1984).                                  fir averaged 2.7 inches (Eis 1965).
   Seedling mortality begins soon after germination, usually
in late June or early July. Environmental factors affecting sur­                           Seedbed Type
vival exhibit a seasonal sequence of occurrence (Alexander
1984, Noble and Alexander 1977). Early season mortality,              In the undisturbed forest, spruce seedlings become estab­
which may last to the end of July, is usually caused by biotic     lished on a variety of seedbeds: duff, litter, partially decom­
factors. As seedbeds dry out and warm up during mid to late        posed humus, decaying and moss-covered wood, and on
summer, physical factors become more important.                    mounds of mineral soil upturned by withthrown trees (Alex­
                                                                   ander and Shepperd 1984, Dobbs 1972). These same seedbeds
                      Initial Root Growth                          are available after logging, with some additional mineral soil
                                                                   and mineral soil mixed with humus. Removal of the overstory,
   The rate of root growth is an important determinant of in­      however, will produce new microhabitats, many of which will
itial survival of spruce seedlings. The further the root           be unfavorable to initial survival and seedling establishment.
penetrates the soil, the better chance the seedling has of sur­    Seedbed preparation is one way to modify environmental fac­
viving drought, frost heaving, and erosion. Critical rooting       tors limiting seedling survival (Alexander 1984, Roe and others
depth depends upon seedbed type, weather, and soil properties.     1970).
   First-year spruce seedlings (fig. 27), field grown on mineral      Spruce seedling survival and establishment after logging in
soil seedbeds under partial shade on the Fraser Experimental       the central Rocky Mountains has generally been better on
Forest in Colorado, have a rooting depth of 3 to 4 inches, with    prepared mineral soil seedbeds than on other seedbed types
a total root length of 5 inches (Noble 1973b). In an earlier       (Alexander 1969, 1984; Noble and Alexander 1977; U.S.
                                                                   Department of Agriculture 1943). When mineral soil is ex­
                                                                   posed by removing competing vegetation, a more stable
                                                                   moisture source and more nutrients are available for seedling
                                                                   growth than on other seedbed types (Smith 1962). Exceptions
                                                                   have been on south slopes, where shade has been more im­
                                                                   portant in reducing water losses from soil and seedlings than
                                                                   the seedbed type (table 9) (Alexander 1984, Noble and Alex­
                                                                   ander 1977). In some instances, subalpine fir has established
                                                                   more readily on mineral soil, while in others more fir seed­
                                                                   lings were found on undisturbed seedbeds (Alexander 1966,
                                                                   U.S Department of Agriculture 1943).
                                                                      In the Intermountain Region, Roe and Schmidt (1964) found
                                                                   that mechanically exposed mineral soil was superior to all other
                                                                   seedbeds for initial survival and establishment of spruce seed­
                                                                   lings. Decayed wood, the natural forest floor, and undisturbed
                                                                   duff were poor seedbeds. In northern Idaho, spruce stocking
Figure 27—Depth of Engelmann spruce roof penetration at the end    after 5 years was better on scarified seedbeds where 40 per­
of the first growing season.                                       cent or more of the area was exposed mineral soil than on the


                                                                                                                                27
                                                                                     Rvsd Plan - 00005686
                          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 120 of 346




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     Table 9—Percent survival of Engelmann spruce seedlings by aspect and seedbed treatment from 1969 to 1982, north and south aspects, Fraser
     Experimental Forest (adapted from Alexander 1984)

                     Scarified, shaded              Scarified, unshaded          Unscarified, shaded             Unscarfied, unshaded              Total
                                      End                            End                           End                             End                        End
                  After    After       of         After    After      of      After     After       of          After     After     of     After    After      of
                 1 year   5 years    study       1 year   5 years   study    1 year   5 years     study        1 year   5 years   study   1 year   5 years   study

     North aspect


       1969       10.9      7.5          6.9      7,2       3.2       3.2      1.6        1.3       0.8         0         0        0       4.9       3.0      2.7
       1970        8.8      4.5          4.3      4.3       1.6       1-6      2.1        0.3       0.3         0.5       0.5      0.5     3.9       1.8      1.7
       1971        0.5      0.5          0.5      2.1       0.5       0-5      0          0         0           0.3       0        0       0.7       0.3      0.3
       1972        1.3      0.8          0.8      0.8       0         0        0.3        0         0           0.3       0        0       0.7       0.2      0.2
       1973        4.0      2.1          2.1      1.3       0.3       0.3      5.9        3.5       2.9         1,9       0        0       3.3       1.5      1.3
       1974        5.9      2.9          2.7      1.1       0,3       0,3      4.5        2.4       2.1         2.1       0.5      0.5     3.4       1.5      1.4
       1975        3.7      0.5          0.5      3.7       0,5       0.5      2.9        1.6       1.3         0.5       0        0       2.7       0.7      0.6
       1976        0.5      0.3          0.3      0.5       0.3       0.3      5.9        2.9       2.9         1.9       1.3      1.3     2.1       1.2      1,2
       1977        8,3      2.4          2.4      2.4       0.3       0.3      1,1        0.3       0.3         0.5       0        0       3.1       0.7      0,7
       1978       10.9      9.9                   7.2       6.1       6,1      2.9        1.6       1,6         0         0        0       5.3       4.4      4,4

       Average    5.5       3.1          3.0“     3.1       1.3       1.3      2.7        1.4       1.2         0.8      0.2       0.2     3.0       1,5      1,4

     South aspect
       1969       1.3       0.3          0,3      0         0        0         2.4       1.9        1.9         0        0        0        0.9      0.5       0.5
       1970       0         0            0        0         0        0         0.3       0.3        0.3         0        0        0        0.1      0,1       0.1
       1971       0.5       0.5          0,5      0         0        0         0         0          0           0        0        0        0.1      0.1       0.1
       1972       1.9       0.8          0,8      0.5       0        0         1.1       0          0           0        0        0        0.9      0,2       0,2
       1973       2.4       1.3          1,3      0         0        0         2.4       1.1        0.5         1.3      0        0        1.5      0.6       0.5
       1974       0         0            0        0         0        0         0.3       0          0           0        0        0        0.1      0         0
       1975       0         0            0        0         0        0         0         0          0           0        0        0        0        0         0
       1976       0         0            0        0         0        0         0.3       0          0           0        0        0        0.1      0         0
       1977       0.3       0            0        0         0        0         0.3       0          0           0        0        0        0.1      0         0
       1978       0         0            0        0         0        0         0         0          0           0        0        0        0        0         0
       Average    0.6       0.3          0-3“’    0.1       0         0        0.7       0,3        0.3         0.1      0         0       0.4      0.2       0.2

     ® Seedling age in 1982 ranged from 5 years old (1978 germination) to 14 years oid (1969 germination).
     ’’ Seedling age in 1982 ranged from 10 years old (1973 germination) to 14 years oid (1969 germination).




                                                                                                                                Rvsd Plan - 00005687
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 121 of 346


natural forest floor or areas where scarification had exposed                                   Climate
only about 20 percent of the surface in mineral soil (Boyd and
Deitschman 1969), In southwestern Alberta on the Crowsnest            The climate of the central and southern Rocky Mountain
Forest, spruce seedling establishment was best on decayed           spruce-fir zone is characterized by extremes in insolation,
wood, but success was associated with moist sites (Day 1963,        temperature, and moisture (Alexander 1984, Alexander and
Day and Duffy 1963).                                                Shepperd 1984, Alexander and others 1984b, appendix B).
   Spruce seedling establishment on burned seedbeds has been        Some of these extremes limit regeneration success.
variable. Stocking was poor or nonexistent in the central Rocky
Mountain and Intermountain Regions on burned piles and              Insolation
windrows where burning left layers of loose ash several in­
ches deep, or generated such great heat that rocks were frac­          Light intensity and total solar radiation are high where spruce
tured (Roe and Schmidt 1964, Roe and others 1970, U.S.              grows. Solar radiation in the high mountains of Colorado can
Department of Agriculture 1943). Under these conditions,            be as high as 2.2 calZcm^/m on a clear day with scattered
burned seedbeds are not likely to support any seedlings for         cumulus clouds (Gates and Janke 1966, Spomer 1962). On
long periods of time (Roe and others 1970). On the other hand,      cloudless days, daily and weekly mean maximums of about
Boyd and Deitschman (1969) found that spruce stocking on            1.9 cal/cmVm throughout the summer have been reported
seedbeds 5 years after prescribed burning was as good as on         (Spomer 1962). Maximum air temperatures at 10,000 feet
scarified seedbeds where 40 percent or more of the area was         elevation rarely exceed 78 ®F, however (Alexander 1984, Roe
exposed mineral soil.                                               and others 1970).
   The length of time seedbed treatment remains effective also         Light is essential to seedling survival, and although 40 to
varies. On the Fraser Experimental Forest in Colorado,              60 percent of full shade is most favorable to seedling establish­
scarified seedbeds on light-textured, gravelly, sandy loam soils    ment, spruce will germinate in all light intensities found in
and a Vaccinium ground cover were still discernible 8 to 10         nature. However, spruce does not establish readily in the open
years after treatment, whereas scarified seedbeds on more           at high elevations in the Rocky Mountains, Planted seedlings
heavily textured soils with a ground cover of grasses and           develop a chlorotic appearance that is unrelated to nitrogen
sedges were largely obliterated in 3 years (Alexander 1969).        content (Ronco 1970c) and they subsequently die. High light
Seedbeds on the latter soils were not receptive long enough         intensity (visible light can be as high as 13,000 footcandles
for seedlings to become established. Mechanically scarified         (fc) from shortly after sunrise to shortly before sunset) is one
and prescription-burned seedbeds did not last longer than about     of the factors contributing to the mortality of seedlings planted
5 years in northern Idaho, but that was sufficient time for seed­   in the open (Ronco 1970d) (fig. 28). Mortality can be reduced
lings to become established (Boyd and Deitschman 1969). The         by shading planted seedlings (Ronco 1961, 1970a, 1972).
best results with natural or artificial seeding on scarified        Because Ronco (1970d) found photosynthesis higher for shaded
seedbeds in the interior of British Columbia were obtained in       than unshaded seedlings, he suggests that solarization—a
the first and second growing seasons after seedbed treatment        phenomenon by which light intensity inhibits photosynthesis—
(Arlidge 1967).                                                     leads to irreversible tissue damage and subsequent death of
   Spruce seedling survival and establishment on natural            seedlings.
seedbeds is limited by the depth of organic matter, whether            In the Intermountain Region, more natural seedlings were
it is partially decomposed L, F, and H layers or an accumula­       established in the shade of nonliving material than elsewhere
tion of litter, duff, or other debris (Roe and others 1970).        (Roe and Schtnidt 1964). Shade not only reduced light inten­
Although germination may have been good, few spruces                sity, but lowered temperatures and conserved moisture,
became established in the Intermountain Region where the            thereby improving the microenvironment for seedling survival
depth of organic matter on the seedbed exceeded 2 inches (Roe       and establishment. On the other hand, spruce seedlings can­
and Schmidt 1964). Poor establishment was attributed to first-      not compete with subalpine fir in the low light intensities com­
year root penetration that was too shallow to keep pace with        monly found in dense natural stands.
the rate at which the seedbed dried out during the summer.
Even with a deeper first-year root penetration, seedlings in        Temperature
the central Rocky Mountains do not become established readily
on seedbeds covered with heavy layers (5-7 inches) of duff,           Engelmann spruce is restricted to high elevations because
litter, or partially decomposed humus (Alexander 1984, No­          of low tolerance to high air temperatures (Bates 1923,
ble and Alexander 1977, Roeser 1924).                               Hellmers and others 1970). However, solar radiation at high
                                                                    elevations heats exposed soil surfaces and increases water

                                                                                                                                   29
                                                                                       Rvsd Plan - 00005688
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 122 of 346



                                                                     cent of the seedlings were lost to heat girdling on unshaded
                                                                     plots, compared to 10 percent on shaded plots. Day (1963)
                                                                     studied heat and drought mortality of newly germinated spruce
                                                                     seedlings in southwestern Alberta, and found that when water
                                                                     was excluded nearly three-fourths of the mortality on four dif­
                                                                     ferent unshaded seedbed types was caused by heat girdling.
                                                                     Surface temperatures as low as 113 °F caused heat girdling,
                                                                     but losses were not high until soil surface temperatures were
                                                                     above 122 °F. Shading reduced heat girdling on all seedbed
                                                                     types. Soil surface temperatures in excess of lethal levels for
                                                                     spruce seedlings, especially on burned seedbeds, have been
                                                                     reported in British Columbia (Smitli 1955).
                                                                        Air and below-surface soil temperatures are not usually di­
                                                                     rectly responsible for seedling mortality, but they affect
                                                                     growth. Helmers and others (1970) studied the growth of
                                                                     Engelmann spruce seedlings under 30 different combinations
                                                                     of day and night temperatures. They found that the greatest
                                                                     height and root growth, and top and root dry-matter produc­
                                                                     tion was with a diurnal variation of 66 °F (air and soil) day
                                                                     temperatures and 73 °F (air and sod) night temperatures. Shep­
                                                                     perd (1981), using the same night temperature regime, raised
                                                                     the day soil temperature to 73 °F and significantly increased
                                                                     root growth.
                                                                        The growing season is short at 10,000 feet elevation in the
Figure 28~Chlorotic Engelmann spruce seedling planted in the open,
                                                                     Rocky Mountains, and frost can occur any month during this
damaged by high light intensity.                                     period (Alexander and Shepperd 1984, Ronco 1967). Frost
                                                                     is most likely to occur in depressions and cleared openings
                                                                     because of cold air drainage and radiation cooling, respec­
losses from both seedlings and soil by both transpiration and        tively. Newly germinated spruce seedlings are susceptible to
evaporation. Drought and/or stem girdling causes heavy mor­          damage from early fall frosts. In a greenhouse and laboratory
tality, especially among first-year seedlings (table 10) (Alex­       study, new seedlings did not survive temperatures as low as
ander 1984, Noble and Alexander 1977, Roe and others 1970).           15 °F until about 10 weeks old, following bud formation at
Tree seedlings in the succulent stage are particularly suscep­       8 weeks and bud set and needle maturation at 10 to 12 weeks
tible to stem girdling if soils are dry. The cortex is killed by      (Noble 1973a).
temperatures of 130 “F, but prolonged exposures to lower                After the first year, seedlings are most susceptible to frost
temperatures may also be lethal. On the Fraser Experimental          early in the growing season when tissues are succulent. Shoots
Forest, temperatures on duff surfaces have exceeded 150 “F            are killed or injured by mechanical damage resulting when
in the open on both north and south slopes at 10,500 feet eleva­     tissue freezes and thaws. Frost damage has been recorded in
tion in the month of June, but average maximum surface               most years in Colorado (Ronco 1967). In light frost years
temperatures on unshaded mineral .soil were much less. They          damage was minor, but heavy frost either damaged or killed
ranged from 110 °F on north aspects to 124 °F on south               all new shoots of open-grown seedlings (fig. 29). Furthermore,
aspects (Alexander 1984, Noble and Alexander 1977), Max­             the loss of new shoots was at the expense of stored food
imum air temperature during this period did not exceed 78            reserves. Frost damage was nearly eliminated by shading the
 °F. Early shading improved survival of first-year seedlings         seedlings (Ronco 1967).
on north aspects on both mineral soil and duff seedbeds, and            In the early fall, the combination of warm daytime
was essential to any survival on south aspects regardless of         temperatures, below freezing nighttime temperatures, and
seedbed type (table 11) (Alexander 1984). In western Mon­             saturated sod unprotected by snow is conducive to frost heav­
tana, at lower elevations on gentle north slopes, soil surface       ing. On the Fraser Experimental Forest, Colorado, these con­
temperatures exceeded 160 °F several times during one sum­           ditions generally occurred in about 1 out of 2 years (Alex­
mer (Roe and others 1970). Early shade protection improved           ander 1984, Noble and Alexander 1977). Frost heaving was
survival of newly germinated spruce seedlings; 30 to 50 per­          one of the principal causes of first-year seedling mortality on

30
                                                                                        Rvsd Plan - 00005689
                    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 123 of 346

TabJe 10—Percent total mortality of Engelmann spruce seedlings by aspect, cause, and seedbed treatment, Fraser Experimental Forest (adapted
from Alexander 1984)

                     Scarified, shaded               Scarified, unshaded         Unscarified, shaded      Unscarified, unshaded             Totai
                                      End                              End                         End                       End                       End
                   After    After      Of          After      After     Of     After      After     of    After     After     of    After    After      of
                  1 year   5 years   study’       1 year     5 years study    1 year    5 years study    1 year    5 years study   1 year   5 years   study

North aspect

    Drought         9.9     14.2         14.2      8.3       9.9        9.9    15.6     20.2     20.5     7.8      10.4     10.4   41.6       54.7     55.0
    Clipping        7.2      7.2          7.2      6.1       6.1        6.1     1.3      1.3      1.3     0         0        0     14.6       14.6     14.6
    Frost heave     0.3      6.4          6.4      0.6       4.5        4.5     0.1      0.7      0.7     0         0.5      0.5    1.0       12.1     12.1
    Snow mold       0        0.9          1.3      0         2.6        2.6     0        0.7      1.2     0         0        0      0          4.2      5.1
    Washout         2.0      2.3          2.3      1.0       1.2        1.2     0        0        0       0         0        0      2.9        3.5      3.5
    Freezing        0.1      0.1          0.1      0.1       0.1        0.1     0.4      0.7      0.7     0.7       0.7      0.7    1.1        1.6      1.6
    Heat girdle     0.7      0,7          0.7      0.9       0.9        0.9     0.1      0.1      0.1     0         0        0      1.7        1.7      1,7
    Other^          0.9      1.9          2.0      1.4       2.5        2.5     0.6      1.8      1.9     0         0        0      2.9        6.2      6.4

      Total        21.0     33.7         34.2      18.3     27.8       27.8    18.1     25.5     26.4     8.5      11.6     11.6   65.8      98.6     100.0

South aspect

    Drought        10.1     11.1         11.1       7.7      7.7        7.7   23.8      26.0     26.5    13.9      14.7     14.7   55.5      59.5      60.0
    Clipping        7.0      7.0          7.0       0.5      0.5        0.5   10.S      10.8     10.8     1.2       1.2      1.2   19.5      19.5      19.5
    Frost heave     0.6      2.2          2.4       0.5      0.9        0.9    0,5       0.5      0.5     0         0        0      1.5       3.6       3.8
    Snow mold       0        0            0         0        0          0      0         0.2      0.2     0         0        0      0         0.2       0,2
    Washout         1.2      1,2          1.2       0.7      0.7        0.7    0         0        0       0         0        0      1.9       1.9       1.9
    Freezing        0        0.2          0.2       0        0          0      0.5       0.5      0.5     0         0        0      0.5       0.7       0.7
    Heat girdle     1.0      1.0          1,0       1.7      1,7        1.7    4.8       4.8      4.8     2.6       2,6      2.6   10.1      10.1      10,1
    Other^          0.2      0.5          0.5       0.7      0.7        0.7    1.0       1.9      1.9     0.7       0.7      0.7    2.6       3.8       3.8

      Total        20.0     23.2         23.5-’    11.8      12.2      12.2   41.4      44.7     45.2    18.4      19.2     19.2   91.6      99.3     100.0
’   Seedling age at end of study in 1982 varied from 5 to 14 years.
    Includes insolation, damping off, gophers, and unknown.
3   Includes insolation, damping off, and unknown.
    Seedling age at end of study in 1982 varied from 10 to 14 years.




                                                                                                                          Rvsd Plan - 00005690
                       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 124 of 346




Table ll—Seed:seedling ratios of Engelmann spruce at the end of germination and after the first and fifth growing seasons by seedbed treatment
and aspect, Fraser Experimental Forest (adapted from Alexander 1983)


     Seedbed                    Germinating seedlings                                  First-year survival’                           Fifth-year survival
    treatment         Mean             Range             Percent           Mean              Range             Percent        Mean         Range            Percent

North aspect
Scarified,             11:1          5:1 to 94:1             9              18:1           9:1 to 188:1           59           32:1     10:1 to 375:1         57
  shaded
Scarified,             15:1          8:1 to 94:1             6              33:1          14:1 to 188:1           47           76:1     16:1 to   “           44
  unshaded
Unscarified,           17:1          5:1 to “3               6              37:1          17:1 to    oo           45           72:1    29:1 to    “           52
  shaded
Unscarified,           42:1          9:1 to 375:1            2             125:1          54:1 to    ■»           34          417:1     75:1 to   oo          30
  unshaded

South aspect

Scarified,            35:1           9:1 to   00             3             156:1          42:1 to    «»           22          341:1     75:1 to   “           46
  shaded
Scarified,            74:1          10:1 to   “              1            1875:1         188:1 to    <0=            4          CO                             0
  unshaded
Unscarified,           19:1          4:1 to 375:1            5             144:1          14:1 to    oo            13         312:1     54:1 to   00          46
  shaded
Unscarified,          46:1           9:1 to   00             2             750:1          94:1 to    “              6          oo                              0
  unshaded

1    Ratio of germinating seedlings to survival at the end of the first growing season.
2    Ratio of seedlings alive at the end of the first growing season to seedlings alive at the end of fifth growing season.
3    co = no germination or survival.




                                                                                                                              Rvsd Plan - 00005691
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 125 of 346



scarified seedbeds on north slopes (Alexander 1984),
Furthermore, seedlings continued to frost heave after four
growing seasons. Shading reduced losses by reducing radia­
tion cooling.

Moisture

   The moisture condition of the seedbed during the growing
season largely determines first-year seedling survival. On some
sites in the central Rocky Mountains, summer drought is
responsible for substantial first-year mortality, especially in
years when precipitation is low or irregular. On the Fraser
Experimental Forest, drought and desiccation caused more
than half of the first-year seedling mortality on south slopes;
and nearly two-thirds of all mortality after 5 years (Alexander
 1984), On north slopes during the same period, drought ac­
counted for about 40 percent of first-year seedling mortality,
and more than one-half of all mortality at the end of 5 years
(table 10).
   In the northern Rocky Mountains, late spring and early sum­
mer drought is a serious threat to first-year seedlings during
most years. In western Montana, aU seedlings on one area were
killed by drought in a 2-week period in late summer, when
their rate of root penetration could not keep pace with soil
drying during a prolonged dry period (Roe and others 1970).
Late spring and early summer drought is also a serious cause
of first-year seedling mortality in the southern Rockies.
                                                                    Figure 29—Frost damage to an open-grown Engelmann spruce
Drought losses can continue to be significant during the first
                                                                    seedling.
5 years of seedling development, especially during prolonged
summer dry periods (Alexander 1984, Noble and Alexander
 1977).                                                                                          Aspect
   The moisture provided by precipitation during the growing
season is particularly critical to the survival of seedlings dur­      Aspect greatly affects initial seedling survival and establish­
ing the first year. Alexander and Noble (1971) studied the ef­      ment through its influence on temperature and moisture. Sur­
fects of amount and distribution of watering treatments on          vival of spruce seedlings on the Fraser Experimental Forest
seedling survival in the greenhouse. The treatments simulated       was much higher on north than south aspects (table 9) despite
common summer precipitation patterns in north-central Col­          the fact that the south aspect averaged I to 3 inches more
orado. They concluded that under favorable seedbed and en­          precipitation during the growing season (Alexander 1984, No­
vironmental conditions (1) at least 1 inch of well-distributed      ble and Alexander 1977). Incoming net radiation averaged 8
precipitation is needed monthly before seedlings will survive       percent higher on the south aspect, and resulted in higher vapor
drought; (2) with this precipitation pattern, more than 1,5         pressure deficits and higher soil surface temperatures across
inches of monthly rainfall is not likely to increase seedling       all seedbed types even though average air temperature dif­
survival; but (3) few seedlings will survive drought with less      ferences between north and south aspects were less than 2 °F.
than 2 inches of rainfall monthly when precipitation comes          As a result evapotranspiration rates increased, creating drier
in only one or two storms.                                          environments. This caused an increase in seedling mortality
   Summer precipitation may not always benefit seedling sur­        from drought and heat girdle on the south aspect (table 10).
vival and establishment. Summer storms in the Rocky Moun­
tains may be so intense that much of the water runs off,                                           SoU
especially from bare soil surfaces. Moreover, soil movement
on unprotected seedbeds buries some seedlings and uncovers            Throughout the Rocky Mountains, spruce and fir grow on
the roots of others (Roe and others 1970).                          a wide range of soils (Johnson and Cline 1965, Retzer 1962),


                                                                                                                                   33
                                                                                       Rvsd Plan - 00005692
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 126 of 346


but there is little information about the soil requirements for                           Animal Damage
regeneration. Noble (1972) compared first-year spruce seed­
ling survival and growth on two soils in the greenhouse. One           A number of animals have been reported to kill or damage
soil—Bobtail gravelly sandy loam—was a Cryochrept that              spruce seedlings. Mice and other small rodents seldom con­
developed in place under a mixed spruce-fir-lodgepole pine          sume cotyledonous seedlings, but about 15 to 20 percent of
stand from mixed schists and gneisses metamorphosed from            the total mortality on a long-term study on the Fraser Ex­
granitic rock. The other soil—Darling gravelly sandy loam—          perimental Forest resulted from the clipping of cotyledons on
was a Cryorthod developed in place under a spruce-fir stand         newly germinated seedlings by gray-headed juncos {Junco
from coarse-textured material weathered from mixed schists          caniceps Woodhouse) (fig. 30) (Alexander 1984, Noble and
and gneisses. The Bobtail soil crusted and compacted when           Alexander 1977, Noble and Shepperd 1973). Established
watered—as if did in the field—and root penetration was             seedlings are not immune, however, to rodent damage. Dur­
significantly less than on Darling soils. Consequently, 1.5         ing some winters, established seedlings are debarked and killed
inches of water well-distributed monthly was required to ob­        by montane voles, and northern pocket gophers {Thomomys
tain survival on Bobtail soUs, whereas significant survival was     talpoides Richardson) periodically cause heavy mortality to
obtained on Darling soils with 1 inch of water well-distributed     spruce plantations up to 3 to 4 years after planting (Ronco
monthly. Top growth and total dry matter production after 24        1967, 1970a).
weeks were about the same on both soils. Spruce generally              The extremely small size of young spruce seedlings makes
establishes and makes good growth on moderately well-drained        them especially vulnerable to damage by grazing and brows­
silt and clay loam soils developed in place from volcanic and       ing animals. In western Montana, cattle—in one trip through
fine sedimentary rock, and on alluvial soils developed from         a seedling survival study area—trampled or killed 10 percent
a variety of parent materials, because these soils do not dry       of the marked first-year spruce seedlings. They were either
out rapidly. Spruce does not establish or grow as well on           buried or kicked out of the ground (Roe and others 1970).
shallow, dry, coarse-textured sands, gravels, heavy clay sur­       Trampling damage by cattle and big-game animals is likely
face soils, or saturated soils (Alexander and Shepperd 1984).       to be more severe on prepared seedbeds, especially if they
   No information is available on the range of pH tolerated         have been plowed or disked, because the cleared ground pro­
by spruce and fir, or their nutrient requirements.                  vides easy travel routes. Spruce is seldom eaten by these
                                                                    animals, but young subalpine fir is occasionally browsed heav­
                           Diseases                                 ily by big game.

  Newly germinated seedlings are killed by damping-off fungi                             Ground Vegetation
(Alexander 1984, Noble and Alexander 1977, Ronco 1967).
Losses normally occur early in the growing season before              Understory vegetation can be either a benefit or a serious
seedlings cast their seedcoats, and can be serious on all seedbed   constraint to spruce seedling survival and establishment (Alex­
types if they remain damp for long periods of time. Damping-        ander 1966, Day 1964, Roe and others 1970, Ronco 1972).
off was responsible for 17 percent of the first-year seedling       Observations of natural and artificial regeneration on several
mortality in central Colorado on both mulched and unmulched         areas in the central Rocky Mountains have indicated spruce
mineral soil seedbeds in a year when the growing season was         seedlings become established more readily on sites protected
particularly wet (Ronco 1967). Damping-off was the principal        by such plants as willow {Salix spp.), shrubby cinquefoil
cause of mortality of newly germinated seedlings in the             {Potentilla fruticosa (L.) Rydb.), fireweed {EpHobium
greenhouse when they were watered sufficiently to keep the          angustifolium L.), and whortleberry {Vaccinium spp.) than in
soil surfaces from drying (Alexander and Noble 1971, Noble          the open. These plants shade seedlings without seriously
1972),                                                              depleting soil moisture. In contrast, mortality has been re­
  Snowmold fungus {Hetpotrichia nigra Hartig) occasionally          corded when seedlings are started near clumps or scattered
damages or kills both natural and planted seedlings (Alexander      individual plants of grasses or sedges {Carex spp,), or her­
1984; Noble and Alexander 1977; Ronco 1967,1970a), Losses           baceous plants such as bluebells {Mertensia spp,), currants
are most severe when seedlings remain under the snow too            {Ribes sp,), and Oregon-grape {Berberis repens Lindl,), which
long, as in years of heavy snowfall or when weather retards         spread to form a dense, solid cover with roots completely oc­
snowmelt in the spring, or in depressions where snow nor­           cupying the soil. Death is due to root competition for moisture
mally accumulates and melts slowly. Snowmold was respon­            and smothering by cured vegetation compacted under dense
sible for 5 percent of the mortality on north aspects on the        snow (Ronco 1972). The probability of regeneration success
Fraser Experimental Forest (table 10) (Alexander 1984).             on an area with a complete cover of dense sod of grasses and

34

                                                                                     Rvsd Plan - 00005693
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 127 of 346



sedges is low. In Utah, Pfister (1972) rated the environment
for spruce regeneration success as severe in habitat types where
the understory was dominated by Ribes montigenum (McClat.),
and moderate where the understory was dominated by Serberis
repens. He concluded that natural regeneration success could
be obtained in these habitat types only by maintaining a con­
tinuous forest cover, thereby limiting the development of
understory vegetation.

                  SeedtSeedling Ratio
   The number of seeds required to produce a first-year seed­
ling and an established seedling (at least 5 years old) and the
number of first-year seedlings that produce an established
seedling vary considerably, depending upon seed production,
distance from source, seedbed, and other environmental con­
ditions. In one study in clearcut openings in Colorado during
the period 1961-75 covering a wide variety of conditions, an
average of 665 (range 60 to 2,066) sound spruce seeds were
required to produce a single first-year seedling. It required
an average of 6,800 spruce seeds (range 926 to 20,809) to
produce an established seedling. An average of 21 first-year
seedlings were necessary to produce a single established seed­
ling, although as few as 4 and as many as 24 first-year seed­
lings were required under different conditions (Noble and          Figure 30~-Clipping damage to newly germinated spruce seedlings
Ronco 1978). An average of 150 fir seeds (range 35 to 290)         caused by Juncos, Fraser Experimental Forest.
were required to produce a first-year seedling, and an average
of 755 seeds (range 483 to 1,016) to produce an established
seedling. For every established seedling, it required an average                               REGENERATION CONDlTiONS
of 10 first-year seedlings (range 4 to 14) (Noble and Ronco
 1978).                                                                     favobable                                            UNFAVORABLE

   Aspects and cultural treatments can also be important fac­      a   >250,000 seed/acre                 SEED CROP          < 50,000 seed/acre
tors in the successful establishment of Engelmann spruce in        b     North and East                    ASPECT                South and West
                                                                   c   Ambiflfll air >32*F night      TEMPERATURES       Ambient air <32*F night
clearcut opeiungs. In another Colorado study, an average of            and <78^F dayt maximum                            and >78*F dayi maxirnym
 18 sound seeds were required to produce a single first-year           surface OO’F                                      surface >go’F
seedling on shaded, mineral soil seedbeds on north slopes; and     d       >0.50 in, week              PRECIPITATION             <0,40fn. week
                                                                   ©   Light’ textured, sendy-loam          SOIL       Heavy-textured, clay-loam
32 sound seeds to produce an established 5-year seedling. On       f   >40% exposed mineral soli          SEEDBED        <20% exposed mineral soil
unshaded, natural seedbeds with a north aspect, it required        ®    50-70% dead shade                                <30% dead shade
 125 seeds to produce a first-year seedling and 417 seeds to       h   <2 In. duff and litter                            >4In,    duff and titter
                                                                   i   Light vegetative cover <30%                       Heavy vegetative cover >60%
produce a 5-year-old seedling. In contrast, 156 seeds were re­
                                                                       non sod’lcrming                                   sod'fofming
quired to produce a first-year seedling on shaded, mineral soil    5    Seedings >12 weeks old by         SURVIVAL       Seedlings <12 weeks old by
seedbeds on south slopes, and 341 seeds to produce a 5-year-            mid-Sept                                         mid-Sept

old seedling. On unshaded, natural seedbeds it required 750        k    Low population of birds and                      High population of birds and
                                                                        smell mammals that eat tree                      small mammals that -eat tree
seeds to produce a first-year seedling, but no seedling surviv­         seed and young seedlings                         seed and young seedlings
ed as long as 5 years (table 11) (Alexander 1983, 1984).           I   Protection from trampling                         No protection from trampling
   The important factors influencing natural regeneration of       m   Fall snow cover when Irost                        No fall snow cover when frost
                                                                       heaving conditions exist                          heaving conditions exist
Engelmann spruce after clearcutting in the central Rocky           n    No late lying spring snowfields                  Late lying spring snowfields
Mountains are summarized in figure 31.                                  when conditions favorable to                     when conditions favorable to
                                                                        snowmold exist                                   snowmold exist

                                                                   Figure SI—Conditions favorable and unfavorable to natural regenera­
                                                                   tion of spruce (Alexander 1984).


                                                                                                                                                    35
                                                                                            Rvsd Plan - 00005694
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 128 of 346

Artificial Regeneration


                      Direct Seeding                                 the intensity of light. Duration of exposure is critical, and other
                                                                     factors, including high leaf temperatures and plant water
  Limited seeding trials with Engelmann spruce, where treated        stresses, may trigger the phenomenon. Thus, while light in­
seed was sown in the spring on prepared seed spots, were not         jury can be avoided simply by shading seedlings, the inter­
successftil (Ronco 1967). Until reliable techniques have been        relationship of causal factors complicates preventive measures
worked out for the central and southern Rocky Mountains,             when all-day shade is not available. Shade during the hottest
direct seeding of spruce is not recommended as an operational        part of the day benefits planted spruce seedlings, even though
regeneration practice.                                               they are exposed to full sunlight during morning and evening
                                                                     hours (Ronco 1961, 1970d). Midday and afternoon shade is
                           Planting                                  necessary, probably because seedlings are subjected to higher
                                                                     temperatures and water stresses during these periods.
               Sare~Root or Container Stock
                                                                     Water
   Container-grown Engelmann spruce seedlings have not been
used long enough to permit a fair evaluation of their poten­            The internal water balance of seedlings is probably of greater
tial. Because roots of containerized seedlings are never re­         importance for growth and survival than any other factor.
moved from soil, they are less susceptible to shock and may          Water deficits alter the chemical composition of seedlings and
require less care in handling and planting than bare-root stock.     decrease the rate of their physiological functions (Kramer and
   Guidelines for planting bare-root and container-grown             Kozlowski 1960). Deficits are created whenever water loss
spruce in the central and southern Rocky Mountains have been         from transpiration exceeds water uptake by roots. Thus, water
prepared by Ronco (1972) and National Forest System Region           stresses may result from (1) lack of precipitation (drought);
2. The recommendations summarized here are theirs unless             (2) high transpiration rates; or (3) reduced water uptake caused
indicated otherwise.                                                 by cold soils, poor root conditions, or low moisture-holding
                                                                     capacity of soils.
                 Physiological Requirements                             Newly planted seedlings are most likely subjected to some
                                                                     water stress, but laboratory and field studies suggest that
Light                                                                dehydration is not the major cause of mortality observed in
                                                                     spruce plantations (Ronco 1970d). Water deficits in seedlings
  Examination of Engelmann spruce plantations established            probably arise from the combined effects of transpiration and
on National Forests as early as the 191O’s led Korstian and          reduced water uptake rather than drought, since precipitation
Baker (1925) to conclude that denuded areas in the spruce-fir        in the spruce-fir zone is generally adequate for seedling sur­
zone could be successfully reforested if seedlings were pro­         vival. For example, soil-moisture measurements in plantations
tected by “down logs, stumps, and open brush.” Ronco                 on the White River Plateau in western Colorado during a par­
(1970d) showed that such protection is necessary because             ticularly dry summer showed that moisture at root-zone depth
spruce seedlings are injured by high light intensities—a             was at or near field capacity throughout the summer and early
phenomenon known as solarization—and generally survive               fall. On the other hand, root initiation and elongation in newly
poorly when exposed to full sunlight for prolonged periods.          planted seedlings was retarded due to low soil temperatures.
Chlorotic (yellow-colored) foliage is the most common visi­          Thus, normal transpiration losses coupled with slow root
ble evidence of light injury to seedlings planted in the open.       development may create water deficits in planted seedlings un­
  Light injury has often been observed in many other shade-          til roots become established.
adapted or tolerant species, and appears to be related to the           More favorable water balances in seedlings can be obtained
photosynthetic behavior of such plants. Shade plants, including      by using protective cover to reduce transpiration rates, which
spruces, have lower maximum photosynthetic rates, and their          might otherwise be accelerated by exposing foliage to wind,
photosynthetic mechanisms become light saturated at lower            or the heating effect of direct sunlight on needles. Little con­
intensities than sun plants (intolerant species). Furthermore,       trol can be exerted over those factors relating to water up­
they become increasingly susceptible to solarization the higher      take, except to discard seedlings with spindly root systems.
the light intensity increases above the saturation point. Open-      Similarly, precipitation is not controllable, but the amount of
grown spruce seedlings are particularly vulnerable because           moisture available for seedling use can be increased by
they are exposed to light intensities that are three to four times   avoiding soil conditions that decrease water storage capacity
greater than those at saturation during most of the day.             (excessively rocky areas) or create a heavy drain on stored
  The occurrence of solarization does not depend solely on           water (heavily sodded areas).

36                                                                                         Rvsd Plan - 00005695
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 129 of 346



Temperature                                                        tion, proper handling of stock from the nursery until planted,
                                                                   and proper planting techniques. Furthermore, planting spruce
  Engelmann spruce is adapted to a cool environment, but new       requires just as much site preparation as natural seeding. Many
growth is still very sensitive to freezing temperatures, which     planting failures in the Rocky Mountains can be traced to im­
commonly occur several nights during any growing season.           proper application of one or more of the above-mentioned pro­
All new growth on mature trees and seedlings—either natural        cedures (Roe and others 1970).
or planted—is frequently killed when air temperatures are
below freezing and heat loss from foliage is increased because
of radiation to the clear nighttime air (Ronco 1967). Both the                            Site Preparation
severity and frequency of frost injury can be lessened,
however, by reducing such radiant heat loss from seedling             Site preparation for spruce plantations probably requires
foliage and surrounding soil. Stumps, logs, slash, or a cover      more consideration than for most other species because of the
of live vegetation are effective barriers.                         complex relationship between the environment and seedling
  Daytime air temperatures, which rarely exceed 75 "Fin the        requirements. For example, warmer soils and increased
central Rocky Mountains, are probably not high enough to           moisture availability accompanying complete vegetation
directly injure planted seedlings. However, elevated needle        removal would benefit seedlings, but because of their sensitivi­
and soil-surface temperatures resulting from exposure to direct    ty, seedlings would be more prone to severe injury from in­
sunlight increases water losses from both seedlings and soil.      tense light and frost. Therefore, in the absence of logs or
Fortunately, the same type of cover that protects against freez­   stumps, live vegetation such as willows, cinquefoil, fireweed,
ing injury also tends to reduce water losses.                      whortleberry, or other species of similar growth habit may
                                                                   be desirable as protective cover even though they compete with
                      Need and Timing                              seedlings.
                                                                      Hand scalping will probably be adequate for most planting
   Good sites logged and prepared for natural regeneration that    operations. Hand-scalped spots should not be smaller than 18
fail to restock in 3 to 5 years, or where experience has shown     to 24 inches square. Aboveground parts of plants are totally
that they are not likely to restock in 3 to 5 years, should be     removed, but lateral roots from vegetation surrounding the
planted immediately after logging before other vegetation has      scalp usually remain active. Thus, the zone of soil released
completely invaded the site. A minimum goal should be about        from the competitive effects of vegetation tapers rapidly below
300 well-established spruce seedlings in addition to whatever      the ground surface.
other species may have become established (Roe and others             Heavy concentrations of slash should be treated to reduce
1970). Three hundred is a minimum. Desirable stocking is           fire and insect hazards and adverse visual impacts, but slash
600 to 800 trees per acre (Alexander 1983, 1984; Alexander         disposal and seedbed preparation with heavy machinery should
and Edminster 1980).                                               be minimized. Removing vegetative competition or treating
   Planting cutover areas has several advantages. By growing       slash can adversely affect plantation establishment by destroy­
stock in nurseries or greenhouses, many of the vagaries of         ing microsites that afford protection for planted seedlings.
the natural regeneration system are avoided, such as unpredict­    Machines could be used, however, to obtain better distribu­
able seed years, irregular seed dissemination, and high rates      tion of favorable microsites over the plantation by rearrang­
of early seedling mortality. Planting permits better control of    ing logs. Exposure of mineral soil during such operations
stand density, tree distribution, and species and genetic com­     would also create favorable seedbeds, which might result in
position of the stand. Planting, unlike natural regeneration,      supplemental stocking from natural regeneration.
does not impose a restriction on size of cutting units, and it        In areas where hand-scalping is unsatisfactory because of
removes the necessity of reserving merchantable trees for seed.    dense sod-forming grasses and sedges or a heavy cover of her­
Furthermore, successful planting may shorten the regenera­         baceous species such as Mertensia, vegetation may be con­
tion period (Roe and others 1970).                                 trolled by such machine methods as disking, furrowing,
   There are, however, some disadvantages to planting. Field       mounding, ridging (berms resulting from plowing), and
planting requires close coordination between cutting plans and     bulldozing. Where competing vegetation consists of relative­
the availability of planting stock. Delay in planting after log­   ly tall brush species that form dense cover, complete removal
ging may increase the costs of site preparation. Costs of sur­     or cleared strips of bulldozer-blade widths may be desirable.
viving seedlings are frequently higher than those of natural       Machine-scalping with disks or plows (furrowing or ridging)
regeneration. Close supervision is needed to assure planting       should leave vegetation-free areas 1.5 to 2 feet wide. Broad­
of only large, vigorous stock, proper storage and transporta­      cast burning can be used on areas where there is no advanced

                                                                                                                                37
                                                                                      Rvsd Plan - 00005696
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 130 of 346



reproduction or residual stand. Logs not consumed in the fire            25. In years of late snowmelt, however, the season may be
will provide shade for planted seedlings (Roe and others 1970).          extended somewhat, but no seedlings should be planted after
                                                                         July 10 or they will not have sufficient time to harden off.
                        Planting Stock                                   The length of the planting season depends primarily on
                                                                         available soil moisture, but unseasonably high temperatures
Planting stock should meet the following specifications for              would also be sufficient reason for terminating planting
bare-root stock: (1) stems no shorter than 3 to 4 inches, well           because of the adverse effect on transpiration. Sirrularly, plan­
developed, with not less than two or three branches; (2) roots           ting may be temporarily halted during the regular planting
no shorter than 5 to 6 inches, compact, fibrous, and well                season because of unseasonably warm temperatures, especially
developed with several lateral roots; (3) tops and roots with            if they are forcasted for several consecutive days.
a low shoot/root ratio. These guidelines are based on limited               Summer and fall planting of bare-root stock are not recom­
experience in the Rocky Mountains. Local conditions and ex­              mended for several reasons. First, good stock would not be
perience should be followed where modifications are called               available. Seedlings lifted in the spring and stored for sum­
for.                                                                     mer planting would be subjected to the adverse effects of pro­
   The minimum size standards for container-grown seedlings              longed storage, whereas nursery stock lifted in early fall before
based on the container sizes indicated are:                              the seedlings are fully dormant would be in poor physiological
                                                                         condition. Second, by the time nursery seedlings can be safely
Cotttahier size                            Seedling stem size            lifted in late October or November, the high-elevation sites
                                                                         are generally inaccessible. Third, in those instances where
                                 Caliper                        Height   good weather does permit fall planting, it also makes success
                                  (mm)                           (cm)
                                                                         less certain. Without a protective cover of snow, seedlings may
4 cubic inches                                                           be desiccated (winterkilled) because of an imbalance between
  Max./min.                       1.8                            6-7     transpiration and water uptake. Furthermore, cold soil at this
  Desirable                       2,2 +                         10-14
                                                                         time of year retards or even prevents root growth, and seed­
to cubic inches
  Max./min.                       2.3                            6-20    lings do not have the benefit of a well-developed root system
  Desirable                       3.0+                           8-13    to reduce the possibility of winterkill. Finally, seedlings will
                                                                         break dormancy if planted before temperatures and
                      Type of Container                                  photoperiods prevent growth, but they will be subjected to
                                                                         freezing fall temperatures nearly every night before shoots can
   National Forest System Region 2 prefers a nonreturnable               fully develop—normally about? to 8 weeks. Subsequent frost
plastic container, removed prior to planting to reusable con­            injury to the new growth substantially increases mortality, and
tainers. The three containers presently used are:                        growth of surviving seedlings is lessened the following spring.
                                                                            National Forest System Region 2 usually plants container-
     Tube-pack-8 (NP)/10 cubic inch/144 seedlings per tray               grown stock in the spring, with some fall planting between
     Pine cell (RL)/4 cubic inch/200 seedlings per tray                  September 15 and October 10. To date, there is not enough
     Super cell (RL)/10 cubic inch/98 seedlings per tray.                data available to determine if fall planting of container-grown
                                                                         seedlings will be more successful than with bare-root stock.
                       Planting Season
                                                                                                     Storage
  Bare-root spruce should be planted in the spring immediately
after snowmelt; delay should be only long enough for free                   Nearly all planting in the central and southern Rocky Moun­
water to drain from the soil so that it can be properly packed           tains requires that bare-root seedlings be lifted while they are
around the roots. Plant southwest- and south-facing slopes first,        still dormant, and stored at the nursery until planting sites are
east and north slopes last. In addition to facilitating access to        free of snow. Because of the incidence of mold and depletion
planting areas, such scheduling will tend to lengthen the plant­         of food reserves, spruce should not be held in storage longer
ing season by extending the period over which soil-moisture              than 3 months. Seedlings must be treated as dormant plants
conditions are more favorable. Local experience and judgment             during transit to planting sites. If refrigerated transport is not
will be needed to determine when planting should be ter­                 available, cover bundles or bags with canvas to maintain
minated in the spring, or temporarily suspended because of               temperatures between 34 to 40 °F. Storage problems are more
unfavorable planting conditions. The planting season in the              severe in the field because limited facilities on the planting
spruce-fir zone normally extends from about May 25 to June               site make temperature control difficult. Well-insulated storage

38
                                                                                            Rvsd Plan - 00005697
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 131 of 346


sheds that can be cooled by ice or snow can be used in the
absence of mechanical refrigeration. If such storage is not
available, cool, moist cellars or even snowbanks can be used.
Seedlings can be held in storage locally up to 7 days if
temperatures can be maintained below 40 °F; otherwise limit
local storage to 3 days. When transferring seedlings from
bundles or bags to planting containers, handle the seedlings
carefully to prevent root breakage and do not expose roots
to sun or wind.
  Container-grown seedlings are usually moved from the
greeithouse to the planting site in refrigerated trailers. Storage
at the planting site is similar to that for bare-root seedlings.

                        Spot Selection

   Plant seedlings with roots in moist soil and only on those
spots protected by stumps, logs, slash, or live vegetation. Plant
only on the north or east sides of protective cover (fig. 32),
and no more than 3 inches from protective cover unless cover
is tall enough to cast a wide shadow. Avoid planting in depres­
sions, frost pockets, on small mounds, and in areas with ex­
tensive sod-forming vegetation, where advanced reproduction
shows evidence of snowmold or where material from slash
disposal has been incorporated into the soil.
                                                                     Figure 32—Good spot selection: Engelmann spruce seedling planted
                       Planting Method                               on the east side of a log where shade is fully utilized.


  Use the hole method. Dig holes with hand tools such as mat­
                                                                             tion; (b) size; (c) species planted; (d) kind of stock
tocks or with power augers. If power augers are used, do not
                                                                             (age, size, quality, or grade); (e) seed source; (f) plant­
dig holes too far in advance of planting or else the soil in the
                                                                             ing dates; (g) method of preparation and equipment
root zone may dry.
                                                                             used; (h) method of planting and kind of tools used;
                                                                             and (i) density of planting,
                     Plantation Protection
                                                                          2. Maintain continuous thermograph record of tempera­
   Protect new plantings from trampling by livestock until seed­             tures during transit and local storage,
lings are at least 3 feet high. Plantations may require fencing
                                                                          3, Use staked trees to obtain continuous detailed
or adjustments in grazing allotments. New plantings should
                                                                             information:
also be protected from rodents. Sample the rodent populations
                                                                             a. Stake at least 100 trees in small plantations, and
on the areas scheduled to be planted. If populations are large,
                                                                                 1,5-2.5 percent of total planted in large plantations.
provide controls until seedlings become established.
                                                                             b. Staked trees should be aligned across the direction
                                                                                of travel to sample variation due to planters.
                            Records                                          c. Staked trees should be aligned roughly perpen­
                                                                                dicular to the contour to sample topographic
   Adequate data from detailed records are needed to (1) cor­
                                                                                variation.
rect deficiencies causing failure, and (2) recognize good prac­
tices leading to successful plantations. Decisions affecting              4. Determine course of plantation establishment by
regeneration practices can then be based on quantitative in­                 recording survival at the end of the first, and the begin­
formation rather than conjecture. Following are recommen­                    ning of the second and third growing seasons as a
dations suggested by Ronco (1972):                                           minimum; more frequent measurements may be re­
                                                                             quired the first season to adequately understand seed­
    1. Provide a record of plantation establishment: (a) loca-               ling behavior, particularly if experience is lacking.


                                                                                                                                    39
                                                                                       Rvsd Plan - 00005698
        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 132 of 346


     5. Identify and record cause of mortality of or injury to            shoots may wilt under severe dehydration. After
        staked seedlings:                                                 the seedling has died, any remaining needles usual­
        a. Rodent girdling or severing of the stem can usually            ly turn a dark, reddish brown within 7 to 10 days
           be identified (mice, gophers, or porcupines) by the            even if soil moisture becomes available.
            relative size of incisor tooth marks left in woody         f. If seedlings show drought symptoms, the cause can
           tissue.                                                        sometimes be traced to improper planting—loosely
        b. Frost injury can be recognized within a few days               packed soil or doubled roots.
            after freezing by the limp, wilted appearance of cur­      g. Browsing damage by wildlife or livestock can often
            rent growth. The current foliage later turns a light          be determined by the frayed or splintered ap­
            tan or straw color, regardless of the stage of                pearance of severed branches.
            development of the shoot. Older foliage shows no           h. Trampling injury caused by large animals is evi­
            visible injury.                                               dent from broken foliage and tracks near seedlings.
        c. Solarization is most easily detected by the yellow
                                                                    6. Record vigor of staked seedlings as poor, fair, good
           or yellowish-green foliage-symptoms appear first
                                                                       or as otherwise desired for use as a measure of plan­
           in older foliage, but chlorosis is often evident in
                                                                       tation success along with survival data.
           current growth by the end of the growing season.
        d. Snowmold pathogens are readily identified by the         7. Measure or estimate precipitation and general weather
           dense, brown or brownish-black, mycelial mat                conditions for several weeks after planting.
           formed over individual branches or entire
                                                                    8. Record, and most importantly, file data in such a man­
           seedlings.
                                                                       ner that personnel not immediately involved with the
        e. Drought injury can be recognized by the faded,
                                                                       specific plantation can use the information most
           light-green or blue-green, dry and brittle needles,
                                                                       effectively.
           which usually drop off; undeveloped current-year




40
                                                                                  Rvsd Plan - 00005699
    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 133 of 346
Past Cutting History




Figure 33—Two-cut shelterwood that initially removed 60 percent of
the volume in a spruce-fir stand, Fraser Experimental Forest-


   Limited areas of the original spruce-fir forests were logged      cut of a two-cut shelterwood (Alexander 1956, 1963) (fig, 33)
in the late 1800’s to provide fuel, lumber, and timbers for early    (table 12). Net increment was only about one-third of that in
mining camps. Cutting on the National Forests dates back more        uncut stands. Similar results followed heavy partial cutting
than 50 years, but until the 1950’s only relatively small quanti­    elsewhere in the central Rocky Mountains (U.S. Department
ties of timber were harvested. Cutting has accelerated rapidly       of Agriculture 1933), and in the northern Rockies (Roe and
since.                                                               DeJarnette 1965). Even when mortality was not a problem,
   Most cuttings in spruce-fir forests before 1950 in the cen­       heavy partial cutting left the older, decadent stands in a shabby
tral and southern Rocky Mountains were of a type that could          condition, with little appearance of permanent forest cover.
collectively be called “partial cuttings,” They ranged from            Windfall, the principal cause of mortality, increased as the
removal of a few individual trees to removal of all the larger,      intensity of cutting increased. Low stumpage values and the
more valuable trees in the stand. Seedbed preparation was            generally scattered pattern of windfall usually prevented
usually limited to the dismrbance created by logging, and slash      salvage of blowdown after partial cutting. Not only was the
was untreated or lopped. Most skidding was done with horses.         volume of windthrown trees lost, but the combination of down
   In general, heavy partial cutting—usually considered              spruce and overstory shade provided breeding grounds for
necessary to make logging profitable—was not successful as           spruce beetles.
a means of arresting stand deterioration or increasing net in­          Partial cutting was successful—in the sense that the residual
crement on residual trees even though most of these cuttings         stand did not suffer heavy mortality and stands were
successfully regenerated a new stand. For example, residual          regenerated—in some spruce-fir stands where large reserve
stands of spruce-fir in Colorado suffered heavy mortality when       volumes were left in protected locations. In one study in north­
60 percent of the original volume was removed in the first           ern Idaho, windfall losses were light after a partial cutting that

                                                                                         Rvsd Plan - 00005700                       41
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 134 of 346




Table 12~Growth and mortality per acre in relation to cutting treatments, 1944-55, Fraser Experimental Forest (adapted
from Alexander 1963)

                                                                                          Average mortality by cause
                                     Mean annual                                              Bark beetles
      Treatment                       increment                    Windfall                   and diseases                             Miscellaneous

                                                                                   Board feet
Strip clearcutting                         28                        48                            21                                              1
Group selection                            46                        40                            19                                              2
Two-cut sheiterwood                        43                        60                             7                                              2
Uncut                                     116                         7                            57                                              8



left a residual stand of 6,000 board feet (fbm) per acre in a        Table 13—Stocking of spruce and fir seedlings and sap­
sheltered location on deep, well-drained soil (Roe and De­           lings 5 years after partial cutting treatments in 1944,
Jarnette 1965). On the Grand Mesa National Forest in Col­            Fraser Experimental Forest (adapted from Alexander 1963)
orado, where spruce trees are relatively short and there are
no serious wind problems associated with topography, few
trees blew down when about 40 percent of the original volume                                      Seedlings and
                                                                              Treatment             saplings                           Stocking
was removed from two-storied stands, In single-storied stands,
                                                                               species          1944      1949      1959        1944        1949       1959
however, only about 30 percent of the original volume could
be safely removed. On the other hand, heavier partial cutting                                   —■ no./acre-— —-percent-—
that removed 50 percent or more of the original volume per           Group selection:
acre from spruce-fir forests in the dry “rain shadow” of the           Engelmann spruce         1,127     2,111    4,079         35         38          61
Continental Divide on the Rio Grande National Forest did not           Subalpine fir            2,745     3,755    4,154         57         58          80
result in blowdown to the residual stand. However, these two­        Two-cut shelterwood:
storied stands were growing on sites where productivity was            Engelmann spruce         1,411     2,527    3,736         37         48          69
                                                                       Subalpine fir            1,482     2,518    2,919         37         41          77
very low. Individual trees were short, widely spaced, and
therefore relatively windftrm before cutting.
   There are also numerous examples of early cuttings—
between 1910 and 1930—on many National Forests in Col­               Table 14—Stocking of spruce and fir seedlings and sap­
orado where very light partial cutting that removed 10 to 15         lings 10 years after clearcutting in 1956, Fraser Ex­
percent of the stand did not result in substantial windthrow         perimental Forest (adapted from Alexander 1968)
of residual trees. Although an overstory tends to favor fir
reproduction over spruce, regeneration success of spruce has                                        Seedlings and
been acceptable under a wide variety of partial cutting                   Clearcut width              saplings                          Stocking
treatments (table 13) (Alexander 1963, Roe and DeJarnette                    species               1956            1966           1956                 1966
 1965).                                                                                                 ------ no./acre------               ----- percent-----
   In the early 1950’s harvesting shifted to ciearcutting. The        1-cbain wide:
first clearcuttings were in narrow strips (200 to 400 feet wide)        Engelmann spruce           1,360           1,453               47               52
(fig. 34) or small patches or groups that simulated group selec­        Subalpine fir              3,036           3,557               68               70
tion cutting (fig. 35) with little seedbed preparation or slash       2-chaln wide;
disposal. Advanced regeneration was not completely                      Engelmann spruce             894             988               37               46
destroyed. In general, windfall losses were less than after             Subalpine fir              3,289           3,378               75               77
heavy partial cutting, and the cutovers were usually adequately       3-chain wide;
restocked with a combination of surviving advanced and new              Engelmann spruce           2,017           2,386               54               68
reproduction (Alexander 1956, 1957a, 1963, 1966, 1968)                  Subalpine fir              3,186           4,176               70               80
(table 14). By the late 1950’s, the common practice was to            6-chain wide;
clearcut in large blocks, patches, or wide strips. These larger         Engelmann spruce           1,182           1,208               48               52
                                                                        Subalpine fir              4,775           5,306               79               82
openings were justified as being more effective in controlling

42
                                                                                            Rvsd Plan - 00005701
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 135 of 346




Figure 34—Strip clearcutting that removed 50 percent of the volume
                                                                      Figure 35—Group selection that removed 50 percent of the volume
in a spruce-fir stand, Fraser Experimental Forest.
                                                                      in a spruce-fir stand in openings about one tree height in diameter
                                                                      on one-third of the area, Fraser Experimental Forest.


spruce beetles and in reducing logging costs. Slash and cull         ting practices to either some form of partial cutting—usually
material were either broadcast-burned, or dozer-piled or wind-       shelterwood—or a combination of partial cutting and small
rowed and burned. Hazards from fire and insects were re­             cleared openings without complete cleanup of slash and other
duced, but removal of all slash, cull material, and residual         logging debris (Alexander 1973). This shift was necessary
trees left the seedbeds devoid of shade, thereby creating a dif­     because clearcutting large areas often (1) resulted in adverse
ficult microenvironment for the establishment of either natural      visual and environmental impacts, (2) was incompatible with
or artificial regeneration (Roe and others 1970, Ronco 1970a).       the objectives of other forest uses, and (3) led to regeneration
Furthermore, the destruction of desirable advanced reproduc­         failures. Today, spruce-fir forests are harvested by a variety
tion was usually an unnecessary loss of valuable growing stock.      of cutting methods (Alexander 1977, Alexander and Engelby
   In the 197O’s, after nearly 20 years of harvesting spruce­        1983).
fir almost exclusively by clearcutting, there was a shift in cut­




                                                                                       Rvsd Plan - 00005702                         43
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 136 of 346

Old-Growth Management


        Regeneration Silvicultural Systems                         reproduction in one or more operations (fig. 36). It simulates
                                                                   the final harvest of a standard shelterwood. This option can
   Spruce-fir forests can be harvested by clearcutting, shelter­   be used in stands where trees are uniformly spaced or where
wood, and selection cutting, plus their modifications. The seed­   they are clumpy, groupy, or patchy.
tree cutting method is not a suitable method of regenerating           Although many spruce-fir forests have an understory of ad­
spruce-fir stands because of susceptibility to windfall (Alex­     vanced growth that will respond to release after cutting, wide
ander 1977, Alexander and Engelby 1983). The objective of          variations in age, composition, quality, and quantity of ad­
each regeneration system is to harvest the timber crop and ob­     vanced reproduction require careful evaluation of the poten­
tain adequate reproduction. The choice of cutting method           tial for future management. This management potential must
depends on management objectives and environmental con­            be determined before cutting. One course of action is followed
siderations, but stand conditions, associated vegetation, and       if the advanced reproduction is to be managed, another if a
windfall and spruce beetle susceptibility that vary from place      manageable stand is not present, cannot be saved, or the
to place on any area, impose limitations on how individual         manager chooses to destroy it and start over (Roe and others
stands can be handled. Cutting to bring old-growth under            1970).
management is likely to be a compromise, therefore, between
what is desirable and what is possible. Management on many           Prelogging Evaluation—The initial examination must
areas may involve a combination of several partial cutting         answer the following questions: (a) How much of the area is
treatments, clearcutting, and sanitation salvage cutting (Alex­    stocked with acceptable seedlings and saplings, and will that
ander 1973, 1974, 1977).                                           stocking insure a satisfactory replacement stand? (b) Can it
                                                                   be logged economically by methods that will save advanced
                Even-Aged Cutting Methods                          reproduction? (c) Is the timber volume too heavy to save ad­
                                                                   vanced reproduction if it is removed in one cut? (d) How much
  Even-aged cutting methods—clearcutting and shelter­              of the area will require subsequent natural or artificial
wood—have been used almost exclusively in spruce-fir stands        regeneration, either because advanced reproduction is not pres­
since the mid-1950’s because of a number of factors, including     ent or will be destroyed in logging?
the following:                                                        Because any kind of cutting is likely to destroy at least half
                                                                   of the advanced growth, a manageable stand of advanced
  1, Spruce and fir, although tolerant with respect to their       reproduction before cutting should contain at least 600 accept­
     ability to reproduce and grow in shade, frequently do         able seedlings and saplings per acre, at least half of which
     not have the age-class structure normally associated with     should be spruce. There are few data available on the growth
     tolerant species. They often tend to be even-aged or          response of advanced reproduction after release in the central
     even-sized rather than all-aged (LeBarron and Jemison         and southern Rocky Mountains, but in the Intermountain
      1953).                                                       Region, McGaughey and Schmidt (1982) found that both ad­
  2. Many spruce-fir stands are overmature. One way to             vanced spruce and fir made better height growth after clear­
     bring these stands under management is to harvest the         cutting and partial cutting than in the uncut stand. The follow­
     old growth, either in one operation or over a short           ing criteria are therefore based largely on experience and
     period of time, and replace it with a new stand.              observations. To be acceptable, reproduction must be of good
  3. Heavy partial cutting or clearcutting generally reduces       form, able to make vigorous growth when released, and be
     the cost of logging because fixed costs are spread over       free of defect or mechanical injury that cannot be outgrown.
     a greater volume of timber removed.                           Trees more than 4 inches d.b.h. may be acceptable, but they
                                                                   should not be included in the prelogging regeneration survey
   Managed forests are characterized by a distribution of even­    because they are more likely to be damaged or destroyed in
aged stands, with each stand of sufficient acreage to be           logging, or windthrown after logging. Stands or portions of
mapped, located on the ground and scheduled for treatment.         stands not meeting these criteria will have to be restocked
Regulation is accomplished through control of the area in each     subsequently with natural or artificial regeneration (Roe and
size class and length of rotation.                                 others 1970).

Management With Advanced Regeneration                               Cutting and Slash Disposal Treatment To Save Advanced
                                                                   Regeneration—Mature and overmature trees should be cut
  Simulated Shelterwood Cutting—This cutting method                to release advanced reproduction and harvest merchantable
removes the overstory from a manageable stand of advanced          volume. Seed sources need not be reserved from cutting unless

44
                                                                                      Rvsd Plan - 00005703
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 137 of 346

Old-Growth Management


        Regeneration Silvicultural Systems                          reproduction in one or more operations (fig. 36). It simulates
                                                                    the final harvest of a standard shelterwood. This option can
   Spruce~fir forests can be harvested by clearcutting, shelter-    be used in stands where trees are uniformly spaced or where
\vood, and selection cutting, plus their modifications. The seed­   they are clumpy, groupy, or patchy.
tree cutting method is not a suitable method of regenerating            Although many spruce-fir forests have an understory of ad­
spruce-fir stands because of susceptibility to windfall (Alex­      vanced growth that will respond to release after cutting, wide
ander 1977, Alexander and Engelby 1983). The objective of           variations in age, composition, quality, and quantity of ad­
each regeneration system is to harvest the timber crop and ob­      vanced reproduction require careful evaluation of the poten­
tain adequate reproduction. The choice of cutting method            tial for future management. This management potential must
depends on management objectives and environmental con­             be determined before cutting. One course of action is followed
siderations, but stand conditions, associated vegetation, and        if the advanced reproduction is to be managed, another if a
windfall and spruce beetle susceptibility that vary from place      manageable stand is not present, cannot be saved, or the
to place on any area, impose limitations on how individual          manager chooses to destroy it and start over (Roe and others
stands can be handled. Cutting to bring old-growth under             1970).
management is likely to be a compromise, therefore, between
what is desirable and what is possible. Management on many            Prelogging Evaluation—The initial examination must
areas may involve a combination of several partial cutting          answer the following questions; (a) How much of the area is
treatments, clearcutting, and sanitation salvage cutting (Alex­     stocked with acceptable seedlings and saplings, and will that
ander 1973, 1974, 1977).                                            stocking insure a satisfactory replacement stand? (b) Can it
                                                                    be logged economically by methods that will save advanced
                Even-Aged Cutting Methods                           reproduction? (c) Is the timber volume too heavy to save ad­
                                                                    vanced reproduction if it is removed in one cut? (d) How much
   Even-aged cutting methods—clearcutting and shelter­              of the area will require subsequent natural or artificial
wood—have been used almost exclusively in spruce-fir stands         regeneration, either because advanced reproduction is not pres­
since the mid-1950’s because of a number of factors, including      ent or will be destroyed in logging?
the following:                                                         Because any kind of cutting is likely to destroy at least half
                                                                    of the advanced growth, a manageable stand of advanced
  1. Spruce and fir, although tolerant with respect to their        reproduction before cutting should contain at least 600 accept­
      ability to reproduce and grow in shade, frequently do         able seedlings and saplings per acre, at least half of which
     not have the age-class structure normally associated with      should be spruce. There are few data available on the growth
     tolerant species. They often tend to be even-aged or           response of advanced reproduction after release in the central
     even-sized rather than ail-aged (LeBarron and Jemison          and southern Rocky Mountains, but in the Intermountain
      1953).                                                        Region, McGaughey and Schmidt (1982) found that both ad­
  2. Many spruce-fir stands are overmature. One way to              vanced spruce and fir made better height growth after clear­
     bring these stands under management is to harvest the          cutting and partial cutting than in the uncut stand. The follow­
     old growth, either in one operation or over a short            ing criteria are therefore based largely on experience and
     period of time, and replace it with a new stand,               observations. To be acceptable, reproduction must be of good
  3. Heavy partial cutting or clearcutting generally reduces        form, able to make vigorous growth when released, and be
     the cost of logging because fixed costs are spread over        free of defect or mechanical injury that cannot be outgrown.
     a greater volume of timber removed.                            Trees more than 4 inches d.b.h. may be acceptable, but they
                                                                    should not be included in the prelogging regeneration survey
   Managed forests are characterized by a distribution of even­     because they are more likely to be damaged or destroyed in
aged stands, with each stand of sufficient acreage to be            logging, or windthrown after logging. Stand.s or portions of
mapped, located on the ground and scheduled for treatment.          stands not meeting these criteria will have to be restocked
Regulation is accomplished through control of the area in each      subsequently with natural or artificial regeneration (Roe and
size class and length of rotation.                                  others 1970).

Management With Advanced Regeneration                                Cutting and Slash Disposal Treatment To Save Advanced
                                                                    Regeneration—Mature and overmature trees should be cut
  Simulated Shelterwood Cutting—This cutting method                 to release advanced reproduction and harvest merchantable
removes the overstory from a manageable stand of advanced           volume. Seed sources need not be reserved from cutting unless

44
                                                                                         Rvsd Plan - 00005704
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 138 of 346




Figure 36—Simulated shelterwood tn an old-growth spruce-fir stand,
Fraser Experimental Forest.


required for fill-iii stocking. The size, shape, and arrangement
of units cut is not critical from a regeneration standpoint, but
to be compatible with other key uses, they should be no wider
than about five to eight times tree height, irregular in shape,
and should blend into the landscape. Not more than one-third
of any drainage or working circle should be cut over at any
one time where water production and wildlife habitat are im­
portant considerations. The same recommendations for cut­
ting to save the residual, slash disposal, and seedbed prepara­
tion described later under standard shelterwood cutting applies
here.

  Postlogging Evaluation-Regardless of how much care is
taken in logging and slash treatment, a certain amount of ad­
vanced reproduction will be damaged or destroyed. The area
must be surveyed to (1) determine the extent of damage to
the reproduction, and (2) plan stand improvement—cleaning,
weeding, and thinning—to release crop trees. In addition to
whatever trees larger than 4 inches d.b.h. survive intact, at
least 300 well-distributed' acceptable seedlings and saplings
per acre, of which at least half should be spruce, must have
survived to consider the area adequately stocked (fig. 37).
Areas that do not meet these standards will need fill-in or sup­     Figure 37—Adequate stocking of advanced spruce and fir reproduc­
plemental stocking.                                                  tion after simulated shelterwood, harvesting, slash disposal, and stand
  Guidelines are available to aid in marking trees to be cut         improvement, Fraser Experimental Forest.


                                                                                                                                         4.5
                                                                                           Rvsd Plan - 00005705
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 139 of 346




Figure 38—Clearcutting in small patches in an old-growth spruce-fir
stand, Fraser Experimental Forest.



or left (Alexander 1957b). Cutover areas should not be con­           sightly logging debris was left on the ground, and areas were
sidered in an adequate growing condition until the crop trees         not regenerated. The cause of these criticisms can be
are free to grow and the necessary fill-in planting or natural        eliminated if available knowledge is put into practice. From
regeneration is complete (Roe and others 1970)                        a silvicultural point of view, therefore, clearcutting is still an
                                                                      acceptable harvesting method in spruce-fir forests (Alexander
Management for Regeneration After Cutting                             1974, 1977, Alexander and Engelby 1983).
                                                                         Cutting unit layout, logging plans, slash disposal, and seed­
   Clearcutting—This regeneration cutting method harvests             bed treatment should be designed to (1) facilitate seed disper­
the timber crop in one step for the purpose of establishing a         sal, (2) promote seedling survival and establishment, and (3)
new stand. Since a large proportion of the spruce-fir type is         create favorable growing conditions. If natural regeneration
in overmature sawtimber stands that offer little opportunity          fails, plans must then be made to use artificial regeneration
for future management because of their advanced age, relative­        (Roe and others 1970). Clearcutting can be readily adapted
ly slow growth, and susceptibility to wind and insects, forest        to multiple-use land management by judicious selection of size,
managers concerned with timber production have most often             shape, and arrangement of openings in combination with other
elected to convert old growth to managed stands by clearcut­          high-forest cutting practices (Alexander 1974, 1977).
ting in strips, patches, and blocks (fig. 38). Harvesting and            Several factors must be considered when clearcutting. In­
regeneration practices developed in the central Rocky Moun­           cluded are (1) size of opening, (2) windfall, and (3) slash treat­
tains have therefore been directed toward this objective. Much        ment and seedbed preparation.
of the criticism leveled at clearcutting in spruce-fir has a valid
basis, particularly where large openings were cut, geometric             Size of Cutting Unit— Requirements for seed dispersal and
patterns that did not complement the landscape were used, un­         site preparation will influence the size of opening that will

46
                                                                                        Rvsd Plan - 00005706
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 140 of 346


restock naturally. The best seedbed preparation is wasted if
                                                                                                                                     Opening
the seedbed does not receive sufficient seed; likewise, any                                                   Distance                  size
quantity of seed is wasted if it does not fall on a receptive                                                  (feet)             (tree heights)
seedbed (Roe and others 1970). The cutting unit must therefore               Shaded, mineral soil:
be designed so that seed from the surrounding timber margin                      North                        400-450                 5-6
reaches all parts of the opening unless supplementary artificial                 South                         50-100                 1-1'A
regeneration is planned. Effective seeding distance and aspect               Unshaded, mineral soil:
determine the size of opening.                                                  North                         300-350                4-5
                                                                                 South                           0                    0
  The tabulations below are guides developed for the central                 Shaded, natural:
Rocky Mountains. They are based on 20 years of seed pro­                         North                        300-350                 4-5
duction and dispersal data from six areas in Colorado (table                     South                         50-100                 1-1 'A
7) (Alexander 1969, Alexander and Edminster 1983, Alex­                      Unshaded, natural:
ander and others 1982, Noble and Ronco 1978), and 5 years                       North                            0                     0
                                                                                South                            0                     0
of spruce survival data from the Fraser Experimental Forest
in Colorado in an Abies lasiocarpa/Vaccinium scoparium
                                                                               Based on these seeding distances, the following conclusions
habitat type (table 11) (Alexander 1983, 1984). Effective
                                                                             can be drawn:
seeding distance, as used here, is defined as the distance to
which sufficient sound seed is dispersed to provide 800 five-
                                                                                 1. Clearcutting with natural regeneration is most likely
year-old seedlings —a desirable stocking goal for Engelmann
                                                                                    to succeed on north and east aspects, if the right com­
spruce (Alexander and Edminster 1980)—on (1) mineral soil
                                                                                    bination of mineral soil and shade has been created.
seedbeds where competition from competing vegetation has
                                                                                    Even then, more than one good seed year will likely
been eliminated, and with 50 percent overhead shade; (2)
                                                                                    be required to obtain adequate restocking.
mineral soil seedbeds where competing vegetation has been
removed; (3) natural seedbeds with 50 percent overhead shade;                    2. Ciearcutting on south and west aspects is not likely
and (4) natural seedbeds. Protection from rodents was pro­                          to result in an acceptable stand of new reproduction
vided for all treatments. The numbers of viable seeds required                      in a reasonable period of time, even with favorable
to produce 800 five-year-old seedlings in relation to seedbed                       seedbed and environmental conditions, without fill-in
and aspect are:                                                                     planting to bring reproduction to the minimum accept­
                                                                                    able standard.

         Shaded mineral soil:
                                                                                 3. Where larger openings than shown are cut on north
             North................................................ 25,600           and east aspects, it will be necessary to plant the area
             South................................................ 272,800          beyond the effective seeding distance.
         Unshaded mineral soil:
             North................................................ 57,600        4, Where the seed source is of poor quality, plan to plant
             South................................................    *»            the cutovers.
         Shaded, natural:
             North................................................ 60,800       Similar guides developed for Intermountain Region condi­
             South................................................ 249,600
         Unshaded, natural;
                                                                             tions by Roe and others (1970) suggest that openings larger
             North................................................ 333,600   than indicated here (up to 660 feet or about 8 times tree height)
             South...................................................    "   can be restocked on north aspects if the seed source contains
                                                                             200 or more square feet of basal area in spruce trees 10 inches
   The estimated maximum distance that can be seeded from                    d.b.h, and larger, but openings of only 200 to 400 feet wide
all sides and maximum size of opening that can be restocked                  are likely to restock on south aspects. Effective seeding
in 5 years on two aspects, based on an accumulative 5-year                   distance with a light seed source (70 square feet of basal area
seed production of 500,000 sound seeds per acre, is shown                    or less) will vary from 0 to 200 feet on north aspects and be
below (Alexander 1983,1984; Alexander and Edminster 1983;                    0 on other aspects.
Alexander and others 1982):
                                                                               Windfail- A significant consideration in the location of cut­
                                                                             ting unit boundaries is windfirmness. Not only are trees along
'Based on sample plots of 1/300 acre, 40 percent of 120 should be stocked    margins of openings the principal source of seed for regenera­
  in order to consider regeneration well distributed.                        tion, but they also provide ideal breeding grounds for spruce


                                                                                                                                               47
                                                                                                  Rvsd Plan - 00005707
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 141 of 346



                                                                    beetles when windthrown. The following guidelines for
                                                                    minimizing windfall around the perimeter of clearcut open­
                                                                    ings were developed in Colorado (Alexander 1964, 1967b,
                                                                    1974).

                                                                       1. Protection from wind for the vulnerable leeward boun­
                                                                          daries is most important.
                                                                       2. Do not locate cutting boundaries where they will be
                                                                          exposed to accelerated winds funneling through sad­
                                                                          dles in ridges to the south and west of the cutover area,
                                                                          especially if the ridges are at high elevations (fig. 14),
                                                                          Success in reducing blowdown from that kind of ex­
                                                                          posure depends upon the ability of the forester who
                                                                          lays out the cutting-unit boundaries to recognize ex­
Figure 39—Clearcut opening directly below a saddle where wind
vortexing can occur and increase the biowdown risk.                       ceptionally hazardous situations.
                                                                       3. Avoid locating cutting boundaries on ridges or directly
                                                                          below saddles in ridges (fig. 39), especially ridgetops
                                                                          of secondary drainages to the lee and at right angles
                          NO                                              to the main drainage when the latter is a narrowing
                                                                          valley with steep slopes. One cutting unit should strad­
                                                                          dle each ridgetop and extend downslope in both direc­
                                                                          tions for a distance of at least 200 feet. That unit may
                                                                          be cut or uncut. Such an arrangement will avoid leav­
                                                                          ing a cutting boundary on the top of a ridge (fig. 40).
                                                                       4. Where topography, soils, and stand conditions will
                                                                          permit, lay out each clearcut unit so the maximum
                                                                          amount of cutting boundary is parallel to the contour
                                                                          or along a road (fig. 41).
                                                                       5. Do not lay out cutting units with dangerous windcatch­
Figure 40—Clearcut unit boundary on a ridgetop where the risk of          ing indentations (fig. 42) or with long, straight lines
blowdown is increased.                                                    and square comers in the leeward boundary or in boun­
                                                                          daries that are parallel to storm winds. V- or U-shaped
                                                                          indentations in the boundary can funnel wind into the
                                                                          reserve stand. Long, straight, cutting boundary lines
                                                                          and square corners also deflect the wind and cause in­
                                                                          creased velocities, especially where the deflected cur­
                                                                          rents converge like a windstream when flowing over
                                                                          a crest. Irregular cutting boundaries without sharp in­
                                                                          dentations or square corners lessen the opportunity for
                                                                          deflection and funneling of air currents,
                                                                       6. Do not locate boundaries on poorly drained or shallow
                                                                          soils. Trees grown under these conditions are shallow
                                                                          rooted and susceptible to windthrow.
Figure 41—Clearcut unit boundaries laid out across the slope that      7. Locate cutting boundaries in stands of sound trees.
expose the short dimension of the unit to the wind help reduce            Trees with decayed roots and boles or root systems
blowdown.                                                                 that were cut or torn during road building or log skid­
                                                                          ding operations are poor windfell risks.



48
                                                                                       Rvsd Plan - 00005708
        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 142 of 346



   8. Locate cutting boundaries in immature stands when
      possible. Stands of young trees are usually less easily
      uprooted by strong winds.
   9.    Locate cutting boundaries in poorly stocked stands.
         Open-grown trees are more windfirm than trees grown
         in dense stands.
  10. Avoid locating cutting boundaries in areas where there
      is evidence of old prelogging blowdowns.
  11. Reduce blowdown in areas with exceptionally hazard­
      ous windfall potential by locating the vulnerable lee­
      ward boundaries where hazards are below average, or
      by eliminating those boundaries by progressive cut­
      ting into the wind.

  Slash Treahnent and Site Preparation—There are a number
of things to consider when planning the treatment of spruce
slash: (1) slash 8 inches in diameter or larger provides a habitat
for spruce beetles; (2) slash provides beneficial shade for ger­      Figure 42—Irregular cutting boundaries without sharp indentations
                                                                      or square corners help reduce blowdown.
mination and seedling establishment; (3) in heavy concentra­
tions, it obstructs natural seedling establishment; and (4) it
creates an adverse visual impact (Alexander 1974).                    with brush blades can be used. A complete cleanup job is
   Burning slash in large concentrations such as windrows or          neither necessary nor desirable. There is a double advantage
piles often creates enough heat in the soil to inhibit the develop­   in not cleaning up too thoroughly: first, residual tops and slash
ment of any kind of plant growth for an unknown period of             shade the seedbed; second, residual organic material reduces
time. Windrows or piles should therefore be small or narrow,          soil erosion. Cut green spruce material over 8 inches in
and should cover a minimum proportion of the area (Roe and            diameter should be removed or treated to prevent the buildup
others 1970).                                                         of spruce beetle populations, but fir material may be left. On
   Mineral soil can be exposed by mechanically scarifying the         highly erodible soils, disking or a similar procedure that in­
ground surface, sometimes in connection with slash disposal,          corporates the organic material with mineral soil is preferred.
or by broadcast burning. To be effective, broadcast burning           Some of the larger debris may then be pushed back on the
should consume most but not necessarily all of the duff or            scarified area for protection from erosion, and walked over
organic material on the ground. On the other hand, it should          to break it down (Alexander 1974, Roe and others 1970).
not burn so intensely that all fuel is consumed, a deep layer
of loose ash accumulates, the mineral soil changes color, or            Standard Shelterwood Cutting—This regeneration cutting
the rocks fracture. It must leave cull logs, tops, and other large    method harvests a timber stand in a series of cuts. In a stan­
slash to provide shade and protection for soil and seedlings.         dard shelterwood, regeneration of the new stand occurs under
Timing of the burn is exceedingly important. The spruce type          the shade of a partial overstory canopy. The final harvest
is generally so cool and moist that times when effective broad­       removes the shelterwood and permits a new stand to develop
cast burns can be achieved are limited. The key to the time           in the opening. In a group shelterwood (a modification of the
to burn is the moisture content of the duff—it must be dry            shelterwood method), regeneration of the new stand occurs
enough to be consumed. If only the surface is dry, a blackened        in small openings that leave standing trees around the margins
organic layer that inhibits seedling establishment will remain        as a seed source. Openings are too small (2 acres or less) to
(Roe and others 1970).                                                be classified as clearcuts. This kind of cutting has been called
   Careful mechanical scarification will prepare a satisfactory       a modified group selection, but differs from a selection cut
seedbed if it exposes mineral soil and destroys some of the           in the way the growing stock is regulated.
competing vegetation, but leaves shade protection. At least             These cutting methods may be the only even-aged options
40 percent of the area should be left as exposed mineral soil.        available to the manager where (1) multipie-use considerations
It may be necessary, however, to rearrange some of the                preclude clearcutting, (2) combinations of small cleared open­
 residual slash to provide adequate shade. Tractors equipped          ings and high forests are required to meet the needs of various

                                                                                                                                    49
                                                                                         Rvsd Plan - 00005709
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 143 of 346


uses, or (3) areas are difficult to regenerate after clearcutting.
However, windfall, insects, and stand conditions impose
limitations on how stands can be managed. A careful appraisal
of the capabilities and limitations of each stand is necessary
to determine cutting practices. Furthermore, shelterwood cut­
ting requires careful marking of individual trees or groups of
trees to be removed, and close supervision of logging. The
following recommendations for shelterwood cutting practices
are keyed to broad stand descriptions based largely on ex­
perience, windfall risk situations, and insect problems (Alex­
ander 1973, 1974). Practices needed to obtain natural
reproduction are also discussed.

 I. Single-storied stands
    A. Description
         1. Stands appear to be even-aged (fig. 43), but
             usually contain more than one age class. The
             canopy may not be of a uniform height because
             of changes in topography or stand density,
        2. Codominant trees form the general canopy
             level. Dominants 5 to 20 feet above the general
             canopy. Taller intermediates extend into the
             general canopy; shorter intermediates are
             below, but do not form a second story.
         3. Uniform diameters and crown length of
             dominants and codominants.
        4, Few coarse-limbed trees. If two-aged or more,
             younger trees have finer branches and smaller
             diameters than older trees.                             Figure 44—A uniformly spaced spruce-fir stand.
        5. Trees usually uniformly spaced.
        6. A manageable stand of advanced reproduction
             usually absent.
        7. Lodgepole pine absent or sparse.                          Original Stand
    B. Recommended cutting treatments
         1. If windfall risk is low, and trees uniformly
             spaced (fig. 44)—
             a. The first cut removes about 30 percent of
                 the basal area on an individual tree basis
                 (fig. 45). This is the first or preparatory
                 cut of a three-step shelterwood. Because all
                                                                     30% Cut
                                                                                         I
                 overstory trees are about equally suscepti-         5-10 Years
                                                                     Seed Cut




                                                                     Removal Cut




                                                                     Figure 45—Sequence of entries with a three-cut shelterwood in a
                                                                     uniformly spaced, single-storied spruce-fir stand in a low windfall risk
Figure 43—A single-storied spruce-fir stand.                         situation.


50
                                                                                        Rvsd Plan - 00005710
        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 144 of 346




Figure 46—Trees around the perimeter of a natural opening should
be left uncut until the final entry.


                 ble to windthrow, maintain the general                first cut. This cut removes about 30 per­
                 canopy level by removing some trees from               cent of the original basal area on an in­
                 each crown class. Remove first trees with             dividual tree basis, and is the seed cut of
                 known indicators of defect, but avoid                 a three-step shelterwood. Reserve the
                 creating openings in the canopy larger than           largest and most vigorous dominants and
                 one tree height in diameter by distributing           codorainants as seed sources, but distribute
                 the cut over the entire area. Do not remove           the cut over the entire area to avoid cut­
                 dominant trees in the interior of the stand           ting openings in the canopy.
                 that are protecting other trees to their           c. The last entry is the final harvest that
                 leeward if these latter trees are to be re­           removes the remaining overstory. It should
                 served for the next cut. In these, and all            not be made until a manageable stand of
                 other stands described where natural open­            reproduction has become established, but
                 ings of one to several acres occur, leave             the cut should not be further delayed
                 the trees around the perimeter for a distance         because the overwood hampers the later
                 of about one tree height until the final en­          growth of seedlings.
                 try. These trees are usually windfirm, and         d. The manager also has the option of remov­
                 protect trees in the interior of the stand (fig.      ing less than 30 percent of the basal area
                 46).                                                  at any entry and making more entries, but
              b. The second entry into the stand should not            they cannot be made more often than every
                 be made for at least 5 to 10 years after the          5 to 10 years.


                                                                                                                51
                                                                         Rvsd Plan - 00005711
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 145 of 346




                                                                 Figure 48—A groupy spruce-fir stand.




                                                                 Original Stand



                                                                 initial Cut
                                                                 30% Cut



                                                                 Second Cut




                                                                 Removal Cut



                                                                 Figure 49—Sequence of entries with a group shelterwood in a clumpy,
Figure 47—A clumpy spruce-fir stand.                             single-storied spruce-fir stand with low wind risk.


         2. If windfall risk is low, and trees are clumpy
                                                                                       groups. Timing of this cut depends upon
            (fig. 47) or groupy (fig. 48)—
                                                                                       the regeneration method chosen for the new
            a. The first cut is a group shelterwood that
                                                                                       openings. If natural regeneration is chosen,
                 removes about 30 percent of the basal area.
                                                                                       the final harvest must be delayed until the
                 Harvesting timber in groups will take ad­
                                                                                       regeneration in the openings cut earlier is
                 vantage of the natural arrangement of the
                                                                                       large enough to provide a seed source;
                 trees. Group openings should be kept
                 small—not more than one or two tree                                   otherwise, the openings must be planted.
                 heights in diameter—and not more than
                                                                                  d. The choice may be to remove less than 30
                 one-third of the area should be cut over
                                                                                       percent of the basal area and cut over less
                                                                                       than one-third of the area at any one time.
                 (fig. 49). All trees in a clump should be
                                                                                       This will require more entries, but no
                 either cut or left because removing only
                                                                                       subsequent cut can be made until the
                 part of the clump is likely to result in
                                                                                       previous openings have regenerated.
                 windthrow.
                                                                               3. If windfall risk is above average (moderate),
            b. The second entry into the stand should not
                 be made until the first group of openings                        and trees are uniformly spaced, there are two
                                                                                  alternatives.
                 has regenerated. This cut can remove about
                 30 percent of the original basal area without                     Alternative 1 (fig. 50):
                 cutting over more than an additional one-                         a. The first cut is a preparatory cutting that
                 third of the area. Openings should be no                              removes about 10 percent of the basal area
                 closer than about one to two tree heights                             on an individual tree basis to open up the
                 to the original openings,                                             stand, but also to minimize windfall risk
            c. The final entry removes the remaining                                   to the remaining trees. This cutting

52
                                                                                       Rvsd Plan - 00005712
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 146 of 346




 Original Stand                                                      Original Stand


 10% Cut                                                             3 Light Cuts
                                                                     5-10 Years Apart
                                                                     10% Each Cut

 5-10 Years
 15-20% Cut                                                          10 Years
                                                                     30-40% Cot


                                                                     10 Years
                                                                     Removal Cut


 Removal Cut                                                         Figure 51—Sequence of entries for alternative 2 with a shelterwood
                  Alt                                  *4^*          in a uniformly spaced, single-storied spruce-fir stand with above
                                                                     average wind risk.
Figure 50—Sequence of entries for alternative 1 with a shelterwood
in a uniformly spaced, single-storied spruce-fir stand with above
average wind risk.
                                                                                         50 percent of the original basal area will
                                                                                         be removed, and if it is more than 10,000
                  resembles a sanitation cut in that the                                 fbm per acre, it is too heavy to be removed
                  poorest risk trees are removed, but the                                in one harvest without undue damage to the
                  general canopy level is maintained,                                    reproduction. The manager must plan on
               b. The second entry can be made in about 10                               a two-step final harvest; the second step can
                  years, and removes 15 to 20 percent of the                             begin as soon as the skidding is finished in
                  original basal area on an individual tree                              the first step, providing a manageable stand
                  basis. Any windfall salvaged after the first                           of reproduction still exists.
                  cut should be included in the computation
                  of basal area removed. This preparatory                           Alternative 2 (fig. 51)---Alternative 2 is
                  cut will continue to open up the stand                              somewhat risky because it increases the changes
                  gradually while preparing the stand for the                         of blowdown, but it does encourage a better
                  seed cut. Trees marked for removal should                           stand of reproduction;
                  come from the intermediates and small                               a. The first entry is the same as under Alter­
                  codominants, but maintain the general                                   native 1.
                  canopy level.                                                       b. The second and third entries are made at
               c. Another 5 to 10 years will be required to                               5- to 10-year intervals. Each entry removes
                  determine if the stand is windfirm enough                               about 10 percent of the basal area. The ob­
                  to make another entry. This entry is the                                jectives are still to open up the stand,
                  seed cut that removes about 15 to 20 per­                               minimize windfall risk, and remove the
                  cent of the original basal area, including                              poorest risk trees.
                  any windfalls salvaged since the last cut­                          c. The fourth entry will be made about 10
                  ting. Reserve the largest and most vigorous                             years after the third entry, and is the seed
                  dominants and codominants as a seed                                     cut that removes 30 to 40 percent of the
                  source, but distribute the cut over the en­                             basal area, including windfalls salvaged
                  tire area.                                                              since the last cutting. Leave the largest and
               d. The last entry is the final harvest that                                most vigorous dominants and codominants
                  removes the remaining overstory. It can­                                as a seed source, but distribute the cut over
                  not be made until a manageable stand of                                 the entire area.
                  reproduction has been established. About                            d. The last entry is the final harvest that


                                                                                                                                    53
                                                                                          Rvsd Plan - 00005713
         Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 147 of 346


                  removes the remaining 30 to 40 percent of                           larger than regeneration requirements dictate,
                  the basal area. It cannot be made until there                       and should be interspersed with uncut areas of
                  is a manageable stand of reproduction.                              at least equal size. No more than one-third of
          4, If windfall risk is above average and trees are                          the total area should be cutover at one time.
             clumpy (fig. 52)-~
             a. The first cut removes about 10 to 20 per­              II.   Two-storied stands
                  cent of the basal area in a group shelter­                 A. Description
                  wood (fig. 52). Diameter of group open­                       1. Stands appear to be two-aged (fig. 53), but
                  ings should be no larger than one tree                            usually contain more than two age classes,
                  height, with not more than one-fifth of the                   2. Top story is usually spruce and resembles a
                  area cut over. All trees in a clump should                        single-storied stand.
                  be cut or left. In stands with small natural                  3. Second story, often fir, is younger and smaller
                  openings, they can be enlarged one tree                           in diameter, and always below the top story and
                  height by removing clumps of trees to the                         clearly distinguishable from the overstory.
                  windward.                                                     4. May be a manageable stand of advanced
             b. Four additional entries into the stand can                          reproduction.
                  be made at periodic intervals, but no new                     5. Individual trees vary from uniformly spaced to
                  entry should be made until the openings cut                       clumpy.
                  the previous entry have regenerated. The                      6. Lodgepole pine is absent or sparse.
                  last groups to be removed should be                        B. Recommended cutting treatments—-same as for
                  retained until the original group openings                    three-storied stands.
                  are large enough to provide a seed source.
                  About 20 percent of the basal area should           in.    Three-storied stands
                  be removed over about one-fifth of the area                A.   Description
                  at each entry.                                                  1. Stands appear to be three-aged (fig. 54), but
          5, If the windfall hazard is very high, the choice                         usually contain more than three age classes. Oc­
             is limited to removing all the trees or leaving                         casionally two-aged, but never all-aged.
             the area uncut. Cleared openings should not be                       2. If the stand is three-aged or more, top story is
                                                                                     predominantly spruce and resembles an open-
                                                                                     grown single-storied stand. Second and third


Original Stand



 10-20% Cut



 10-20% Cut
                                                                      Figure 53—A two-storied spruce-fir stand.


 10-20% Cut



 10-20% Cut




Figure 52—Sequence of entries with a group shelterwood in a clumpy,
single-storied spruce-fir stand with above average windfall risk,     Figure 54—A three-storied spruce-fir stand.


54

                                                                                          Rvsd Plan -00005714
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 148 of 346
          stories usually have younger and smaller trees,              and codominants. The timing of the second
          predominantly fir. In a typical stand, second                cut is not critical from a regeneration stand­
          story is 10 to 30 feet below top story. Third                point, providing a manageable stand of
          story is 10 to 30 feet below the second story.               reproduction still exists after the first cut.
     3. If two-aged, the first two stories are old growth         d. The manager may elect other options like
          with spruce in the top story and fir in the sec­             cutting less than the recommended basal
          ond story. Third story will be younger and                   area, making more entries, and spreading
          smaller fir.                                                 the cut over a longer period of time.
     4. May be a manageable stand of advanced                          Another option is to convert these stands
          reproduction.                                                to an uneven-aged structure by cutting 10
     5. More often clumpy than uniformly spaced.                       to 20 percent of the basal area at 10- to
     6. Lodgepole pine is usually absent or sparse.                    20-year intervals. Ultimately the stand will
B.   Recommended cutting treatments (two- and three­                   contain a series of age classes.
     storied stands)—Trees in the overstory are usually        2. If windfall risk is low, and trees are clumpy
     more windfirm than those in single-storied stands.           (fig. 56)-
     Second and third stories are likely to be less wind­         a. The first cut removes about 40 percent of
     firm than top story.                                              the basal area in a group shelterwood cut­
     1. If windfall risk is low, and trees are uniformly               ting (fig. 56). Group openings can be larger
          spaced (fig. 55)—                                            (two or three times tree height) than for
          a. The first cut removes about 40 percent of                 single-storied stands, but no more than one-
               the basal area (fig. 55). This cutting is               third of the area should be cutover. Group
               heavy enough to be the seed cut of a two-               openings should be irregular in shape, but
               step shelterwood, but marking follows the               without dangerous windcatching indenta­
               rules for individual tree selection. Because            tions in the edges. All trees in a clump
               the overstory is likely to be more windfirm,            should either be cut or left.
               leave selected dominants and codominants           b. Two additional entries can be made. They
               as a seed source. Distribute the cut over the           each remove about 30 percent of the
               entire area to avoid cutting holes in the               original basal area in openings two to three
               canopy larger than one tree height in                   times tree height in diameter. Not more
               diameter. Do not remove dominant trees                  than one-third of the area should be cutover
               from the interior of the stand that protect             at any one time. If there is not a
               trees to their leeward if these latter trees            manageable stand of advanced reproduc­
               are to be reserved for the next cut.                    tion, the manager must wait until the first
          b. The second entry is the final harvest that                group of openings is regenerated before ad­
               removes the remaining stand and releases                ditional cutting. Furthermore, cutting of the
               reproduction. It cannot be made until the               final groups must be delayed until there is
               reproduction is established. If the residual            a seed source or the openings must be
               volume is greater than about 10,000 fbm                 planted. If there is a manageable stand of
               per acre, make thefi/ial harvest in two steps           advanced reproduction, the timing between
               to avoid undue damage to reproduction.                  cuts is not critical from a regeneration
               The second step can begin as soon as the                standpoint,
               skidding is finished in the first step, pro­       c. The manager has the option of removing
               viding that a manageable stand of reproduc­             less than the recommended basal area and
               tion still exists.                                      cutting less than the recommended area at
         c. If there is a manageable stand of advanced                 any one time, which will require more en­
              reproduction and overstory volume is not                 tries and spread the cut over a longer time.
              too heavy, the first cut can be simulated        3. If windfall risk is above average, and trees are
              shelterwood that removes all the overstory.         uniformly spaced (fig. 57)—
              Otherwise, the first cut can remove 40 per­         a. The first entry is a preparatory cut that
              cent of the basal area on an individual tree             removes up to 20 percent of the basal area
              basis leaving the most windfirm dominants                on an individual tree basis if there is not

                                                                        Rvsd Plan - 00005715                      55
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 149 of 346



                                                                                a manageable stand of advanced reproduc­
Original Stand                                                                  tion. Remove predominants, intermediates
                                                                                with long dense crowns, and defective trees
                                                                                first, but maintain the general canopy level.
                                                                                This cut opens up the stand while minimiz­
Seed Cut
40% Cut                                                                         ing windfall risk to residual trees.
                                                                            b. The second cut should be made in about 10
                                                                                years. This entry, the seed cut, removes
Removal Cut                                                                     about 40 percent of the original basal area,
10-20 Years                                                                     including the salavage of any windfalls that
                                                                                have occurred. Reserve the best dominants
Figure 55—Sequence of entries with a two-cut shelterwood in a
                                                                                and codominants as a seed source, but
uniformly spaced, two-or three-storied spruce-fir stand with low wind           distribute the cut over the entire area.
risk.                                                                       c. The last entry is the final harvest that
                                                                                removes the remaining merchantable
                                                                                volume and releases the new reproduction.
                                                                                If the volume of the residual stand is too
Original Stand
                                                                                heavy, the final harvest should be in two
                                                                                steps.
                                                                            d. If these stands have a manageable stand of
40% Cut                                                                         reproduction, and the volume per acre is
                                                                                not too heavy, the first cut can be simulated
                                                                                shelterwood that removes the overstory. If
                                                                                the volume is too heavy for a one-step
30% Cut
                                                                                removal, the manager should follow the
                                                                                above recommendations because the wind
                                                                                hazard is too great to permit a two-step
30% Cut                                                                         removal in a stand not previously opened
                                                                                i^P-
                                                                         4. If windfall risk is above average, and trees are
Figure 56—Sequence of entries with a group shelterwood tn a clumpy,         clumpy—
two- or three-storied spruce-fir stand with low wind risk.                  a. The first cut is a group shelterwood that
                                                                                removes about 25 percent of the basal area
                                                                                (fig. 58). Group openings are small—not
Original Stand
                                                                                more than one or two tree heights in
                                                                                diameter—and not more than one-fourth of
                                                                                the area should be cutover. All trees in a
                                                                                clump should either be cut or left. Small
20% Cut                                                                         natural openings can be enlarged one or
                                                                                two tree heights by removing trees in
                                                                                clumps to windward of the opening.
to Years                                                                    b. Three additional entries should be made.
40% Cut                                                                         About 25 percent of the original basal area
                                                                                is removed on about one-fourth of the area
                                                                                in each entry. The interval between cuts
10 Years                                                                        will depend upon the time required to
40% Cut
                                                                                regenerate each series of openings. The
                    4.41A                                                       manager must either delay the removal of
Figure 57—Sequence of entries with a shelterwood in a uniformly                 the final groups until a seed source is
spaced, two- or three-storied spruce-fir stand with above average wind          available or plant the openings.
risk,                                                                    5. If windfall risk is very high, the choice is

56
                                                                                Rvsd Plan - 00005716
        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 150 of 346


              usually limited to removing all trees or leav­
              ing the area uncut. Cleared openings should not    Original Stand
              be larger than regeneration requirements dic­
              tate, and interspersed with uncut areas. Not
              more than one-third of the total area in this      25% Cut
              windfall risk situation should be cut at any one
              time.

IV. Multistoned stands                                           25% Cut
    A. Description
        1. Stands generally uneven-aged (fig. 59) with a
            wide range in diameters.
        2. If the stand developed from relatively few in­        25% Cut

            dividuals, overstory trees are coarse limbed and
            fill-in trees finer limbed.
        3. If the stand developed from the deterioration         25% Cut
            of a single- or two-storied stand, overstory trees                                 -iliiUjL
            may be no lirnbier than fill-in trees.
        4. Almost always a manageable stand of                   Figure 58—Sequence of entries with a group sheiterwood in a clumpy,
                                                                 two- or three-storied spruce-fir stand with above average wind risk.
            reproduction.
        5. Fill-in tiees may be clumpy, but overstory trees
            usually are uniformly spaced.
        6. Lodgepole pine may occur as a scattered com­
            ponent of the stand.
    B. Recommended Cutting Treatments—These are
        usually the most windfirm stands, even where they
        have developed from the deterioration of single- and
        two-storied stands.                                      Figure 59—A mulfistoded spruce-fir stand.
        1. If windfall risk is low, there is considerable
            flexibility in harvesting these stands. All size
            classes can be cut, with emphasis on either the       Modifications to Cutting Treatments Imposed by Spruce
            largest or smallest trees. For example, the first    Beeties-
            cut can range from removal of all large trees          1. If spruce beetles are present in the stand at an endemic
            in the overstory to release the younger grow­             level, or in adjacent stands in sufficient numbers to make
            ing stock, to a thinning from below to improve            successftil attacks, and—
            the spacing of the larger trees (fig. 60). If the         a. Less than the recommended percentage of basal area
            manager elects to make a simulated shelterwood                 to be removed is in susceptible trees, any attacked
            that removes the overwood, and the volume is                   and all susceptible trees should be removed in the
            too heavy, it should be harvested in two steps.                first cut. This will include most of the larger spruce
            Cutting can then be directed toward either even-               trees and is a calculated risk, especially in above­
            or uneven-aged management, with entries made                   average wind risk situations. Furthermore, the
            as often as growth and regeneration needs                      percentage of fir in the stand will increase. Provi­
            dictate.                                                       sion should be made to salvage attacked trees. The
        2. If the windfall risk is above average or very                   remaining cuts should be scheduled in accordance
            high, the safest first cut is a simulated shelter­             with windfall risk, insect susceptibility, and
            wood that removes the overwood with a thin­                    regeneration needs (Alexander 1974).
            ning from below to obtain a widely spaced,                b. More than the recommended percentage of basal
            open-grown stand that will be windfirm (fig.                   area to be removed is in susceptible trees, the
            61). Cutting can then be directed toward either                manager has three options: (1) remove all the
            even- or uneven-aged management.                               susceptible trees, (2) remove the recommended
                                                                           basal area in attacked and susceptible trees and ac-

                                                                                                                                   -57
                                                                                       Rvsd Plan - 00005717
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 151 of 346



                                                                          and after each entry with group shelterwood to determine the
                                                                          need for supplemental stocking. The same criteria used to
Original Stand
                                                                          evaluate advanced reproduction with a simulated shelterwood
                                                                          applies here.
First Cut Options                                                          Protection begins with a well-designed logging plan at the
1. Overwood Removal                                                     time of the first cut. Logging equipment must be suited to the
                                                                         terrain. To minimize damage, skidroads must be laid out—
                                                                         about 200 feet apart, depending on the topography—and
2. Thirt From Below                                                      marked on the ground (fig. 63). These skidroads should be
                                                                         kept narrow, and located so that they can be used to move
                                                                         logs out of the woods at each cut. Close supervision of log­
Figure 60—Options tor the first entry into a multistoried spruce-fir    ging will be required to restrict travel of skidding and other
stand with low wind risk.
                                                                        logging equipment to the skidroads. In shelterwood cuttings,
                                                                        trees should be felled into openings as much as possible using
                                                                        a herringbone pattern that will permit logs to be pulled onto
                                                                        the skidroads with a minimum of disturbance (Alexander
                                                                         1957a, 1974; Roe and others 1970), Where it may be necessary
Original Stand                                                          to deviate from the herringbone felling angle in order to drop
                                                                        trees into openings, the logs will have to be bucked into short
                                                                        lengths to reduce skidding damage. Trees damaged in felling
Overwood                                                                and skidding should not be removed if they are still windfirm.
Removal and                                                             The felling pattern should be similar in group shelterwood cut­
Thin From Below
                                                                        ting, where a manageable stand of reproduction has been
                                                                        established after previous entries. Otherwise all trees should
Figure 61—First entry into a multistoried spruce-fir stand with above   be felled into the openings. Both shelterwood cuttings require
average to high wind risk.
                                                                        close coordination between felling and skidding because it may
                                                                        be necessary to fell and skid one tree before another tree is
                                                                        felled (Alexander 1974).
           cept the risk of future losses, or (3) leave the stand
           uncut. If the stand is partially cut or left uncut, sur­
                                                                           Slash Disposal and Seedbed Preparation—Some slash
           viving spruce would probably make up at least half
                                                                        disposal will probably be needed after each cut, but it should
           of the residual basal area, but most of the merchant­
                                                                        be confined to areas of heavy concentrations as required for
           able spruce would be small-diameter trees (Alex­
                                                                        protection from fire and insects or the reduction of visual im­
           ander 1974).
                                                                        pact because most equipment now available for slash disposal
  2. If the stand is sustaining an infestation that is building         is not readily adaptable to working in shelterwood cuttings.
     up, the manager may choose to either partially cut or              Care taken in logging is wasted if residual trees are damaged
     leave the stand uncut because clearcutting is unaccept­            and reproduction destroyed in slash disposal. Furthermore,
     able but must accept the risk of an outbreak that will             burning of slash will cause additional damage to the residual.
     destroy most of the merchantable spruce in the stand               Skid out as much of the sound dead and green cull material
     and spread to adjacent stands (Alexander 1974).                    as possible for disposal at the landings or at the mill. Some
                                                                        hand-piling or hand-scattering may be needed where slash
   Cutting To Save the Residual—In shelterwood cutting, pro­            disposal equipment cannot be used. In group shelterwood cut­
tection of the residual stand from logging damage is a primary          ting, if a manageable stand of reproduction has not been
concern (fig. 62). The residual includes merchantable trees             established, dozers equipped with brush blades can be used
left after standard shelterwood and reproduction established            to concentrate slash for burning in the openings. Piles should
after the seed cut in standard shelterwood and after each cut           be kept small to reduce the amount of heat generated. Leave
in group shelterwood. Before the final harvest is made with             some of the larger pieces of slash and other debris in place
standard shelterwood, and before each entry with group                  to provide shade for new seedlings. Remove cut green spruce
shelterwood, the manager must determine if there is an ac­              material larger than 8 inches in diameter to reduce the buildup
ceptable stand of reproduction. Furthermore, the manager must           of spruce beetle populations (Alexander 1974).
reevaluate the stand after final harvest in standard shelterwood           On areas to be regenerated, a partial overstory canopy of

58

                                                                                          Rvsd Plan - 00005718
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 152 of 346




Figure 62—Save the residual stand when partial cutting.           Figure 63—Schematic drawing of layout of skid roads and felling
                                                                  pattern.


trees standing around the margins of small openings provide          Uneven-aged management includes cultural treatments, thin­
two of the basic elements necessary for regeneration success—a    nings, and harvesting necessary to maintain continuous high
seed source within effective seeding distance, and an environ­    forest cover, provide for regeneration of desirable species,
ment compatible with germination, initial survival, and seed­     either continuously or at each harvest, and provide for con­
ling establishment. The manager must make sure that the third     trolled growth and development of trees through the range of
element—a suitable seedbed—is provided after the seed cut         size classes needed for sustained yield of forest products.
where standard shelterwood cutting is used, and after each cut    Managed uneven-aged stands are characterized by trees of
where group shelterwood is used. If at least 40 percent of the    many sizes intermingled singly or in groups. Cutting methods
available ground surface is not exposed mineral soil after log­   do not produce stands of the same age that are large enough
ging and slash disposal, additional seedbed preparation is        to be recognized as a stand. Forests are subdivided into
needed. Until special equipment is developed, the same prob­      recognizable units that can be located on the ground on the
lem exists as with slash disposal. The equipment available to­    basis of timber type, site, logging requirements, etc., rather
day is too large to work well around standing trees. Smaller      than acreage in stand-age classes. Both individual tree selec­
machines equipped with suitable attachments will have to be       tion and group selection cutting methods will be considered
used, but they must be closely supervised to minimize damage      in spruce-fir stands with irregular to all-aged structure (Alex­
to the residual (Alexander 1974).                                 ander and Edminster 1977a, 1977b).

               Uneven-Aged Cutting Methods                        Individual-Tree Selection Cutting

   Multi-storied and three-storied spruce-fir stands are fre­        This regeneration cutting method harvests trees in several
quently uneven- to broad-aged or have the diameter distribu­      or all diameter classes on an individual basis. Regeneration
tion associated with uneven-aged stands. Although uneven­         occurs continuously. The ultimate objective is to provide a
aged cutting methods—individual tree and group selection-         stand with trees of different sizes and age classes intermin­
have seldom been used in spruce-fir forests, they appear to       gled on the same site (U.S. Department of Agriculture 1983).
simulate the natural dynamics of these forests. Moreover,         Choice of trees to be cut depends on their characteristics and
uneven-aged management is more compatible or desirable for        relationship to stand structure goals set up to regulate the cut.
some management objectives or resource needs. For exam­           This cutting method provides maximum flexibility in choos­
ple, the impact on the forest should be as light as possible in   ing trees to cut or leave, and is appropriate only in uniformly
areas of steep topography and erodible soils, or where manage­    spaced stands with irregular to all-aged structure. Individual­
ment goals, in terms of both resource and social responses,       tree selection cutting will favor fir over spruce, and in mixed
include maintenance of continuous high forests. Uneven-aged       spruce-fir-lodgepole pine stands, few intolerant pines will
management is usually more appropriate for these conditions       become established after initial cutting (Alexander and Ed­
and objectives.                                                   minster 1977b).

                                                                                                                                59
                                                                                     Rvsd Plan - 00005719
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 153 of 346


Group Selection Cutting                                              above 200 square feet per acre probably represent overstock­
                                                                     ing. While no guidelines are available for uneven-aged stands,
   ThixS regeneration cutting method harvests trees in groups,       residual stocking levels of GSL 100 to GSL 180 are suggested
ranging in size from a fraction of an acre up to about 2.0 acres     for managed even-aged stands, depending on site productiv­
(U.S. Department of Agriculture 1983). This cutting method           ity, number of entries, and other management objectives (Alex­
is similar to a group shelterwood except in the way the grow­        ander and Edminster 1980). These levels should be useful in
ing stock is regulated. The area cut is smaller than the             estimating initial residual stocking goals in terms of square
minimum feasible for a single stand under even-aged manage­          feet of basal area per acre for that part of the stand that will
ment. Trees are marked on an individual tree basis, but em­          eventually be regulated under uneven-aged management (Alex­
phasis is on group characteristics, which means trees with high      ander and Edminster 1977b).
potential for future growth are removed along with trees with           While these general recommendations are probably adequate
low growth potential. Loss in flexibility is partly offset by the    as a place to start, use of yield tables for even-aged spruce­
opportunity to uniformly release established regeneration, and       fir stands in setting stocking goals for uneven-aged stands
reduce future logging damage. When groups are composed               assumes there is little difference between the growing stock
of only a few trees, the method can be used together with            of the two, other than a redistribution of age classes over a
individual-tree selection cutting. This cutting method is most       smaller area (Bond 1952). This may be true when stands
appropriate in irregular to all-aged stands that are clumpy or       without a manageable understory of advanced growth are
groupy. However, it can be used in uniformly spaced stands           harvested by a group selection method; the end result is likely
with the size, shape, and arrangement of openings based on           to be a series of small even-aged groups represented in the
factors other than the natural stand conditions (Alexander and       same proportion as a series of age classes in even-aged
Edminster 1977a, 1977b).                                             management. If advanced growth of smaller trees has become
                                                                     established under a canopy of larger trees, however, a dif­
Stand Structure Goals                                                ferent structure may develop with either individual-tree or
                                                                     group selection systems because growing space occupied by
   Under uneven-aged management, yields are regulated                each age or size class is being shared (Reynolds 1954). Assum­
through control over growing stock. To establish the desired         ing that damage to understory trees resulting from removal
residual structure of a stand, it is necessary to control (1)        of part of the overstory trees can be minimized, advanced
residual stocking, in terms of volume or basal area, that must       growth will successfully establish a series of age classes on
be left after cutting to maintain adequate growth and yield;         some areas. In this situation, more trees of a larger size can
(2) diameter of the maximum size tree to be left; and (3)            be grown per acre than with a balanced even-aged growing
diameter distribution of the residual stand that will provide        stock (Bourne 1951, Meyer and others 1961). Nevertheless,
for regeneration, growth, and development of replacement             without better information, the residual stocking goals set for
trees (Alexander and Edminster 1977b).                               even-aged management are the best criteria available.

  Control of Stocking—-The first step in applying a selection          Maximum Tree Size—The second item of information
cut to a spruce-fir stand is to determine the residual stocking      needed is the maximum diameter of trees to be left after cut­
level to be retained. Since total stand growth for many species      ting. In old-growth spruce-fir stands, maximum diameter
adapted to uneven-aged management does not differ greatly            usually varies from 18 to 30 inches at breast height, depend­
over the range of stocking levels likely to be management            ing on stand density, site quality, species composition, etc.
goals, stocking levels set near the lower limit, where no growth     Examination of plot inventory information from unmanaged
is lost, concentrate increment on fewest stems. This reduces         stands with irregular stand structure, suggests that a diameter
time required to grow individual trees to a specific size, and       of 24 inches can be attained within the time period generally
requires a minimum investment in growing stock (Alexander            considered reasonable under a wide range of site quality and
and Edminster 1977b).                                                stocking conditions. In the absence of any information on
   The residual stocking level with the best growth in spruce-fir    growth rates in uneven-aged stands, or rates of return for
stands will vary with species composition, management ob­            specific diameter and stocking classes, a 24-inch maximum
jectives, productivity, diameter distribution, etc. In unregulated   diameter seems a reasonable first approximation to set for
old-growth spruce-fir stands with irregular structure, stock­        timber production. Trees of larger diameter with a lower rate
ing usually varies from 150 to 300 square feet of basal area         of return on investment may be appropriate for multiple-use
per acre in trees in the 4.O-inch and larger diameter classes        reasons (Alexander and Edminster 1977b).
(Alexander 1985, Alexander and others 1982). Basal areas

 60
                                                                                       Rvsd Plan - 00005720
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 154 of 346


   Control of Diameter Distribution-Control over distribu­               by diameter classes is to use the lowest q value that is
tion of tree diameters is also necessary to regulate yields under        reasonable in terms of existing markets, stand conditions, and
uneven-aged management. This is the most important step,                 funds available for cultural work. Examination of plot data
and it is accomplished by establishing the desired number of             from a wide range of old-growth spruce-fir stands indicates
trees or basal area for each diameter class.                             that pretreatment distributions are likely to range between 1.3
   There are a number of ways to express diameter distribu­              and 1.8 for 2-inch classes. As a general recommendation,
tions in uneven-aged stands. When used with flexibility, the             levels between 1.3 and 1.5 appear reasonable initial goals for
quotient § between number of trees in successive diameter                the first entry into unmanaged stands (Alexander and Ed­
classes is a widely accepted means of calculating the desired            minster 1977b).
distribution (Meyer 1952). Values of pranging between 1.3
and 2.0 (for 2-inch diameter classes) have been recommended              How To Determine Residual Stand Structure
for various situations. The lower the value, the smaller the
difference in number of trees between diameter classes. Stands              Once goals for residual stocking, maximum tree diameter,
maintained at a low         value have a higher proportion of            and q levels have been selected, the specific structure for a
available growing stock in larger trees, for any residual stock­         stand can be calculated—providing data are available to con­
ing level, but may require periodic removal of the largest               struct a stand table. (Methodology is shown in appendix C.)
number of small trees in the diameter class where unregulated
growing stock crosses the threshold into the portion of the stand        Determining Threshold Diameter
to be regulated (Alexander and Edminster 1977b).
   Consider, for example, differences in numbers of small and              In the examples in appendix C, calculations were made down
large trees maintained at a level of 1.3, 1.5, 1.8, and 2.0              to the 4-inch diameter class by 2-inch classes because there
inches in stands with the same residual basal area (100 square           are usually a large number of small trees in spruce-fir stands
feet) (table 15), At all stocking levels considered appropriate          that are below minimum merchantable diameter. They com­
for future management goals, larger numbers of small trees               pete with larger stems for growing space, and we need to know
would have to be cut under lower q levels at the threshold               what is happening in this part of the stand. More importantly,
diameter class (in this example, the 4-inch class). Fewer larger         these trees provide ingrowth into merchantable size classes
trees would be retained under higher q levels.                           needed to practice individual-tree selection silviculture.
   In the absence of any experience, data, or good growth and              Although small trees should not be ignored in inventory and
yield information, the best estimate of numbers of trees to leave        record keeping, it may be neither desirable nor possible to



Table 15—Residual stand structures per acre for 100 of basal area and maximum tree d.b.h. of 24 for various q
values (adapted fi'om Alexander and (Edminster 1977b)

Diameter                    q = 1.3                          q = 1.5                          q = 1.8                       q   2.0
  class                               Basal                            Basal                            Basal                         Basal
(inches)           Trees              area          Trees              area          Trees              area       Trees              area

                     no.                             no.                ftz           no.                ft^         no.
    4               38.80               3.38         79.08              6.89         156.01             13,62      210.18             18.35
    6               29.90               5.87         52.72             10.34          86.68             17,01      106.09             20.63
    8               23.02               8.04         35.14             12.26          48.15             16.81       52.54             18.35
   10               17.96               9.65         23.43             12.78          26.75             14.59       26.27             14.33
   12               13.62              10.69         15.62             12,26          14.86             11.67       13.14             10.32
   14               10.47              11.20         10.41             11.12           8.26              8.83        6.57              7.02
   16                8.07              11.26          6.95              9,70           4.59              6,41        3.28              4.58
   18                6.21              10.97          4.63              8.18           2.55              4.50        1.64              2,90
   20                4.77              10.41          3,08              6.73           1.42              3.09        0.82              1.79
   22                3.67               9.68          2.06              5.42           0.79              2.08        0.41              1.08
   24                2.82               8.86          1,37              4.30           0.44              1.37        0.20              0.64

    Total          159.14             100.01        234.49             99.98         350.50             99.98      420.14             99.99




                                                                                            Rvsd Plan - 00005721
        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 155 of 346


regulate their numbers. In spruce-fir forests in the central        Cutting Cycles
Rocky Mountains, minimum merchantable diameter is usually
7 to 8 inches. Regulation of the number of trees below this            Procedures described above and in appendix C are for in­
size requires an investment in cultural work that may not be        itial entry into unregulated old-growth spruce-fir stands that
recaptured under current market conditions. On the other hand,      are to be converted to managed uneven-aged stands using either
if trees below minimum merchantable size are left unregulated,      individual-tree or group selection cutting. It is not likely that
cutting must always be heavy in the threshold diameter classes      unregulated stands will be brought under management with
to bring ingrowth trees down to the desired number. It also         one entry or even a series of entries. It is more likely that
means that more growing space is required for small trees than      limitations imposed by stand conditions, windfall risk, and
called for by the idealized stand structure. Moreover, the          spruce beetle susceptibility will result in either over- or under­
higher the threshold diameter class, the greater the propor­        cutting, at least in the first entry.
tion of the stand that is unregulated. More growing space is
occupied by trees of low value that will be cut as soon as they
                                                                    Recommendations for Selection Cutting
cross the threshold diameter (Alexander and Edminster 1977b).
                                                                       The recommendations summarized below are based on ex­
Marking Trees
                                                                    perience, windfall risk, and spruce beetle susceptibility. Selec­
                                                                    tion cutting methods are appropriate for three- and multi­
   After residual stocking goals have been calculated and a deci­
                                                                    storied stands with irregular or uneven-aged stand structure.
sion made on how to handle small trees, it is time to mark
                                                                    Individual tree selection should be confined to stands with
the stand in the field. Marking is difficult in spruce-fir stands
                                                                    uniform spacing. Group selection can be used in stands with
because the marker must designate cut or leave trees, usually
                                                                    either clumpy-groupy spacing or uniform spacing. Selection
with one pass through the stand, based on limited inventory
                                                                    cutting methods are not appropriate in high wind risk situa­
data. At the same time, the marker must apply good
                                                                    tions or in stands sustaining a spruce beetle attack or in stands
silvicultural practices and be aware of economic limitations.
                                                                    where beetles are present in sufficient numbers within the stand
As a general rule, good silvicultural prescriptions are more
                                                                    or adjacent stands to make successful attacks.
important than strict adherence to structural goals, especially
in unregulated stands being cut for the first time. However,
                                                                      1. The stocking goal for the initial entry should be set so
marking without a structural goal—or prescribing structural
                                                                         that not more than—
goals that cannot be attained or applied—defeats the objective
                                                                              a. 30 to 40 percent of the stand basal area is
of regulation.
                                                                                  removed in low wind risk situations. With in­
   Marking for individual tree selection is more complex than
                                                                                  dividual tree selection, the cut should be
for other systems, and some formal control procedure is
                                                                                  distributed over the entire area. With group
necessary. Often, only an estimate of the initial and desired
                                                                                  selection, not more than one-third of area
residual diameter distribution is needed. With these estimates,
                                                                                  should be cut. If the stand is clumpy, the size
basal areas and number of trees to be removed per acre by
                                                                                  of opening should be determined by the size of
diameter classes can be determined. Control is maintained by
                                                                                  the clump. If the stand is uniformly spaced, the
a process of successive checks of residual versus the goal. For
                                                                                  size of opening should not exceed 2 times tree
example, the markers should systematically make prism
                                                                                  height.
estimates of the residual stand after marking, recording trees
                                                                              b. 20 to 30 percent of the stand basal area is
by 2- or 4-inch classes on a standard cumulative tally sheet.
                                                                                  removed in above average wind risk situations.
Periodically, they should convert the prism tally to trees per
                                                                                  Distribute the cut over the entire area with
acre, and compare their average prism estimate to the struc­
                                                                                  individual-tree selection. Not more than one­
tural goal. Markers must then adjust to any serious deviation
                                                                                  fourth of the area should be cut with group
from the structural goal, such as too heavy marking in some
                                                                                  selection. Keep the openings small. If the stand
diameter classes and too light in others. Their next check will
                                                                                  is clumpy, the opening should be no larger than
determine if progress is being made or if further changes are
                                                                                  the size of the clump. If the stand is uniformly
needed. By this process, the average residual stand should
                                                                                  spaced, openings should not exceed 1 times tree
come fairly close to the structural goal (Alexander and Ed­
                                                                                  height.
minster 1977b).
                                                                     2.   Maximum diameter should not exceed that attained in
                                                                          the unmanaged stand.

62
                                                                                        Rvsd Plan - 00005722
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 156 of 346



 3. The diameter distribution should be set at a value that           dividual tree selection and intermediate, preparatory, and seed
    most closely approximates the natural value of the                cuts of standard shelterwood. Costs are reduced because only
    stand. However, remember that low q values require cut­           cutting boundaries are marked, and no time is spent deciding
    ting a larger number of treees at the threshold diameter          which trees to cut or leave. Sale administration is easier
    class and high q values retain a few larger trees.                because there are no residual or unmarked trees to protect.
                                                                      However, reproduction must be protected at the time of final
 4. The threshold value should be set at the smallest diameter
                                                                      cut under any shelterwood system (Alexander 1977).
    class practical. All trees below the threshold diameter
                                                                         Timber harvest usually requires road construction, because
    class are unregulated.
                                                                      large acreages of spruce-fir forests are in unmanaged old-
 5. Some diameter classes will have a surplus of trees and            growth stands. Clearcutting is the most economical method
    some will have a deficit. Surpluses and deficits must be          in terms of volume removed per unit of road, while individual
    balanced if the residual basal area is to be maintained.          tree selection is the most expensive. Development of a
                                                                      transportation system to manage spruce-fir forests is a costly
 6. Subsequent entries should be made at 10- to 30-year
                                                                      initial investment that will require funding in addition to monies
    intervals. While it would be desirable to enter the stand
                                                                      paid for stumpage at the time of first entry. Once the transpor­
    at 10-year intervals, it is not likely that this will be possi­
                                                                      tation system has been constructed, road costs should be in­
    ble in most instances. Some diameter classes will not
                                                                      dependent of cutting method (Alexander 1977).
    be completely represented; therefore, volumes available
                                                                         In addition to producing maximum volume per acre in one
    for cutting may not warrant a 10-year reentry until a con­
                                                                      operation, clearcutting permits the greatest flexibility in selec­
    trolled diameter distribution is attained.
                                                                      tion of logging equipment and minimum concern for protec­
                                                                      tion of residual trees. The first entry of a standard shelter­
Protecting the Residual Stand
                                                                      wood is intermediate in volume production per acre, requires
                                                                      moderate concern for the residual stand, and places some con­
  Protection of the residual stand is of primary concern with
                                                                      straints on selection of equipment. The final cut of a standard
any partial cutting system, but it is especially critical with
                                                                      shelterwood or simulated shelterwood has the advantages of
individual-tree selection cutting because of frequent entries into
                                                                      clearcutting except for the need to protect the new stand. In­
the stand once a controlled diameter distribution is attained.
                                                                      dividual tree selection requires maximum concern for the
Damage can result from felling, skidding, and slash disposal.
                                                                      residual stand; group selection and group shelterwood require
  Felling damage can be reduced by using group selection and
                                                                      slightly less if the size of opening is near maximum. Under
dropping trees into the openings, or marking a small clump
                                                                      uneven-aged cutting methods and group shelterwood, volumes
of trees where felling one large tree will damage several ad­
                                                                      per entry are intermediate, size-class diversity of products
jacent trees. Procedures outlined for protecting the residual
                                                                      harvested is maximum, and selection of logging equipment
and disposing of slash for shelterwood cutting should be
                                                                      is limited.
followed here.

                                                                                    Multiple-Use Silviculture
         Costs of Sale Administration and Logging
                                                                                       Soil and Water Resources
   One of the most important factors affecting the ad­
ministrative cost of selling timber is the number of entries          Water Yield
needed for harvesting. Clearcutting and simulated shelterwood
require only one entry. Standard shelterwood requires two to             In spruce-fir forests, where approximately 90 percent of
three entries, while group shelterwood and individual-tree and        natural streamflow (12 to 15 inches) comes from melting snow,
group selection require from three to six, depending upon cut­        water production is increased by cutting openings in the canopy
ting cycles. In managed stands, even-aged systems require a           (fig. 64). Size and arrangement of openings are critical.
minimum of two additional entries for thinnings, but number           Largest increases in water available for streamflow (2.0+
of entries under uneven-aged systems would not change (Alex­          inches) result when 30 to 40 percent of a drainage is harvested
ander 1977).                                                          in small clear-cut patches (3 to 5 acres) dispersed over the
   Costs of sale layout, marking, and sale contract administra­       entire watershed (Leaf 1975; Leaf and Alexander 1975; Troen-
tion are lower for clearcutting, simulated and group shelter­         dle 1982, 1983a, 1983b; Troendle and Leaf 1981). With this
wood, group selection (when groups are near the maximum               pattern, wind movement across the canopy is changed so that
size), and the final cut of standard shelterwood than for in­         more snow accumulates in the openings than under adjacent

                                                                                                                                     63
                                                                                         Rvsd Plan - 00005723
         Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 157 of 346




Figure 64—Thfee~acre openings cut to increase streamflow,   Fraser
Experimental Forest.


stands. Total snowfall in the drainage may or may not be in­              periodically harvested on an individual-tree basis.
creased by cutting, depending on the aspect (Hoover and Leaf              Ultimately, the reserve stand would approach an all­
 1967, Troendle and Meiraan 1984), but melt occurs earlier                aged structure with the overstory canopy remaining at
and at an increased rate in the openings, causing the rising              about the same height, although the original overstory
limb of the hydrograph to occur earlier than before timber                could not be maintained indefinitely.
harvest. Most of the increase in flow occurs during the period
                                                                     2,   Make a light cut distributed over the entire watershed,
before the peak, which may be somewhat higher, but reces­
                                                                          removing about 20 to 30 percent of the basal area on
sion flows are about the same as before harvest (fig. 65). In­
                                                                          an individual-tree basis or in small groups. The objec­
crease in streamflow is not likely to diminish significantly for
                                                                          tive would be to open up the stand enough so it develops
20 to 30 years, and treatment effect will not disappear until
                                                                          windfirmness and to salvage low-vigor and poor-risk
the new stand in the opening is tall enough to change the snow
                                                                          trees. Openings five to eight times tree height (H) can
accumulation pattern. At that time a number of alternatives
                                                                          then be cut on about one-third of the area. The remain­
can be considered:
                                                                          ing two-thirds of the area would be retained as perma­
                                                                          nent high forest, with trees periodically removed on an
     I. Recut the original openings. The remaining area would
                                                                          individual-tree basis or in small groups.
        be retained as continuous high forest; trees would be

64
                                                                                     Rvsd Plan - 00005724
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 158 of 346



  3. Another alternative that would integrate water and
     timber production would be to harvest all of the old
     growth in a cutting block in a series of cuts spread over
     a period of 120 to 160 years. Each cutting block would
     contain at least 300 acres, subdivided into circular or
     irregular-shaped units approximately 2 acres in size or
     with a diameter four to five times the height of the
     general canopy level. At periodic intervals, some of
     these units, distributed over the cutting block, would
     be harvested and the openings regenerated. The inter­
     val between cuttings could vary from as often as every
      10 years to as infrequently as every 30 to 40 years. The
                                                                     Figure 65—Average hydrograph, Fool Creek Watershed. Fraser Ex­
     percentage of units cut at each interval would be deter­
                                                                     perimental Forest, before and after logging (Troendle and Leaf 1981).
     mined by cutting cycle divided by rotation age times
     100, At the end of one rotation, each cutting block
     would be composed of groups of trees in several age
     classes, ranging from reproduction to trees ready for
     harvest. The tallest trees would be somewhat shorter
     than the original overstory, but any adverse effect on
     snow deposition should be minimized by keeping the
     openings small and widely spaced (Alexander 1974),

   Cutting openings larger than 5 acres may be less efficient
in increasing streamflow; as opening size increases, wind can
scour deposited snow causing it to evaporate into the air or
blow into adjacent stands where soil recharge requirements
and evapotranspiration are greater (fig. 66). However, these
larger openings can be managed to minimize wind scour and
maintain snowpack on the site. By leaving residual stems stand­      Figure 66—Snow retention as a function of size of opening, H is the
ing and leaving moderately heavy slash in place to provide           size of the surrounding canopy (Troendle and Leaf 1981).
roughness to hold snow, 20 to 30 percent more water can be
retained in the snowpack than in the uncut forest even in
relatively large openings.
   Group selection and group shelterwood cutting can be nearly       to reach sufficient height to modify wind movement across
as favorable for water production as patch clearcutting if open­     the canopy (Alexander 1977).
ings are near the maximum size of 2 acres. Increases in water
 available for streamflow under individual-tree selection will       Soil Erosion and Water Quality
be less than cutting small openings but still significantly higher
than in the uncut forest. Canopy reduction by removing trees            Soil and site conditions are not the same in all spruce-fir
 on an individual basis results in less interception of snow and     forests, but the careful location, construction, and maintenance
 subsequent evaporation from the canopy. This combined with          of skid and haul roads associated with any silvicultural system
 any other reduction in consumptive use can result in greater        should cause no lasting increase in sedimentation. For exam­
 streamflow (Troendle and Meiman 1984).                              ple, on the Fool Creek drainage in central Colorado where
    Standard shelterwood results in increases similar to indi­       about 12 miles of main and secondary roads were constructed
 vidual-tree selection as long as an overstory remains. After        to remove timber in alternate clearcut strips from about one-
 final harvest under any standard shelterwood alternative, water     third of the drainage, annual sediment yields during road con­
 available for streamflow may be expected to increase to the         struction and logging were only about 200 pounds per acre
 level obtained under patch clearcutting, provided that the area     (Leaf 1970), and decreased rapidly after logging despite a per­
 cut is similar in size and arrangement to openings recommend­       sistent increase in runoff. Annual sediment yields after log­
 ed for patch clearcutting. The interval of increased water yield    ging have averaged about 43 pounds per acre, compared with
 wiU be proportional to time required for the replacement stand      11 to 31 pounds from undisturbed watersheds (Leaf 1975),

                                                                                                                                       65
                                                                                         Rvsd Plan - 00005725
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 159 of 346


Nutrient Losses and Stream Temperature Changes                           Openings created by harvesting provide better habitat than
                                                                      natural openings because the vegetation that initially comes
   Removal of logs in timber harvest represents a small and           in on cutover areas is more palatable to deer and elk. Reynolds
temporary net loss of nutrients, since only a minor propor­           (1966) suggested that openings be maintained by cleaning up
tion of the nutrients taken up by a tree is stored in the bole.       the logging slash and debris, removing new tree reproduction,
Clearcutting spruce-fir forests results in a greater immediate        and seeding the area to forage species palatable to big game.
loss than individual-tree selection, but over a rotation the losses   However, because natural succession on areas is likely to
would balance out because of more frequent cuts under the             replace the more palatable species in 15 to 20 years (Regelin
selection system. Furthermore, nutrients lost after clearcut­         and Wallmo 1978), a more desirable alternative would be to
ting should be replaced in 10 to 20 years through natural cycl­       cut new openings periodically while allowing the older cut­
ing as regeneration becomes established (Alexander 1977).             tings to regenerate. That would provide a constant souice of
   Comparison of streamflow from logged and unlogged                  palatable forage and the edge effect desired. The openings
subalpine watersheds in central Colorado provided some in­            created should be widely spaced, with stands between open­
dication of the effect of harvesting on chemical water quality.       ings maintained as high forest (Alexander 1977).
Ten years after clearcutting, cation concentration during a              One alternative that would integrate wildlife habitat improve­
 iO-week period was 1.8 parts per million greater and cation          ment with timber production would be to cut about one-sixth
outflow 5.2 pounds per acre per year greater on the logged            of a cutting block every 20 years in openings about four to
watershed (Stottlemyer and Ralston 1968).                             five times tree height. Each “working circle” would be sub­
   Increases in stream temperature can be avoided, even with          divided into a number of cutting blocks (of at least 300 acres)
clearcutting, by retaining a border of trees along stream chan­       so that not all periodic cuts would be made in a single year
nels. Actually, clearcutting to the stream channel and subse­         on a working circle. Such periodic cutting would provide a
quent warming of the water may be advantageous in spruce­             good combination of numbers and species of palatable forage
fir forests, where streams are frequently small and too cold          plants and the edge effect desired, while creating a several-
to support adequate food supplies for fish (Alexander 1977).          aged forest of even-aged groups (Alexander 1974).
                                                                         Standard shelterwood cutting provides less forage for big
                Wildlife and Range Resources                          game than cutting methods that create openings, and the reduc­
                                                                      tion is in proportion to the density of the overstory and length
Game Animal Habitat                                                   of time it is retained. Shelterwood cutting also provides less
                                                                      cover than an uncut forest. Individual-tree selection provides
   Spruce-fir forests provide summer habitat for mule deer and        forage and cover comparable to uncut forests, thus maintain­
elk, and yearlong habitat for blue grouse (Dendragapus                ing one type of habitat at the expense of creating diversity
obscuras Say), Clearcutting, group shelterwood, and group              (Alexander 1977).
selection provide the largest increases in quantity and quality          Game animals other than deer or elk are also affected by
of forage for big game, but use is often limited by the amount        the way forests are handled. For example, with the curtail­
of cover available for hiding, resting, and ruminating. Further­      ment of wildfires, some reduction in stand density by logging
more, game animal populations are not directly related to             is probably necessary to create or maintain drumming grounds
forage availability on summer ranges, because carrying capac­         for male blue grouse. Standard shelterwood, group shelter­
ity of winter ranges limits animal numbers. Mature, unlogged,         wood, or group selection cutting that opens up the stand enough
spruce-fir stands in Colorado produce enough forage to carry          to allow regeneration to establish in thickets provides desirable
more mule deer than are presently estimated to occupy sum­            cover. Small, dispersed clearcuts (5 to 10 acres) are also
mer ranges (Regelin and others 1974).                                 favorable if thicket,s of new reproduction become established
   Dispersed openings 2 to 20 acres in size are used more by          (Martinka 1972).
deer and elk than smaller or larger openings or uncut timber
(Regelin and Wallmo 1978, Reynolds 1966, Wallmo 1969,                 Nongame Animal Habitat
Wallmo and others 1972). Small openings provide little diver­
sity, and overly large openings cause too radical an alteration         Little information is available on the relationship of cutting
in habitat, especially if coupled with extensive site prepara­        methods in spruce-fir forests to specific nongame habitat re­
tion and tree planting. As trees grow to seedling and sapling         quirements, but it is possible to estimate probable effects.
size, forage production in cleared areas diminishes but cover         Clearcutting, group shelterwood, and group selection that
increases. Forage increases again as stands reach sawlog size         create small, dispersed openings will provide a wide range
and cover approaches the maximum for the spruce-fir type.             of habitats attractive to some birds and small mammals by in­

66
                                                                                        Rvsd Plan - 00005726
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 160 of 346



creasing the amount of nontree vegetation—at least initially—                “foliage nesting” and “picker” and “gleaner” feeding guilds
and length of edge between dissimilar vegetation types. On                   (table 16). There were no significant changes in small mam­
the Fool Creek watershed, for example, where 40 percent of                   mal populations after timber harvest (table 17).
the timber was cleared in alternate strips one to six chains wide,              Standard shelterwood cutting provides a variety of habitats
many species of birds feed in openings and nest in trees along               used by species that forage in stands with widely spaced trees,
the edge. In contrast, only woodpeckers and sapsuckers have                  but not by those that require closed forests or fully open plant
been observed in adjacent uncut stands (Myers and Morris                     communities. Under this method, trees are still available for
1975). On the other hand, on two lOO-acre subdrainages on                    nesting, denning, and feeding until the final harvest, when con­
Deadhorse Creek in the Fraser Experimental Forest, where                     sideration should be given to retaining some of the snags and
one-third of one subdrainage was clearcut in 3-acre patches                  live trees with cavities (Alexander 1977). To insure future
and the other was left uncut, Scott and others (1982) com­                   cavities, Scott and others (1978) recommend leaving all
pared numbers and species of nongame birds. They found that                  broken-top snags greater than 8 inches d.b.h. and live trees
total numbers of birds did not significantly change with cut­                with broken-tops or scars.
ting, There was, however, a small postharvest decline in the                    Enthusiasm for habitat diversity should be tempered with



Table 16—Estimated bird densities (birds/100 acres) by species, nesting, and foraging guilds on uncut and patch clearcul subalpine
forest in central Colorado (values are means of 2 years pretreatment and 2 years posttreatment density estimates f (adapted
from Scott and others 1982)

                                                                                      Treated drainage                         Uncut drainage
                                          Foraging            Nesting              Pre                Post
        Bird species                       guild               guild             1976-77             1978-79             1976-77             1978-79

Williamsons’ sapsucker                       HT                  CD                  17                   9                 12                   5
Hairy woodpecker                             HT                  CD                  <1                   3                  5                   6
Northern flicker                             GF                  CD                   7                   9                  4                  <1
Olive-sided flycatcher                       AF                  FN                   Oa                  5b                <1a                  Oa
Western flycatcher                           AF                  CD                  11b                  5b                23c                  4b
Mountain chickadee                           PG                  CD                  44                  27                 50                  45
Red-breasted nuthatch                        PG                  CD                  15                  13                  3                   5
Golden-crowned kinglet                       PG                  FN                   5a                  Ob                 3b                  Ob
Ruby-crowned kinglet                         PG                  FN                  56a                 38b                54a                 89a
Townsend’s solitaire                         GF                  GN                  14                   9                 14                  13
Hermit thrush                                GF                  FN                  29                  25                 26                  29
American robin                               GF                  FN                  18                   3                 16                  <1
Yellow-rumped warbler                        PG                  FN                  41                  57                 47                  80
Lincoln’s sparrow                            GF                  GN                   0                   5                  0                   0
Song sparrow                                 GF                  GN                   0                   4                  0                   0
Dark-eyed junco                              GF                  GN                  47                  57                 52                  58
Other birds                                                                           3                 __3                                      3

    Total                                                                           307                 272                314                 337

Foraging guilds
  PG (Pickers & gleaners)                                                           161a                135a               162a                219b
  GF (Ground feeders)                                                               115                 112                112                 100
  HT (Hammerers & fearers)                                                           17                  15                 17                  14
  AF (Aerial feeders)                                                                14a                 10b                23c                  4d
Nesting guilds
 CD (Cavity & depression)                                                            94                  69                102                  68
 FN (Foliage nesters)                                                               151                 128                146                 198
 GN (Ground nesters)                                                                 61                  75                 66                  71

^Within species or guilds, numbers followed by no letter or the same tetter are not significantly different (P = 0.05) (Duncan's multiple range test).


                                                                                                                                                  67
                                                                                                  Rvsd Plan - 00005727
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 161 of 346



caution. Harvest of old-growth timber can be devastating to            voirs, and streams. Camping opportunities in the conventional
species that nest or den in snags and in cavities of live trees,       sense exist at both publicly and privately developed sites served
feed largely on tree seeds, or require solitary habitats with          by roads, while a major portion of scenery viewing is by
continuous forest cover. Individual-tree selection provides the        automobile from developed roads. Moreover, most of the
least horizontal diversity, and favors species attracted to un­        winter use of snowmobiles for recreation in spruce-fir forests
cut forests or that require vertical diversity. However, snags         is on roads. Lastly, some forms of recreation such as downhill
and live tree cavities can be retained under any silvicultural         skiing and mountain home development require drastic
system (Alexander 1977),                                               modification of the natural forest landscape (Alexander 1977).
                                                                          Clearcutting has the greatest visual impact, and individual­
Livestock Grazing                                                      tree selection the least. However, variety typical of forests at
                                                                       the highest elevations—whose texture is broken by natural
   Much grazing land lies adjacent to or intermingled with             openings—is preferred to the monotony of vast, unbroken
spruce-fir forests. Under a mature canopy, forage production           forest landscapes at middle and lower elevations (Kaplan
is light and generally not readily accessible to livestock. The        1973).
quantity and quality of forage increases in proportion to the             To enhance amenity values, openings cut for timber and
amount of canopy removed. Utilization of available forage is           water production and wildlife habitat improvement should be
usually greater in large clear-cut areas because forage is more        a repetition of natural shapes, visually tied together to create
accessible to livestock. Forage production in openings                 a balanced and unified pattern that will complement the land­
decreases rapidly as new trees grow out of the seedling-sapling        scape (Barnes 1971). This is especially important for open­
stage, and it can be maintained only by frequent cuttings (Alex­       ings in the middleground and background seen from a distance.
ander 1977).                                                           Standard or simulated shelterwood, or individual-tree selec­
                                                                       tion can be used to retain a landscape in foregrounds.
             Recreation and Esthetic Resources                            Individual-tree selection, group selection, and group shelter­
                                                                       wood cutting are appropriate in high-use recreation areas,
  Spruce-fir forests provide a variety of recreational oppor­          travel influence zones, scenic-view areas, and lands adjacent
tunities. Users who hike, backpack, ski, tour, or view scenic          to ski runs, and also near support facilities and subdivision
beauty are generally attracted to forests whose natural ap­            developments where permanent forest cover is desired. The
pearance is little altered by human activities (Calvin 1972).          visual impact of logging can be minimized by careful cleanup
In contrast, hunters have best success where human activities          of debris and slash while leaving some material to maintain
are apparent—timber sales and other areas readily accessible           favorable microsites for tree regeneration and by careful loca­
by roads. Fishing is largely done in accessible lakes, reser-          tion of roads (Alexander 1977).

                                                                                     Comparison of Cutting Methods
Table ll—Number of animals caught on uncut and patch
                                                                          A comparison of the effects of different silvicultural systems
ciearcut subalpine forest in central Colorado, for 2 years
                                                                       and cutting methods, and their modifications, on resource
pretreatment and 2 years posttreatinent' (adapted from Scott
and others 1982)                                                       values and timber economics in spruce-fir forests is shown
                                                                       in figure 62. These relative rankings are based on research
                      Treated drainage          Uncut drainage
                                                                       and experience, and subject to change as additional informa­
                                                                       tion on resource interactions becomes available.
      Small            Pro­      Post­          Pre­      Post­
     mammals        treatment treatment      treatment treatment          No silvicultural system or cutting method meets all resource
                                                                       needs, but neither does preservation. Cutting small openings
Red-backed vole         99a        205a         79a         156a       provides maximum yields of timber at minimum costs, pro­
Least chipmunk          32a          64b        32a          43a       motes the largest increases in water production without un­
Deer mouse              10             9        23            8
Montane vote             0
                                                                       due reduction in quality, produces diversity in food supply and
                                       0         6            5
Masked shrew             6             8         1            3        cover favored by many wildlife species, and is necessary for
Other mammals          —1          ....7.       —6          —5         the development of recreation sites for skiing and home sub­
                                                                       divisions. Production and utilization of livestock forage are
     Total             148          293         147          220
                                                                       less than on larger openings, while clearcutting in any form
’Numbers followed by the same letter are not significantly different   destroys the habitat of wildlife species that dwell in closed
  (P = 0.05) (Duncan’s multiple range test).                           forests. Clearcutting can create adverse visual effects if no

68
                                                                                          Rvsd Plan - 00005728
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 162 of 346



thought is given to the size and arrangement of the openings,
but it can also be used to create landscape variety that will
enhance amenity values.
   Standard and simulated shelterwood cutting also provide
maximum timber yields over the same time interval, but at
increased costs; they produce a wide range of wildlife habitats,
but with less forage than openings and less cover than uncut
forests. Water yields are increased significantly over natural
streamflow, but not as much as with clearcutting small open­
ings. Shelterwood cutting provides a partial retention of the           BC PC US MS 5& OS 1$ NC        BC PC US MS SSOS IS HC
forest landscape, particularly when the overstory is retained
for a long period (Alexander 1977).
   Group selection and group shelterwood cutting, with the size
of opening near the maximum, favor and discriminate against                                                      I   I   .............................
                                                                                                       BC PC US M? GS IS NC
the same resource values as patch or strip clearcutting. They
are more expensive and less flexible, however. Individual-tree                                       9C BlockcteatCuUing tOacres +
                                                                                                     PC Patchclesrcuiilnga-Sacms
                                                                                                     US UnilomishelterwcM
selection cutting can maximize timber production, but it is the                                          Modili&d shelierwood
                                                                                                     SS SImulaled shollerwood
most expensive harvest method. Water yields are greater than                                         GS Cioupselection or Group sheU^fwood S.Oacres
                                                                                                     IS Individual Ire©
                                                                                                     NC No culling
in uncut forests. Individual-tree selection cutting provides
minimum horizontal diversity in wildlife habitat, but favors
species attracted to uncut forests. It also provides maximum       Figure 67—Relative ranking of the effects of cutting methods on the
partial retention of the natural forest landscape, Group selec­    resources of spruce-fir forests scale; 1 signifies the least favorable,
tion with very small openings accomplishes about the same          5 the most favorable (Alexander 1977).
things as individual-tree selection (Alexander 1977).
   Not all resource needs can be met on a given site, nor is       select the management alternative that will enhance or pro­
any one cutting method compatible with all uses. Land              tect these values. On an individual site it is likely that some
managers must recognize the potential multiple-use values of       uses must be sacrificed or diminished to maintain the quan­
each area, determine the primary and secondary uses, and then      tity and quality of others (Alexander 1977).




                                                                                                                                                         69
                                                                                          Rvsd Plan - 00005729
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 163 of 346

Growth and Yield


                         Site Quality                                 suitable for estimating site index because they were based on
                                                                      residual trees left after partial cutting, many of which were
   The evaluation of site quality is essential to the land manager    not dominants or codominants in the original stand.
as a means of identifying and intensifying management prac­             Site index for granitic soils in northern Colorado and
tices where timber production has the greatest potential.             southern Wyoming can be estimated from the depth of soil
                                                                      to the top of the C horizon and elevation in feet (Sprackling
                        Height and Age                                1972). Data came from 127 plots located on the Roosevelt,
                                                                      Arapaho, Medicine Bow, and Routt National Forests. The
   Site index is the only method now available for estimating         equation from which figure 69 is derived is shown below:
the potential productivity of spruce-fir forests in the central
and southern Rocky Mountains. Alexander (1967a) prepared                         Y = -106.64 + 62.46X, + 809.40W                   (5)
curves of the height and age relationship of dominant spruces
that are suitable for estimating site index at base age 100 years     where
in spruce-fir stands where age at breast height is at least 20
years (fig. 68). Age at breast height was used as the index               Y = site index
age because the slow, variable height growth to 4.5 feet makes            Xi = log of soil depth to top of C horizon, in inches
use of total age meaningless. Data for these curves came from             X2 = 1000/elevation, in feet
2,100 dominant spruces with annual ring sequences showing                     ± 9.00 ±       = 0.65
no evidence of past suppression, on 350 plots in southern
Wyoming and throughout Colorado. These plots were selected               Site indexes estimated from these soil and topographic fac­
to represent the available range in density, site quality, and age.   tors are strictly applicable only to the point sampled. The more
   Height measurements to the nearest foot and age at breast          variable the site, the more points must be sampled to precisely
height from increment borings of at least six dominant spruce         estimate site index over the area. In practice, however, site
trees should be averaged when the site index curves are used.         index sampled from what appear to be extremes on the ground
This will provide an integrated site index value that applies         for any given area is usually all that is needed.
over the area occupied by the trees to be evaluated. Little              Soil-topographic site indexes have not been developed for
diminishment of sampling error is achieved by measuring more          other areas in the central and southern Rocky Mountains.
than six trees (Brickell 1966).                                          If we are to develop a true measure of site quality that in­
   In addition to being dominants, trees selected for measure­        cludes potential productivity, regeneration capacity, and suc-
ment should meet the following criteria:                              cessional trends, the concept of “ecological land classifica­
                                                                      tion” that includes vegetation, soils, and landform appears to
     1. Even-aged—not more than a 20-year spread in the age           offer the best possibility of success (Driscoll and others 1983),
        of the dominant stand.
     2. At least 20 years old at breast height—preferably 50
                                                                                           Volume Tables
        years old or older, because of the variability in height
        growth of trees on the same site at ages 20 to 50 years.        Volume tables and point sampling factors have been
     3. No visible evidence of crown damage, such as broken           prepared for Engelmann spruce in Colorado and Wyoming
        or forked tops, disease, or excessive sweep or crook,         (Myers and Edminster 1972). The nineteen tables include:
     4. Increment core shows a normal pattern of ring widths            1. Gross volumes in total and merchantable cubic feet.
        from pith to cambium~no evidence of past injuries or
        prolonged suppression.                                          2. Gross volumes in fbm, both Scribner and International
                                                                           1/4 log scales.
                     Soil and Topography                                3. Point sampling factors in merchantable cubic feet and
                                                                           fbm.
   The conventional height-age method cannot be used to
estimate site index if there are no trees present, or if trees are    Volume on an area may be determined from either:
either too young or unsuitable for measurement. For example,
the height-age curves developed by Hornibrook (1942) are not            1. Measurements of tree diameters and heights.


70                                                                                         Rvsd Plan - 00005730
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 164 of 346



                                                                         2. Measurements of diameters and sufficient heights to
                                                                            convert the tables to local tables.
                                                                         3. Tree counts obtained by point sampling.

                                                                         Those tables that meet current merchantability standards,
                                                                       and the equations from which they were derived are presented
                                                                       in appendix D.



                                                                                     Growth of Natural Stands

Figure 68--Site index curves for EngeSmann spruce in the central and
                                                                                          Seedlings and Saplings
southern Rocky Mountains. Base age: 100 years, breast height (Aiex-
ander 1967a).                                                             The early growth of Engelmann spruce and subalpine fir
                                                                       is very slow (LeBarron and Jemison 1953). The slow initial
                                                                       root growth has been delineated in an earlier section. Initial
                                                                       shoot growth of natural seedlings is equally slow in Colorado.
                                                                       First-year seedlings are seldom more than 1 inch tall. After
                                                                       5 years, seedlings average 1 to 3 inches in height under natural
                                                                       conditions, and 2 to 4 inches in height on both partially shaded
                                                                       and unshaded, prepared, mineral soil seedbeds. Ten-year-old
                                                                       seedlings may be only 6 to 8 inches tall under natural condi­
                                                                       tions, and 10 to 20 inches tall on both partially shaded and
                                                                       unshaded, prepared, mineral soil seedbeds (fig. 70). After 10
                                                                       years, trees grow at a more rapid rate, averaging about 4 to
                                                                       5 feet in height in about 20 years in lull sun or light overstory
                                                                       shade and in about 40 years under moderate overstory shade.
                                                                       Severe suppression of seedling growth does occur at low light
                                                                       levels. It is not uncommon to find trees 100 years old and only
                                                                       3 to 5 feet tall under the heavy shade of a closed forest canopy
                                                                       (fig- 71).
                                                                           Shoot growth of subalpine fir is equally slow at high eleva­
                                                                        tions. First-year seedlings are frequently less than 1 inch tall.
                                                                        Mean annual height growth of seedlings during the first 10
                                                                        to 20 years is usually not much better (fig. 72). In one study,
                                                                        seedlings 15 years old averaged only 11 inches in height on
                                                                        burned-over slopes, 10 inches on cutover, dry slopes; and 6
                                                                        inches on cutover, wet fiats (Hodson and Foster 1910). In
                                                                        another study, seedlings grown on mineral soil averaged only
                                                                        24 inches in height after 21 years (Herring and McMinn 1980).
                                                                        In general, trees reach 4 to 5 feet in height in about 20 to 40
                                                                        years under favorable environmental and stand conditions.
                                                                        However, trees less than 5 inches in diameter are often 100
                        Soi I depth (inches)                            or more years old at higher elevations, and trees 4 to 6 feet
                                                                        high and 35 to 50 years old are common under closed-forest
Figure 69—~Site indexes for Engelmann spruce on granitic soils in       conditions (fig. 73) (Kirkwood 1922, Oosting and Reed 1952).
southern Wyoming and northern Colorado calculated from soli depth          Seedling growth has been somewhat better elsewhere in the
to the fop of the C horizon and elevation (Sprackling 1972).
                                                                        Rocky Mountains, especially at lower elevations. For exam-



                                                                                                                                      71
                                                                                          Rvsd Plan - 00005731
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 165 of 346



                                                                        ple, in one study in the Intermountain West, average annual
                                                                        shoot growth of natural lO-year-old spruce seedlings averag­
                                                                        ed 4,5 inches on clearcut areas, and 3.2 inches on areas with
                                                                        a partial overstory (McGaughey and Schmidt 1982). Planted
                                                                        spruces, 5 to 8 years old, have averaged 20 to 24 inches in
                                                                        height, while 8-year-old naturally reproduced spruce were only
                                                                        12 inches tall. In Montana, planted spruces have been reported
                                                                        to reach breast height (4.5 feet) in about 10 years. Average
                                                                        annual height growth of subalpine fir seedlings for the first
                                                                        10 years after release usually exceeds the height growth of
                                                                        spruce on both clearcut and partial cut areas (McGaughey and
                                                                        Schmidt 1982).
                                                                          Early diameter growth of Engelmann spruce is less affected
                                                                        by competition for growing space than that of its more in­
                                                                        tolerant associates. In a study of seed spot density in northern
                                                                        Idaho, diameter growth of spruce seedlings after 17 yeai s was
                                                                        only slightly greater on thinned seed spots, and height growth
                                                                        was unaffected by the thinning. In contrast, diameter and
                                                                        height growth of western white pine increased significantly
                                                                        as the number of seedlings per seed spot decreased (Roe and
                                                                        Boe 1952).

                                                                                              Immature Stands

                                                                           Immature stands of spruce-fir and individual spruce and fir
                                                                        trees that establish after fire or cutting attain their greatest
                                                                        growth after they reach a height of 4 to 5 feet and are at least
Figure 70—Engeimann spruce seedlings on mineral soil seedbeds           20 years old. They maintain good growth rates to maturity
average only 8 to 10 inches in height after 10 years.                   despite increased competition for light, moisture, and nutrients.
                                                                        Diameter growth is usually used to measure release because
                                                                        of its sensitivity to changes in stand density. Observations of
                                                                        diameter growth of residual spruce and fir left after partial
                                                                        or diameter-limit cutting show that individual trees respond
                                                                        to release, and the degree of release is related to initial
                                                                        diameter, tree vigor, site quality, and stand density (Horni­
                                                                        brook 1942, Roe and DeJarnette 1965, Stettler 1958).
                                                                        However, conventional thinning studies have not been made
                                                                        in spruce-fir forests in the central Rocky Mountains, partly
                                                                        because of the relatively few young stands and partly because
                                                                        spruce and fir do not grow in dense stands common to
                                                                        associates such as lodgepole pine and aspen.
                                                                           The height growth of individual trees is important because
                                                                        of the relationship between site quality and the height of domi­
                                                                        nant trees. For tolerant species like spruce and fir, height
                                                                        growth of dominant trees is unaffected over a wide range of
                                                                        stand density, consequently, volume growth is also less af­
                                                                        fected by changes in stand density foi' any given site index
                                                                        and age. Based on height-age curves developed for site in­
Figure 71—Engeimann spruce advanced reproduction released by
                                                                        dex, Engelmann spruce on an average site (70) grows about
removal of the overstory. Trees average 3 to 5 feet in height and are    11 feet between ages 20 and 30 years, and about 4 feet bet­
80 to 100 years old.                                                    ween ages 90 and 100 years (table 18). In their first 100 years,

72
                                                                                           Rvsd Plan - 00005732
          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 166 of 346


dominant spruces attain about 78 percent of their height at age
300 years (Alexander 1967a). However, spruce does not com­
pete well in height growth with either lodgepole pine or aspen
in the first 80 to 100 years.

                 Mature to Overmature Stands

   With a high proportion of spruce-fir forests still in old-
growth stands, the forest manager must largely accept what
nature has provided during the period of conversion. Individual
Engelmann spruce trees have the capacity to make good growth
at advanced ages. If given sufficient growing space, they will



Table        Expected height of dominant Engelmann spruce
trees for site indexes 40 to 120, by decadal ages 20 to 300
years at breast height (adapted fi'om Alexander J967a)

 Breast
height
  age                       Site index class
(years)     40   50   60   70      80      90    100   110   120
                                                                   Figure 72—Subalpine fir seedlings in the open average less than 15
                                height in feet                     inches in height when 15 years old.

 20          6    9   13   16      2Q      23     27    30    34
 30         11   16   22   27      33      39     44    50    55
 40         15   22   29   36      43      50     57    64    71
 50         20   28   36   44      52      59     67    75    83
 60         24   33   42   50      59      67     76    84    93
 70         29   38   47   56      65      74     83    92   101
 80         33   42   52   61      70      80     89    98   108
 90         37   46   56   66      75      85     95   104   114
100         40   50   60   70      80      90    100   110   120
110         43   53   64   74      84      94    105   115   125
120         46   56   67   77      88      98    109   119   130
130         48   59   70   80      91     101    112   123   133
140         51   61   72   83      94     104    115   126   136
150         53   64   74   85      96     107    118   129   139
160         55   66   76   87      98     109    120   131   142
170         56   67   78   89     100     111    122   133   144
180         58   69   80   90     101     112    123   134   145
190         59   70   81   92     103     114    125   135   146
200         60   71   82   93     104     115    126   136   147
210         61   72   83   94     105     116    127   137   148
220         62   73   84   95     106     117    127   138   149
230         63   74   85   95     106     117    128   139   150
240         63   74   85   96     107     118    129   140   150
250         64   75   86   96     107     118    129   140   151
260         64   75   86   97     108     118    129   140   151
270         64   75   86   97     108     119    130   141   152
280         64   75   86   97     108     119    130   141   152
                                                                   Figure 73—Subalpine fir advanced reproduction released by removal
290         64   75   86   97     108     119    130   141   152
                                                                   of the overstory. Trees average 3 to 5 feet in height and are at least
300         64   75   86   97     108     119    130   141   152
                                                                   50 years old.


                                                                                                                                      73
                                                                                       Rvsd Plan - 00005733
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 167 of 346



continue to grow steadily in diameter for 300 years, long after                   fir from sapling stage to final harvest under even-aged manage­
the growth of most associated tree species, including subalpine                   ment with either a clearcut or shelterwood cut is provided by
fir, slows down (Alexander and Shepperd 1984, LeBarron and                        field and computer simulation procedures developed by Myers
Jemison 1953). Estimates based on Forest Survey data, rather                      (1971) and Alexander and others (1975) and refined by Ed­
than detailed growth and yield studies, indicate that average                     minster (1978). The procedures were developed from field data
annual growth in virgin spruce-fir stands will vary from a net                    on past growth related to stand density, age, and site quality.
loss due to mortality to an increase of 80 to 100 feet board                      Data were obtained from a large number of both permanent
measured per acre (Miller and Choate 1964). Average volumes                       and temporary plots established in thinned and natural stands
per acre in old-growth spruce-fir may be practically nothing                      throughout the central Rocky Mountains.
at timberline, 5,000 to 15,000 fbm on poor sites, and 25,000                         The modeling concept used in these programs holds that the
to 40,000 fbm on better sites. Volumes as high as 80,000 to                       whole stand is the primary model unit, characterized by
 100,000 fbm per acre have been reported for very old stands                      average values. The equations upon which the growth and yield
on exceptional sites (Pearson 1931, Thompson 1929, U.S.                           simulations are based are given in Alexander and others
Department of Agriculture 1942).                                                  (1975). The programs project stand development by con­
                                                                                  secutive, 10-year periods and include relationships to project
               Managed Even-Aged Stands                                           average stand diameter, average dominant and codominant
                                                                                  height, and number of trees per acre. Average diameter at the
   Large areas of old-growth spruce-fir are being converted                       end of a projection period is a function of average diameter
into even-aged stands that must be managed from the regenera­                     at the beginning of the period, site index, and basal area per
tion period to final harvest.^ The term managed, as used here,                    acre. Periodic average dominant and codominant height growth
refers to control of stand density throughout the life of the                     at managed stand densities is a function of age and site index.
stand. Yield tables for managed stands are essential to the land                   Periodic mortality is a function of average diameter and basal
manager as basis for decisions on the following;                                  area per acre. Stand volume equations are used to compute
                                                                                  total cubic feet per acre; factors are computed to convert this
  1.   Site quality classes that will repay the cost of thinning                  to merchantable cubic feet and board feet. Prediction equa­
       and other cultural treatments.                                             tions are included to estimate the effects of differing inten­
                                                                                  sities of thinning from below on average diameter, average
  2.   Levels of growing stock—including the frequency of
                                                                                   dominant and codominant height, and trees retained per acre.
       thinning or intermediate cutting—to meet management
                                                                                      Yield simulations discussed in the sections that follow were
       objectives.
                                                                                   made using the same hypothetical initial stand conditions for
  3. Length of rotation, cutting cycles, and allowable cut for                     all growth parameters:
     different cutting methods, management goals, and
     utilization standards.
                                                                                     1. Average age at first thinning is 30 years. Note that age
  4. The place of timber management in multiple-use                                     in the yield table simulation is measured at breast height
     management. Better decisions are possible regarding                                (4.5 feet). A minimum of 20 years is allowed for spruce
     key uses when the timber potential of managed stands                               and fir trees to regenerate and grow to 4.5 feet in height.
     can be forecast.                                                                   The total age of the stand is, therefore, at least 20 years
                                                                                        older than age measured at breast height. The age re­
   Furthermore, yield tables that show what can be accom­                               ferred to hereafter in the text, and in all tables and
plished by different management practices will provide goals                            figures, is measured at breast height.
toward which conversion to managed stands can be directed.
                                                                                    2. Average stand diameter is 4.5 inches d.b.h.
Intensive management of spruce-fir forests provides many op­
portunities for increasing usable wood production, but                               3. Stand density is 800 trees per acre.
estimates of future stand development under various manage­
                                                                                    4. Site index is 50-, 60-, 70-, 80-, 90- and 100-foot classes,
ment regimes are needed.
                                                                                       at base age 100 years (Alexander 1967).
   The best information available on the growth of spruce and
                                                                                     5. Projections were made for 70 years (stand age 100
                                                                                        years), 90 years (stand age 120 years), 110 years (stand
                                                                                        age 140 years), and 130 years (stand age 160 years),
^Theie are no coniparabie predictive methods now available that will estititate
  growth and yield of managed uneven-aged stands.                                    6. Thinnings from below were made every 20 to 30 years

74
                                                                                                     Rvsd Plan - 00005734
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 168 of 346


       to growing stock levels (GSL’s)’ of 40, 60. 80, 100,
       120, 140, 160, and 180, with initial and subsequent en­
       tries made to the same GSL.
  7. A clearcut and two-cut shelterwood options were used.
  8. Minimum size for inclusion in board-foot volume deter­
     mination was 8 inches d.b.h. to a 6-inch top. Volumes
     were determined from tables prepared by Myers and
     Edminster (1972).
  9. All entries were made as scheduled even though all thin­
     nings could be precommercial.

                           Diameter Growth

   Periodic mean annual diameter growth of spruce and fir is
related to stand density and site quality, but is affected little
by the cutting cycles tested. Cutting cycles do influence
average stand diameter, however, because thinning from below
increases average diameter at each entry. Actual basal area
in a stand with an average diameter of less than 10 inches
d.b.h. continues to increase, because periodic thinning does
not reduce basal area to a fixed amount (GSL) until an average
stand diameter of 10 inches d.b.h. is reached. Consequently,
the rate of diameter growth for a given GSL is not constant
over time and is essentially a negative exponential function
of basal area per acre in the program. In contrast, periodic
diameter growth is a linear function of site index, so that dif­
ferences in diameter growth resulting from site quality are con­                 Figure 74—Estimated average stand diameter in relation to age and
stant throughout the range of GSL’s and rotations examined                       growing stock ievei on site index 70 lands with a 20-year thinning
(Alexander and Edminster 1980).                                                  schedule and clearcut option (Alexander and Edminster 1980).
   Growth rates and changes in diameter resulting from thin­
ning frequency were examined to determine average size of                        below to reserve the larger trees for seed production, the
trees relative to rotation age. For example, with a clearcut op­                 average stand diameters at rotation age are slightly larger than
tion and a 20-year cutting cycle, trees reach average stand                      with a clearcut option (fig. 75). On an average site (index 70)
diameters at 9.6 to 28.3 inches d.b.h. after 100 years, and                      with a 20-year cutting cycle and the range of GSL’s tested,
16.8 to 46,3 inches d.b.h. after 160 years, for the range of                     mean stand diameters under a shelterwood option reach 10
GSL’s and site indexes tested (table 19). (See appendix E for                    inches at about the same ages as with a clearcut option (Alex­
these data with a shelterwood option.) On an average site (in­                   ander and Edminster 1980).
dex 70), with a 20-year cutting cycle, mean stand diameters
reached 10 inches d.b.h, at 50 to 82 years of age for the range                                          Height Growth
of GSL’s 40 to 180 (fig. 74) (Alexander and Edminster 1980).
   With a shelterwood option, the thinning regimes are the same                    Periodic mean annual height growth of spruce and fir in­
until 20 years before the final harvest at rotation age, when                    creases with site index and decreases with age, but is influ­
a heavier cut Is made. Since the seed cut is also made from                      enced little by GSL, cutting method, or the cutting cycle.
                                                                                 However, because fewer and, therefore, taller trees are left
                                                                                 after each thinning from below, the mean height of the domi­
’Growing stock level (GSL) is defined as the residual square feet of basal       nant and codominant trees is increased slightly at each entry.
  area when average .stand diameter is 10 inches or more. Basal area retained    The increase is positively correlated with thinning frequency
  in a .stand with an average diameter of less than 10 inches is less than the   and negatively correlated with GSL (Alexander and Edminster
  designated level (Edminster 1978, Myer.s 1971).
                                                                                 1980).

                                                                                                                                                75

                                                                                                    Rvsd Plan - 00005735
                       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 169 of 346




Table 19—EsiiinMed average diameter and number of trees per acre of spruce-fir at final harvest in relation to growing stock level, site index, rotation
age, and cutting cycle, with a clearcut option (adapted from Alexander and Edminster 1980)

                                                                                               Growing stock level

                                  40                  60                  80                  100                  120                  140                  160                  180

 Rotation       Cutting    No.        Dia­     No,       Dia­      No.       Dia­      No.        Dia­      No.        Dia­      No.        Dia­      No.        Dia­      No.        Dia­
   age           cycle      of       meter      of      meter       Of      meter       of       meter       of       meter       of       meter       of       meter       of       meter
 (years)        (years)   trees    (inches)   trees   (inches)    trees   (inches)    trees    (inches)    trees    (inches)    trees    (inches)    trees    (inches)    trees    (inches)

Site index 50
   too            20       21          20.2    44          17.1    74          15,1   107           14.0   155           12,7   233           11.2   281           10.5   371            9.6
   120                     13          25.7    25          22.2    45          19.3    67           17.6    97           16.0   145           14.1   200           12.8   294           11,2
   140                      9          30.1    16          27.9    28          24.2    42           22.0    62           19.8    93           17,5   130           15.8   192           13,8
   160                      7          34.8    12          32,2    18          30,0    28           27.0    42           24,1    62           21.3    89           19,1   129           16.8
   100            30       24          18.9    48          16.3    79          14,6   123           13.1   172           12,1   256           10.7   303           10,1   378            9.5
   120                     24          21.7    48          18.6    79          16.6   123           14.8   172           13-6   256           11.9   303           11,3   353           10,5
   140                     12          25,8    24          24.3    40          21.6    63           19.0    90           17,4   139           15.2   182           14.1   254           12.6
   160                      8          33.1    12          31.4    22          27,4    36           23.8    51           21-9    77           19.2   105           17.5   153           15.4

Site index 60
   100            20       18          21.6    36          18.8    62          16,6    85           15.8    132          13.9   170           13.2   247           11.7   305           11.1
   120                     11          27.7    21          24.3    37          21.4    51           20,2     80          17.7   102           16.9   148           15.0   189           14,0
   140                      8          32.5    13          30,7    23          27.0    32           25.3     50          22.2    64           21.1    93           18.8   121           17,4
   160                      6          37.6    10          35.4    17          31.5    21           30.1     33          27,3    42           25.9    61           23.1    81           21,2
   100            30       20          20.6    39          18.1    68          15.9    98           14.8    143          13.3   191           12.5   251           11.6   336           10,6
   120                     20          23.8    39          20.8    68          18-2    98           16.8    143          15.1   191           14,1   251           13.0   312           11,9
   140                     10          31.3    19          27,2    33          23.9    49           21.8     73          19,6    98           18,2   132           16.7   184           15,0
   160                      6          36.3    12          31.6    17          30.9    27           27.7     39          25,0    54           23.1    73           21.1   104           18.8

Site index 70
   100            20       16          23.1    30          20.7    50          18.5    74           17.0    105          15.6    135          14.9   182           13.7   241           12.6
   120                      9          30.6    17          27,1    29          24.1    44           21,9     62          20.1     80          19.1   109           17.5   147           16.0
   140                      6          36.0    12          31,8    18          30.5    27           27.7     39          25.4     50          24.1    66           22.0    90           20,2
   160                      6          40.6     9          36.9    13          35.2    20           32.0     25          31.6     32          29.9    44           27.2    59           24,9
   100            30       18          21.9    34          19.6    53          18.0    81           16.2    114          15,0    152          14.0   207           12.8   268           12,0
   120                     18          25.5    34          22,6    53          20.7    81           18,6    114          17.2    152          16,0   207           14.6   266           13.5
   140                      8          34.0    16          29.8    25          27.2    40           24.4     56          22.5     74          21.0   103           19.1   137           17.5
   160                      5          39.5    10          34.6    17          31,6    21           31,2     30          28.9     40          26,7    55           24.4    76           22.1




                                                                                                                                        Rvsd Plan - 00005736
                  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 170 of 346

TabJe 19        (continued)

                                                                                            Growing stock level

                                   40                  60               80                  100                 120                140              160                 180

 Rotation       Cutting    No.         Dia­     No.       Dia­   No.       Dia­      No.        Dia­     No.        Dia­      No.     Dia­    No.       Dia­     No,        Dia­
   age           cycle      of        meter      of      meter    of      meter       of       meter      Of       meter       Of    meter    of       meter      of       meter
 {years)        (years)   trees     (inches)   trees   (inches) trees   (inches)    trees    (inches)   trees    (inches)    trees (inches) trees    (inches)   trees    (inches)

Site index 80
   100             20         14        25.2    27          21,9   42        20.4    63       18.4       87           17.2   113     16.3    143      15.5      192       14.2
   120                         9        30.4    15          28.8   23        26.9    37       23.9       50           22.4    65     21.2     83      20.1      112       18.4
   140                         6        36.0    11          33.9   17        31.6    23       30.3       31           28.4    40     26.9     51      25.5       68       23.4
   160                         6        40.8     8          39.3   12        36.7    17       35.1       23           32.9    29     31.2     33      31.6       43       29.3
   100            30          16        23.6    29          21.1   47        19.2    68       17.8       95           16.5   127     15,4    161      14.6      229       13.0
   120                        16        27.4    29          24.5   47        22,2    68       20.6       95           19.1   127     17.8    160      16,7      227       14.8
   140                         9        32.8    13          32.7   22        29.3    32       27.3       45           25.2    60     23.5     79      21.9      113       19.5
   160                         6        38.4     9          38.0   14        34.1    20       31.9       27           29.4    32     30.2     41      28.3       60       24.9
Site index 90
   100             20         12        26.7    23          24.0   37        21.7    51       20.5       72       19.0        94     17.9    121      16.9      155       15,8
   120                         8        32.2    12          32.1   21        28.6    29       2.69       41       25.0        54     23.4     68      22.2       90       20.6
   140                         6        38.2     9          37.7   15        33.7    21       31.7       25       31.8        33     29.8     41      28.3       54       26.3
   160                         4        44.6     7          43.6   11        39.2    15       36.9       18       36.8        24     34.6     31      32.8       40       30.8
   100            30          14        25.2    26          22.5   41        20.6    57       19.5       77       18,4       108     16.8    136      18.0      181       14.7
  120                         14        29.4    26          26.3   41        24.0    57       22.7       77       21.4       108     19.5    135      18.5      179       16,8
   140                         8        35.2    14          31.5   19        31.8    27       30.1       36       28.4        49     26.0     63      24.5       87       22.3
   160                         5        41.2     9          37.1   12        37.1    17       35.1       23       33.2        31     30.4     33      31.6       46       28.6
Site index 100
   100             20         11        28.3    20          25.8   32        23.4    45       21.9       59       21.0        81     19.4    121      18.3      132       17.2
   120                         7        34.3    13          31.2   18        30.9    25       28.9       33       27.7        45     25.7     68      24,3       76       22.5
   140                         5        40.7     9          37.0   13        36.4    18       34.1       23       32.7        32     30.4     41      31.2       45       28.2
   160                         5        46.3     7          43.2    9        42.2    13       39.7       17       38.1        23     35.5     31      36.2       33       33.6
  100             30          11        25.6    20          24,1   31        22.3    43       21.0       57       19,8        77     18.5     99      17.5      131       16.0
  120                         11        31.1    20          28.3   31        26.1    43       24.6       57       23.0        77     21.5     98      20.3      128       18.4
  140                          6        37.3    11          33.9   17        31.5    24       32.9       26       30.5        34     28.7     45      27.0       60       24.5
  160                          4        43.8     7          39.8   11        37.1    15       38.3       15       35.7        21     33.5     28      31.6       38       31.7




                                                                                                                                         Rvsd Plan - 00005737
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 171 of 346




                                                                           Cubic-foot volume production is related to stand density,
Figure 75—Estimated average stand diameter with clearcut and            site quality, rotation age, and frequency of thinning (table 20).
shelterwood options in relation to age for site indexes 50 and 100 at   Cutting methods, however, have little effect on cubic volume
growing stock level 100 with a 20-year thinning schedule (Alexander
                                                                        growth (fig. 76). (See appendix E for these data with a shelter­
and Edminster 1980).
                                                                        wood option.)
                                                                           Although mean annual cubic volume increment increases
                      Basal Area Growth                                 as GSL and site index increase, the rate of increase diminishes
                                                                        as GSL increases, while differences in growth between site
   Periodic mean annual basal area increment is related to stand        classes become greater with increasing GSL (fig. 77). Cubic
density, site quality, and frequency of thinning, but is relatively     volume increment will apparently continue to increase at
unaffected by cutting method. Because actual basal area con­            GSL’s above 180 on all but site index 50 lands (Alexander
tinues to increase in a stand until average stand diameter              and Edminster 1980).
reaches 10 inches d.b.h. and thinning reduces basal area to                Average annual cubic volume increment per acre is greater
a fixed amount (GSL), the rate of basal area growth for a given         on site index 80 to 100 lands at GSL’s 40 to 140 on 100-year
GSL is not constant over time. Periodic basal area increment            rotations. At GSL’s above 140, growth is greater on a 120-year
is greater at higher GSL’s, but the rate of increase diminishes         rotation. On site index 50 to 70 lands, growth is generally
at higher stand densities. Periodic mean basal area growth is           greater on rotations longer than 100 years at GSL’s greater
also greater at higher site indexes. Moreover, the differences          than 60,
in basal area growth between site classes become progressively             Mean annual cubic volume increment is always greater with
greater with higher GSL’s. Periodic mean basal area incre­              a 30-year cutting cycle for all GSL’s at rotations of 120 years
ment is greater with a 30-year cutting cycle than with a 20-year        or longer. At GSL’s greater than 160 with a 100-year rota­
entry at all growing stock levels examined (Alexander and Ed­           tion, there is little difference in cubic volume between a 20-
minster 1980).                                                          and 30-year cutting cycle (Alexander and Edminster 1980),

78
                                                                                          Rvsd Plan - 00005738
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 172 of 346

Table Id—Estimated total cubic-foot volume production per acre of spruce-fir in relation to growing stock level, site index,
rotation age, and cutting cycle, with a clearcut option (adapted from Alexander and Edminster 1980)

   Rotation         Cutting
      age            cycle                                           Growing stock level
    (years)         (years)       40           60          SO          100           120       140          160         180
                                                                        1,000 cubic feet
Site index SO
   100                20          2.09        2.56         3.00        3.34          3.58      3.73         3.82        3.74
   120                            2.42        3.10         3.74        4.22          4.60      4.91         5.04        4.87
   140                            2.74        3.56         4.33        4.90          5.46      5.95         6.24        6.12
   160                            3.06        3.98         4.86        5.65          6.37      6.98         7.41        7.36
   100                30          2.19        2.71         3.09        3.35          3.52      3.63         3.70        3.58
   120                            2.62        3.36         3.94        4.34          4.67      4.84         4.92        4.70
   140                            2.95        3.85         4.54        5.17          5.61      5.96         6.09        5.99
   160                            3.30        4.32         5.12        5.82          6.53      7.01         7.28        7.18
Site index 60
  too                 20          2.S9        3.26         3.89        4.44          4.82      5.08         5.20        5.11
  120                             3.00        3.95         4.75        5.41          6.00      6.46         6.73        6.94
  140                             3.37        4.49         5.40        6.24          7.00      7.78         8.27        8.55
  160                             3.74        4.98         6.08        7.02          7.90      8.87         9.39        9.86
  100                 30          2.82        3.55         4.11        4.50          4.81      5.06         5.20        5.13
  120                             3.30        4.31         5.15        5.76          6.24      6.58         6.78        6.90
  140                             3.70        4.86         5.87        6.69          7.29      7.92         8.27        8.48
  160                             4.08        5.41         6.58        7.55          8.32      8.94         9.38        9.76
Site index 70
   100                20          3.30        4.18         4.89        5.55          6.17      6.66         6.99        6.90
   120                            3.78        4.88         5.87        6.70          7.48      8.22         8.76        9.11
   140                            4.20        5.49         6.61        7.69          8.65      9.58        10.25       10.82
   160                            4.62        6.08         7.39        8.61          9.76     10.86        11.68       12.35
   100                30          3.42        4.42         5.23        5.94          6.45      6.67         6.97        7.03
   120                            4.07        5.24         6.38        7.34          8.23      8.76         9.07        9.23
   140                            4.49        5.87         7.17        8.39          9.42     10.15        10.70       10.98
   160                            4.93        6.50         8.02        9.42         10.56     11.44        12.06       12.51
Site index 80
   100                20          3.90        5.00         5,95        6.81          7.62       8.37        8.92        9.15
   120                            4.46        5.78         6.96        8.00          9.00      10.01       10.80       11.48
   140                            4.97        6.50         7.92        9.16         10.36      11.56       12.60       13.44
   160                            5.42        7.18         8.75       10.22         11.68      12.99       14,24       15.30
   100                30          4.23        5.44         6.50        7.42          8.14       8.68        9,04        9.15
   120                            4.38        6.38         7.69        8.86          9.89      10.67       11,24       11.41
   140                            5.40        7.08         8.55        9.95         11.23      12.28       13,01       13.47
   160                            5.94        7.82         9.60       11.26         12.72      13.89       14.77       15.26
Site index 00
   100                20          4.58        5.89         7.06        8.10          9.03       9.97       10.72       11.26
   120                            5.16        6.77         8.32        9.55         10.79      11.88       12.92       13.76
   140                            5.73        7.64         9.30       10.81         12.23      13.62       14.90       15.97
   160                            6.26        8.32        10.30       12.03         13.73      15.23       16.70       18.03
   100                30          4.98        6.40         7.74        8.97         10.00      10.70       11.20       11.52
   120                            5.72        7.49         9.22       10.69         11.89      12.88       13.56       14.02
   140                            6.31        8.30        10.22       12.04         13.66      14.91       15.95       16.38
   160                            6.99        9.15        11.34       13.38         15.12      16.11       17.68       18.38
Site index 100
   100                20          5.33        6.82         8.21        9.54         10.78      11.87       12.81       13.37
   120                            6.02        7.82         9.52       11.14         12.67      14.11       15.34       16.12
   140                            6.64        8.74        10.70       12.60         14.42      16.07       17.56       18.58
   160                            7.28        9.58        11.81       13.95         16.02      17.94       19.58       20.91
   100                30          5.75        7.44         9.06       10.60         11.91      12.96       13.70       14.08
   120                            6.61        6.80        10.66       12.55         14.10      15.47       16.42       16.94
   140                            7.25        9.65        11.96       14.11         15.99      17.68       18.76       19.57
   160                            7.87       10.59        13.10       15.54         17.78      19.73       20.98       21.86


                                                                                   Rvsd Plan - 00005739                  79
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 173 of 346




                                                                                          40    &0     SO        100 120        140   1&0   160
                            Growing Stock Level                                                             Growing Slock Love!

Figure 77—Estimated mean annual total cubic-foot volume increment           Figure 78—Estimated mean annual board-foot volume increment per
per acre in relation to growing stock level and site index for a 120-year   acre with clearcut and shelterwood options in relation to growing stock
rotation with a 30-year thinning interval and clearcut option {Alexander    level for site index classes 60, 80, and 100, for a 140~year rotation
and Edminster 1980).                                                        with a 20-year thinning schedule (Alexander and Edminster 1980).



Board-Foot Increment

  Board-foot volume production (table 21) is related to all
stand parameters evaluated, but there is little difference in
average annual increment between clearcut and shelterwood
options (fig. 78). Mean annual sawtimber volume growth in­
creases as stand density increases throughout the range of
GSL’s on site index 70 or better lands, but generally levels
off or declines on lands with site index less than or equal to
60 at GSL’s above 160 (fig. 79) (Alexander and Edminster
1980). (See appendix E for corresponding data with a shelter­
wood option-)
   Board-foot volume growth increases with site quality, and
the differences in growth between site classes are greater as
GSL increases. Throughout the range of GSL’s, average an­
nual board-foot increment per acre for all site classes is always
greater on a 160-year rotation (fig. 80).
   At GSL’s 40 through 160 on rotations longer than 100 years,
and at GSL’s 40 to 140 on shorter rotations, board-foot volume              Figure 79—Estimated mean annual board-foot volume increment per
                                                                            acre in relation to growing stock level and site index for a 140-year
growth is greater on a 30-year cutting cycle than on a 20-year              rotation with a 20-year thinning schedule and clearcut option (Alex­
cycle. At higher GSL’s, growth is greater with more frequent                ander and Edminster 1980).
thinnings (fig. 81) (Alexander and Edminster 1980).

Maximizing Board-Foot Yields                                                   The largest volume production per acre (104,800 board feet)
                                                                            is attained with a clearcut option on site index 100 lands, at
  What yields can be expected with intensive management of                  GSL 180, on a 160-year rotation, with a 30-year cutting cycle
spruce-fir to maximize timber production? If the objective is               (table 21). These stands will contain about 38 trees per acre
to integrate timber production with other resource uses, what               with an average d.b.h. of nearly 32 inches at rotation age (table
are the timber tradeoffs? How can these objectives be attained              19). Volume production and tree size attained are about the
with the fewest precommercial thinnings?                                    same under a two-cut shelterwood (see appendix E).

80
                                                                                                Rvsd Plan - 00005740
        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 174 of 346

Table 21—Estimated board-foot volume production per acre of spruce-fir in relation to growing stock level, site index, rotation
age, and cutting cycle, with a clearcut option (trees 8 inches d. b. h. and larger to a 6-inch top) (adapted from Alexander and
Edminster J980)

   Rotation         Cutting
     age             cycle                                             Growing stock level
   (years)          (years)        40           60          80          100           120        140          160          180
                                                                         1,000 board feet
Site index 50
  too                  20           7,1         8.9         10.4        11.6          12.0        11.7        11.4         10.9
  120                               9.2        12.1         14.6        16.4          17.4        17.8        17.4         16.2
  140                              11.2        14.8         18.1        21.0          22.8        23.7        23.9         23.1
  160                              13.3        17.9         21.8        25.3          27.8        29.4        30.9         29.9
  too                  30           7.5         9.1         10.5        11.4          11.6        11.4        11.0         10.3
  120                              10.0        12.7         15.1        16.8          17.5        17.4        17.2         16.1
  140                              12.2        15.7         18.8        21.1          23.1        23.5        23.5         22.5
  160                              14.6        19.0         22.7        26.4          28.6        29.8        30.2         28.8
Site index 60
  too                  20           9.1        12.0         14.1        16.1          17.0        17.4        17.6         17.0
  120                              11.6        15.6         19.2        21.8          23.6        25.2        26.2         25.8
  140                              14.1        19.3         23.8        27.2          29.7        31.6        33.3         34.3
  160                              16.6        22.9         28.3        32.6          36.0        39.2        41.3         42.4
  100                  30           9.8        12.5         14.3        15.6          16.5        17.0        17.0         16.3
  120                              12.8        17.0         20.4        22.6          24.0        25.4        26.2         25.2
  140                              15.4        20.6         25.1        28.6          31.5        33.7        34.9         33.7
  160                              18.1        24.2         29.1        33.9          37.9        40.8        42.4         41.4
Site index 70
   100                 20          11.7        15.0         17.9         20.6         23.0        24.7        25.4         24.9
   120                             14.8        19.2         23.6         27.6         31.2        34.1        38.1         35.8
   140                             17.6        23.8         29.1         34.3         38.9        42.7        45.1         48.2
   160                             20.6        27.7         34.2         40.6         46.6        50.7        54.2         56.8
   100                 30          12.4        16.2         19.2         21.6         23.2        24.3        24.6         24.1
   120                             16.1        21.7         26.0         29.6         32.8        34.8        35.5         34.8
   140                             19.0        25.5         31.6         36.9         40.7        43.4        44.7         45.1
   160                             22.1        29.8         37.1         43.0         48.2        52.3        54.9         56.5
Site index 80
  too                  20          13.8        18.2         22.2         26.0         29.6        32.5        34.3         34.1
  120                              17.4        23.9         29.4         34.2         38.6        42.7        46.4         47.4
  140                              20.7        28.8         35.7         41.6         47.5        52.9        57.0         60.1
  160                              24.3        33.4         41.8         49.0         56.0        62.6        68.2         72.6
  too                  30          15.5        20.0         24.2         27.8         30.6        32.4        33.5         33.0
  120                              19.8        25.7         31.8         37.4         41.8        45.0        46.4         45.7
  140                              23.2        31.4         38.1         44.8         50.1        54.6        57.8         58.5
  160                              27.0        33.3         45.6         53.6         60.2        65.9        69.8         71.2
Site index 90
   100                 20          16.4        22.6         27.8         32.1         35.9        39.1        42.5         44.5
   120                             20.4        28.6         35.4         41.3         46.9        52.0        58.2         59.9
   140                             24.4        33.9         42.3         50.1         57.4        63.7        89.3         74.2
   160                             28.2        39.4         49.4         58.7         67.2        74.7        822          89.0
   100                 30          18.7        25.2         30.7         35.5         39.3        42.2        43.8         43.2
   120                             23.5        31.9         39.7         46.6         52.2        56.4        58.9         58.2
   140                             27.4        37.2         46.9         55.6         62.6        68.3        72.1         73.1
   160                             31.7        43.2         54.4         65.0         73.6        80.6        85.8         87.0
Site index 100
  too                  20          19.6        26.6         32.7         38.4         43.6        48.2         51.8        54.2
  120                              24.2        33.2         41.5         49.0         56.0        82.4         68.0        71.6
  140                              28.6        39.5         49.8         59.2         68.0        76.0         83.2        88.1
  160                              33.1        45.8         57.8         68.5         79.4        88.8         97.6       104.6
  100                  30          21.9        29.2         36.3         43.3         48.7        52.6         54.2        53.6
  120                              27.6        37.9         47.6         66.3         63.2        69.2         72.1        71.4
  140                              32.1        44.4         56.0         66.4         75.3        82.7         87.4        88.9
  160                              36.6        51.2         64.5         76.5         87.7        96.6        103.0       104.8


                                                                                       Rvsd Plan - 00005741                 81
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 175 of 346



                   Rotation Aqe IVfsi


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5 100




            40      60        80        100     120      140   160   180
                                   Growing Stock Level



Figure 80—Estimated mean annual board-foot volume increment per            Figure 81—Estimated mean annual board-foot volume increment per
acre in relation to growing stock level and rotation age on site index     acre in relation to thinning schedules for 100- and 140-year rotations
80 lands with a 30-year thinning schedule and clearcut option (Alex­       on site index 80 lands under clearcut option (Alexander and Edminster
ander and Edminster 1980).                                                 1980).


   Volume production declines substantially when GSL is                    However, if only one precommercial thinning is possible,
reduced. The decline is greater with each successive reduc­                managers can increase their flexibility by changing GSL’s with
tion. At site indexes 60 to 90, with a clearcut option, largest            successive reentries. For example, on site index 70 lands with
volume production also occurs at GSL 180 on a 160-year rota­               a 30-year cutting cycle, stand density is initially reduced to
tion but with a 20-year cutting cycle. On site index 50 lands,             GSL 100. At the time of the second thinning, GSL is increased
greatest production is at GSL 160 on a 20-year cutting cycle,              to 120, and it is increased to 140 with the third thinning.
with GSL’s 120 and 140 nearly as favorable (Alexander and                  Volume production will be less than maximum, but reasonably
Edminster 1980).                                                           close to the volume available from a stand maintained at a con­
   Table 21 also shows the amount of volume given up as GSL                stant GSL 140. Attempts to raise the GSL to 140 at the time
is reduced from 180 to 40 for all combinations of stand                    of the second entry into the stand would result in the need for
parameters examined. Moreover, it shows that more volume                   a second precommercial thinning. By following this procedure,
can be produced over the same time span with 160-year rota­                managers can increase GSL on site index 60 lands from 60
tions than with shorter rotations.                                         to 100.
   Whether the board-foot volume production potential can be                  Where economic conditions permit investment of funds in
achieved depends largely on how much money can be invested                 two precommercial thinnings, the manager has the opportunity
in thinning. It is assumed that once a stand reaches a minimum             to maximize timber production on site index 60 to 100 lands.
merchantable size of 8 inches average d.b.h. to a 6-inch top,              On site index 50 lands, a GSL of 120 could be maintained,
market conditions permit intermediate thinnings to be made                 or it could be increased to GSL 140 by changing the level at
as scheduled. If economic constraints limit managers to only               the second entry, provided that the rotation was at least 140
one precommercial thinning in the life of the stand, their op­             years.
tions are severely restricted with either a clearcut or shelter­
wood cut alternative. For example, on site index 50 to 60                       Tradeoffs to Increase Value of Other Resources
lands, stand density must be reduced to GSL’s 40 to 60, respec­
tively, and the cutting cycle increased to 30 years (table 22).               Understory vegetation in spruce-fir forests is potentially im­
On site index 80 lands, a GSL of 120 can be maintained with                portant as forage for big game, but production is lower in
a 30-year cutting cycle, and on site index 100 lands where                 stands with high overstory density and closed canopies. To
there is considerable flexibility, a GSL of 160 can be                     increase forage production, the manager must be willing to
maintained.                                                                trade off timber production. For example, reduction of tree
   Thinnings to a constant GSL have been assumed up to now.                competition by clearcutting old-growth stands to bring them

82
                                                                                             Rvsd Plan - 00005742
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 176 of 346


                                                                           years before competition from new tree reproduction begins
                                                                           to reduce understory vegetation (Regelin and Wallmo 1978).
                                                                           Thinning second-growth spruce-fir stands also increases
                                                                           amount and composition of understory species, especially
                                                                           where stand density is reduced to low levels. However, data
                                                                           and methodology are not available to quantify changes in
                                                                           understory production and composition associated with the
                                                                           various habitat types for the range of GSL’s, rotation ages,
                                                                           cutting cycles, and sites indexes examined here for timber
                                                                           production.
                                                                              Spruce-fir forests yield the most water in the Rocky Moun­
                                                                           tains. The proportion of water yield to precipitation is high
Figure 82—Projected changes in annual water yield from simulation          because of the cold climate, short growing season, and the
for growing stock level 100 and site index 70 lands, with a 140-year       accumulation of an overwinter snowpack (Leaf 1975). Because
rotation, 30-year thinning schedule, and clearcut option (Leaf and Alex­   most of the water available for streamflow comes from
ander 1975).
                                                                           snowmelt, the most efficient pattern of timber harvest for water
                                                                           yield in old-growth stands is to clearcut about 30 to 40 per­
under management produces favorable changes in the amount                  cent of a drainage (1) in small, irregular-shaped patches about
and composition of understory species used as forage by deer               five to eight times tree height in diameter, (2) protected from
(Regelin and Wallmo 1978, Wallmo 1969, Wallmo and others                   the wind, and (3) interspersed with uncut patches of about the
1972). Changes in vegetational composition and the quantities              same size (Leaf 1975). Leaf and Alexander (1975) estimated
of forage available, rather than any differences in nutritive              water available for streamflow after clearcutting in spruce­
values, accounts for heavier grazing of cut areas (Regelin and             fir stands under different management strategies using simula­
others 1974). This change in production and composition,                   tions generated by hydrologic and timber yield models (Alex­
which varies considerably with habitat type, persists 15 to 20             ander and others 1975, Edminster 1978). Projected water yield
                                                                           increases at GSL 100, on a 30-year cutting cycle, on site in­
                                                                           dex 70 lands, for a 140-year rotation are shown in figure 82.
 Table 22~-Number ofprecommercial thiruiings of spruce-fir                 Simulation analyses also showed that estimated water yield
 in relation to growing stock level, site index, rotation age, and         in managed stands was influenced little by any combination
 cutting cycle, with a clearcut or shelterwood option (adapted             of initial and subsequent GSL’s that ranged from 80 to 120.
from Alexander and Edminster 1980)                                         More water should be available for streamflow at lower GSL’s
                                                                           because of the reduction in consumptive use by trees, but no
                                                                           comparisons were made at higher or lower GSL’s because of
Cutting
 cycle      Site                     Growing stock level                   limitations in the simulation programs. One unknown factor
(years)    index    40    60    80      100   120    140    160     180    is water use by competing understory vegetation associated
                                                                           with different habitat types for different GSL’s.
  20         50      2     2     2       3     3      4       4     51        Based on information available from research and simula­
             60      2     2     2       2     3      3       3     4’
                                                                           tion, it is clear that stand density must be substantially reduced
             70      1     2     2       2     2      2       3     3
             80      1     1     2       2     2      2       2     3      and maintained at a low (GSL 40 to 60) stocking level to benefit
             90      1     1     2       2     2      2       2     2       water and forage resources. Other resource values may re­
            100      1     1     1       2     2      2       2     2      quire moderate (GSL 80 to 100) stocking levels. Considerable
  30          50     1     2     2       2     2      3       3     3      timber volume production is given up, however, at low to
              60     1     1     2       2     2      2       2     3       moderate stand density levels. For example, on site index 100
              70     1     1     1       1     2      2       2     2      lands, at GSL 80 with 160-year rotation and 30-year reentry
              80     1     1     1       1     1      2       2     2      schedule, 40,300 fewer board feet per acre are produced than
              90     1     1     1       1     1      1       2     2
             100     1     1     1       1     1      1       1     2
                                                                           with GSL 180. If the GSL is reduced to 40, the loss in volume
                                                                           production is 68,200 fbm per acre (table 21) (Alexander and
iThinnings on a 100-year rotation would be precommercial.                   Edminster 1980).




                                                                                                                                          83
                                                                                               Rvsd Plan - 00005743
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 177 of 346
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86
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88
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90
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                          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 184 of 346




                                                                                                                                                                    Appendix A-■■■■Habitat Types, Community Types
                                                                                                                                                                    and Plant Communities
Table A-1—Habitat types, community types, and plant communities in the central and southern Rocky Mountains in which Engelmann spruce
(Picea engeimannii) is a major climax, co-climax, minor climax, or major serai

        Habitat type,                                                     Successional
      community type,                                                        status               Principal tree     Principal understory
     or plant community               Location              Site         P. engeimannii            associates               species               Authority

                                                                       Picea engeimannii series

Picea engeimannii/               Chiricahua Moun­      Warm moist       Climax             Abies lasiocarpa        A. glabrum                Alexander and others
  Acer glabrum H.T.                tains, Arizona;                                         Pseudotsuga menziesii   Bromus ciliatus             1984a
                                 Sacramento                                                Populus tremuloides     Viola canadensis          Moir and Ludwig
                                   Mountains, New                                                                  Smilacina stellate          1979
                                   Mexico
Picea engeimannii/               Wind River and        Warm dry         Climax             Pinus flexilis          J. communis               Steele and others
  Juniperus communis H .T.        Absaroka Moun­                                           P. menziesii            Arnica cordifolia           1983
                                  tains, north­                                            Pinus albicaulis        Frasers, speciosa
                                  western Wyoming                                          Pinus contorta
                                                                                           Juniperus scopulorum
Picea engeimannii/               Wind River Moun­      Cool             Climax             P. contorta             L borealis                Steele and others
  Linnaea borealis H.T.           tains, north­         well-drained                       P. menziesii            Vaccinium globulare         1983
                                  western Wyoming                                                                  Sympboricarpos albus
                                                                                                                   J. communis
Picea engeimannii/               Mountains of north­   Warm moist       Climax             P. contorta             P. maivaceus              Steele and others
  Physocarpus maivaceus H.T.      western Wyoming                                          P. menziesii            Galium triflorum            1983
                                                                                                                   Disporum trachycarpum
                                                                                                                   Thallctrum spp.
Picea engeimannii/               Wind River Moun­      Cool dry to      Climax             P. contorta             R. montigenum             Steele and others
  Ribes montigenum H.T.           tains, north­         well-drained                       P. albicaulis           Aquilegia caerulea          1983
                                  western Wyoming                                                                  Lupinus spp.
                                                                                                                   A. cordifolia
Picea engeimannii-               Sangre de Cristo      Cool dry         Climax             A. lasiocarpa (minor    P. delicatum (P.          DeVelice and others
   Vaccinium myrtillus H.T.        Mountains, south­                                         climax)                 pulcherrimum)             1986
[P. engelmannii/V. myrtillus-      ern Colorado and                                        Pinus aristata          Senecio spp.              Moir and Ludwig
   Poiemonium pulcherrlmum         northern New                                            P. tremuloides          Deschampsla caespitosa      1979
   H.T.]                           Mexico                                                                          Poa reflexa
[P. engelmannii/Vaccinium
  scoparium-P, belicatum H.T.]
Picea engelmannii/Vaccinium      Wind River and Big­ Coo! dry           Climax             A. lasiocarpa (minor    V. scoparium              Hoffman and Alex­
  scoparium H.T.                  horn Mountains,                                            climax WR Mts.)       A. cordifolia               ander 1976
                                  Wyoming                                                  P. flexilis             Carex rossii              Steele and others
                                                                                           P. contorta             Antennaria spp.             1983
                                                                                           P. menziesii            Fragaria virgfniana
                                                                                           P. albicaulis
Picea engeimannii/               Mogollon and Black    Coo! dry        Climax              P. menziesii            B. ciliatus              Fitzhugh and others
  Bromus ciliatus H.T.            Mountains, New                                                                   C. rossii                    1985
                                  Mexico                                                                           Astragalus miser
                                                                                                                   Fragaria spp.        Rvsd Plan - 00005751
                   Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 185 of 346

Table A-l~ (continued)

       Habitat type,                                                 Successional
     community type,                                                    status               Principal tree    Principal understory
    or plant community           Location              Site         P. engeimannii            associates             species                  Authority

Picea engeimannii/          Capitan Mountains,    Cool dry to       Climax or co­      A. lasiocarpa          E. triticoides             Alexander and others
  Elymus triticoides H.T,    New Mexico             we!l-d rained     climax with A.   P. menziesii           A. glabrum                   1984a
                                                                      lasiocarpa                              Jamesia americana          Moir and Ludwig
                                                                                                                                           1979
Picea engeimannii/          Mountains of north­   Cool moist        Climax             A. lasiocarpa          C. disperma                Steele and others
  Carex disperma H.T.        western Wyoming                                           Picea pungens          Pyrola secunda               1983
                                                                                                              G. triflorum
Picea engeimannii/          Pinaieno Mountains,   Cooi dry          Climax             Generally in pure      C. foenea                  Moir and Ludwig
  Carex foenea H.T.           Arizona                                                   stands                                            1979
Picea engeimannii/          Mountains of north­   Cool              Climax             P.   menziesii         A.   cordifolia            Steele and others
  Arnica cordifolia H.T.     western Wyoming        well-drained                       P.   flexilis          C.   rossii                  1983
                                                                                       P.   albicaulis        A.   miser
                                                                                       P.   tremuloides       F.   speciosa
Picea engeimannii/          Mountains of north­   Cool moist        Climax             A. lasiocarpa          C. leptosepala             Steele and others
  Caltha leptosepala H.T.    western Wyoming                                           P. contorta            V. scoparium                 1983
                                                                                       P. albicaulis          Trollius laxus
Picea engeimannii/          Mountains of north­   Warm to cool      Climax             A. lasiocarpa          E. arvense                 Steele and others
  Equisetum arvense H.T.     western Wyoming       wet                                 P. contorta            Streptopus amplexifolius     1983
                                                                                       P. pungens             Senecio triangularis
                                                                                                              Luzula parviflora
Picea engeimannii/          Mountains of north­   Cool moist        Climax             A.   lasiocarpa        G. triflorum               Steele and others
  Galium triflorum H.T.      western Wyoming                                           P.   contorta          Actaea rubra                 1983
                                                                                       P.   pungens           S. stellata
                                                                                       P.   menziesii         S. amplexifolius
Picea engeimannii/          San Francisco         Cool dry          Climax             P. tremuloides         G. rossii                  Moir and Ludwig
  Geum rossii H.T.            Peaks, Arizona                                                                  P. delicatum                1979
                                                                                                              Festuca bracbyphylla
Picea engeimannii/          Mountains of north­   Cool dry          climax             P. flexilis            H. revolutum               Steele and others
  Hypnum revolutum H.T.      western Wyoming                                           P. albicaulis          Discranowiesia crispula      1983
                                                                                       P. menziesii
Picea engeimannii/          Blue Mountains,       Cool moist        Climax             P. menziesii           S. cardamine               Fitzhugh and others
  Senecio cardamine H.T.      Arizona                                                  Pinus ponderosa        Geranium richardsonii         1985
                                                                                       Pinus strobiformis     Fragaria ovalis
                                                                                       A. lasiocarpa          Vioia canadensis
                                                                                       Abies concolor
                                                                                       P. punger^s
                                                                                       P. tremuloides
                                                                                                                       Rvsd Plan - 00005752
                 Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 186 of 346

Table          (continued)

        Habitat type,                                                     Successional
      community type,                                                        status                Principal tree        Principal understory
     or plant community               Location             Site          P. engeimannii             associates                  species               Authority


Picea engeimannii/               High mountains of     Cold moist       Climax or co­       A. lasiocarpa               T. dasyphyllum           Hess 1981
  Trifolium dasyphyllum H.T.       north-centra!                          climax with A.    P. tremuloides              Pyrola chlorantha
                                   Colorado                               lasiocarpa        P. flexilis                 Sedum lanceotatum
                                                                                                                        Trisetum spicatum
Picea engeimannii/               Mountains of New      Cool dry to      Climax or co-       A.   lasiocarpa             Moss spp.                Alexander and others
  Moss spp. H.T.                  Mexico and            well-drained      climax with A.    P.   tremuloides            Ribes spp.                  1985
                                  Arizona                                 lasiocarpa        P.   aristata               Lathyrus arizonicus      Fitzhugh and others
                                                                                            P.   menziesii              Vaccinium spp.              1985
                                                                                                                        Rosa spp.                Moir and Ludwig
                                                                                                                                                    1979
Picea engeimannii/               Mountains of north­   Warm dry         Climax              A. lasiocarpa (minor        J. communis              DeVelice and others
  Scree H.T.                      ern New Mexico                                              climax)                   Saxifrage bronchialis      1986
                                  and southern
                                  Colorado


                                                                        Abies lasiocarpa series

Abies lasiocarpa/                Mountains of north­   Warm moist       Serai to A.         A, lasiocarpa               A. glabrum               Alexander and others
 Acer glabrum H.T.                western Wyo­                           lasiocarpa         P. menziesii                Thalictrum occidentale     1985
                                  ming; mountains                                           P. contorta                 Thalictrum fendleri      Steele and others
                                  of north-centra!                                                                      Osmorhiza chilensis        1983
                                  and northwestern                                                                      Pachistima myrsinites
                                  New Mexico
Abies lasiocarpa/                Mountains of north­   Warm to cool,    Minor climax to     A.    lasiocarpa            B. repens                Steele and others
  Berberis repens H.T,            western Wyoming       well-drained     A. lasiocarpa      P,    contorta              R. montigenum              1983
                                                                                            P.    menziesii             Sympboricarp os
                                                                                            P.    flexilis                oreophilus
                                                                                            P.    tremuloides           P. myrsinites
                                                                                                                        Shepherdia canadensis
Abies lasiocarpa/                Mountains of north­   Warm to cold     Serai to or co­     A.    lasiocarpa            J.   communis            Moir and Ludwig
  Juniperus communis H.T.         western Wyo­          dry               climax with A.    P.    menziesii             P.   secunda               1979
                                  ming, northern                          lasiocarpa        P.    contorta              S.   canadensis          Steele and others
                                  Arizona, and New                                          P.    tremuloides           V.   globulare             1983
                                  Mexico                                                    A.    concolor (SVI only)
Abies lasiocarpa/                Mountains of north­   Cool, moist to   Co-climax with A.   A.    lasiocarpa            L. borealis              Steele and others
  Linnaea borealis H.T.           western Wyoming       well-drained     lasiocarpa         P.    contorta              A. cordifolia               1983
A. lasiocarpa-Picea               and central                                               P.    menziesii             V. scoparium             Steen and Dix 1974
  engelmannii/L. borealis P.C.    Colorado                                                  P.    tremuloides
                                                                                                                               RVSdPjSn-’00005753
                   Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 187 of 346

Table A-1—(continued)

        Habitat type,                                                   Successional
      community type,                                                      status                Principal tree     Pnncipal understory
     or plant community              Location             Site         P. engeimannii             associates              species              Authority

Abies lasiocarpa/               Mountains of north­   Cool moist      Serai to A,         A, lasiocarpa           M. ferruginea           Steele and others
  Menziesia ferruginea H.T.      western Wyoming                        lasiocarpa        P. contorta             V. globulare              1983
                                                                                          P. menziesii            R. parviflorus
                                                                                                                  Actaea rubra
Abies lasiocarpa/               Mountains of cen­     Warm dry to     Co-climax with A.   A.   lasiocarpa         P. myrsinites           Hess and Wasser
  Pachistima myrsinites H.T.     tral and southern     well-drained     lasiocarpa        P.   contorta           Clintonia uniflora        1982
   lasiocarpa-Picea              Colorado                                                 P,   menziesii          G. triflorum            Steen and Dix 1974
  engelmannii/P. myrsinites                                                               P.   tremuloides        Carex geyeri
  P.C.                                                                                                            Erigeron spp.
Abies lasiocarpa/               Mountains of north­   Warm moist      Serai to A.         A. lasiocarpa           P. maivaceus            Steele and others
  Physocarpus maivaceus H.T.     western Wyoming       north            lasiocarpa        P. menziesii            A. cordifolia             1983
                                                       slopes                             P. tremuloides          Amelanchier alnifolia
                                                                                                                  P. myrsinites
Abies lasiocarpa/               Mountains of north­   Cool dry        Serai or minor      A.   lasiocarpa         R. montigenum           Steele and others
  Ribes montigenum H.T.          western Wyoming                        climax to A.      P.   contorta                                     1983
                                                                        lasiocarpa        P.   tremuloides
                                                                      P. albicaulis       P.   albicaulis
Abies lasiocarpa/               Mimbres and           Warm moist      Co-climax with A.   A.   lasiocarpa         R. parviflorus          DeVelice and others
  Rubus parviflorus H.T.          Mogollon Moun­                       lasiocarpa         P.   menziesii          Vaccinium myrtillus        1986
                                  tains, New                                              A.   concolor           A. glabrum              Fitzhugh and others
                                  Mexico                                                  P.   tremuloides        P. myrsinites              1985
                                San Juan Moun­                                                                                            Moir and Ludwig
                                  tains, Colorado                                                                                            1979

Abies lasiocarpa/               High mountains of     Cold wet        Co-climax with A.   A. lasiocarpa           S. glauca               Hess 1981
  Salix glauca H.T.               Colorado                             lasiocarpa         P. contorta             V. myrtillus            Hess and Wasser
[A. lasiocarpa-Picea                                                                      P. flexilis             P. pulcherrimum           1982
  engelmannii/S. glauca H.T.]                                                                                     Acomastylis rossii      Komarkova 1984
Abies lasiocarpa/               Bighorn Mountains,    Cool to warm    Co-climax with A,   A.   lasiocarpa         S. canadensis           Hoffman and Alex­
   Shepherdia canadensis H.T.     Wyoming               dry            lasiocarpa         P.   menziesii          V. scoparium              ander 1976
   (WY)                         Mountains of cen­                                         P.   contorta                                   Steen and Dix 1974
.4. lasiocarpa-Picea              tral and southern                                       P.   tremuloides
   engelmannii/S. canadensis      Colorado
   P,C.(CO)
Abies lasiocarpa/               Mountains of north­   Warm dry        Serai to A.         A. lasiocarpa           S. betulifolia          Steele and others
  Spiraea betulifolia H.T.       western Wyoming                       lasiocarpa         P. contorta             B. repens                 1983
                                                                                          P. menziesii            P. myrsinites
Abies lasiocarpa/               Mountains of north­   Warm well-      Serai to A.         A.   lasiocarpa         S. albus                Steele and others
  Sympboricarpos albus H.T.      western Wyoming       drained          lasiocarpa        P.   contorta           A. alnifolia              1983
                                                       lower                              P.   menziesii          c. Roe  Rvsd Plan - 00005754
                                                       slopes                             P.   tremuloides
                 Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 188 of 346

Table A-1—(continued)

        Habitat type,                                                    Successional
      community type,                                                       status                Principal tree    Principal understory
     or plant community              Location             Site          P. engeimannii             associates              species                 Authority


Abies lasiocarpa/               Mountains of north-   Cool             Serai to A.         A.   lasiocarpa         V. globulare               Steele and others
  Vaccinium globulare H.T.       western Wyoming        well-drained    lasiocarpa         P.   contorta           P. myrsinites                1983
                                                                                           P.   menziesii          V. scoparium
                                                                                           P.   albicaulis
Ables lasiocarpa/               Mountains of east-    Coo!             Climax to co-       A.   lasiocarpa         V. myrtillus               Alexander and others
   Vaccinium myrtillus H.T.      ern Arizona,           well-drained     climax with A.    A.   concolor           V. scoparium                  1985
    lasiocarpa/V. myrtillus-     northern New                            lasiocarpa (AZ)   P.   menziesii          D. trachycarpum            DeVelice and others
  Linnaea borealis H.T.]         Mexico, and                                               P.   tremuloides        Polemonfum flavum             1986
[A. laslocaipa/V. myrtlllus-     southern                                                  P.   aristata           Calamagrostis              Fitzhugh and others
   Rubus parviflorus H.T.]       Colorado                                                  P.   flexilis             canadensis                  1985
[A. laslocarpa/Vaccinium                                                                   P.   pungens            L borealis                 Moir and Ludwig
  scoparium-L borealis H.T.]                                                               P.   strobiformis       R. parviflorus                1979
Abies lasiocarpa/               Mountains south       Cool dry         Climax, co-         A.   lasiocarpa         V. scoparium               Hess 1981
   Vaccinium scoparium H.T.      from Wyoming to                         climax, or        P.   contorta           C. rubescens               Hess and Wasser
A. lasiocarpa-Picea              Arizona and New                         minor climax      P.   tremuloides        V. myrtillus                 1982
  engelmannli/V. scoparium       Mexico                                  with A.           P.   menziesii          A. cordifolia              Hoffman and Alex­
   P.A.                                                                  lasiocarpa        P.   albicaulis         C. geyeri                    ander 1976
[P. engeimannii/                                                                                                   Erigeron superbus (E.      Hoffman and Alex­
   V. scoparium H.T.]                                                                                                 eximius)                  ander 1980
                                                                                                                   L. borealis                Hoffman and Alex­
                                                                                                                   P. myrsinites                ander 1983
                                                                                                                   Phyllodoce empetrlformls   Komarkova 1984
                                                                                                                                              Moir and Ludwig
                                                                                                                                                1979
                                                                                                                                              Steele and others
                                                                                                                                                1983
                                                                                                                                              Steen and Dix 1974
                                                                                                                                              Wirsing and Alex­
                                                                                                                                                ander 1975
Abies lasiocarpa/               Mountains of north-   Warm dry         Serai to A.         A.   lasiocarpa         X. tenax                   Steeie and others
  Xeropbyllum tenax H.T,         western Wyoming                         lasiocarpa        P.   albicaulis         V. scoparium                 1983
                                                                                           P.   contorta           V. globulare
                                                                                           P.   menziesii
Abies lasiocarpa/               Mountains of north-   Coo! wet         Co-climax with A.   A. lasiocarpa           C. canadensis              Hess 1981
  Calamagrostis canadensis       western Wyoming                        lasiocarpa         P. contorta             Vaccinium caespitosum      Komarkova 1984
   H.T.                         Mountains of north­                                        P. tremuloides          S. triangularis            Steele and others
A. lasiocarpa-Picea              central and                                                                       G. triflorum                 1983
  engelmannii/C. canadensis      western Colorado
   H.T,
[P. engelmannii/C. canadensis
   H.T.]                                                                                                                   Rvsd Plan - 00005755
                   Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 189 of 346

Table A-1—fconrittuet/j

         Habitat type,                                                       Successional
       community type,                                                          status                 Principal tree        Principal understory
      or plant community                 Location              Site         P. engeimannii              associates                  species              Authority

Abies lasiocarpa/                   Mountains of north­   Warm dry         Serai to A.          A.   lasiocarpa         C.   rubescens              Steeie and others
  Calamagrostis rubescens            western Wyoming                         lasiocarpa         P.   contorta           P.   myrsinites               1983
  H.T.                                                                                          P.   menziesii          B.   repens
                                                                                                P.   tremuloides        A.   cordifolia
Abies lasiocarpa/                   Mountains of north­   Cooi             Serai to /I.         A. lasiocarpa           L. hitchcockii              Steele and others
  Luzula hitchcockii H.T.            western Wyoming       well-drained      lasiocarpa         P. contorta             A. cordifolia                 1983
                                                                                                P. albicaulis           V. scoparium
Abies lasiocarpa/                   Mountains of          Cool dry to      Co-climax with yt.   A.   lasiocarpa         C. geyeri                   Hess 1981
   Carex geyeri H.T.                 Wyoming, north­        warm dry        lasiocarpa          P.   menziesii          A. cordifolia               Hess and Wasser
/i. lasiocarpa-Picea                 central and                                                P.   contorta           Symphoricaipos                1981
   engelmannii-C. geyeri H.T.        western Colorado                                           P.   albicaulis           oreophilus                Hoffman and Alex­
[P. engelmannii/C. geyeri H.T.]                                                                 P.   tremuloides        Lupinus argenteus             ander 1980
                                                                                                                                                    Hoffman and Alex­
                                                                                                                                                      ander 1983
                                                                                                                                                    Komarkova 1984
                                                                                                                                                    Steele and others
                                                                                                                                                      1983
                                                                                                                                                    Steen and Dix 1974
                                                                                                                                                    Wirsing and Alex­
                                                                                                                                                      ander 1975
Abies lasiocarpa/                   Mountains of north­   Warm moist       Co-climax with A.    A.   lasiocarpa         A. rubra                    Steele and others
  Actaea rubra H.T.                  western Wyoming       lower            lasiocarpa          P.   pungens            0. chilensis                  1983
                                                           slopes                               P.   contorta           Lonicera utahensis
                                                                                                P.   menziesii          V. globulare
Abies lasiocarpa/                   Mountains of north­   Coo!             Serai to or co-      A.   lasiocarpa         A.   cordifolia             Hoffman and Alex­
  Arnica cordifolia H.T.             western, north­        well-drained     ciimax with A.     P.   contorta           P.   secunda                  ander 1976
                                     centra! Wyoming                         lasiocarpa         P.   menziesii          A.   miser                  Komarkova 1984
                                     and centra!                                                P.   albicaulis         F.   virginlana             Steele and others
                                     Colorado                                                   P.   tremuloides        S.   canadensis               1983
Abies lasiocarpa/                   Mountains of north­   Cooi dry         Sera! to A.          A.   lasiocarpa         A. latifolia                Steele and others
  Arnica latifolia H.T.              western Wyoming                         lasiocarpa         P.   contorta           Aster engeimannii,            1983
                                                                                                P.   tremuloides        Pedicularis racemose
                                                                                                P.   menziesii
                                                                                                P.   albicaulis
Abies lasiocarpa-                   Mountains of cen­     Cooi wet         Co-climax with A.    A, lasiocarpa           C. cordifolia               DeVelice and others
   Picea engeimannii/                tral and southern                      lasiocarpa          P. tremuloides          M. ciliata                    1980
   Cardamine cordifolia P.C.         Colorado                                                                           Mitella pentandra           Steen and Dix 1974
[jA, lasiocarpa/Mertensia ciliata                                                                                       Carex bella
    H.T.]
                                                                                                                                  Rvsd Plan - 00005756
                       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 190 of 346
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     Table A.-1—(continued)

             Habitat type,                                                    Successional
           community type,                                                       status              Principal tree     Principal understory
          or plant community              Location              Site         P. engeimannii           associates              species                 Authority


     Abies lasiocarpa/               Mountains of south­   Cool dry         Co-climax with A. A. lasiocarpa           E. superbus (E. eximius)   Alexander and others
       Erigeron superbus (E.          western Colorado                       lasiocarpa      P. ponderosa             G. richardsonii               1985
       eximius) H.T.                  and northern New                                         A. concolor            L. arizonicus              DeVelice and others
                                      Mexico and                                               P. menziesii           Lonicera involucrate          1986
                                      Arizona                                                  P. strobiformis        A. cordifolia              Fitzhugh and others
                                                                                               P. tremuloides                                       1985
                                                                                                                                                 Moir and Ludwig
                                                                                                                                                    1979

     Abies lasiocarpa-               Mountains of cen­     Warm             Co-climax with A. A. lasiocarpa           L argenteus                Steen and Dix 1974
       Picea engelmannii/Lupinus      tral and southern     well-drained     lasiocarpa      P. contorta              V, scoparium
       argenteus P.C.                 Colorado
     Abies lasiocarpa/               Mountains of north­   Warm dry         Serai to A.         A. lasiocarpa         P.   racemosa              Steeie and others
       Pedicularis racemosa H.T,      western Wyoming                         lasiocarpa        P. menziesii          A.   cordifolia              1983
                                                                                                P. contorta           S,   oreophilus
                                                                                                P. albicaulis         P.   myrsinites
     Abies lasiocarpa/               High mountains of     Cool dry         Co-climax with A. A. lasiocarpa           P. delicatum               Komarkova 1984
       Polemonlum delicatum H.T.       central and west­                     lasiocarpa      P. contorta              Osmorhiza obtusa           Steen and Dix 1974
     A. lasiocarpa/Picea               ern Colorado                                            P. tremuloides         Vaccinium spp.
       engelmannii/P. delicatum
       P.C.
     Abies lasiocarpa/               Sacramento Moun­      Coo! dry to      Co-climax with A. A. lasiocarpa           S. sanguisorboides         Alexander and others
       Senecio sanguisorboides        tains. southern        well-drained    lasiocarpa      P. menziesii             R. montigenum                1984
       H.T,                            New Mexico                                              P. tremuloides         Ribes wolfii               Moir and Ludwig
                                                                                                                                                   1979
     Abies lasiocarpa-               Mountains of cen­     Cool moist       Co-climax with A.   A. lasiocarpa         S. triangularis            Hess 1981
       Picea engeimannii/ Senecio     tral and western                       lasiocarpa                               M. ciliata                 Komarkova 1984
       triangularis H.T,              Colorado                                                                        C. cordifolia
     [P. engeimannii/                                                                                                 E. arvense
       S. triangularis H.T,]
     Abies lasiocarpa/               Mountains of north­   Warm             Serai to A.         A. lasiocarpa         T. occidentale             Steele and others
       Thalictrum occidentale H.T,    western Wyoming       well-drained      lasiocarpa        P. menziesii          A. cordifolia                1983
                                                                                                 P. contorta          O. chilensis
                                                                                                 P. tremuloides
                                                                                                 P. albicaulis
     Abies iasiocarpa/t/toss ^p.     Mountains of north­   Cool dry         Co-climax with A. A. lasiocarpa           Moss spp,                  DeVelice and others
       H,T.                           ern New Mexico                         lasiocarpa      P. tremuloides           Rosa spp,                    1986
     A. lasiocarpa-Picea              and southwestern                                         P. aristata            V. caespitosum             Komarkova 1984
       engelmannli/Moss spp. P.C.     and central                                              P. contorta (CO)                                  Steen and Dix 1974
                                      Colorado                                                                                  Rvsd Plan - 00005757
                         Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 191 of 346

     Table A-1—(continued)

             Habitat type,                                                     Successional
           community type,                                                        status                Principal tree        Principal understory
          or plant community               Location              Site         P. engeimannii             associates                 species                Authority



                                                                             Picea pungens series

     Picea pungens/Linnaea            Sangre de Cristo      Cooi             Minor climax to     P.   pungens            L. borealis                  DeVelice and others
        borealis H.T.                   Mountains, south­     well-drained    P. pungens         P.   menziesii          P. myrsinites                  1986
     [P. pungens-Pseudotsuga            ern Colorado and                      P. menziesii       A.   concolor           V. myrtillus                 Moir and Ludwig
        menziesii/L. borealis H.T.]     northwestern New                      A. concolor        P.   tremuloides                                       1979
                                        Mexico                                                   A.   lasiocarpa
                                                                                                 P.   flexilis
     Picea pungens/                   Mountains of north­   Cool moist       Minor climax to     P. pungens              C. foenea                    Alexander and others
       Carex foenea H .T.              central and north­                     P. pungens         P. menziesii            A. glabrum                     1985
                                       western New                             P. menziesii      P. tremuloides          Festuca arizonica
                                       Mexico                                                                            E. eximius
     Picea pungenstErigeron         Mountains of north­     Coot dry         Minor climax to     A. lasiocarpa (minor    E.   superbus (E. eximius)   DeVelice and others
        eximius H.T.                 ern New Mexico                            P. pungens          climax)               F.   arizonica                 1986
     [P. pungens-Picea engeimannii/  and southern                              P. menziesii      P. pungens              C.   foenea                  Moir and Ludwig
        E. superbus H.T.]            Colorado                                 A. concolor        P. menziesii            F.   virginlana               1979
                                                                                                 A. concolor             G.   richardsonii
                                                                                                 P, tremuloides          T.   fendleri
                                                                                                 P. strobiformis
                                                                                                 P. ponderosa
                                                                                                 P. flexilis
     Picea pungens/                   Mountains of New      Cool moist       Minor climax to     P.   pungens            F.   ovalis                  Alexander and others
       Fragaria ovalis H.T.            Mexico                                 P. pungens         P.   menziesii          C.   foenea                    1984a
                                                                              P. menziesii       A.   lasiocarpa         F.   arizonica               Fitzhugh and others
                                                                                                 P.   ponderosa          E.   superbus (E. eximius)     1985
                                                                                                 P.   strobiformis
                                                                                                 P.   tremuloides
                                                                                                 A.   concolor
     Picea pungens/Senecio          White Mountains,        Cooi moist       Co-climax with P,   A. lasiocarpa (minor    S. cardamine                 Moir and Ludwig
        cardamine H.T.               Arizona                                  pungens               climax)              Pteridium aquilinum           1979
     IP. pungens-Picea engeimannii/                                                              P. pungens              Helenlum hoopesii
        S. cardamine H.T.]                                                                       P. menziesii            V. canadensis
                                                                                                 A. concolor
                                                                                                 P. strobiformis
                                                                                                 P. tremuloides
                                                                                                 P. ponderosa



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vD                                                                                                                                  Rvsd Plan - 00005758
                     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 192 of 346

Table A.-1—(continued)

         Habitat type,                                                    Successionai
       community type,                                                       status                Principal tree          Principal understory
      or plant community               Location             Site         P. engeimannii             associates                    species               Authority



                                                  Pirius contorta series and other P. contorta dominated vegetation

Pinus contorta/                  Mountains of cen­     Warm dry         Ultimate climax  A. lasiocarpa                A. uva-ursi                 Steen and Dix 1974
  Arctostaphylos uva-ursi P.C.    tra! and southern                       unknown; prob­ P. engeimannii               B. repens
                                  Colorado                                ably co-climax P. tremuloides               Sitanion hystrix
                                                                          with A.
                                                                          lasiocarpa
Pinus contorta/                  Mountains of north­   Warm dry         Minor climax to     A.   lasiocarpa           J. communis                 Hess 1981
  Juniperus communis H.T.         western Wyoming                         P. contorta       P.   menziesii            A. uva-ursi                 Steele and others
  (CO); C.T. (WY)                 and central                             (CO).             P.   tremuloides          S. canadensis                 1383
                                  Colorado                              Ultimate climax     P.   albicaulis           A. cordifolia
                                                                          unknown (WY);     P.   contorta
                                                                          probably serai
                                                                          to or co-climax
                                                                          with A.
                                                                          lasiocarpa
Pinus contorta/                  Mountains of north­   Cool moist to    Ultimate climax    A. lasiocarpa              L.   borealis               Steele and others
  Linnaea borealis C.T, (WY);     western Wyoming        well-drained     unknown; prob­ P, menziesii                 V.   scoparium                1983
  P.C. (CO)                       and central                             ably serai to or P. contorta                V.   globulare              Steen and Dix 1974
                                  Colorado                                co-climax with                              A.   cordifolia
                                                                          A. lasiocarpa                               C.   rubescens
Pinus contorta/                  Mountains of cen­     Warm dry to      Ultimate climax  A. lasiocarpa                P. myrsinites               Steen and Dix 1974
  Pachistima myrsinites P.C.      tral and southern     well-drained      unknown; prob­ P, tremuloides               V. scoparium
                                  Colorado                                ably co-climax P. contorta                  J. communis
                                                                          with A.                                     L. borealis
                                                                          lasiocarpa                                  Lathyrus leucanthus
Pinus contorta/                  Mountains of north­   Cool-warm        Ultimate climax   P. menziesii                S.   canadensis             Steen and Dix 1974
  Shepherdia canadensis C.T,      western Wyoming       dry to             unknown; prob­ A. lasiocarpa               A.   cordifolia             Steele and others
  (WY): P C. (CO)                 and central           well-drained      ably co-climax  P, tremuloides              J.   communis                 1983
                                  Colorado                                with P. men­    P. contorta                 L.   borealis
                                                                          ziesii or A.                                A.   uva-ursi
                                                                          lasiocarpa
Pinus contorta/                  Mountains of north­   Warm dry         Ultimate climax   A. lasiocarpa               S. betulifolia              Steele and others
  Spiraea betulifolia C.T.        western Wyoming                         unknown; prob­ P. contorta                  C. rubescens                  1983
                                                                          ably serai or   P. menziesii                C. geyeri
                                                                          minor climax to
                                                                          >1. lasiocarpa
                                                                                                                              Rvsd Plan - 00005759
                  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 193 of 346

Table A-1—(continued)

         Habitat type,                                               Successional
       community type,                                                  status                 Principal tree        Principal understory
      or plant community           Location             Site        P. engeimannii              associates                  species               Authority


Pinus contorta/              Mountains of north­   Cool            Ultimate climax   P. menziesii               V.   globulare              Steeie and others
  Vaccinium globulare C.T.    western Wyoming       well-drained     unknown; prob­ A. lasiocarpa               L.   utahensis                1983
                                                                     ably serai or   P. contorta                V.   scoparium
                                                                     minor climax to                            C.   rubescens
                                                                     A. lasiocarpa
                                                                     P. menziesii
Pinus contorta/              Mountains of north­   Cool to cold    Ultimate climax      P.   menziesii          V. scoparium                Steele and others
  Vaccinium scoparium C.T.    western Wyo­          dry              unknown; prob­     A.   lasiocarpa         C. rubescens                  1983
  (WY); P.C. (CO)             ming, southern                         ably minor         P.   albicaulis         A. cordifolia               Steen and Dix 1974
                              Wyoming, and                           climax to or co­   P.   flexilis           L. argenteus                Wirsing and Alex­
                              central Colorado                       climax with A.     P.   contorta           B. repens                     ander 1975
                                                                     lasiocarpa                                 C. geyeri
Pinus contorta/              Mountains of north­   Warm dry        Ultimate climax   A. lasiocarpa              C. rubescens                Steele and others
  Calamagrostis rubescens     western Wyoming                        unknown; prob­ P. menziesii                V. scoparium                  1983
  C.T.                                                               ably serai to   P. contorta                C. geyeri
                                                                     minor climax to
                                                                     A. lasiocarpa
Pinus contorta/              Mountains of north­   Coo! dry        Ultimate climax    A. lasiocarpa             C. geyeri                   Hess 1981
  Carex geyeri H.T. (CO);     western Wyo­                           unknown; prob­ P. contorta                 S. oreophilus               Hess and Wasser
  C.T. (WY)                   ming, southern                         ably serai to or P. menziesii              A. cordifolia                 1982
                              Wyoming, and                           co-climax with   P. albicaulis             L. argenteus                Steele and others
                              northern and cen­                      A. lasiocarpa    P. flexilis               B. repens                     1983
                              tral Colorado                                           P. tremuloides            J. communis                 Steen and Dix 1974
                                                                                                                                            Wirsing and Alex­
                                                                                                                                              ander 1975
Pinus contorta/              Mountains of north­   Warm dry        Ultimate climax    A. lasiocarpa             C. rossii                   Steele and others
  Carex rossii C.T.           western Wyoming                        unknown; prob­ P. contorta                 L. argenteus                  1983
                                                                     ably sera! to or P. tremuloides            Poa nervosa
                                                                     co-climax with   P. albicaulis
                                                                     A. lasiocarpa
Pinus contorta/              Mountains of north­   Cool dry        Ultimate climax   A. lasiocarpa              A. cordifolia               Steele and others
  Arnica cordifolia C.T.      western Wyoming                        unknown; prob­ P. albicaulis               Antennaria racemosa           1983
                                                                     ably serai or   P. flexilis                A. miser
                                                                     minor climax to P. contorta                P. secunda
                                                                     A, lasiocarpa
Pinus contorta/              Mountains of cen­     Warm dry to     Ultimate climax   A. lasiocarpa              L. argenteus                Steen and Dix 1974
  Lupinus argenteus P.C.      tral and southern     well-drained      unknown; prob­ P. tremuloides
                              Colorado                               ably co-climax  P. contorta
                                                                     with A.
                                                                     lasiocarpa                                           Rvsd Plan - 00005760
                Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 194 of 346

Table A-1—(continued)

        Habitat type,                                                      Successional
      community type,                                                         status               Principal tree        Principal understory
     or plant community                 Location             Site         P. engeimannii            associates                  species              Authority



                                               Populus tremuloides series and other P. tremuloides dominated vegetation

Populus tremuloides-Abies          Mountains of west­   Warm to cool     Serai or minor     A. lasiocarpa           B. repens                   Youngblood and
  lasiocarpa/Berberis repens        ern Wyoming          well-drained      climax to /t.    P. contorta             S. albus                      Mueggler 1981
  C.T.                                                                     lasiocarpa       P. tremuloides          P. myrsinites
P. tremuloides/B. repens C.T.
Populus tremuloides/               Mountains of cen­    Warm dry         Ultimate climax    A.   lasiocarpa         P. myrsinites               Steen and Dix 1974
  Pachistima myrsinites P.C.        tral and south­                        unknown; prob­   P.   contorta           V. scoparium
                                    western Colorado                       ably co-climax   P.   tremuloides        C. geyeri
                                                                           with A,          P.   menziesii
                                                                           lasiocarpa
Populus tremuloides-Abies          Mountains of west­   Coo! dry to      Minor climax to    A. lasiocarpa            S. canadensis              Youngblood and
  lasioca rpa/Sheph erdia           ern Wyoming           well-drained    A. lasiocarpa     P. tremuloides           A. cordifolia                Mueggler 1981
  canadensis C.T.                                                                           P. contorta              Rosa woodsil
P. tremuloides/S. canadensis                                                                                         T. fendleri
  C.T.
Populus tremuloides/               Mountains of cen­    Warm moist       Ultimate climax  A. lasiocarpa             E. glaucus                  Steen and Dix 1974
  Elymus glaucus P.C.               tral and south­      to well-          unknown; prob­ P. contorta               A. alnifolia
                                    western Colorado     drained           ably co-climax P. tremuloides            Sympboricarpos spp.
                                                                           with A.                                  LIgusticum porteri
                                                                           lasiocarpa
Populus tremuloides/               Mountains of         Warm dry         Ultimate climax    A.   lasiocarpa          F.   thurberi              Steen and Dix 1974
  Festuca thurberi P.C.             southwestern                           unknown: prob­   P.   contorta            B.   repens
                                    Coiorado                               ably co-climax   P.   menziesii           S.   oreophilus
                                                                           with A.          P.   flexilis            F.   ovalis
                                                                           lasiocarpa       P.   tremuloides
Populus tremuloides/               Mountains of west­   Cool wet         Probably climax    A. lasiocarpa            E. arvense                 Youngblood and
  Equisetum arvense C.T.            ern Wyoming                                             P. contorta              E. glaucus                   Mueggler 1981
                                                                                            P. tremuloides           T. fendleri
Populus tremuloides/               Mountains of west­   Warm moist       Sera! or minor     A. lasiocarpa           H. lanatum                  Youngblood and
  Heracleum lanatum C.T.            ern Wyoming                            climax to A.     P. contorta             Pedicularis bracteosa         Mueggler 1981
                                                                           lasiocarpa       P. tremuloides          T. fendleri
                                                                                                                    E. glaucus
Populus tremuloides-Abies          Mountains of west­   Cooi moist to    Minor climax to    A. lasiocarpa           L.    filicinum             Youngblood and
  lasiocarpa/Ligusticum             ern Wyoming           well-drained    A. lasiocarpa     P, tremuloides          P.    bracteosa               Mueggler 1981
  filicinum C.T,                                                                                                    T.    fendleri
P. tremuloides/L. filicinum C.T.                                                                                    E.    glaucus
Populus tremuloides-Abies          Mountains of west­   Cool moist       Serai to A.        A. lasiocarpa           P. racemosa                 Youngblood and
  iasiocarpa/Pedicularis            ern Wyoming                            lasiocarpa       P. tremuloides          A. cord   Rvsd Plan - 000057611
  racemosa C.T.                                                                                                     S. oreophilus
                 Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 195 of 346

Table A.~l—(continued)

        Habitat type,                                                    Successional
      community type,                                                       status               Principal tree        Principal understory
     or plant community               Location              Site        P. engeimannii            associates                  species              Authority


Populus tremuloides/             Mountains of west­    Cool moist to   Serai to A.       A. lasiocarpa            R. alismaefolius            Youngblood and
  Ranunculus alismaefolius        ern Wyoming           wet             lasiocarpa       P. tremuloides           Carex microptera              Mueggler 1981
  C.T.                                                                                                            Trifolium longipes
Populus tremuloides-Abies        Mountains of west­    Cool moist to   Serai to A,       A. lasiocarpa            R. occidentalis             Youngblood and
  lasiocarpa/Rudbeckia            ern Wyoming           weil-drained    lasiocarpa       P. tremuloides           T. longipes                   Mueggler 1981
  occidentalis C.T.                                                                                               Nemophlla breviflora
P. tremuloides/R. occidentalis                                                                                    Mellca spectabilis
  C.T.


                                                                   Pseudotsuga menziesii series

Pseudotsuga menziesii/           Mountains of west­    Warm dry        Minor climax to   P. menziesii             P.   myrsinites             Hess and Wasser
  Pachistima myrsinites H.T.      central Colorado                      P. menziesii     P. contorta              S.   oreophilus              1982
                                                                                         P. tremuloides           A.   cordifolia
                                                                                                                  B.   repens
                                                                                                                  V,   myrtillus
Pseudotsuga menziesii            Mountains of north­   Warm dry        Serai to          P.    menziesii          Salix spp.                  DeVelice and others
  Scree H.T.                      ern and south­                         P. menziesii    A.    lasiocarpa         S. oreophilus                  1986
                                  western New                                            P.    tremuloides        Holodiscus dumosus          Fitzhugh and others
                                  Mexico                                                 P.    strobiformis       B. ciliatus                    1985



                                                                       Abies concolor series

Abies concolor/                  Mountains of north-   Warm dry        Minor climax to    A.   concolor           A.   glabrum                DeVelice and others
  Acer glabrum H.T.               ern New Mexico                        A. concolor       P.   menziesii          A.   alnifolia                 1986
                                  and Arizona                           P. menziesii      P.   pungens            B.   repens                 Fitzhugh and others
                                                                                          P.   tremuloides        P.   myrsinites                1985
                                                                                          A.   lasiocarpa
Abies concolor/                  Mountains of New      Warm dry        Minor climax to    A.   concolor           R. neomexicana              Fitzhugh and others
  Robina neomexicana H.T.         Mexico and                            A. concolor       P.   ponderosa          S. oreophilis                  1985
[A. concolor-Pseudotsuga          Arizona                               P. menziesii      P.   menziesii          Quercus gambelii            Moir and Ludwig
  menziesii/R. neomexicana                                                                P.   tremuloides                                       1979
   H.T.]                                                                                  P.   strobiformis
Abies concolor/                  Mountains of north-   Coo! dry        Minor climax to    A.   concolor           V.   myrtillus              DeVelice and others
  Vaccinium myrtillus H.T.        ern New Mexico                        A, concolor       P.   menziesii          A.   glabrum                 1986
                                  and southern                          P. menziesii      P.   pungens            A,   uva-ursi
                                  Coiorado                                                A.   lasiocarpa         P.   myrsinites
                                                                                          P.   tremuloides
                                                                                                                  "•Rvsd Plan - 00005762
                     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 196 of 346



Table A-1—(continued)

        Habitat type,                                                 Successional
      community type,                                                    status                 Principal tree     Principal understory
     or plant community               Location             Site      P. engeimannii              associates               species                 Authority


Abies concolor/                  Mountains of north­   Cool moist   Minor climax to      /A,   concolor           E. superbus (E. eximius)   DeVelice and others
  Erigeron superbus (E.           ern New Mexico                     A. concolor         P.    menziesii          C. foenea                   1986
  eximius) H.T.                                                      P. menziesii        P.    pungens            Lathyrus spp.
                                                                                         P.    tremuloides        Fragaria spp.


                                                                     Pinus flexilis series

Pinus flexilis/                  Mountains of north­   Warm dry     Minor climax to      P. flexilis              A. uva-ursi                DeVelice and others
  Arctostaphylos uva-ursi H.T.    ern New Mexico                      P. flexilis        P. menziesii {minor      J. communis                  1986
                                  and southern                                             climax)
                                  Colorado
Pinus flexilis/                  High mountains        Cool dry     Minor climax to      P. flexilis              C. purpurascens            Hess 1981
  Calamagrostis purpurascens       east slope Con­                   P. flexilis                                  Carex spp.
  H.T.                             tinental Divide,                                                               T. spicatum
                                   Coiorado
Pinus flexilis/                  Mountains of north­   Cool dry     Minor climax to      P. flexilis              T. dasyphyllum             Hess 1981
  Trifolium dasyphyllum H.T.      central Colorado                   P. flexilis                                  C. purpurascens
                                                                                                                  C. foenea


                                                                     Pinus aristata series

Pinus aristata/                  Mountains of south­   Warm dry     Co-climax with       P. aristata (may be      F. arizonica               DeVelice and others
  Festuca arizonica H.T.          ern Colorado                        P. aristata          pure stands on drier   F. thurberi                  1986
                                                                                           sites)
Pinus aristata/                  San Juan and          Cooi dry     Co-climax with       P. aristata              F. thurberi                DeVelice and others
  Festuca thurberi H.T.            Sangre de Cristo                  P. aristata                                  R. montigenum                1986
                                   Mountains,                                                                     P. delicatum (P.
                                   Colorado                                                                         pulcherrimum)
Pinus aristata/                  Mountains of north­   Cool dry     Minor climax to      P. aristata              T. dasyphyllum             Hess 1981
  Trifolium dasyphyllum H.T.      central Colorado                   P. aristata                                  C. purpurascens
                                                                                                                  P. delicatum (P.
                                                                                                                    pulcherrimum)


                                                                                                                        Rvsd Plan - 00005763
                  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 197 of 346


Table          (continued)

        Habitat type,                                           Successional
      community type,                                              status                 Principal tree     Principal understory
     or plant community           Location             Site    P. engeimannii              associates              species               Authority




                                                              Pinus albicaulis series

Pinus albicaulis/            Mountains of north­   Cool dry   Minor climax to     P. albicaulis            V. scoparium             Steele and others
  Vaccinium scoparium H.T.    western Wyoming                  P. albicaulis      P. contorta              C. rossii                  1983
                                                               P. contorta        A. lasiocarpa            A. cordifolia
Pinus albicaulis/            Mountains of north­   Cool dry   Minor ciimax to     P.    albicaulis         C. rossii                Steele and others
  Carex rossii H.T.           western Wyoming                  P. albicaulis      A.    lasiocarpa                                    1983
                                                                P. contorta       P.    contorta
                                                                                  P.    flexilis




                                                                                                                       Rvsd Plan - 00005764
                       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 198 of 346

S   Table A-2—Habitat types, community types, and plant communities in the central and southern Rocky Mountains in which Abies lasiocarpa is a
    major climax, co-climax, minor climax, or major serai

             Habitat type,                                                       Successional
                                                          *
          community type,                                                            status                Principal tree     Principal understory
         or plant community               Location                 Site          A. lasiocarpa              associates               species               Authority

                                                                               Abies lasiocarpa series

    Abies lasiocarpa/Acer glabrum    Mountains of north­      Warm moist       Climax              Picea engeimannii        A. glabrum                Alexander and others
      H.T.                            western Wyoming                                              Pseudotsuga menziesii    Thalictrum occidentale      1985
                                     Mountains of north­                                           Pinus contorta           Thalictrum fendleri       Steele and others
                                      central and north­                                                                    Osmorhiza chilensis         1983
                                      western New                                                                           Pachistima myrsinites
                                      Mexico
    Abies lasiocarpa/                Mountains of north­      Warm-cool        Climax              P. engeimannii {minor    B. repens                 Steele and others
      Berberis repens H.T,            western Wyoming          well-drained                          climax)                Sympboricarpos              1983
                                                                                                   P. contorta                oreophilus
                                                                                                   P. menziesii             P. myrsinites
                                                                                                   Pinus flexilis           Shepherdia canadensis
                                                                                                   Pop ulus tremuloides
    Abies lasiocarpa/                Mountains of north­      Warm to cold     Climax or co-       P. engeimannii           J. communis               Moir and Ludwig
      Juniperus communis H.T.         western Wyo­             dry               ciimax with P.    P. menziesii             Pyrola secunda              1979
                                      ming, northern                             engeimannii       P. contorta              S. canadensis             Steele and others
                                      Arizona, and New                                             P. tremuloides           Arnica cordifolia           1983
                                      Mexico                                                       Ables concolor
                                                                                                     (NM.AZ)
    Abies lasiocarpa/Linnaea         Mountains of north­      Coot moist to    Ciimax or co­       P.    engeimannii        L. borealis               Steele and others
      borealis H.T.                   western Wyoming           well-drained     climax with P.    P.    contorta           Vaccinium scoparium         1983
    A. lasiocarpa-Picea               and central                                engeimannii       P.    menziesii          Calamagrostis rubescens   Steen and Dix 1974
      engelmannii/L. borealis P.C.    Colorado                                                     P.    tremuloides        A. cordifolia
    Abies lasiocarpa/                Mountains of north­      Cool moist       Climax              P. engeimannii           M. ferruginea             Steele and others
      Memiesia ferruginea H.T.        western Wyoming                                              P. contorta              Rubus parviflorus           1983
                                                                                                   P. menziesii             Actaea rubra
                                                                                                                            Vaccinium globulare
    Abies lasiocarpa/Pacbistima      Mountains of cen­        Warm dry to      Climax or co­       P,    menziesii          P. myrsinites             Hess and Wasser
       myrsinites H.T.                tral and southern        well-drained      climax with P.    P.    contorta           Clintonia uniflora          1982
    >3. lasiocarpa-Picea              Colorado                                   engeimannii       P.    tremuloides        Galium triflorum          Steen and Dix 1974
       engelmannii/P. myrsinites                                                                   p.    engeimannii        Carex geyeri
       P.C.                                                                                                                 Erigeron spp.
    Abies lasiocarpa/                Mountains of north­      Warm moist       Ctimax              P. engeimannii           P. maivaceus              Steele and others
      Physocarpus maivaceus H.T,      western Wyoming          north                               P, menziesii             Spiraea betulifolia         1983
                                                               slopes                              P. tremuloides           Amelanchier alnifolia
                                                                                                                            P. myrsinites
    Abies lasiocarpa/                Mountains of north­      Coot dry         Climax              P. engeimannii           R. montigenum^            Steele and others
      Ribes montigenum H.T.           western Wyoming                                              P. contorta                      Rvsd Plan - 00005765
                                                                                                   Pinus albicaulis
                  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 199 of 346

Table A~2—(continued)

        Habitat type,                                                      Successional
      community type,                                                          status              Principal tree     Principal understory
     or plant community                Location              Site          A. lasiocarpa            associates               species              Authority


Abies lasiocarpa/                 Mimbres and           Warm moist       Co-climax with P.   P.   engeimannii       R. parviflorus           DeVelice and others
  Rubus parviflorus H.T.            Mogollon Moun­                        engeimannii        P.   menziesii (NM)    Vaccinium myrtillus         1986
                                    tains, New                                               A.   concolor (NM)     A. glabrum               Fitzhugh and others
                                    Mexico                                                   P.   tremuloides       P. myrsinites              1985
                                  San Juan Moun­                                                                                             Moir and Ludwig
                                    tains, Coiorado                                                                                            1979
Abies lasiocarpa/                 High mountains of     Cold wet         Co-climax with P.   P. engeimannii         S. glauca                Hess 1981
  Salix glauca H.T.                 Colorado                              engeimannii        P. contorta            V. myrtillus             Hess and Wasser
[A. lasiocarpa-Picea                                                                         P. flexilis            Polemonium                 1982
   engelmanrtli/S. glauca H.T.)                                                                                       pulcherrimum           Komarkova 1984
                                                                                                                    Acomastylis rossii
Abies lasiocarpa/                 Bighorn Mountains,    Cool-warm        Co-climax with P.   P.   engeimannii       S. canadensis            Hoffman and Alex­
  Shepherdia canadensis H.T,        Wyoming              dry              engeimannii        P.   contorta          V. scoparium               ander 1976
  (WY)                            Mountains of cen­                                          P.   tremuloides                                Steen and Dix 1974
A. lasiocarpa-Picea                 tral and southern                                        P.   menziesii
  engelmannii/S. canadensis         Colorado
  P.C. (CO)
Abies lasiocarpa/                 Mountains of north­   Warm dry         Climax              P. engeimannii         S. betulifolia           Steele and others
  Spiraea betulifolia H.T.         western Wyoming                                           P. menziesii           P, myrsinites              1983
                                                                                             P. contorta            B. repens
Abies lasiocarpa/                 Mountains of north­   Warm well-       Climax              P.   engeimannii       S. albus                 Steeie and others
  Sympboricarpos albus H.T.        western Wyoming       drained                             P.   menziesii         A. alnifolia               1983
                                                         lower                               P.   contorta          C. rubescens
                                                         slopes                              P.   tremuloides
Abies lasiocarpa/                 Mountains of north­   Cool well-       Climax              P.   engeimannii       V. globulare             Steele and others
  Vaccinium globulare H.T.         western Wyoming        drained                            P.   contorta          V. scoparium               1983
                                                          uplands                            P.   menziesii         P. myrsinites
                                                                                             P.   albicaulis
Abies lasiocarpa/                 Mogollon Plateau,     Coo! moist to    Ciimax (AZ) co­     P. engeimannii         V. myrtillus             Alexander and others
   Vaccinium myrtillus H.T.        Arizona                well-drained     climax with P.    Pinus aristata         Disporum trachycarpum       1985
[A. lasiocarpa/V. myrtillus-      Mountains of north­                      engeimannii       P. tremuloides         Calamagrostis            DeVelice and others
   Linnaea borealis H.T.)          ern New Mexico                          (NM,CO)           P. menziesii              canadensis               1986
[A. lasiocarpa/V. myrtillus-       and southern                                              A. concolor            Polemonium flavum        Fitzhugh and others
   Rubus parviflorus H.T.]         Colorado                                                  P. flexilis            V. scoparium                1985
[A. laslocarpa/Vaccinium                                                                     Picea pungens          L. borealis              Moir and Ludwig
   scoparium-L. borealis H.T.]                                                                                      R. parviflorus              1979




                                                                                                                            Rvsd Plan - 00005766
                      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 200 of 346

Table A-2—■ (continued)

        Habitat type,                                                   Successional
      community type,                                                       status              Principal tree    Principal understory
     or plant community              Location             Site          A. lasiocarpa            associates              species                 Authority


Abies lasiocarpa/               Mountains of ncrth-   Cool dry         Climax             P. contorta            C. rossii                  Steeie and others
  Carex rossii H.T.              western Wyoming                                          P. tremuloides                                      1983
                                                                                          P. flexilis

Abies lasiocarpa/               Mountains south       Cool dry         Ciimax or co­      P.   engeimannii       V. scoparium               Hess 1981
    Vaccinium scoparium H.T.     from Wyoming to                         climax with P.   P.   contorta          C. rubescens               Hess and Wasser
/A. lasiocarpa-Picea             Arizona and New                         engeimannii      P.   tremuloides       V. myrtillus                 1982
   engelmannii/V. scoparium      Mexico                                                   P.   menziesii         A. cordifolia              Hoffman and Alex­
    P.C.                                                                                  P.   albicaulis        C. geyeri                    ander 1976
[P. engelmannii/V. scoparium                                                                                     Erigeron superbus (E.      Hoffman and Alex­
   H.T.]                                                                                                            eximius)                  ander 1980
                                                                                                                 L. borealis                Hoffman and Alex­
                                                                                                                 P. myrsinites                ander 1983
                                                                                                                 Phyllodoce empetriformis   Komarkova 1984
                                                                                                                                            Moir and Ludwig
                                                                                                                                              1978
                                                                                                                                            Steeie and others
                                                                                                                                              1983
                                                                                                                                            Steen and Dix 1974
                                                                                                                                            Wirsing and Alex­
                                                                                                                                              ander 1975
Abies lasiocarpa/               Mountains of north­   Warm dry         Climax             P.   engeimannii       X. tenax                   Steeie and others
  Xerophyllum tenax H.T.         western Wyoming                                          P.   albicaulis        V. scoparium                 1983
                                                                                          P.   contorta          V. globulare
                                                                                          P.   menziesii
Abies lasiocarpa/               Mountains of west­    Cool wet         Ciimax or co­      P.   engeimannii       C. canadensis              Hess 1981
   Calamagrostis canadensis      ern Wyoming.                            climax with P.   P.   contorta          G. triflorum               Komarkova 1984
   H.T.                          and north-centra)                       engeimannii      P.   tremuloides       Vaccinium caespitosum      Steele and others
A. lasiocarpa-Picea              and western                                              P.   menziesii         Senecio triangularis         1983
  engelmannii/C. canadensis      Coiorado
   H.T,
[P. engelmannii/C. canadensis
   H.T.]
Abies lasiocarpa/               Mountains of north­   Warm dry         Climax             P.   contorta          C.   rubescens             Steeie and others
  Calamagrostis rubescens        western Wyoming                                          P.   menziesii         P.   myrsinites              1983
  H.T.                                                                                    P.   engeimannii       B.   repens
                                                                                          P.   tremuloides       A.   cordifolia
Abies lasiocarpa/               Mountains of north­   Coo)             Climax             P. albicaulis          L. hitchcockii             Steele and others
  Luzula hitchcockii H.T.        western Wyoming        weii-drained                      P. contorta            A. cordifolia                1983
                                                                                          P. engeimannii                 ARvSd Plan _ 00005767
                       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 201 of 346

    Table A-2—(continued)

            Habitat type,                                                      Successionai
          community type,                                                          status               Principal tree     Principal understory
         or plant community                 Location              Site         4. lasiocarpa             associates               species                Authority

    Abies lasiocarpa/                  Mountains of north­   Warm to cool,    Ciimax or co-      P.   engeimannii        C. geyeri                  Hess 1981
       Carex geyeri H.T.                western Wyo­          dry               ciimax with      P.   contorta           Sympboricarpos             Hess and Wasser
    /A. lasiocarpa-Picea                ming, southern                          P. engeimannii   P.   menziesii            oreophilus                 1982
       engelmannii/C. geyeri P.C.       Wyoming, and                                             P.   albicaulis         A. cordifolia              Hoffman and Alex­
    [P. engelmannii/C. geyeri H.T.]     north-central and                                        P.   tremuloides        Lupinus argenteus            ander 1975
                                        western Colorado                                                                                            Hoffman and Alex­
                                                                                                                                                      ander 1983
                                                                                                                                                    Komarkova 1984
                                                                                                                                                    Steele and others
                                                                                                                                                      1983
                                                                                                                                                    Steen and Dix 1974
                                                                                                                                                    Wirsing and Alex­
                                                                                                                                                      ander 1975
    Abies lasiocarpa/                  Mountains of north­   Warm moist       Co-climax with     P.   engeimannii        A. rubra                   Steele and others
      Actaea rubra H.T.                 western Wyoming       lower            P. engeimannii    P.   pungens            0. chilensis                 1983
                                                              slopes                             P.   menziesii          Lonicera utahensis
                                                                                                 P.   contorta           V. globulare
    Abies lasiocarpa/                  Mountains of north­   Cool             Climax or co­      P.   engeimannii        A. cordifolia              Hoffman and Alex­
      Arnica cordifolia H.T.            western, north­        weil-drained     climax with      P.   contorta           P. secunda                   ander 1976
                                        centrat Wyoming,                        P. engeimannii   P.   albicaulis         Astragalus miser           Komarkova 1984
                                        and western                                              P.   menziesii          Fragaria virginlana        Steele and others
                                        Coiorado                                                 P.   tremuloides        S. canadensis                1983
    Abies lasiocarpa/                  Mountains of north­   Cool dry         Serai to           P.   engeimannii        A. latifolia               Steele and others
      Arnica latifolia H.T.             western Wyoming                         P. engeimannii   P.   contorta           Aster engeimannii            1983
                                                                                                 P.   tremuloides        Pedicularis racemosa
                                                                                                 P.   menziesii
                                                                                                 P.   albicaulis
    Abies lasiocarpa/                  Mountains of cen­     Cool wet         Co-climax with     P. engeimannii          C. cordifolia              DeVelice and others
      Picea engeimannii/                tral and southern                      P. engeimannii    P. tremuloides          M. ciliata                   1985
       Cardamine cordifolia P.C.        Colorado                                                                         Mitella pentandra          Steen and Dix 1974
    [A. lasiocarpa/Mertensia ciliata                                                                                     Carex bella
       H.T.J
    Abies lasiocarpa/                  Mountains of south­   Cool dry         Co-climax with     P. engeimannii          E. superbus (E. eximius)   Alexander and others
      Erigeron superbus (E.             west Colorado,                         P. engeimannii    P. menziesii            Geranium richardsonii         1985
      eximius) H.T.                     northern New                                             A. concolor             Lathyrus arizonicus        DeVelice and others
                                        Mexico and                                               Pinus ponderosa         Lonicera involucrata          1986
                                        Arizona                                                  Pinus strobiformis      A. cordifolia              Fitzhugh and others
                                                                                                 P. tremuloides                                        1985
                                                                                                                                                    Moir and Ludwig
o                                                                                                                                                      1979
                                                                                                                                 Rvsd Plan - 00005768
                     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 202 of 346
Table A-2—(continued)

        Habitat type,                                                      Successional
      community type,                                                           status       Principal tree            Principal understory
     or plant community                Location              Site          >1. fasiocarpa         associates                  species              Authority


Abies lasiocarpa/                 San Francisco          Cool dry         Climax            P. tremuloides            L. arizonicus           Fitzhugh and others
   Lathyrus arizonicus H.T.         Peaks, Arizona                                          P. menziesii              G. richardsonii            1985
[A. lasiocarpa-Pinus              Mogollon Moun­                                                                      Smilacina stellata      Moir and Ludwig
  strobiformis/L. arizonicus        tains. New                                                                        A. glabrum                 1979
   H.T,]                            Mexico                                                                            S. orephilus
                                                                                                                      Vida amerlcana
Abies lasiocarpa/                 High mountains of      Warm             Co-climax with    P. engelmannii            L, argenteus            Steen and Dix 1974
  Picea engelmannii/Lupinus         central and south­    well-drained     P. engelmannii   P. contorta (long-lived   V. scoparium
  argenteus P.C.                    ern Colorado                                              serai)
Abies lasiocarpa/                 Mountains of north­    Warm dry         Climax            P.   engelmannii          P.   racemosa           Steele and others
  Pedicularis racemosa H.T.        western Wyoming                                          P.   contorta             A.   cordifolia           1983
                                                                                            P.   menziesii            S.   oreophilus
                                                                                            P.   albicaulis           P.   myrsinites
Abies lasiocarpa/                 High mountains of      Cool dry         Co-c!imax with    P. engelmannii            P. delicatum            Komarkova 1984
  Potemonium delicatum H.T.         central and west­                      P. engelmannii   P. contorta               Osmorhiza obtusa        Steen and Dix 1974
A. lasiocarpa/Picea engelman-       ern Colorado                                            P, tremuloides            Vaccinium spp.
  nii/P. delicatum P.C.
Abies lasiocarpa/                 Sacramento Moun­       Coo! dry to      Co-climax with    P. engelmannii            S. sanguisorboides      Alexander and others
  Senecio sanguisorboides          tains, southern         well-drained    P. engelmannii   P. menziesii              P. montigenum             1984a
  H.T.                              New Mexico                                              P. tremuloides            Ribes wolfii            Moir and Ludwig
                                                                                                                                                1979
Abies lasiocarpa/                 Mountains of north­    Cool wet         Co-climax with    P. engelmannii            S. triangularis         Hess 1981
   Senecio triangularis H.T.       central and                             P. engelmannii   P. contorta               C. cordifolia           Komarkova 1984
A. lasiocarpa-Picea                western Colorado                                                                   Equisetum arvense
  engelmannii/S. triangularis                                                                                         M. ciliata
   H.T.
[P. engelmannli/S. triangularis
   H.T.]

Abies lasiocarpa/                 Mountains of north­    Warm             Climax            P.   engelmannii          T. occidentale          Steele and others
  Thalictrum occidentale H.T.      western Wyoming        well-drained                      P.   menziesii            0. chilensis              1983
                                                                                            P.   contorta             A. cordifolia
                                                                                            P.   tremuloides
                                                                                            P.   albicaulis
Abies lasiocarpa/                 High mountains of      Coo! dry to      Co-climax with    P.   engelmannii          Moss spp.               DeVeiice and others
  Moss spp. H.T.                    central and south­    well-drained     P. engelmannii   P.   aristata             V. caespitosum            1986
A. lasiocarpa-Picea                 western Colorado,                                       P.   tremuloides          Rosa spp.               Komarkova 1984
  engelmannii/Mo&s spp. P.C.        and northern New                                        P.   contorta                                     Steen and Dix 1974
                                    Mexico                                                                                     Rvsd Plan - 00005769
                    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 203 of 346
Table Ak-2—(continued)

        Habitat type,                                                      Successional
      community type,                                                          status              Principal tree     Principal understory
     or plant community                Location             Site           A. lasiocarpa            associates              species               Authority


Abies lasiocarpa/                 Mogollon Moun­        Warm dry         Climax             P. menziesii            S, oreophilus            DeVeiice and others
  Scree H.T.                       tains, New                                               P. strobiformis         J. communis                 1986
                                   Mexico                                                                           Holodiscus dumosus       Fitzhugh and others
                                                                                                                                                1985

                                                                        Picea engelmannii series

Picea engelmannii/                Sacramento Moun­      Warm moist       Minor climax to    P. engelmannii          A. glabrum               Alexander and others
  Acer glabrum H.T.                 tains, New                            P. engelmannii    P. menziesii            Sromus ciliatus            1984a
                                    Mexico                                                  P. tremuloides          Viola canadensis         Moir and Ludwig
                                  Chiricahua Moun­                                                                  S. stellata                1979
                                   tains, Arizona
Picea engelmannii/                Sangre de Cristo      Cool dry         Minor climax to    P. engelmannii          P. delicatum (P.         DeVeiice and others
   Vaccinium myrtillus              Mountains, south­                      P. engelmannii   P. tremuloides            pulcherrimum)           1986
[P. engelmannii/V. myrtillus-       ern Colorado and                                        P. aristata             Senecio spp.             Moir and Ludwig
   Polenomium pulcherrimum          northern New                                                                    Deschampsia caespitosa    1979
   H.T.]                            Mexico                                                                          Poa reflexa
[P. engelmannli/Vaccinium                                                                                           V. myrtillus
   $coparium-P. delicatum H.T.]
Picea engelmannii/                Mountains of north­   Coo! dry         Minor climax to    P.   engelmannii        V. scoparium             Steele and others
  Vaccinium scoparium H.T.         western Wyoming                        P. engelmannii    P.   contorta           A. cordifolia              1983
                                                                                            P.   flexilis           Antenaria spp.
                                                                                            P.   albicaulis         Lupinus spp.
Picea engelmannii/                Capitan Mountains.    Coot dry to      Minor climax to    P. engelmannii          E. triticoides           Alexander and others
  Elymus triticoides H.T.           New Mexico           well-drained     or co-climax      P. menziesii            A. glabrum                 1984
                                                                          with P.                                   Jamesia americana        Moir and Ludwig
                                                                          engelmannii                                                          1979
Picea engelmannii/                Mountains of north­   Cool moist       Minor climax to    P. engelmannii          C. disperma              Steele and others
  Carex disperma H.T,              western Wyoming                        P. engelmannii    P. pungens              P. secunda                 1983
                                                                                                                    G. triflorum
Picea engelmannii/                Mountains of north­   Warm moist       Minor climax to    P. engelmannii          C. leptosepala           Steele and others
  Caltha leptosepala H.T.          western Wyoming                        P. engelmannii    P. contorta             Trollius laxus             1983
                                                                                            P, albicaulis           V. scoparium
Picea engelmannii/                Mountains of north­   Warm to cool,    Minor climax to    P. engelmannii          E. arvense               Steele and others
  Equisetum arvense H.T,           western Wyoming       wet               P. engelmannii   P. contorta             S. amplexifolius           1983
                                                                                            P. pungens              S. triangularis
                                                                                                                    Luzula parviflora



                                                                                                                           Rvsd Plan - 00005770
                  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 204 of 346

Table A“2—(continued)

          Habitat type,                                                  Successional
       community type,                                                       status               Principal tree     Principal understory
      or plant community              Location             Site          A. lasiocarpa             associates               species              Authority


Picea engelmannii/              Mountains of north­   Cool moist       Climax              A.   lasiocarpa         G,   trifolium           Steele and others
  Galium trifolium               western Wyoming                                           P.   contorta           A.   rubra                 1983
                                                                                           P.   pungens            S.   stellata
                                                                                           P.   menziesii          S.   amplexifolius


Picea engelmannii/              Blue Mountains,       Cool moist       Sera! to or minor   P.   engelmannii        S. cardamine             Fitzhugh and others
  Senecio cardamine H.T.          Arizona                                climax to P.      P.   menziesii          Fragaria ovalis             1985
                                                                         engelmannii       P.   pungens            G. richardsonii
                                                                                           P.   ponderosa          V. canadensis
                                                                                           P.   strobiformis       L. arizonicus
                                                                                           A.   concolor
                                                                                           P.   tremuloides
Picea engelmannii/              Mountains of north­   Cold moist       Minor climax to     P. engelmannii          T. dasyphyllum           Hess 1981
  Trifolium dasyphyllum H.T.     central Colorado                       or co-climax                               Pyrola chlorantha
                                                                        with P.                                    Sedum lanceolatum
                                                                        engelmannii
Picea engelmannii/              Mountains of south­   Cool dry to      Co-climax with      P.   engelmannii        Moss spp-                Alexander and others
  Moss spp. H.T.                 western Colorado       well-drained    P. engelmannii     P.   aristata           Ribes spp-                  1985
                                 and northern New                                          P.   tremuloides        Vaccinium spp.           Fitzhugh and others
                                 Mexico                                                    P.   menziesii                                      1985
                                                                                                                                            Moir and Ludwig
                                                                                                                                               1979
Picea engelmannii/              Mountains of north­   Warm dry         Minor climax to     P. engelmannii          J. communis              DeVeiice and others
  Scree H.T.                     ern New Mexico                         P. engelmannii                             Saxifrage bronchialis      1986
                                 and southern
                                 Colorado


                                                                       Picea pungens series

Picea pungens/                  Mountains of          Warm moist       Minor climax to     P. pungens              A. alnifolia             Hess and Wasser
  Amelanchier alnifolia H.T,     western and cen­                       P. pungens         P. menziesii            Cornus stolonifera         1982
                                 tral Colorado                                             Populus angustifolia    C. geyeri                Komarkova 1984
                                                                                                                   Swida serlcea
Picea pungens/                  Mountains of north­   Cool             Minor climax to     P.   pungens            L. borealis              DeVeiice and others
   Linnaea borealis H.T.         ern New Mexico         well-drained    P. pungens         A.   concolor           P. myrsinites              1986
IP. pungens-Pseudotsuga          and southern                           A. concolor        P.   menziesii          V. myrtillus             Moir and Ludwig
  menziesii/L. borealis H.T.]    Colorado                               P, menziesii       P.   engelmannii        R. parviflorus             1979
                                                                                           P.   tremuloides
                                                                                           P.   flexilis                   Rvsd Plan - 00005771
                  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 205 of 346

Table A-2—(continued)

        Habitat type,                                                      SuccessionaE
      community type,                                                          status               Principal tree       Principal understory
     or plant community               Location                Site         A. lasiocarpa             associates                 species                Authority


Picea pungens/                   White Mountains,        Cooi dry        Minor climax to     P.   pungens              E. superbus (E. eximius)   Moir and Ludwig
   Prigeron eximius H.T.          Arizona                                 P. pungens         P.   engelmannii          Festuca arizonica           1979
[P. pungens-Picea                                                         P. engelmannii     P.   menziesii            Carex foenea
   engelmannii/E. superbus                                                                   P.   ponderosa            F. virginiana
   H.T.]                                                                                     P.   strobiformis
                                                                                             P.   tremuloides
                                                                                             A.   concolor
Picea pungens/                   Mountains of            Cooi moist      Minor ciimax to     P.   pungens              F. ovalis                  Fitzhugh and others
  Fragaria ovalis H.T.            Arizona and New                         P. pungens         P.   menziesii            Senecio cardamine             1985
                                  Mexico                                  P. menziesii       P.   engelmannii          E. eximius (E. superbus)
                                                                                             P.   tremuloides          C. foenea
                                                                                             A.   concolor             F. arizonica
Picea pungens/                   White Mountains,        Cooi moist      Co-climax with or   P.   pungens              S. cardamine               Fitzhugh and others
   Senecio cardamine H.T.         Arizona                                  minor climax to   P.   engelmannii          Pteridium aquilinum           1985
[P. pungens-Picea                                                         P. pungens         P.   ponderosa            Helenium hoopesii          Moir and Ludwig
   engelmannii/S. cardamine                                               P. engelmannii     P.   menziesii            V. canadensis                 1979
   H.T.]                                                                                     P.   strobiformis
                                                                                             P.   tremuloides
                                                                                             A.   concolor



                                                    Pinus contorta series and other P. contorta dominated vegetation

Pinus contorta/                  Mountains of cen­       Warm dry        Ultimate ciimax  P. engelmannii               A. uva-ursi                Steen and Dix 1974
  Arctostaphylos uva-ursi P.C.    tral and southern                        unknown; prob­ P. contorta                  B. repens
                                  Colorado                                 ably climax or P, tremuloides               Sitanion bystrix
                                                                           co-climax with
                                                                           P. engelmannii
Pinus contorta/                  Mountains of north­     Warm dry        Minor climax to     P.   engelmannii          J. communis                Hess 1981
  Juniperus communis H.T.         western Wyoming                          P. contorta       P.   menziesii            A. uva-ursi                Steele and others
  (CO); C.T. (WY)                 and central                              (CO)              P.   contorta             S. canadensis                1983
                                  Colorado                               Ultimate climax     P.   tremuloides          A. cordifolia
                                                                           unknown (WY);     P.   albicaulis
                                                                           probably co­
                                                                           climax with
                                                                           P. engelmannii
                                                                           P. menziesii



                                                                                                                                Rvsd Plan - 00005772
                    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 206 of 346


Table A-2—(continued)

        Habitat type,                                                    Successional
      community type,                                                        status              Principal tree        Principal understory
     or plant community              Location              Site          4. lasiocarpa            associates                 species                Authority


Pinus contorta/                 Mountains of north­   Cool moist to    Ultimate climax    P.   engelmannii        L. borealis                 Steele and others
  Linnaea borealis C.T. (WY);    western Wyoming        well-drained     unknown; prob­   P.   contorta           V. scoparium                  19S3
  P.C. (CO)                      and central                             ably climax or   P.   menziesii          V. giobulare                Steen and Dix 1974
                                 Colorado                                co-climax with   P.   tremuloides        A. cordifolia
                                                                         P. engelmannii                           C. rubescens

Pinus contorta/                 Mountains of cen­     Warm dry to      Ultimate climax    P. engelmannii          P.   myrsinites             Steen and Dix 1974
  Pachistima myrsinites P C.     tra! and southern     well-drained      unknown; prob­   P. contorta             V.   scoparium
                                 Colorado                                ably climax or   P. tremuloides          J.   communis
                                                                         co-climax with                           L.   borealis
                                                                         P. engelmannii
Pinus contorta/                 Mountains of north­   Cooi-warm        Ultimate climax  P. engelmannii            S. canadensis               Steeie and others
  Shepherdia canadensis C.T.     western Wyoming        dry to           unknown: prob­ P. contorta               A. cordifolia                 1983
  (WY): P.C. (CO)                and central            weli-drained     ably climax or P. tremuloides            J. communis                 Steen and Dix 1974
                                 Colorado                                co-climax with P, menziesii              L. borealis
                                                                         P. engelmannii                           A. uva-ursi
Pinus contorta/                 Mountains of north­   Warm dry         Ultimate climax    P. engelmannii          S. betulifolia              Steele and others
  Spiraea betullfoHa C.T.        western Wyoming                         unknown: prob­   P. contorta             C. rubescens                  1983
                                                                         ably climax or   P. menziesii            C. geyeri
                                                                         co-climax with
                                                                         P. engelmannii
Pinus contorta/                 Mountains of north­   Cooi             Ultimate ciimax    P. engelmannii          V.   giobulare              Steele and others
  Vaccinium giobulare C.T.       western Wyoming       well-drained      unknown: prob­   P. contorta             L.   utahensis                1983
                                                                         ably climax or   P. menziesii            V.   scoparium
                                                                         co-climax with                           C.   rubescens
                                                                         P. engelmannii
Pinus contorta/                 Mountains of north­   Cool to cold     Ultimate climax    P.   engelmannii        V. scoparium                Steele and others
  Vaccinium scoparium C.T.       western Wyo­          dry               unknown; prob­   P.   menziesii          C. rubescens                  1983
  (WY); P.C. (CO)                ming, southern                          ably ciimax or   P.   contorta           A. cordifolia               Steen and Dix 1974
                                 Wyoming, and                            co-climax with   P.   albicaulis         L. argenteus                Wirsing and Alex­
                                 central Colorado                        P. engelmannii   P.   flexilis           B. repens                     ander 1975
                                                                         P. menziesii                             C. geyeri
                                                                                                                  Ribes cereum
Pinus contorta/                 Mountains of north­   Warm dry         Ultimate climax    P. engelmannii          C. rubescens                Steele and others
  Calamagrostis rubescens        western Wyoming                         unknown; prob­   P. contorta             V. scoparium                  1983
  C.T.                                                                   ably climax or   P. menziesii            C. geyeri
                                                                         co-climax with
                                                                         P. engelmannii
                                                                                                                          Rvsd Plan - 00005773
                       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 207 of 346

      Table A-2—(continued)

              Habitat type,                                                    Successional
            community type,                                                        status              Principal tree        Principal understory
           or plant community               Location             Site          4. lasiocarpa            associates                  species              Authority

      Pinus contorta/                  Mountains of north-   Cool dry        Ultimate ciimax    P.   engelmannii        C. geyeri                   Hess 1981
        Carex geyeri C.T. (WY); P.C.    western Wyo-                           unknown; prob-   P.   contorta           S. oreophilus               Hess and Wasser
        (CO)                            ming, southern                         ably ciimax or   P.   menziesii          A. cordifolia                 1982
                                        Wyoming, and                           co-climax with   P.   albicaulis         L. argenteus                Steele and others
                                        centra! Colorado                       P. engelmannii   P.   flexilis           B. repens                     1983
                                                                                                P.   tremuloides        J. communis                 Steen and Dix 1974
                                                                                                                                                    Wirsing and Alex­
                                                                                                                                                      ander 1975
      Pinus contorta/                  Mountains of north-   Warm dry        Ultimate climax    P.   engelmannii        C. rossii                   Steele and others
        Carex rossii C.T.               western Wyoming                        unknown; prob­   P.   contorta           L. argenteus                  1983
                                                                               ably ciimax or   P.   albicaulis         Poa nervosa
                                                                               co-ciimax with   P.   tremuloides
                                                                               P. engelmannii
      Pinus contorta/                  Mountains of north-   Cool dry        Ultimate ciimax    P.   engelmannii        A. cordifolia               Steele and others
        Arnica cordifolia C.T.          western Wyoming                        unknown; prob­   P.   contorta           Antennaria racemosa           1983
                                                                               ably ciimax or   P.   albicaulis         A. miser
                                                                               co-climax with   P.   flexilis           P. secunda
                                                                               P. engelmannii
      Pinus contorta/                  Mountains of cen­     Warm dry to     Ultimate climax  P. engelmannii            L argenteus                 Steen and Dix 1974
        Lupinus argenteus P.C.          tral and southern     well-drained     unknown; prob­ P. contorta
                                        Colorado                               ably climax or P. tremuloides
                                                                               co-citmax with
                                                                               P. engelmannii
      Pinus contorta/                  Mountains of cen­     Hot dry         Ultimate climax  P. contorta               Lichen spp.                 Steen and Dix 1974
        Lichen spp. P.C.                tral and southern                      unknown; prob­ P. tremuloides
                                        Coiorado                               ably climax


                                                   Populus tremuloides series and other P. tremuloides dominated vegetation

      Populus tremuloides-Abies        Mountains of          Warm to cool.   Ciimax or co-      P. engelmannii          B. repens                   Youngblood and
        lasiocarpa/Berberis repens      western Wyoming       Well-            climax with      P. contorta             S. albus                      Mueggler 1981
        C.T.                                                  drained          P. engelmannii   P. tremuloides          P. myrsinites
      P. tremuloides/B. repens C.T.
      Populus tremuloides/             Mountains of cen-     Warm dry        Ultimate climax    P. engelmannii          P.    myrsinites            Steen and Dix 1974
        Pachistima myrsinites P.C.      trai and south-                        unknown; prob-   P. contorta             V.    scoparium
                                        western Colorado                       ably climax or   P. tremuloides          C.    geyeri
                                                                               co-climax with                           C.    rubescens
                                                                               P. engelmannii

Of!                                                                                                                               Rvsd Plan - 00005774
                Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 208 of 346

Table A-2—(continued)

         Habitat type,                                                     Successional
      community type,                                                           status             Principal tree    Principal understory
     or plant community                 Location              Site         Jt. lasiocarpa           associates             species                Authority


Populus tromuloides-Abies         Mountains of           Warm dry         Climax or co-      P. menziesii           P. virginiana            Youngblood and
  lasiocarps/Prunus virginiana     western Wyoming                          ciimax with      P. contorta            B. repens                  Mueggler 1981
  C.T.                                                                      P. menziesii     P. tremuloides         S. oreophilus
P. tremuloides/P. virginiana C.T.                                                                                   Rosa woodsii
Populus tremuloides-Abies          Mountains of          Cool-dry to      Climax             P. engelmannii         S. canadensis            Youngblood and
  laslocarpa/Shepherdia             western Wyoming        well-drained                      P, contorta            Geranium viscosissimum     Mueggler 1981
  canadensis C.T.                                                                            P. tremuloides         A. cordifolia
P, tremuIoides/S, canadensis                                                                                        R. woodsii
  C.T.                                                                                                              T. fendleri
Populus tremuloides-Abies          Mountains of          Warm             Ultimate climax  P. menziesii             S. oreophilus            Steele and others
  lasiocarpa/Symphoricarpos         western Wyoming       well-drained      unknown: prob­ A. concolor              P. virginiana              1983
  oreophilus C.T.                                                           ably climax or P. tremuloides           B. repens                Youngblood and
P. tremuloides/S. oreophilus                                                co-ciimax with                          Elymus glaucus             Mueggler 1981
  C.T.                                                                      P, menziesii                            C. rubescens
Populus tremuloides/               Mountains of cen­     Warm moist       Ultimate climax    P. engelmannii         E. glaucus               Steen and Dix 1974
  Elymus glaucus P.C.               tral and south­       to well-          unknown: prob­   P. contorta            A. alnifolia
                                    western Colorado      drained           ably climax or   P. tremuloides         Symphoricarpos spp.
                                                                            co-climax with                          Ligusticum ported
                                                                            P. engelmannii
Populus tremuloides/               Mountains of south­   Warm dry         Ultimate climax    P.   engelmannii       F. thurberi              Steen and Dix 1974
  Festuca thuiberi P.C.             western Colorado                        unknown; prob­   P.   tremuloides       B. repens
                                                                            ably climax or   P.   menziesii         S. oreophilus
                                                                            co-climax with   P.   flexilis          Fragaria ovalis
                                                                            P, engelmannii
Populus tremuloides-Abies          Mountains of          Cool moist to    Climax             P. contorta            A.   cordifolia          Youngblood and
  lasiocarpa/Arnica cordifolia      western Wyoming        well-drained                      P. tremuloides         S.   oreophilus            Mueggler 1981
  C.T.                                                                                                              C.   rossii
P. tremuloides/A, cordifolia                                                                                        0.   chilensis
  C.T.                                                                                                              P.   nervosa
Populus tremuloides/               Mountains of west­    Warm moist       Climax             P. engelmannii         H. lanatum               Youngblood and
  Heracleum lanatum C.T.            ern Wyoming                                              P. contorta            Pedicularis bracteosa      Mueggler 1981
                                                                                             P. tremuloides         T. fendleri
                                                                                                                    E. glaucus
Populus tremuloides-Abies          Mountains of west­    Cool moist to    Climax             P. menziesii           L. filicinum             Youngblood and
  lasiocarpa/Ligusticum             ern Wyoming            well-drained                      P. flexilis            T. fendleri                Mueggler 1981
  filicinum C.T.                                                                             P. tremuloides         G. viscosissimum
P. tremuloldes/L. filicinum C.T.                                                                                    Osmorhiza occidentalis
Populus tremuloides-Abies          Mountains of west­    Cool moist       Climax             P. engelmannii         P. racemosa              Youngblood and
  lasiocarpa/Pedicularis            ern Wyoming                                              P, tremuloides
  racemosa C.T.                                                                                                     a :SvSd Plan - 00005775"
                      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 209 of 346

Table A-2—(continued)

        Habitat type,                                                    Successiona!
      community type,                                                        status                Principal tree    Principal understory
     or plant community               Location             Site          4. lasiocarpa              associates             species               Authority

Populus tremuloides/             Mountains of west­    Cool moist to   Climax               P. engelmannii          R. alismaefolius        Youngblood and
  Ranunculus alismaefolius        ern Wyoming            wet                                P. tremuloides          Carex microptera          Mueggler 1981
  C.T.                                                                                                              Trifolium longipes
Populus tremuloides-Abies        Mountains of          Cooi moist to   Ciimax               P. engelmannii          R. occidentalis         Youngblood and
  lasiocarpa/Rudbeckia            western Wyoming       well-drained                        P. tremuloides          T. longipes               Mueggler 1981
  occidentalis C.T.                                                                                                 Nemophila breviflora
P. tremuloides/R. occidentalis                                                                                      Melica spectabilis
  C.T.                                                                                                              Symphoricarpos spp.


                                                                    Pseudotsuga menziesii series

Pseudotsuga menziesii/           Mountains of south­   Warm dry        Serai to P.         P.    menziesii          Salix spp.              DeVeiice and others
  Scree H.T.                      western New                            menziesii         P.    engelmannii        S. oreophilus              1986
                                  Mexico                                                   P.    tremuloides        H. dumosus              Fitzhugh and others
                                                                                           P.    strobiformis       B. ciliatus                1985


                                                                       Abies concolor series

Abies concolor/                  Mountains of north-   Warm moist      Minor ciimax to     A.    concolor           A. glabrum              Fitzhugh and others
  Acer glabrum H.T.               ern New Mexico                        A, concolor        P.    menziesii          J. communis                1985
                                                                        P. menziesii       P.    engelmannii        B. repens
                                                                                           P.    pungens     /      H. dumosus
                                                                                           P.    tremuloides'       H. hoopesii
Ables concolor/                  Mountains of north-   Cool dry        Minor climax to     A.    concolor,          E. superbus             DeVeiice and others
  Vaccinium myrtillus H.T.        ern New Mexico                        A. concolor        P.    menziesii          C. foenea                1986
                                  and southern                           P. menziesii      P.    pungens            Lathyrus spp.
                                  Colorado                                                 P.    engelmannii        Fragaria spp.
                                                                                           P.    tremuloides


                                                                       Pinus albicaulis series

Pinus albicaulis/                Mountains of north-   Cooi dry        Minor climax to     P. albicaulis            V. scoparium            Steele and others
  Vaccinium scoparium H.T.        western Wyoming                       P. albicaulis      P. contorta              A. cordifolia             1983
                                                                         P. contorta       P. engelmannii           C. rossii
Pinus albicaulis/                Mountains of north-   Cool dry        Minor climax to      P. albicaulis           C. rossii               Steele and others
  Carex rossii H.T.               western Wyoming                       P. albicaulis       P. contorta                                       1983
                                                                        P. contorta         P. engelmannii (minor
                                                                                              climax)
                                                                                            P. flexilis
                                                                                                                            Rvsd Plan - 00005776
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 210 of 346

Appendix B—Summarized Data on Climatic Factors
(1969-82 growing seasons in spruce-fir forests at 10,500-foot
elevation, Fraser Experimental Forest, CO)

Table B-1—maximum, minimum, and mean for the five weather factors measured June through October,
1969-82 (adapted Jrom Alexander 1984)

                                               North aspect                        South aspect
              Factor                 Maximum      Minimum     Mean       Maximum      Minimum      Mean


Air temperature (“F)                   57.4         34.9       45.7        58.6         37.7        47.1
Precipitation (inches)                 11.82         2.53       8.63       13.55         3.39        9.85
Vapor pressure deficit (inches Hg)      0.46         0,19       0,34        0.51         0.22        0.38
Net radiation (langleyWay)            554          406        480         600          446         526
Wind (mi/hr)                           11.6          —          3,2        17.6                      5.3




118                                                                    Rvsd Plan - 00005777
                Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 211 of 346

Table B-2—Mean hourly maximum, minimum, and mean air temperatures (°F) by aspect during the 1969-82 growing seasons (adapted from
Alexander 1984)

                       June^                    July                    August                   September                 October^                 Seasonal
     Year      Max.    Min.    Mean     Max.    Min.    Mean     Max.    Min.    Mean     Max.     Min.   Mean      Max.     Min.     Mean   Max.     Min.     Mean

North aspect
    1969        52.5   32.3    40.4      67.1   44.0    53.3     66.6    43.5    53.8     54.9     33.9      41.2   34.9     17.4     24.5   55.2     34.2     42.6
    1970        65.3   42.1    53.6      65.1   41.5    52.7     63.7    41.9    51,5     51.4     29.1      39.4   41.6     23-9     31.9   57.4     35.7     45.8
    1971        66.4   43,1    55,4      65.5   41.8    53.7     63.3    39.2    50.2     51.5     28.9      39.9   45.1     24.9     34.7   58.4     35.6     46.8
    1972        60,7   36.8    48,3      66.1   40.6    53.4     62.3    39.0    49.7     52.9     34.0      42.9    —        —        —     60.5     37.6     48.6
    1973        59-8   36.4    48.4      60.7   38.5    49.1     62.0    39.5    49.8     51.1     30.1      40.0    —                 —     58.4     36.1     46.8
    1974        60.0   37.6    49.5      62.3   39.8    50.3     61.7    38.1    49.6     53.7     31.3      42.0   44.6     27.0     34.6   56.5     34.8     45.2
    1975        58.4   29.8    44.7      64.6   39.5    51.3     62.4    38.0    50.0     54.2     32.1      42.3   45.9     22.2     33.6   57.1     32.3     44.4
    1976        56.5   32.9    44.9      66-3   41.1    53.5     60.2    37.5    48.4     52.5     32.4      41.7    —                       58.9     36.0     47.1
    1977        65.5   40.2    53.0      63.8   42.4    53.6     62.4    41.1    50.9     56.7     34.1      44.5   42.6     23.5     33.1   58.2     36.3     47.0
    1978        64.8   42.7    54.0      68.3   41.3    55.1     62.3    36.8    49.0     55.5     31.6      43.2   48.9     28.3     37.8   60.0     36.1     47.3
    1979        62.8   37.6    51.0      66,3   39.9    52.8     61.5    39.2    49.4     60.3     36.1      47.2   46.3     25.6     35.7   59.4     35,7     47.2
    1980         —      —       .—       67.1   41.4    54.0     62.2    38.2    49.7     56.7     33.3      44,5   45.8     25.7     35.0   58.0     34.7     45.8
    1981        65.6   39.7    52.9      64.2   40.8    52.0     61.4    37.1    48.4     56.2     33.7      43,8   44.4     29.4     35.7   58.3     36.1     46.6
    1982         —              —        63.2   39.0    50-8     62.5    39.8    50.1     51.1     32.1      40,8    —        —        —     58.9     37.0     47.2
     Average    61,5   37,6    49-7      65.0   40.8    52.5     62.5    39.2    50.0     54.2     32.3      42.4   44.0     24.8     33.7   57.4     34.9     45.7

South aspect
    1969        52.7   34.8    41.4      68.0   45.8    55.7     68.9    45.8    55.4     58.0     36.8   45.5      35.8     18.7     26.7   56.7     36.4     44.9
    1970        64.8   44.8    53,9      66.6   43.5    53.5     66.0    45.0    53.6     53.6     31.9   41.9      43.1     26.4     32.7   58.8     38.3     47.1
    1971        67.6   44.0    54.5      65.1   43.2    52.7     64.8    42.1    51.4     51.8     29.2   29.8      47.2     26.3     35.6   59.3     37.0     46.8
    1972        60.8   38.9    49.2      67.2   43.4    54.3     63.7    42.0    51.2     53.8     35.7   43.9       —-                —     61.4     40.0     49.6
    1973        60.3   38.8    49.3      63.8   42.1    51.8     64.9    44.0    53.2     54.6     34.6   44.0       —        —        —     60.9     39.9     49.6
    1974        61.9   40.0    50.1      63.7   42.6    51.4     63.2    41.3    51.1     55.7     33.9   43.8      46.1     29.8     36.0   58.1     37.5     46.5
    1975        62.0   36.2    49.5      66.6   43.8    53.7     63.8    41.5    52.0     55.8     35.3   44.5      47.7     25.7     36.1   53.2     36.5     47.2
    1976        54,4   33.3    44.3      65.3   43.4    53.5     60.0    39.4    48.8     51.9     34.1   42.0       —        —        —     57.9     37.6     47.2
    1977        64.2   41.4    52.1      63.9   42.9    52.5     60.6    41.6    50.1     55.2     35.1   44.0      41.1     23.7     32.4   57.0     36.9     46.2
    1978        66.1   45.8    56.1      70.7   46.9    58.2     63.7    41.2    51.4     56.3     34.9   44.8      50.7     30.0     38.9   61.5     40.0     50.0
    1979        67.1   42.9    55.0      68.1   44.5    55.0     63.2    43.6    51.8     63.2     40.2   50.4      50.3     30.7     39.7   62.4     40.4     50.4
    1980         —      —       —        69.6   46.8    57.3     63.8    42.1    51.8     58.9     37.2   47.1      47,7     28.8     36.9   60.0     38.7     48.3
    1981        61.9   38.1    49.6      62.2   40.8    50.5     62,8    41.0    50.5     58.5     37.4   46.3      45.4     32.0     37.7   58.2     37.9     46.9
    1982         —      —       —        64.6   43.4    53.0     63.7    44.2    52.2     52.9     36.0   43.6                —        —     60.4     41.2     49.6
     Average    62,0   39.9    50.4      66.1   43.8    53.8     63.8    42.5    51.8     55.7     35.2   44.4      45.5     27.2     35.3   58.6     37.7     47.1

1  June averages are based upon measurements taken during part of the month foliowing activation of weather station, which varied from June 3 to June 30 depending
  upon the time of snowmelt.
2 October averages are based upon measurements taken during part of the month preceding deactivation of weather station, which varied from October 1 to October
  30 depending upon time of snowmelt.


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          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 212 of 346



Table B-3—Mean monthly precipitation (inches) by aspect during the 1969-82 growing seasons (adapted from Alexander
1984)

                    Total                                                                                Seasonal
      Year         months     June        July       August       September       October       Tota!          Average

North aspect
  1969              4          5.22       1.48         2.26          2.33           —            11.29              2.82
  1970              5          0.35       1.81         2.85          3.74          0              8.75              1.75
  1971              5          0.27       1.23         1,74          2.07          1.62           6.93              1.39
  1972              4          2.04       0.95         3.08          2,74           —             8.81              2.20
  1973              4          1,10       4,22         1.58          1.84           —             8.74              2.18
  1974              5          3.33       3,49         0.89          1.28          1,65          10.64              2.13
  1975              5          0.24       1,99         2.24          1.41          1,99           7.89              1.57
  1976              4          1.75       2.46         2.61          3.43           —            10,25              2.56
  1977              5          1.17       4.33         2.47          1.75          2,10          11,82              2.36
  1978              4          0          0.93         0.92          0.68           —             2.53              0.63
  1979              5          0.21       1,82         2.55          0.47          0,79           5,84              1,17
  1980              4                     1.57         1.93          1.54          0,03           5.07              1.27
  1981              5          0.44       3.23         2.30          1.54          0,41           7.92              1,58
  1982              3          —          0.72         2.58          2.12           —             5.42              1,81
  Total            62         16.12      30.23        30.00         26.94          8,59         111,88
      Average       4.43       1.34       2.16         2.14          1.92           1,07          8.63              1,80

South aspect
  1969              4          5.72       2.03         2.21          3.59                        13.55              3.39
  1970              5          0.17       1.15         3.54          3.55          0,02           8.43              1.69
  1971              5          0.27       1.62         2.84          2.88          1,27           8.88              1.78
  1972              4          2.54       1.13         3.09          3.44           —            10.20              2.55
  1973              4          1.58       3.68         1.30          2,69           —m            9.25              2.31
  1974              5          4.43       3.31         0.93          1.63          1.89          12.19              2.44
  1975              5          0.10       2.28         1.67          0,97          2.54           7.56              1.51
  1976              4          2.02       1.68         2.50          3,81           —            10.01              2.50
  1977              5          0.78       3.39         2.94          1,92          2.40          11.43              2.29
  1978              4          0.14       1.10         1.19          0,96           —             3.39              0.85
  1979              5          0.37       1.65         3.77          0,51          1.13           7.43              1.49
  1980              4          —          3.21         2.27          2.44          0,14           8.06              2.01
  1981              5          1.10       2.85         1,65          2.47          0,58           8,65              1.73
  1982              3          —          1.28         4.13          2.62           —             8,09              2.70
  Tota!            62         19.22      30.36        34.09         33.48          9,97        127.12
      Average                  1.60       2.17         2.44          2.39           1,25          9.85              2.05




120
                                                                              Rvsd Plan - 00005779
               Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 213 of 346

Table B~4—daily maximum, minimum, and mean vapor pressure deficits (mm Hg) by aspect during the J969-82 growing seasons (adapted
from Alexander 1984)

                       dune                    July                    August                  September                  October                  Seasonal
   Year        Max.    Min.    Mean    Max.    Min,    Mean    Max.     Min.    Mean    Max.     Min.   Mean      Max.     Min.     Mean   Max.      Min.     Mean

North aspect
 1969          12,43    2,69    9.26   14.75    8.02   12.00   16.42    3.84    10.44   10.52    5.25      7.46    5.35    2.51     4.03   11.89     4.46      8.64
 1970          14.19    9.13   11.66   13.14    2.78   10.48   13.97    3.45     8.15    7.66    2.30      5.23    5.71    2.43     3.53   10.93     4.02      7.81
 1971          13.14    6.89   10.42   10,87    5.88    8.74   12.62    5.56     9.53    8.85    1.81      6.51    8.68    2.15     6.12   10.83     4.46      8.26
  1972          9.00    7.65    8.15   11.27    9.31   10.16   12.10    6.09     9.02    8.51    0.95      5.31    —                 —     10.22     6.00      8.16
  1973         10.76    3.37    7.83   11.64    0.76    6.78   10.50    6.32     8.20   10.43    0.97      7.12    —        —        —     10.83     2.86      7.48
  1974         16.12    3.82   12.35   13.32    5.67   10.13   11.09    9.01    10.42   12.08    4.71      8.50    8.13    2.68     5.26   12.15     5.18      9.33
  1975         13.59    5.98    8,83   15.73    9,48   12.03   15.77    5.18     9.52   13.67    5,24      8.47    8.80    1.83     6.35   13.51     5.54      9.04
 1976          15.60    1.71    9.73   14.55    8,24   10.80   13.43    6.78    10.27    9.97    0,68      5.95    —                 —     13.88     4.35      9.19
 1977          16.33   10,90   13.28   14.76    2.98   10.74   15.47    5.89    11.10   12.27    6.63      9.39    4.13    1.32     2.55   12.59     5.54      9.41
  1978         14.07   10.47   11.91   17.63   11.60   14.08   12.62    7.11    10.40   12,99    6.17      9.26    8.57    5.85     6.82   13.18     8.24     10.49
  1979         14.64    1.38    9.46   15.47    9.00   12.32   15.69    0.88     9.22   15.02    6.83      9.88    9.80    0.88     6.11   14.12     3.79      9.40
  1980          —               —      16.00    7.29   11.69   14.96    5.71    11.28    9.46    7.02      8.35    9.80    2.07     6.56   12.56     5.52      9.47
  1981         11.75    5.24    9.07   15.77    7.93   12.31   12.80    5.67     9,21   10.33    4.16      7.67     —       —        A--   12.66     5.75      9.56
 1982                   —       —      14.27    4.69   10.56   14.08    8.24    10,18    8.85    5.80      7.32    9.54    2.58     6.04   11.68     5.33      8.52
    Average    13.47    5.77   10.16   14.27    6.69   10.92   13.68    5.70     9.78   10.76    4,18      7.60    7,75    2.43     5.34   11.97     4,95      8.76

South aspect
  1969         12.52    2.85    9.52   16.55   11.26   13,43   18.06    6.76    13.12   13.32    6,93    9.57      7.36    2.94     5.14   13.56     6,15     10.16
  1970         14.47   11.45   12.96   14.76    4.32   11,78   15.27    3.84     9.43    7.96    3.14    6.47      8.38    3.07     4.87   12.17     5.17      9.10
  1971         14.18   10.02   12.02   14.34    5.50   10,18   12.70    5.97    10.60   11.89    2,52    8.42     10.47    2.66     7.55   12.68     5.33      9.75
  1972          9.80    8.25    8.88   13.26   10.47   11,68   14.08    8.54    10.80   10.61    0,73    5.85               —        —     11.94     7.00      9.30
  1973         10.87    2.39    7.74   14.37    1.91    8,89   10.87    7.29     8.71   11.60    0.82    7.74      —        —        —     11.93     3.10      8.27
  1974         15.93    3.67   12.09   13.43    5.43    9.56   15.07    8.48    11.00   12.43    4.27    8.05      8.43    3.02     5.23   13.06     4.97      9.19
  1975         14.88    5.12    8.56   19.15   11.26   13,23   14.07    6.17     9.57   15.67    4,05    9,01      9.46    1.50     6,71   14.65     5.62      9.42
  1976         14.57    1.08    9.71   13.25    9.67   11.37   13.27    4.32    10.76   11.26    0.97    8.01               —              13.09     4.01      9.96
  1977         15.42   10.33   12.25   13.79    2.99    9.91   14.02    5.02    10.47   12.70    5.92    8.99      1.68    0.90     1,12   11.52     5.03      8.55
  1978         13.60   10.52   11,99   19.30   11.18   15.10   13.43    7,14    11.39   14.27    5.54   10.92      9.84    6.44     7,91   14.09     8.16     11.46
  1979         14.96   13.33   13.55   15.67    9.82   13.14   14.62    0,17     8.73   15.73    7.51   10.77     11.49    0.33     7,00   14.49     6.23     10.64
  1980          —       —              16.08    5.69   12.70   15.26    6.59    11.63   12.01    7.97    9.79     12.17    5.30     8.70   13.88     6.39     10,70
  1981         12.11    4.20    8.73   16.33    7.42   12.12   13.67    6.57    10.74   11.39    4.27    8.41      —                 —     13.38     5.62     10,00
  1982          —       —       —      14.55    4.02   10.50   15.02    9.10    11.26   10.60    6.34    8.47     10.43    2.98     6.62   12.65     5.61      9,21
   Average     13.61    6,93   10.67   15.34    7.21   11.68   14.24    6.00    10.59   12.23    4.36      8.60    8.97    2.91     6.08   12.88     5.48      9,52




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                Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 214 of 346



Table B-5—Average daily maximum, minimum, and mean net incident radiation (ly) by aspect during the 1969-82 growing seasons (adapted from
Alexander 1984)

                      June                 July                 August                 September                October                 Seasonal
   Year        Max.   Min.   Mean   Max.   Min.   Mean   Max.    Min.    Mean   Max.     Min.   Mean     Max.    Min.     Mean   Max.     Min.     Mean

North aspect
  1969         589    493    533    695    571    632    593     428     506    506       353      407   264     218      247    529      413      465
  1970         699    531    636    690    472    579    540     381     448    471       344      413   432     206      305    566      387      476
  1971         781    370    593    708    589    644    622     369     496    533       402      468   404     301      340    610      406      508
  1972         759    588    639    710    564    657    578     385     468    432       363      402   388     191      274    573      418      488
  1973         677    549    622    705    377    552    550     402     474    454       331      405   326     259      286    542      384      468
  1974         693    510    622    696    477    547    584     495     537    510       428      470   442     127      297    585      407      495
  1975         701    538    627    624    553    587    610     440     522    540       329      441   444     233      346    584      419      505
  1976         696    580    631    601    442    539    543     413     496    503       253      364   370     296      337    543      397      473
  1977         704    518    590    701    397    555    518     382     450    474       385      430   385     250      317    556      386      468
  1978         761    504    658    648    579    606    609     511     538    482       353      413   421     216      334    584      433      510
  1979         636    572    613    618    513    547    496     389     420    473       388      438   421     240      333    529      420      470
  1980         768    680    717    654    489    583    544     382     491    479       432      456   441     193      338    577      435      517
  1981         703    606    657    533    472    503    523     339     444    432       368      397   308     228      282    500      403      456
  1982         660    487    564    596    482    546    454     348     390    339       285      308   348     264      303    479      373      422

   Average     702    538    622    656    498    577    555     405     477    473       358      415   385      230     310    554      406      480

South aspect
  1969         585    488    528    690    582    638    622     469     546    579      425       485   382      303     337    572      453      507
  1970         691    526    630    685    472    585    577     416     484    569      429       492   557      275     414    616      424      521
  1971         773    368    587    731    600    651    643     411     531    626      486       557   541      434     464    663      460      558
  1972         751    584    633    734    575    665    607     429     504    538      413       480   500      276     370    626      455      530
  1973         670    546    616    700    381    557    588     488     511    519      412       482   453      334     392    586      432      512
  1974         686    507    616    689    487    551    625     522     572    594      517       560   554      183     393    630      443      538
  1975         694    533    621    624    571    593    645     471     564    622      386       526   573      337     468    632      460      554
  1976         689    570    623    597    457    544    593     450     536    574      316       431   513      435     472    593      446      521
  1977         696    513    585    724    405    571    544     417     486    542      452       514   535      344     432    608      426      518
  1978         753    501    651    660    583    612    639     546     580    551      427       492   543      317     454    629      475      558
  1979         630    568    607    617    510    552    520     416     453    567      484       522   421      240     450    551      444      517
  1980         764    692    710    666    489    590    571     426     530    598      522       560   569      269     457    634      480      569
  1981         695    602    650    544    469    509    559     370     490    523      432       474   445      317     385    553      438      502
  1982         656    482    559    595    492    549    476     388     419    410      335       373   450      382     409    517      416      462
   Average     695    534    615    661    505    583    586     444     515    558      431       496   503      318     421    600      446      526



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               Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 215 of 346

Table B-6—Meon daily and peak gust wind velocity (mp/h) by aspect during the h970-82 growing seasons (adapted from Alexander 1984)

                       June                  July              August           September         October              Total             Average
               Hourly         Peak   Hourly         Peak   Hourly   Peak      Hourly   Peak   Hourly   Peak   Hourly           Peak   Hourly   Peak
   Year         rate          gust    rate          gust    rate    gust       rate    gust    rate    gust    rate            gust    rate    gust

North aspect
  1970                         —      —              —       1.4        3.4     1.9     5.2      1.3    3.4      4,6           12.0    1.5     4.0
  1971          —              —      2.4            5.9     2,2        4.8     2.3     6.3     2.1     5.7      9.0           22.7    2.2     5.7
  1972          2.6            6,9    2.2            5.5     1,7        4.2     1.8     5.2     •mm              8.3           21,8    2.1     5.4
  1973          2.2            5.7    2,0            4.6     1.8        4.1     1,8     4.7     —       —        7.8           19,1    2.0     4.8
  1974          2.2            6.1    1,6            4,5     1.7        5.5     1.6     5.1      1.8    5.3      8.9           26,5    1.8     5.3
  1975          2.7            6.8    1.6            4.3     1.4        4.4     1.2     4.2      1.7    4.9      8.6           24,6    1.7     4.9
  1976          2.6            7.3    1.7            4.6     1.5        4.2     1.1     3.2     —       —        6.9           19,3    1.7     4.8
  1977          2.1            5.4    1.6            4.2     1.5        4.1     1.8     4,8     —       —        7.0           18,5    1.8     4.6
  1978          2.4            6.3    1.3            4.5     1.3        4.4     1.2     4,2      1.4    4.9      7.6           24,3    1.5     4,9
  1979          1.7            6.0    1.1            4,1     1,0        4.0     1.0     3,9      1,2    5,0      6.0           22.9    1.2     4.6
  1980          —              —      1.6            4,2     1,4        4.2     1.9     4.2      1,2    3,2      6.1           15.8    1.5     4.0
  1981          1,4            3.8    0.5            1.8     0,5        1.3     0.4     1.2     0,3     1,3      3.1            9.4    0.6     1.9
  1982          —              —      1.0            2.4     0.6        1.6     0.7     1.9     0.8     2.8      3.1            7,8    0.8     2.0
  Total         19.9          54.3    18.6          50,6    17.8    50.3       19.0    53.5    11.7    36.4     87.0       245.1
    Average      2.2           6.0     1.6           4,2     1.4        3.9     1.5     4.1     1.3     4.0      8.0           22,2    1.6     4.5

South aspect
  1970          —              —       —             —       1.1        3.6     2.6     7.0    2.5      6-2      6.2           16.8    2.1     5.5
  1971          —-             —       2,2           6.3     1.2        4.2     2.6     8.2    2.6      8.6      8.6           27.3    2.2     6,8
  1972          2.3            9.7     2,2           7.1     1.8        5.3     2.7     9.1    —        —        9.0           31.2    2.2     7,8
  1973          3.3            9.4     2,2           6.3     2.2        6.4     2.8     7.2             —       10.5           29.3    2.6     7,3
  1974          2.7            7.7     1.8           5.6     2.3        7,5     2.3     7.5     2.3     7.1     11.4           35.4    2.3     7.1
  1975          3.3           10.4     1,6           5.4     1.7        6.5     1.7     6.1     2.1     7.1     10.4           35.5    2.1     7.1
  1976          3.4           10.8     1.8           5.6     1.8        5,8     1.7     5.1             —        8.7           27.3    2.2     6.8
  1977          2.3            7.7     1.5           5.7     2.0        7.2     2.7     9.0     —       —        8.5           29,6    2.1     7.4
  1978          2.4            8.5     1.9           7.2     1.9        7.0     1.8     6.7     2.6     8.6     10.6           38,0    2.1     7.6
  1979          1.7            7,4     1.5           6.0     1.2        5.8     1.5     5.7     2.2     7.9      8.1           32.8    1.6     6.6
  1980          —              ——      2.4           6.9     2.5        7.2     2.8     8.2     2.6     6.2     10.3           28.5    2.6     7.1
  1981          2,2            5,8     0.9           2,7     0,8        2.3     0.9     2.8     1.0     2.8      5.8           16.4    1.2     3.3
  1982          —              —       2.3           4,4     0.7        2.1     0.8     2.6     1.6     5.1      5.4           14.2    1.4     3.6
 Total          23,6          77.4    22.2          69.2    21.1    70.9       26.7    85.2    19.5    59.5    113.1       362.2
    Average      2,6           8.6     1.9           5.6     1.6        5,5     2.0     6.5     2,2     6,6     10.3           32.8    2.0     6,6




                                                                                                              Rvsd Plan - 00005782
   Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 216 of 346
Appendix C“-How To Determine Residual Stand
Structure for Selection Cutting

  A plot of the distribution of number of trees tn successive
diameter classes follows a typical inverse J-shaped curve (fig.
C-1), which may be described by the negative exponential
function:

                                 N. =                                    (C~l)

where Nj and      are, respectively, number of trees per acre
and midpoint of the i diameter class. Parameters a and k
characterize a given distribution. The constant a controls the
rate at which number of trees change between successive
diameter classes. The value of a is related to g by the equation:

                                 a = (In q)/h                            (C~2)

where h is the width of the diameter classes. For 2-in diameter
classes discussed in this paper, h = 2. Substituting equation
(C”2) into equation (C-1) with h ~ 2 gives the following ex­
pression of the negative exponential function:

                        N,--                                             (C-3)

  The value of q can be estimated for a given set of stand in­
                                                                                                         DIAMETER AT B.H. (INCHESl
ventory data by using the linear regression;

                        In                        + b-Dj                         Figure C-1—Diameter distribution for a q of 1.5, maximum tree d.b.h.
                                                                                 of 24 in, and a residua! stock of 80 fP of basa! area per acre (Alex­
                                                                                 ander and Edminster 1977b).
where b^ and b^ are estimates of the regression parameters.
For 2-in diameter classes, q =           Note the value of q for
2-in diameter classes is the square of q for 1-in classes.                          The 5;, in equation (C-4) represents a summation over all
   The value of k in equations (C-1) and (C-3) represents a                      diameter classes. After substituting equation (C-3) into equa­
measure of density, but it is not easily related to usable                       tion (C-4) and performing some algebraic manipulations, the
measures for timber management purposes. The most useful                         density parameter may be expressed as:
density measures for uneven-aged spruce-fir stands are stand
basal area per acre and crown competition factor (CCP) per
                                                                                             t----------------                                 (c-5)
acre (Alexander 1971). Moser (1976) presents a method for
                                                                                             Z(c, + c^D, + cDfle
relating basal area and CCF to k that is adapted here to spruce­                                   i
fir stands. Both density measures may be expressed by the
formula:                                                                            Thus, for a given density expressed as basal area per acre
                                                                                 of CCF, a range of diameter classes, and a q value, the value
                                                                                 of the density parameter k of the negative exponential func­
            density =                -F                        (C-4)
                             i                i            i                     tion may be computed. Values of the denominator of equa­
                                                                                 tion (C-5) for a range of 2-in diameter classes and q values
where values of coefficients Ci, c^, and Ca are:                                 are presented in tables C-1 and C-2 to simplify computation
                                                                                 of k. After k is computed, number of trees in each diameter
                                 Basal area                      CCF             class may be computed using equation (C-3).
       Cl                        0.0                            0.0340
                                                                                    Table C-3 gives values of                     simplify com­
       C2                         .0                             .0161           putation of number of trees in 2-in diameter classes using equa­
       Cj                         .0054542                       .0019           tion (C-3). Table C-4 is included to aid in computation of




124                                                                                                    Rvsd Plan - 00005783
           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 217 of 346


Table C-1—Values for the denominator of equation (C-5) for different q ratios and diameter ranges using basal area as the density measure
(adapted ffom Alexander and Edminster 1977b)

  2-in
diameter                                                                    q ratio
classes          1.1          1.2           1,3          1.4          1.5               1.6       1.7         1.8           1.9         2.0
   (1)           (2)          (3)           (4)          (5)          (6)               (7)       (8)         (9)          (10)         (11)

   2           0.01983      0.01818      0.01678       0.01558      0.01454           0.01364   0.01283     0.01212      0.01148      0.01091
   4            .09196        .07878      .06842        .06011       .05333            .04772    .04303      .03905       .03566       .03273
   6            .23948        .19241      .15779        .13166       .11151            .09566    .08300      .07272       .06428       .05727
   8            .47790       .36075       .28001        .22253       .18046            .14893    .12479      .10597       .09107       .07909
  10            .81656       .57994       .42691        .32394       .25228            .20094    .16320      .13484       .11310       .09613
  12           1.25990        .84297      .58963        .42825       .32124            .24775    .19574      .15793       .12979       .10840
  14           1.80848      1.14132       .75999        .52966       .38380            .28758    .22179      .17539       .14175       .11675
  16           2.45985      1.46605       .93116        .62428       .43828            .32009    .24181      .18306       .14997       .12221
  18           3.20930      1.80854      1.09780        .70981       .48425            .34580    .25671      .19697       .15545       .12566
  20           4.05043      2.16089      1.25606        .78523       .52209            .36565    .26753      .20308       .15901       .12779
  22           4.97568      2.51618      1.40336        .85042       .55261            .38065    .27524      .20719       .16127       .12908
  24           5.97669      2.86853      1.53820        .90583       .57682            .39181    .28063      .20991       .16269       .12985
  26           7.04470      3.21314      1.65994        .95229       .59576            .40000    .28435      .21168       .16357       .13030
  28           8.17072      3.54619      1.76854        .99077       .61041            .40593    .28689      .21282       .16410       .13056
  30           9.34585      3.86479      1.86444       1.02232       .62162            .41019    .28861      .21354       .16443       .13071
  32          10.56133      4.16688      1.94837       1.04797       .63012            .41322    .28975      .21400       .16462       .13079
  34          11.80875      4.45107      2.02126       1.06864       .63652            .41536    .29052      .21429       .16474       .13084
  36          13.08011      4.71658      2.08412       1.08520       .64131            .41685    .29102      .21447       .16480       .13087




                                                                                                          Rvsd Plan - 00005784
                 Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 218 of 346




Table C-2—Values for the denominator of equation (C-5) for different q ratios and diameter ranges using crown competition factor (CCF) as
the density measure (adapted from Alexander and Edminster i977b)


   2-in
diameter                                                                     q ratio
 classes        1.1          1.2          1.3           1.4          1.5                 1.6       1.7         1,8         1.9         2.0
    (1)         (2)          (3)          (4)           (5)          (6)                 (7)       (8)         (9)        (10)         (11)

   2          0,06709      0.06150      0.05677       0.05271      0.04920             0.04612   0,04341     0.04100    0.03884      0,03690
   4           .17354       .15094       .13298        .11843       .10644              .09644    ,08798      .08075     .07452       .06910
   6           .32305       .26611       .22356        .19095       .16541              .14502    .12848      .11488     .10353       .09397
   8           .51730       .40326       .32314        .26498       .22159              .18842    .16254      .14197     .12536       .11175
  10           .75635       .55798       .42683        ,33657       .27228              .22513    .18965      .16234     ,14091       ,12378
  12          1.03904       .72570       .53058        .40308       .31625              .25498    .21040      .17707     .15155       -13161
  14          1.36325       .90202       .63127        ,46301       .35323              .27852    .22580      .18739     .15862       ,13654
  16          1.72620      1.08296       .72664        ,51573       ,36358              .29663     .23695     ,19445     .16320       .13958
  18          2.12459      1.26502       .81523        ,56120       .40802              .31030    .24487      .19918     .16611       .14142
  20          2.55486      1.44526       .89618        ,59978       .42737              .32045    .25041      .20231     .16793       .14251
  22          3.01324      1.62128       .96916        .63208       .44249              .32789    ,25422      .20434     .16905       .14314
  24          3.49590      1.79117      1.03417        .65879       .45417              .33327    ,25682      .20565     .16974       .14351
  26          3.99905      1.95352      1.09152        .68068       .46309              .33713    ,25858      .20649     .17015       .14373
  28          4.51897      2.10730      1.14167        .69845       .46986              ,33987    ,25975      .20701     .17040       .14385
  30          5.05209      2.25184      1.18518        .71276       .47494              .34180    .26053      .20734     .17054       .14391
  32          5.59503      2.38678      1.22267        .72422       .47874              .34315    .26104      .20755     ,17063       .14395
  34          6.14461      2.51199      1.25478        .73333       .48156              .34409    .26137      .20768     ,17068       .14397
  36          6.69785      2.62752      1.28213        .74053       .48364              .34474    .26159      .20775     .17071       .14399




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            Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 219 of 346


Table C~3—Values ofe                 in equation (C~3) for different q ratios (adapted from Alexander and Edminster 1977b)

   2-in
diameter   ...         .........                                               q ratio
 classes         1.1           1.2            1.3          1.4           1.5             1.6        1.7          1.8            1.9       2.0
  Df (1)         (2)           (3)            (4)          (S)           (6)             <7)        (8)          (9)           (10)       (11)

   2       0.909091      0.833333          0.769231     0.714286      0.666667       0.625000    0.588235     0.555556       0.526316   0.500000
   4        ,826446       .694444           .591716      .510204       .444444        .390625     .346021      .308642        .277008    .250000
   6        .751315       .578704           .455166      .364431       .296296        .244141     .203542      .171468        .145794    ,125000
   8        ,683013       .482253           .350128      .260308       .197531        ,152588     .119730      .095260        .076734    .062500
  10        ,620921       .401878           .269329      ,185934       .131687        ,095367     .070430      .052922        .040385    .031250
  12        ,564474       .334898           .207176      .132810       .087791        .059605     .041429      .029401        .021256    ,015625
  14        .513158       .279082           ,159366      .094865       .058528        .037253     .024370      ,016334        .011187    .007813
  16        .466507       ,232568           .122589      .067760       .039018        .023283     ,014335      .009074        .005888    .003906
  18        .424098       .193807           .094300      .048400       .026012        ,014552     .008433      .005041        .003099    .001953
  20        .385543       .161506           .072538      .034572       .017342        ,009095     .004960      .002801        .001631    .000977
  22        ,350494       .134588           .055799      .024694       .011561        ,005684     .002918      .001556        .000858    .000488
  24        ,318631       .112157           .042922      .017639       .007707        .003553     .001716      .000864        ,000452    ,000244
  26        ,289664       .093464           .033017      .012599       .005138        .002220     .001010      .000480        ,000238    ,000122
  28        ,263331       .077887           .025398      .008999       .003425        .001388     ,000594      .000267        .000125    .000061
  30        ,239392       .064905           .019537      .006428       ,002284        .000867     .000349      .000148        .000066    .000031
  32        ,217629       .054088           .015028      .004591       .001522        .000542     .000206      .000082        .000035    .000015
  34        .197845       .045073           .011560      .003280       .001015        .000339     .000121      .000046        .000018    .000008
  36        .179859       .037561           ,008892      .002343       .000677        .000212     .000071      .000025        .000010    .000004




                                                                                                              Rvsd Plan - 00005786
           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 220 of 346


                                                                        basal area or CCF by diameter classes; it gives basal area and
Table C-4— Values of tree basal area and maximum                        maximum crown area (MCA) for the tree with a diameter equal
crown area, by diameter class (adapted from Alexander                   to the midpoint of each diameter class. The MCA values for
and Edminster 1977b)                                                    all trees are summed on a per acre basis to compute CCF.
                                                                           Two existing old-growth spruce-fir stands on the San Juan
                                                   Maximum
                                                                        National Forest in Colorado have been selected to illustrate
Diameter                    Basal                   crown
  class                     area                     area               the procedure (stands A and B). The actual inventory data for
   (in-)                     (ft®)             (percent of acre)        stand A are shown in columns 1,2, and 3 of table C-5. A
                                                                        residual basal area of 80 per acre in trees 3.0 in in diameter
       2                    0.022                   0.074               and larger has been chosen because (1) it allows maximum
       4                     .087                    .129
                                                                        reduction (30 percent) in present basal area consistent with
       6                     .196                    .199
       8                     .349                    .284               previously developed recommendations for minimizing
      10                     .545                    .385               blowdown after partial cutting (Alexander 1973), and (2) it
      12                     .785                    .501               is the lowest basal area that appears to be a realistic timber
      14                    1.069                    .632               management goal in spruce-fir stands. A maximum tree
      16                    1.396                    .778
                                                                        diameter of 24 in breast height was chosen because it also ap­
      18                    1.767                    .939
      20                    2.182                   1.116               pears to be a realistic goal to be attained in a reasonable period
      22                    2.640                   1.308               of time. Lastly, a q of 1.5 was chosen because it approximates
      24                    3.142                   1.515               the q in the natural stand, and does not require removal of
      26                    3.687                   1.737               a large number of small trees. A lower q may be feasible, but
      28                    4.276                   1.974
                                                                        it would require heavy cutting in lower diameter classes.
      30                    4.909                   2.227
      32                    5.585                   2.495                  To determine the residual stand goal, the value of the
      34                    6.305                   2.778               residual density parameter k corresponding to a basal area of
      36                    7.069                   3.076               80 ft^ must be calculated. Values needed for this computation




Table C-5—Actual stand conditions and management goals for stand A using basal area as the density measure (all data
on a per-acre basis—stand goals: q — }.5, residual basal area = SOft^; maximum tree d.b.h. of 24 in.) (adapted from
Alexander and Edminster 1977b)

                                                          Residual
                          Actual stand                   stand goal                        Final stand                       Cut
Diameter                             Basal                            Basal                          Basal                          Basal
  class            Trees             area         Trees               area          Trees            area           Trees           area
   (1)              (2)               (3)          (4)                 (5)           (6)              (7)            (8)             (9)

                    no.                  ft2       no.                 ft®           no.                 ft®         no.              ft®
       4             57                4.97        63.23               5.52           57.0            4.98            0              0
       6             53               10.41        42.16               8.28           42              8.24           11              2.16
       8             46               16.06        28.10               9.81           28              9.77           18              6.28
      10             32               17.45        18.74              10.22           19             10,36           13              7.09
      12             16               12.57        12.49               9.81           12.5            9.81            3.5            2.75
      14             14               14.97         8.33               8.90            8.5            9.09            5.5            5.88
      16              6                8.38         5.55               7.75            6              8.38            0              0
      18              3                5.30         3.70               6.54            3              5.30            0              0
      20              5               10.91         2.47               5.39            5             10.91            0              0
      22              0                0            1.64               4.33            0              0               0              0
      24              2                6.28         1.10               3.46            1              3.14            1              3.14
      26              2                7.37                            —                              —               2              7.37

      Total         236              114.67       187.51              80.01          182             79.98           54             34.67




128
                                                                                             Rvsd Plan - 00005787
     Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 221 of 346


with a g of 1.5 are given in column 6 of table C l. The value
of k is computed as

           ,             80,0
                                 _ 3= 142.2779
                 0.57682 - 0.01454

where 80.0 is the desired basal area per acre, 0.57682 is the
table value for the desired maximum tree diameter class of
24 in, and 0.01454 is the table value for 2-in class. Note that
the value for the 2-in class is subtracted from the 24-in class
value, since trees below the 4-in class are not being considered
in the management guidelines. Desired residual number of
trees in each diameter class (column 4 of table C-5) can now
be directly calculated by multiplying the proper diameter class
values given in column 6 of table C-3 by the value of k com­
puted above. The desired residual basal area in each diameter
class (column 5 of table C-5) can be calculated by multiply­
ing the residual number of trees in each diameter class by the
tree basal area given in table C-4,
   Comparing actual and desired diameter distributions will
show where deficits and surpluses occur (fig. C“2). To bring
this stand under management, number of trees should be al­
lowed to increase in the diameter classes that are below the
                                                                    Figure C-2~Actual stocking curve of stand A from inventory data,
idealized stocking curve, with cutting limited to those diameter    and the idealized stocking curve based on stand structure goals (Alex­
classes with surplus trees. As a guiding rule, enough trees         ander and Edminster 1977b).
should be left above the curve in surplus diameter classes to
balance the deficit in trees in diameter classes below the curve.
In this example, all surplus trees will be cut in the 6- to 14-in
diameter classes, and in the 24- and 26-in classes, while no
trees will be cut in the other classes. The final stand structure
is shown in figure C-3 and columns 6 and 7 of table C-5.
Columns 8 and 9 show the trees and basal area removed.
   Similar goals can be calculated using CCF as the density
measure. Actual stand inventory data are again shown in col­
umns 1, 2, and 3 of table C-6. Again assuming a 30 percent
reduction in stand density, the residual CCF should be 55.8.
Data from column 6 of table C-2 provides the following value
of k:

                          55.8
               =-------------------------= 137.7880
                0.45417 - 0.04920

The value of k is then used to compute the residual number
of trees and MCA values (columns 4 and 5, table C-6). Com­
putations are similar to the previous method of using basal
area, except that a slightly different k value, and tree MCA
values are used. The final stand structure and trees to be cut
                                                                    Figure C-3—Actual stocking curve of stand A and recommended
are shown in columns 6 through 9 in table C-6.                      stocking curve based on stand structure goals, actual stand structure,
  It is not likely that unregulated stands will be brought under    and management and silvicultural constraints (Alexander and Ed­
control with one cut or even a series of cuts. More likely,         minster 1977b),


                                                                                                                                      129
                                                                                        Rvsd Plan - 00005788
           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 222 of 346




Figure C-4—Actual stocking curve of stand S from inventory data and               Figure C-5—Actual stocking curve of stand B and the recommended
the idealized stocking curve based on stand structure goals (Alexander            stocking curve based on stand structure goals, actual stand structure,
and Edminster 1977b).                                                             and management and silvicultural constraints (Alexander and Ed­
                                                                                  minster 1977b).



Table C~6—Actual stand conditions and management goals for stand A using crown, competition factor (CCF) as the den­
sity measure (all data on a per-acre basis) (adapted from Alexander and Edminster J977b)

                                                                Residual
                          Actual stand                         Stand goal                            Final stand                          Cut
                                  Total                                Total                                 Total                               Total
                                 maximum                              maximum                               maximum                             maximum
Diameter                          crown                                crown                                 crown                               crown
  class           Trees            area              Trees              area                 Trees            area             Trees              area
   (1)             (2)              (3)               (4)                (5)                  (6)              (7)              (8)                (9)

                    no.             CCF               no.                   CCF                no.             CCF              no.               CCF
      4              57              7.35             61.24                 7.90               57              7,35               0               0
      6              53             10.55             40.83                 8,13               41              8.16              12               2.39
       8             46             13.06             27.22                 7.73               27              7.67              19               5.39
      10             32             12.32             18.14                 6.98               18              6.93              14               5.39
      12             16              8.02             12.10                 6.06               12              6.01               4               2.01
      14             14              8.85              8.06                 5.09                8              5.09               6               3.76
      16              6              4.67              5.38                 4.19                6              4.67               0               0
      18              3              2.82              3.58                 3,36                3              2.82               0               0
      20              6              5.68              2.39                 2,67                5              5.58               0               0
      22              0              0                  1.59                2,08                0              0                  0               0
      24              2              3.30               1.06                1,61                1              1.52               1               1.51
      26              2              3.47              ..n                                     —►              —                  2               3.47

      Total        236              79.72           181.59               55,80                178             55.80              54              23.92




130
                                                                                                       Rvsd Plan - 00005789
          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 223 of 346



limitations imposed by stand conditions, windfall, and insect                to 150 ft' per acre in trees 3.0 in in diameter and larger would
susceptibility will result in either overcutting or undercutting             be appropriate. A of 1.5 and a maximum tree diameter of
spruce~fir stands, at least at the first entry. Another example              24 in were again selected for the same reasons as in the first
will illustrate this, using information from another stand on                example. Procedures used to obtain columns 4 and 5 in table
the San Juan National Forest (stand B). Actual stand inven­                   C-7 are also the same as before (table C-5). A comparison
tory data are shown in columns 1, 2, and 3 in table C-7. A                    of curves of actual and desired distributions shows where
residual basal area of 120 ft" per acre in trees 3.0 in in diameter           deficits and surpluses occur (fig. C-4). In this example, the
and larger would be a desirable stocking level based on                       bulk of trees removed will come ffom the 14- to 20-in diameter
previous assumptions. This would be too heavy a cut,                          classes, but no more than half of the trees would be removed
however, because it would open up the stand to possible                       in the largest diameter classes. Few or no trees would be cut
damage from wind and subsequent loss to spruce beetles. With                  in the smaller diameter classes. The final stand structure is
223 It" of basal area per acre in the stand, an initial reduction             shown in figure C-5 and columns 6 and 7 in table C-7.



Table C-T—Actual stand conditions and management goals for stand B using basal area as the density measure' (all data
on a per-acre basis—stand goals: q = 1.5, residual basal area “ 150   maximum tree d.b.h. of 24 in.) (adapted from
Alexander and Edminster 1977b)

                                                             Residual
                            Actual stand                    Stand goal                          Final stand                      Cut
Diameter                              Basal                               Basal                           Basal                        Basal
  class              Trees            area           Trees                 area          Trees             area         Trees          area
   (1)                (2)              (3)            (4)                    (5)          (6)                (7)         (8)            (9)

                      no.                             no.                    ft^          no.                    ft^     no.             ft^
      4               109               9.52         118.56               10.35           109                  9.52        0            0
      6                49               9.62          79.04               15.52            49                  9.62        0            0
      8                54              18.85          52.70               18.40            54                 18.85        0            0
     10                31              16.91          35.13               19.16            31                 16.91        0            0
     12                24              18.85          23.42               18.39            23                 18.06        1            0.79
     14                29              31.00          15.61               16.69            17                 18,17       12           12.83
     16                26              36.30          10.41               14.54            13                 18,15       13           18.15
     18                13              22.97           6.94               12.26             8                 14,14        5            8.83
     20                10              21.82           4.63               10.10             5                 10.91        5           10.91
     22                10              26.40           3.08                8.13             5                 13.20        5           13.20
     24                 1               3.14           2.06                6.47             1                  3.14        0            0
     26                 2               7.37           —                   —              —                    —1          2            7.37

     Total            358             222.75         351.58           150.01              315             150.67         43            72.18

1   Residual density parameter k for this example is computed as

                                                                  150.0
                                                     k =                           = 266.77
                                                            0.57682 - 0.01454

    Numbers of residual trees in each diameter class (column 4) are computed by multiplying values in column 6, table 4, by k.




                                                                                                                                         131
                                                                                                  Rvsd Plan - 00005790
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 224 of 346

Appendix D—Selected Engelmann Spruce Volume
Tables

   Volume on an area may be determined from (1) measure­             ways: (1) measure the diameter and height of each tree counted
ments of tree diameters and heights, (2) measurements of             through the prism or relascope, (2) measure the height of each
diameters of sufficient heights to convert the appropriate           counted tree and estimate its diameter, or (3) measure the
volume tables to local volume tables, or (3) tree counts ob­         heights of the counted trees and make no record of the
tained by point-sampling.                                            diameters. The procedure selected will depend on the accuracy
                                                                     desired (relative accuracy usually descends in the order listed
                      Volume Tables                                  above) and the time and personnel available for the job.
                                                                       If the diameter and height of each counted tree are measured,
   Headings and footnotes with tables D-i to D-4 give the            a volume conversion factor is selected for each combination
volume unit, type of height measurement, utilization standards,      of diameter and height. Factors are read from the appropriate
and volume equations used in its compilation. Ten-foot or half­      factor table (tables D-3, D-5, D-7, inclusive) or computed
log height classes and full-inch diameter classes were used in       from equations in the table footnotes. Volume per acre is com­
all tables.                                                          puted as follows:
   The volume tables were derived from linear regressions in
7 and D^H, of the form:                                                1. Multiply the number of counted trees in each diameter­
                                                                          height class by the point-sampling factor for the class.
                       7 = a + b D^H
                                                                       2. Total the products of step 1.
where:                                                                 3. Multiply this total by the basal area factor of the prism
                                                                          or other angle gauge used.
       7   = gross volume in the appropriate unit,
                                                                       4. Divide the product of step 3 by the number of points
      D    = diameter breast high outside bark,
                                                                          sampled on the tract.
      H    = total height in feet or in standard logs and half­
             logs, and
                                                                       Time can often be saved if the heights of the counted trees
      a, b — regression constants.
                                                                     are measured, while diameters are estimated and tallied by
                                                                     broad diameter classes. Inspection of the factor tables shows
  Two equations were used to derive each table. Usually, the
                                                                     that volumes per square foot of basal area often do not differ
relationship between 7 and          could not be expressed by
                                                                     greatly among trees of a single height class. For example, the
a single linear regression over the fill! range of the basic data.
                                                                     merchantable cubic volumes of trees 70 feet tall vary from
                                                                     26.2 to 29.4 cubic feet per square foot as diameter increases
                Point-Sampling Factors                               from 5 to 23 inches (table D-3).
                                                                       It is recommended that diameters not be recorded at all when
  Tables of point-sampling factors (tables D-5 to D-7, in­           the distribution of diameters and heights on the area inven­
clusive) give the factors for each of numerous combinations          toried indicates there is little change in volume per square foot
of tree diameter and height. Tabulated volumes per square foot       within a height class. Point sampling factors based on height
of basal area were obtained from the equations in the table          only can be computed from the factor tables given here.
footnotes. These equations resulted from the division of each          The factor for each height class can be computed using
term of the corresponding tree volume equation by                    almost the same procedure used to derive a local volume table
0.005454£>^, a formula for basal area (B).                           from a standard table. Diameters are plotted over heights, since
  Point-sample cruising for volume can be done in several            height will be retained as the measured variable.




132
                                                                                         Rvsd Plan - 00005791
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 225 of 346




Table D-1—volumes of entire stem in cubic feet inside bark, Engelmann spruce in Colorado and Wyoming^ (including
stump and top) (adapted from Myers and Edminster 1972)

  Diameter
breast height
outside bark                                                               Total height in feet                                                                   . ggsis:
   (inches)         10     20          30        40          50____ €0             70         80          90          100       110          120       130___ : Trees

                 ------------------------------------------------------------ volume in cubic feet-------------------------------------------------------------
       1           0.12       0.17                                                                                                                                    21
       2           0.21       0.36       0.51         0.66                                                                                                            25
       3           0.36       0.65       0.94         1.24      1.53                                                                                                  25
       4           0.55       1.03       1.52         2.00      2.48                                                                                                  20

       5                        1.51     2.23         2.96      3.68       4.40                                                                                       26
       6                        2.08     3.09         4.10      5.11       6.12       7.13                                                                            24
       7                                 4.10         5.44      6.79       8.13       9.48         10.8                                                               19
       8                                 5.24         6.97      8.70      10.4       12.2          13.9                                                               28

       9                                 6.54       8.69       10.8       13.0       15.2          17,3                                                               22
      10                                 7.97      10.6        13.2       15.9       18.5          21.1        23.8                                                   21
      11                                           12.7        15.9       19.0       22.2          25.4        28.5     31.7                                          40
      12                                                       18.7       22.5       26.2          29.9        33.7     37.4                                          42

      13                                                      21.8        26.2       30.6          34.9        39.3     43.6                                          11
      14                                                                  30.2       35.2          40.3        45.3     50.3          55.1                            19
      15                                                                  34.5       40.3          46.0        51.7     56.8          61.4                            21
      16                                                                  39.1       45.6          52.1        57.7     63.0          68.2                            17

      17                                                                  44.0       51.3          57.7        63.6     69.5       75.4        81.3                   11
      18                                                                             56.7          63.3        69.9     76.5       83.1        89.7                   13
      19                                                                             61.8          69.1        76.5     83.8       91.1        98.5                   11
      20                                                                             67.2          75.3        83.4     91.5       99.6       108          116        13

      21                                                                             72.9        81.8       90.7         99.6     109          117         126        10
      22                                                                             78.8        88.6       98.4        108       118          128         137         5
      23                                                                             85.0        95.7      106          117       128          138         149         7
      24                                                                                        103        115          126       138          149         161         9

      25                                                                                        111        123          136       148          161        174           6
      26                                                                                        119        132          146       160          173        187           4
      27                                                                                        127        142          156       171          186        200           7
      28                                                                                                   152          167       183          199        214           4

      29                                                                                                    162        178        195         212          229          4
      30                                                                                                    172        190        208         226          244          3
      31                                                                                                    183        202        221         240          259          1
      32                                                                                                               214        235         255          275          2

      33                                                                                                                          249         270         292           0
      34                                                                                                                                      286         309           1
      35                                                                                                                                      302         327           0
      36                                                                                                                                      319         345           1

Basis:
  No. trees       35         36         28         40          40         57         69            64          46        46           25           4          3      493

1   Derived from: V = 0.00239 D^H + 0,06439, for [PH to 22,500.
                  V = 0.00193 D^H + 10.41663, for D^H larger than 22,500.
    Standard errors of estimate; ± 13.24 percent; + 9.29 percent.
    Diameter classes full-inch: e.g. 20-inch class includes 20.0 to 20.9.




                                                                                                                                                                      133
                                                                                                                    Rvsd Plan - 00005792
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 226 of 346



Table D-2—Gross merchantable volumes in cubicfeet inside bark to a 4.0~inch lop, Engelmann spruce in Colorado and Wyoming^
(excluding stump and top; slump height 1.0 foot) (adapted Jrom Myers and Edminster 1972)

  Diameter
breast height :
outside bark ;                                                 Total height in feet                                            : Basis:
   (inches)   ;       30       40       SO       60        70          80          90         100     110    120     130       : Trees

                                                        ------ volume in cubic feet--------
       5             1.28     1.98      2.68     3.38                                                                               26
       6             2.11     3.09      4.07     5.05      6.03                                                                     24
       7             3.08     4.39      6.69     7.00      8.30         9.61                                                        19
       8             4.20     5.87      7.55     9.23     10.9         12.6                                                         28
       9             5.45      7.55     9.64    11.7      13.8         15.9                                                         22
      10             6.84      9.40    12.0     14.5      17.1         19.6        22.2                                             21
      11                      11.4     14.5     17.6      20.6         23.7        26.8        29,9                                 40
      12                               17.3     20.9      24.5         28.2        31.8        35.4                                 42
      13                              20.3      24.5      28.8         33.0        37.2       41.5                                  11
      14                                        28.4      33.3         38.2        43,1       47,9    52.8                          19
      15                                        32.6      38.2         43.8        49.3       54.9    60.5                          21
      16                                        37.1      43.4         49.7        56.0       62.3    67.6                          17
      17                                        41.8      48.9         56.0        63.1       68.9    74.4    80.0                  11
      18                                                  54.8         62.7        69.2       75.4    81.6    87.9                  13
      19                                                  60.9         68.5        75.4       82.3    89.2    96.2                  11
      20                                                  66.7         74.3        82.0       89.6    97.2   105      113           13
      21                                                  72.0         80.4        88.8        97.2   106    114      122           10
      22                                                  77.6         86.8        96,0       105     114    124      133            5
      23                                                  83.5         93.5       104         114     124    134      144            7
      24                                                              101         111         122     133    144      155            9
      25                                                              108         120         131     143    155      167            6
      26                                                              115         128         141     154    166      179            4
      27                                                              123         137         151     165    178      192            7
      28                                                                          146         161     176    191      205            4
      29                                                                          156         171     187    203      219            4
      30                                                                          165         182     199    216      233            3
      31                                                                          176         194     212    230      248            1
      32                                                                                      205     225    244      263            2
      33                                                                                              238    256      279            0
      34                                                                                                     273      295            1
      35                                                                                                     288      311            0
      36                                                                                                     304      328            1

Basis:
  No. of trees      14       34        40       57        69           64           46         46      25      4           3       402

1   Derived from: V = 0.00232 D^H - 0.83010, for D^H to 27,900.
                  V = 0.00182 D^H + 13.11320, for D^H larger than 27,900.
    Standard errors of estimate: ± 12.93 percent; ± 8.50 percent.
    Diameter classes full-inch; e.g. 20-inch class includes 20.0 to 20.9.




134

                                                                                              Rvsd Plan - 00005793
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 227 of 346



Table D-3—Gross volumes in board feet Scribner Rule, Engelmann spruce in Colorado and Wyoming^ (excluding stump and
top; stump height 1.0 feet; top diameter 6 inches inside bark) (adapted from Myers and Edminster 1972)

  Diameter    ;
breast height :
outside bark :                                                    Total height in feet                                 : Basic:
   (inches)            40       50         60          70         80         90          100      110    120    130      Trees

                       ———— —volume in board feet-                                              ———

       7               10        16        22           28         34                                                     19
       6               17        24        32           40         48                                                     28
       9               24        34        44           54         64                                                     22
      10               33        45        57           70         82          94                                         22
      11               43        57        72           86        101         115        131                              40
      12                         71        88          105        122         141        160                              42
      13                         85       105          125        147         169        191                              11
      14                        100       124          149        174         200        225       250                    19
      15                                  145          174        203         232        261       290                    21
      16                                  168          201        234         267        299       332                    17
      17                                  193          230        267         303        340       377   414              11
      18                                               260        301         342        383       425   466              13
      19                                               292        338         383        429       475   521               11
      20                                               326        376         427        477       528   578    629        13
      21                                               361        417         472        528       583   639    694        10
      22                                               398        459         520        581       641   702    763         5
      23                                               437        503         570        636       702   769     835        7
      24                                                          549         621        694       766   838     910        9
      25                                                          597         676        754       832   910     988        6
      26                                                          647         732        816       901   985    1069        4
      27                                                          699         790         881      972   1063   1154        7
      28                                                                      851         948     1046   1144   1241        4
      29                                                                      914        1018     1123   1227   1332        4
      30                                                                      978        1090     1202   1314   1426        3
      31                                                                     1046        1165     1284   1403   1523        1
      32                                                                                 1242     1369   1496   1623        2
      33                                                                                          1456   1591   1726        0
      34                                                                                                 1689   1832        1
      35                                                                                                 1790   1941        0
      36                                                                                                 1894   2054        1

1   Derived from: K = 0.01097 D^H - 15.14466,         for D^H to 12,200,
                  V' = 0.01202 D^H - 27.91343,        for D^H larger than 12,200.
    Standard errors of estimate: + 15.91 percent;     ± 13.63 percent.
    Diameter classes full-inch; e.g. 20-inch class   includes 20.0 to 20.9.




                                                                                                                          135
                                                                                                Rvsd Plan - 00005794
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 228 of 346



Table D-4—Groi's volumes in board feet International l/4dnch Rule, Engelmann spruce in Colorado and Wyoming' (excluding
stump and top; stump height 1.0 foot; top diameter 6 inches inside bark) (adapted from Myers and Edminster 1972)

  Diameter      :
breast height   :
outside bark    ;                                          Total height in feet                                 ; Basis:
   (inches)     :    40       50        60       70        80        90           100      110    120    130    : Trees

                     —              —                   —volume in board feet-—                   ——

       7              6        14        21       29        37                                                      19
       8             15        25        35       45        55                                                      28
       9             25        37        50       62        75                                                      22
      10             36        51        66       82        97        112                                           22
      11             48        66       85       103      122         140          158                              40
      12                       83      105       127      148         170          192                              42
      13                      101      126       152      177         203          228                              11
      14                      121      150       179      208         238          267      296                     19
      15                               175       208      242         275         309       342                     21
      16                               202       239      277         315         353       387                     17
      17                               230       273      315         357         395       433    471              11
      18                                         308      355         397         440       482    524              13
      19                                         345      393         440         487       534    581              11
      20                                         380      432         484         536       588    640    692       13
      21                                         417      474         531         588       645    702    759       10
      22                                         455      517         580         642       705    767    803        5
      23                                         494       563        631         699       767    835    904        7
      24                                                   610        684         758       832    907    981        9
      25                                                   659        740         820       900    981   1061        6
      26                                                   711        798         884       971   1058   1144        4
      27                                                   764        858          951     1044   1138   1231        7
      28                                                              920         1020     1120   1221   1321        4
      29                                                              984         1092     1199   1307   1414        4
      30                                                             1051         1166     1281   1396   1511        3
      31                                                             1120         1242     1365   1488   1610        1
      32                                                                          1321     1452   1582   1713        2
      33                                                                                   1542   1680   1819        0
      34                                                                                          1781   1928        1
      35                                                                                          1885   2040        0
      36                                                                                          1991   2156        1
Basis:
No. Trees             13       26        54       69        63         48           48       25      4      3      353

1   Derived from: y = 0.01391 CPH - 25.61022, for D^H to 27,300.
                  y = 0.01235 D^H + 17,02079, for D2H larger than 27,300.
    Standard errors of estimate: ± 18.12 percent; + 11.98 percent.
    Diameter classes full-inch; e.g. 20-snch class includes 20.0 to 20.9.




136

                                                                                         Rvsd Plan - 00005795
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 229 of 346



Table D-S—Gross merchanlable volumes in cubic feet per square foot of basal area, Engelmann spruce in Colorado and Wyoming^
(excluding stump and top; stump height 1.0 foot; top diameter 4 inches inside bark) (adapted fi-om Myers and Edminster 1972)

  Diameter
breast height
outside bark                                                                Total height in feet
  (inches)                  30         40         50         60         70          80         90     100    110    120    130

                                                                                -cubic feet—
       5                     7.7       12.0      16.2       20.5
       6                     9.2       13.4      17.7       21.9       26.2
       7                    10.1       14.3      18.6       22.8       27.1         31.3
       8                    10.7       14.9      19.2       23.4       27.7         31.9
       9                    11.1       15.3      19.6       23.8       28.1         32.3
      10                    11.4       15.6      19.9       24,1       28.4         32.7       36.9
      11                               15.9      20.1       24.4       28.6         32.9       37.1   41.4
      12                                         20.3       24.5       28.8         33.1       37.3   41.6
      13                                         20.4       24.7       28.9         33.2       37.5   41.7
      14                                                    24.8       29.1         33.3       37.6   41.8   46.1
      15                                                    24.9       29.1         33.4       37.7   41.9   46.2
      16                                                    25.0       29.2         33.5       37.7   42.0   45.5
      17                                                    25.0       29.3         33.5       37.8   41.2   44.6   47.9
      18                                                               29.3         33.6       37.1   40.4   43.7   47.1
      19                                                               29.4         33.0       36.4   39.7   43.0   46.4
      20                                                               29.1         32.4       35.8   39.1   42.4   45.8   49.1
      21                                                               28.6         31.9       35.2   38.6   41.9   45.2   48.6
      22                                                               28.1         31.4       34.8   38.1   41.5   44.8   48.1
      23                                                               27.7         31.0       34.4   37.7   41.1   44.4   47.7
      24                                                                            30.7       34.0   37,4   40.7   44.0   47.4
      25                                                                            30.4       33.7   37.1   40.4   43.7   47.1
      26                                                                            30.1       33.5   36.8   40.1   43.5   46.8
      27                                                                            29.9       33.2   36.5   39.9   43.2   46.6
      28                                                                                       33,0   36.3   39.7   43.0   46.3
      29                                                                                       32.8   36.1   39.5   42.8   46.1
      30                                                                                       32.6   36.0   39.3   42.6   46.0
      31                                                                                       32.5   35.8   39.1   42.5   45.8
      32                                                                                              35.6   39.0   42.3   45.7
      33                                                                                                     38.8   42.2   45.5
      34                                                                                                            42.1   45.4
      35                                                                                                            42.0   45.3
      36                                                                                                            41.8   45.2

1   Derived from: V/B » 0.4254 H - 152.2002/D2, above dotted line
                  V/e = 0.3337 H + 2404.3271/D2, below dotted line
    Diameter classes full-inch; e.g. 20-inch class includes 20.0 to 20.9.




                                                                                                                           137

                                                                                               Rvsd Plan - 00005796
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 230 of 346




Table I>-6—volumes in boardfeet Scribner Rule per square foot ofbasal area, Engelmann spruce in Colorado and Wyoming^
(excluding stump and top; stump height 1,0 foot; top diameter 6 inches inside bark) (adapted from Myers and Edminster 1972)

  Diameter
breast height
outside bark                                                                Total height in feet
   (inches)                    40         50          60          70         80          90        100   110    120    130



       7                        31        51          71          91         111
       8                        42        62          82         102         122
       9                        50        70          90         110         130
      10                        55        75          95         116         136         156
      11                        59        80         100          120        140         160       182
      12                                  83         103          123        144         166       188
      13                                  85         105          126        148         170       192
      14                                  87         108          130        152         174       196    218
      15                                             111          133        155         177       199    221
      16                                             113          135        158         180       202    224
      17                                             116          138        160         182       204    226   248
      18                                                          139        161         183       205    227   250
      19                                                          141        163         185       207    229   251
      20                                                          142        164         186       208    230   252     274
      21                                                          143        165         187       209    231   253     275
      22                                                          144        166         188       219    232   254     276
      23                                                          145        167         189       211    233   255     277
      24                                                                     168         190       212    234   256     278
      25                                                                     168         190       213    235   257     279
      26                                                                     169         191       213    235   257     279
      27                                                                     170         192       214    236   258     280
      28                                                                                 192       214    236   258     280
      29                                                                                 192       215    237   259     281
      30                                                                                 193       215    237   259     281
      31                                                                                 193       215    237   259     281
      32                                                                                           216    238   260     282
      33                                                                                                  238   260     282
      34                                                                                                        260     282
      35                                                                                                        260     282
      36                                                                                                        261     283

1   Derived from: V/B = 2.0114         2776.7987/D2, above dotted line
                  V/B = 2.2039 H - 5117.9740/02, below dotted line
    Diameter classes full-inch: e.g. 20-inch class includes 20.0 to 20.9.




138
                                                                                               Rvsd Plan - 00005797
       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 231 of 346



Table D-7G>zm.v volumes in board feet International 1/4-inch Rule per square foot of basal area, Engelmann spruce in Col­
orado and Wyoming' (excluding stump and top; stump height 1.0 foot; top diameter 6 inches inside bark) (adapted from Myers
and Edminster 1972)

  Diameter
breast height
outside bark           .                                                      Total height in feet
  (inches)             :        40         50          60          70            80             90            100   110   120   130

                                       ——                            ----- ----------
                                                                             --------- board feet----------         —

       7                        19          44          70          95           121
       8                        37          63          88         114           139
       9                        50          75         101         126           151
      10                        59          85         110         136           161            187
      11                        67          92         118         143           169            194           220
      12                                    97         123         148           174            199           225
      13                                   102         127         153           178            204           229
      14                                   105         131         156           182            207           233   258
      15                                               133         159           184            210           235   261
      16                                               136         161           187            212           238   261
      17                                               138         163           189            214           237   259   282
      18                                                           165           190            213           236   258   281

      19                                                           166           189            212           235   257   280
      20                                                           166           189            211           234   257   279   302
      21                                                           165           188            211           233   256   278   301
      22                                                           165           187            210           233   255   278   301
      23                                                           164           187            209           232   255   277   300
      24                                                                         186            209           232   254   277   300
      25                                                                         186            209           231   254   277   299
      26                                                                         186            208           231   254   276   299
      27                                                                         185            208           231   253   276   298
      28                                                                                        208           230   253   276   298
      29                                                                                        207           230   253   275   298
      30                                                                                        207           230   252   275   298
      31                                                                                        207           230   252   275   298
      32                                                                                                      229   252   275   297
      33                                                                                                            252   275   297
      34                                                                                                                  274   297
      35                                                                                                                  274   297
      36                                                                                                                  274   297

1   Derived from: we = 2.5504 H - 4695.6766/D2, above dotted line
                  V/B = 2.2644 H + 3120.7902/D2, below dotted line
    Diameter classes full-inch: e.g. 20 -inch class includes 20.0 to 20.9.




                                                                                                                                139
                                                                                                      Rvsd Plan - 00005798
   Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 232 of 346

Appendix E—Selected Tables


Table E-1—Basal areas after intermediate cutting in relation to average stand diameter and growing stock, level

Average stand
 d.b.h. after
    cutting                                                          Growing stock level
   (inches)        40        50       60            70        80             90          100        110      120      140     160



       2           6.0       7,5      9.1           10.6      12.1          13.6          15.1      16.7      18.2     21.2    24.2
       3          11.8      14.8     17.7           20.6      23.6          26.6          29.5      32.4      35.4     41.5    47.4
       4          17.6      22.0     26.4           30.8      35.2          39.6          44.0      48.4      52.8     61.6    70.4
       5          23.4      29.2     35.0           40.9      46.7          52.5          58.4      64.2      70.0     81.9    93.6
       6          28.3      35.4     42.4           49.5      56.6          63.7          70.8      77.8      84.9     99.0   113.2
       7          32.7      40,9     49.1           57.3      65.5          73.7          81.9      90.1      98.2    114.4   130.8
       8          36.2      45.3     54.4           63.4      72.5          81.6          90.6      99.7     108.8    126.9   145.0
       9          38.8      48.4     58.1           67.8      77.5          87.2          96.9     106.6     116.2    135.6   155.0
      10          40.0      50.0     60.0           70.0      80.0          90.0         100.0     110.0     120.0    140.0   160.0



Table ¥^-2—Number of trees per acre in relation to average diameter and growing stock level

Average stand
 d.b.h. after
  thinning                                                              Growing stock level
  (inches)          40        50        60            70           80             90        100      110       120     140     160

                    —............            ——»■             — — no. of trees -

       2            277      345       418            488       553               626       692      767       836     968    1017
       3            241      301       360            420       481               542       601      660       721     843     964
       4            202      252       302            353       403               454       504      554       605     707     308
       5            172      214       257            300       342               385       428      471       513     601     687
       6            144      180       216            252       288               324       361      396       432     505     577
       7            122      153       184            214       245               276       306       337      367     428     489
       8            104      130       156            182       208               234       260      286       312     364     415
       9             88      110       132            154       175               197       219      241       263     307     351
      10             73       92       110            128       147               165       183      202       220     257     293



Table E-3—Average distance in feet between residual trees in relation to average diameter and growing stock level

Average stand
 d.b.h. after
  thinning                                                              Growing stock level
  (inches)          40        50        60               70        80              90        100      110      120      140    160

                   —                                                           -feet——
       2           12.5      11.1      10.2            9.4        8.6              8,3       7.8       7.5      7.2     6.7     6.3
       3           13.4      12.0      11.0           10.2        9.5              9.0       8.5       8.1      7.8     7.2     6.7
       4           14.7      13.2      12.0           11.1       10.4              9.8       9.3       8.9      8.5     7.9     7.3
       5           15.9      14.4      13.0           12.0       11.3             10.6      10.1       9.6      9.2     8.5     8.0
       6           17.4      15.6      14.4           13.2       12.3             11.6      11.0      10.5     10.0     9.3     8.7
       7           18.9      16.9      15.4           14.3       13,3             12.6      11.9      11.4     10.9    10.1     9.4
       8           20.5      18.3      16.7           15.5       14.5             13.6      13.0      12.3     11.8    10.9    10.2
       9           22.3      20.1      18.2           16.8       15.8             14.9      14.1      13.4     12.9    11.9    11.1
      10           24.4      21.8      20.1           18.4       17,2             16.2      15.4      14.7     14.1    13.0    12.2



!40                                                                                              Rvsd Plan - 00005799
                 Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 233 of 346

Table K~4—Estimated average diameter and number of trees per acre of spruce-fir at final harvest in relation to growing stock levels, site indexes,
rotation age, and cutting cycle, with a shelterwood option (adapted from Alexander and Edminster 1980)

                                                                                     Growing stock level

                                40               60               80                100                120                140                  160                180

 Rotation       Cutting    No.     Dia-   No.     Dia-   No,     Dia-   No.             Dia-   No,         Dia-   No,     Dia-          No,        Dia-   No.         Dia-
    age          cycle      Of    meter    of    meter    of    meter    of            meter    of        meter    of    meter           of       meter    of        meter
  (years)       (years)   trees (inches) trees (inches) trees (inches) frees         (inches) trees     (inches) trees (inches)        trees    (inches) trees     (inches)

Site index 50
   100            20       19        20.6   39        17.5   65        15.6    95         14.3   135         13.1   194         11.8   236           11.1   289         10.1
   120                     11        26.7   22        22.6   39        19.7    57         18.2    84         16.5   125         14.5   169           13.3   226         12.2
   140                      7        33.5   13        28.8   24        24.9    36         22.6    53         20.5    79         18.1   110           16.3   161         14.3
   160                      6        35.1   11        32.3   16        30.7    23         27.9    35         24.9    52         22.1    72           20.0   107         17.4
   100            30       22        19.3   43        16.7   72        14.9   107         13.6   151         12.4   208         11.2   250           10.8   295         10.0
   120                     12        25.2   25        21.6   42        19.1    65         17.1    91         15.8   136         13.9   181           12.9   235         12.0
   140                      9        29.6   18        25,3   29        22.6    46         20.1    65         18.4   too         16.1   131           15.0   180         13.5
   160                      7        33.3   11        31.8   13        28.3    30         24.7    44         22.5    66         19.7    87           18.2   122         16.3
Site index 60
  100             20       17        21.8   34        19.0   57        16.9   76          16.2   116         14.3   153         13.4   209       12.3       259         10.1
  120                       9        28.7   19        24,7   33        21.8   45          20.7    70         18.1    90         17.2   131       15.3       164         12.2
  140                       7        32.7   11        31,8   19        27.9   27          26.1    43         22.2    55         21.9    79       19.4       103         14.3
  160                       5        37.9    9        35,6   15        31.4   18          32.0    28         28.0    36         26.8    51       23,8        67         17.4
  100             30       19        20.8   36        18,4   62        16.2   85          15.3   129         13.7   164         13.0   217       12.1       264         13.3
  120                      10        27.6   20        24.1   35        21.1   51          19.5    76         17,4    99         16.4   133       15.1       183         13.7
  140                       7        32.8   14        28.5   24        25.0   36          23.1    53         20,7    70         19.3    95       17.0       133         15.9
  160                       6        36.5   11        31.9   15        31.1   23          28.3    34         25,6    46         23.8    62       21.8        86         19.5
Site index 70
   100            20       15        23.4   28        21.0   46        18.7   69      17.2        97     15.9       123     15.1       166       13.9       210     13.1
   120                      8        31.0   15        27,5   26        24,5   39      22.5        55     20.5        70     19.6        94       18.1       126     16.7
   140                      6        36.1   11        32,1   15        31.5   23      28.5        33     26.0        43     24.7        59       22.6        79     20.7
   160                      4        42.0    8        37,1   12        35.5   18      32.5        21     32.3        27     30.8        38       28.0        50     25.8
   100            30       17        22.3   30        20,2   49        18.2   75      16.6       103     15.5       136     14.4       184       13.3       231     12.5
   120                      9        29.3   17        26,2   27        24.0   42      21.4        59     19.9        79     18.5       109       16.9       139     15.8
   140                      7        34.4   11        31.8   19        28.4   29      25.7        41     23.6        55     22.0        75       20.1        99     18.5
   160                      5        39.7    9        35.0   15        31.9   19      32.1        25     29.5        34     27.5        48       25.0        63     23.0




                                                                                                                                  Rvsd Plan - 00005800
                    Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 234 of 346




Table E-4—

                                                                                               Growing stock level

                                   40                  60                  80                  100                 120                 140                 160                 180

  Rotation       Cutting     No.      Dia-      No.       Dia-     No.        Dia-      No.        Dia-     No.        Dia-     No.        Dia-     No.        Dia-     No.        Dia-
    age           cycle      of      meter       of      meter     of        meter       of       meter      of       meter      of       meter      of       meter      of       meter
  (years)        (years)   trees   (inches)    trees   (inches)    trees   (inches)    trees    (inches)   trees    (inches)   trees    (inches)   trees    (inches)   trees    (inches)


Site index 80
  too             20        13          25.3    25          22.3    39          20.6    59       18.8       79       17.7      103       16.7      133       15.7      177       14.4
  120                        7          33.7    14          29.3    21          27.2    32       24.7       44       22.9       58       21.6       74       20,5       99       18.8
  140                        6          36.2    10          34.1    14          31.9    19       31.4       27       29.1       35       27.5       44       26,0       59       23.9
  160                        4          42.2     7          39.6    11          36.9    15       35.3       20       33.2       25       31.5       28       32.6       37       29.9
  100             30        15          24.0    27          21.5    44          19.6    63       18.2       87       16.9      118       15.7      145       15.1      196       13.8
  120                        8          31.7    15          28.4    24          25.8    35       23.7       48       22.1       66       20.5       83       19.4      117       17.4
  140                        7          33.0    10          34.0    16          30.8    23       28.6       33       26.6       44       24.7       58       23.0       81       20.6
  160                        5          38.8     8          38.3    13          34.4    18       32.1       20       33.2       28       30.6       36       28.7       51       25.8
Site index 90
  100             20        12          26,7    22          24.0    35          21.9    48       20.8       67       19-3       89       18.1      110       17.4      139       16.4
  120                        7          34.7    11          32.2    19          29.1    26       27.5       37       25.3       48       23.8       62       22.4       80       21.1
  140                        5          38.5     8          37.9    13          34.0    18       31.9       21       32.9       29       30.5       36       29.0       47       26.8
  160                        4          44.7     6          43.9    10          39,4    14       37.1       16       37.0       22       34.8       27       33.1       30       33.6
  100             30        13          25.6    25          22.7    38          21.0    63       19.7       71       18.7      100       17.1      125       16.4      164       15.2
  120                        7          33.9    13          30.4    21          27.8    35       26-1       39       24.7       55       22.6       69       21.4       91       19.8
  140                        6          35.4    12          31.7    13          33.9    23       31.7       26       29.8       37       27.1       46       25.9       64       23.3
  160                        4          41.6     8          37.3    11          37.4    18       35.3       20       33,4       25       30.8       29       32,0       39       29.4

Site index 100
   100            20        11          28.1    19          25.7    30          23.7    43       22.0       57       21.0       77       19.5       99       18.4      119       17.9
   120                       7          34.6    10          31.4    16          34.4    23       29.5       30       28.3       41       26.0       53       24.5       67       23.0
   140                       5          40.8     8          37.2    12          36.7    16       34.3       21       32.9       23       33.9       30       31.8       40       29.5
   160                       3          47.8     6          43.4     8          42.6    12       39.9       15       38.3       21       35.7       23       34.6       30       33.8
   100            30        11          27,2    22          24.3    34          22.4    47       21.3       63       20.7       83       18.9      106       17.9      139       16.6
   120                       7          35.2    11          32.7    18          30.2    25       28.3       34       26.7       45       25.0       58       23.6       77       21.7
   140                       6          37.4    10          34.1    16          31.5    17       34.2       23       32.1       30       30.3       38       28.5       53       25.7
   160                       4          44.1     7          40.1    11          37.3    13       36.6       18       35.9       23       33,9       30       32.0       32       32.5




                                                                                                                                        Rvsd Plan - 00005801
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 235 of 346

Table 1S,~5—Total cubic-foot volume production per acre of spruce-fir in relation to growing stock level, site index, rota­
tion age, and cutting cycle, with a shelterwood option (adapted from Alexander and Edminster 1980)

  Rotation          Cutting
     age             cycle                                            Growing stock level
   (years)          (years)        40          60          80          100           120        140         160         180
                                                                        7,000 cubic feet
Site index 50
   100                20          2.00        2.44         2,67        3.23         3.54       3.74         3.80        3.63
   120                            2.38        2.95         3.54        4.08         4,44       4.72         4.90        4.90
   140                            2.70        3.42         4.13        4.76         5.33       5.85         6.06        5.92
   160                            2.99        3,90         4.78        5.54         6.22       6.75         7.09        7.09
   100                30          2.08   -    2.54         2.90        3,20         3.40       3.60         3.68        3.55
  120                             2.48        3.14         3.71        4.10         4.40       4.60         4.68        4.68
   140                            2.90        3.78         4.41        5.01         5.47       5.80         5.92        5.82
   160                            3.22        4.16         4.98        5.74         6.30       6.74         7.09        7.09
Site index 60
  100                 20          2.51        3.16         3.73        4.25         4.61        4.88        5.07        5.26
  120                             2.90        3.83         4.51        5.21         5.76        6.17        6.48        6.72
  140                             3.30        4.34         5.31        6.10         6.83        7.49        7,88        8.19
   160                            3.66        4,91         6,02        7.01         7.78        8.45        9.02        9.52
   100                30          2.64        3.29         3.86        4.35         4.70        4.93        5.10        5.22
   120                            3.14        3.97         4.76        5.40         5.84        6.18        6.48        6.66
   140                            3.61        4.76         5.74        6.48         7.04        7.55        7.89        8.20
  160                             4.02        5.36         6.42        7.34         8.22        8.66        9.36        9,49
Site index 70
   100                20          3.13        3.96         4.64        5.34         5.91        6.40        6.71        6.90
   120                            3.68        4.70         5,60        6.47         7,24        7.94        8.42        8.77
   140                            4.14        5.32         6.43        7.50         8.53        9.32        9.97       10.53
  160                             4.51        5.92         7.26        8.48         9.65       10.59       11.44       12.14
  100                 30          3.25        4.14         4.95        5.59         6.09        6.42        6.76        7.00
   120                            3.84        4,98         5,94        6.82         7.52        8.04        8.44        8.76
   140                            4.47        5.74         6.97        7.27         9.21        9.90       10.36       10.63
   160                            4.86        6.37         7.86        9.20        10.30       11.17       11.78       12.16
Site index 80
  100                 20          3.75        4.78         5,68        6,46         7.20        7.90        8.55        8.95
  120                             4.33        5.66         6.68        7.92         8.88        9.82       10.51       10.86
  140                             4.87        6.38         7.80        9.06        10.09       11.20       12.18       13.05
   160                            5.31        7.04         8.74       10.13        11.41       12.72       13.82       14.91
   100                30          4.00        5,02         5.99        6.89         7.64        8.22        8.64        8.95
  120                             4.64        6.00         7.25        8.45         9.36       10.04       10.56       10.92
  140                             5.31        6.97         8.47        9.86        11.05       12.01       12,71       13.12
  160                             5.87        7.68         9.30       10,85        12.29       13.46       14.37       15.07
Site index 90
   100                20          4.42        5.67         6.79        7.78         8.61        9.43       10.23       10.82
   120                            5.06        6.56         8.00        9.34        10.44       11.45       12.38       13.08
  140                             5.60        7.41         9.09       10.56        11.98       13.24       14.46       15.65
  160                             6.18        8,18        10,13       11.98        13.52       14.96       16.42       17.76
  100                 30          4.74        6.02         7.13        8.15         9.08        9.90       10.56       11.04
   120                            5.58        7.14         8.78       10.13        11.21       12.20       12.98       13.58
  140                             6.17        8.22        10.07       11.75        13.09       14.36       15.26       15.93
  160                             6.61        8.94        11.14       13,04        14,64       15.94       17.10       18.06
Site index 100
   100                20          5.17        6,55         7.91        9.17        10,20       11.10       11.90       12.70
   120                            5.89        7,63         9.23       10.84        12.40       13.69       14.80       15.60
   140                            6.55        8,54        10.51       12.33        14.03       15,67       17.05       18.17
   160                            7,06        9.42        11.55       13.78        15.76       17.63       19.26       20.53
   100                30          5.40        7.02         8.45        9.76        10.97       11.97       12.70       13.20
   120                            6.34        8.24        10.14       11.98        13.44       14.66       15.60       16.26
   140                            7.17        9.52        11.76       13.89        15.71       17.15       18.34       19.08
   160                            7.76       10.34        12.83       15.25        17.36       19.14       20.53       21.50



                                                                                     Rvsd Plan - 00005802               343
      Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 236 of 346

Table ^-6~-~Estimaled total board-foot volume production per acre of spruce-fir in relation to growing stock level, site
index, rotation age, and cutting cycle—shelterwood option (trees 8 inches d.b.h. and larger to a 6-inch top) (adapted from
Alexander and Edminster 1980)

  Rotation          Cutting
     age             cycle                                           Growing stock level
   (years)          (years)       40          60          80          100           120       140         160         180
                                                                       1,000 board feet
Site index 50
   100                20           6.3         8.5         9,7        10.7         11.4       11.7        11.5        10.1
   120                             8,8        11.5        13,7        15.8         16.8       17.0        16.8        16.2
   140                            10.9        14.4        17,5        19,9         21.8       23.2        23.0        21.8
   160                            13.0        17.6        21,1        24.6         26.9       28.8        29.1        28.2
   100                30           7.0         8.5         9.7        10.6         11.1       11.2        11.0        10.1
   120                             9.2        12.0        14.0        15.4         16.1       16.3        16.1        15.6
   140                            11.8        15.6        18.1        20.6         22.4       22.8        22.5        21.8
   160                            13.9        17.9        21.8        26.4         28.2       29.8        29.4        28.0

Site index 60
   100                20           8.5        11.4        13.5        15.3         16.4       17.1        17.7        18.0
   120                            11.0        15.0        18.4        20.8         22.4       23.9        24.8        25.8
   140                            13.6        18.5        23.0        26.5         29.3       31.4        33.0        33.9
   160                            16.0        22.1        27.5        31.9         34.9       37.6        39.8        41.6
   100                30           8.9        11.2        13.1        14.8         16.1       16.7        17.2        16.4
   120                            11.9        15.2        18.2        21.0         22.6       23.6        24,2        23.6
   140                            14.8        20.0        24.2        27.7         30.5       32.2        33,0        32.2
   160                            17.6        23.7        28.6        32.6         36.3       39.8        41.1        40.3

Site index 70
   100                20          10.7        14.3        17,3        19.9         22.0       23.5        24,3        25.0
  120                             14.0        19.0        23.2        26.9         29.9       32.2        34.1        35.5
   140                            17.2        22.8        28.4        33.2         37.4       40.5        43.1        45.1
   160                            20.0        27.0        33.6        39.7         45.0       49.3        53.1        55.2
   too                30          11.2        14.8        17.8        20.1         21.6       22.7        27.6        28.1
   120                            14.8        19.8        23.8        27.1         29.6       31.8        33.1        33.7
   140                            18.8        24.6        30.5        35.3         39.3       42.1        44.1        44.8
   160                            21.4        29.0        36,2        42.1         46.9       50.4        52.6        53.6

Site index 80
   100                20          12.9        17.2        21.1        24.5         27.6       30.0        32.2        33.5
   120                            16.7        22.9        28.0        32.4         36.7       40.3        43.2        45.0
   140                            20.2        28.3        34.3        40.0         45.6       50.7        54.9        58.1
   160                            23.4        32.6        40.6        47.8         54.7       60.9        66.2        70.2
   100                30          14,2        18.4        22.4        26.7         28.2       30.0        31.2        31.8
   120                            18.4        24.2        29.8        34.9         38.5       41.3        43.0        43.8
   140                            22.7        30.5        37.7        44.0         49.0       53.5        56.0        57.4
   160                            26.1        35.4        43.7        51.7         58.4       63.5        67.2        69.0
Site index 90
  100                 20          15.7        20.8        25.9        30.3         33.9       36.9        39.8        42.0
  120                             19.8        26.8        33.4        39.7         44.6       49.4        53.5        57.0
  140                             24.1        32.6        40.7        48.2         55.3       61.5        67.2        71.7
  160                             24.1        38.1        48.2        57.4         65.6       72.9        80.0        86.6
  100                 30          17.2        22.6        27.4        31.5         34.9       37.3        39.4        40.7
  120                             22.0        29.8        37,2        43.0         48.2       52.2        55.0        55.9
  140                             26.7        36.8        45.6        53.9         61.5       65.1        69.0        70.6
  160                             30.4        42.1        52.8        62.6         71.8       78.2        83.2        85.0
Site index 100
  100                 20          18.5        24.6        30.7        36.1         40.3       44.0        47.4        50.5
   120                            23.4        31.8        39.5        47.0         54.0       60.0        64.8        68.4
  140                             27.9        38.2        48.4        57.7         65.9       73.5        80.5        85.7
  160                             31.8        44.5        56.2        66.9         77.4       87.0        95.4       101.8
  100                 30          19.8        26.8        33.4        39.0         43.7       46.8        49.0        50.4
  120                             26.0        35.0        43.8        51.8         59.0       64.1        66.8        68.2
  140                             31.4        43.1        54.2        64.7         73.2       79.8        84.6        86.1
  160                             36.5        49.4        61.8        73.9         84.8       93.8       100.0       102.6



144                                                        * u .s   government   P Rvsd Plan - 0000-5803^/3 0^0.
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 237 of 346


                                                          Forest Ecology and Management 361 (2016) 154-162


                                                            Contents lists available at ScienceDirect
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Bark beetle effects on a seven-century chronosequence of Engelmann                                                                                    CrossMark
spruce and subalpine fir in Colorado, USA
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ARTICLE INFO                                          ABSTRACT
Article history:                                      Many important trends in forest development across landscapes and centuries are difficult to measure
Received 30 July 2015                                 directly, and a space-for-time substitution in a chronosequence may provide useful insight at these
Received in revised form 7 November 2015              scales. The value of chronosequences for forest ecology and management depends on a number of sources
Accepted 11 November 2015
                                                      of variation, including geographic differences in site productivity, differences in climate over long
                                                      periods, and the presence or absence of rapid events such as fire, windthrow, and insect outbreaks.
                                                      Confidence in the value of a chronosequence may be increased if later resampling shows that each site
                                                      followed the predominant trajectory expected from the chronosequence pattern. We resampled a
                                                      700-year chronosequence of Engelmann spruce (Picea engelmannii) and subalpine fir (Abies lasiocarpa)
                                                      three decades after the initial sampling. The original chronosequence suggested long-term stasis in both
                                                      biomass and production after about 200 years of stand developments in the absence of major fire, beetle
                                                      outbreaks, and windstorms. Three decades later, a spruce beetle (Dendroctonus rufipennis) outbreak had
                                                      reduced spruce biomass by 68% and total stand biomass by 44% across the chronosequence (to an average
                                                      of 7.8 kg m 2). There remained no trend in total stem biomass with stand age, averaging 13.9 kg m 2 of
                                                      stemwood across all ages. Stem production averaged 0.15 kg m 2 yr^1 between 1984 and 2013, higher
                                                      than the 0.09 kg m 2 yr^1 estimated in 1984. Over the three decades, stand biomass shifted from about
                                                      2/3 spruce to 2/3 fir. Stands may be selected for chronosequences based on an absence of rapid events
                                                      that substantially change stand structure, but this may limit the ability of a chronosequence to represent
                                                      real long-term patterns across landscapes.
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1. Introduction                                                                       and biomass develop at century time scales in these forests, posing
                                                                                      major challenges for testing ideas about the changes in these for­
    Forests of spruce (Picea) and fir (Abies) cover vast portions of the              ests over time.
northern hemisphere. A variety of ecological factors appear to sus­                      A chronosequence approach has the potential to identify trends
tain the codominance of trees in these forests, including shared                      expected through time based on patterns among stands of different
abilities to survive for decades and centuries in highly shaded loca­                 ages across landscapes, assuming that a predominant trajectory
tions, and differential susceptibility to pests (e.g. Peet, 1981;                     should be followed within individual stands (Walker et al., 2010).
Veblen, 1986a,b; Seymour, 1992; Aplet et al., 1988; Nishimura                         The critical assumption of a chronosequence is that variations in
et al., 2010). Forests dominated by Engelmann spruce (Picea engel-                    ecological factors across space and time are relatively small com­
mannii) and subalpine fir (Abies lasiocarpa) dominate many land­                      pared to the predominant trajectory over time. Differences in site
scapes from central British Columbia and Alberta in Canada                            factors may confound any time-related pattern, as would any
southward to Arizona and New Mexico in the United States                              trends in climate across centuries. The occurrence and legacies of
(Alexander, 1984). Long-term changes in composition, production,                      rapid change events such as fires, insect outbreaks, and wind­
                                                                                      storms could add variance that further limits the utility of
                                                                                      chronosequences. These three sources of variation (ecological site
                                                                                      factors, climate, and rapid events) may even challenge the idea that
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Colorado State University, Fort Collins, CO 80521, USA.                               a clear predominant trajectory should be expected for forest
   E-mail address: dan.binkley@alumni.ubc.ca (D. Binkley).                            development across landscapes and centuries.

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                                                                                                               Rvsd Plan - 00005804
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 238 of 346


                                         D.P. Derderian et al./Forest Ecology and Management 361 (2016) 154-162                                 155


    Aplet et al. (1988, 1989) used a chronosequence approach to               changes in stem biomass and production over the next three dec­
determine the likely changes in forest composition, stemwood                  ades, addressing two questions:
biomass, and stemwood production across seven centuries of
change in forests of Engelmann spruce and subalpine fir in north­              1. Did each stand follow the trend in stemwood biomass and
ern Colorado. They chose nine stands representing different ages                  production over time that was suggested by the original
since stand-initiating disturbance (likely severe fire) and used tree             chronosequence?
ages, diameters, growth, recruitment, and coarse woody debris to               2. Would a remeasurement show the same pattern as the original
examine stand development in response to chronic factors                          chronosequence?
(competition, minor windthrow, endemic bark beetle activity, root
diseases) in the absence of major mortality events. Later, Rebertus              Two additional questions were developed once it was clear that
et al. (1992) presented a general course of forest development (cit­          rapid mortality from spruce beetles (Dendroctonus rufipennis;
ing Whipple and Dix, 1979; Peet, 1981; Veblen, 1986a, and Aplet               Colorado State Forest Service, 2013) had substantially altered the
et al., 1988) that, in the absence of broad-scale disturbance, follows        stands:
a continuum that can be divided into four broad phases: coloniza­
tion, spruce exclusion, spruce reinitiation, and second-generation             3. Did mortality differ with tree size?
spruce-fir ”old growth.” Colonization follows a major disturbance              4. Did mortality differ with stand age?
and consists of recruitment of both spruce and fir under conditions
of available resources. As the canopy closes, conditions become                2. Methods
inhospitable for spruce regeneration, and the stand enters the
spruce exclusion period, while fir continues to recruit. Eventually,              The methods of the original sampling of the chronosequence
mortality of large trees, either through competition-induced mor­             were described in detail by Aplet et al. (1988, 1989). The stands
tality or as fir reaches the end of its lifespan, opens the canopy            are located in the upper watersheds of the Cache La Poudre River
and spruce recruitment reinitiates. With time, this spruce recruit­           and Laramie River in Larimer County, Colorado, USA, between
ment joins the fir as an all-aged forest or forms a second cohort in a        3000 m and 3200 m, most on north-facing aspects (Fig. 1; see
long-period cycle of recruitment and exclusion. Various authors               Table 1 of Aplet et al. (1989) for details on location and site, where
(Rebertus et al., 1992; Aplet et al., 1988; Peet, 1981) noted that            Stand 1 in the present study corresponds to Stand 2 in the 1989
existence of second-generation forest is unlikely to persist for long,        paper, etc.). Spruce and fir comprised >97% of overstory trees and
if it is indeed ever reached, as virtually all stand age class struc­         biomass, with minor amounts of lodgepole pine (Pinus contorta).
tures show evidence of stand initiating disturbance events, and               Tress of all sizes were cored as close to the base as possible, and
stands containing trees >500 years old are rare.                              stand ages were determined from the oldest, largest trees, all of
    Chronosequence studies depend on the assumption that the                  which displayed ring patters indicative of growth in the open. No
only significant difference between sites is time, and Aplet et al.           stands showed evidence of trees that survived the stand­
(1989) cautioned that “[i]n spite of restricting slope, aspect, parent        initiating disturbance.
material and climate in this study, other unknown plot-to-plot                    All of the original plots from 1984 were resampled in 2013
variation (e.g. initial density and species composition, site quality,        except for the youngest stand (about 125 years old in 1984), which
stand history) may exist.” Rebertus et al. (1992) noted that various          had not been permanently marked for resampling. Each stand was
authors concluded that differences in site quality among stands               sampled with three plots, either 0.05 ha plots (the youngest resam­
affect developmental dynamics such that a variety of stand struc­             pled stand) or 0.10 ha plots (all others). The resampling entailed
tures may result: actual trajectories may vary substantially in a             locating each original tree and measuring current diameter at
population of stands around any central tendency. On especially               breast height (1.4 m), and tallying tree condition (live, dead stand­
dry and wet sites, slow recruitment may prevent the onset of a                ing, or dead fallen), but we made no attempt to assess cause of
spruce exclusion phase, and Aplet et al. (1989) suggested that, on            death. A few trees were missing tags, but they were identified reli­
relatively high-quality sites, overstory mortality early in stand             ably based on species, size and location within plots. The diameter
development keeps the canopy open and allows for continuous                   cut-off for measurement in 1984 was 5 cm, and new recruits that
spruce recruitment. Other authors have reported similar differ­               passed this threshold were tallied by diameter and species
ences in stand trajectory depending on site quality (Whipple and              (Table 1).
Dix, 1979; Peet, 1981).                                                           The biomass of stems was estimated using allometric equations
    Despite apparent differences among sites, Aplet et al. (1989)             for volume, based on diameter and height, and wood density (see
reported generally stable stand-level biomass from 125 through                methods in Aplet et al., 1989). The diameters were measured
700 years of stand development. Stemwood production peaked                    directly, and heights were estimated based on locally derived lin­
early in stand development, and then dropped by about half from               ear relationships between diameter and height in 1984 (measured
age 250 years onward. The decline in stemwood production mir­                 with a clinometer: spruce, n = 390 r2 = 0.86; fir, n = 307 r2 = 0.88).
rored the decline in stand leaf area. Beyond 175 years since stand            Stemwood volume was calculated with equations from Myers
establishment, spruce comprised about two-thirds of stem bio­                 and Edminster (1972), and volume was converted to mass based
mass and half of stem production. The distribution of sizes and               on typical densities (368 kg m 3 for spruce, and 433 kg m 3 for
ages of fir was relatively constant after 200 years, though the dis­          fir, Wenger, 1984). The values for fir and spruce are given sepa­
tributions for spruce continued to change as the initial even-aged            rately, and the total stand values are slightly higher than the
cohort progressed through time. Total biomass and production of               sum of the two species owing to inclusion of minor contributions
stems showed no trend after 200 years.                                        of lodgepole pine.
    Did the lack of trend result from long-term patterns of consis­                Stemwood in the first sampling was determined from 10-year
tent production and mortality (leading to no change in biomass),              growth increments on cores. For the resampling, productivity
or did the lack of apparent trend reflect confounding variations              was calculated from gross stem increments between 1984 and
of ecological site factors, time, and rapid events that obscured              2013. The production estimates for the 1984 sampling would be
the trends actually followed through the history of each stand?               somewhat low, as the growth of any tree that occurred between
Aplet et al. (1988) marked individual trees so these questions could          1975 and 1984 was included only if the tree was alive in 1984.
be tested by resampling in future decades. We report on the                   The production estimates for the 2013 sampling did include any

                                                                                                     Rvsd Plan - 00005805
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 239 of 346


156                                              D.P. Derderian et al./Forest Ecology and Management 361 (2016) 154-162




              Fig. 1. Location of sampled stands. Stand 1 is near Cameron Pass on Colorado Highway 14. Chambers Lake appears near Stand 4 for reference.



Table 1
Stand descriptions.

  Stand number        Stand age (1984)     Density (treesha 1)                          Quadratic mean diameter (cm)             Basal area (m2 ha 1)
                                           1984                   2013                  1984                 2013                1984               2013
                                           Fir        Spruce      Fir       Spruce      Fir      Spruce      Fir       Spruce    Fir     Spruce     Fir    Spruce
  1                   170                  1307       1740         513      873         14.9     16.1        14.6      15.1      22     36           9     16
  2                   270                  1007       1480        1187      813         15.0     22.0        14.4      18.7      18     56          19     22
  3                   270                  1313       1080        1587      560         16.1     26.8        15.3      22.1      27     62          29     21
  4                   370                  1947       1080        1867      500         14.5     30.6        14.8      20.5      32     65          32     17
  5                   370                  1480       1113        1560      513         12.9     26.0        14.3      22.4      25     60          25     20
  6                   570                  1860        953        1767      247         15.3     28.5        15.5      23.3      34     56          33     11
  7                   570                  2660        827        2663      653         15.4     25.3        16.9      20.8      50     42          59     22
  8                   695                  1693        987        1660      360         15.1     29.1        15.2      23.4      31     67          30     15




increment on trees that were alive in 1984 but dead in 2013, with                     structure changed very little from 1984 to 2013 (Fig. 2). Table 2
exception of trees that had died and fallen (preventing precise                       shows changes in live-tree density from 1984 to 2013 for small-
remeasurement of diameter). Measurements made on dead trees                           (5-15 cm), medium- (25-35 cm), and large-diameter (>50cm)
also introduce errors associated with shrinkage relative to live                      trees. Spruce experienced reductions in density of medium- and
trees. We realize that these two methods produce results that                         large-diameter trees from 25 to 100 percent in all stands. Overall,
are not easily compared, but we were limited by circumstances                         only one third of spruce over 30 cm in 1984 survived to 2013.
and compare the two figures with caution.                                             Small-diameter spruces suffered considerably less mortality except
    The values for each stand were averaged from the three plots in                   in the youngest stand, where mortality exceeded fifty percent, and
each stand (the experimental units of the study). Biomass mortal­                     in Stand 7, in which small-diameter spruce actually increased
ity was calculated as the annual average of the mass of trees that                    slightly in density. Fir, in contrast, showed considerably more vari­
died between 1984 and 2013, with mass determined on the diam­                         ability, displaying reductions in density of small- and medium­
eter measured in 2013. Net production was the difference between                      diameter trees greater than fifty percent in the youngest stand
gross stem production and stem mortality. Basal area of dead trees                    but less change in the density of small-diameter trees and highly
was reported in 1988, but no estimates of dead trees basal area                       variable change in medium-diameter trees across the remaining
made in the 1984 sampling.                                                            centuries of the chronosequence. Aggregating all trees across the
    Long-term trends, and relationships between tree size and mor­                    chronosequence, fewer than half of the fir trees >30 cm diameter
tality, were examined with linear and curvilinear routines in Cur­                    in 1984 survived to 2013, indicating that the relative stability or
veExpert Professional 2.2©. The changes over 29 years within                          increase in density of medium-sized fir was due to growth into that
stands were tested with paired t-tests (in Excel) for stand means                     class over the thirty years. Overall, mortality showed no trend with
of 1984 and 2013. We chose a significance level of P < 0.05 to                        stand age for either fir or spruce, but large trees of both species had
protect against Type I errors.                                                        much greater mortality rates than smaller trees (Fig. 3). No trees of
                                                                                      either species >60 cm survived.
3. Results                                                                                Total stem biomass showed no trend with stand age in either
                                                                                      1984 or 2013, but high mortality of spruce led to lower biomass
   Spruce beetle mortality resulted in substantial reductions in                      for all stand ages in 2013 (Figs. 4 and 5). Fir biomass remained
spruce in the larger size classes in each stand, but fir diameter class               unchanged over the three decades, but spruce biomass declined

                                                                                                                   Rvsd Plan - 00005806
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 240 of 346


                                        D.P. Derderian et al./Forest Ecology and Management 361 (2016) 154-162                                157




             450-r
                           Stand 3, 270 years
             400­
             350-

          jz 300-
          .S 250-
           E
           g 200-

           Q 150-
           E
          •“ 100­

              50­

               0­                                               □—□­
                0     10    20     30      40      50      60      70
                                   Diameter (cm)



                                                                                   400

                                                                                   350

                                                                               w 300

                                                                               a 250

                                                                               □ 200

                                                                               S 150
                                                                               E
                                                                              H 100

                                                                                    50

                                                                                     0




                                        Fig. 2. Diameter distributions for stands (ages for 1984 sampling date).



by over two-thirds. The gross stem production was increased from               but about two-thirds of the spruce stem production occurred on
the 1975-1984 period to the 1984-2013 period (though differ­                   trees that did not survive to 2013. Fir mortality matched fir pro­
ences in measurement methods make direct comparisons difficult),               duction, leading to zero net increment for fir. Spruce mortality

                                                                                                     Rvsd Plan - 00005807
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 241 of 346


158                                                  D.P. Derderian et al/Forest Ecology and Management 361 (2016) 154-162

Table 2
Change in density for three size classes of trees.

   Stand number               Stand age (1984)                   Fir                                                           Spruce
                                                                 5-15 cm        25-35 cm                  >50 cm               5-15 cm                 25-35 cm     >50 cm
  Percent change 1984-- 2013
  1                          170                                 -58            -50                                            -53                     -65          -100
  2                          270                                  20              0                                            -38                     -67          -100
  3                          270                                  23            -40                        0                   -12                     -66           -60
  4                          370                                  -3             57                                            -13                     -69           -82
  5                          370                                   7            -14                                            -27                     -58           -25
  6                          570                                  -5             38                                            -27                     -87          -100
  7                          570                                 -11             25                       50                     3                     -75           -29
  8                          695                                  -4            -25                                            -32                     -78           -83




was very large, averaging 0.27 kg m 2 yr ' across the 29 years,                            competitive ‘‘spruce exclusion stage,” characterized by intense self
leading to an average net increment of -0.21 kg m 2.                                       -thinning, the high rates of mortality observed in small-diameter
    The original chronosequence showed no evidence of major mor­                           trees of both species relative to other stands is consistent with
tality events, and the pattern showed that gross stem production                           the low rates of radial growth in small-diameter trees observed
should equal mortality, with no net gain or loss in stem biomass                           in Stand 1 in 1984 (Aplet et al., 1988). The fact that diameter class
with stand age. Both the 1984 and 2013 chronosequences showed                              distributions have not changed while more than half of the firs
the same pattern of zero slope for biomass and production, but the                         >30 cm have died suggests that the fir population is dynamic but
onset of high mortality from the spruce beetle outbreak dropped                            stable in structure, as predicted in 1984.
biomass by about half by 2013. The biomass chronosequence in                                   Spruce, in contrast, did not meet expectations because the rapid
2013 fell outside the 95% confidence interval of the 1984 chronose­                        changes from the beetle outbreak interrupted the chronic patterns
quence period (Fig. 6).                                                                    of change. Aplet et al., predicted that, in the absence of disturbance,
                                                                                           the stand initiating cohort, evident in both age-class (Aplet et al.,
                                                                                           1988) and diameter-class (Aplet et al., 1989) distributions would
4. Discussion                                                                              continue to move through the population until spruce reached
                                                                                           the end of its natural lifespan. Instead, the spruce beetle outbreak
   Aplet et al. (1988,1989) predicted that the stable age- and size­                       largely eliminated that cohort from all developing stands, regard­
class distributions reached by subalpine fir by the end of the third                       less of stand age. The effect was to accelerate the transition from
century of stand development should persist, and those predictions                         a unimodal diameter class distribution in most stands to a flatter
appear to have held up, as the fir diameter class structure remains                        or ‘‘inverse-j” shaped distribution predicted of old-growth forest.
relatively unchanged after 30 years for stands over 300 years old                          The exception was Stand 1, which in 1984 still had not developed
(Fig. 2). In stand 1, which Aplet et al., considered in the highly


                                                                                           B 20
                                                                                                                                      Spruce
                                                                                                                                        □ Surviving
                                                                                           S' 15
                                                                                                                □□                      ■ Dead
                                                                                           c
                                                                                           o
                                                                                           •4=
                                                                                                 10
                                                                                                                     □




                                                                                                 0
                                                                                                      0    10       20    30     40        50     60
                                                                                                                   Tree diameter (cm)


                                 C    100
                                                 Fir r2 = 0.46

                                       80


                                       60


                                       40


                                       20


                                        0
                                            0            20                40     60
                                                        Tree diameter (cm)

Fig. 3. Across all stands in the chronosequence, the density of trees <25 cm dbh was greater than larger trees for both species (A and B). Survival from 1984 to 2013 declines
strongly with tree dbh (C and D).

                                                                                                                          Rvsd Plan - 00005808
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 242 of 346


                                                          D.P. Derderian et al./Forest Ecology and Management 361 (2016) 154-162                                              159


                   A




                                                     Stand age (years)


                  C         0.25

                            0.20
                       bo
                          0.15
                        c
                        o
                        u 0.10
                       ■a
                          0.05
                        E
                       K 0.00
                                   0    200         400            600          800
                                                     Stand age (years)


                          0.60
                  E    .0.50           1984   ▲



                          0.30
                       15
                       t 0.20
                        o
                        I 0.10
                        01
                       51 0.00
                                   0          200            400          600         800
                                                     Stand age (years)                                                       Stand age (years)

Fig. 4. The effect of stand age was not significant for stem biomass, production, mortality, or net increment for either species in the original sampling (left), or in the second
sampling (right). Note that the number of observations of stemwood production in 1984 (c) is limited to five, due to the loss of production data from three stands.



a unimodal diameter class structure. It was still in the process of                            likely vary over time. Higuera et al. (2014) detected a long-term
self-thinning of slow-growing, small-diameter trees, a process                                 drying trend over the past 1500 years, and Smith et al. (2015)
evident in the relatively high reduction in small-diameter trees                               found a recent increase in drought-associated mortality in nearby
observed here (Table 2). While we did not confirm the cause of                                 forests, even in the absence of lethal beetle activity, indicating that
death for each tree, it is likely that spruce beetle hastened the                              climate may not be as stable as previously assumed in these
mortality that was already ongoing in this stand. In contrast, Stand                           stands. For a variety of reasons, stands may exhibit a range of
7, which exhibited high growth rates in a newly “reinitiated”                                  behaviors within a chronosequence, including skipping a stage
cohort of small-diameter spruce in 1984 (Aplet et al., 1988), exhib­                           entirely. Still, there are insights to be gained by examining stands
ited an increase in the number of small-diameter spruce by 2013,                               of different ages that exhibit consistent behaviors across stand
suggesting that vigorous, second generation spruce may be more                                 ages, despite some differences among sites or plot histories.
resistant to bark beetles than suppressed or larger trees of the                                   Of the three factors that can confound a chronosequence - eco­
original cohort. Hart et al. (2015) similarly found smaller spruce                             logical site factors, climate, and rapid events - the rapid change
that survived or recruited following a 1940s spruce beetle outbreak                            wrought by spruce beetles had a large impact on the three-
on the nearby White River Plateau were relatively unaffected by                                decade changes in these forests. We do not know how unusual this
the recent regional outbreak that affected our stands.                                         event was across this landscape or over a period of centuries. Hart
    The chronosequence examined here exhibited some behavior                                   et al. (2014) identified four periods of broad-scale spruce beetle
consistent with predictions and some behavior that was unex­                                   outbreak across northwestern Colorado over the past 300 years,
pected. Spatial variation across the landscape may have led to vari­                           but most sites exhibited only one or two outbreaks, and only
ation in patterns of stand development. Aplet (1987) observed that                             one, on the opposite side of Rocky Mountain National Park from
stands with a higher site index (Stands 3, 4, and 7) had a very brief                          our study site, exhibited as many as four. In our chronosequence,
or non-existent ‘‘spruce exclusion” phase, due to higher rates of                              few of the very old spruce survived in 2013, which might suggest
mortality on higher sites (Franklin et al., 1987), while Stands 6                              that this outbreak has been unprecedented over several centuries.
and 8 seem barely to have entered the ‘‘spruce reinitiation” stage,                            However, the original selection of stands was based on the occur­
despite their great age. Temporal variation may have two features,                             rence of very old trees, and it is possible that historical beetle out­
with factors related to stand age combining with time-related fac­                             breaks could have killed the majority of old spruce across the
tors such as the weather patterns for specific sets of years.                                  landscape, leaving only patches of old spruce to be sampled in
Buechling and Baker (2004) and Sibold and Veblen (2006) observed                               1984. Baker and Veblen (1990) concluded, based on observations
a link between fire occurrence and drought in forests in this area,                            of historical photos, that spruce beetle epidemics were widespread
indicating that the environment for establishment and growth                                   and common historically and ‘‘may have played a role comparable


                                                                                                                      Rvsd Plan - 00005809
  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 243 of 346


160                                               D.P. Derderian et al./Forest Ecology and Management 361 (2016) 154-162




Fig. 5. Grand averages (bars are standard deviations) of all stand ages, showing the
spruce biomass declined (A and B) despite sustained production (C and D), as a
result of high mortality. Fir production equaled mortality, giving no change in
biomass (and near-zero net increment, F).


to that of fire.” They found that stands across western Colorado dif­
fered in the intensity of past effects, leaving open the possibility
that much of the study landscape experienced beetle epidemics
historically, and the chronosequence was anomalous. However,                            Fig. 6. Total stem biomass did not relate significantly to stand age in either period
                                                                                       (A), but the trends for each period fell outside the 95% confidence interval of the
none of the stands exhibited evidence of abrupt growth increases
                                                                                       other period. The trends in the fir composition of stem biomass also differed
in extracted cores, suggesting that widespread beetle-caused mor­                      between periods (B), and the age-trend was significant (r2 = 0.57, P = 0.03) for 2013.
tality had not occurred in this landscape for several centuries prior                  The contribution of fir to stand stem production showed no trend with age, and did
to the recent outbreak. Veblen et al. (1991) examined two stands in                    not differ between periods (C).
our study area and similarly found ‘‘no evidence of an epidemic.”
    Perhaps the most notable change in three decades was the shift
in biomass composition, moving from two-thirds spruce in 1984 to                       about a century of production, indicating that mortality is high
two-thirds fir in 2013. This shift is not surprising, given the                        throughout stand development. Competition-driven mortality
magnitude of the beetle outbreak, and closely mirrors the results                      (self-thinning) may account for substantial amounts of mortality,
reported by Veblen et al. (1991) for spruce-fir landscapes that                        but the low accumulation of stem mass over multiple centuries
experienced a spruce beetle outbreak in the 1940s. The shift under­                    likely indicates substantial mortality from wind and insects over
scores the influence of rapid-change events that are typically not                     the centuries. The dramatic loss of live stem mass between 1984
included in chronosequence studies. The development of spruce                          and 2013 might take less than a century to be replaced at current
forests across landscapes and regions, decades and centuries,                          rates of stem growth, if further mortality events are not
may be heavily influenced by rapid changes of fire, windstorms,                        substantial.
and insect outbreaks (Rebertus et al., 1992; Veblen et al., 1994;                          How well would the 1984 chronosequence represent patterns
DeRose and Long, 2007; O’Connor et al., 2015). In the forests stud­                    across a greater range of topography? Binkley et al. (2003) sampled
ied here, rates of stem production were on the order of                                18 spruce/fir stands in Rocky Mountain National Park, between 10
0.1 kg C m 2 yr ' and even higher in the first century (Aplet                          and 40 km south from the chronosequence plots (and about 80 m
et al., 1989), so standing live biomass in these forests equals only                   higher). The 18 forests were chosen to span the full range of

                                                                                                                  Rvsd Plan - 00005810
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 244 of 346


                                          D.P. Derderian et al./Forest Ecology and Management 361 (2016) 154-162                                              161


aspects and topography, including upper and lower slopes and                   storms or population irruptions of seedling-browsing herbivores,
concave and convex slopes. The stem biomass of these 250- to                   may not show predictable trends over time (e.g., Bernadzki et al.,
450-year-old stands averaged 19.9 kg m 2, about 40% more than                  1998). Walker et al. (2010) conclude that chronosequences are
the average of the 1984 chronosequence plots. Fir biomass                      best suited for the study of vegetation development where trajec­
dominated the 18 stands (55% of stand total), in contrast to spruce            tories are convergent, have low species diversity, and are infre­
dominance on the 1984 chronosequence (65% of stand total). Stem                quently disturbed, all of which appear to apply here. Johnson
production was also about 60% greater for the 18 sites spread                  and Miyanishi (2008) exhort all authors employing chronose­
across the topographic gradients, although fir averaged a                      quences to provide ‘‘strong tests” of critical assumptions. The con­
consistent 56% of total stem production in both cases.                         sistency of pattern in age and size distributions (Aplet et al., 1988,
    Across these gradients of space and time, what trends might be             1989) and the lack of evidence of past disturbances in the tree
expected to be strong? Spruce and fir clearly tend to persist with             ring record for this area (Veblen et al., 1991) indicate that distur­
neither species fully displacing the other. Veblen (1986b) sug­                bances of the scope and scale of the recent beetle outbreak were
gested that coexistence is maintained in equilibrium in stand over             rare historically. The species diversity of this developmental
250 years by differences in fecundity and mortality rates between              sequence (spruce and fir only) is obviously low, and the conver­
the two species. In contrast, Aplet et al. (1988) posited a non­               gence toward an all-age, old-growth structure suggest that this
equilibrium model rooted in the interplay of population dynamics               chronosequence meets Walker et al.’s criteria and Johnson and
traceable to the stand-initiating disturbance. Even if differences in          Miyanishi’s test.
fecundity, tolerance, and lifespans did produce a tendency toward                  The fundamental influence of historical legacies challenges
competitive exclusion, varying factors are likely to introduce                 expectations that forests should show stable patterns over large
enough randomness that near-complete dominance by either spe­                  areas and spans of time. If forests should not be expected to follow
cies is unlikely. As Lertzman et al. (1998) found in trying to classify        a single predominant trajectory, then both chronosequence and
fire regimes, heterogeneity in the timing, intensity, and spatial              resampling approaches should not be expected to produce clear
distribution of disturbances challenges our ability to describe a              patterns across stand ages. At the scale of multiple stands and
‘‘typical” course of forest stand development in this type.                    landscapes, the central tendencies from chronosequences and
    When appropriately applied, chronosequences offer invaluable               resampling of individual stands may have too much variation to
insights into the nature of vegetation change, but they have their             be very useful. Clearly, the chronosequence studied here no longer
limitations (Walker et al., 2010). Some studies have assessed the              meets the requirement of a common disturbance history, as the
validity of chronosequence designs by resampling the same                      spruce beetle epidemic affected each stand at a different point in
ecosystems at later dates, finding that minor and even major                   its development. Still, there is value in continuing to study
trends from the chronosequences were not supported by remea­                   these plots, as they may reveal the effect of a regional epidemic
surements. Johnson and Miyanishi (2008) examined classic                       on stands at different stages of development. The future
chronosequences on sand dunes, across landscapes as ponds fill                 development of a post-beetle stand may depend on its pre-beetle
in and become forests, forest development following deglaciation,              structure, and some stands appear to have fared better than
and forest establishment on abandoned agricultural fields. They                others despite heavy mortality across stands. Alternatively, the
concluded that each of these textbook examples presented incor­                apparent conversion of all stands to an all-age, old-growth
rect predictions of ecosystem change, and that the chronosequence              structure may confer future resilience to disturbances, like bark
approach was invalid. Hollingsworth et al. (2010) resampled per­               beetle outbreaks, that preferentially target one size or age class
manent plots in the classic riverside-terrace age sequence along               over another.
the Tanana River, and found that spruce stands of different ages
seem to follow independent trajectories rather than a common
trend, and nitrogen-fixing alder (Alnus tenuifolia) increased across           Acknowledgements
the whole age sequence rather than remaining restricted to the
young stages as expected from the original chronosequence. Some                   Haishan Dang was supported in part by the National Natural
of the deviations from the chronosequence trends were driven by                Science Foundation of China (31470521, 31270011). Dan Binkley
herbivory (beavers, snowshoe hares) and weather (drought and                   was supported in part by a Wallenberg Professorship from the
snow damage to trees).                                                         Royal Academy of Forestry and Agriculture and the Swedish
    More recently, though Harmon and Pabst (2015) tested the clas­             University of Agricultural Sciences. We thank Bill Romme for useful
sic chronosequence of developing Douglas-fir forest in the Pacific             comments on the manuscript, and for sharing ideas over long peri­
Northwest by following three 0.4 ha plots over one hundred years               ods of time.
of development and found that population and community behav­
ior were consistent with predictions from chronosequences but                   References
that, similar to our study, ecosystem-level trends were not. Rather
than the convex flattening of biomass accumulation predicted by                Alexander, R.R., 1984. Silvical Characteristics of Engelmann Spruce. U.S. Dept. of
theory, they found biomass to increase linearly, a phenomenon                     Agriculture, Forest Service, Rocky Mountain Forest and Range Experiment
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they attributed to high heterogeneity of mortality at the plot scale.          Aplet, G.H., 1987. Developmental dynamics of Engelmann spruce-subalpine fir
They conclude, “[T]esting hypotheses developed from chronose­                      forests of the Colorado Front Range. Ph.D. Dissertation, Colorado State
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  Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 245 of 346


162                                                   D.P. Derderian et al./Forest Ecology and Management 361 (2016) 154-162

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                             LETTER

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                             Tree mortality from fires, bark beetles, and timber harvest
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                             during a hot and dry decade in the western United States
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                             Abstract
citation and DOI.            High temperatures and severe drought contributed to extensive tree mortality from fires and bark
                             beetles during the 2000s in parts of the western continental United States. Several states in this
                             region have greenhouse gas (GHG) emission targets and would benefit from information on the
                             amount of carbon stored in tree biomass killed by disturbance. We quantified mean annual tree
                             mortality from fires, bark beetles, and timber harvest from 2003-2012 for each state in this
                             region. We estimated tree mortality from fires and beetles using tree aboveground carbon (AGC)
                             stock and disturbance data sets derived largely from remote sensing. We quantified tree mortality
                             from harvest using data from US Forest Service reports. In both cases, we used Monte Carlo
                             analyses to track uncertainty associated with parameter error and temporal variability. Regional
                             tree mortality from harvest, beetles, and fires (MORTH^g^F) together averaged 45.8 ± 16.0 Tg
                             AGC yr ' (±95% confidence interval), indicating a mortality rate of 1.10 ± 0.38% yr 1. Harvest
                             accounted for the largest percentage of MORTH^g^F (~50%), followed by beetles (~32%), and
                             fires (~18%). Tree mortality from harvest was concentrated in Washington and Oregon, where
                             harvest accounted for ~80% of MORTH^g^F in each state. Tree mortality from beetles occurred
                             widely at low levels across the region, yet beetles had pronounced impacts in Colorado and
                             Montana, where they accounted for ~80% of MORTH^B^F. Tree mortality from fires was highest
                             in California, though fires accounted for the largest percentage of MORTH^B^F in Arizona and
                             New Mexico (~50%). Drought and human activities shaped regional variation in tree mortality,
                             highlighting opportunities and challenges to managing GHG emissions from forests. Rising
                             temperatures and greater risk of drought will likely increase tree mortality from fires and bark
                             beetles during coming decades in this region. Thus, sustained monitoring and mapping of tree
                             mortality is necessary to inform forest and GHG management.



                             1. Introduction                                                     Forests globally store a similar amount of carbon as the
                                                                                                 atmosphere (Pan et al 2011a, Houghton 2013), with
                             Forests help regulate Earth’s climate in part by                    much of the carbon (~42%) held in the biomass of
                             sequestering carbon from the atmosphere (gonan                      living trees (Pan et al 2011a). Disturbances such as
                             2008, Pan et al 2011a, Anderson-Teixeira et al 2012),               forest fires, insect outbreaks, and timber harvest can
                             yet tree mortality from disturbance accelerates carbon              kill trees over large areas each year (Goetz et al 2012,
                             transfer from these ecosystems back to the atmosphere               Meddens et al 2012, Kautz et al 2016, Williams et al
                             (Kurz et al2008, gaccini etal2012, grinck etal2017).                2016) and thus contribute to increased regional


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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 248 of 346

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                 carbon emissions as tree biomass subsequently                are important causes of tree mortality in this region
                 decomposes or is rendered into wood products that            (Masek et al 2011, Meddens et al 2012, Hicke et al
                 have finite longevity (Harmon etal 1990, Harmon etal         2015). In this study, we asked ‘What was the
                 2011, Ghimire et al 2015). Carbon emissions from             magnitude and relative contribution of mean annual
                 forest disturbance can challenge efforts to meet             tree mortality from fires, bark beetles, and timber
                 greenhouse gas (GHG) emission targets (Gonzalez              harvest from 2003-2012 both regionally and among
                 etal 2015), but are also highly uncertain in many parts      the 11 western states?’ Tree mortality can be quantified
                 of the world (Pacala et al 2010). Both the growing           over large areas in terms of carbon using remote
                 global demand for wood products (FAO 2017) and the           sensing estimates of tree aboveground biomass (AGB)
                 increase in forest disturbance due to ongoing climatic       together with information on the carbon content of
                 change (Allen et al 2010, Williams et al 2012, Kautz         AGB, as well as disturbance extent and severity
                 et al 2016) underscore the need to better understand         (Baccini et al 2012, Hicke et al 2013). Here we
                 carbon implications of tree mortality from distur­           quantified tree mortality as the amount of carbon
                 bance.                                                       stored in tree AGB (AGC) killed by disturbance (e.g.
                      Forest disturbance by fires and insects increased       MgAGC ha yr-1 or TgAGC state yr-1). Specifically, we
                 during recent decades in the western contiguous              developed spatially explicit estimates of annual tree
                 United States as the regional climate became warmer          mortality from fires and bark beetles across regional
                 and more arid (Westerling et al 2006, Williams et al         forestland building off of a remote sensing framework
                 2012, Dennison et al 2014, Hicke et al 2015,                 from an earlier study (Hicke etal 2013). In addition to
                 Abatzoglou and Williams 2016). Regional mean                 the remote sensing analysis, we estimated mean annual
                 annual air temperature increased 0.8 °C-1.1 °C from          tree mortality from timber harvest for each state using
                  1895 to 2011, with most of the warming having               harvest statistics from the US Forest Service (USFS;
                 occurred in recent decades (Mote et al 2014, Walsh           Smith etal2009, Oswalt etal2014). The USFS recently
                 et al 2014). Higher temperatures contributed to higher       recommended that metrics related to fire and insect
                 atmospheric vapor pressure deficits (Abatzoglou and          effects be used to track national climate change
                 Williams 2016), reduced mountain snowpack (Mote              impacts (Heath et al 2015), further underscoring the
                 et al 2005), and more frequent and severe drought            importance of quantifying the magnitude and regional
                 (McCabe et al 2004, Diffenbaugh et al 2015). For             variation in tree mortality from these types of
                 instance, the western US recently experienced its most       disturbance.
                 severe drought (2000-2004) in the past 800 years
                 (Schwalm et al 2012), with hot and dry conditions            2. Methods
                 then prevailing through the 2000s (Diffenbaugh et al
                 2015, Abatzoglou and Williams 2016). These con­              2.1. Geospatial data sets and preprocessing
                 ditions contributed to extensive forest disturbance by
                                                                              2.1.1. General information
                 fires and bark beetles relative to recent decades            We quantified tree mortality from fires (MORTfire, Mg
                 (Williams et al 2012, Creeden et al 2014, Abatzoglou         AGC ha yr-1) and bark beetles (MORTbeetie, Mg AGC
                 and Williams 2016). High temperatures and drought            ha yr-1) from 2003-2012 across 802 575 km- of
                 increase regional forest fire occurrence (Littell et al
                                                                              forestland located in the western US (figure 1, 31.3°N-
                 2016) and the likelihood of post-fire tree mortality (i.e.
                                                                              -49.0°N, 102.0°W-124.5°W). Forestlands were includ­
                 increased fire severity; van Mantgem et al 2013), while
                                                                              ed if consistently mapped as forest by three separate tree
                 also increasing beetle populations and the vulnerabili­
                                                                              AGB data sets (described below). We conducted the
                 ty of drought-stricken trees to beetle attack (Raffa et al
                                                                              analysis on a 1 km resolution grid in an Albers Equal
                 2008, Creeden et al 2014, Hart et al 2014). Projections      Area projection, with the resolution chosen to match the
                 indicate that regional temperatures could rise another
                                                                              bark beetle data set (Meddens et al 2012). We analyzed
                 ~3.8 °C-5.5 °C by the end of the 21st century and that
                                                                              and visualized the data using ArcGIS 10 (ESRI,
                 much of the region, particularly the Southwest, could
                                                                              Redlands, CA) and R statistical software (version 3.2;
                 become increasingly arid and prone to drought under
                                                                              R Core Team 2015), along with the R packages raster
                 a high GHG scenario (RCP 8.5; Kunkel et al 2013,             (Hijmans and van Etten 2013) and dplyr (Wickham
                 Walsh et al 2014, Cook et al 2015). These changes in
                                                                              and Francois 2015). The data preprocessing work flow
                 regional climate could further accelerate tree mortality
                                                                              described in the following section is illustrated in
                 (Adams et al 2009, Allen et al 2015) and increase
                                                                              figure 2.
                 carbon emissions from forest ecosystems (Spracklen
                 et al 2009, Jiang et al 2013, McDowell et al 2015).          2.1.2. Tree carbon stocks
                      Several states in the western US have GHG               We estimated tree AGC using three tree AGB
                 reduction targets (e.g. Oregon, California) and would        geospatial data sets together with information on
                 thus benefit from information on the magnitude and           the fraction of dry biomass that is carbon (/carbon). The
                 primary causes of recent tree mortality. Prior studies       tree AGB data sets were produced by spatially
                 have shown that fires, bark beetles, and timber harvest      interpolating USFS inventory measurements (FIA)


                                                                 2
                                                                                        Rvsd Plan - 00005815
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 249 of 346

IOP Publishing   Environ. Res. Lett. 12 (2017) 065005




                                             125° W       120° W        115° W       110° W       105° W


                                                                                                                Tree AGC
                                                                                                              (Mg AGC ha-1)

                                                                                                                       1 - 25
                                                                                                                      25 - 50
                                                                                                                      50 - 100
                                                                                                                       100 - 150
                                                                                                                       150 - 565


                                                                                                                         N




                   Figure 1. Study area extent, state boundaries, and live tree aboveground carbon (AGC) stocks on forestland in the western United
                   States. Tree AGC stocks reflect conditions during the 2000s and are based on the average of three recent tree aboveground biomass data
                   sets (Blackard et al 2008, Kellndorfer et al 2012, Wilson et al 2013) together with information on carbon content of dry biomass
                   (Lamlom and Savidge 2003).




                  using satellite and geophysical data sets in conjunction pixel over the three data sets (AGB, SEAGB). Lastly, we
                 with machine learning algorithms (Blackard et al 2008, estimated the average and SE of fcarbon (fcarbon,
                  Kellndorfer et al 2012, Wilson et al 2013). Wilson et al SEcarbon) for hardwood (angiosperm, 48.49 ± 0.42%
                  (2013) provided estimates of tree AGC assuming that C, n = 8) and softwood (gymnosperm, 50.87 ± 0.63%
                 ./carbon was 50%; we converted these estimates back to C, n = 11) tree species found in this region (Lamlom
                  tree AGB by multiplying by 2. We acquired each data and Savidge 2003).
                 set at 250 m spatial resolution, reprojected it to an
                 Albers Equal Area projection, and then applied a 2.1.3. Forest fires
                  common mask that identified pixels consistently We used annual maps of fire severity from 2003-2012
                  classified as forest among all data sets. Next, we produced by the Monitoring Trends in Burn Severity
                 aggregated from 250 m to 1 km resolution by (MTBS) project (Eidenshink et al 2007). These maps
                 computing total tree AGB in each 1 km pixel (i.e. were derived from 30 m resolution Landsat images
                  Mg AGB pixel”1).                                         acquired before and after fires larger than ~405 ha in
                       We quantify tree mortality from 2003-2012 and the western US. Fire severity was mapped using the
                 required estimates of tree AGB prior to disturbance. differenced Normalized Burn Ratio (dNBR) and then
                  Two of these data sets represented tree AGB circa 2000 each pixel was classified as one of five thematic severity
                  (Blackard et al 2008, Kellndorfer et al 2012), whereas classes. We focused on pixels that burned at low-,
                  the third depicted tree AGB circa 2003-2008 (Wilson moderate-, or high-severity and excluded those that
                  et al 2013). Therefore we needed to estimate pre­ were unburned or showed post-fire greening. We
                 disturbance tree AGB in pixels that were disturbed identified fire in forests by generating a 30 m
                  during these six years in the Wilson et al (2013) data resolution forest mask based on forestland in either
                  set. We followed an existing approach (Hicke et al of two national land cover maps (Homer et al 2007,
                  2013) that involved comparing tree AGB in fire and Rollins 2009). We then computed the annual fraction
                 beetles disturbed pixels against the average tree AGB of of forest area that burned at each severity (As) in each 1
                  undisturbed pixels from the same forest type km pixel over the decade. Lastly, we incorporated field
                  (Ruefenacht et al 2008) and ecoregion (Omernik measurements of the fraction of tree biomass killed at
                  1987). If tree AGB in the disturbed pixel was less than each severity (ffire). We computed the mean and SE of
                  the average tree AGB of undisturbed pixels, then we set ffire (f fire’ SEfire) for forests dominated by hardwood
                  tree AGB in the disturbed pixel to this average, but and softwood tree species based on 116 estimates of
                 otherwise left the disturbed pixel unaltered. After ffire synthesized from 29 field studies conducted in the
                 implementing this correction, we then computed the western United States (table S1 available at stacks.iop.
                  average and standard error (SE) of tree AGB for each org/ERL/12/065005/mmedia, Ghimire et al 2012).


                                                                        3
                                                                                                    Rvsd Plan - 00005816
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 250 of 346

IOP Publishing   Environ. Res. Lett. 12 (2017) 065005




                                                   Land cover and forest type                                Tree aboveground biomass and carbon content
                                         land cover            land cover           forest type              carbon content            tree AGB        tree AGB       tree AGB
                                            30 m                  30 m                250 m                (%) of dry biomass            250 m           250 m          250 m
                                     A         I           B       I            C        I                 for 19 tree species     E               F              G
                                                                                                           "d
                                            created forest mask                 - reclassified as
                                                   30 m         :               angiosperm or
                                                                                  gymnosperm                calculated mean
                                                                                  - aggregated             and SE of % carbon
                                              calculated %                      250 m       1 km             by forest typ_e___
                                              forest cover                                                                                - applied common forest mask
                                                 at 1 km                                                                                    - aggregated 250 m      1 km
                                                                                    Fires                                               I - calculated pixel-wise mean
                                                                                                                                        !      and SE across data sets
                                  Bark Beetles                                                               mapped mean and
                                                                             burn area
                                                                                                              SE of % carbon
                                  tree mortality                       low, mid, high severity
                                                                                                               by forest type
                                   area caused                            30 m, 2003-2012
                                                                                                                    1 km
                                 by bark beetles
                                1 km, 2003-2012
                               H--------------- --------
                                                                       ! selected burn area
                                                                                                                 field measurements of
                                         [ calculated % tree                  in forests                          % tree mortality from
                                                                       !_ 30 m, 2003-2012                    low, mid, and high severity fire
                                           mortality caused
                                         • by bark beetles
                                         ! 1 km, 2003-2012                                                      [ calculated mean and SE
                                                                               calculated % of
                                                                              forest burned at                  i of % tree mortality by
                                                                            each severity at 1 km               '        forest type
                                                                                 2003-2012                      _____ and fire severity



                                                                                                calculated % tree
                                                                                                mortality caused
                                                                                             by fire at each severity
                                                                                                1 km, 2003-2012



                                                                                Tree mortality from beetles and fires
                                                                                                    1 km, 2003-2012



                                                                                                Data set key
                     A Rollins et al. (2009) C Ruefenacht et al. (2008)                    E Kellndorfer et al. (2012)   G Wilson et al. (2013)     I Eidenshink et al. (2007)

                     B Homer et al. (2007) D Lamlom and Savidge (2003) F Blackard et al. (2012)                          H Meddens et al. (2012) J Ghimire et al. (2012)

                   Figure 2. Workflow illustrating data sets (solid boxes) and processing steps (dashed boxes) for estimating tree mortality due to bark
                   beetles and fires from 2003-2012 across the western United States (thick solid box). Data citations, spatial resolutions, and temporal
                   ranges are shown where applicable.




                 2.1.4. Bark beetles                                                                      ADS observations underestimated the number of trees
                 We used annual maps depicting the areal extent of tree                                   killed by bark beetles in comparison with field
                 canopy mortality due to 12 bark beetle species that                                      observations and QuickBird (2.4 m resolution) satel­
                 were produced from aerial surveys, forest inventory                                      lite imagery from Colorado, Idaho, and New Mexico.
                 measurements, and high-resolution satellite imagery                                      This led to the development of adjustment factors for
                 (Meddens et al 2012). The USFS National Forest                                           several forest types based on the ratio of dead trees
                 Health Monitoring program conducts aerial detection                                      mapped from satellite to ADS tree kill counts. These
                 surveys (ADS) that provide a coarse snapshot of insect                                   adjustment factors were then used to modify ADS tree
                 and other forest disturbance at a landscape scale                                        kill counts, resulting in high and middle (most
                 (Johnson and Wittwer 2008). Trained observers                                            realistic) estimates as well as low estimates based on
                 conduct surveys from fixed-wing aircraft that involve                                    unaltered ADS numbers (more details in: Meddens
                 sketch-mapping the extent of areas affected by insect                                    etal2012, Hicke etal2015). The dataset includes bark
                 outbreaks and then visually estimating the number of                                     beetle species that cumulatively killed at least 100 000
                 dead trees within affected areas. Meddens et al (2012)                                   trees across the domain from 1997-2010. Specifically,
                 used the ADS observations to estimate annual canopy                                      it includes (from greatest to least mortality area)
                 mortality area due to bark beetles across the western                                    mountain pine beetle (Dendroctonus ponderosae
                 US from 1997-2010, with estimates then extended                                          Hopkins), pinon ips (Ips confusus (LeConte)),
                 through 2012 (Hicke et al 2015).                                                         Douglas-fir beetle (Dendroctonus pseudotsugae Hop­
                     Canopy mortality area was estimated at 1 km                                          kins), western balsam bark beetle (Dryocoetes confuses
                 resolution based on the number of recently killed trees                                  (Swaine)), and fir engraver (Scolytus ventralis
                 and the average canopy area of each tree species. The                                    LeConte), as well as seven additional beetle species

                                                                                       4
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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 251 of 346

IOP Publishing   Environ. Res. Lett. 12 (2017) 065005
                                                                                                                                               Letters


                 that killed fewer trees. We masked these data to our        We then reduced tree AGC stocks at the start of year t
                 domain and then summed canopy mortality area                + 1 to account for mortality in year t, such that
                 across bark beetle species for each 1 km pixel in a given
                 year (i.e. a voxel) from 2003-2012. We then calculated           AGCrpt+1 = AGCr^ - (MORTbeetlepp,p
                 annual tree canopy mortality fraction (fbeetie) for each                  + MORTfire Ppp ) (4)
                 voxel by dividing canopy mortality area by forest cover
                 fraction. We incorporated the lower, middle, and            We repeated equations 2-4 annually through 2012 and
                 upper estimates of fbeetle into our analysis.               then repeated the entire process 100 times.
                                                                                  We then computed the mean and standard
                                                                             deviation (SD) of these multiple estimates of tree
                 2.2. Tree mortality from bark beetles and fires
                                                                             mortality for each voxel, where the SD represented
                 We developed spatially explicit estimates of annual
                                                                             uncertainty due to parameter error (e.g. SEAGB, SEfire).
                 MORTbeetle and MORTfire from 2003-2012 and
                                                                             Altogether, this process yielded spatially explicit
                 quantified uncertainty in these estimates using a
                                                                             estimates of annual tree mortality (and uncertainty)
                 Monte Carlo approach (e.g. Harmon et al 2007,
                                                                             caused by fires and bark beetles from 2003-2012 across
                 Gonzalez et al 2015). The Monte Carlo involved
                                                                             forestland in the western United States.
                 generating 100 realizations of annual tree mortality
                                                                                  Following the geospatial analysis, we estimated
                 in each voxel, where each realization iteratively
                                                                             mean annual tree mortality from fires (MORTfire) and
                 varied tree AGC, f carbon, fbeetle, and f fire based on     bark beetles (MORTbeetle) for each state from 2003­
                 uncertainty in each term. We assumed that tree AGC
                                                                             -2012 and used a Monte Carlo analysis to propagate
                 within a pixel only changed due to disturbance (i.e.
                                                                             uncertainty in these estimates associated with param­
                 no tree growth or recruitment), which potentially
                                                                             eter error and temporal variability. As illustrated for
                 caused us to slightly underestimate tree mortality.
                                                                             fires (identical for beetles), we first derived 1000
                 For instance, stand age averaged 97 ± 73 years
                                                                             realizations r of annual tree mortality in each state
                 (± 1SD) in our study area (Pan et al 2011b). Field
                                                                             from t = 2003 to 2012, as per
                 measurements from the Western Cascades (Hudi-
                 burg et al 2009) and the Rocky Mountains showed                                                N pixels .    ____ __
                 that tree AGC could increase 6%-7% between stands
                 that are 97 and 106 years old. This simplifying                                    +
                                                                                                         Ea X SD
                                                                                                            r
                                                                                                                p=1       (MORTfire p t
                                                                                                                      MORT firep,p      )          (5)
                 assumption made it so that cumulative tree mortality
                 within a pixel could not exceed the initial tree AGC.       and then summarized (mean and SD) each set of
                 For each realization r we first computed tree AGC for       realizations. We used these annual statewide summa­
                 pixel p of year t = 2003 as                                 ries to then repeatedly (Nr = 1000) estimate both the
                                                                             mean and SE of annual mortality from 2003-2012 for
                                                                             each state, where each realization randomly varied
                     AGCrpt = (AGBp,t + aAGB.r X SEagb,p)
                                                                             annual statewide mortality by its parameter error (i.e.
                                 ^ (fcarbon ^ acarbon,r X SEcarbon)    (1)   SD computed above). We again summarized (mean
                                                                             and SD) each set of realizations for both statistics. This
                 where f carbon and SEcarbon varied by forest type and ax    yielded an estimate of MORTfire for each state and
                 was a random number from a normal distribution              produced estimates of uncertainty in MORTfire due to
                 (mean = 0, SD = 1) that differed for each variable with     parameter error (i.e. SD of estimates of MORTfire)
                 each realization. The other variables are defined above.    and temporal variability (i.e. mean of estimates of SE
                 We then calculated MORTbeetle as                            of annual mortality).
                                                                                  In the final step, we derived a 95% confidence
                                            ____       Zc
                         MORTbeetle,r,p,t = AGCr,p,t X fbeetle,p,t     (2)   interval (CI) around each estimate of MORTfire that
                                                                             accounted for both parameter error and temporal
                                                                             variability. This involved repeatedly estimating
                 where fbeetle p t was an estimate of Jbeetle drawn          MORTfire for each state, where each realization
                 randomly from a triangular distribution defined             randomly varied MORTfire by uncertainty associated
                 uniquely for each voxel using the low, middle, and          with both parameter error and temporal variability.
                 high estimates offbeetle- Each distribution was fit using   We then computed the 95% CI (Gonzalez et al 2015)
                 the triangle package in R (Carnell 2016). Next, we          for each state, as per
                 computed MORTfire as
                                                                                                       ---------- —97 5      ---------- —2 5
                                                                                      .       CI = MORTtire -                                      (6)
                                                                                                            2
                    MORTfire,r,p, t = (AGCr,p,t - MORTbeetle,r,p, t)
                                       severity                               .     ----- ——97:5   .         ——2.5                 .           .     .
                                       classes
                                                                             where MORTfire and MORTfire were the 97.5th and
                                                                             2.5th percentiles of 1000 realizations of MORTfire.
                                     X 52 'Apt- X (ffire,s + afiresr
                                          s                                  Overall, this approach yielded estimates of mean
                                      X SEfire ,s)]                    (3)   annual tree mortality (±95% CI) due to fires and bark

                                                                 5
                                                                                          Rvsd Plan - 00005818
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 252 of 346

lOP Publishing   Environ. Res. Lett. 12 (2017) 065005



                 beetles from 2003-2012 for each state in the western
                 US. We present these estimates both in terms of
                 absolute tree mortality (Tg AGC yr”1) and mortality
                 rate (i.e. % of statewide AGC in tree biomass killed
                 each year).

                 2.3. Tree mortality from timber harvest
                 We estimated mean annual tree mortality caused by
                 timber harvest from 2003-2012 for each state
                 (MORTharvest, Tg AGC yr”1) using timber product
                 output surveys from several USFS reports along with
                 information on tree characteristics. We again used a
                 Monte Carlo analysis to propagate uncertainty in
                 MORTharvest that was associated with parameter error
                 and temporal variability. The USFS reported harvest                                 Disturbance type
                 for each state in terms of mean annual growing stock        Figure 3. Regional mean annual tree mortality from fires,
                 volume (GSV, m3 yr”1) removed from c. 2003 to 2007          bark beetles, and timber harvest from 2003-2012 on
                 (Smith et al 2009) and c. 2008 to 2012 (Oswalt et al        forestland in the western United States. Tree mortality was
                                                                             quantified as the amount of aboveground carbon (AGC)
                 2014). Harvest was reported separately for hardwood         stored in tree biomass killed by disturbance (Tg AGC yr”1).
                 and softwood tree species. We calculated mean               Tree mortality from bark beetles and fires was derived using
                                                                             remote sensing, whereas harvest was derived from USFS forest
                 annual GSV removed across these two periods for             resource assessments (Smith et al 2009, Oswalt et al 2014).
                 both species groups in each state (GSV). In each case,      Error bars depict 95% confidence intervals computed with a
                 we then estimated MORTharvest from GSV using                Monte Carlo analysis and incorporate temporal variability
                                                                             and parameter error. We estimated that regional mean annual
                 information on the ratio of total aboveground tree          tree mortality from fires, beetles, and harvest was 45.8 ± 16.0
                 volume to GSV(R), wood density (WD, Mg m”3),                TgAGC yr”1 from 2003-2012, with fires, beetles, and harvest
                                                                             accounting for 18%, 32%, and 50% of annual mortality,
                 and the fraction of dry woody biomass that is carbon
                                                                             respectively.
                 (fcarbon), as per

                     MORTharvest = GSV X R X WD X f                 (7)
                                                                           3. Results
                 We repeatedly (Nr = 1000) estimated MORTharvest for
                 both species groups in each state as part of the Monte    3.1. Regional tree mortality from disturbance
                 Carlo analysis, which again involved randomly varying     Taken together, mean annual tree mortality from
                 each parameter by its uncertainty (e.g. as shown in       timber harvest, bark beetles, and fires (MORTh+b+f)
                 equation (1)). It was not possible to directly compute    was 45.8 ± 16.0 Tg AGC yr”1 from 2003-2012 across
                 the uncertainty (SE) associated with temporal             the western US. Regional tree AGC stocks totaled 4.16
                 variability in the amount of GSV annually removed         ± 0.12 Pg, suggesting that the tree mortality rate was
                 since annual harvest data were not available for each     1.10 ± 0.38% yr”1. Timber harvest accounted for the
                 state. We therefore assumed that the SE was 4.6% of                                           +
                                                                           largest percentage of MORTh b+f (50%), followed by
                 GSV based concurrent annual harvest data from             bark beetles (32%) and then fires (18%, figure 3,
                 Oregon, which accounted for 35% regional harvest          table S2).
                 (Oregon Department of Forestry 2017). We used
                 estimates of average R (R) that varied for hardwoods      3.2. Tree mortality from fire
                 and softwoods, as well as among states in different       Mean annual tree mortality from fires (MORTfire) was
                 USFS regions (Birdsey 1992), assuming in each case        8.2 ± 6.2 TgAGC yr”1 and the mortality rate was 0.20 ±
                 that the SE was 2% of R (Levy et al 2004). We             0.15% yr”1 from 2003-2012in the westernUS (figures 3,
                 computed average WD (WD) and its uncertainty              4(a), 5, table S2). Absolute MORTfire was highest in
                 (SEWD) for both species groups in each state by (1)       northern California, central Idaho, and western
                 identifying the four tree species in each group that      Montana, with these states accounting for 64% of
                 accounted for the largest percentages of total tree AGB   regional MORTfire. Forests in Arizona and New Mexico
                 on USFS inventory plots surveyed 2003-2012 (Smith         experienced the highest annual rates of MORTfire
                 2002) and then (2) summarizing WD measurements            (0.36%-0.57% yr” 1), as well as the highest percentage of
                 among these species (Miles and Smith 2009). After                   ++
                                                                           MORTh b f caused by fire (51%-55%). Conversely,
                 repeatedly estimating MORTharvest, we then derived        forests in Colorado, Oregon, and Washington had
                 the average and associated 95% CI from each set of        the lowest rates of MORTfire (0.03%-0.08% yr”1)
                 1000 realizations (e.g. equation (6)). We report          and the lowest percentage of MORTh b+f caused by+
                 MORTharvest (± 95% CI) for each state both in terms       fire (2%-8%). Fires that occurred in Oregon and
                 of absolute mortality (Tg AGC yr”1) and mortality         Washington were largely concentrated along the eastern
                 rate (% yr”1).                                            slopes of the Cascade Range.

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                                                                                      Rvsd Plan - 00005819
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 253 of 346

lOP Publishing   Environ. Res. Lett. 12 (2017) 065005




                                     (a)         Tree mortality from fire    (b)   Tree mortality from bark beetles

                                                                                                                    Tree mortality
                                                                                                                 (Mg AGC ha'1 10 yr"1)
                                                                                                                           < 0.1
                                                                                                                           0.1 - 2


                                                                                                                           10 - 25
                                                                                                                           25 - 50
                                                                                                                           50 - 200



                                                                                                                      Cumulative
                                                                                                                      2003 - 2012



                   Figure 4. Cumulative tree mortality due to (a) fires and (b) bark beetles from 2003-2012 on forestland in the western United States.
                   Tree mortality was quantified as the amount of aboveground carbon (AGC) stored in tree biomass killed by disturbance (e.g. Mg AGC
                   ha”1). Note that (a) tree mortality from fire was concentrated in northern California, central Idaho, and southern Arizona/New
                   Mexico, whereas (b) tree mortality from bark beetles occurred widely at low levels, but was highest in northern Colorado and western
                   Montana.




                                   V       2.5   -(b)




                   Figure 5. Mean annual tree mortality from fires, bark beetles, and timber harvest on forestland from 2003-2012 for each state in the
                   western US. Tree mortality was quantified as the amount of aboveground carbon (AGC) stored in tree biomass killed by disturbance.
                   Mean annual tree mortality is summarized in terms of (a) absolute mortality (Tg AGC yr”1), (b) mortality rate (percentage of
                   statewide AGC in tree biomass killed per year, % yr”1), and (c) percentage of mortality caused by each type of disturbance (%). Tree
                   mortality from bark beetles and fires was derived using remote sensing, whereas harvest was derived from USFS forest resource
                   assessments. Error bars depict 95% confidence intervals that were computed using a Monte Carlo analysis and incorporate temporal
                   variability and parameter error from all three types of disturbances.




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                                                                                                   Rvsd Plan - 00005820
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 254 of 346

lOP Publishing   Environ. Res. Lett. 12 (2017) 065005



                 3.3. Tree mortality from bark beetles                    for ~60%-80% of regional tree mortality not associated
                 Mean annual tree mortality from bark beetles             timber harvest or land clearing. Our estimates of tree
                 (MORTbettie) was 14.6 ± 7.0 Tg AGC yr”1 and the          mortality from fires and bark beetles were also of similar
                 mortality rate was 0.35 ± 0.17% yr”1 from 2003-2012      magnitude to those predicted using the CASA
                 in the western US (figures 3, 4(b), 5, table S2).        (Carnegie-Ames-Stanford Approach) carbon cycle
                 Absolute MORTbettle was highest in northern Colo­        model with fire (Ghimire et al 2012) and beetle
                 rado, western Montana, and central Idaho, with these     (Ghimire et al 2015) disturbances prescribed using
                 states accounting for 52% of regional MORTbettle         MTBS and ADS data sets, respectively. Lastly, our
                 (table S2). Forests in Colorado and Wyoming had the      estimates of regional MORTH+B+F in 2003 and 2004
                 highest annual rates of MORTbettle (1.12%-1.22%          differed by ±5% from estimates of tree mortality due to
                 yr”1) and the highest percentage of MORTh+b+f            all forms (undifferentiated) of disturbance that were
                 caused by bark beetles (80%-93%). Conversely,            derived using a regional sample of Landsat scenes from
                 Oregon and Washington had not only two of the            1986-2004 (Powell et al 2014). Similarity among these
                 lowest rates of MORTfire, but also two of the lowest     field, modeling, and remote sensing estimates of
                 rates of MORTbettle (0.10%-0.20% yr”1).                  regional tree mortality is encouraging. Together these
                                                                          comparisons suggest that timber harvest, bark beetles,
                 3.4. Tree mortality from timber harvest                  and fires were the primary causes of tree mortality from
                 Mean annual tree mortality from timber harvest disturbance during the 2000s in the western US.
                 (MORTharvest) was 23.0±2.8 Tg AGC yr”1 and the                Our current estimates of cumulative (2003-2012)
                 mortality rate was 0.55±0.07% yr”1 from 2003-2012 regional tree mortality from fires and bark beetles were
                 in the western US (figures 3, 5, table S2). Timber both ~40% lower than earlier best-estimates reported
                 harvest in Oregon and Washington accounted for 67% by Hicke et al (2013). This downward revision
                 of regional MORTharVest. These two states had the stemmed from refinements in representation of
                 highest rates of MORTharvest (0.85%-0.86% yr”1) tree AGB, more realistic parameterization of tree
                                                            ++
                 and the highest percentage of MORTh b f caused by mortality from fire, and a routine that tracked
                 harvest (76%-83%). Conversely, forest in Colorado, prior tree mortality within each grid cell. Estimating
                 Utah, and New Mexico had the lowest rates of tree mortality in terms of carbon necessitated accurate
                 MORTharVest (0.04%-0.06% yr-1) and among the representation of tree AGB; however, estimates of tree
                                                        +
                 lowest percentage of MORTh b+f caused by harvest AGB differ among available data sets, particularly at
                 (3%-10%).                                                the pixel scale (figure S1; Huang et al 2015, Neeti and
                                                                          Kennedy 2016). We therefore chose to incorporate an
                                                                          ensemble of available data sets (Blackard et al 2008,
                 4. Discussion                                            Kellndorfer et al 2012, Wilson et al 2013) rather than
                                                                          rely on a single data set as was done in the prior study
                 4.1. Regional tree mortality from disturbance            (Hicke et al 2013). This improvement accounted for
                 In this study, we quantified tree mortality caused by ~10% of the reduction in tree mortality between
                 timber harvest, bark beetles, and fire from 2003-2012 studies and allowed us to propagate uncertainty in tree
                 across the western US. We found that regional mean AGB into our estimates of mortality. Our current
                 annual tree mortality from timber harvest (~23 Tg analysis also used a regional synthesis of field
                 AGC yr 1) was quite similar in magnitude to the measurements (Ghimire et al 2012) to vary tree
                 mortality from fires and bark beetles combined (~22 mortality fraction by forest type and fire severity rather
                 Tg AGC yr”1). Regional timber harvest declined about than assume complete tree mortality in areas that
                 40% since the 1980s (Oswalt et al 2014), yet harvest burned at moderate or high severity (Hicke etal 2013).
                 still caused significantly more tree mortality than bark This further reduced our estimates of tree mortality
                 beetles or fires during the 2000s, a period during which from fire. Lastly, we found that 39% of the forested
                 hot and dry conditions contributed to extensive beetle grid cells (1 km2) registered multiple disturbances
                 and fire activity relative to the last several decades during this decade. We therefore implemented a
                 (Williams et al 2012, Hicke et al 2015, Meddens et al routine that reduced tree AGB each time a disturbance
                 2015, Abatzoglou and Williams 2016, Cohen et al occurred, which reduced the amount of tree AGB
                 2016).                                                   killed by subsequent disturbance. These improve­
                       Our regional tree mortality estimates were compa­ ments enabled more robust estimation of how much
                 rable with several other studies from the western US. carbon was stored in trees recently killed by fires and
                 For instance, forest inventories indicated that the beetles across the western US.
                 regional tree mortality rate was ~0.72%-0.92% yr”1            The carbon in trees killed by disturbance will be
                 during the 2000s in areas unaffected by harvest or land emitted to the atmosphere as dead trees decompose in
                 clearing (Oswalt et al 2014). By comparison, we the forest and as harvested trees are processed into
                 estimated that the tree mortality rate from fires and wood products with varying efficiency and longevity
                 bark beetles combined was ~0.56% yr”1, suggesting (Harmon et al 1990, Harmon et al 2011, Hudiburg
                 that these disturbances together might have accounted et al 2011). Ignoring pyrogenic emissions, mean

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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 255 of 346

lOP Publishing   Environ. Res. Lett. 12 (2017) 065005



                 annual tree mortality from fire and beetles could           ~4.3 Tg AGC yr”1 across all of California’s ecosystems
                 together lead to emission of ~0.8 Tg C yr~1 during the      from 2001-2010, which led to an estimated 8% net
                 following decade assuming exponential decay and an          reduction in statewide plant AGC and complicated
                 intermediate rate constant (k = 0.04; Harmon et al          efforts to reduce GHG emissions (Gonzalez et al
                 1986). Actual decomposition rates will depend on the        2015).
                 interplay among snag fall rate, microclimate, wood               It is widely perceived in California and other parts
                 chemistry, tree anatomy, and other factors (Weedon          of the region that beetle-killed trees increase subse­
                 etal2009, Harmon etal2011). Similarly, mean annual          quent risk of fire (Heller 2017), yet recent studies
                 tree mortality from harvest could lead to emission of       indicate that beetle outbreaks have not increased burn
                 around 1.3 Tg C yr”1 during the following decade            area (Hart etal2015, Meigs etal2015a) or fire severity
                 assuming that (1) 60% of harvested material went to         in the region (Bond et al 2009, Meigs et al 2016, Reilly
                 fuels, paper, and residues that lasted < 5 years            and Spies 2016). Similarly, we found no association
                 (Harmon et al 1990) and that (2) the remaining              between statewide tree mortality rates from fires and
                 40% of material went to longer term storage that            beetles (P = 0.88), though lagged effects and the
                 remained unchanged during the first decade. In other        spatial scale of this comparison could mask potential
                 words, tree mortality from harvest, bark beetles, and       interactions.
                 fires averaged 45.8 ± 16.0 Tg AGC yr”1, yet annual               The MTBS data set provides a valuable record of
                 emissions are potentially closer to 2 Tg C yr”1 during      fire extent and severity across the nation (Eidenshink
                 the first decade following disturbance and will persist     et al 2007), though additional efforts are needed to
                 for decades to centuries. By comparison, regional fossil    better quantify fire severity (Kolden et al 2015). It is
                 fuel emissions averaged ~260 Tg C yr”1 during this          also important to better understand how mortality
                 period (US Energy Information Administration 2015).         differs among co-occurring trees species with different
                 More accurate assessment of the timing and magni­           functional traits (e.g. bark thickness; Pausas 2015).
                 tude of carbon emissions requires using robust              Projected shifts towards a hotter, drier climate could
                 ecosystem models and life cycle assessments (e.g.           potentially increase fire activity in the Southwest
                 Hudiburg et al 2011, Ghimire et al 2015).                   and other dry parts of the region over the coming
                                                                             century (Spracklen et al 2009, Williams et al 2014),
                 4.2. Tree mortality from fire                               contributing to increases in tree mortality, cost of
                 Tree mortality from fire was highest in the Southwest,      wildfire management, and GHG emissions.
                 with regional variation in mortality associated with
                 differences in drought severity and human activities.       4.3. Tree mortality from bark beetles
                 States with more consistently severe summer drought         Tree mortality from bark beetles was pervasive at low
                 tended to have the highest average tree mortality rate      levels across the region, though was pronounced in the
                 from fires (e.g. Arizona), whereas states that experi­      Rocky Mountains (e.g. Colorado) where beetles
                 enced less consistently severe drought tended to have       accounted for ~80% of MORTH+B+F. Mountain pine
                 lower mortality from fires (e.g. Oregon, figures S2, S3).   beetles were responsible for ~62% of tree mortality
                 Hot and dry conditions increase fuel flammability and       area (5.37 Mha) caused by bark beetles from
                 fire occurrence among forests in the western US             1997-2010 in the western US and largely affected
                 (Littell et al 2009, Morton et al 2013, Abatzoglou and      lodgepole pine (Meddens etal2012, Hicke etal2015).
                 Williams 2016). Furthermore, drought-stricken trees         In this region, lodgepole pine occur most extensively
                 are more likely to die if a fire does occur (van Mantgem    in the Rocky Mountains, where stands were generally
                 et al 2013), potentially because of more extensive          of an age (80-120 years) and stem density (>500 stems
                 xylem cavitation and hydraulic impairment during a          ha”1) that rendered them more susceptible to beetle
                 fire (Michaletz et al 2012, van Mantgem et al 2013).        attack than lodgepole pine in the coastal states, which
                      Human activities, including fire ignition and          tended to be younger and less widespread (Hicke and
                 suppression, also affected regional variation in fire       Jenkins 2008). Forests in the Rocky Mountains also
                 activity. Human fire ignitions were responsible for         experienced long-term warming that increased beetle
                 ~32% of the total area burned in the western US from        populations by reducing beetle mortality during
                 1992-2012 and were concentrated among the more              winter and accelerating beetle development (Logan
                 densely populated coastal states (Balch et al 2017).        and Powell 2001, Creeden et al 2014). Furthermore,
                 Humans were the primary cause of fire ignitions in          states with the most severe singe-year summer drought
                 California (Balch et al 2017), where drought-affected       tended to have the highest average tree mortality rate
                 forests experienced the highest tree mortality from fire    from beetles (e.g. Colorado, Wyoming), whereas states
                 of any western state (~2.6 Tg AGC yr 1). The federal        that experienced less acute drought tended to have
                 government recently spent ~$400 million per year on         lower mortality from beetles (e.g. Oregon, figure S4).
                 fire suppression in California, which accounted for         High tree mortality from beetles in the Rocky
                 about half of the federal expenditure on fire               Mountains has been linked to acute drought that
                 suppression in the western US (Kenward and Raja             weakened tree defense against beetle attack (Creeden
                 2013). Nevertheless, plant mortality from fire averaged     et al 2014, Hart et al 2014) in stands already subject to

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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 256 of 346

lOP Publishing   Environ. Res. Lett. 12 (2017) 065005



                 high structural susceptibility and larger beetle pop­        5. Conclusions
                 ulations (Logan and Powell 2001, Hicke and Jenkins
                 2008).                                                     Timber harvest, bark beetles, and fires were important
                     Lower tree mortality from beetles in other parts of    causes of tree mortality from 2003-2012 across forests
                 the region could reflect less severe drought (Abatzo­      in the western US. This was a period during which
                 glou and Redmond 2017), lower stand susceptibility         high temperatures contributed to severe drought
                 (Hicke and Jenkins 2008), and different host and           that increased both fire and bark beetle activity
                 beetle species. Low insect-caused mortality among          relative to recent decades. Regional tree mortality
                 wet coastal forests (Meddens et al 2012, Meigs et al       from these disturbances together averaged 45.8 ±
                 2015b, Reilly and Spies 2016) might be linked to            16.0 Tg AGC yr"1, with harvest accounting for a
                 higher tree species diversity (Waring et al 2006)          significantly larger percentage (50%) than bark beetles
                 limiting host availability and population size of host­    (32%) or fires (18%). The amount of carbon in tree
                 specific beetle species (Anderegg et al 2015). The         aboveground biomass killed each year by these
                 coastal forests also tend to be younger than forests in    disturbances was equivalent to ~18% of concurrent
                 the Rocky Mountains (Pan et al 2011b) due to more          regional carbon emissions from fossil fuel consump­
                 extensive timber harvest (Masek et al 2011), which         tion (US Energy Information Administration 2015).
                 might reduce the likelihood of beetle attack since         Tree mortality from timber harvest was concentrated
                 beetles tend to prefer large old trees (Raffa et al 2008). in the high-biomass forests of the Northwest, where it
                 On the other hand, land-use activities that homoge­        accounted for ~80% of the mortality caused by these
                 nize forest structure and composition can increase         three types of disturbance. Shifts in management
                 the likelihood of beetle outbreaks (Raffa et al 2008).     priorities in the Northwest could reduce tree mortality
                 Future efforts are needed to reduced uncertainty in        and subsequent GHG emissions as a means of
                 the causes, extent, and severity of bark beetle            mitigating climate change. Bark beetles caused tree
                 outbreaks (Meddens et al 2012, Gartner et al 2015)         mortality widely across the region, thought mortality
                 given that rising temperatures and local land use          was concentrated in the Rocky Mountains. Tree age
                 activities could amplify tree mortality from bark          and high stem density in these mountain forests made
                 beetles over the coming century in parts of this region    them susceptible to beetle attack, while rising air
                 (Hicke et al 2006, Raffa et al 2008).                      temperatures increased beetle populations and caused
                                                                            drought-induced reductions in tree defense against
                 4.4. Tree mortality from harvest                           beetle attack. Lastly, tree mortality from fires peaked in
                 Tree mortality from timber harvest was highest in California, where high temperatures increased fuel
                 Oregon and Washington and accounted for ~80% of aridity and human activities increased fire ignitions.
                 MORTh+b+F in these states. Much of the timber Tree mortality from bark beetles and fires will likely
                 harvest in these states occurs in highly productive increase in parts of the regions over the coming
                 coastal forests, where rates of timber extraction per unit decades as anthropogenic GHG emissions drive higher
                 of forest area are the highest in the country (Masek et al temperatures and increased risk of drought. Efforts to
                 2011, Law and Waring 2015). These coastal forests were manage natural resources and meet GHG emission
                 a net source of carbon to the atmosphere during the targets will all benefit from better understanding of the
                 1980s due to high rates of timber harvest, though magnitude, location, and causes of tree mortality.
                 declines in harvest following implementation of the
                 Northwest Forest Plan in 1994 led forests on public
                 lands to became a net carbon sink during the 2000s Data Availability
                 (Turner et al 2011). Forests in Oregon and northern
                 California currently store ~3.2 Pg C, yet could Our geospatial estimates of tree mortality from fires
                 theoretically store ~5.9 Pg C if stand-replacing and bark beetles will be publicly archived with Oak
                 disturbances did not occur on the landscape (Hudiburg Ridge National Laboratory at the Distributed Active
                 et al 2009). Recent tree mortality from timber harvest Archive Center for Biogeochemical Dynamics (https://
                 far exceeded tree mortality caused by both bark beetles daac.ornl.gov/). This data set includes annual esti­
                 and fires in the Pacific Northwest, highlighting that mates of tree mortality and uncertainty from 2003 to
                 reductions in timber harvest could help these states 2012 at 1 km spatial resolution for the western US.
                 meet GHG emission reduction targets. Continued
                 warming and drying could reduce the amount of tree
                 biomass available to be harvested in the Interior West Acknowledgments
                 over the coming century (Williams etal 2012, Jiang etal
                 2013, Berner etal 2017), yet it is currently unclear how LTB was supported by NASA Headquarters under the
                 the net effects of ongoing climate change will affect tree NASA Earth and Space Science Fellowship Program
                 biomass and resource availability in the Pacific (Grant NNX14AN65H) and by the ARCS Foundation
                 Northwest (Hudiburg etal2013, Jiang etal2013, Kang Scholar program. BEL and JAH were supported by the
                 et al 2014, McDowell et al 2015).                          USDA National Institute of Food and Agriculture

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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 257 of 346

lOP Publishing   Environ. Res. Lett. 12 (2017) 065005
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                 The contents of this article are solely the responsibility                  functions for the triangle distribution R package version
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lOP Publishing   Environ. Res. Lett. 12 (2017) 065005



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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 259 of 346

lOP Publishing   Environ. Res. Lett. 12 (2017) 065005



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                                                                                                   Rvsd Plan - 00005826
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 260 of 346




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     Factors Influencing Understory Seedling
     Establishment of Engelmann Spruce (Picea
     engelmannii) and SUbalpine Fir (Abies lasiocarpa)
     in Southeast Wyoming
     Alan K. Knapp

     William K. Smith




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 261 of 346




                                                                                                                                  2753

            Factors influencing understory seedling establishment of Engelmann spruce
           (Picea engelmannii) and subalpine fir (Abies lasiocarpa) in southeast Wyoming

                                            Alan K. Knapp’       and   William K. Smith^
                          Department of Botany, University of Wyoming, Laramie, Wyoming, U.S.A. 82071
                                                       Received October 26, 1981


    Knapp, A. K., and W. K. Smith. 1982. Factors influencing understory seedling establishment of Engelmann spruce (Picea
       engelmannii) and subalpine fir (Abies lasiocarpa) in southeast Wyoming. Can. J. Bot. 60: 2753-2761.,
       Although seedlings of Abies lasiocarpa are generally more abundant than those of Picea engelmannii in the understory of
    mature spruce-fir forests throughout the central and northern Rocky Mountains, little information exists concerning
    environmental or plant factors that may influence the establishment of these two conifers. Field measurements in the Medicine
    Bow Mountains of southeast Wyoming showed that seedlings of A. lasiocarpa had greater photosynthetic rates at low understory
    light levels and required lower levels of incident radiation for saturation of photosynthesis compared with those of P.
    engelmannii. However, both conifers occurred in understory locations where total daily solar radiation was equally low (<2
    MJ-m“2-day“’) and thus, a lack of light did not appear to be responsible for the low number of P. engelmannii seedlings in the
    understory. In contrast, seedlings of P. engelmannii were substantially more abundant at locations with thinner litter layers
    compared with those of A. lasiocarpa. Also, laboratory studies showed that the smaller seeds of P. engelmannii germinated
    more rapidly and at lower temperatures than seeds of A. lasiocarpa although growth of tap roots on A. lasiocarpa seedlings was
    greater initially (= 200% longer in 2-week-old seedlings) as well as for 10-week-old seedlings (50% longer). The deeper
    penetrating tap root of A. lasiocarpa seedlings may enable this conifer to establish more abundantly on thick, rapidly drying litter
    layers that are characteristic of mature spruce-fir forests. In contrast, establishment of P. engelmannii seedlings may be limited
    to microsites without a thick litter layer such as disturbed areas or decomposing wood, where surface drying may occur more
    gradually throughout the summer. These results are discussed in terms of the potential effects of seedling establishment on the
    observed patterns in climax vegetation of central and northern Rocky Mountain subalpine forests.

                            Introduction                               environments have received little attention. Three hy­
       In the central and northern Rocky Mountains, seed­              potheses which have been proposed previously to
    lings of subalpine fir (Abies lasiocarpa [Hook.] Nutt.)            explain the greater number of A. lasiocarpa seedlings
    are often more numerous than those of Engelmann                    relative to P. engelmannii are (;) the inability of P.
    spruce (Picea engelmannii Parry) in the understory of              engelmannii to utilize the low levels of solar radiation in
    mature spruce-fir forests (Hodson and Foster 1910;                 a subalpine understory (Baker 1949; LeBarron and
    Oosting and Reed 1952; Smith 1955; Day 1964, 1972;                 Jemison 1953; Krajina 1965; Miller 1970; Day 1972;
    Miller 1970; Loope and Gruell 1973; Schmid and Hinds               Loope and Gruell 1973; Alexander 1974; Whipple and
    1974; Whipple and Dix 1979). In fact, Day (1972) and               Dix 1979), (ii) greater success in establishment of A.
    Wirsing and Alexander (1975) have suggested that if                lasiocarpa seedlings owing to more rapid seedling
    existing spruce-fir forests remained disturbance-free for          growth from the larger seeds of A. lasiocarpa (Hodson
    an adequate period of time, A. lasiocarpa would be the             and Foster 1910; Oosting and Reed 1952; Smith 1954,
    climax conifer at many sites in the subalpine zone.                1955; Smith and Clark 1960; Day 1964), and (Hi)
    However, other investigators have felt that P. engel­              greater mortality of P. engelmannii seeds and seedlings
    mannii and A. lasiocarpa may co-occur indefinitely,                compared with those of A. lasiocarpa, caused by
    despite the greater number of A. lasiocarpa seedlings.             pathogenic agents in the forest floor of mature spruce-fir
    This continuing co-occurrence could result from the                forests. However, the results of Daniel and Schmidt
    greater longevity of P. engelmannii trees (Oosting and             (1972) did not support the latter hypothesis. A fourth
    Reed 1952), the effects of cyclic insect outbreaks on              hypothesis invokes a differential susceptibility to desic­
    stand structure (Schmid and Hinds 1974), or the periodic           cation that could occur with different substrates or litter
    recruitment of P. engelmannii seedlings (Miller 1970;              depths.
    Whipple and Dix 1979).                                                The purpose of this study was to investigate the first
       Specific plant and environmental factors influencing            two hypotheses listed above. To evaluate the initial
    the establishment of western conifers in understory                hypothesis, the location of seedlings in the understory in
                                                                       relation to understory light, and their photosynthetic
       ’Present address: Division of Biology, Kansas State Univer­     responses to low light levels was measured. The second
    sity, Manhattan, KA, U.S.A. 66506.                                 hypothesis was evaluated using measurements of seed
       ^Author to whom correspondence should be addressed.             germination, early seedling growth, and the location of
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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 262 of 346




    2754                                                 CAN. J. BOT. VOL. 60, 1982


    seedlings in relation to understory litter depths to                 seedlings of each species were watered daily for 3 days before
    determine if differences in seedling development be­                 photosynthesis measurements began and were at natural loca­
    tween P. engelmannii and A. lasiocarpa coaid contrib­                tions that were receiving approximately equal amounts of total
    ute to the observed differences in establishment of these            daily solar radiation. The amount of light striking the seedling
                                                                         during photosynthetic measurements was regulated with a
    conifers. The relative importance of each of these
                                                                         variable auto-transformer (Powerstat model 3PN116B) con­
    factors is discussed in relation to seedling patterns in the         nected to a 150 W tungsten-filament flood lamp filtered
    understory and the observed vegetation patterns of                   through 10 cm of water. The quantity of light incident on the
    subalpine conifers in the central and northern Rocky                 seedlings was measured with the Lambda light sensor and leaf
    Mountains.                                                           temperatures were measured with a fine wire (0.018 cm
                                                                         diameter) copper-constantan thermocouple wrapped around
                      Materials and methods                              an unshaded needle near the middle of the seedling. Leaf
    Study sites                                                          temperatures were maintained at 20-23°C for all light re­
       Study sites were located in a virgin spruce-fir forest in the     sponse curves. Total leaf area was determined geometrically
    Snowy Range Natural Area (3100 m) of the Medicine Bow                using a light microscope and dial calipers, and             was
    National Forest approximately 65 km west of Laramie,                 expressed on a projected leaf area basis (1/2 total leaf area).
    Wyoming (41'’2r N, 106°14' W). Two study areas (0.2 and
                                                                         Seed size, germination, and seedling growth
    0.1 ha) were chosen in stands with different age structure to           The influence of seed size, germination, and early seedling
    evaluate the relationships between the understory location of        growth on seedling establishment in the understory was
    P. engelmannii and A. lasiocarpa seedlings and the cor­              evaluated using seeds obtained from mature cones collected in
    responding incident solar radiation and litter depth at each         north central Colorado and southeast Wyoming during autumn
    seedling location. Seedlings (<30 cm tall) were sampled in           1980. Seeds were grouped into lots of 100 and weighed (±
    both study areas along with the density of saplings (>30 cm          0.1 mg) before storage at 4°C until germination studies were
    tall to 10 cm diameter at breast height (dbh)) and the density       initiated. Prior to the germination studies, six to eight
    and basal area of trees (>10 cm dbh) using a point-quarter           replicates of 50 seeds of each species were surface sterilized in
    distance sampling method (Cottam and Curtis 1956). Esti­             a 0.3% solution of calcium hypochlorite for 5 min and rinsed 3
    mates of the area of the forest floor occupied by different          times in distilled water. The seeds were placed on the surface
    seedbeds (i.e., litter, decayed wood, moss etc.) were made           of an agar medium (1%) in sterile petri dishes and placed in an
    using a line intercept method (Mueller-Dombois and Ellenberg         environmental chamber at temperatures of 10, 15, 20, and
    1974). Ages of the largest trees at each site were estimated         25°C with an 8-h photoperiod. Germinated seeds were counted
    from the relationship between diameter and age described in          and removed daily and germination was considered complete
    Oosting and Reed (1952) for adjacent virgin stands.                  when the radicle protruded at least 1 mm.
    Understory light and photosynthesis                                     Seedling growth was monitored over a 10-week period
       All seedlings in both study areas were marked and 137 (38%        under greenhouse conditions which included a 14-h photo­
    of the total) were chosen randomly for measurements of the           period with mean day air temperatures of 19°C (15-22°C
    total daily solar radiation received at each seedling location.      range), mean night temperatures of 13°C (10-15°C), total
    Incident photosynthetically active radiation (PAR, 0.4-0.7           daily radiation typically between 4.0-5.5 MJ-m“^-day“', and
    p,m) was measured at 0.5-h intervals from dawn to dusk at each       relative humidity averaging 30% (12-53%). These growth
    seedling location over 4 clear days in late June. At each            conditions are similar to those reported during midsummer by
    location, the surface of the PAR sensor was positioned               Young and Smith (1979, 1980) and Smith (1981) for the
    perpendicular to the vertical axis of the seedling and directly      subalpine understory environment of the Medicine Bow
    above the terminal leader. The type of seedbed and the depth of      Mountains. Germinated seeds were transferred from the petri
    the litter layer (organic matter above mineral soil) were also       dishes along with a small agar block to 15 cm deep pots
    determined at each seedling location. Incident PAR was               containing sand. Each pot contained five to seven seedlings of
    measured with a light meter (Lambda instruments model                either P. engelmannii or A. lasiocarpa and was watered daily
    LI-185A) and a quantum sensor (LI-190S) and converted to             and fertilized weekly with a commercial fertilizer (Ra-Pid-Gro
    total solar radiation using an empirical relationship developed      Corp., Dansville, NY). Seedlings were harvested weekly by
    with a radiometer (Eppley model PSP). The frequency                  randomly selecting one pot of each species and systematically
    distribution of the two conifers relative to total solar radiation   rearranging the remaining pots. Harvested seedlings were
    was tested for normality using a chi-square analysis (Zar            carefully removed from the soil, washed, and root and shoot
    1974).                                                               lengths were measured (±1 mm). Root and shoot dry weights
       The photosynthetic responses of P. engelmannii and A.             were then determined (±0.1 mg) after oven-drying at 85°C for
    lasiocarpa seedlings to low incident PAR were compared               24 h. Relative growth rates (RGR) were calculated from dry
    under natural understory conditions for six 2- to 4-year-old         weight measurements using the equation (Evans 1972);
    seedlings of each conifer species. Net photosynthesis per unit
                                                                         [1]   RGR = j?
    leaf area (JeOj) and the amount of incident PAR at photosyn­
    thetic saturation (95% of maximum JeOj) and compensation                                tz “ 0
    (■^COj = 0) were deterrruned for undisturbed seedlings sealed in     where IT is total dry weight at times ti and t2. Statistical com­
    a Plexiglas cuvette (equipped with a fan) coupled to an              parisons of sample means for all measurements were made
    open-flow infrared gas analyzer (Beckman model 865). All             using Student’s f-test (Zar 1974).




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 263 of 346




                                                                   KNAPP AND SMITH                                                              2755

            Table 1, Overstory and understory stand characteristics for the principal conifers at the two study sites

                                                                                     Relative        Average                        Relative
                                             Total density         Density           density        basal area       Basal area    basal area
                     Stand                    (trees /ha)         (trees/ha)           (%)            (cm^            (m^/ha)         (%)

           Science camp
             Mature trees
             (>10cm dbh)                       921(±59)
                Picea engelmannii                                      678              74               932              63          89
                Abies lasiocarpa                                       230              25               302               7          10
                Pinus contorta                                          13               1               829               1           1
             Saplings
             (< 10 cm dbh)                    2217(±194)
                P. engelmannii                                         431              19
                A. lasiocarpa                                         1786              81               —                —           —
                P. contorta                                            —                —                —                —           —
             Seedlings
             (< 30 cm tall)                   1789
                P. engelmannii                                         726               41
                A. lasiocarpa                                         1063               59              —                —           —
                P. contorta                                            —                 —               —                —           —

           Natural area
             Mature Trees                      728(±46)
               P. engelmannii                                          394               54             1671               66         86
               A. lasiocarpa                                           334               46              323               11         14
             Saplings                          938(±65)
               P. engelmannii                                          195               21              —                —           __
               A. lasiocarpa                                           743               79              —                —           —
             Seedlings                        1027
               P. engelmannii                                          254               25              —                —           —
               A. lasiocarpa                                           773               75              —                —           —
             Note: Values in parentheses represent one standard error of the mean.   Pinus contorta is ssp. latifolia (Engelm.).


                                Results                                        both species occurred in locations receiving total daily
      Although trees of P. engelmannii were more abun­                         radiation ranging from < 2.0 to > O.OMJ-m^^-day"';
   dant and had greater basal area in the overstory than                       however, the frequency of A. lasiocarpa seedlings
   those of A. lasiocarpa at both study sites, saplings and                    decreased more uniformly as solar radiation increased
   seedlings of A. lasiocarpa were more numerous in the                        compared with those of P. engelmannii (Fig. 1). The
   understory (Table 1). The estimated age of the oldest                       greatest proportion of the total daily solar radiation
   trees at the Natural Area site (420 year) was greater than                  (62%) was received by seedlings of both conifers at
   for trees at the Science Camp site (340 year) even though                   midday (solar noon ± 2h) and A. lasiocarpa seedlings
   both sites were within a continuous spruce-fir forest.                      occurred more frequently at locations receiving less
   Also, the ratio of seedlings of A. lasiocarpa to P.                         midday radiation compared with P. engelmannii seed­
   engelmannii was greater at the Natural Area site (=3:1)                     lings which were more abundant at locations receiving
   than at the Science Camp site (si.5:1).                                     greater midday radiation (Fig. 1).
                                                                                  A comparison of the influence of light level on Jqq^
   Understory light, photosynthesis, and litter depth                          for seedlings of both conifers indicated that net photo­
      The distribution of seedlings according to the total                     synthesis was greater in A. lasiocarpa seedlings at
   daily solar radiation received at each seedling location                    all light levels (Fig. 2) with an approximately 34%
   was similar at both sites and therefore combined (Fig.                      greater mean maximum JcOj for          lasiocarpa (1.72
   1). The mean total daily radiation received by P.                           pLmol-m~2-s“'), compared with P. engelmannii (1.28
   engelmannii seedlings was 6.6 MJ-nr^-day'* compared                         p,mol-m~2-s~'). Net photosynthesis became saturated at
   with 5.6 MJ-m^2.day“' for those of A. lasiocarpa (P <                       light levels of near 780 p,E-m“2-s“^ in A. lasiocarpa
   0.05). The chi-square analysis indicated that neither                       compared with 1060 piE-m'^-s^' for P. engelmannii
   species deviated significantly from a normal distribution                   while light compensation points ranged between 60 and
   relative to total daily radiation received. Seedlings of                    70 p,E-m“2-s“’ for both conifers.




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 264 of 346




    2756                                                CAN. J. BOT. VOL. 60, 1982


                                                                      Seed size, germination, and seedling growth
                                                                         Seed weight, germination success, and early seedling
                                                                      growth were measured to quantify differences between
                                                                      A. lasiocarpa and P. engelmannii that may influence
                                                                      seedling establishment in the subalpine understory
                                                                      environment. Although seeds of A. lasiocarpa averaged
                                                                      175% heavier than seeds of P. engelmannii (x = 7.9 mg
                                                                      vs. 2.9 mg, P < 0.01), the lighter seeds of P. engel­
                                                                      mannii germinated earlier and more rapidly at all
                                                                      temperature treatments (Table 2). Fifty percent of the
                                                                      maximum germination recorded at each temperature
                                                                      occurred at about 7 days after planting for P. engel­
                                                                      mannii compared with about 15 days for A. lasiocarpa.
                                                                      Maximum germination was slightly greater for P.
                                                                      engelmannii (54.8%) than A. lasiocarpa (46.0%) and
                                                                      germination was reduced from maximum values by
                                                                      about 84% at 15°C (P < 0.05) and 98% at 10°C (P <
                                                                      0.05) in A. lasiocarpa compared with 26% (not signifi­
                                                                      cant) and 93% (P < 0.05), respectively, in P. engel­
                                                                      mannii.
                                                                         For seedlings grown under controlled greenhouse
                                                                      conditions, no significant difference in shoot length was
                                                                      recorded between A. lasiocarpa and P. engelmannii
                                                                      throughout the 10 week growth period (Fig. 4). The
                                                                      decrease in shoot length from the 2nd to the 3rd week
                                                                      was probably caused by the loss of the seed coat and
                                                                      expansion of the cotyledons. Shoot lengths did not
                                                                      increase significantly after the 3rd week, even though
                                                                      primary needles developed in both conifers when
                                                                      seedlings were 4 weeks old. However, 2 weeks after
                                                                      germination the mean length of the tap root/fn A.
                                                                      lasiocarpa seedlings was over 200% greater than the
                                                                      length of the tap root in P. engelmannii seedlings
                                                                       (29.0mm vs. 9.4mm) (Fig. 4). The difference in
                                                                      mean length of tap root increased to 35.1 mrn at 10
                                                                      weeks. Throughout the study, length of tap root was
      Fig. 1. Relative frequency of A. lasiocarpa and P.               synonymous with the depth of penetration of the tap
    engelmannii seedlings at understory locations according to the    root. The average rate of root elongation calculated for
    quantity of solar radiation received integrated over the entire   the entire 10-week period was 1.77mm-day“' for A.
    day and the midday period (solar noon ± 2h). Data are             lasiocarpa and 1.27mm-day”' for P. engelmannii.
    combined for the two study sites. Hatched bars represent          The maximum length of tap root recorded was 171 mm
    P. engelmannii, open bars A. lasiocarpa.                          for A. lasiocarpa compared with 129mm for P.
                                                                      engelmannii. Lateral roots developed in both conifers at
                                                                       5 weeks, but were more numerous and longer at the end
        Seedlings of P. engelmannii were located in areas             of the study in P. engelmannii. Root weights were
    where the litter layer above mineral soil was significant­         generally greater for seedlings of A. lasiocarpa than
    ly thinner compared with locations with A. lasiocarpa             those of P. engelmannii and the mean root weight of
    seedlings (i = 1.9 cm vs. 3.3 cm, P < 0.05). Moreover,             10-week-old seedlings was 10.7 mg for A. lasiocarpa
    only 5% of the P. engelmannii seedlings were located in            compared with 7.0mg (P < 0.01) for P. engelmannii.
    litter > 2.5 cm deep compared with 42% for A.                      Shoot weights were not significantly different between
    lasiocarpa (Fig. 3). Also, 19% of the P. engelmannii               the two conifers at the conclusion of the 10-week study.
    seedlings and 15% of the A. lasiocarpa seedlings were                Relative growth rates (RGR) of the roots were
    found growing on decomposing wood which occupied                  calculated for the entire 10-week growth period while
    < 5% of the forest floor.                                         shoot and seedling RGR was computed for the 8-week




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 265 of 346




                                                          KNAPP AND SMITH                                                     2757




     Fig. 2. Response of net photosynthesis (JcOj) to incident photosynthetically active radiation in 2- to 4-year-old seedlings of
   A. lasiocarpa (A.I.) and P. engelmannii (P.e.). Light saturation of photosynthesis (95% maximum /cOj) indicated for each
   conifer by arrows and vertical bars represent ± 1 standard error of the mean.




       Fig. 3. Relative frequency of seedlings of A. lasiocarpa and P. engelmannii (combined for the two study sites) according to
   litter depth (organic matter above mineral soil) and decayed wood. Hatched bars, P. engelmannii; open bars, A. lasiocarpa.




                                                                                              Rvsd Plan - 00005832
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 266 of 346




   2758                                                         CAN. J. BOT. VOL. 60, 1982


        Table 2. Germination characteristics for seeds of Abies lasiocarpa and Picea engelmannii at constant temperatures

                                                                         Time until initial germination        Time until 50% maximum
                                    Germination (%)                                  (days)                       germination (days)
      Temperature
         (°C)             P. engelmannii          A. lasiocarpa        P. engelmannii       A. lasiocarpa    P. engelmannii   A. lasiocarpa

            10                3.5(2.!)*              1.0(0.6)*                  5                 8                7               —
            15               40.5(6.8)               7.1(1.4)*                  5                 1                8               15
            20               54.8(6.4)              40.0(2.6)                   4                 6                5               13
            25               42.0(4.5)              46.0(2.9)                   5                 1                7               15

        Note: Values in parentheses represent one standard error of the mean.
        *Indicates germination is significantly lower than the maximum value (P < 0.05).


                                                                                    period following the loss of the seed coat (Table 3).
                                                                                    Although the RGR of whole seedlings was greater in P.
                                                                                    engelmannii than in A. lasiocarpa, root RGR was
                                                                                    greater in A. lasiocarpa seedlings. The ratio of root-to-
                                                                                    shoot RGR was substantially greater for A. lasiocarpa
                                                                                    than for P. engelmannii seedlings (2.9 vs. 1.6).

                                                                                                            Discussion
                                                                                       There were numerous differences between seedlings
                                                                                    of P. engelmannii and A. lasiocarpa. They included
                                                                                    understory location, photosynthesis and root growth,
                                                                                    and differences in seed size and germination. Seedlings
                                                                                    of A. lasiocarpa were more abundant in locations
                                                                                    receiving less solar radiation (Fig. 1) and had correspon­
                                                                                    dingly greater photosynthetic rates at the lower light
                                                                                    levels characteristic of the understory environment (Fig.
                                                                                    2). The smaller seeds of P. engelmannii germinated
                                                                                    earlier and more rapidly than those of A. lasiocarpa and
                                                                                    the reduction in germination at lower temperatures was
                                                                                    greater for A. lasiocarpa. However, root growth and
                                                                                    penetration was greater for seedlings of A. lasiocarpa
                                                                                    (Fig. 4), and they were more abundant at understory
                               Seedling Age (weeks)                                 locations with thicker litter layers (Fig. 3).
       Fig. 4. Root and shoot lengths of seedlings of A. lasiocarpa                     The spatial heterogeneity of understory light in
    and P. engelmannii plotted on a weekly basis for a 10-week                      western coniferous forests may be an important factor
    period following germination. Vertical bars represent ± 1                       influencing the location of certain understory species
    standard error of the mean.                                                     (Young and Smith 1979, 1980). The ability of plants of
                                                                                    A. lasiocarpa to utilize low light levels more efficiently
    Table 3. Relative growth rates (grams per gram per day) of                      and the saturation of         at low incident radiation are
    entire seedlings and roots and shoots of A. lasiocarpa and                      characteristic of greater shade adaptation in this spe­
    P. engelmannii grown over a 10-week period and harvested at                     cies (Boardman 1977; Bazzaz 1979; Young and Smith
                          weekly intervals                                           1980). However, if low understory light is a factor
                                                                                    limiting the abundance of P. engelmannii seedlings in
                               P. engelmannii                  A. lasiocarpa        the subalpine understory, understory locations receiving
                                                                                    quantities of solar radiation below a minimum level
    Seedlings                   0.041(0.002)                   0.028(0.003)         should not be occupied by P. engelmannii seedlings. No
    Shoot                       0.038(0.003)                   0.019(0.004)         minimum threshold of total daily radiation was apparent
    Root                        0.051(0.001)                   0.055(0.003)         for either P. engelmannii or A. lasiocarpa in the
    Root/shoot                  1.6                            2.9
                                                                                    spruce-fir stands studied here (Fig. 1). Therefore, as
      Note; Values in parentheses represent one standard error of the mean.          stand age increases and the canopy closes, the reduced




                                                                                                            Rvsd Plan - 00005833
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 267 of 346




                                                       KNAPP AND SMITH                                                  2759

    amount of solar radiation reaching the forest floor does      seed) may increase the probability of successful estab­
    not appear to be solely responsible for the lower number      lishment of this conifer immediately following germina­
    of P. engelmannii seedlings in the understory relative to     tion, and the greater ratio of RGR of roots to shoots for
    those of A. lasiocarpa.                                       A. lasiocarpa compared with P. engelmannii suggests
       Solar radiation striking the forest floor can alter        that a greater proportion of photosynthate may be
    surface temperatures and water relations and, thus, have      allocated to root growth in A. lasiocarpa during the
    a strong influence on germination and establishment           subsequent period of growth when cotyledons and
    patterns (Koller 1972). Although A. lasiocarpa seed­          needles are photosynthesizing.
    lings were less common in understory locations receiv­           The different understory patterns observed for A.
    ing greater quantities of solar radiation, Knapp and          lasiocarpa and P. engelmannii may also reflect differ­
    Smith (1981) reported that the water relations of such        ences in substrates on the forest floor which are available
    seedlings did not appear to be adversely affected by          for establishment. The poor moisture retention of
    exposure to high levels • of solar radiation (>30             loosely compacted litter is well-known (Smith 1955;
    MJ-m"2-day“^). This result sugests that high understory       Prochnau 1963; Day 1964; Alexander 1974) while
    levels of solar radiation (>10MJ-m“2-day”*) are prob­         decayed wood in the understory has been reported to
    ably not detrimental to established A. lasiocarpa seed­       have excellent moisture retention (Day 1963, 1964).
    lings in the understory. However, the larger seeds of A.      Smith (1954) reported that in mature spruce-fir stands in
    lasiocarpa were slower to germinate than seeds of P.          the northern Rocky Mountains, mineral soil and de­
    engelmannii and germination was significantly reduced         cayed wood, which occupied 10% of the area, supported
    at ^15°C. These characteristics may delay germination         100% of the P. engelmannii seedlings. Seedlings of A.
    of A. lasiocarpa seeds until later in the spring when sur­    lasiocarpa were also more abundant on mineral soil and
    face soil moisture is more likely to be limiting and, thus,   decayed wood; however, 10% were found on litter
    could decrease germination and establishment of this          and moss seedbeds as well. Our results showed that,
    conifer in microsites that receive greater solar radiation.   although the majority of seedlings were found on litter,
    Rapid germination has been reported to be a potential         a larger portion of seedlings of both species also oc­
    mechanism for avoiding drought (Wright 1968; Pollock          curred in decomposing wood than would be expected
    and Roos 1972) and the ability of P. engelmannii to           from the area occupied by this substrate (Fig. 3). The
    germinate rapidly and at low temperatures, demon­             more frequent occurrence of A. lasiocarpa seedlings
    strated in the present study and by others (Patten 1963;      on thicker layers of litter suggests that establishment of
    Kaufmann and Eckard 1977), may allow this conifer to          this species may be less affected by litter depth,
    begin establishment earlier in the spring when soil           possibly due to the greater root penetration measured for
    moisture may be more favorable.                               seedlings of A. lasiocarpa. The detrimental effect of
       Rapid root growth and penetration into the soil may        thick litter layers on P. engelmannii establishment may
    also be important for avoiding drought or temperature         be especially severe in old-growth forests since litter
    extremes (Baker 1972). Many studies indicate that             depth generally increases with stand age in most forests
    larger seeds produce larger and more vigorous seedlings       (Reynolds and Knight 1973; Florence and Lamb 1974;
    compared with smaller seeds (Harper and Clatworthy            MacLean and Wein 1978).
    1963; Pollock and Roos 1972; Schaal 1980). Salisbury             In summary, the ability of A. lasiocarpa to produce
    (1942) reported that differences in seed size, and            significantly longer tap roots may increase the probabil­
    consequently differences in seedling growth and root          ity of A. lasiocarpa establishing on litter layers in the
    length, may strongly influence successional patterns          understory of mature spruce-fir forests and, thus,
    among species that reproduce solely by seed. Although         contribute to the greater abundance of this conifer
    numerous studies have shown that 1-year-old seedlings         compared with P. engelmannii in the understory.
    of A. lasiocarpa have longer roots than similar aged          However, the presence of decayed wood and small scale
    seedlings of P. engelmannii (Smith 1955; Eis 1965; Roe        variations in forest floor depth may provide a limited
    et al. 1970; Noble 1973; Day 1964), seed size may             number of locations for establishment of P. engel­
    influence seedling growth for only a short, but critical      mannii, even in very old forests. This feature, coupled
    period during early establishment (Baker 1972). In the        with the longer life span of P. engelmannii relative to A.
    present study, the tap root of A. lasiocarpa seedlings        lasiocarpa and the frequency of fire in this forest type
    was larger and had penetrated deeper into the soil than       (Day 1972) may allow P. engelmannii to remain a
    that of P. engelmannii following the initial 2-week           codominant climax conifer with A. lasiocarpa in the
    period of growth and this difference was maintained           subalpine zone of southeast Wyoming. Low levels of
    throughout the 10-week study. Greater initial root            understory light did not appear to be a limiting factor
    penetration in A. lasiocarpa (generated by the larger         responsible for the lower number of P. engelmannii




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 268 of 346




    2760                                                 CAN. J. BOT. VOL. 60, 1982


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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 269 of 346




                                                            KNAPP AND SMITH                                                      2761

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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 270 of 346




   Canadian Journal of                                         Journal canadien de
   Botany                                                      botanique
   Volume 60       Number 12      December 1982                Volume 60         numero 12     decembre 1982


   ARTICLE
   In situ H2 production and utilization by natural popula­
   tions of N2-fixing blue-green algae
                                   HansW. Paerl        2542
                                             Cell biology/Biologie cellulaire
   ARTICLES
   Ultrastructural association of the chromatin-containing Modification du pH vacuolaire des cellules epider-
   lacunar spaces with the vacuolar component of the inter- miques foliaires de Solanum dulcamara soumises a
   phase nucleolus in Allium cepa                           Faction d’un acarien cecidogene
                                 L. A. Chouinard       2624                                   Evelyne Westphal   2882
   Studies of vegetative compatibility-incompatibility in
   higher plants. V. A morphometric analysis of the de­
   velopment of a compatible and an incompatible graft
                                     Randy Moore       2780        ......

                                                    Ecology/Ecologie
   ARTICLES
   A laboratory study of postfire nutrient redistribution in   Phytosociological structure of seaweed communities
   subarctic spruce-lichen woodlands                           and the invasion of Fucus serratus in Nova Scotia
                M.-A. Dubreuil and T. R. Moore         2511                                         Mark Dale    2652
   Biomass allocation in hermaphrodite flowers                 Growth and reproduction of American ginseng (Panax
             Jon Lovett Doust and Paul B. Cavers       2530    quinquefolius) in Wisconsin, U.S.A.
                                                                     Susan G. Carpenter and Grant Cottam         2692
   Peatland vegetation organization and dynamics in the
   western subarctic, Northwest Territories, Canada            The productivity and carbohydrate economy of a de­
              M. A. Jasieniuk and E. A. Johnson        2581    veloping stand of Rubus idaeus
                                                                                             Gordon G. Whitney   2697
   Classification of fens near southern James Bay, Ontario,
   using vegetational physiognomy                              The effects of ozone and nitrogen fertilizer on tall
              Richard A. Sims, Daryl W. Cowell,                fescue, ladino clover, and a fescue-clover mixture. I.
                         and Greg M, Wickware          2608    Growth, regrowth, and forage production
                                                                                 Ruben A. Montes, Udo Blum,
   The composition, diversity, and heterogeneity of some                                  and Allen S. Heagle    2745
   jack pine (Pinus banksiana) stands in northeastern
   Ontario                        T. J. Carleton 2629          Factors influencing understory seedling establishment
                                                               of Engelmann spruce (Picea engelmannii) and subalpine
   Adaptation in widespread populations of Rumex crispus
                                                               fir (Abies lasiocarpa) in southeast Wyoming
   as determined using composite diagrams
                                                                      Alan K. Knapp and William K. Smith         2753
                      L. Hume and P. B. Cavers         2637

                             Mycology and plant pathology/Mycologie et phytopathologie
   ARTICLES
   Zoospore ultrastructure of Polymyxa graminis (Plasmo-       Populations of endogonaceous fungi at two locations in
   diophoromycetes)                                            central Iowa
      Donald J. S. Barr and Paula M. E. Allan          2496                 Christopher Walker, Carl W. Mize,
                                                                                    and Harold S. McNabb, Jr.    2518




                                                                                        Rvsd Plan - 00005837
                       Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 271 of 346




                                                                                    Historical Range of Variability:
                                                                                             A Useful Tool
                                                                                   for Evaluating Ecosystem Change
                                                                                                             Penelope Morgan
                                                                                                             Gregory H. Aplet
                                                                                                            Jonathan B. Haulier
                                                                                                            Hope C. Humphries
                                                                                                            Margaret M. Moore
                                                                                                              W. Dale Wilson



                                                                                 ABSTRACT. The concept of historical range of variability in eco­
                                                                                 system structure or process is valuable in luiderstanding and illus­
                                                                                 trating the dynamic nature of ecosystems; the processes that sustain
                                                                                 and change ecosystems, especially disturbances; the current state of

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Rvsd Plan - 00005838




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                                           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 272 of 346

                       88 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST

                             the system in relationship to the past; and the possible ranges of
                             conditions that are feasible to maintain. Because ecosystems are
                             structured hierarchically, historical range of variability must be char­
                             acterized at multiple spatial scales and relevant time scales. Histori­
                             cal range of variability is a useful reference for determining a range
                                                                                                         <D
                             of desired future conditions, and for establishing the limits of accept­    E
                             able change for ecosystem components and processes.
                                                                                                         >
                                                                                                         o
                             KEYWORDS. Natural range of variability, hierarchy, presettle­
                             ment, scale, sustainability, forest health, ecosystem management.


                                                    INTRODUCTION

                           The historical range of variability characterizes fluctuations in ecosys­
                       tem conditions or processes over time (Figure 1). It can describe variations
                       in diverse characteristics, such as tree density, vertebrate population size,
                       water temperature, frequency of disturbance or rates of change, and it can
                       be applied at multiple spatial scales from the site to regions comprising
                       millions of acres or more (Swanson et al. 1993). The essential function of
                       a description of historical range of variability is to define the bounds of
                       system behavior that remain relatively consistent over time.
                           The concept of historical range of variability has been developed to
                       describe the dynamics of ecosystems undergoing continual change. Pris­
                       tine forests were not undisturbed, but were subject to recurrent distur­
                       bances. In fact, recurrent disturbances are necessary to maintain the diver­
                       sity of ecosystem structures and functions that have supported the variety
                       of life and processes that we call biodiversity (Keystone Center 1991).
                       Many species are adapted not only to recurrent disturbance (Noble and
Rvsd Plan - 00005839




                       Slatyer 1980), but to particular disturbance regimes (Mutch 1970). Accu­
                       mulating evidence of the pervasiveness of change has led ecologists to
                       reject the concept of an equilibrium reached by ecological systems (Botkin
                       1990), although nonequilibrium dynamics at one scale can be incorporated          LU
                       within steady-state or equilibrium dynamics at a broader scale (Urban et          CE
                                                                                                         O
                       al. 1987).
                          The rate of change in ecosystem characteristics is as important to the         LL

                       concept of historical range of variability as is the magnitude of historical
                       fluctuations. The status of an ecosystem variable, such as the amount of
                       late successional forest in the landscape, may have varied dramatically
                       over time, but it did so at characteristic rates that reflect important ecosys­
                       tem processes. The rate of change affects the ability of species to adapt to
                                          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 273 of 346

                       90 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST                                                          Morgan et al.                             91

                       new conditions. Thus, the rate of change is likely to have as great an           behavior, especially the process of disturbance, and the maintenance of
                       influence on biodiversity as the ecosystem conditions themselves.                biological diversity. For instance, large areas of wilderness in interior
                           The range of variability in ecosystem conditions and processes has been      Alaska are likely within the bounds of historical disturbance regimes. As a
                       described using terms such as “historical,” “natural,” and “presettle­           result, these areas remain largely intact, having suffered few recent species
                       ment” (Kilgore 1987; Brooks and Grant 1992a, 1992b). Each of these               extinctions. Remote wilderness is not the only example in which mainte­
                       terms conveys different meanings to different people. To some, “histori­         nance of natural disturbance regimes sustains ecosystems. One of the most
                       cal” refers only to written or oral history; to others, “natural” and “pre­      dynamic systems in the world, the rocky intertidal zone, experiences fre­
                       settlement” leave people out of the ecosystem. Still others are concerned        quent severe disturbances during which fresh substrate is exposed to colo­
                       that none of these terms are bounded in time. We use “historical” more           nization by new individuals. In the absence of unnatural disruptions, such
                       broadly to describe dynamics over a time frame relevant to understanding         as oil spills, the dominant disturbance regime maintains the biodiversity of
                       the behavior of contemporary ecosystems and the implications for man­            the ecosystem (Sousa 1979).
                       agement. This period does not need to be on the scale of evolutionary time,          The effect of maintaining natural disturbance regimes extends to the
                       but it should reflect the adaptation of species to their dynamic environ­        managed landscape as well. Prescribed fires are being used to restore
                       ment.                                                                            many native plant communities. Similar effects can be achieved acciden­
                           In this paper we will address the following questions: What is the value     tally. At Fort Bragg, North Carolina, fires ignited by artillery shelling have
                       of the concept of historical range of variability? How can this concept be       maintained a historical disturbance regime of frequent, low-intensity fires
                       applied across multiple temporal and spatial scales? What are the mediods        that supports a phenomenal diversity of herbaceous plants beneath the
                       for describing historical range of variability? What are the implications for    pine overstory. In the same pine type where fires have been excluded,
                       management? We conclude with a brief set of recommendations to guide             shrubs have displaced many herbaceous species, resulting in the loss of
                       its use in the maintenance of forest health.                                     understory species diversity.
                                                                                                            Deleterious effects on biological diversity and ecosystem function are
                                             VALUE OF THE CONCEPT                                       often observed where ecosystem conditions and processes have been al­
                                                                                                        tered significantly from the historical range of variability. The exclusion of
                          One of the most difficult challenges facing resource management pro­          low-intensity surface fires from the ponderosa pine forests of the Inland
                       fessionals is the task of maintaining biological diversity, the components       West has so altered ecosystem structure and function that catastrophic fire
                       of the ecosystems we manage. One reason this is so difficult is that manag­      now threatens the sustainability of the forest ecosystem in some places
                       ers lack tangible models of sustainable ecosystems. As the human popula­         (Covington and Moore 1994a, 1994b). Barrows (1978) and Swetnam
                       tion has exploded throughout the world, humans have altered ecosystems           (1990) documented that fires occurring in ponderosa pine forests of the
                       in ways and at rates that are unprecedented in the evolutionary history of       southwestern United States are now 3 to 6 times larger than those occur­
Rvsd Plan - 00005840




                       these systems. The concept of historical range of variability provides a         ring prior to settlement by Euro-Americans. Habitat for animals such as
                       window for understanding the set of conditions and processes that sus­           the flammulated owl, northern goshawk and other species may be at risk
                       tained ecosystems prior to their recent alterations by humans.                   of elimination. Elsewhere, the invasion of exotic species has changed the
                          Historical range of variability can serve as a useful tool for understand­    composition, structure, and even the function of whole ecosystems in
                       ing the causes and consequences of change in ecosystem characteristics           ways that threaten the continued existence of the historical components of
                       over time. It provides a context for interpreting natural processes, especial­   those ecosystems (D’Antonio and Vitousek 1992; Vitousek 1986). Exam­
                       ly disturbance, and it allows variability in patterns and processes to be        ples include cheat grass in the sagebrush grasslands of the Inland West,
                       understood in terms of a dynamic system. Study of past ecosystem behav­          which supports fires of unprecedented frequency; and forest diseases, such
                       ior can provide the framework for understanding the structure and behav­         as chestnut blight in the eastern hardwood forest or white pine blister rust
                       ior of contemporary ecosystems, and is the basis for predicting future           in whitebark pine forests in the western US (Keane and Amo 1993) which
                       conditions.                                                                      have drastically reduced the abundance of formerly dominant trees.
                          There is evidence for the relationship between historical ecosystem               The historical range of variability provides researchers and managers
                                          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 274 of 346

                      92 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST                                                           Morgan et al.                              93

                      with a reference against which to evaluate present ecosystem change. This                                IMPORTANCE OF SCALE
                      is useful both for describing ecosystem dynamics and for measuring the
                      effects of management activities. For example, the historical range of vari­         The identification of the spatial and temporal scales relevant to ecosys­
                       ability is useful as a standard in cumulative effects analyses of environmen­    tem patterns and processes are critical to the concept of historical range of
                       tal impacts resulting from multiple management activities. In the Idaho          variability. The measurement of structure or process (including distur­
                      Cumulative Effects Watershed Analysis Process (Idaho Department of                bances) of an ecosystem and the resulting interpretations depend on the
                      Lands 1993), the amount of sediment likely to be generated through road           scale at which the measurements are made (Turner and Gardner 1991,
                                                                                                        Urban et ai. 1987; Wiens 1985). Scale refers to both spatial (e.g., size of
                      construction or other activities is compared against the range of variability
                      in reference data for in-stream fine sediments. The reference data have been      area) and temporal (e.g., length of time) dimensions. The level of biotic
                                                                                                        organization (e.g., organism to population) should be distinguished from
                      collected from the 1970s to the present in streams minimally altered by road
                                                                                                        the spatial and temporal scale (Turner and Gardner 1991; Wiens 1985). We
                      construction and other human activities and thus likely reflect a portion of
                                                                                                        endorse the implementation of a national hierarchical ecological classifi­
                       the range of conditions inherent in natural systems.
                                                                                                        cation framework (e.g., ECOMAP 1993) for organizing our spatial in­
                          Understanding ecosystem function and the magnitude of current depar­
                                                                                                        formation.
                      tures from historical conditions can help identify risks to ecosystem sus­           Patterns and processes operating at characteristic temporal and spatial
                      tainability. For example, if a landscape currently dominated by early succes­     scales can be hierarchically arranged (O’Neill et al. 1986; Urban et al.
                       sional forests had historically supported consistently high amounts of           1987). Nested hierarchies contain finer spatial scales and shorter time
                      old-growth, this significant departure from historical conditions indicates       scales at lower levels and broader spatial scales and longer time scales at
                       a potential threat to the long-term sustainability of old-growth dependent       higher levels (Urban et al. 1987). These broader scales provide context
                      species. Identification of such a risk resulted in considerable management        and constrain ecosystem structure and dynamics. Explanation of ecosys­
                       attention to the conservation of the ancient forests of western Washington,      tem properties may be sought in the interactions of the component parts
                      Oregon, and northern California (FEMAT 1993).                                     (Allen and Starr 1982; Urban et al. 1987). For instance, the species com­
                          The historical range of variability can also help in the identification of    position within a forest stand depends upon which species successfully
                      conflicting policies. For example, as has already been discussed, the             establish within available microsites (a finer scale). At a broader scale, the
                      policy of fire exclusion is inconsistent with the forest fire history of the      ecoregion constrains the species which can occur in a stand, and provides
                      Inland West. Continued fire exclusion is likely to lead to catastrophic fires,    a context for evaluating a given stand’s unique composition.
                      the opposite of the intended effect of the policy. Fire exclusion is also            The choice of the appropriate temporal and spatial scales should be
                      preventing the creation of biologically diverse early successional habitat.       based upon the objectives of the analysis (Bourgeron and Jensen 1993).
                      In western Oregon, where rare old growth has received most of the atten­          Different processes driving ecosystem change operate at different tempo­
                      tion, some researchers have called post-fire brush “the least common serai        ral and spatial scales. Site quality develops over geologic time, vegetation
Rvsd Plan -00005841




                      stage in the region” (Hansen et al. 1991). Moreover, control of “compet­          reflects successional time, and stream characteristics can change over very
                      ing vegetation” and language in the National Forest Management Act                brief periods. Broad-scale processes are usually slow (Urban et al. 1987).
                      encouraging rapid regeneration of harvested sites oppose the conservation         For example, the uplifting and downcutting of the Idaho Batholith that
                      of this important habitat type.                                                   formed the canyons and river breaklands in the Clearwater and Salmon
                          Finally, the concept of the historical range of variability is valuable for   River drainages occurred over 80,000,000 years (Alt and Hyndman 1989).
                      communicating the dynamics of complex ecosystems. To many, ecosys­                In contrast, the finer-scale process of landform erosion occurs over mere
                      tem processes, such as succession, may seem abstract until illustrated with       decades and centuries.
                      examples of resultant changes in ecosystem conditions. Historical range of           A uniquely appropriate spatial scale can be chosen for most ecosystem
                      variability provides a tangible illustration of ecosystem dynamics to help        patterns and their associated processes based upon the objectives of the
                      managers and the general public to reach a common understanding of the            analysis. When multiple processes are analyzed, each may occur at a
                      behavior of forest ecosystems, an essential step toward identifying and           different spatial scale, thus requiring analysis at several scales. Some
                      resolving conflict.                                                               processes, such as fire, influence ecosystems at multiple temporal and
                                           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 275 of 346

                       94 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST

                       spatial scales. Fire regimes are subject both to regional, long-term climatic
                       influences and local short-term bought cycles (Clark 1988; Swetnam
                       1993; Swetnam and Betancourt 1990). Furthermore, fire frequency differs
                       with the size of the area described (Amo and Peterson 1983). In such
                       cases, characterizing the historical range of variability across multiple
                       spatial and temporal scales is appropriate.

                       Relevant Temporal Scales

                          Temporal scale influences ranges of variability for an area. Over many
                       thousands of years, tectonic plate movements have produced changes in
                       landforms, species assemblages, and isolation (MacArthur 1972). Over
                       5,000 to 10,000 years, climatic shifts in the Inland West have resulted in
                       areas changing from glaciers to complex vegetation associations (Johnson
                       et al. 1993). In major volcanic emptions, ash was deposited to consider­
                       able depths, changing soil conditions and plant associations. These dra­
                       matic fluctuations are important to our understanding of the evolutionary
                       development of current biodiversity, but are of little practical use in pre­
                       dicting the short-term dynamics of contemporary ecosystems in the Inland
                       West.
                          Historical range of variability should be assessed over a time period
                       characterized by relatively consistent climatic, edaphic, topographic, and
                       biogeographic conditions. For forests, the time should encompass multiple
                       generations of trees, and should be at least a few centuries. In practice, the
                       time period will be constrained by the ability to look backwards through
                       time. Steele (1994) suggested a time frame of 100 to 400 years to be
                       appropriate for interpreting secondary successional dynamics. Hann et al.
                       (1993) suggested at least 100 years for their analysis.
Rvsd Plan - 00005842




                       Relevant Spatial Scales

                          Spatial scale has a major influence on how historical range of variabili­
                       ty is used, and on the variables chosen for assessment. Some ecosystem
                       variables have applications for very small areas, such as evaluating a
                       specific stand or site. Variables at this scale might include descriptors of
                       stand composition or structure, soil carbon or nutrient status, standing
                       biomass, or annual productivity (Figure 2).
                          At a scale encompassing a larger area, such as a watershed, variables
                       such as stream temperature, pool-to-riffle ratios, or in-stream flow might
                       be appropriate (Figure 2). Historical ranges of variability can be used as
                       reference baselines for analyses of the current status of the watershed for
                                          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 276 of 346

                       96 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST

                       cumulative effects determinations, for fish habitat assessments, or for          >,.c ta
                       water quality analyses.                                                            53 d
                          At a landscape scale, relevant variables might include acres of each
                       successional stage (e.g., Oliver and Larson’s (1990) understory reinitiation
                       stage) by habitat type present in the landscape (Figure 2). Such analysis
                       would provide insights into the relative abundance of different succession­
                       al stages occurring in the landscape at present and in the past. This in­
                       formation will be useful in determining ranges of desired future conditions
                       needed to maintain biodiversity (Haufler 1994).
                          It is critical that the historical range of variability be described at the
                       appropriate spatial scales. For example, cobble embeddedness, a measure
                       of the amount of fine sediment in a stream chaimel and an indicator of fish
                       habitat quality and stream health, was described for stream reaches within
                       the Fish Creek watershed in northern Idaho (Clearwater BioStudies, Inc.
                       1993). The 68,000 acre watershed was essentially undeveloped. Stream
                       channels were divided into 67 reaches based on Rosgen channel type.
                       Ranges of variability in the percent of cobbles embedded in stream bot­
                       toms were developed by stratifying stream reaches by adjacent landform
                       (Figure 3). Each landform has associated with it particular stream channel
                       characteristics, including gradient, amount and movement of fine sedi­
                       ment, and pool to riffle ratios. If cobble embeddedness were averaged and
                       incorporated into a single historical range of variability for all stream
                       reaches, the resulting range would be of limited utility for understanding
                       stream reaches that occurred adjacent to unusually erosive or stable land­
                       forms.
                          Thus, while the watershed may be the appropriate scale at which to
                       consider characteristics like stream volume and temperature, landform is
                       the more relevant scale for characterizing other aspects of water quality.
                       Landform also influences site quality, potential vegetation, and fire and
                       other disturbance regimes (Swanson et al. 1988). Because the adjacent
Rvsd Plan - 00005843




                       landform exerts such influence on site and stream characteristics, land­
                       form provides a link between the aquatic and terrestrial ecosystems.


                                         METHODS FOR DESCRIBING
                                     HISTORICAL RANGE OF VARIABILITY

                          Methods available for determining the historical range of variability
                       can be applied at a variety of scales and can provide various levels of
                       detail. The objectives of an analysis may require rapid assessment over a
                       large area or may dictate that detailed information be collected at a finer
                       scale of resolution. Variability may be characterized in terms of the states
                                            Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 277 of 346

                       98 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST                                                          Morgan et al.                              99

                       of an ecological system or may be focused on processes (Swanson et al.            maps and plot data (e.g.. Graves 1899; Leiberg 1900, 1899; Leiberg et al.
                       1993). Characterization of historical range of variability in terms of both       1904); early forest inventories (e.g., Lang and Stewart 1910); and compar­
                       system structures and processes is desirable whenever possible.                   ison of historical and current photographs (e.g., Progulske 1974; Gruell
                                                                                                         1983; Gruell et al. 1982; Veblen and Lorenz 1986; Boise National Forest
                       Tree Ring Analysis
                                                                                                         1993).
                                                                                                            Expert opinion (Caraher et al. 1992), comparisons of historical and
                                                                                                         current photographs, and qualitative descriptions provide general informa­
                          The annual growth rings of living trees, snags, logs, or stumps can be         tion that can be used to supplement quantitative data or serve as a primary
                       analyzed to estimate past and present age classes, serai stages, or species       source of information where quantitative data are lacking. Limitations
                       composition (Cooper 1960; White 1985). Age stmcture and fire scar anal­
                                                                                                         include potential bias and lack of rigor, detail, and length of record (Swan­
                       ysis can be used to estimate the pattern of vegetation and disturbance in
                                                                                                         son et al. 1993).
                       the past (Amo et al. 1993; Baker and Veblen 1990; Romme 1982).
                          Dendroecological techniques (Fritts 1971, 1976; Fritts and Swetnam             GIS Data Layers
                       1989) can be used in forested ecosystems to determine past climatic fluc­
                       tuations; to describe the past and present structure of forests by age               Maps of disturbance events at multiple time intervals and maps of
                       classes, serai stages, or tree density; to characterize patch sizes, frequency,   derived disturbance regime classes can be critical for assessment of histor­
                       and severity of disturbance regimes, including fire and, to a limited extent,     ical range of variability, if sufficient spatial information exists for their
                       insects and disease. Analysis of the number and width of annual growth            construction. Composite maps created from geographical information sys­
                       rings provides both climatic and ecological information where trees form          tems (GIS) overlays can be used in the various levels of hierarchical
                       consistent aimual rings. These methods are labor-intensive and time-con­          ecological classifications (Hann et al. 1993). Overlays of vegetation and
                       suming. The relative effects of climatic fluctuations, competition, insects       topographic variables such as slope, aspect and elevation can be used to
                       or disease, and other influences on growth may be difficult to identify and       indicate fire regime in some forested systems (Barrett and Amo 1991).
                       partition. Disturbances such as fires or timber harvest may remove much           Other data layers useful in determining ranges of variability include soils,
                       of the record of past disturbance, and as snags and stumps decompose it           geologic substrate, potential vegetation and climate attributes. Choice of
                       becomes more difficult to reconstruct past vegetation structure and distur­       scale and mapping units is dictated by the objectives of the analysis.
                       bance patterns.
                                                                                                         Substitutions for Historical Data
                       Paleoecological Methods
                                                                                                            Areas believed to have relatively unaltered disturbance regimes can be
                          Paleoecological techniques can be used to extend the length of record          used to assess ranges of variability, utilizing the full array of available
Rvsd Plan - 00005844




                       for characterizing disturbance regimes. Fire frequency over thousands of          techniques for quantifying pattern and process. Data from large wilderness
                       years can be determined from charcoal layers (which indicate fire occur­          areas or national parks may be applicable. Unfortunately, the degree to
                       rence) and pollen content (which indicates vegetation composition). These         which even large wilderness ecosystems have been altered by human
                       approaches are limited by lack of detailed information about fire events,         activities may limit their applicability to historical range of variability.
                       spatial extent of inferences, and difficulties in inferring the relationship      Alteration in fire regimes through fire exclusion in western forest systems
                       between pollen abundance and vegetation composition.                              is pervasive, severely reducing the number of suitable areas for such an
                                                                                                         analysis. Air pollution, hunting, grazing, mining, fire suppression, and
                       Written and Photographic Records                                                  other human activities both within and near wilderness areas have in­
                                                                                                         fluenced ecosystem structure and function. Also, wilderness areas seldom
                          Site-specific data sources and techniques include early land survey            include a full spectrum of ecological conditions. For instance, there are
                       records from the 1800s (General Land Office notes) (Bourdo 1956); forest          few low-elevation forest and shrubland types represented within wilder­
                       reserve reports from the late 1800s and early 1900s which may contain             ness areas.
                                           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 278 of 346

                       100 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST                             1                                   Morgan et al                              jqj


                          When the current range in variability of relatively unaltered areas is                 sustaining forest health. Indeed, this is the greatest value of assessing the
                       used as a sunogate, field sampling, remote sensing and statistical or expert              historical range of variability. Increased understanding of the processes
                       models are useful for characterizing that variability. The range of biophys­              that have shaped and will continue to shape ecosystem patterns will aid in
                       ical environments can be determined using classification techniques or            I       the design of management activities that work in concert with, rather than
                       expert models (DeVelice et al. 1993, Engelking et al. 1993). Biotic re­          !       counter to, these processes. Complete understanding is unattainable, but
                       sponses to ranges of environmental variability can be assessed using or­         I       management can be adapted (Walters 1986; Walters and Holling 1990) as
                       dination techniques such as canonical correspondence analysis (ter Braak         j        new information becomes available.
                       1988; Engelking et al. 1993) or generalized linear models (McCullagh and                     The risks and probabilities of changes in ecosystems are likely to be
                       Nelder 1989; Nicholls 1989; Engelking et al. 1993).                                       related to the magnitude and direction of departures from the historical
                                                                                                                 range of variability. Such risks and probabilities have both ecological
                       Modettng                                                                                  (Covington et al. 1994) and societal dimensions (McKetta et al. 1994).
                                                                                                                 When ecosystems are outside the historical range of variability, changes
                          Simulation models with stochastic properties that incorporate the ef­                  may occur dramatically and rapidly. An investment of money, energy, or
                       fects of disturbance on vegetation can be useful analytical tools for the                 human effort may be required to counter processes that would change the
                       assessment of historical ranges of variability. Individual-based models                   desired state of the ecosystem.
                       such as FIRESUM include effects of fire (Keane et al. 1990a, 1990b) and                      The historical range of variability provides managers and researchers
                       insects and introduced disease (Keane et al. 1990b). Inclusion of spatial                 with a reference against which to evaluate ecosystem change. It is useful
                       relationships in individual-based models, e.g., ZELIG (Smith and Urban                    as a monitoring baseline if the goals of management are defined relative to
                        1988) can extend their range of effectiveness. At the stand level, the effect            the historical range of variability.
                       of an insect pest on forests can be assessed using the PROGNOSIS model            I            '
                       linked with a spruce budworm model (Wykoff 1985). The impact of cli­             j       Range of Desired Future Conditions
                       mate change on ecosystem structure can be simulated using Forest-BGC
                       (Running and Coughlan 1988). Simulation models can be linked to GIS to           i           The historical range of variability in conditions, processes, populations,
                                                                                                        I       or structures of variability can be used as a reference in establishing the
                       provide input and display output. Baker (1992) used a GIS-based spatial
                       simulation model to examine the effects of fire on landscape dynamics in         1       range of desired future conditions. Societal needs and values should also
                       northeastern Minnesota. Well-validated simulation models incorporating           I       be considered when identifying the range of desired future conditions.
                                                                                                        I          The historical range of variability can be used to identify the range of
                       disturbance can provide estimates of ranges of variability in ecosystem
                       processes or other components when historical data are incomplete. Some­                 future conditions that are sustainable. Such an approach, based upon a
                       times, models can be used to reconstruct past conditions (Hann et al.            !       strong biological rationale, is scientifically defensible as a strategy for
                                                                                                        t       sustaining biodiversity.
                        1993). The simulation models can also be used to evaluate possible path­
Rvsd Plan - 00005845




                       ways of ecosystem change. Climate simulation models such as MTCLIM               j           The historical range of variability can be used to judge what sort and
                                                                                                        I       degree of complexity in a landscape is appropriate as a management goal.
                       (Hungerford et al. 1989) can be used to estimate climate attributes to
                       determine ranges of environmental variability and to support statistical                 Managers may choose to judiciously alter the size or frequency of distur-
                                                                                                        ,       bance in an ecosystem. For example, in ponderosa pine/Douglas-fir forests
                       modeling efforts.                                                                '       of the Inland West, Keane et al. (1990a) speculated, based upon simulation
                                                                                                        1       modeling results, that partial timber harvest could be combined with peri­
                                                                                                                odic prescribed fires at 20-year intervals to maintain the nutrient cycles,
                                       IMPLICATIONS FOR MANAGEMENT                                              stand structures, regeneration, growth and mortality of plants, and the
                                                                                                                range of stand and landscape compositions experienced when fires histori­
                          Studying the historical range of variability will greatly assist in under­            cally burned every 10 years. The effects of this alteration on vegetation
                       standing ecosystem processes and species adaptations to change within                    composition, structure, and other ecological characteristics should be
                       ecosystems. This knowledge is helpful in ecosystem management and in                     monitored to ensure that biodiversity is maintained.




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                                           Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 279 of 346

                       102 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST

                          Use of the historical range of variability approach does not necessarily
                       imply that systems must be maintained within that range (Figure 4), but
                       the risks associated with departure from historical conditions must be
                       acknowledged in the decision-making process. Any departure should be
                       made with caution, and the effects should be rigorously monitored for
                       undesirable results.

                       Acceptable Bounds for Ecosystem Change

                          The historical range of variability will be useful in defining the bounds
                       of acceptable ecosystem change, and in determining the minimum accept­
                       able levels for ecosystem elements and processes in managed landscapes
                       (Oliver et al. 1994). The limits of acceptable change approach used in
                       wilderness management embodies one such application (Hendee et al.
                       1990).


                                       LIMITATIONS OF THE HISTORICAL
                                       RANGE OF VARIABILITY CONCEPT

                          Although the historical range of variability is a useful concept, its
                       application in particular ecosystems is limited by lack of historical data,
                       difficulties in interpreting the historical record, and societal limitations
                       (Swanson et al. 1993). Additionally, many aspects of the future are likely
                       to be without historical precedent, limiting the usefulness of the historical
                       range of variability as a goal, per se. Lastly, synthesizing historical ranges
                       of variability for multiple characteristics of ecosystems and at multiple
                       spatial scales is difficult.
                          For many conditions and processes, the historical record reveals little
Rvsd Plan - 00005846




                       information. For example, very little data exist on historical stream flow;
                       the temperature, sediment content, or nutrient content of water; soil nutri­
                       ent content or turnover rates; and the influence of many diseases and
                       insects. Records are best where disturbance events were frequent and left
                       an indelible mark, and where ecosystems were little influenced by Euro­
                       American settlement prior to 1900. The historical range of variability
                       concept is most difficult to apply where recent human influence has been
                       great and/or where disturbances were infrequent and catastrophic, as more
                       recent disturbances destroy evidence of previous disturbances (Swanson et
                       al. 1993). Additionally, reconstruction of past vegetation structure and
                       composition is much more difficult where woody plants do not occur or
                       where they do not form distinct annual growth rings. In many cases.                                      103
                                         Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 280 of 346

                       104 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST                                                      Morgan et al.                               105

                       reconstruction of ecosystem structure is limited to the past one to three       In summary, we recommend and conclude the following.
                       centuries.
                          Interpretation of the historical record is limited by incomplete under­       1. The concept of historical range of variability in ecosystem structure
                       standing of the causes of observed phenomena. For instance, it is difficult          or process is valuable in helping to understand and illustrate the dy­
                       to interpret the relative influence of lightning, Native Americans, and              namic nature of ecosystems; the processes that sustain or change
                       Euro-American settlers on fire frequency and spatial pattern in the Interior         ecosystems, especially disturbances; and the current state of the sys­
                       West in the mid 1800s (Gruell 1985), and only the results of fires can be            tem in relationship to the past. Thus, the historical range of variabili­
                       observed, not their causes. Similarly, release events observed in tree rings         ty is useful in evaluating the sustainability of ecosystem conditions.
                       may be the result of fire, wind, insects, or some other disturbance.            2. The historical range of variability can become a reference for deter­
                           Societal values may also limit the designation of historical range of            mining a range of desired future conditions. Where the range of de­
                       variability as the range of desired future conditions. For example, while            sired future conditions is defined relative to it, the historical range of
                       managers increasingly understand the importance of large, stand-replacing           variability is useful as a baseline for monitoring.
                       fires in maintaining many forested ecosystems, the general public is likely     3. The historical range of variability can be used as a reference in es­
                       to find crown fires undesirable and would prefer to see such fires managed           tablishing the limits of acceptable change in key ecosystem patterns
                       to reduce the risk to human life and property, and to local populations of           and processes. Determining the departure of current conditions from
                       wildlife and their habitat. More fundamentally, many people do not under­            the historical range of variability can be helpful in assessing and
                       stand the dynamic nature of ecosystems and may not accept historical                communicating the risk and probability of change and the inputs re­
                       range of variability as a valuable concept. In addition, some levels of             quired to resist that change. Alternative future conditions can also be
                       desired products may only be obtained if ecosystems are managed outside             evaluated relative to the historical range of variability in ecosystem
                       the historical range of variability. In this case, either societal needs and        components and processes.
                       values must change or the costs and consequences to ecosystem sustain­          4. Because ecosystems are structured hierarchically, historical range of
                       ability must be understood and accepted.                                            variability must be characterized at multiple spatial scales appropri­
                          Finally, humans have changed many ecosystems so dramatically as to               ate to ecosystem processes. We endorse the implementation of the
                       limit the usefulness of historical conditions as a guide for the future.            hierarchical ecological classification system such as ECOMAP (1993),
                       Exotic species introductions, native species extinctions, air and water             which will help organize existing knowledge into a useful frame­
                       pollution, and climate change result in unprecedented conditions. Where             work. In addition, we must characterize the historical range of vari­
                       ecosystems are so altered, restoration of historical conditions is impossible       ability at time scales that are both relevant to ecosystem dynamics
                       or prohibitively expensive. Nevertheless, the historical range of variability       and management goals.
                       is extremely useful in understanding the origins of existing ecosystems,        5. A variety of methods exist to describe the historical range of vari­
                       and knowledge of past ecosystem dynamics is invaluable in projecting                ability, such as reconstruction of past forest structure and composi­
Rvsd Plan - 00005847




                       future ecosystem behavior.                                                          tion from tree rings, pollen in sediment, and historical photographs.
                                                                                                       6. Some limitations to the approach include the lack of historical data,
                                                                                                           difficulties of interpreting the historical record, and societal values.
                                   RECOMMENDATIONS AND CONCLUSIONS                                         The historical range of variability will be of limited utility as an al­
                                                                                                           ternative future model in ecosystems drastically affected by inva­
                          We will never completely understand all aspects of the composition,              sion of exotic species, air pollution, climate change, or the extinc­
                       structure, and function of contemporary ecosystems, much less their his­            tion or near elimination of some native species. However, even in
                       torical characteristics. This should not discourage investing in additional         these situations, the historical range of variability is a useful tool for
                       research into ecosystem structure, composition, and function. Research              understanding ecosystem function, which is essential to predicting
                       should be extended to understanding the historical range of variability in          the behavior of altered as well as natural ecosystems.
                       these characteristics, as this information is essential to understanding the    7. We must identify and maintain reference areas from which we can
                       causes of current conditions and projecting future alternatives.                    draw data to substitute for historical information. Where particular
                                          Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 281 of 346

                       106 ASSESSING FOREST ECOSYSTEM HEALTH IN THE INLAND WEST                                                                Morgan et al.                               107

                             ecosystems are not well-represented within research natural areas,              Botkin, D. B. 1990. Discordant harmonies. A new ecology for the twenty-first
                             wilderness, or other appropriate reference areas, additional areas                 century. Oxford University Press. 256 p.
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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 284 of 346
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 285 of 346




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                     principle of multiple use management of the Nation’s forest resources for sus­
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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 286 of 346




Abstract
Peterson, David L.; Agee, James K.; Aplet, Gregory H.; Dykstra, Dennis P.;
    Graham, Russell T.; Lehmkuhl, John F.; Pilliod, David S.; Potts, Donald
    F.; Powers, Robert F.; Stuart, John D. 2009. Effects of timber harvest
    following wildfire in western North America. Gen. Tech. Rep. PNW-GTR-776.
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Timber harvest following wildfire leads to different outcomes depending on the
biophysical setting of the forest, pattern of burn severity, operational aspects of tree
removal, and other management activities. Fire effects range from relatively minor,
in which fire burns through the understory and may kill a few trees, to severe, in
which fire kills most trees and removes much of the organic soil layer. Postfire
logging adds to these effects by removing standing dead trees (snags) and disturbing
the soil. The influence of postfire logging depends on the intensity of the fire, inten­
sity of the logging operation, and management activities such as fuel treatments. In
severely burned forest, timing of logging following fire (same season as fire vs.
subsequent years) can influence the magnitude of effects on naturally regenerating
trees, soils, and commercial wood value. Removal of snags reduces long-term fuel
loads but generally results in increased amounts of fine fuels for the first few years
after logging unless surface fuels are effectively treated. By reducing evapotranspi­
ration, disturbing the soil organic horizon, and creating hydrophobic soils in some
cases, fire can cause large increases in surface-water runoff, streamflow, and ero­
sion. Through soil disturbance, especially the construction of roads, logging with
ground-based equipment and cable yarding can exacerbate this effect, increasing
erosion and altering hydrological function at the local scale. Effects on aquatic
systems of removing trees are mostly negative, and logging and transportation sys­
tems that disturb the soil surface or accelerate road-related erosion can be particu­
larly harmful unless disturbances are mitigated. Cavity-nesting birds, small mam­
mals, and amphibians may be affected by harvest of standing dead and live trees,
with negative effects on most species but positive or neutral effects on other species,
depending on the intensity and extent of logging. Data gaps on postfire logging
include the effects of various intensities of logging, patch size of harvest relative
to fire size, and long-term (10+ years) biophysical changes. Uncertainty about the
effects of postfire logging can be reduced by implementing management experi­
ments to document long-term changes in natural resources at different spatial scales.
     Keywords: Fire effects, postfire logging, postfire management, salvage logging,
soil disturbance.



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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 287 of 346




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 288 of 346

                                                         Effects of Timber Harvest Following Wildtire in Western North America




 Introduction
Timber harvest following large wildfires is typically conducted to capture the
economic value of wood and sometimes may achieve other resource management
objectives (e.g., reduced stand densities). This practice (often referred to as “sal­
vage logging”) has been conducted for many decades in forests of western North
America. The social value of economic benefits versus potential changes in re­
source conditions has been debated in scientific and policy forums for two decades,
but little has been resolved. Recently, several authors have raised concerns about the
ecological effects of postfire logging (Beschta et al. 2004, Donato et al. 2006,
Lindenmayer and Noss 2006, Noss and Lindenmayer 2006), and McIver and Starr
(2001) and Lindenmayer et al. (2008) have synthesized the scientific literature on
postfire logging effects. Here, we expand on this literature to provide a broad
scientific basis for decisionmaking about timber harvest as a component of
postfire management.
    In this paper, we synthesize scientific findings on the effects of logging follow­
ing large wildfires, with emphasis on forests in western North America. Our objec­
tive is to clarify the extent to which different issues are supported by scientific data,
with a focus on reducing uncertainty in decisionmaking. We infer general prin­
ciples where possible, while recognizing that biogeographic variability influences
local ecological responses and management decisions.
    The 25 or so studies that have been conducted on the effects of postfire logging
in western North America (table 1) are disparate in geographic setting, study
design, sampling, and analytical approach (McIver and Starr 2000, 2001), but do
provide some basis for evaluation. In addition, the effects of wildland fire on forest
ecosystems in western North America have been described in considerable detail in
the scientific literature (e.g., Schmoldt et al. 1999), and the effects of logging on
forest ecosystems have been well described at spatial scales from stands to land­
scapes (e.g., Hunter 1999). We draw on all these sources of literature to consider
scientific issues relevant to timber harvest in postfire forest landscapes in western
North America. We synthesize information relevant to inferences about postfire
logging, and confine our analysis to the effects of large wildfires (typically >1000
ha) and subsequent harvest in the postfire environment.
    This paper focuses on forests of western North America, extending from
roughly the coastal ranges, Cascade Range, and Sierra Nevada eastward to the
Rocky Mountains and associated ranges, and from southwestern Canada to the
Southwestern United States. These forests include (1) dry forests dominated by
ponderosa pine (Pinus ponderosa Dougl. ex Laws.) and Douglas-fir (Pseudotsuga


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                                                                                    Rvsd Plan - 00005855
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 289 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




Table 1—Summary of scientific literature on the effects of postfire timber harvest in western North Americaa
Citation                                Forest type (locationb)                          Effect studied

Roy (1956)                              Douglas-fir (California)                         Tree regeneration
Klock (1975)                             Ponderosa pine-mixed conifer                    Soil erosion, vegetation cover
                                          (Washington)
Helvey (1980)                            Ponderosa pine-mixed conifer                     Soil erosion, water runoff
                                          (Washington)
Blake (1982)                            Ponderosa pine (Arizona)                          Shrub abundance and cover
Helvey et al. (1985)                    Ponderosa pine-mixed conifer                      Soil erosion, soil nutrients
                                         (Washington)
Potts et al. (1985)                     Conifer forest (Rocky Mountains)                 Water yield, soil erosion
Grifantini (1990)                       Douglas-fir-hardwood (California)                Grass cover
Marston and Haire (1990)                Conifer forest (Wyoming)                         Soil erosion, water runoff, organic
                                                                                          matter and litter
Grifantini et al. (1992)                Douglas-fir-hardwood (California)                Shrub and forb cover, plant diversity
Stuart et al. (1993)                    Douglas-fir-hardwood (California)                Vegetation cover (shrubs, forbs, ferns,
                                                                                           grasses, hardwoods, conifers)
Chou et al. (1994a,1994b)               Montane conifer (California)                     Soil erosion
Caton (1996)                            Mixed conifer (Montana)                          Cavity-nesting birds
Hitchcox (1996)                         Mixed conifer (Montana)                          Cavity-nesting birds
Hejl and McFadzen (1998)                Mixed conifer (Idaho, Montana)                   Cavity-nesting birds
Saab and Dudley (1998)                  Ponderosa pine, Douglas-fir (Idaho)              Cavity-nesting birds
Sexton (1998)                           Ponderosa pine (Oregon)                          Vegetation biomass and diversity, tree
                                                                                          and shrub growth and diversity, soil
                                                                                          moisture
Haggard and Gaines (2001)               Douglas-fir, ponderosa pine                      Cavity-nesting birds
Khetmalas et al. (2002)                 Subalpine fir (British Columbia)                 Ectomycorrhizae and bacteria in soil
McIver (2004)                           Ponderosa pine (Oregon)                          Soil disturbance and erosion
Hanson and Stuart (2005)                Douglas-fir-hardwood (California)                Vegetation composition and structure
Donato et al. (2006)                    Douglas-fir (Oregon)                             Tree regeneration, woody debris
McIver and McNeil (2006)                Ponderosa pine (Oregon)                          Soil disturbance and erosion
Macdonald (2007)                        Aspen-mixed conifer (Alberta)                    Vegetation composition
McIver and Ottmar (2007)                Ponderosa pine (Oregon)                          Tree regeneration, woody debris, fuels

a   From McIver and Starr (2001) and other recent sources.
b   All locations are in the United States except for Khetmalas et al. (2002) and Macdonald (2007).




2
                                                                                                Rvsd Plan - 00005856
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 290 of 346

                                                        Effects of Timber Harvest Following Wildtire in Western North America




menziesii (Mirb.) Franco), (2) moist forests dominated by Douglas-fir, grand fir
(Abies grandis (Dougl. ex D. Don) Lindl.), western redcedar (Thuja plicata Donn
ex D. Don), and western hemlock (Tsuga heterophylla (Raf.) Sarg.), (3) cold for­
ests dominated by Engelmann spruce (Picea engelmannii Parry ex. Engelm.), fir
species (Abies spp.), and lodgepole pine (Pinus contorta var. latifolia var.
murrayana (Grev. & Balf.) Engelm.), and (4) woodlands such as pinyon pine­
juniper (Pinus spp./Juniperus spp.) in the American Southwest.
    When these forests burn, the primary effects are mortality of trees and other
plants, emissions of carbon dioxide and other greenhouse gases, altered soil organic
layers including complete removal in some cases, and mineral soil heating that can
cause chemical transformations such as release of soluble nutrients. In many dry
forests, fire historically burned through the understory consuming plants, killing
seedlings, saplings, and some trees, and creating patches of bare soil. In many of
these forests, dense stands of ponderosa pine and/or Douglas-fir and understory
species such as grand fir have developed following grazing, removal of larger
pines, and/or fire exclusion (Agee 1993, Taylor and Skinner 1998). Dense forest
canopies and horizontal and vertical fuel continuity tend to favor crown fires rather
than the low-intensity surface fires that historically occurred in many of these
forests. In cold and moist forests, crown fire remains the norm, as it was histori­
cally, killing large patches of vegetation and altering soil properties over large
areas. Forests intermediate between dry and cool/moist often burn with a mix of
surface and crown fire.
    The ecological effects of postfire logging are influenced by various combina­
tions and intensities of the fire itself and management activities that affect (1)
ground disturbance by equipment and road use, (2) number of living and dead
trees and their spatial pattern following harvest, (3) postharvest fuel treatment, and
(4) in some cases, grass seeding and placement of various structures and materials
to mitigate the effects of fire and logging. Ground disturbance depends on the
yarding system used for logging, with tractor logging generally causing the most
soil disturbance, followed by cable yarding (which fully or partially suspends logs
above the forest floor during extraction), followed by helicopter logging (Dykstra
 1976, McIver and Starr 2001, Rice et al. 1972). The number and arrangement of
residual trees, slash treatment, and postlogging treatments are determined during
planning of postfire logging operations.




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                                                                                   Rvsd Plan - 00005857
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 291 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                               Another factor influencing the effects of postfire logging is the spatial scale of
                           both the fire and the logging operation (Peterson and Parker 1998). Fires may be
                           large or small, as may be the area affected by logging. Measuring the combined
 Effects of postfire       effects of fire and management activities on soils and water is difficult because (1)
 logging on natural        erosion and sedimentation are in some cases high at the scale of forest stands but
resources may              undetectable at the watershed scale, and (2) it is difficult to distinguish fire effects
depend on the scale        from management effects (Chou et al. 1994a). Similarly, deleterious effects on
at which the effects       wildlife species may occur at the stand scale, but effects on viability in the larger
are measured.              landscape may be minimal. As a result, effects of postfire logging on natural
                           resources may depend on the scale at which the effects are measured. Unfortu­
                           nately, we are aware of no research that allows us to adequately quantify these scale
                           effects or to address comprehensively the range of effects that are produced by all
                           combinations of fire and logging intensity.
                              We therefore focus most of our discussion on the effects of relatively intense
                           logging on severely burned landscapes. We generally do not address partial harvest
                           of burned forest (with the exception of the wildlife section), and we only briefly
                           consider the effects of postfire or postlogging mitigation. Many possible outcomes
                           exist between intense logging/severe burns and no logging/light burns, and future
                           studies will hopefully improve our understanding of these intermediate outcomes.
                           We refer throughout the paper to a conceptual model of forest growth and succes­
                           sion as a context for temporal patterns of overstory development, understory
                           development, standing dead trees (snags), and woody debris (= surface fuels)
                           following postfire logging (fig. 1). This model describes ecological trends for
                           general postfire management scenarios, and actual responses and trends are likely
                           to differ among different forests, fires, and management situations.

                           Effects of Postfire Timber Harvest on Vegetation
                           An important effect of fire on vegetation is to kill plants, which, in the case of
                           trees, generally occurs within 2 years following wildfire (Peterson and Arbaugh
                           1986). In addition to this primary mortality, fire can induce bark beetle-caused
                           mortality in residual and adjacent green trees, which may last for several years
                           following the fire (Amman and Ryan 1991, Edmonds et al. 2005, Furniss and
                           Carolin 1977). When a tree is killed, dead needles not consumed by fire fall to
                           the forest floor within a year or two, followed by branches and eventually boles.
                           Snags provide important habitat features and long-term delivery of carbon (C) and
                           nutrients to the forest floor when they fall (Harmon et al. 1986), which may take
                           several decades.


4
                                                                              Rvsd Plan - 00005858
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 292 of 346

                                                                  Effects of Timber Harvest Following Wildtire in Western North America




Figure 1—Conceptual diagram of temporal progression in biomass accumulation following wildfire
with various management scenarios. General stand structural stages are indicated on the x-axis. No
management action (upper diagram): no logging or surface fuel treatment; new forest grows through
natural regeneration or planting; surface fuel accumulates primarily as a result of falling snags and dead
understory. Postfire logging, no fuel treatment (middle diagram): most snags of commercial value
removed, leaving unmerchantable trees in the stand; new forest grows through natural regeneration or
planting; slash created by the logging operation not removed or treated. Postfire logging, fuel treat­
ment (lower diagram): most snags of commercial value removed, leaving unmerchantable trees in the
stand; new forest regrows through natural regeneration or planting; slash created by the logging opera­
tion is removed from the site. Actual biomass trajectories will differ considerably, depending on
vegetation characteristics and management actions.




                                                                                                                                     5
                                                                                                Rvsd Plan - 00005859
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 293 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                                Trees killed or badly damaged by fire or insects begin to deteriorate immedi­
                           ately, and commercial value declines as wood decays or is blemished owing to
                           insects, stain fungi, and decay fungi (Lowell et al. 1992). Insect and woodpecker
                           activity provides a mechanism for introducing fungal agents into sapwood (Farris
                           et al. 2004). Once initiated, sapwood decay progresses quickly, and sapwood of
                           some species may be completely stained within a few months. Insects and staining
                           fungi generally reduce product grade (and value) but seldom render wood unus­
                           able. Decay fungi also infect sapwood within the first year, and sapwood usually
                           deteriorates beyond commercial use by the second or third year (Kimmey 1955).
                               By the second year, the heartwood is colonized by decay fungi, and heart rot
                           begins to spread. Decay fungi affect wood properties, especially strength, thus
                           reducing volume of wood that can be converted into structural products. Wood
                           borers may also move into the heartwood, although damage from these insects is
                           seldom extensive and usually results in grade reductions rather than volume loss.
                           Weather deterioration causes longitudinal splits in wood by differential shrinkage
                           where bark is missing or thin, or on the ends of logs after felling. This damage is
                           usually minor in large standing dead trees, but smaller trees or species with thin
                           bark may be affected more extensively, reducing the grade of smaller logs (Lowell
                           and Cahill 1996). Progression of decay is similar in most conifer species, although
                           decay rate differs considerably: ponderosa pine, grand fir (fast) > Douglas-fir >
                           subalpine fir (Abies lasiocarpa (Hook.) Nutt.), Engelmann spruce, western larch
                           (Larix occidentalis Nutt.), and lodgepole pine (slow) (Hadfield and Magelssen
                           2006). Rate of volume loss is considerably lower for large logs than for small logs
                           (fig. 2).
                               Postfire logging modifies snag dynamics by lowering the density and average
                           size of dead trees (size distribution differs from site to site) and by altering site
                           conditions such as soil bulk density and windflow. Following fires in the Blue
                           Mountains of Oregon, snag biomass on harvested areas was generally <50 percent
                           of that on unharvested sites (McIver and Ottmar 2007). Following fires in Idaho,
                           the predicted half-life of ponderosa pine snags was 7 to 8 years (harvested) and 9
                           to 10 years (unharvested), and predicted half-life of Douglas-fir snags was 12 to 13
                           years (harvested) and 15 to 16 years (unharvested) (Russell et al. 2006). In this
                           case, postfire logging reduced the persistence of snags, at least partially because the
                           remaining snags were smaller and fell to the ground sooner than large snags.
                               Initial responses of the plant community to wildfire depend on prefire vegeta­
                           tion, seed banks, and the ability of plants to colonize the postburn environment.
                           After severe fires, invaders (highly dispersive, pioneering fugitives), endurers


6
                                                                             Rvsd Plan - 00005860
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 294 of 346

                                                                 Effects of Timber Harvest Following Wildtire in Western North America




Figure 2—Average rate of loss from general deterioration of the original wood volume in Douglas-fir trees of several diameter at breast
height classes for (A) second-growth wood (60 to 200 years old) and (B) old-growth wood (200 to 400 years). Note that the horizontal
axis for A covers only half as many years as that for B, indicating a much faster average deterioration rate for young trees as compared to
old-growth trees. From Kimmey and Furniss (1943).




(sprouting from the crown, roots, and stem base), and evaders (with adaptations
such as serotinous cones that open following fire) are likely to be the dominant
species (Rowe 1981). Resisters have adaptations (e.g., thick bark and high, open
crowns) that reduce fire injury during fires of low to moderate intensity. Avoiders
(species with no fire adaptations) may be locally extirpated from the site for
undetermined periods. Vegetation development following fire depends on the
prevalence in prefire vegetation of species with each of these strategies, site condi­
tions following fire, postfire management actions, and outside seed sources.
    Many historically low-severity fire regimes in western dry forests were domi­
nated by resisters like ponderosa pine and Douglas-fir. In mixed-severity fire
regimes, resister and evader species (e.g., knobcone pine, Pinus attenuata Lemm.)
are common, and in high-severity fire regimes with long fire-return intervals,
evaders (e.g., lodgepole pine) and avoiders (e.g., subalpine fir) are present.
Following severe fires, only evader species may be able to dominate early succes-
sional vegetation. Where severe fire kills all the trees in low-severity fire regimes,
resister-type conifers behave like avoiders; regeneration (without replanting) may
take a long time, because seed must be blown in from adjacent unburned forest.


                                                                                                                                         7
                                                                                               Rvsd Plan - 00005861
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 295 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                                Species that sprout or germinate from seed following heating, removal of sur­
The effects of             face organic material, or exposure to light tend to dominate the first few years
 postfire manage­          following fire. Postfire seedling densities may be high when a reliable seed source
 ment on vegetation        occurs in conjunction with favorable soil and weather conditions (e.g., Donato et
 recovery are com­         al. 2006); seedling densities may be low under poor conditions, especially if com­
 plex because of           petition with other plants is high, resulting in low germination and/or high seedling
 multiple succes-          mortality over time.
sional pathways                The effects of postfire management on vegetation recovery are complex be­
among forest spe­          cause of multiple successional pathways among forest species and structures follow­
cies and structures        ing wildfires (Frelich and Reich 1995). For example, Stickney (1986) recognized
following wildfires.       four distinct successional sequences after the Sundance Fire (Idaho) of 1967, with
                           short- and long-duration herb- or shrub-dominated phases. Logging and mitigation
                           for the effects of fire and logging create additional successional pathways for veg­
                           etation and fuels (Macdonald 2007). Nonetheless, some generalizations about
                           vegetation development following postfire logging can be made.
                               An immediate effect of postfire logging is soil disturbance. In unburned forest,
                           soil-disturbing activities can, in some cases, enhance establishment of species that
                           require mineral soil (Sessions et al. 2004). However, in the postfire environment,
                           logging is more likely to reduce resisters and evaders through direct mortality, if it
                           occurs after significant establishment has occurred (Donato et al. 2006, McIver and
                           Starr 2001, Roy 1956). Alternatively, logging may reduce serotinous evaders if it
                           results in the removal of cones prior to seed dispersal (Greene et al. 2006). The
                           functional effect of logging depends on subsequent establishment and mortality of
                           tree seedlings, and on timing of logging (same season as fire vs. subsequent years;
                           winter vs. other seasons); in many cases tree planting (and associated site prepara­
                           tion) replaces or supplements natural regeneration (Newton et al. 2006).
                               In an analysis of successional pathways and understory diversity in Douglas-fir/
                           hardwood forests in California, Stuart et al. (1993) found lower forb and shrub
                           cover on burned/logged sites than on burned/unlogged sites (2 years following
                           treatments). In contrast, hardwood cover was higher and shrub cover lower on
                           burned/logged sites than on burned/unlogged sites 12 years following treatments.
                           Douglas-fir regeneration (which included planting) was inhibited in both cases,
                           but by different competing understory species. In boreal mixed-wood forest in
                           Alberta, Macdonald (2007) found that single-tree and patch-retention harvest
                           following wildfire had no significant effects on plant species richness and between-
                           habitat (beta) diversity. Several environmental factors related to plant composition




8
                                                                            Rvsd Plan - 00005862
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 296 of 346

                                                        Effects of Timber Harvest Following Wildtire in Western North America




reflected variation in burn severity rather than logging, and they concluded that
the legacy of prefire plant species composition combined with burn severity had
a greater influence on postfire plant communities than the effects of logging.
    In addition to the impacts of soil disturbance, the removal of trees themselves
can affect the postfire plant community (e.g., Maser and Trappe 1984). Trees and
large woody debris provide perches for seed-dispersing birds, and their removal
may change the composition of the seed rain and therefore the plant community.
Woody debris also provides protected “safe sites” for germination and establish­
ment of some species, especially in the postfire environment, and their eventual
decay can facilitate recruitment of understory species long after the initial distur­
bance. When snags fall over, they create tip-up mounds, an important source of
                                                                                               Because postfire
seedbed diversity that can affect understory species composition.
                                                                                               logging occurs at
 Effects of Postfire Timber Harvest on Fuels                                                   various locations
                                                                                               and times and ap­
Fuels and potential fire behavior in forests burned by wildfire differ over time,
                                                                                               plies a variety of
with or without logging (e.g., Graham et al. 2004) (fig. 1). Surface fuel dynamics
                                                                                               standards, effects
following wildfires are a function of (1) prefire live and dead biomass; (2) tree
                                                                                               on fuels and subse­
species, which have different rates of litterfall, tree fall, and decay; (3) time,
                                                                                               quent fire behavior
because standing fuels decay and become surface fuels; and (4) events following
                                                                                               may be specific to
fire such as logging, windstorms, and delayed mortality owing to insects (Agee
                                                                                               local conditions.
1993). Fuel mass, fuelbed depth, and moisture content of available fuels contribute
to the postfire and postharvest fuel complex. Because postfire logging occurs at
various locations and times and applies a variety of standards, effects on fuels and
subsequent fire behavior may be specific to local conditions. Trees can be whole­
tree harvested, different size classes of trees can be removed, and remaining fine
fuels can be treated or not. These actions, in addition to tree species, affect the
amount and timing of fuels reaching the ground, as well as the successional trajec­
tory (Johnson et al. 2007).
   Larger fuels (>7.6 cm diameter) follow a predictable pattern after crown fire
(Agee 2002b) (fig. 1). Following initial mortality, snag biomass decreases over
time (Agee and Huff 1987, Spies et al. 1988), and smaller snags usually fall first
(Everett et al. 1999, Lehmkuhl et al. 2003). Biomass from fallen trees correspond­
ingly increases for decades, especially in dry and cold environments, but may
decline as the original snags that fell and created the woody debris begin to decay.
Tree mortality from self-thinning in the new forest increases the amount of smaller,
more easily decayed material (Harmon et al. 1986).



                                                                                                                           9
                                                                                   Rvsd Plan - 00005863
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 297 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                                         Postfire logging, without subsequent fuel treatment, has two effects on fuels:
                                    (1) the deposition of fine fuels (<7.6 cm diameter) on the forest floor, resulting in
                                    an increase in fire hazard in the short term, and (2) the removal of snags, resulting
                                    in a reduction of large fuels in the long term (figs. 1 and 3). Using empirical data
                                    for three stand treatments in the Blue Mountains (Oregon), McIver and Ottmar
                                    (2007) projected fine fuel loading over 30 years (fig. 4). Whole-tree yarding
                                    increased fine fuel loading above that in unlogged stands, an increase that persisted
                                   over 30 years, although levels in all treatments were similar after 20 years. Using
                                   empirical data for northern California forests, Weatherspoon and Skinner (1995)
                                   found that when wildfire in natural stands spreads to adjacent plantations, fire
                                   intensity and damage to the overstory are much lower in plantations where slash
                                   has been removed following logging.




Figure 3—Patterns of fine fuel (<7.6 cm) after stand-replacing wildfire simulated by the Fire and Fuels Extension of the Forest
Vegetation Simulator (Reinhardt and Crookston 2003) for a dry forest stand on the Bitterroot National Forest (Montana). The
harvest treatment here consisted of removing snags >30 cm d.b.h. and <15 cm d.b.h., with fuels treated by slashing, piling, and
burning. From Brown et al. (2003).




 10
                                                                                             Rvsd Plan - 00005864
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 298 of 346

                                                                 Effects of Timber Harvest Following Wildtire in Western North America




Figure 4—Simulated fine fuel load (<7.6 cm) in a dry forest in the Blue Mountains, Oregon. “Commercial” harvest
was defined as removal of most merchantable trees, while “10 cm” harvest was defined as removing most trees <10
cm d.b.h. No slash fuel treatment was applied to either harvest option, but whole trees (including tops and branches)
were cable-winched to landings. Scale of x-axis has been altered for display purposes. From McIver and Ottmar
(2007).




    In dry forests of interior western North America, large woody debris was
limited historically by frequent fire that consumed logs (Agee 2003, Skinner 2002).
Following a stand-replacement wildfire in a contemporary ponderosa pine forest,
large woody debris of 10 to 100 Mg/ha may be present (Agee 2002b, McIver and
Ottmar 2007, Passovoy and Fule 2006) compared to historical woody debris
biomass of 5 Mg/ha for dry ponderosa pine forest (Agee 2002b). Even higher
woody debris has been measured in Douglas-fir forest with a mixed-severity fire
regime (Wright 1998). Without treatment or removal, such high fuel loads may
complicate the reintroduction of low-severity fire to the recovering forest.
     The forest developing after wildfire or postfire logging may, over time, also
constitute a fire hazard because trees can act as part of the understory fuelbed. As
crowns emerge from the shrub layer, the low canopy base height creates torching
potential (cf. Scott and Reinhardt 2003). If the stand is dense (e.g., 10-cm d.b.h.
trees at a density of >1200 per ha), canopy bulk density may be high enough



                                                                                                                                   11
                                                                                              Rvsd Plan - 00005865
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 299 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                                        (>0.12 kg/m3) to carry independent crown fire under severe fire weather. Canopy
                                        base height will eventually increase, reducing torching potential. Fuel dynamics can
                                        also be affected by site productivity. For example, in the Olympic Mountains
                                        (Washington), fine fuel mass following fire at a productive site (Agee and Huff
                                        1987) was higher than short-term fine fuel mass following fire on drier sites (table
                                        2). In southwestern Oregon, sites burned with high-severity fire had lower fine fuel
                                        loads than unburned sites, but on the Olympic site, fuel mass in the first year post­
                                        fire was twice that of unburned forest primarily owing to branch fall caused by a
                                        windstorm during the first postfire winter.
                                           Some historical evidence suggests that fires block the spread of subsequent fires
                                       in low-severity and mixed-severity fire regimes. In ponderosa pine forest, large
                                       historical low-severity fires were generally followed by fires of smaller extent
                                        (Everett et al. 2000), implying a fuel-limiting effect on fire spread. Wright and
                                        Agee (2004) documented a similar phenomenon in mixed-conifer forest where
                                       historical (pre-1900) fires acted as barriers to subsequent fires. In Douglas-fir for­
                                       est with a mixed-severity fire regime, Taylor and Skinner (2003) showed that most
                                       fires burned different sites than the preceding fire. In the Entiat River watershed in
                                       the Cascade Range (Washington), a series of large fires has burned much of the dry
                                       forest in the lower watershed since 1970 (fig. 5), yet the pattern of fire spread does


Table 2—Fine fuel mass (<7.6 cm diameter) differs by site, over time, and by treatmenta

                                                                            Treatment
Location (reference)                        Time since fire         No logging     Logging        Unburned forest
                                                  Years                                 ^Mg/ha
Olympic Mountains, NW                              1                      13.5                         6.1
 Washington (Agee and                              3                       9.2                         6.1
 Huff 1987)                                       19                       5.3                         6.1
                                                 110                       5.2                         6.1
Siskiyou Mountains, SW                              1                      1.2                         6.1
 Oregon (Raymond                                    1                      3.6                        29.7b
 and Peterson 2005)
Siskiyou Mountains, SW                              3                      1.0           6.3           5.9
 Oregon (Donato et al. 2006)
Blue Mountains, NE Oregon                           3                      1.5     4.3 / 5.4c
 (McIver and Ottmar 2007)
a Each   line indicates a separate site within the geographic location.
b   Postthinning windthrow event.
c Two   harvest options (see text).




 12
                                                                                                 Rvsd Plan - 00005866
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 300 of 346

                                                                 Effects of Timber Harvest Following Wildtire in Western North America




Figure 5—Map of the lower Entiat River, eastern Cascade Range
(Washington), showing dates of wildfires and reburns. Small unburned
patches within the matrix of burned areas are identified with “U.” Black
areas are reburns.




not support reburn potential in previously burned areas. It appears that previously
unburned areas have the highest potential for burning, and that fires have stopped
at or near old burn boundaries.
     Although recent crown fire often reduces the probability of burning in the next
fire, it does not guarantee protection. For example, an analysis of fire hazard con­
ducted after the Cerro Grande Fire (New Mexico) of 2000 concluded that much
of the area burned would be at lower risk as a result of the fire, but that some areas
would be exposed to higher fire hazard, at least temporarily, as a result of the
buildup of fallen trees (Greenlee and Greenlee 2002). In addition, large wildfires
(>4000 ha) were found to occur at intervals of 15 to 20 years across any given
location in pine-dominated forests of northeastern California (Norman and Taylor
2003). The Biscuit Fire (Oregon) of 2002 burned through the Silver Fire of 1987


                                                                                                                                   13
                                                                                            Rvsd Plan - 00005867
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 301 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                           (mostly wilderness without postfire logging), which suggests that fuels had accu­
                           mulated sufficiently in 15 years to reburn.
                               The Tillamook fires of 1933-1951 in the Coast Range of Oregon are another
                           example of “reburn potential” but in a high-precipitation environment. The first
                           fire in 1933, started by logging operations in old-growth western hemlock-Dou-
                           glas-fir forest, spread to older slash, and burned >80 000 ha. In 1939, 76 000 ha
                           burned with 37 percent of the area a reburn of the 1933 fire. In 1945, 73 000 ha
                           burned with 50 percent of the area a reburn of the 1933 and 1939 fires. In 1951,
                           13 000 ha burned within the area burned in 1933 and 1939 (Oregon Department of
                           Forestry 1983). Repeated harvest operations were conducted, and one-third of the
                           timber killed in the 1933 through 1945 fires was harvested up to the time of the
                           1951 fire. Slash from the harvest operations likely helped carry some of the subse­
                           quent fires; other sources of fire spread were snags left from previous wildfires
                           (Oregon Department of Forestry 1983) and a vigorous understory of bracken fern
                           (Pteridium aquilinum (L.) Kuhn) (Isaac 1940). The Tillamook cycle of reburns was
                           broken after the 1951 fire-more than 300 km of snag-free fuelbreaks were con­
                           structed, some snags were harvested and others were dropped on site, road access
                           was improved, and fire prevention was promoted.
                               Understory response by forbs and shrubs is a less appreciated factor in postfire
                           fuel dynamics. If fire creates a favorable environment for annual grasses, substan­
                           tial fine fuel can be present within a year of the fire, and the potential for subse­
                           quent fire exists (Weatherspoon and Skinner 1995, Zedler et al. 1983). If response
                           is by shrubs and perennial grasses, moisture content generally remains high enough
                           during the fire season that potential fire behavior may be reduced (Agee et al.
                           2002, Raymond and Peterson 2005).
                              These findings suggest several conclusions about the effects of fire and subse­
                           quent logging on fuels. First, past fire generally reduces the probability of a site
                           burning again for a period of years to decades but can result, at least temporarily,
                           in fuel hazards above prefire conditions. Second, postfire logging creates activity
                           fuels that increase fire hazard, unless those fuels are effectively reduced or removed
                           from the site. Finally, the potential for reburn may remain high, regardless of
                           treatment of woody fuels, wherever regrowth of highly flammable fine fuels, such
                           as bracken fern and annual grass, is rapid.




 14
                                                                             Rvsd Plan - 00005868
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 302 of 346

                                                        Effects of Timber Harvest Following Wildtire in Western North America




 Effects of Postfire Timber Harvest on Soils and
 Hydrology

Forests accumulate organic matter in the absence of major disturbance, and west­
ern forests often exceed 500 Mg/ha in standing biomass, of which roughly half is
organic C. At maturity, 50 to 75 percent of aboveground C is in the boles of trees,
followed by the forest floor and tree crowns (table 3). Soil C concentrations are
generally high near the surface and decline with depth. Soil organic matter from
litter decay and root turnover is the main source of soil nitrogen (N), which is
concentrated near the soil surface and declines with depth, and N concentrations in
the forest floor of western forests commonly are much higher than in the mineral
soil (Cole and Gessel 1992).
    Intense wildfire typically oxidizes or volatilizes soil C and N in the forest floor
and surface layers of mineral soil (Dyrness et al. 1989), with heat duration and
depth of penetration dependent on fuel characteristics, weather conditions, and fire
behavior (Neary et al. 1999). Heating effects of fire on soil depend on temperature
of the fire, duration of heating, and soil moisture, with effects lasting a few years
to a few decades (Robichaud et al. 2000). Fire typically results in higher short-term
nutrient availability to plants (Haase and Sackett 1998), lower total nutrient content
in the soil, altered soil biota, and altered physical condition (Neary et al. 1999).
     Organic matter holds mineral soil in place, and crown fires typically eliminate
surface organic matter (Graham et al. 2004, Jain et al. 2004, Peterson et al. 2005),
leading to potential soil erosion. Erosive losses of surface soil from overland flow
can range between 1 and 85 Mg/ha or more in the first year, depending on fire
severity, slope, and precipitation (Baird et al. 1999). Depending on wildfire inten­
sity, much of the organic matter remaining in a forest stand may exist in standing
live and dead trees, and biomass removed during logging therefore alters the C
cycle. The potential for wood products (versus dead trees left to decay on site) to
sequester C (Johnson et al. 2005) depends on the life cycle of the products and
energy used for transportation and manufacturing.
    Nitrogen loss is a linear function of the amount of material consumed by fire
(McColl and Powers 1984). On drier sites in the Washington Cascades, surface
erosion accounted for N losses of up to 22 kg/ha in the first year after fire, al­
though much of it was redistributed downslope in the burned area (Baird et al.
1999). The greatest effect on soil fertility and N loss is caused by the loss of the
forest floor, the largest reservoir of aboveground N and other nutrients (DeLuca
and Zouhar 2000, Powers et al. 2005).


                                                                                                                          15
                                                                                   Rvsd Plan - 00005869
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 303 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




Table 3—Biomass and nitrogen contained in aboveground components of mature forests typical of western North
America
                                                                       Biomassb                               Nitrogenc
Location                    Forest type            Forest floor         Crown      Bole      Forest floor       Crown       Bole
                                                  Mg/ha (percentage ofaboveground total)     kg/ha (percentage ofaboveground total)
British Columbia          Subboreal white             65 (29)         32 (14)     126 (57)     815 (76)          58 (5)   195 (18)
                           spruce (Picea
                           glauca
                           (Moench) Voss,
                           Pinus contorta)
Colorado                  Subalpine fir              103 (31)         54 (16)     173 (52)     598 (46)       302 (23) 394 (30)
                           (Abies lasiocarpa)
Idaho                     Mixed conifer               70 (27)         31 (12)     160 (61)     436 (52)       220 (26)    190 (22)
                           (Abies, Picea,
                           Pinus)
Washington                Douglas-fir                   14 (8)        31 (17)     134 (75)     187 (37)       164 (32)    161 (31)
                           (Pseudotsuga
                           menziesii)
California                Mixed conifer               59 (11)        221 (42)     252 (47)     455 (43)       391 (37) 218 (20)
                           (Abies, Pinus)
Arizona                   Pine (Pinus                 47 (24)         31 (16)     121 (61)     291 (48)       176 (29)    145 (24)
                           ponderosa)
a Modified from Kimmins et al. 1985; Powers 2006.
b More than 50 percent of the biomass is in the boles.

c   Approximately 40 to 75 percent of the nitrogen is in the forest floor.




                                           Literature on specific effects of postfire management on soils centers on
                                       erosion impacts of road construction and sensitivity of the soil when the surface
                                       has been bared by fire (Beschta et al. 2004, McIver 2004, McIver and McNeil
                                       2006, McIver and Starr 2001). Skidding logs across bare ground disturbs and com­
                                       pacts soil more than other methods (Beschta et al. 2004, Klock 1975), particularly
                                       when soil moisture is near the plastic limit. Depending on soil texture, compaction
                                       can be detrimental or favorable to plant growth (Froehlich and McNabb 1984). On
                                       clayey soils, compaction degrades soil quality by increasing strength and reducing
                                       aeration porosity, whereas on sandy soils, compaction may enhance plant growth
                                       by improving soil water availability (Gomez et. al 2002, Powers et al. 2005).
                                           In either case, the immediate concern about soil compaction from postfire
                                       logging is that the size of surface soil pores can be reduced, and infiltration can be
                                       impeded, potentially causing increased surface erosion. This is especially a concern
                                       following fires in which surface litter has been consumed. The presence of even a


 16
                                                                                             Rvsd Plan - 00005870
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 304 of 346

                                                        Effects of Timber Harvest Following Wildtire in Western North America




thin litter layer can substantially reduce soil erosion (Powers 2002). A study
conducted in Portugal suggests that when soils are bared by wildfire, slash pro­
duced during logging can be used to cover the soil surface and reduce erosion
(Shakesby et al. 1996).
    As noted above, different logging systems have different effects on soil com­
paction and fertility. Tractor logging and ground-based equipment on relatively
level areas (<30 percent slope) cause the most soil compaction, although some
effects can be mitigated by avoiding wet soils, logging over snow, and operating
over slash rather than areas with thin forest floors. Cable yarding systems also
cause soil compaction, which is typically localized and potentially causes more
erosion where logs are dragged upslope. Skyline yarding, which suspends logs
above the ground, avoids most physical abrasion of the forest floor and mineral
soil. Helicopter logging greatly reduces soil impacts by minimizing movement of
logs along the ground.
    Soil water repellency (hydrophobicity) occurs where hydrophobic substances
produced by organic matter coat soil particles, thereby impeding water infiltration
into the soil profile, creating a functionally shallow soil. As water accumulates to
fill pore spaces, pore pressure increases and soil shear strength decreases until the
soil mass moves through the force of gravity (DeBano 2000). When soil heating
from fire results in temperatures between 176 and 288 °C, transfer of hydrophobic
substances into the mineral soil can be enhanced, resulting in increased water
repellency (DeBano 1981), Fire-induced hydrophobicity is transient and often
patchy. A study in the Front Range of the Colorado Rocky Mountains following
wildfire found that water repellency weakened progressively over a year and
diminished as soils became wetter (McDonald and Huffman 2004). Unburned sites
showed non-fire-related water repellency when soil moisture was <10 percent, and
lightly burned soils were repellent to soil moisture of 14 percent. However, repel­
lency persisted on severely burned sites even at soil moisture contents of >26 per­
cent. Poff (1989) observed in the Sierra Nevada that disturbance of the soil surface
by logging can in some cases disrupt hydrophobic layers and reduce water repel­
lency, but MacDonald (1989) cautioned that this potential benefit must be weighed
against the detrimental effects of logging. In some cases, managers have subsoiled
their lands along contours following postfire logging to mitigate the effects of
compaction on fine-textured soils and to break up hydrophobic layers (Webster and
Fredrickson 2005).




                                                                                                                          17
                                                                                   Rvsd Plan - 00005871
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 305 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                                Fire affects hydrology through the removal of aboveground canopy, removal of
Removal of living
                           litter, and, in some cases, development of a hydrophobic soil layer. Direct measure­
forest overstory
                           ments of the effects of fire on hydrology are rare, whereas the effects of vegetation
increases water
                           removal are well studied and can be used cautiously to infer fire effects (Neary et
yield, although
                           al. 2005a, 2005b, 2005c). Bosch and Hewlett (1982) reviewed 94 studies on the
increased water
                           effects of vegetation changes on water yield; Stednick (1996) updated this review,
yield is not detect­
                           and studies continue to be reported (e.g., Troendle et al. 2001).
able unless 20 to
                               Removal of living forest overstory increases water yield, although increased
40 percent of water­
                           water yield is not detectable unless 20 to 40 percent of watershed or forest basal
shed or forest basal
                           area is removed. As the percentage of forest removed increases beyond the detec­
area is removed.
                           tion threshold, water yield increases proportionally. Magnitude of increased water
                           yield is related to total annual precipitation, and water yield is higher in wet years
                           than dry years. Increased water yields in coastal forests of western North America
                           are greater than those in dry, interior forests.
                               Water yield typically increases significantly in the first year following fire
                           or logging, then decreases with time as vegetation reoccupies a watershed. This
                           “hydrologic recovery” is related to site quality, which in turn is determined by
                           temperature regime, moisture regime, and soil fertility. Recovery may take 60
                           to 80 years in high-elevation (ca. >1000 m), interior watersheds of western North
                           America. It may take <25 years in coastal watersheds, although analysis at Alsea
                           Experimental Watershed (Oregon) revealed that mechanisms of streamflow genera­
                           tion and routing had not recovered to predisturbance levels 28 years following
                           clearcut logging (although water yield had recovered) (Stednick 1996).
                               Soil water storage, interception, and evapotranspiration are reduced when veg­
                           etation is killed and organic material on the soil surface is consumed by wildfire
                           (DeBano et al. 1998, Neary et al. 2005b, 2005c). Changes in annual water yields
                           are about the same as those caused by forest harvest, although perhaps greater
                           because fire reduces absorptive soil organic material and kills some of the under­
                           story vegetation. Normal patterns of snow accumulation and melt may also be
                           changed. Infiltration may be reduced for several reasons, which in turn may
                           increase overland flow and alter subsurface flow. Changes in these processes result
                           in increased peak flow, altered runoff timing, altered base flow, and probable
                           changes in water quality (table 4). For example, following fires in the Bitterroot
                           Mountains (Montana) in 2000, the 24.5-km2 Laird Creek watershed, of which 30
                           percent burned with high severity (Nickless et al. 2002), experienced two flood
                           events within 2 days that would have been considered 200- to 500-year floods
                           based on unburned conditions (fig. 6) (Parrett et al. 2004), triggering significant
                           debris flows (fig. 7).

 18
                                                                             Rvsd Plan - 00005872
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 306 of 346

                                                      Effects of Timber Harvest Following Wildtire in Western North America




Table 4—Summary of changes in hydrologic processes produced by wildland fires
Hydrologic process            Type of change              Specific effect

Interception                  Reduced                     Less moisture stored
                                                          Higher runoff in small storms
                                                          Higher water yield
Litter storage of water       Reduced                     Less water stored
                                                          Higher overland flow
Transpiration                 Temporary elimination       Higher streamflow
                                                          Higher soil moisture
Infiltration                  Reduced                     Higher overland flow
                                                          Higher stormflow
Streamflow                    Changed                     Higher in most ecosystems
                                                          Lower in snow-ominated systems
                                                          Lower in fog-drip systems
Base flow                     Changed                     Lower (less infiltration)
                                                          Higher (less evapotranspiration)
                                                          Summer low flows (+ and -)
Stormflow                     Increased                   Higher volume Higher peak flows
                                                          Less time to peak flow
                                                          Higher flash flood frequency
                                                          Higher flood levels
                                                          Higher stream erosive power
Snow accumulation             Changed                     Fires <4 ha, increased snowpack
                                                          Fires >4 ha, decreased snowpack
                                                          Higher snowmelt rate
                                                          Higher evaporation and sublimation
Source: Neary et al. 2005a.




                                                                                                                        19
                                                                                 Rvsd Plan - 00005873
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 307 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                           Figure 6—Storm hydrographs from Laird Creek, near Sula, Montana. Adapted from data from the
                           U.S. Geological Survey.




                                                                                                                            Geological Survey




                           Figure 7—Flood deposits from a Laird Creek tributary blocked the Laird Creek channel following
                           storms of 20-21 July 2001, near Sula, Montana.




20
                                                                                  Rvsd Plan - 00005874
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 308 of 346

                                                        Effects of Timber Harvest Following Wildtire in Western North America




    Unfortunately, little research has been done that directly addresses the addi­
tional hydrologic impact of logging beyond the fire itself. Because postfire logging
takes place in an environment in which the canopy and soil have already been
modified, it is reasonable to conclude that logging will not add significantly to the
altered hydrology. However, to the extent that logging results in soil compaction, it
may exacerbate enhanced runoff, and soil disturbance is likely to add to the poten­
tial for debris movement.
    Forest roads, whether built to facilitate postfire logging or not, can exacerbate
hydrological effects by concentrating and channelizing surface and subsurface flow.
Forest roads are the largest source of erosion and sedimentation in forestry (Rice et
al. 1972, Sidle 1980) and may cause as much as 90 percent of total erosion result­
ing from forest management activities (Megahan 1980). Soil erosion associated
with roads is particularly severe during the first year or two after construction,
before cut banks and fill slopes have revegetated and stabilized. This may be
especially important when roads are built to provide access for postfire logging,
because landscape capacity to trap sediments above streams can be greatly reduced
following wildfire.
     Management of forest roads presents special challenges in the postfire environ­
ment. Streamflows typically increase for the first several years following vegetation
removal by fire, and a hydrophobic soil layer, if present, can accelerate runoff
(DeBano et al. 1998). As a result, culverts that are sized correctly for drainages
with intact vegetation may prove inadequate to handle increased runoff. In addi­
tion, streams are likely to carry more woody debris and sediment than usual
(Klock 1975, McIver and McNeil 2006), increasing the likelihood that culverts
may become plugged during storms. This can lead to culvert failure, greatly
increasing the quantity of sediment delivered to streams. Even when culverts do not
fail, plugging can result in temporary diversion of stream channels and increase
sedimentation. Where streams become diverted across roads, increased erosion of
road surfaces, cut banks, and fill slopes is almost certain (Furniss et al. 1998, Keller
and Sherar 2003).

Effects of Postfire Timber Harvest on Riparian
Systems and Aquatic Ecology
Riparian areas play a critical role in the postfire environment. They are often the
least severely burned part of the landscape owing to topography and the cooler
temperatures of canyon bottoms. Intact riparian buffers reduce sediment delivery
to streams, maintain cooler stream temperatures through shading, and minimize


                                                                                                                          21
                                                                                   Rvsd Plan - 00005875
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 309 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                           changes in aquatic habitat for fish and macroinvertebrates (Davies and Nelson
 Protection of
                           1994), all of which are especially important following wildfire. Vegetation in
residual structures
                           riparian areas also mitigates the effects of denuded slopes on wildlife by providing
following fire in
                           habitat for small mammals (Cockle and Richardson 2003), birds (Pearson and
riparian areas
                           Manuwal 2001), and amphibians (Pilliod et al. 2003).
(including smaller
                               A recent summary of the effects of fire and logging on riparian and aquatic
streams) is critical
                           systems (Reeves et al. 2006) concluded that protection of residual structures
for minimizing del­
                           following fire in riparian areas (including smaller streams) is critical for minimiz­
eterious effects.
                           ing deleterious effects. Few data exist on the effects of postfire logging on aquatic
                           ecosystems, although effects can be inferred from the literature on riparian fire
                           (Dwire and Kauffman 2003, Everett et al. 2003), fire effects, and logging effects.
                           Information on the effects of fire on aquatic vertebrates has focused primarily on
                           salmonid fishes (Dunham et al. 2003, Gresswell 1999, Rieman et al. 2003) and to a
                           lesser extent on amphibians (Pilliod et al. 2003). Short-term (<3 years) effects on
                           aquatic vertebrates are generally negative. Severe fires that burn through riparian
                           areas can cause mortality or emigration of fish and other organisms owing to heat­
                           ing and changes in water chemistry (Minshall et al. 1997, Rieman and Clayton
                           1997). Other potential changes include loss of in-channel wood, loss of vegetation,
                           reduced soil infiltration, increased erosion, changes in timing and amount of
                           runoff, elevated stream temperature, and altered channel morphology (Wondzell
                           and King 2003).
                               Substantial information exists on the effects of logging on fish and amphibians
                           (Corn and Bury 1989; deMaynadier and Hunter 1995; Hawkins et al. 1982, 1983;
                           Murphy and Hall 1981; Murphy and Koski 1989; Murphy et al. 1981). Most of this
                           literature documents adverse responses, although relationships of specific effects to
                           harvest area and to proximity of logging to streams are poorly quantified. Removal
                           of snags following fire may affect macroinvertebrate (Minshall 2003), fish, and
                           amphibian populations, because large wood recruitment into streams following fire
                           alters channel morphology (e.g., steps, pool habitats), sediment transport, and
                           nutrient cycling (Gregory and Bisson 1996, May and Gresswell 2003). Long-term
                           (>10 years) effects on aquatic systems and biota depend on the context and scale of
                           disturbance (Reeves et al. 2006). Erosion following fires and logging can provide
                           wood and coarse sediment that maintain productive habitats (Reeves et al. 1995),
                           create heterogeneity in channel structure and complexity, and temporarily increase
                           aquatic productivity through nutrient transfer (Minshall 2003). Benthic macroin­
                           vertebrate populations recover within a few years after fire (Minshall 2003), and
                           fish communities in Idaho recovered within 10 years after severe fires (Rieman and
                           Clayton 1997).

22
                                                                            Rvsd Plan - 00005876
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 310 of 346

                                                        Effects of Timber Harvest Following Wildtire in Western North America




    Postfire logging activities such as road building and log skidding can increase
surface soil erosion, resulting in increased sedimentation of stream substrates
(Church and Eaton 2001, Ketcheson and Megahan 1996, Lee et al. 1997, Rieman
and Clayton 1997). High sediment loads can bury fish and amphibian eggs and
eliminate protective interstitial cavities used by juvenile fish, larval amphibians,
and benthic invertebrates (Beaty 1994, Church and Eaton 2001, Gillespie 2002,
Minshall et al. 1997). Mass wasting and debris flows, often associated with struc­
tural failure of roads or removal of trees near drainage headwalls are the most
damaging to stream habitat. If postfire management activities alter aquatic system
recovery processes in terms of physical and biological landscape elements (e.g.,
wood in streams) and frequency and severity of natural disturbance, those activities
can delay development of late-successional conditions (Beschta et al. 2004).
Conversely, management activities that complement ecosystem recovery processes
may help minimize long-term damage to aquatic systems (Reeves et al. 2006).

Effects of Postfire Timber Harvest on Terrestrial
Wildlife
The effects of postfire logging on terrestrial wildlife species depend on characteris­
tics of the animal as well as characteristics of the environment. Most studies infer
causes of observed postfire and postharvest patterns from life history traits and
habitat relationships, with changes in wildlife abundance mediated by changes in
vegetation composition and structure (Bunnell 1995, Pilliod et al. 2003, Saab and
Powell 2005, Smith 2000). In general, arboreal species associated with closed
forest canopies decline following crown fires, and species associated with open
forest conditions and snags increase (Hutto 1995, Kotliar et al. 2002, Pilliod et al.
2006, Saab et al. 2005). Terrestrial species dependent on shrub and herb understo­
ries for food and cover (e.g., ungulates) generally benefit from increased diversity
of understories following fire, although species associated with woody debris may
decrease in the short term until new down wood is recruited (Lyon and Smith
2000, Pilliod et al. 2006). Depending on species tolerance to postfire conditions,
recolonization of a burned forest may occur within days or years (Lehmkuhl 2005).
If only low-quality habitat is available, an animal may remain in unburned forest
patches or move elsewhere until conditions become favorable.
    In general, fire has a positive or neutral effect on cavity nesting birds, whereas
postfire logging has a negative effect on most of these species (table 5). There is
evidence that Lewis’ woodpecker (Melanerpes lewis) may benefit from limited
postfire logging that accelerates the development of open stands (Haggard and


                                                                                                                          23
                                                                                   Rvsd Plan - 00005877
                        Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 311 of 346



      Table 5—Summary of responses of cavity-nesting bird species to fire, timber harvest, and postfire timber harvest, including supporting evidence”

      Species                              Fire                         Timber harvest           Fire and timber harvest            Citation
      Black-backed woodpecker              Positive (12)                Negative (10)            Negative (3)                      Caton 1996, Hitchcox 1996, Hobson and Schieck
       (Picoides arcticus)                                                                                                          1999, Hutto 1995, Imbeau et al. 1999, Kotliar et al.
                                                                                                                                    2002, Kreisel and Stein 1999, Saab and Dudley
                                                                                                                                    1998, Saab et al. 2004, Stepnisky 2003
      Downy woodpecker                     Neutral (6),                 Neutral (11),            Neutral (4), occasionally         Caton 1996, Franzreb and Ohmart 1978,
       (P. pubescens)                       occasionally                occasionally             negative (1)                       Greenberg et al. 1995, Hitchcox 1996,
                                            positive (2)                negative (1)                                                Hobson and Schieck 1999, Hutto 1995,
                                                                                                                                    Stepnisky 2003
      Hairy woodpecker (P                  Positive (11),               Positive (9)             Negative (4)                      Caton 1996, Franzreb and Ohmart 1978,
       villosus)                            especially 1 to 2                                                                       Hitchcox 1996, Hobson and Schieck 1999,
                                            years postfire (2)                                                                      Hutto 1995, Johnson and Wauer 1996, Kotliar et al.
                                                                                                                                    2002, Kreisel and Stein 1999, Saab and Dudley
                                                                                                                                    1998, Saab et al. 2004, Stepnisky 2003
      Three-toed woodpecker                Positive (10),               Negative (9),            Negative (2)                      Caton 1996, Franzreb and Ohmart 1978,
       (P tridactylus)                      especially 1 to 2            occasionally                                               Hitchcox 1996, Hobson and Schieck 1999,
                                            years postfire (2)          neutral (1)                                                 Hutto 1995, Imbeau et al. 1999, Johnson and
                                                                                                                                    Wauer 1996, Kotliar et al. 2002, Kreisel and
                                                                                                                                    Stein 1999, Stepnisky 2003
      White-headed woodpecker             Negative (1)                  Negative (1)             Negative (1)                      Garrett et al. 1996
       (P. albolarvactus)
      Lewis’ woodpecker                   Positive (1)                                           Positive (2)                      Hitchcox 1996, Johnson and Wauer 1996, Saab
       (Melanerpes lewis)                                                                                                           and Dudley 1998, Saab et al. 2004
      Mountain bluebird (Sialia            Positive (9)                 Positive (7) or          Negative (4)                      Caton 1996, Hitchcox 1996, Hobson and Schieck
       currucoides)                                                     neutral (1)                                                 1999, Hutto 1995, Johnson and Wauer 1996,
                                                                                                                                    Kotliar et al. 2002, Raphael and White 1984,
                                                                                                                                    Saab and Dudley 1998, Saab et al. 2004
CZ5   Western bluebird                     Neutral (5),                 Neutral (9)                                                Hutto 1995, Johnson and Wauer 1996
CL     (5. mexicana)                        occasionally
hd
1——                                         positive or
p                                           negative (1)
  1   Northern flicker (Colaptes           Neutral (7),                 Neutral (9),             Neutral (1)                       Franzreb and Ohmart 1978, Greenberg et al.
§      auratus)                             occasionally                occasionally                                                1995, Hobson and Schieck 1999, Horton and
                                            positive (5) or             positive (1)                                                Mannan 1988, Hutto 1995, Kotliar et al. 2002
s
oo
                                            negative (1)
      Note: All responses indicate number of studies that found an effect (usually p < 0.05) on abundance or occurrence compared with unbumed or unharvested plots. Neutral indicates no
      significant effect (p > 0.05) of fire or timber harvest; this category is likely underrepresented in the literature. See Hutto (1995) and Kotliar et al. (2002) for additional references.
oo
      ” Number of studies listed in parentheses.
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 312 of 346

                                                       Effects of Timber Harvest Following Wildtire in Western North America




Gaines 2001, Saab et al. 2002), although Hutto and Gallo (2006) found no signifi­
cant effect. In contrast, black-backed woodpeckers (Picoides arcticus) and three­
toed woodpeckers (P. tridactylus) are associated with dense stands of snags, and
postfire logging likely would be detrimental to their occupation of the site (Hutto
and Gallo 2006, Saab and Dudley 1998, Saab et al. 2002). Providing a mix of open
and dense snag stands, either through retention of natural patchiness or by logging,
may increase the abundance and diversity of cavity-nesting species over the short
term (ca. 5 year) (Haggard and Gaines 2001, Saab and Dudley 1998).
     Traditional snag retention guidelines are based on the notion that snag harvest
that targets tree species and smaller trees with little cavity-excavation value might
have minimal effects on nesting potential. Tree species such as subalpine fir and
lodgepole pine create hard snags that mostly fall entire (Everett et al. 1999) and
are little used for cavity excavation (Lehmkuhl et al. 2003), although they appear
to have value for feeding of beetles and birds (Hutto 2006). Snags <25 cm d.b.h.
are generally too small for nests of cavity-excavating birds (Rose et al. 2001). If
snags are very dense, then removal of some snags may have little effect (Mellen
et al. 2002), especially where the density of primary cavity-nesting birds is limited
by territorial behavior (Bunnell 1995, Raphael and White 1984). However, that
relationship would not be expected to hold for subsequent use by secondary cavity­
nesting birds and mammals (Raphael and White 1984) or where nest density is
limited by insect food sources during the first 5 years after fire when bark beetles
and wood-boring beetles attract insectivorous birds (Hutto and Gallo 2006,
Lehmkuhl et al. 2003). Snag density guidelines for individual species closely
associated with postfire habitats could facilitate management of multiple species
(Hutto 2006).
    Postfire logging can alter the abundance of large woody debris (fig. 1), which
provides important habitat for many wildlife species (Bull 2002; Bull et al. 1997;
Bunnell et al. 2002; Maser et al. 1979; Pilliod et al. 2003, 2006). Large woody
debris provides (1) increased abundance of insects (Koenigs et al. 2002) used by
foraging birds, bears, and other insectivores; (2) denning and foraging areas for
forest carnivores; (3) cover and fungal fruiting bodies for food for small mammals;
(4) basking sites and cover for reptiles; and (5) moist microhabitats for sala­
manders. Postfire logging initially increases the amount of small-diameter wood
(slash), but large woody debris declines over decades as fewer snags are available to
replace wood lost to decomposition (fig. 1). Lack of large woody debris may alter
species occurrence or abundance of some wildlife species in regenerating forests




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                                                                                  Rvsd Plan - 00005879
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 313 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                           following postfire logging, depending on stand conditions and number of snags
Good postfire snag
                           removed, although it is difficult to quantify thresholds of down wood abundance
 habitat occurs
                           relative to wildlife habitat quality. For example, in ponderosa pine forests of
where (1) manage­
                           central Oregon, golden-mantled ground squirrel (Spermophilus lateralis) density
ment actions pro­
                           and survival were lower in stands with low levels of down wood (16 m3/ha) than
 mote tree species
                           with high levels of down wood (118 m3/ha), although this pattern was not observed
and large size
                           for yellow-pine chipmunk (Tamias amoenus) or deer mouse (Peromyscus
classes favored for
                           maniculatus) (Smith and Maguire 2004).
cavity excavation,
                               Good postfire snag habitat occurs where (1) management actions promote tree
(2) patchiness in
                           species and large size classes favored for cavity excavation, (2) patchiness in stand
stand densities
                           densities provides postfire habitats for different species, and (3) defective trees that
 provides postfire
                           provide immediate postfire cavity excavation opportunities are created and retained.
 habitats for different
                           Attaining desired size, density, and distributions of snags and down wood is an
species, and (3)
                           important consideration for short-term postfire management (fig. 8). Managing for
defective trees that
                           longevity of snag habitats helps to minimize the “snag gap” from the time when
 provide immediate
                           snag abundance falls below a habitat-use threshold to the creation of new snags in
 postfire cavity exca­
                           the burned landscape with regenerating trees (Everett et al. 1999, McIver and
vation opportunities
                           Ottmar 2007, Saab and Dudley 1998).
are created and
 retained.




                           Figure 8—Distribution of density classes for snags >25 cm d.b.h. in unlogged and unburned
                           ponderosa pine/Douglas-fir forest wildlife habitat and large-tree structural class based on 73
                           inventory plots. Derived with the program DecAID (Mellen et al. 2002; accessed online May 2006).




26
                                                                                  Rvsd Plan - 00005880
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 314 of 346

                                                                  Effects of Timber Harvest Following Wildtire in Western North America




   Managing for forest conditions characteristic of different fire severities may
support the most bird species because different species respond positively to
different fire severities (Smucker et al. 2005). For example, large-scale stand­
replacement fires may negatively affect spotted owl (Strix occidentalis) populations
in dry forests (Gaines et al. 1997), but habitat patchiness created by small stand­
replacement fires or fires with both high and low severity may be beneficial (Bond
et al. 2002). Assuming that species are adapted to persist across large landscapes, a
parsimonious guideline for estimating “how much is enough” is to manage for a
specified tolerance level of snag or down wood availability (Mellen et al. 2002)
(fig. 9) within a known range of variability (Agee 2003, Hessburg et al. 1999,
Landres et al. 1999).




Figure 9—Cumulative bird species curves for density of snags >25 cm d.b.h. at 30 percent, 50
percent, and 80 percent tolerance levels for the post wildfire ponderosa pine/Douglas-fir wildlife
habitat of eastern Washington and Oregon. Tolerance levels are statistical estimates of the percent­
age of individuals in the population that use areas with less than or equal to the indicated snag
density. They define the range of management options for maintaining a given percentage (i.e., 30
percent, 50 percent, 80 percent) of the population for different species. For example, the 80 percent
tolerance level for BBWO indicates that 80 percent of the individuals in the population have been
found to use areas with 300 snags/ha or less. In contrast, 80 percent of LEWO individuals have
been found in areas with up to 155 snags/ha. Letter codes mark values for cavity-excavating bird
species: WHWO = white-headed woodpecker, LEWO = Lewis’ woodpecker, NOFL = northern
flicker, WEBL = western bluebird, MOBL = mountain bluebird, HAWO = hairy woodpecker,
BBWO = black-backed woodpecker. Derived with the program DecAID (Mellen et al. 2002;
accessed online May 2006).




                                                                                                                                    27
                                                                                               Rvsd Plan - 00005881
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 315 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                           Conclusions
                           Possible outcomes ranging from negligible to highly significant can be expected
                           in response to logging following large wildfires. Variation in the biophysical setting
                           of forest landscapes affects the ways in which fire and logging alter physical and
                           biological components of forest ecosystems and natural resource values. Diverse
                           fire phenomena and logging activities further add to variability in specific effects.
                           Despite this variability, several principles about the effects of postfire timber
                           harvest emerge from our review.
                           •   Timing of timber harvest following fire affects the magnitude of ecological
                               and economic effects. Specifically, logging can cause mortality of naturally
                               regenerating trees if it disturbs the soil after trees have established, or it can
                               prevent establishment if it removes the seed source prior to dispersal.
                               Mortality of natural regeneration is less consequential if trees are planted to
                               obtain desired species and stem densities. Logging soon after fire provides
                               the highest value of wood for commercial use.
                           •   Crown fire typically reduces the probability of future fire for years to
                               decades. Logging reduces fuel loads over the long term, although its effects
                               on subsequent fire potential may depend on time scale: fine fuels from
                               decaying snags affect potential fire behavior in the short term, whereas
                               large fuels from decaying and falling snags affect the nature of potential
                               fire effects (e.g., smoke production) in the long term. Activity fuels created
                               by postfire logging generally increase fire hazard in the first few years after
                               logging unless those fuels are effectively treated.
                           •   Fire and logging, individually and combined, affect physical, biological,
                               and nutritional properties of soil. Fire removes the protective organic layer
                               and exposes the soil to disturbance and compaction from ground-based
                               logging equipment. Unless logging occurs when soils are dry or mitigation
                               measures are applied, this can exacerbate erosion.
                           •   Large, severe fire reduces water uptake by vegetation, causing streamflow
                               to increase and water quality to decrease, with increased potential for
                               debris movements. Postfire logging and accompanying roads can
                               exacerbate these effects through increased surface-water runoff and soil
                               erosion.
                           •   Short-term effects of removing trees near aquatic systems are mostly
                               negative, and logging and transportation systems that disturb the soil
                               surface or accelerate road-related erosion may be particularly harmful.



28
                                                                              Rvsd Plan - 00005882
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 316 of 346

                                                        Effects of Timber Harvest Following Wildtire in Western North America




•   Most cavity-nesting birds and other cavity-nesting vertebrates are
                                                                                               Incorporating
    negatively affected by harvesting large standing dead trees, and possibly
                                                                                               postfire manage­
    small trees in the short term, but effects differ with the habitat
                                                                                               ment of forest
    requirements of each species and the intensity, pattern, and extent of tree
                                                                                               ecosystems in
    removal.
                                                                                               the broader task
    Incorporating postfire management of forest ecosystems in the broader task of              of sustainable re­
sustainable resource management will reduce perceptions of large fires as “emer­               source management
gencies” or aberrations in long-term planning (Agee 2002a) Forest ecosystems in                will reduce percep­
western North America will continue to experience large fires, and larger expanses             tions of large fires
of forests will likely burn in a warmer climate (McKenzie et al. 2004). Therefore,             as “emergencies” or
management of postfire environments will be facilitated if planning documents that             aberrations in long­
articulate postfire management options are in place in anticipation of a large fire,           term planning.
thus allowing for timely implementation of appropriate actions. Comparing risks
associated with no action and with alternative management actions can help clarify
postfire decisionmaking. It is especially important that fire management and
silviculture are integrated with respect to scientific concepts and on-the-ground
applications, because management of forest structural characteristics affects long­
term patterns of fuels and fire hazard (Graham et al. 1999, Peterson et al. 2005).
Similarly, coordination with wildlife biologists and vegetation biologists is helpful
because management of forest structure affects wildlife habitat and biological
diversity.
     No single decision-support system exists for selecting alternatives for postfire
management. Most existing tools are designed for a single resource-vegetation,
fuels, soils, water, or wildlife-without much integration. Therefore, integration
is the responsibility of resource management staff, preferably in consultation with
local scientists. It remains to be seen whether a useful decision-support system for
postfire management that includes all resources will be developed. Until then, adap­
tive management will facilitate the evaluation of long-term effects of different
alternatives.
     Harvesting timber following fire is usually an economic undertaking and rarely
a restorative activity in the sense of ecological restoration (Society for Ecological
Restoration International Science and Policy Working Group 2004). Postfire har­
vest may fit into an effective restoration strategy if management pathways for
attaining desired combinations of species, forest structure, and ecological functions
are specified. Clearly stated management objectives-which may include short- and
long-term physical, biological, and economic components-are an important guide
for logging or any other activity following a large wildfire.


                                                                                                                          29
                                                                                   Rvsd Plan - 00005883
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 317 of 346

GENERAL TECHNICAL REPORT PNW-GTR-776




                              A better understanding is needed of scale-related issues to reduce scientific
                           uncertainty about the effects of postfire logging. First, more data are needed on
                           the effects of different levels of (live and dead) tree retention, including variable
                           densities (clumps). Second, more information is needed on how the proportion
                           of harvest area relative to total fire area affects the magnitude of change in differ­
                           ent resources. Finally, longer time series (10+ years after fire) of data on the effects
                           of postfire logging are needed to accurately quantify long-term resource responses.
                               Large wildfires are opportunities to implement long-term management experi­
                           ments to improve the scientific basis for decisionmaking. A network of sites would
                           ensure (1) consistent application of scientific principles, (2) robust statistical design
                           and analysis, (3) central management of data to ensure data quality and security,
                           and (4) rapid dissemination of results. Potential treatments would include time
                           since fire (e.g., <1 year, 3 years), postharvest stand density (e.g., high [no harvest],
                           moderate, low), and fuel treatment (e.g., none vs. effective removal of fine fuels).
                           Important issues addressed by response variables would include vegetation compo­
                           sition and productivity; silvicultural treatments and outcomes; spatial and temporal
                           patterns of fuels and fire hazard; effects on local hydrology; effects on soils,
                           biogeochemical cycling, and carbon; and habitat for birds, small mammals, am­
                           phibians, and aquatic organisms. Such experiments would ideally continue for at
                           least 10+ years (and preferably much longer) to capture temporal trends in postfire
                           and postharvest responses. Sampling intensity and frequency would initially be
                           high, but could decrease over time depending on trends in the data.

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30
                                                                             Rvsd Plan - 00005884
Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 318 of 346

                                                       Effects of Timber Harvest Following Wildtire in Western North America




 English Equivalents
When you know:                          Multiply by:        To find:

Centimeters (cm)                            0.394            Inches
Kilometers (km)                              .621            Miles
Square kilometers (km2)                    10.76             Square feet
Hectares (ha)                               2.47             Acres
Cubic meters per second                    35.31             Cubic feet per second
Cubic meters per hectare                   35.3              Cubic feet per acre
Kilograms per cubic meter (kg/m3)            .0624           Pounds per cubic foot
Kilograms per hectare (kg/ha)                .893            Pounds per acre
Megagrams per hectare (Mg/ha)                .446            Tons per acre

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GENERAL TECHNICAL REPORT PNW-GTR-776




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32
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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 320 of 346

                                                      Effects of Timber Harvest Following Wildtire in Western North America




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GENERAL TECHNICAL REPORT PNW-GTR-776




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34
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GENERAL TECHNICAL REPORT PNW-GTR-776




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40
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44
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46
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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 341 of 346




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 342 of 346




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 343 of 346




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 344 of 346




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               Reburn severity in managed and unmanaged vegetation in a large wildfire
                                                                                                                     www.pnas.orj




                      Jonathan R. Thompson, Thomas A. Spies, and Lisa M, Ganio
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   Notes:




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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 345 of 346




Reburn severity in managed and unmanaged
vegetation in a large wildfire
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Edited by Ruth $. DeFries, University of Maryland, College Park, MD, and approved April 26, 2007 (received for review January 10, 2007)

Debate over the influence of postwildfire management on future         in variably sized patches. In the 3 years following the Silver Fire,
fire severity is occurring in the absence of empirical studies. We     >800 hectares were salvage-logged and planted with conifers.
used satellite data, government agency records, and aerial pho­        The arrangement of these disturbances presented a unique
tography to examine a forest landscape in southwest Oregon that        opportunity to address two important research questions. First,
burned in 1987 and then was subject, in part, to salvage-logging       was severity in the Biscuit Fire associated with severity in the
and conifer planting before it reburned during the 2002 Biscuit Fire.  Silver Fire in unmanaged areas? Second, did areas that were
Areas that burned severely in 1987 tended to reburn at high            salvage-logged and planted with conifers after the Silver Fire
severity in 2002, after controlling for the influence of several       burn more or less severely in the Biscuit Fire than comparable
topographical and biophysical covariates. Areas unaffected by the      unmanaged areas’.’
initial fire tended to burn at the lowest severities in 2002. Areas       With regard to the first question, hereafter referred to as ‘The
that were salvage-logged and planted after the initial fire burned     reburn question,” a negative correlation between Biscuit and
more severely than comparable unmanaged areas, suggesting that         Silver Fire severity is plausible if the forests that burned severely
fuel conditions in conifer plantations can increase fire severity      in 1987 had less remaining fuel to support the Biscuit Fire in
despite removal of large woody fuels.                                  2002, or if regenerating young forests did not effectively carry
                                                                       fire. This relationship has been observed in lodgepole pine
public land management | salvage-logging | Biscuit Fire j              ecosystems (9-11). An alternate hypothesis is that Biscuit Fire
Landsat j landscape ecology                                            severity would be positively correlated with Silver Fire severity.
                                                                       This would occur if areas of higher Silver Fire severity had
    arge wildfires are increasingly common in western North greater accumulations of fire-killed trees and vegetative growth
 L  America (1). Changing climate patterns and the legacy of fire available as fuel to the Biscuit Fire. This scenario is assumed to
    suppression within fire-prone forests suggest that this trend will have influenced forest dynamics in more mesic forests of the
continue. Postfire management is, therefore, a growing concern Pacific Northwest (12). Finally, there may be no discernible




                                                                                                                                                                       IVNIVJ
for public land managers. Although it has been customary to association between the severity patterns of the two fires. Many
salvage-log fire-killed trees and plant seedlings after large wild­ independent factors influence fire severity, including weather,
fires. there is a mounting debate regarding the practice (2--4). topography, fuel, landscape structure, and fire suppression. Any
There are several reasons one might choose this management of tliese could overwhelm the signal from the legacy of the Silver
system, including recouping economic losses through timber Fire.
sales and ensuring the reestablishment of desirable tree species.         The second question, hereafter referred to as “the salvage­
Another common justification for this approach has been a plant question,” also has several plausible outcomes. The hy~
perceived reduction in future fire risk associated with the pothesLs that salvage-logging followed by planting conifers can
removal of dead wood (2, 5-7). The threat of severe reburns is reduce future fire severity is widely held and rests on the
real but not well understood (4). For example, Oregon's assumption that removing dead trees reduces fuel loads, and
Tillamook burns of the 1930s. 1940s, and 1950s consisted of one planting conifers and controlling competing vegetation hastens
large fire followed by three reburns 6, 12, and 18 years later. In the return of fire-resistant forests (2, 5. 7). An alternative
sum. these fires burned more than 135,000 hectares. The threat hypothesis is that salvage-logging plus plantation creation exac­
of reburns motivates public land managers to construct fuel­ erbates future fire seventy. No studies have measured fire
breaks and to salvage-log to hedge against the risks of future fire severity following salvage-logging, but it is known that it can
(6). Recent studies have found, however, that salvage-logging increase available fine and coarse fuel loads if no fuel treatments
can increase surface fuels available to fires above prelogging are          conducted (3, 8). In addition, several studies have docu­
levels by transferring unmerchantable material to the forest mented high-severity fire within young conifer plantations,
floor, suggesting that this postfire management practice might where            surface fuels can be fine, homogeneous, and continuous
actually increase fire risk for a time (3, 8), Until now, no study (13-15).
                                                                          Our study area is within the Siskiyou Mountains in southwest
has quantified how recent fire history and postfire management Oregon            ’s mixed-conifer and mixed-evergreen hardwood zones
actually affects the severity of a large wildfire, (4).
   The 2002 Biscuit Fire was among the largest forest fires in
modern United States history, encompassing >200,000 hectares Author contributions: J.R.T,, T.A.S.. and L.M.G. designed research; J.R.T, performed re­
primarily within the Rogue-Siskiyou National Forest (RSNF) in search; J.R.T. and L.M.G. analyzed data; and J.R.T. and T.A.S. wrote the paper.
southwest Oregon. In the years following, the Biscuit Fire has The authors declare no conflict of interest.
been a catalyst for national debate regarding forest management This article Is a PNAS Direct Submission.
in the aftermath of wildfires on public land. This debate is taking Abbreviations; RSNF, Rogue-Siskiyou National Forest; dNBR, differenced normalized burn
place in the absence of empirical research on how future wildfire ratio; TM, Thematic Mapper; PAG, plant association group.
severity is associated with past wildfires and how postfire forest -To whom correspondence should be addressed. E-mail: jonathan.thompson®
management alters future fire severity (4). We analyzed burn            oregonstc3te.edu.
severity patterns within 18,000 hectares of the Biscuit Fire that This artide contains supporting information online at www.pnas.org/cgi/content7full/
burned 15 years earlier during the 1987 Silver Fire. Both fires 0700229104/DC1.
burned heterogeneously, creating mosaics of live and dead trees © 2007 by The National Academy of Sciences of the USA

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Case 1:21-cv-02994-REB Document 24-18 Filed 06/21/22 USDC Colorado Page 346 of 346




Fig, 1.       The Biscuit Fire encompassed >200,000 hectares of southwest Oregon forests; 40,000 hectares had burned 15 years earlier in the 1987 Silver Fire. Both
fires burned heterogeneously, leaving a mosaic of live and dead vegetation, (a) Study area in context of recent fires, (b) Disturbance history. Sampling universe
for the salvage-plant question, (c) Burn severity of the 1987 Silver Fire, {d} Burn severity of the 2002 Biscuit Fire.




(Fig, 1) (16). lb estimate fire severity; we calculated the differ­                   For our analysis, logging followed by planting was considered a
enced normalized burn ratio (dNBR) (17) (Fig. 1) from Landsat                         single management system.
Thematic Mapper (TM) data acquired before and immediately
after each fire (Table i). dNBR is a unitless index that corre­                       Results
sponds strongly to decreasing aboveground green biomass as                            To address the reburn question, we randomly sampled the
well as scorched and blackened vegetation; to a lesser degree,                        nonmanaged portion of the study area. We controlled for factors
dNBR corresponds to changes in soil moisture and color and to                         known to influence fire severity by constructing the best possible
consumption of down fuels (17). dNBR is an effective measure                          geostatistieal regression model of covariates (Table 2) before
of burn severity within forested landscapes (18, 19). We recon­                       adding the variable of interest; Silver Fire severity. Akaike
structed post-Silver Fire management history with the help of                         information criteria identified two ’’best” regression models of
RSNF personnel, agency documents, and aerial photography.                             covariates. The first model included elevation, slope, plant
                                                                                      association group (PAG) (20), day-of-burn, and 3986 greenness
                                                                                      I a satellite-based metric associated with vegetation density (21,
                                                                                      22)|. The second model contained all of the previous variables
Table 1. Acquisition dates of satellite imagery used to estimate                      plus a measure of topographic position (Table 2). We selected
fire severity                                                                         the second model because topographic position is known to have
                Landsat TM (path 46 row 31)            Date acquired                  influenced severity patterns elsewhere (12, 23). Using this as our
                Pre-Silver Fire                          10/13/1986
                                                                                      full covariate model, we then added Silver Fire severity as an
                Post-Silver Fire                         10/16/1987
                                                                                      independent variable and found that it was significantly and
                Pre-Biscuit Fire                         10/10/2001
                                                                                      positively correlated with Biscuit Fire severity (P < 0.0001, df
                Post-Biscuit Fire                         10/6/2002
                                                                                      381; Fig. 2). An increase of 100 dNBR within the Silver Fire was
                                                                                      associated with an increase of 84 dNBR within the Biscuit Fire

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